       Case 3:04-cv-00251-HSO-ASH        Document 472-5            Filed 05/09/08    Page 1 of 658
5/1/2008                                Children's Rights, Inc.
12:53 PM                               User Defined Slip Listing                                   Page   281



User                        Date        Client                             Description             Time Spent


Attorney/Para: Priy Sinha
Priy Sinha                     1/3/2006 Mississippi                        Draft/revise case          7:34:18
                                                                           summary for
                                                                           Jamison; met with
                                                                           Shirim to discuss
                                                                           questions

Total: 1/3/2006
                                                                                            7.57


Priy Sinha                     1/4/2006 Mississippi                        Telephone call with        0:20:00
                                                                           Shirim and Corene
                                                                           regarding case
                                                                           practice in
                                                                           Jamison's case.
Priy Sinha                     1/4/2006 Mississippi                        Draft case                 3:37:32
                                                                           summary for
                                                                           Jamison; met with
                                                                           Shirim to discuss
                                                                           next steps for case
                                                                           summary.
Priy Sinha                     1/4/2006 Mississippi                        Reviewed Jamison           4:58:13
                                                                           documents that
                                                                           have not yet been
                                                                           indexed (about
                                                                           2700 pages) for
                                                                           possible inclusion in
                                                                           expert report;
                                                                           entered some items
                                                                           into fact summary
                                                                           for Jamison's case
                                                                           summary

Total: 1/4/2006
                                                                                            8.93


Priy Sinha                     1/5/2006 Mississippi                        Reviewed Jamison           1:30:05
                                                                           documents that
                                                                           have not yet been
                                                                           indexed (about
                                                                           2700 pages) for
                                                                           possible inclusion in
                                                                           expert report;
                                                                           entered some items
                                                                           into fact summary
                                                                           for Jamison's case
                                                                           summary
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 2 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                  Page   282



User                     Date        Client                             Description            Time Spent


Priy Sinha                  1/5/2006 Mississippi                        Revised Jamison's         8:40:58
                                                                        factual summary
                                                                        (7:15); met with
                                                                        Shirim 3-4 times to
                                                                        discuss (1:10 hour);
                                                                        reviewed complaint
                                                                        to assess if missed
                                                                        any crucial facts
                                                                        (:15)

Total: 1/5/2006
                                                                                       10.18


Priy Sinha                  1/6/2006 Mississippi                        Sent email                0:20:00
                                                                        containing draft of
                                                                        fact summary so far
                                                                        to Shirim, with an
                                                                        update as to status
                                                                        of the project.
Priy Sinha                  1/6/2006 Mississippi                        Draft factual            10:29:13
                                                                        summary for
                                                                        Jamison case
                                                                        summary; review
                                                                        documents

Total: 1/6/2006
                                                                                       10.82


Priy Sinha                  1/9/2006 Mississippi                        Met with Jessica to       0:47:00
                                                                        determine plan for
                                                                        cite-checking
                                                                        Jamison
                                                                        documents (:25);
                                                                        investigated with
                                                                        Jessica where
                                                                        supplementations
                                                                        are kept, & whether
                                                                        I have all of the
                                                                        Jamison
                                                                        documents (:15);
                                                                        emailed Corene to
                                                                        doublecheck we
                                                                        have all Jamison
                                                                        documents (:07).
Priy Sinha                  1/9/2006 Mississippi                        Reviewed Marva's          1:21:26
                                                                        draft of Jamison
                                                                        report dated
                                                                        Mid-December
                                                                        2005.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 3 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                    Page   283



User                     Date        Client                             Description              Time Spent


Priy Sinha                  1/9/2006 Mississippi                        Drafted fact                1:27:33
                                                                        summary for
                                                                        Jamison:
                                                                        citechecked
                                                                        documents
Priy Sinha                  1/9/2006 Mississippi                        Revise factual              4:05:20
                                                                        summary per ML

Total: 1/9/2006
                                                                                          7.69


Priy Sinha                 1/10/2006 Mississippi                        Conference call             0:34:00
                                                                        with team
Priy Sinha                 1/10/2006 Mississippi                        Draft case                  6:22:19
                                                                        summary:
                                                                        factchecked
                                                                        documents

Total: 1/10/2006
                                                                                          6.94


Priy Sinha                 1/11/2006 Mississippi                        Drafted case               11:35:19
                                                                        summary: fact
                                                                        checked
                                                                        documents included
                                                                        in Jamison fact
                                                                        summary

Total: 1/11/2006
                                                                                      11.59


Priy Sinha                 1/12/2006 Mississippi                        Reviewed Jamison            0:49:51
                                                                        discovery
                                                                        documents and
                                                                        summarized same.
Priy Sinha                 1/12/2006 Mississippi                        Draft fact summary:         6:00:35
                                                                        finished
                                                                        factchecking docs
                                                                        from 2003-06; went
                                                                        through July
                                                                        supplementation of
                                                                        docs for additional
                                                                        items to include in
                                                                        fact summary
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 4 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                   Page   284



User                     Date        Client                             Description             Time Spent



Total: 1/12/2006
                                                                                         6.84


Priy Sinha                 1/13/2006 Mississippi                        Meeting with               0:04:06
                                                                        Jessica to discuss
                                                                        status of her portion
                                                                        of factchecking
                                                                        documents
Priy Sinha                 1/13/2006 Mississippi                        Telephone call with        0:15:00
                                                                        Shirim with update
                                                                        on project, sent
                                                                        drafts of reports
Priy Sinha                 1/13/2006 Mississippi                        Reviewed Jamison           6:10:00
                                                                        documents and
                                                                        compiled summary
                                                                        of same; brief
                                                                        meetings with
                                                                        Jessica (:20); Sara
                                                                        Munson (:20); and
                                                                        phone calls with
                                                                        Shirim (:20) with
                                                                        questions about
                                                                        substance of
                                                                        documents and
                                                                        schedule of task;

Total: 1/13/2006
                                                                                         6.49


Priy Sinha                 1/16/2006 Mississippi                        Meeting with Shirim        0:15:00
                                                                        to discuss fact
                                                                        summary for
                                                                        Jamison
Priy Sinha                 1/16/2006 Mississippi                        Revised Jamison            1:00:00
                                                                        fact summary
Priy Sinha                 1/16/2006 Mississippi                        Reviewed Jamison           6:25:00
                                                                        discovery
                                                                        documents and
                                                                        compiled fact
                                                                        summary of same

Total: 1/16/2006
                                                                                         7.67
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 5 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                   Page   285



User                     Date        Client                             Description             Time Spent


Priy Sinha                 1/17/2006 Mississippi                        Conference call            0:30:00
                                                                        with MS
                                                                        team--weekly
                                                                        meeting
Priy Sinha                 1/17/2006 Mississippi                        Revised fact               1:50:00
                                                                        summary for
                                                                        Jamison; reviewing
                                                                        documents;
                                                                        meeting with SN
                                                                        regarding same

Total: 1/17/2006
                                                                                         2.33


Priy Sinha                 1/18/2006 Mississippi                        Meeting with MS            0:30:00
                                                                        team
Priy Sinha                 1/18/2006 Mississippi                        Closely read               0:45:00
                                                                        Marva's draft of the
                                                                        analysis of
                                                                        Jamison's
                                                                        casework

Total: 1/18/2006
                                                                                         1.25


Priy Sinha                 1/21/2006 Mississippi                        Reviewed Jamison           0:13:16
                                                                        documents
                                                                        received in recent
                                                                        supplementation
Priy Sinha                 1/21/2006 Mississippi                        Meeting with Shirim        0:25:00
                                                                        and Jessica about
                                                                        remaining tasks to
                                                                        be done
Priy Sinha                 1/21/2006 Mississippi                        Met with Shirim for        0:30:00
                                                                        tasks for today
                                                                        (:15); met with
                                                                        Marva Lewis, the
                                                                        social work expert
                                                                        (:15)

Total: 1/21/2006
                                                                                         1.14


Priy Sinha                 1/23/2006 Mississippi                        Meeting with Eric,         0:36:21
                                                                        Jessica, and Holly
                                                                        about tasks
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 6 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                  Page   286



User                     Date        Client                             Description            Time Spent


                                                                        remaining before
                                                                        expert reports are
                                                                        due
Priy Sinha                 1/23/2006 Mississippi                        Meeting to discuss        1:00:00
                                                                        document review of
                                                                        new discovery
                                                                        documents that
                                                                        came in; Eric
                                                                        divided
                                                                        assignments up;
                                                                        gathered
                                                                        documents
                                                                        assigned from 12
                                                                        boxes
Priy Sinha                 1/23/2006 Mississippi                        Reviewed                  9:21:09
                                                                        documents that
                                                                        came in from
                                                                        quarterly
                                                                        supplementation
                                                                        (7:21); entered
                                                                        additional
                                                                        documents and
                                                                        facts into fact
                                                                        summary and
                                                                        verified/updated
                                                                        info in fact
                                                                        summary (2:00)

Total: 1/23/2006
                                                                                       10.96


Priy Sinha                 1/24/2006 Mississippi                        Reviewed what             0:20:00
                                                                        tasks needed to be
                                                                        done in Mississippi
                                                                        task (:10); met with
                                                                        Shirim (:10)
Priy Sinha                 1/24/2006 Mississippi                        Review documents          4:10:19
                                                                        from discovery
                                                                        supplementation
                                                                        responsive to RFP
                                                                        24, 25, and 29
                                                                        (3:34 hrs); met with
                                                                        Eric to rvw docs
                                                                        that might be hot
                                                                        (:36);
Priy Sinha                 1/24/2006 Mississippi                        Review new                6:06:16
                                                                        discovery
                                                                        documents
                                                                        regarding Jamison
                                                                        from supplement
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 7 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                  Page   287



User                     Date        Client                             Description            Time Spent


                                                                        (4:15 hrs); discuss
                                                                        new documents
                                                                        with Shirim (:21);
                                                                        and enter new facts
                                                                        into fact summary
                                                                        of documents
                                                                        (1:30);

Total: 1/24/2006
                                                                                      10.60


Priy Sinha                 1/25/2006 Mississippi                        Cite checking             7:57:46
                                                                        Jamison casework
                                                                        expert report

Total: 1/25/2006
                                                                                        7.96


Priy Sinha                 1/26/2006 Mississippi                        Finalizing Jamison       11:27:02
                                                                        fact summary:
                                                                        citechecked
                                                                        document

Total: 1/26/2006
                                                                                      11.45


Priy Sinha                 1/27/2006 Mississippi                        Read/compiled             2:48:23
                                                                        aggregation of data
                                                                        from therapeutic
                                                                        foster care
                                                                        placement log
Priy Sinha                 1/27/2006 Mississippi                        Finalizing fact           4:50:31
                                                                        summary for
                                                                        Jamison: finished
                                                                        cite-checking fact
                                                                        summary, new
                                                                        documents, and
                                                                        analysis

Total: 1/27/2006
                                                                                        7.65


Priy Sinha                 1/30/2006 Mississippi                        Team telephone            0:30:00
                                                                        conference on MS
                                                                        with Eric
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 8 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                  Page   288



User                     Date        Client                             Description            Time Spent



Total: 1/30/2006
                                                                                        0.50


Priy Sinha                 1/31/2006 Mississippi                        Conference call           0:36:00
                                                                        with the MS
                                                                        counsel team
Priy Sinha                 1/31/2006 Mississippi                        Reviewed data             1:30:45
                                                                        about therapeutic
                                                                        foster care and
                                                                        aggregated data
                                                                        regarding delays in
                                                                        placing children
Priy Sinha                 1/31/2006 Mississippi                        Reviewed                  5:00:18
                                                                        documents related
                                                                        to Jamison and
                                                                        compiled summary
                                                                        of same

Total: 1/31/2006
                                                                                        7.12


Priy Sinha                  2/1/2006 Mississippi                        Reviewed data on          1:00:00
                                                                        therapeutic foster
                                                                        care placements for
                                                                        June to December
                                                                        2005, and
                                                                        aggregated data to
                                                                        determine
                                                                        percentage placed
                                                                        and number pending
Priy Sinha                  2/1/2006 Mississippi                        Meeting with Loeb         1:24:34
                                                                        about upcoming
                                                                        strategy for MS case
Priy Sinha                  2/1/2006 Mississippi                        Factchecking and          2:00:21
                                                                        compiling
                                                                        supporting
                                                                        documents for
                                                                        executive summary
Priy Sinha                  2/1/2006 Mississippi                        Finalized factual         5:56:18
                                                                        summary for
                                                                        Jamison by
                                                                        citechecking
                                                                        documents and
                                                                        incorporating new
                                                                        edits by expert
       Case 3:04-cv-00251-HSO-ASH     Document 472-5            Filed 05/09/08    Page 9 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                   Page   289



User                     Date        Client                             Description             Time Spent



Total: 2/1/2006
                                                                                        10.36


Priy Sinha                  2/2/2006 Mississippi                        Meeting with team          0:45:00
                                                                        about status of MS
                                                                        assignments and
                                                                        scheduling
Priy Sinha                  2/2/2006 Mississippi                        Reviewed caseload          1:18:41
                                                                        information, created
                                                                        brief distillation of
                                                                        data, and sent to
                                                                        co-counsel to
                                                                        create visual graph
Priy Sinha                  2/2/2006 Mississippi                        Finalized fact             2:16:06
                                                                        summary for
                                                                        Jamison report
                                                                        based on discovery
                                                                        documents and
                                                                        edits by the expert,
                                                                        Marva Lewis

Total: 2/2/2006
                                                                                         4.33


Priy Sinha                  2/3/2006 Mississippi                        Drafted tables to          1:21:20
                                                                        detail custody
                                                                        contacts
Priy Sinha                  2/3/2006 Mississippi                        Reviewed policy            1:30:00
                                                                        manual and
                                                                        factchecked
                                                                        whether policy
                                                                        bulletins included
                                                                        date guidelines for
                                                                        review
Priy Sinha                  2/3/2006 Mississippi                        Drafted chart to           2:38:16
                                                                        convey caseload
                                                                        information, pulled
                                                                        quotations from
                                                                        documents for chart
                                                                        (2 hrs); spoke to
                                                                        co-counsel re.
                                                                        ideas (:23); spoke
                                                                        to Eric for his
                                                                        approval (:15)
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 10 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   290



User                      Date        Client                              Description              Time Spent



Total: 2/3/2006
                                                                                            5.50


Priy Sinha                   2/5/2006 Mississippi                         Created three               2:00:00
                                                                          tables to represent
                                                                          case custody
                                                                          information, did
                                                                          data calculations,
                                                                          and finalized cites
                                                                          of sources
Priy Sinha                   2/5/2006 Mississippi                         Located and                 2:23:05
                                                                          reviewed
                                                                          documents
                                                                          sumarizing
                                                                          face-to-face
                                                                          contacts, missing
                                                                          perm. plans and
                                                                          placements in 2005
                                                                          by month (:58);
                                                                          talked to Eric about
                                                                          formatting for graph
                                                                          of this information
                                                                          (:10); talked to Holly
                                                                          and Liz about how
                                                                          to format graph in
                                                                          Word (:25);
                                                                          attempted to format
                                                                          graphs (:30);
                                                                          inserted citations
                                                                          for data in charts
                                                                          and doublechecked
                                                                          citations (:20).
Priy Sinha                   2/5/2006 Mississippi                         Finalized document          4:18:54
                                                                          for case record
                                                                          review: researched
                                                                          federal statutes and
                                                                          nat'l
                                                                          recommendations
                                                                          for periodicity of
                                                                          physical and dental
                                                                          exams (in both
                                                                          policy guidelines
                                                                          and articles), and
                                                                          included their
                                                                          citations.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 11 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   291



User                      Date        Client                              Description             Time Spent



Total: 2/5/2006
                                                                                           8.70


Priy Sinha                   2/6/2006 Mississippi                         Meeting with team          0:42:00
                                                                          regarding tasks left
                                                                          on expert reports
Priy Sinha                   2/6/2006 Mississippi                         Finalizing case            0:50:00
                                                                          record review:
                                                                          located citations
                                                                          and confirmed
                                                                          citations forms for
                                                                          report
Priy Sinha                   2/6/2006 Mississippi                         Revised visual             1:30:32
                                                                          chart of caseloads
                                                                          as per Eric's
                                                                          comments and
                                                                          forwarded info to
                                                                          Loeb for revisions
Priy Sinha                   2/6/2006 Mississippi                         Finalizing                 6:47:51
                                                                          management
                                                                          report: pulled
                                                                          citations from
                                                                          deposition
                                                                          transcripts, federal
                                                                          and policy sources.
Priy Sinha                   2/6/2006 Mississippi                         Finalizing expert          6:51:25
                                                                          report: cite-checking

Total: 2/6/2006
                                                                                         16.70


Priy Sinha                   2/7/2006 Mississippi                         Meeting with team          0:20:00
                                                                          about remaining
                                                                          tasks
Priy Sinha                   2/7/2006 Mississippi                         Finalized Jamison          0:55:00
                                                                          report by
                                                                          doublechecking
                                                                          citations in
                                                                          response to further
                                                                          edits
Priy Sinha                   2/7/2006 Mississippi                         Finalized visual           1:08:24
                                                                          chart of caseloads
                                                                          data and emailed
                                                                          revisions to Loeb
Priy Sinha                   2/7/2006 Mississippi                         Drafted Notice of          1:30:58
                                                                          Expert Witness
                                                                          designation,
                                                                          checked local and
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 12 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   292



User                      Date        Client                              Description              Time Spent


                                                                          federal rules, and
                                                                          proper form and
                                                                          content of notice.
Priy Sinha                   2/7/2006 Mississippi                         Finalizing                  9:41:29
                                                                          management
                                                                          report: citechecked
                                                                          documents

Total: 2/7/2006
                                                                                         13.60


Priy Sinha                   2/8/2006 Mississippi                         Reviewed and                0:30:00
                                                                          confirmed schedule
                                                                          in MS to determine
                                                                          schedule of tasks
Priy Sinha                   2/8/2006 Mississippi                         Organized Jamison           0:36:13
                                                                          NP docs for filing
                                                                          and storage

Total: 2/8/2006
                                                                                            1.10


Priy Sinha                   2/9/2006 Mississippi                         Conference call             0:55:00
                                                                          with team regarding
                                                                          remaining tasks

Total: 2/9/2006
                                                                                            0.92


Priy Sinha                  2/10/2006 Mississippi                         Talked to EW about          0:20:00
                                                                          Jamison and any
                                                                          tasks related to him
                                                                          in the near future
                                                                          (:10); emailed with
                                                                          ET and called
                                                                          Shirim about letting
                                                                          NP's know about
                                                                          upcoming press
                                                                          (:10)

Total: 2/10/2006
                                                                                            0.33


Priy Sinha                  2/14/2006 Mississippi                         Conference call             0:25:00
                                                                          with MS team
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 13 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   293



User                      Date        Client                              Description             Time Spent



Total: 2/14/2006
                                                                                           0.42


Priy Sinha                  2/17/2006 Mississippi                         Retrieved sample           0:15:00
                                                                          motion from NJ
                                                                          case files for leave
                                                                          to release NP
                                                                          confidential
                                                                          information, for
                                                                          motion for leave to
                                                                          release named
                                                                          plaintiff expert
                                                                          reports
Priy Sinha                  2/17/2006 Mississippi                         Researched motion          1:40:09
                                                                          for leave to release
                                                                          named plaintiff
                                                                          expert report
                                                                          caselaw in 5th
                                                                          circuit and d. ct. of
                                                                          MS

Total: 2/17/2006
                                                                                           1.92


Priy Sinha                  2/20/2006 Mississippi                         Read sample                1:59:39
                                                                          motions and
                                                                          briefing for
                                                                          modification for the
                                                                          confidentiality order

Total: 2/20/2006
                                                                                           1.99


Priy Sinha                  2/21/2006 Mississippi                         Meeting with Shirim        0:10:00
                                                                          to discuss strategy
                                                                          in drafting motion to
                                                                          seek release of the
                                                                          NP reports from
                                                                          court
Priy Sinha                  2/21/2006 Mississippi                         Conference call            0:40:00
                                                                          with team
Priy Sinha                  2/21/2006 Mississippi                         Researched motion          4:14:21
                                                                          for modification of
                                                                          confidentiality order
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 14 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   294



User                      Date        Client                              Description            Time Spent



Total: 2/21/2006
                                                                                          5.08


Priy Sinha                  2/22/2006 Mississippi                         Meeting to discuss        0:30:00
                                                                          document review
                                                                          and deposition
                                                                          schedule
Priy Sinha                  2/22/2006 Mississippi                         Drafted motion to         7:42:35
                                                                          seek leave to
                                                                          release named
                                                                          plaintiff expert
                                                                          reports

Total: 2/22/2006
                                                                                          8.21


Priy Sinha                  2/23/2006 Mississippi                         Revised motion for        0:34:32
                                                                          leave to release
                                                                          named plaintiffs
                                                                          expert reports as
                                                                          per ET's comments
Priy Sinha                  2/23/2006 Mississippi                         Reviewed                  0:38:53
                                                                          investigative and
                                                                          licensing files

Total: 2/23/2006
                                                                                          1.23


Priy Sinha                  2/24/2006 Mississippi                         Reviewed                  5:00:00
                                                                          documents
                                                                          regarding licensing

Total: 2/24/2006
                                                                                          5.00


Priy Sinha                  2/27/2006 Mississippi                         Reviewed                  4:56:13
                                                                          documents
                                                                          regarding licensing

Total: 2/27/2006
                                                                                          4.94


Priy Sinha                  2/28/2006 Mississippi                         Meeting with ET to        0:31:00
                                                                          discuss revisions
                                                                          regarding motion
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 15 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   295



User                      Date        Client                              Description             Time Spent


                                                                          for leave to release
                                                                          social work expert
                                                                          report (:11);
                                                                          incorporated
                                                                          revisions (:20)
Priy Sinha                  2/28/2006 Mississippi                         Conference call            0:45:00
                                                                          with team--weekly
                                                                          call
Priy Sinha                  2/28/2006 Mississippi                         Reviewed                   4:45:10
                                                                          investigative files

Total: 2/28/2006
                                                                                           6.02


Priy Sinha                   3/1/2006 Mississippi                         Reviewed licensing         7:19:28
                                                                          documents

Total: 3/1/2006
                                                                                           7.32


Priy Sinha                   3/3/2006 Mississippi                         Reviewed licensing         4:03:18
                                                                          documents

Total: 3/3/2006
                                                                                           4.06


Priy Sinha                   3/6/2006 Mississippi                         Reviewed licensing         0:30:00
                                                                          documents
Priy Sinha                   3/6/2006 Mississippi                         Reviewed licensing         5:10:30
                                                                          documents

Total: 3/6/2006
                                                                                           5.68


Priy Sinha                   3/7/2006 Mississippi                         Conference call            0:25:00
                                                                          with MS team
Priy Sinha                   3/7/2006 Mississippi                         Reviewed licensing         0:30:00
                                                                          documents

Total: 3/7/2006
                                                                                           0.92


Priy Sinha                   3/8/2006 Mississippi                         Researched                 0:46:35
                                                                          question of whether
                                                                          Jamison will recieve
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 16 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   296



User                      Date        Client                              Description            Time Spent


                                                                          ongoing stipends
                                                                          under MS's Chafee
                                                                          plan
Priy Sinha                   3/8/2006 Mississippi                         Reviewed licensing        3:56:54
                                                                          docs

Total: 3/8/2006
                                                                                          4.73


Priy Sinha                   3/9/2006 Mississippi                         Review licensing          2:20:16
                                                                          docs

Total: 3/9/2006
                                                                                          2.34


Priy Sinha                  3/10/2006 Mississippi                         Telephone call with       0:10:00
                                                                          team to discuss
                                                                          settlement
                                                                          memorandum
Priy Sinha                  3/10/2006 Mississippi                         Conference call           0:18:00
                                                                          with team
Priy Sinha                  3/10/2006 Mississippi                         Conference call           0:25:00
                                                                          with team
Priy Sinha                  3/10/2006 Mississippi                         Read two drafts of        0:50:00
                                                                          settlement
                                                                          memorandum for
                                                                          settlement
                                                                          conference

Total: 3/10/2006
                                                                                          1.72


Priy Sinha                  3/13/2006 Mississippi                         Conference call           0:20:00
                                                                          with MS team to
                                                                          discuss S/C
                                                                          meeting on
                                                                          Thursday March 16
Priy Sinha                  3/13/2006 Mississippi                         Read draft                1:21:39
                                                                          settlement
                                                                          agreement

Total: 3/13/2006
                                                                                          1.69


Priy Sinha                  3/16/2006 Mississippi                         Reviewed transcript       1:47:36
                                                                          of 30(b)(6) to
                                                                          itemize requested
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 17 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   297



User                      Date        Client                              Description              Time Spent


                                                                          documents, for
                                                                          drafting of letter by
                                                                          ET regarding doc
                                                                          requests (1:07);
                                                                          talked to ET about
                                                                          assignment (:10);
                                                                          drafted email listing
                                                                          items and
                                                                          doublechecked
                                                                          page numbers
                                                                          (:20); did follow-up
                                                                          search for other
                                                                          requests (:10)

Total: 3/16/2006
                                                                                            1.79


Priy Sinha                  3/23/2006 Mississippi                         Drafted reply to            1:53:29
                                                                          motion for leave to
                                                                          release NP reports;
                                                                          talked to ET about
                                                                          revisions (:15);

Total: 3/23/2006
                                                                                            1.89


Priy Sinha                  3/24/2006 Mississippi                         Read Settlement             0:26:44
                                                                          proposal and gave
                                                                          comments

Total: 3/24/2006
                                                                                            0.45


Priy Sinha                  3/30/2006 Mississippi                         Reviewed MS                 0:38:44
                                                                          settlement proposal

Total: 3/30/2006
                                                                                            0.65


Priy Sinha                   4/3/2006 Mississippi                         Conference call             0:44:11
                                                                          with team MS

Total: 4/3/2006
                                                                                            0.74
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 18 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   298



User                      Date        Client                              Description              Time Spent


Priy Sinha                   4/4/2006 Mississippi                         Meeting with Tara           0:15:00
                                                                          to discuss tasks on
                                                                          motion for summary
                                                                          judgment

Total: 4/4/2006
                                                                                            0.25


Priy Sinha                   4/6/2006 Mississippi                         Reviewed                    0:31:19
                                                                          documents from
                                                                          supplement
                                                                          production
                                                                          regarding Jamison

Total: 4/6/2006
                                                                                            0.52


Priy Sinha                  4/11/2006 Mississippi                         Conference call             0:30:00
                                                                          with MS team

Total: 4/11/2006
                                                                                            0.50


Priy Sinha                  4/17/2006 Mississippi                         Prepared to                 2:05:38
                                                                          participate in
                                                                          drafting/filing of
                                                                          MSJ; talked to EW
                                                                          about document
                                                                          (:10 mins); talked to
                                                                          T. Crean about my
                                                                          assignment (:25);
                                                                          reviewed rough
                                                                          draft of MSJ (:30);
                                                                          began to review
                                                                          Steib depo to pull
                                                                          facts (1:00)

Total: 4/17/2006
                                                                                            2.09


Priy Sinha                  4/18/2006 Mississippi                         Re-read MTD order           4:10:06
                                                                          to check applicable
                                                                          legal standards;
                                                                          read annotated
                                                                          Steib depo to pull
                                                                          admissions for MSJ
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 19 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   299



User                      Date        Client                              Description             Time Spent



Total: 4/18/2006
                                                                                           4.17


Priy Sinha                  4/19/2006 Mississippi                         Read and                   8:41:47
                                                                          annotated Steib
                                                                          depo for inclusion in
                                                                          MSJ

Total: 4/19/2006
                                                                                           8.70


Priy Sinha                  4/20/2006 Mississippi                         Reviewed                   0:25:11
                                                                          documents related
                                                                          to Jamison
Priy Sinha                  4/20/2006 Mississippi                         Read Steib depo            0:30:00

Priy Sinha                  4/20/2006 Mississippi                         Inserted draft             4:18:30
                                                                          language of Steib
                                                                          depo into MSJ
                                                                          document

Total: 4/20/2006
                                                                                           5.23


Priy Sinha                  4/21/2006 Mississippi                         Telephone call with        0:20:00
                                                                          team MS about
                                                                          upcoming
                                                                          settlement
                                                                          negotiations
Priy Sinha                  4/21/2006 Mississippi                         Reviewed Jamison           1:41:48
                                                                          docs

Total: 4/21/2006
                                                                                           2.03


Priy Sinha                  4/24/2006 Mississippi                         Reviewed Jamison           2:34:51
                                                                          docs from recent
                                                                          supplementary
                                                                          disclosure

Total: 4/24/2006
                                                                                           2.58
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08      Page 20 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   300



User                      Date        Client                              Description               Time Spent


Priy Sinha                  4/25/2006 Mississippi                         Meetings with Tara,          0:40:00
                                                                          Liz, and other
                                                                          paralegals to
                                                                          discuss format of
                                                                          undisputed facts
                                                                          section,
Priy Sinha                  4/25/2006 Mississippi                         Drafted undisputed           3:58:21
                                                                          facts for the topic of
                                                                          instability of
                                                                          placements for MSJ

Total: 4/25/2006
                                                                                             4.64


Priy Sinha                  4/29/2006 Mississippi                         Finalized MSJ:               1:00:51
                                                                          citechecked
                                                                          depositions in
                                                                          Resources section
Priy Sinha                  4/29/2006 Mississippi                         Reviewed Felder              1:16:22
                                                                          depo for quotes
                                                                          about Crabtree,
                                                                          Hess, and Brister
                                                                          expert reports and
                                                                          checked in with ET
Priy Sinha                  4/29/2006 Mississippi                         Read Hiatt expert            3:40:00
                                                                          report, drafted and
                                                                          revised FOF from
                                                                          report as per ET
                                                                          comments, and
                                                                          inserted into mem.
                                                                          of law

Total: 4/29/2006
                                                                                             5.95


Priy Sinha                  4/30/2006 Mississippi                         Finalized brief by           9:25:53
                                                                          checking statutory
                                                                          cites, formatting
                                                                          cites in first section
                                                                          of mem. of law,
                                                                          citechecking and
                                                                          formatting portions
                                                                          of undisputed facts

Total: 4/30/2006
                                                                                             9.43
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 21 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   301



User                      Date        Client                              Description             Time Spent


Priy Sinha                   5/3/2006 Mississippi                         Researched scope           0:00:23
                                                                          of substantive due
                                                                          process for
                                                                          prisoners
Priy Sinha                   5/3/2006 Mississippi                         Meeting with CR            1:00:00
                                                                          staff about strategy
                                                                          and assignments
                                                                          for MSJ opposition
Priy Sinha                   5/3/2006 Mississippi                         Researched the             3:15:00
                                                                          viability of class
                                                                          claims if NP's
                                                                          claims are mooted

Total: 5/3/2006
                                                                                           4.26


Priy Sinha                   5/4/2006 Mississippi                         Meeting with team          0:33:00
                                                                          MS about
                                                                          remaining tasks
Priy Sinha                   5/4/2006 Mississippi                         Reviewed D's               1:00:44
                                                                          exhibit regarding
                                                                          Jamison to
                                                                          determine whether
                                                                          if their services
                                                                          information about
                                                                          him differs from
                                                                          ours
Priy Sinha                   5/4/2006 Mississippi                         Researched scope           1:50:48
                                                                          of substantive due
                                                                          process for
                                                                          prisoners

Total: 5/4/2006
                                                                                           3.41


Priy Sinha                   5/5/2006 Mississippi                         Researched scope           4:20:44
                                                                          of substantive due
                                                                          process for
                                                                          prisoners

Total: 5/5/2006
                                                                                           4.35


Priy Sinha                   5/7/2006 Mississippi                         Researched scope           2:08:04
                                                                          of substantive due
                                                                          process for
                                                                          prisoners
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 22 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   302



User                      Date        Client                              Description            Time Spent



Total: 5/7/2006
                                                                                          2.13


Priy Sinha                   5/8/2006 Mississippi                         Read Defendants'          1:30:34
                                                                          motion for summary
                                                                          judgment (:45);
                                                                          read GA briefs to
                                                                          look for arguments
                                                                          similar to that
                                                                          asserting foster
                                                                          children's rights
                                                                          should be greater
                                                                          than prisoners (:45)
Priy Sinha                   5/8/2006 Mississippi                         Drafted portion of        6:30:28
                                                                          opp. to MSJ
                                                                          addressing SDP
                                                                          rights of prisoners

Total: 5/8/2006
                                                                                          8.02


Priy Sinha                   5/9/2006 Mississippi                         Researched                0:39:00
                                                                          adequate safety
                                                                          and care for
                                                                          prisoners
Priy Sinha                   5/9/2006 Mississippi                         Reviewed                  1:28:28
                                                                          documents related
                                                                          to Jamison looking
                                                                          for recent court
                                                                          order confirming his
                                                                          status as ward of
                                                                          the state

Total: 5/9/2006
                                                                                          2.12


Priy Sinha                  5/10/2006 Mississippi                         Researched                2:25:42
                                                                          substantive due
                                                                          process rights of
                                                                          prisoners, incl.
                                                                          regarding safety
                                                                          and care

Total: 5/10/2006
                                                                                          2.43
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 23 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   303



User                      Date        Client                              Description              Time Spent


Priy Sinha                  5/11/2006 Mississippi                         Meeting to discuss          0:10:00
                                                                          status of response
                                                                          to MSJ
Priy Sinha                  5/11/2006 Mississippi                         Reviewed                    0:40:06
                                                                          documents
Priy Sinha                  5/11/2006 Mississippi                         Researched                  1:45:02
                                                                          whether there are
                                                                          any limits on filing a
                                                                          motion to compel at
                                                                          the close of
                                                                          discovery
Priy Sinha                  5/11/2006 Mississippi                         Researched                  3:13:30
                                                                          whether failure of
                                                                          NP claims bars
                                                                          class action relief

Total: 5/11/2006
                                                                                            5.82


Priy Sinha                  5/12/2006 Mississippi                         Located 5th Circuit         0:35:00
                                                                          case for proposition
                                                                          that movant must
                                                                          affirmatively proffer
                                                                          undisputed
                                                                          evidence to prevail
                                                                          on SJ
Priy Sinha                  5/12/2006 Mississippi                         Telephone call with         0:35:37
                                                                          Corene about
                                                                          Jamison
Priy Sinha                  5/12/2006 Mississippi                         Reviewed                    1:32:25
                                                                          documents

Total: 5/12/2006
                                                                                            2.71


Priy Sinha                  5/16/2006 Mississippi                         Meeting with Shirim         0:10:00
                                                                          to discuss research
                                                                          assignment for MSJ
                                                                          brief
Priy Sinha                  5/16/2006 Mississippi                         Telephone                   0:22:02
                                                                          conference with MS
                                                                          team
Priy Sinha                  5/16/2006 Mississippi                         Finalized opp. to           3:23:38
                                                                          D's MSJ by
                                                                          citechecking
Priy Sinha                  5/16/2006 Mississippi                         Researched                  3:54:57
                                                                          whether 6 circuits
                                                                          cited by Defendants
                                                                          have limited their
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 24 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   304



User                      Date        Client                              Description             Time Spent


                                                                          recognition of SDP
                                                                          rights in the context
                                                                          of confinement to
                                                                          basic protection
                                                                          from physical or
                                                                          sexual abuse

Total: 5/16/2006
                                                                                           7.85


Priy Sinha                  5/17/2006 Mississippi                         Inhouse trial              0:40:00
                                                                          meeting
Priy Sinha                  5/17/2006 Mississippi                         Researched CTA             0:54:34
                                                                          case law regarding
                                                                          scope of right to be
                                                                          safe from harm
Priy Sinha                  5/17/2006 Mississippi                         Finalized opp. to         10:04:19
                                                                          D's MSJ by
                                                                          citechecking

Total: 5/17/2006
                                                                                          11.65


Priy Sinha                  5/18/2006 Mississippi                         Finalized opp. to          0:40:45
                                                                          MSJ by
                                                                          citechecking docs

Total: 5/18/2006
                                                                                           0.68


Priy Sinha                  5/19/2006 Mississippi                         Telephone calls            0:50:00
                                                                          with contact and
                                                                          Jamison about EW
                                                                          leaving, college
                                                                          issues, healthcare,
                                                                          housing, and
                                                                          financial aid for
                                                                          Jamison's start of
                                                                          community college
                                                                          on June 1.

Total: 5/19/2006
                                                                                           0.83


Priy Sinha                  5/22/2006 Mississippi                         Read D's opp to P's        3:52:17
                                                                          MSJ (:30);
                                                                          researched
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 25 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   305



User                      Date        Client                              Description            Time Spent


                                                                          response to D's
                                                                          argument that
                                                                          Lewis v. Casey
                                                                          requires P's to
                                                                          prove case about
                                                                          NP's to win class
                                                                          action (:15)

Total: 5/22/2006
                                                                                          3.87


Priy Sinha                  5/23/2006 Mississippi                         Weekly conference         0:30:00
                                                                          call with MS team
Priy Sinha                  5/23/2006 Mississippi                         Telephone call with       0:45:00
                                                                          contact and Shirim
                                                                          to discuss
                                                                          Jamison's case
Priy Sinha                  5/23/2006 Mississippi                         Telephone call with       0:58:00
                                                                          Jamison

Total: 5/23/2006
                                                                                          2.22


Priy Sinha                  5/24/2006 Mississippi                         Researched MS             0:30:00
                                                                          Statute 43-1-53 (1)
                                                                          regarding Dir. of
                                                                          DHS qualifications
Priy Sinha                  5/24/2006 Mississippi                         Researched                0:50:34
                                                                          programs
                                                                          availability for
                                                                          Jamison, called
                                                                          contact at NW
                                                                          Comm. College to
                                                                          inquire about
                                                                          available programs,
                                                                          talked to SN about
                                                                          next steps, made
                                                                          notes in casenotes
                                                                          file
Priy Sinha                  5/24/2006 Mississippi                         Researched                4:00:38
                                                                          whether it's
                                                                          necessary to rebut
                                                                          statements of
                                                                          undisputed facts in
                                                                          order to preserve
                                                                          dispute under local
                                                                          rules or under MS
                                                                          caselaw (1:50);
                                                                          spoke to ET about
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 26 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   306



User                      Date        Client                              Description             Time Spent


                                                                          findings (:10); wrote
                                                                          insert for MSJ reply
                                                                          incorporating
                                                                          findings after
                                                                          reading draft
                                                                          section, D's
                                                                          response, and
                                                                          shepardizing and
                                                                          examining cases (2
                                                                          hrs)

Total: 5/24/2006
                                                                                           5.35


Priy Sinha                  5/25/2006 Mississippi                         Telephone call with        0:10:00
                                                                          source regarding NP
Priy Sinha                  5/25/2006 Mississippi                         Drafted notes from         1:22:33
                                                                          conversation with
                                                                          contact and
                                                                          Jamison

Total: 5/25/2006
                                                                                           1.55


Priy Sinha                  5/30/2006 Mississippi                         Conference call            0:20:00
                                                                          with team
Priy Sinha                  5/30/2006 Mississippi                         Read D's reply to          0:30:01
                                                                          their MSJ to
                                                                          factcheck facts
                                                                          about Jamison
Priy Sinha                  5/30/2006 Mississippi                         Finalized Jamison          0:45:00
                                                                          facts section for our
                                                                          MSJ reply
Priy Sinha                  5/30/2006 Mississippi                         Finalized John A.          1:25:53
                                                                          and Olivia portions
                                                                          of reply to MSJ
Priy Sinha                  5/30/2006 Mississippi                         Finalized reply for        2:00:15
                                                                          MSJ by
                                                                          citechecking cites
Priy Sinha                  5/30/2006 Mississippi                         Researched                 3:50:11
                                                                          foreseeability of
                                                                          harm under
                                                                          substantive due
                                                                          process when
                                                                          prison staff not
                                                                          trained and
                                                                          supervised in job
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 27 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   307



User                      Date        Client                              Description             Time Spent



Total: 5/30/2006
                                                                                           8.85


Priy Sinha                  5/31/2006 Mississippi                         Talked to Jamison          0:40:00
                                                                          about DHS financial
                                                                          support issues
Priy Sinha                  5/31/2006 Mississippi                         Researched                 1:21:59
                                                                          whether Chafee
                                                                          plan funds can
                                                                          cover Jamison's
                                                                          insurance expenses

Total: 5/31/2006
                                                                                           2.04


Priy Sinha                   6/1/2006 Mississippi                         Talked to source           0:25:00
                                                                          about lack of
                                                                          money for food for
                                                                          Jamison
Priy Sinha                   6/1/2006 Mississippi                         Telephone calls            0:50:00
                                                                          with Jamison about
                                                                          getting access to
                                                                          money (:40); call to
                                                                          source (:10)
Priy Sinha                   6/1/2006 Mississippi                         Meeting with in            1:00:00
                                                                          house team about
                                                                          preparations for
                                                                          PTO

Total: 6/1/2006
                                                                                           2.25


Priy Sinha                  6/12/2006 Mississippi                         Meeting with               0:20:00
                                                                          Jessica to discuss
                                                                          P's response to
                                                                          motion to file
                                                                          surrebuttal by D,
                                                                          and update
                                                                          regarding Jamison
Priy Sinha                  6/12/2006 Mississippi                         Reviewed "hot"             1:11:36
                                                                          documents from
                                                                          recent production
Priy Sinha                  6/12/2006 Mississippi                         Read D's motion to         2:38:12
                                                                          file surrebuttal and
                                                                          P's draft of
                                                                          response (1:07);
                                                                          drafted response to
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 28 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   308



User                      Date        Client                              Description             Time Spent


                                                                          Jamison piece and
                                                                          referred back to
                                                                          expert report and
                                                                          documents
                                                                          regarding cites
                                                                          (1:31)

Total: 6/12/2006
                                                                                           4.16


Priy Sinha                  6/13/2006 Mississippi                         Telephone                  0:30:00
                                                                          conference with
                                                                          team
Priy Sinha                  6/13/2006 Mississippi                         Reviewed "hot"             0:43:52
                                                                          documents from
                                                                          recent production
Priy Sinha                  6/13/2006 Mississippi                         Meeting with team          0:50:00

Priy Sinha                  6/13/2006 Mississippi                         Telephone calls            1:00:00
                                                                          with Jamison (:45);
                                                                          and source (:15) to
                                                                          discuss ongoing
                                                                          lack of funds for
                                                                          Jamison

Total: 6/13/2006
                                                                                           3.06


Priy Sinha                  6/14/2006 Mississippi                         Telephone call with        0:24:55
                                                                          contact regarding
                                                                          NP
Priy Sinha                  6/14/2006 Mississippi                         Reviewed Steib             0:50:46
                                                                          report for additional
                                                                          FOF facts
Priy Sinha                  6/14/2006 Mississippi                         Telephone call with        1:51:37
                                                                          Jamison and
                                                                          financial aid
                                                                          supervisor re. funds
                                                                          for his food (:45);
                                                                          debriefed Shirim
                                                                          (:15); drafted
                                                                          summary of
                                                                          conversations and
                                                                          researched follow
                                                                          up questions about
                                                                          Chafee money (:51)
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 29 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   309



User                      Date        Client                              Description             Time Spent



Total: 6/14/2006
                                                                                           3.13


Priy Sinha                  6/15/2006 Mississippi                         Revised letter to          0:45:00
                                                                          Rusty re. Jamison's
                                                                          food shortage as
                                                                          per Shirim's
                                                                          comments, talked
                                                                          to Jamison to verify
                                                                          information, and
                                                                          drafted email to Eric
                                                                          regarding draft
Priy Sinha                  6/15/2006 Mississippi                         Drafted letter to          1:56:20
                                                                          Rusty about
                                                                          Jamison's ongoing
                                                                          food money crisis
Priy Sinha                  6/15/2006 Mississippi                         Reviewed Steib             3:55:16
                                                                          report for FOF

Total: 6/15/2006
                                                                                           6.61


Priy Sinha                  6/16/2006 Mississippi                         Telephone call with        0:15:00
                                                                          source to discuss
                                                                          latest regarding
                                                                          MDHS funding for
                                                                          food for Jamison
Priy Sinha                  6/16/2006 Mississippi                         Meeting with               0:25:00
                                                                          Jessica to go over
                                                                          facts in FOF pulled
                                                                          from NP report
Priy Sinha                  6/16/2006 Mississippi                         Revised FOF from           2:20:42
                                                                          Steib as per ET
                                                                          comments, reread
                                                                          report for additional
                                                                          facts

Total: 6/16/2006
                                                                                           3.02


Priy Sinha                  6/19/2006 Mississippi                         Revised letter to          0:40:00
                                                                          submit to
                                                                          Defendants
                                                                          regarding
                                                                          Jamison's ongoing
                                                                          food crisis
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 30 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   310



User                      Date        Client                              Description              Time Spent


Priy Sinha                  6/19/2006 Mississippi                         Meeting with team           0:50:00
                                                                          to discuss tasks
Priy Sinha                  6/19/2006 Mississippi                         Talked to Jamison           1:00:00
                                                                          (:35); contacts
                                                                          (:15); ET about
                                                                          letter (:10)
Priy Sinha                  6/19/2006 Mississippi                         Researched federal          1:10:53
                                                                          laws on EPSDT for
                                                                          standards section
                                                                          of FOF
Priy Sinha                  6/19/2006 Mississippi                         Meeting with team           2:30:00
                                                                          at Loeb & Loeb

Total: 6/19/2006
                                                                                            6.18


Priy Sinha                  6/20/2006 Mississippi                         Telephone call with         0:10:00
                                                                          Jamison
Priy Sinha                  6/20/2006 Mississippi                         Met with ET to              0:40:00
                                                                          discuss EPSDT
                                                                          citations (:15), and
                                                                          revised standards
                                                                          language (:25)
Priy Sinha                  6/20/2006 Mississippi                         Went through cites          0:45:25
                                                                          in Jamison fact
                                                                          summary to pull
                                                                          original docs for
                                                                          FRE1006
Priy Sinha                  6/20/2006 Mississippi                         Finalized citation for      0:49:09
                                                                          monitoring report
                                                                          from training
                                                                          schools case in MS
Priy Sinha                  6/20/2006 Mississippi                         Revised Jamison             1:04:43
                                                                          fact analysis to
                                                                          convert it into a
                                                                          voluminous
                                                                          business records
                                                                          summary
Priy Sinha                  6/20/2006 Mississippi                         Reviewed Rule               1:15:27
                                                                          1006 Jamison facts
                                                                          for neutrality of tone
Priy Sinha                  6/20/2006 Mississippi                         Drafted case                2:15:00
                                                                          summaries for FOF
                                                                          of abuse in care
Priy Sinha                  6/20/2006 Mississippi                         Researched federal          6:03:52
                                                                          EPSDT standards
                                                                          for FOF; checked
                                                                          whether FOF
                                                                          includes sufficient
                                                                          facts to support
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 31 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   311



User                      Date        Client                              Description             Time Spent


                                                                          standard; searched
                                                                          for citation for
                                                                          national standard
                                                                          for rate of abuse in
                                                                          care

Total: 6/20/2006
                                                                                         13.07


Priy Sinha                  6/21/2006 Mississippi                         Finalized FOF by           1:00:00
                                                                          entering in
                                                                          citechecking
                                                                          changes and newly
                                                                          drafted standards
                                                                          where appropriate
Priy Sinha                  6/21/2006 Mississippi                         Went through               1:22:01
                                                                          mandatory
                                                                          disclosure list to
                                                                          add exhbits for
                                                                          disclosure to trial
Priy Sinha                  6/21/2006 Mississippi                         Drafted case               2:30:56
                                                                          summaries for FOF
                                                                          (2:00); met with ET
                                                                          and revised as per
                                                                          comments (:30)
Priy Sinha                  6/21/2006 Mississippi                         Researched                 4:00:08
                                                                          statutory cites for
                                                                          FOF (2:30); drafted
                                                                          standards language
                                                                          (:30): met with ET
                                                                          and did revisions
                                                                          accordingly (:30);
                                                                          searched through
                                                                          standards for best
                                                                          locations for add'l
                                                                          standards language
                                                                          (:30)

Total: 6/21/2006
                                                                                           8.89


Priy Sinha                  6/22/2006 Mississippi                         Telephone call with        0:27:00
                                                                          Jamison
Priy Sinha                  6/22/2006 Mississippi                         Finalizing exhibit         0:30:00
                                                                          list--confirmed what
                                                                          some docs were by
                                                                          going back to
                                                                          original docs and
                                                                          calling co-counsel
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 32 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   312



User                      Date        Client                              Description              Time Spent


Priy Sinha                  6/22/2006 Mississippi                         Read/compiled list          2:00:25
                                                                          of press articles for
                                                                          inclusion in the
                                                                          exhibit list

Total: 6/22/2006
                                                                                            2.96


Priy Sinha                  6/23/2006 Mississippi                         Talked to ET about          6:36:11
                                                                          whether additional
                                                                          facts need to pulled
                                                                          from the Steib
                                                                          report (:15);
                                                                          reviewed Steib
                                                                          facts for additional
                                                                          FOFs (6:21)

Total: 6/23/2006
                                                                                            6.60


Priy Sinha                  6/26/2006 Mississippi                         Drafted Steib report        7:00:38
                                                                          facts in FOF form,
                                                                          doublechecking
                                                                          cites, placing into
                                                                          proper categories,

Total: 6/26/2006
                                                                                            7.01


Priy Sinha                  6/27/2006 Mississippi                         Telephone calls to          0:20:00
                                                                          Jamison to attempt
                                                                          to speak with him
Priy Sinha                  6/27/2006 Mississippi                         Met with Shirim to          0:30:00
                                                                          discuss calling
                                                                          foster parents to
                                                                          serve as witnesses
                                                                          (:15); worked on
                                                                          gathering
                                                                          information about
                                                                          foster parents who
                                                                          might serve as
                                                                          witnesses (:15)
Priy Sinha                  6/27/2006 Mississippi                         Researched federal          1:00:00
                                                                          and local rules on
                                                                          submitting
                                                                          subpoenas for trial
                                                                          witnesses
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 33 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   313



User                      Date        Client                              Description             Time Spent


Priy Sinha                  6/27/2006 Mississippi                         Worked on locating         1:30:47
                                                                          contact
                                                                          information/numbers
                                                                          for possible foster
                                                                          parent witnesses by
                                                                          looking through
                                                                          discovery
                                                                          documents listing
                                                                          their information
                                                                          and searching white
                                                                          pages
Priy Sinha                  6/27/2006 Mississippi                         Telephone calls to         1:40:03
                                                                          locate foster
                                                                          parents (1:10);
                                                                          conversation with
                                                                          FP (:30)

Total: 6/27/2006
                                                                                           5.01


Priy Sinha                  6/28/2006 Mississippi                         Meeting with Shirim        0:20:00
                                                                          about status of
                                                                          witness calls
Priy Sinha                  6/28/2006 Mississippi                         Meeting with team          0:40:00
                                                                          about status of work
Priy Sinha                  6/28/2006 Mississippi                         Telephone calls to         1:10:29
                                                                          former foster
                                                                          parents of NP to
                                                                          locate them (:50);
                                                                          placed status of
                                                                          foster parents calls
                                                                          into Shirim's chart
                                                                          (:20)
Priy Sinha                  6/28/2006 Mississippi                         Telephone calls to         1:50:00
                                                                          foster parents to try
                                                                          to reach them (:50);
                                                                          spoke to FP(:30);
                                                                          typed in notes from
                                                                          conversation (:10);
                                                                          researched
                                                                          additional numbers
                                                                          on white pages (:20)
Priy Sinha                  6/28/2006 Mississippi                         Meeting with team          2:40:00
                                                                          about trial strategy,
                                                                          order of witnesses,
                                                                          exhibits,
                                                                          demonstrative aids
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 34 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   314



User                      Date        Client                              Description            Time Spent



Total: 6/28/2006
                                                                                          6.67


Priy Sinha                  6/29/2006 Mississippi                         Researched                1:00:12
                                                                          numbers for foster
                                                                          parents
Priy Sinha                  6/29/2006 Mississippi                         Telephone call with       1:20:07
                                                                          FP about her
                                                                          experiences
                                                                          fostering and
                                                                          testifying at trial
                                                                          (:40); drafted notes
                                                                          from conversation
                                                                          (:20); spoke to
                                                                          Shirim and Eric
                                                                          about call (:20)
Priy Sinha                  6/29/2006 Mississippi                         Researched rules          4:42:33
                                                                          applying to bringing
                                                                          subpeona for
                                                                          witnesses

Total: 6/29/2006
                                                                                          7.05


Priy Sinha                  6/30/2006 Mississippi                         Talked to contact         0:30:00
                                                                          and Corene about
                                                                          Jamison's financial
                                                                          circumstances,
                                                                          drafted email to
                                                                          Marcia
Priy Sinha                  6/30/2006 Mississippi                         Searched for              1:11:03
                                                                          documents
                                                                          underlying facts in
                                                                          Jamison's expert
                                                                          report
Priy Sinha                  6/30/2006 Mississippi                         Drafted outline for       5:14:52
                                                                          Jamison's testimony

Total: 6/30/2006
                                                                                          6.93


Priy Sinha                   7/5/2006 Mississippi                         Drafted outline for       5:56:24
                                                                          Jamison testimony
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 35 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   315



User                      Date        Client                              Description             Time Spent



Total: 7/5/2006
                                                                                           5.94


Priy Sinha                   7/6/2006 Mississippi                         Made list of topics        5:35:47
                                                                          for Marva Lewis
                                                                          trial testimony

Total: 7/6/2006
                                                                                           5.60


Priy Sinha                   7/7/2006 Mississippi                         Telephone calls to         0:26:11
                                                                          possible witnesses
Priy Sinha                   7/7/2006 Mississippi                         Drafted list of facts      6:16:00
                                                                          for trial testimony
                                                                          preparation for
                                                                          Marva lewis (5);
                                                                          cross referenced
                                                                          against analysis
                                                                          and added/moved
                                                                          around facts outline
                                                                          to fit subject matter
                                                                          categories (1:16)

Total: 7/7/2006
                                                                                           6.71


Priy Sinha                  7/10/2006 Mississippi                         Electronic mail to         0:19:13
                                                                          team with
                                                                          subpoena memo
Priy Sinha                  7/10/2006 Mississippi                         Wrote and mailed           0:20:00
                                                                          letter to Jamison to
                                                                          arrange weekly
                                                                          telephone calls and
                                                                          to send SASE for
                                                                          copy of financial aid
                                                                          package
Priy Sinha                  7/10/2006 Mississippi                         Researched                 0:37:00
                                                                          questions about
                                                                          Jamison's number
                                                                          of placements and
                                                                          status in state
                                                                          custody in response
                                                                          to Marcia's
                                                                          questions (:25);
                                                                          talked to Corene
                                                                          about whether she
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 36 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   316



User                      Date        Client                              Description              Time Spent


                                                                          knew if he can
                                                                          travel out of state
                                                                          yet (:12)
Priy Sinha                  7/10/2006 Mississippi                         Drafted trial outline       3:50:32
                                                                          for Jamison

Total: 7/10/2006
                                                                                            5.11


Priy Sinha                  7/11/2006 Mississippi                         Talked to Shirim            0:10:00
                                                                          about next steps on
                                                                          Jamison's trial
                                                                          testimony
Priy Sinha                  7/11/2006 Mississippi                         Telephone calls to          0:27:45
                                                                          witnesses
Priy Sinha                  7/11/2006 Mississippi                         Telephone call with         0:50:00
                                                                          Jamison (:40);
                                                                          email to Shirim
                                                                          about call (:10)

Total: 7/11/2006
                                                                                            1.46


Priy Sinha                  7/12/2006 Mississippi                         Meeting with Randy          0:18:01
                                                                          (intern) about
                                                                          Jamison's
                                                                          placements for
                                                                          demonstrative
                                                                          exhibit for trial
Priy Sinha                  7/12/2006 Mississippi                         Drafted trial               7:15:46
                                                                          questions, for
                                                                          Jamison from
                                                                          outline of key
                                                                          themes and
                                                                          considering
                                                                          coordination with
                                                                          Marva Lewis's
                                                                          expert testimony

Total: 7/12/2006
                                                                                            7.56


Priy Sinha                  7/13/2006 Mississippi                         Meeting with Shirim         0:25:00
                                                                          and Randy to
                                                                          discuss placement
                                                                          chart for Jamison
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 37 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   317



User                      Date        Client                              Description              Time Spent


Priy Sinha                  7/13/2006 Mississippi                         Meeting with Randy          0:25:00
                                                                          (intern) to discuss
                                                                          placements in her
                                                                          chart for Jamison
Priy Sinha                  7/13/2006 Mississippi                         Revised draft of            1:06:27
                                                                          jamison trial outline
Priy Sinha                  7/13/2006 Mississippi                         Reviewed                    2:20:02
                                                                          placement chart for
                                                                          Jamison to
                                                                          determine which
                                                                          were inappropriate

Total: 7/13/2006
                                                                                            4.28


Priy Sinha                  7/14/2006 Mississippi                         Drafted                     2:52:03
                                                                          chronological list of
                                                                          permanency
                                                                          placements for
                                                                          Jamison

Total: 7/14/2006
                                                                                            2.87


Priy Sinha                  7/18/2006 Mississippi                         Electronic mails            0:10:00
                                                                          with ET about
                                                                          EPSDT standards
Priy Sinha                  7/18/2006 Mississippi                         Meeting with Shirim         0:10:00
                                                                          about tasks on MS
Priy Sinha                  7/18/2006 Mississippi                         Conference call             0:25:00
                                                                          with team about
                                                                          case
Priy Sinha                  7/18/2006 Mississippi                         Meeting with                0:45:00
                                                                          inhouse team about
                                                                          inhouse tasks
Priy Sinha                  7/18/2006 Mississippi                         Revised Jamison's           0:46:35
                                                                          permanency
                                                                          chronology as per
                                                                          Shirim's comments
Priy Sinha                  7/18/2006 Mississippi                         Researched                  2:34:14
                                                                          EPSDT standards
                                                                          on timelines

Total: 7/18/2006
                                                                                            4.86
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 38 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   318



User                      Date        Client                              Description            Time Spent


Priy Sinha                  7/19/2006 Mississippi                         Researched                2:50:38
                                                                          whether federal
                                                                          regulations exist
                                                                          that address
                                                                          periodicity for
                                                                          EPSDT compliance
                                                                          (2:30); wrote email
                                                                          compiling
                                                                          conclusions of
                                                                          research (:20)

Total: 7/19/2006
                                                                                          2.84


Priy Sinha                  7/21/2006 Mississippi                         Drafted revised           0:50:18
                                                                          FOF on EPSDT
                                                                          standards including
                                                                          reference to federal
                                                                          regs

Total: 7/21/2006
                                                                                          0.84


Priy Sinha                  7/25/2006 Mississippi                         Meeting with Shirim       0:15:00
                                                                          to talk about
                                                                          Jamison's housing
                                                                          situation
Priy Sinha                  7/25/2006 Mississippi                         Drafted notes on          0:25:00
                                                                          call with Jamison
Priy Sinha                  7/25/2006 Mississippi                         Conference call           0:30:00
                                                                          with team

Total: 7/25/2006
                                                                                          1.17


Priy Sinha                  7/28/2006 Mississippi                         Reviewed tasks to         0:20:00
                                                                          accomplish for
                                                                          Mississippi
Priy Sinha                  7/28/2006 Mississippi                         Located and               0:30:00
                                                                          retrieved document
                                                                          that noted Catholic
                                                                          Charities
                                                                          documents
                                                                          removed from Rule
                                                                          1006 summaries for
                                                                          Jessica
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 39 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                       Page   319



User                      Date        Client                              Description                Time Spent



Total: 7/28/2006
                                                                                              0.83


Priy Sinha                   8/3/2006 Mississippi                         Telephone call with           0:27:31
                                                                          Jamison; housing
                                                                          department at
                                                                          college

Total: 8/3/2006
                                                                                              0.46


Priy Sinha                   8/7/2006 Mississippi                         Telephone call with           0:10:00
                                                                          Jamison(:5); wrote
                                                                          notes (:5)

Total: 8/7/2006
                                                                                              0.17


Priy Sinha                   8/8/2006 Mississippi                         Conference call               0:45:00
                                                                          with team about
                                                                          status of case,
                                                                          settlement
                                                                          negotiations,
                                                                          Jamison's trip to
                                                                          NYC

Total: 8/8/2006
                                                                                              0.75


Priy Sinha                   8/9/2006 Mississippi                         Telephone call to             0:40:37
                                                                          Financial Aid office
                                                                          and also business
                                                                          office to ask about
                                                                          status of Jamison's
                                                                          summer refund
                                                                          check, fall refund
                                                                          check

Total: 8/9/2006
                                                                                              0.68


Priy Sinha                  8/10/2006 Mississippi                         Reviewed Steib                0:34:27
                                                                          report for statement
                                                                          re. DHS
                                                                          underfunding for SN
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 40 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   320



User                      Date        Client                              Description              Time Spent



Total: 8/10/2006
                                                                                            0.57


Priy Sinha                  8/15/2006 Mississippi                         Conference call             0:17:00
                                                                          with team MS

Total: 8/15/2006
                                                                                            0.28


Priy Sinha                  8/22/2006 Mississippi                         Telephone call with         0:35:29
                                                                          Jamison; contact;
                                                                          drafted notes
Priy Sinha                  8/22/2006 Mississippi                         Telephone call with         0:45:00
                                                                          MS team (:20);
                                                                          discussion with
                                                                          Shirim about
                                                                          remaining tasks
                                                                          (:25)

Total: 8/22/2006
                                                                                            1.34


Priy Sinha                  8/24/2006 Mississippi                         Telephone call with         0:10:00
                                                                          Jamison

Total: 8/24/2006
                                                                                            0.17


Priy Sinha                  8/30/2006 Mississippi                         Conference call             0:20:00
                                                                          with Eric
                                                                          Thompson, Shirim
                                                                          Nothenberg, and
                                                                          Tara Crean to
                                                                          discuss tasks on
                                                                          MS now that
                                                                          decisions on MSJ
                                                                          and other motions
                                                                          are in

Total: 8/30/2006
                                                                                            0.33
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 41 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   321



User                      Date        Client                              Description             Time Spent


Priy Sinha                  9/12/2006 Mississippi                         Telephone call with        0:15:00
                                                                          Jamison and wrote
                                                                          notes accordingly
                                                                          about conversation
Priy Sinha                  9/12/2006 Mississippi                         Telephone                  0:16:00
                                                                          Conference. with
                                                                          team about MS

Total: 9/12/2006
                                                                                           0.52


Priy Sinha                  9/28/2006 Mississippi                         Read over trial            1:10:00
                                                                          outline and talked
                                                                          to Shirim, Jamison
                                                                          regarding same

Total: 9/28/2006
                                                                                           1.17


Priy Sinha                 10/16/2006 Mississippi                         Telephone call with        1:00:00
                                                                          NP, and took notes
                                                                          afterwards

Total: 10/16/2006
                                                                                           1.00


Priy Sinha                 10/17/2006 Mississippi                         Talked to Shirim           0:30:00
                                                                          and Corene about
                                                                          NP support,
                                                                          counseling,
                                                                          academic, and
                                                                          financial issues

Total: 10/17/2006
                                                                                           0.50


Priy Sinha                 10/18/2006 Mississippi                         Talked to NP               0:30:00


Total: 10/18/2006
                                                                                           0.50


Priy Sinha                 10/19/2006 Mississippi                         Talked to Jamison          1:20:00
                                                                          (:20); pulled various
                                                                          information
                                                                          regarding follow-up
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 42 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   322



User                      Date        Client                              Description              Time Spent


                                                                          for him with respect
                                                                          to finding support
                                                                          services at his
                                                                          college and school
                                                                          to help with
                                                                          transition to college
                                                                          (1 hr)

Total: 10/19/2006
                                                                                            1.33


Priy Sinha                 10/20/2006 Mississippi                         Researched                  0:19:58
                                                                          campus resources
                                                                          for NP Jamison

Total: 10/20/2006
                                                                                            0.33


Priy Sinha                 10/26/2006 Mississippi                         Talked to Jamison;          0:20:48
                                                                          tried calling again
                                                                          several times
Priy Sinha                 10/26/2006 Mississippi                         Talked to Eric              0:25:00
                                                                          Thompson about
                                                                          Jamison's
                                                                          academic and
                                                                          social situation in
                                                                          college and
                                                                          possible need to do
                                                                          emergency
                                                                          assistance to help
                                                                          him this semester
Priy Sinha                 10/26/2006 Mississippi                         Talked to Sara              3:15:00
                                                                          Munson, contacts
                                                                          and sent out
                                                                          several emails in
                                                                          search of advice
                                                                          about NP's
                                                                          difficulties in
                                                                          college, and took
                                                                          notes on
                                                                          discussions

Total: 10/26/2006
                                                                                            4.02


Priy Sinha                 10/29/2006 Mississippi                         Telephone calls             0:45:00
                                                                          with NP
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 43 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   323



User                      Date        Client                              Description             Time Spent



Total: 10/29/2006
                                                                                           0.75


Priy Sinha                 10/30/2006 Mississippi                         Took notes on NP           0:23:10
                                                                          conversations and
                                                                          tried calling him
                                                                          again

Total: 10/30/2006
                                                                                           0.39


Priy Sinha                 10/31/2006 Mississippi                         Telephone call with        0:20:00
                                                                          D to set up time for
                                                                          team meeting
Priy Sinha                 10/31/2006 Mississippi                         Talked to Jamison          0:30:00
                                                                          and took notes on
                                                                          conversation;
                                                                          drafted email to
                                                                          team about him

Total: 10/31/2006
                                                                                           0.83


Priy Sinha                  11/1/2006 Mississippi                         Organized team             0:40:00
                                                                          meeting for
                                                                          Jamison by emails
                                                                          and phonecalls

Total: 11/1/2006
                                                                                           0.67


Priy Sinha                  11/2/2006 Mississippi                         Telephone calls            1:50:41
                                                                          with team for
                                                                          Jamison to set up
                                                                          phonecall to
                                                                          discuss basic
                                                                          support issues for
                                                                          him; talked to
                                                                          Jamison about
                                                                          current grades,
                                                                          talked to Shirim
                                                                          about strategies to
                                                                          help him remain
                                                                          enrolled in college
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 44 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   324



User                      Date        Client                              Description            Time Spent



Total: 11/2/2006
                                                                                          1.84


Priy Sinha                  11/6/2006 Mississippi                         Telephone call with       0:15:01
                                                                          Jamison to talk
                                                                          about grades and to
                                                                          set up apptmt to
                                                                          call school together

Total: 11/6/2006
                                                                                          0.25


Priy Sinha                  11/7/2006 Mississippi                         Telephone call with       0:07:21
                                                                          Jamison

Total: 11/7/2006
                                                                                          0.12


Priy Sinha                  11/9/2006 Mississippi                         Conference call           2:10:00
                                                                          with Jamison's
                                                                          team to talk about
                                                                          grades, housing,
                                                                          healthcare
                                                                          (including
                                                                          preparation and
                                                                          postcall notes)

Total: 11/9/2006
                                                                                          2.17


Priy Sinha                 11/10/2006 Mississippi                         Notes on call with        0:45:00
                                                                          Jamison and asked
                                                                          Jessica to provide
                                                                          support next week
                                                                          while I am out

Total: 11/10/2006
                                                                                          0.75


Priy Sinha                 11/20/2006 Mississippi                         Telephone call with       0:45:00
                                                                          contact and notes
                                                                          re NP
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 45 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   325



User                      Date        Client                              Description            Time Spent



Total: 11/20/2006
                                                                                          0.75


Priy Sinha                 11/28/2006 Mississippi                         Meeting with Shirim       0:20:00
                                                                          to discuss
                                                                          education piece of
                                                                          settlement
Priy Sinha                 11/28/2006 Mississippi                         Talked with contact       0:30:00
                                                                          to get update on
                                                                          Jamison's school
                                                                          issues, took notes,
                                                                          and sent email to
                                                                          group with update.
Priy Sinha                 11/28/2006 Mississippi                         Email to group with       0:40:00
                                                                          follow up regarding
                                                                          Jamison's grades
                                                                          situation (:35);
                                                                          talked to Jamison
                                                                          (:5)
Priy Sinha                 11/28/2006 Mississippi                         Drafted education         1:52:14
                                                                          piece for settlement
                                                                          discussion

Total: 11/28/2006
                                                                                          3.37


Priy Sinha                 11/29/2006 Mississippi                         Drafted education         6:00:12
                                                                          piece for MS
                                                                          settlement

Total: 11/29/2006
                                                                                          6.00


Priy Sinha                 11/30/2006 Mississippi                         Talked to Shirim          0:30:00
                                                                          about education
                                                                          piece of settlement
                                                                          proposal
Priy Sinha                 11/30/2006 Mississippi                         Revised education         2:20:12
                                                                          piece for MS
                                                                          settlement as per
                                                                          SN comments
Priy Sinha                 11/30/2006 Mississippi                         Drafted education         2:30:00
                                                                          piece for MS
                                                                          settlement
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 46 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   326



User                      Date        Client                              Description            Time Spent



Total: 11/30/2006
                                                                                          5.34


Priy Sinha                  12/4/2006 Mississippi                         Revised education         5:04:29
                                                                          piece as per
                                                                          Shirim's comments

Total: 12/4/2006
                                                                                          5.07


Priy Sinha                  12/5/2006 Mississippi                         Revised education         0:30:42
                                                                          piece for settlement
                                                                          as per Shirim's
                                                                          comments
Priy Sinha                  12/5/2006 Mississippi                         Revised education         0:35:00
                                                                          piece for settlement
                                                                          as per Shirim's
                                                                          comments

Total: 12/5/2006
                                                                                          1.09


Priy Sinha                 12/11/2006 Mississippi                         Researched               11:02:13
                                                                          standard for
                                                                          substantial
                                                                          compliance in 5th
                                                                          Circuit

Total: 12/11/2006
                                                                                         11.04


Priy Sinha                 12/12/2006 Mississippi                         Left telephone            0:05:00
                                                                          message with NP
Priy Sinha                 12/12/2006 Mississippi                         Researched                0:30:19
                                                                          whether Chafee
                                                                          has lower age limit
                                                                          for Independent
                                                                          Living as a
                                                                          permanency plan
Priy Sinha                 12/12/2006 Mississippi                         Telephone call with       0:45:00
                                                                          Jamison's
                                                                          counselor at his
                                                                          college, for an
                                                                          update, took notes,
                                                                          and let Corene
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 47 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                        Page   327



User                      Date        Client                              Description                 Time Spent


                                                                          Kendrick and
                                                                          Shirim Nothenberg
                                                                          know

Total: 12/12/2006
                                                                                               1.34


Priy Sinha                 12/13/2006 Mississippi                         Talked to Holly                0:20:00
                                                                          Beck about
                                                                          statutory cites to
                                                                          look up for
                                                                          settlement
                                                                          negotiations

Total: 12/13/2006
                                                                                               0.33


Priy Sinha                 12/14/2006 Mississippi                         Reviewed current               3:37:17
                                                                          draft of settlement
                                                                          agreement to see
                                                                          which education
                                                                          provisions were in
                                                                          it, added or edited
                                                                          language, added
                                                                          cites, and added
                                                                          some additional
                                                                          suggestions

Total: 12/14/2006
                                                                                               3.62


Priy Sinha                 12/15/2006 Mississippi                         talked to Corene               0:45:00
                                                                          twice about
                                                                          Jamison not taking
                                                                          exams as planned,
                                                                          talked to Jamison,
                                                                          called counselor's
                                                                          office, and took
                                                                          notes on situation
Priy Sinha                 12/15/2006 Mississippi                         Researched                     2:00:03
                                                                          statutory citations
                                                                          for settlement;
                                                                          added proposed
                                                                          language for one
                                                                          cite
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 48 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   328



User                      Date        Client                              Description            Time Spent



Total: 12/15/2006
                                                                                          2.75


Priy Sinha                 12/18/2006 Mississippi                         Researched and            0:20:00
                                                                          took notes on policy
                                                                          of Jamison's
                                                                          community college
                                                                          regarding clearance
                                                                          for taking exams if
                                                                          student has an
                                                                          outstanding balance
Priy Sinha                 12/18/2006 Mississippi                         Citechecked legal         1:00:47
                                                                          cites in settlement
                                                                          agreement

Total: 12/18/2006
                                                                                          1.34



Total: Priy Sinha
                                                                                        608.84
       Case 3:04-cv-00251-HSO-ASH            Document 472-5             Filed 05/09/08    Page 49 of 658
5/1/2008                                     Children's Rights, Inc.
12:53 PM                                    User Defined Slip Listing                                   Page   329



User                             Date        Client                              Description            Time Spent


Attorney/Para: Randy Alison Aussenberg
Randy Aussenber                    5/31/2006 Mississippi                         Meeting with staff        0:30:00
                                                                                 attorney and intern
                                                                                 regarding discovery

Total: 5/31/2006
                                                                                                 0.50


Randy Aussenber                     6/2/2006 Mississippi                         Reading and               1:00:00
                                                                                 indexing named
                                                                                 plaintiff discovery
                                                                                 documents
Randy Aussenber                     6/2/2006 Mississippi                         Reading and               1:00:00
                                                                                 indexing named
                                                                                 plaintiff discovery
                                                                                 documents
Randy Aussenber                     6/2/2006 Mississippi                         Read and indexing         2:00:00
                                                                                 named plaintiff
                                                                                 discovery
                                                                                 documents
Randy Aussenber                     6/2/2006 Mississippi                         Reading and               2:30:00
                                                                                 indexing named
                                                                                 plaintiff discovery
                                                                                 documents

Total: 6/2/2006
                                                                                                 6.50


Randy Aussenber                     6/6/2006 Mississippi                         Indexing named            1:00:00
                                                                                 plaintiffs documents
Randy Aussenber                     6/6/2006 Mississippi                         Indexing named            1:30:00
                                                                                 plaintiff discovery
                                                                                 documents
Randy Aussenber                     6/6/2006 Mississippi                         Indexing named            2:30:00
                                                                                 plaintiff discovery
                                                                                 documents

Total: 6/6/2006
                                                                                                 5.00


Randy Aussenber                     6/7/2006 Mississippi                         Indexing named            2:00:00
                                                                                 plaintiffs documents
Randy Aussenber                     6/7/2006 Mississippi                         Indexing named            3:00:00
                                                                                 plaintiff documents
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 50 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   330



User                      Date        Client                              Description              Time Spent



Total: 6/7/2006
                                                                                            5.00


Randy Aussenber              6/8/2006 Mississippi                         Indexing named              0:30:00
                                                                          plaintiff documents
Randy Aussenber              6/8/2006 Mississippi                         Indexing named              1:45:00
                                                                          plaintiff discovery
                                                                          documents
Randy Aussenber              6/8/2006 Mississippi                         Indexing named              3:00:00
                                                                          plaintiff discovery
                                                                          documents

Total: 6/8/2006
                                                                                            5.25


Randy Aussenber             6/12/2006 Mississippi                         Indexing named              3:00:00
                                                                          plaintiff discovery
                                                                          documents
Randy Aussenber             6/12/2006 Mississippi                         Indexing named              3:45:00
                                                                          plaintiff discovery
                                                                          documents

Total: 6/12/2006
                                                                                            6.75


Randy Aussenber             6/13/2006 Mississippi                         Meeting with MS             1:00:00
                                                                          team
Randy Aussenber             6/13/2006 Mississippi                         Indexing named              1:20:00
                                                                          plaintiff discovery
                                                                          docs
Randy Aussenber             6/13/2006 Mississippi                         Named plaintiff             5:30:00
                                                                          indexing of
                                                                          discovery
                                                                          documents

Total: 6/13/2006
                                                                                            7.83


Randy Aussenber             6/14/2006 Mississippi                         Revising and                1:00:00
                                                                          cleaning up
                                                                          discovery indexing

Total: 6/14/2006
                                                                                            1.00
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 51 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   331



User                      Date        Client                              Description              Time Spent


Randy Aussenber             6/16/2006 Mississippi                         Preparation for MS          1:00:00
                                                                          trial strategy
                                                                          meeting

Total: 6/16/2006
                                                                                            1.00


Randy Aussenber             6/19/2006 Mississippi                         Attended MS                 3:30:00
                                                                          strategy meeting at
                                                                          Loeb and Loeb

Total: 6/19/2006
                                                                                            3.50


Randy Aussenber             6/20/2006 Mississippi                         Designing visuals to        2:00:00
                                                                          be used during
                                                                          expert testimony

Total: 6/20/2006
                                                                                            2.00


Randy Aussenber             6/21/2006 Mississippi                         Designing visuals           2:00:00
                                                                          for trial expert
                                                                          testimony

Total: 6/21/2006
                                                                                            2.00


Randy Aussenber             6/23/2006 Mississippi                         Conferring with MS          1:30:00
                                                                          team and revising
                                                                          visuals

Total: 6/23/2006
                                                                                            1.50


Randy Aussenber             6/26/2006 Mississippi                         Meeting with S.             0:30:00
                                                                          Mehlman regarding
                                                                          plan for trial visuals

Total: 6/26/2006
                                                                                            0.50


Randy Aussenber             6/27/2006 Mississippi                         Designing trial             3:30:00
                                                                          visuals
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 52 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   332



User                      Date        Client                              Description            Time Spent



Total: 6/27/2006
                                                                                          3.50


Randy Aussenber             6/28/2006 Mississippi                         Designing visuals to      0:30:00
                                                                          accompany expert
                                                                          testimony
Randy Aussenber             6/28/2006 Mississippi                         Revising visuals          0:30:00
                                                                          with MS team

Total: 6/28/2006
                                                                                          1.00


Randy Aussenber             6/29/2006 Mississippi                         Meeting with SN           0:15:00
                                                                          regarding trial
                                                                          visual revisions
Randy Aussenber             6/29/2006 Mississippi                         Reading for Cody          0:30:00
                                                                          visual

Total: 6/29/2006
                                                                                          0.75


Randy Aussenber             6/30/2006 Mississippi                         Meeting and               0:30:00
                                                                          brainstorming with
                                                                          S. Mehlman
                                                                          regarding MS trial
                                                                          visuals

Total: 6/30/2006
                                                                                          0.50


Randy Aussenber              7/5/2006 Mississippi                         Reading                   3:00:00
                                                                          preparation for
                                                                          meeting (2:30pm -
                                                                          3pm); meeting with
                                                                          Sarah Mehlman
                                                                          (3pm - 3:30pm);
                                                                          work on mock ups
                                                                          of trial visuals
                                                                          (3:30pm - 5:30pm)
Randy Aussenber              7/5/2006 Mississippi                         Reading and               3:30:00
                                                                          outlining named
                                                                          plaintiff case
                                                                          summaries
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 53 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                       Page   333



User                      Date        Client                              Description                Time Spent



Total: 7/5/2006
                                                                                              6.50


Randy Aussenber              7/6/2006 Mississippi                         Designing and                 1:00:00
                                                                          revising trial visuals

Total: 7/6/2006
                                                                                              1.00


Randy Aussenber              7/7/2006 Mississippi                         Color coding MS               4:00:00
                                                                          diagram

Total: 7/7/2006
                                                                                              4.00


Randy Aussenber             7/10/2006 Mississippi                         Working on visual             1:45:00
                                                                          regarding named
                                                                          plaintiff Cody

Total: 7/10/2006
                                                                                              1.75


Randy Aussenber             7/11/2006 Mississippi                         Fine tuning trial             1:00:00
                                                                          visuals

Total: 7/11/2006
                                                                                              1.00


Randy Aussenber             7/13/2006 Mississippi                         Fact checking for             0:30:00
                                                                          MS visuals

Total: 7/13/2006
                                                                                              0.50


Randy Aussenber             7/14/2006 Mississippi                         Fine tuning visuals           3:00:00
                                                                          for trial expert
                                                                          testimony

Total: 7/14/2006
                                                                                              3.00
       Case 3:04-cv-00251-HSO-ASH            Document 472-5             Filed 05/09/08    Page 54 of 658
5/1/2008                                     Children's Rights, Inc.
12:53 PM                                    User Defined Slip Listing                                   Page   334



User                             Date        Client                              Description            Time Spent


Randy Aussenber                    7/17/2006 Mississippi                         Revising Named            2:00:00
                                                                                 plaintiffs expert
                                                                                 testimony visuals
                                                                                 for trial

Total: 7/17/2006
                                                                                                 2.00


Randy Aussenber                    7/18/2006 Mississippi                         Finishing up Cody's       0:30:00
                                                                                 calendar mock up
Randy Aussenber                    7/18/2006 Mississippi                         Finishing up trial        1:30:00
                                                                                 visuals for Shirim's
                                                                                 meeting with Loeb

Total: 7/18/2006
                                                                                                 2.00



Total: Randy Alison Aussenberg
                                                                                                75.83
       Case 3:04-cv-00251-HSO-ASH         Document 472-5             Filed 05/09/08    Page 55 of 658
5/1/2008                                  Children's Rights, Inc.
12:53 PM                                 User Defined Slip Listing                                  Page   335



User                          Date        Client                              Description           Time Spent


Attorney/Para: Sara Bartosz
Sara Bartosz                    4/29/2006 Mississippi                         Prepare 56.1            11:00:00
                                                                              statement and
                                                                              motion for summary
                                                                              judgement sections
                                                                              on applicable child
                                                                              welfare standards;
                                                                              perform citation
                                                                              checks.

Total: 4/29/2006
                                                                                            11.00



Total: Sara Bartosz
                                                                                            11.00
       Case 3:04-cv-00251-HSO-ASH          Document 472-5             Filed 05/09/08    Page 56 of 658
5/1/2008                                   Children's Rights, Inc.
12:53 PM                                  User Defined Slip Listing                                     Page   336



User                           Date        Client                              Description              Time Spent


Attorney/Para: Sarah Mehlman
Sarah Mehlman                    6/26/2006 Mississippi                         Research and plan           4:30:00
                                                                               proposal for MS
                                                                               visual project

Total: 6/26/2006
                                                                                                 4.50


Sarah Mehlman                    6/29/2006 Mississippi                         Read over                   4:00:00
                                                                               materials for MS
                                                                               proposal, type up
                                                                               proposal and
                                                                               design visuals

Total: 6/29/2006
                                                                                                 4.00


Sarah Mehlman                     7/5/2006 Mississippi                         Visual planning             2:00:00


Total: 7/5/2006
                                                                                                 2.00


Sarah Mehlman                    7/11/2006 Mississippi                         Edit proposal for           4:00:00
                                                                               visuals - meeting
                                                                               with SN

Total: 7/11/2006
                                                                                                 4.00


Sarah Mehlman                    7/13/2006 Mississippi                         Document review -           5:30:00
                                                                               Olivia Y

Total: 7/13/2006
                                                                                                 5.50


Sarah Mehlman                    7/14/2006 Mississippi                         Review document -           5:00:00
                                                                               Olivia Y

Total: 7/14/2006
                                                                                                 5.00
       Case 3:04-cv-00251-HSO-ASH   Document 472-5              Filed 05/09/08    Page 57 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                  Page   337



User                      Date      Client                               Description           Time Spent



Total: Sarah Mehlman
                                                                                       25.00
       Case 3:04-cv-00251-HSO-ASH         Document 472-5             Filed 05/09/08     Page 58 of 658
5/1/2008                                  Children's Rights, Inc.
12:53 PM                                 User Defined Slip Listing                                    Page   338



User                          Date        Client                              Description             Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                     1/3/2006 Mississippi                         telephone call with        0:36:10
                                                                              contact re failure by
                                                                              DHS to notify youth
                                                                              Court of child in its
                                                                              custody
Shirim, Esq.                     1/3/2006 Mississippi                          Meeting with Priy         0:42:56
                                                                              re name plaintiff
                                                                              doc review and
                                                                              summary, and meet
                                                                              with Anita and Holly
                                                                              re hot doc review
                                                                              and summaries
Shirim, Esq.                     1/3/2006 Mississippi                         try to reschedule          0:45:55
                                                                              John A exam, and
                                                                              write letter to
                                                                              defendants re same
Shirim, Esq.                     1/3/2006 Mississippi                         Review draft NP            1:40:00
                                                                              expert report
Shirim, Esq.                     1/3/2006 Mississippi                         Review expert draft        4:17:16


Total: 1/3/2006
                                                                                               8.05


Shirim, Esq.                     1/8/2006 Mississippi                         Review second              2:40:00
                                                                              draft of Jamison NP
                                                                              fact summary

Total: 1/8/2006
                                                                                               2.67


Shirim, Esq.                    1/10/2006 Mississippi                         Telephone call with        0:18:52
                                                                              John a and foster
                                                                              mother about
                                                                              upcomming exam
                                                                              by Hiatt
Shirim, Esq.                    1/10/2006 Mississippi                         Prepare for and            0:35:18
                                                                              participate in team
                                                                              meeting re tasks to
                                                                              be accomplished
                                                                              and deadlines

Total: 1/10/2006
                                                                                               0.90


Shirim, Esq.                    1/13/2006 Mississippi                         Review summary of          1:35:00
                                                                              Jamison's case file
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 59 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   339



User                      Date        Client                              Description            Time Spent



Total: 1/13/2006
                                                                                          1.58


Shirim, Esq.                1/16/2006 Mississippi                         Telephone call with       0:05:00
                                                                          expert ML re case
                                                                          analysis

Total: 1/16/2006
                                                                                          0.08


Shirim, Esq.                1/17/2006 Mississippi                         Telephone call with       0:23:00
                                                                          expert re np report
Shirim, Esq.                1/17/2006 Mississippi                         Telephone call with       0:24:47
                                                                          all counsel re
                                                                          expert report status
                                                                          and status of
                                                                          deficiency letter
Shirim, Esq.                1/17/2006 Mississippi                         Telephone call with       1:28:58
                                                                          Expert re NP report

Total: 1/17/2006
                                                                                          2.27


Shirim, Esq.                1/18/2006 Mississippi                         Meeting with team         0:37:33
                                                                          to discuss review of
                                                                          13 boxes of
                                                                          discovery and how
                                                                          to get the docs to
                                                                          various experts
Shirim, Esq.                1/18/2006 Mississippi                         Read expert's draft       1:23:10
                                                                          of
                                                                          jamison case
                                                                          pratice analysis
Shirim, Esq.                1/18/2006 Mississippi                         Telephone call with       1:48:24
                                                                          ML re NP report

Total: 1/18/2006
                                                                                          3.83


Shirim, Esq.                1/21/2006 Mississippi                         Meeting with expert       9:40:46
                                                                          re named plaintiff
                                                                          report
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 60 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   340



User                      Date        Client                              Description               Time Spent



Total: 1/21/2006
                                                                                             9.68


Shirim, Esq.                1/22/2006 Mississippi                         Review np docs               2:30:00
                                                                          produced in last
                                                                          supp.

Total: 1/22/2006
                                                                                             2.50


Shirim, Esq.                1/23/2006 Mississippi                         Review newest NP             2:40:00
                                                                          docs produced in
                                                                          Jan.

Total: 1/23/2006
                                                                                             2.67


Shirim, Esq.                1/24/2006 Mississippi                         Draft new entries to         3:12:59
                                                                          NP index from
                                                                          review of new NP
                                                                          docs

Total: 1/24/2006
                                                                                             3.22


Shirim, Esq.                1/25/2006 Mississippi                         Telephone call with          0:25:00
                                                                          Marva Lewis re NP
                                                                          report
Shirim, Esq.                1/25/2006 Mississippi                         Review Hiatt expert          0:30:00
                                                                          report

Total: 1/25/2006
                                                                                             0.92


Shirim, Esq.                1/31/2006 Mississippi                         Telephone call with          0:17:00
                                                                          Marva Lewis
                                                                          (second) re expert
                                                                          report
Shirim, Esq.                1/31/2006 Mississippi                         Telephone call with          0:23:00
                                                                          Dr. Lewis re report
Shirim, Esq.                1/31/2006 Mississippi                         Meeting (T/C) with           0:35:02
                                                                          team and then just
                                                                          with MRL and ET re
                                                                          status
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 61 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   341



User                      Date        Client                              Description            Time Spent



Total: 1/31/2006
                                                                                          1.24


Shirim, Esq.                 2/1/2006 Mississippi                         Meeting with team         0:39:34
                                                                          re tasks to do for
                                                                          next week
Shirim, Esq.                 2/1/2006 Mississippi                         Meeting with Loeb         1:30:26
                                                                          re next round of
                                                                          depositions
Shirim, Esq.                 2/1/2006 Mississippi                         Review 2 binders of       1:30:49
                                                                          new John A NP
                                                                          docs
Shirim, Esq.                 2/1/2006 Mississippi                         Review John a             2:44:43
                                                                          docs from Jan supp.
Shirim, Esq.                 2/1/2006 Mississippi                         Review new NP             6:39:19
                                                                          documents

Total: 2/1/2006
                                                                                         13.09


Shirim, Esq.                 2/4/2006 Mississippi                         Telephone call with       3:06:11
                                                                          expert re edits to
                                                                          report

Total: 2/4/2006
                                                                                          3.10


Shirim, Esq.                 2/5/2006 Mississippi                         Read fiscal and NP        4:43:33
                                                                          reports

Total: 2/5/2006
                                                                                          4.73


Shirim, Esq.                 2/6/2006 Mississippi                         Telephone call with       2:11:48
                                                                          BRISTER RE
                                                                          REPORT

Total: 2/6/2006
                                                                                          2.20


Shirim, Esq.                 2/9/2006 Mississippi                         Begin to read the         0:17:00
                                                                          Hess report
Shirim, Esq.                 2/9/2006 Mississippi                         Review CRR report         0:31:56
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 62 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   342



User                      Date        Client                              Description              Time Spent


Shirim, Esq.                 2/9/2006 Mississippi                         Meeting with MS             0:53:16
                                                                          team re outstanding
                                                                          discovery related
                                                                          tasks
Shirim, Esq.                 2/9/2006 Mississippi                         Pull together docs          2:33:22
                                                                          for supplemental
                                                                          Plaintiff discovery
                                                                          and cover letter re
                                                                          same

Total: 2/9/2006
                                                                                            4.26


Shirim, Esq.                2/14/2006 Mississippi                         Meeting with all            0:15:00
                                                                          team re expert
                                                                          report release and
                                                                          upcoming depos
Shirim, Esq.                2/14/2006 Mississippi                         Meeting with NYC            0:34:25
                                                                          team re new abuse
                                                                          in care docs.
Shirim, Esq.                2/14/2006 Mississippi                          Review documents           3:23:48
                                                                          from licensing

Total: 2/14/2006
                                                                                            4.22


Shirim, Esq.                2/15/2006 Mississippi                         Read and digest             3:40:00
                                                                          investigation files

Total: 2/15/2006
                                                                                            3.67


Shirim, Esq.                2/16/2006 Mississippi                         Review licensing            2:48:21
                                                                          docs
Shirim, Esq.                2/16/2006 Mississippi                         Read and digest             3:23:40
                                                                          licensing docs

Total: 2/16/2006
                                                                                            6.20


Shirim, Esq.                2/21/2006 Mississippi                         Telephone call with         0:20:00
                                                                          team re expert
                                                                          discovery
Shirim, Esq.                2/21/2006 Mississippi                         Review licesning            0:34:00
                                                                          docs
Shirim, Esq.                2/21/2006 Mississippi                         Review Ds' expert           0:35:14
                                                                          discovery
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 63 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   343



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                2/21/2006 Mississippi                         Review licensing          6:27:48
                                                                          docs and index

Total: 2/21/2006
                                                                                          7.95


Shirim, Esq.                2/22/2006 Mississippi                         Telephone call with       0:06:46
                                                                          Marva re deposition
                                                                          dates
Shirim, Esq.                2/22/2006 Mississippi                         Telephone call with       0:24:03
                                                                          Source re NP
                                                                          Jamison aging out
                                                                          of care and review
                                                                          policy re same
Shirim, Esq.                2/22/2006 Mississippi                         Review licensing          1:15:15
                                                                          docs
Shirim, Esq.                2/22/2006 Mississippi                         Review MS                 3:37:11
                                                                          licensing docs

Total: 2/22/2006
                                                                                          5.38


Shirim, Esq.                2/23/2006 Mississippi                         Review licensing          7:19:47
                                                                          docs

Total: 2/23/2006
                                                                                          7.33


Shirim, Esq.                2/28/2006 Mississippi                         Telephone call with       0:30:00
                                                                          team re Gov. Office
                                                                          depo
Shirim, Esq.                2/28/2006 Mississippi                         Review expert             6:18:19
                                                                          reports and prior
                                                                          depositions in
                                                                          preparation for
                                                                          expert deps.

Total: 2/28/2006
                                                                                          6.81


Shirim, Esq.                 3/1/2006 Mississippi                         Telephone call to         0:03:41
                                                                          expert ML re depo
                                                                          schedule
Shirim, Esq.                 3/1/2006 Mississippi                         Review docs to            0:25:07
                                                                          prepare to defend
                                                                          NP expert.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 64 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   344



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                 3/1/2006 Mississippi                         Prepare to defend         2:18:07
                                                                          ML deposition.
Shirim, Esq.                 3/1/2006 Mississippi                         Review newest             5:30:00
                                                                          production re abuse
                                                                          in care

Total: 3/1/2006
                                                                                          8.28


Shirim, Esq.                 3/2/2006 Mississippi                         Telephone                 0:43:00
                                                                          conferenc call re
                                                                          expert discovery
                                                                          and motion for
                                                                          extension of time
Shirim, Esq.                 3/2/2006 Mississippi                         Telephone call with       1:03:00
                                                                          Dr. Lewis re
                                                                          deposition
Shirim, Esq.                 3/2/2006 Mississippi                         Review what docs          1:08:39
                                                                          we need to produce
                                                                          for experts

Total: 3/2/2006
                                                                                          2.91


Shirim, Esq.                3/14/2006 Mississippi                         Review discovery          0:22:04
                                                                          docs re abuse in
                                                                          care
Shirim, Esq.                3/14/2006 Mississippi                         Weekly telephone          0:27:30
                                                                          call with team re
                                                                          expert discovery,
                                                                          etc.
Shirim, Esq.                3/14/2006 Mississippi                         Review Felder's           0:32:00
                                                                          newest plan for
                                                                          reform, check
                                                                          against older
                                                                          initiatives
Shirim, Esq.                3/14/2006 Mississippi                         Telephone calls           0:35:33
                                                                          with various people,
                                                                          trying to secure D
                                                                          some needed
                                                                          mental health
                                                                          services
Shirim, Esq.                3/14/2006 Mississippi                         Prepare to defend         1:07:53
                                                                          expert depositions
Shirim, Esq.                3/14/2006 Mississippi                         Prepare for trip to       1:29:59
                                                                          meet with expert for
                                                                          deposition prep
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 65 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   345



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                3/14/2006 Mississippi                         Prepare response           3:55:14
                                                                          to D's expert
                                                                          discovery request

Total: 3/14/2006
                                                                                           8.50


Shirim, Esq.                3/15/2006 Mississippi                         Review licensing           3:32:03
                                                                          files produced by
                                                                          Def's and index
                                                                          same

Total: 3/15/2006
                                                                                           3.53


Shirim, Esq.                3/16/2006 Mississippi                         Meeting with expert        4:45:00
                                                                          re deposition

Total: 3/16/2006
                                                                                           4.75


Shirim, Esq.                 4/3/2006 Mississippi                         Telephone call with        0:50:00
                                                                          team re defendants
                                                                          expert report

Total: 4/3/2006
                                                                                           0.83


Shirim, Esq.                 4/4/2006 Mississippi                         Telephone call with        0:08:00
                                                                          expert re depo
                                                                          scheduling
Shirim, Esq.                 4/4/2006 Mississippi                         Read defendants            1:03:44
                                                                          expert report
Shirim, Esq.                 4/4/2006 Mississippi                         Research viability of      1:23:13
                                                                          defendants' daubert
                                                                          motion
Shirim, Esq.                 4/4/2006 Mississippi                         Review NP docs             7:22:49
                                                                          that were produced
                                                                          on CD

Total: 4/4/2006
                                                                                           9.96


Shirim, Esq.                 4/5/2006 Mississippi                         Telephone call with        1:35:00
                                                                          M. Lewis re her
                                                                          deposition
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 66 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   346



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                 4/5/2006 Mississippi                         Review docs               2:08:13
                                                                          produced by
                                                                          defendants in
                                                                          response to our
                                                                          expert RFP
Shirim, Esq.                 4/5/2006 Mississippi                         Prepare for expert        5:24:20
                                                                          depositions

Total: 4/5/2006
                                                                                          9.13


Shirim, Esq.                 4/6/2006 Mississippi                         Telephone call with       0:23:00
                                                                          Et re depos
Shirim, Esq.                 4/6/2006 Mississippi                         Review docs to            0:43:50
                                                                          prepare for expert
                                                                          depos.
Shirim, Esq.                 4/6/2006 Mississippi                         Read R. Felder            2:32:44
                                                                          depo transcript
Shirim, Esq.                 4/6/2006 Mississippi                         Review NP case            4:16:55
                                                                          records recently
                                                                          produced

Total: 4/6/2006
                                                                                          7.94


Shirim, Esq.                4/11/2006 Mississippi                         Meeting with expert       1:15:00
                                                                          to discuss
                                                                          deposition

Total: 4/11/2006
                                                                                          1.25


Shirim, Esq.                4/12/2006 Mississippi                         Meeting with expert       0:30:00
                                                                          to discuss
                                                                          deposition
Shirim, Esq.                4/12/2006 Mississippi                         Draft lines of            0:40:00
                                                                          questions for Steib
                                                                          depo
Shirim, Esq.                4/12/2006 Mississippi                         Deposition of expert      2:20:00

Shirim, Esq.                4/12/2006 Mississippi                         Add facts from            2:45:00
                                                                          depositions to FOF

Total: 4/12/2006
                                                                                          6.25
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 67 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   347



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                4/13/2006 Mississippi                         Breakfast meeting          0:55:00
                                                                          with source
Shirim, Esq.                4/13/2006 Mississippi                         Review Talyor and          2:00:00
                                                                          Felder depo
                                                                          testimony

Total: 4/13/2006
                                                                                           2.92


Shirim, Esq.                4/18/2006 Mississippi                         Telephone call with        0:20:09
                                                                          source re DHS
                                                                          placing children in
                                                                          foster care without
                                                                          proper authority
Shirim, Esq.                4/18/2006 Mississippi                         Draft facts for SMJ        5:57:56
                                                                          motion from
                                                                          depositions

Total: 4/18/2006
                                                                                           6.31


Shirim, Esq.                4/19/2006 Mississippi                         Draft facts for SJ         1:45:00
                                                                          motion
Shirim, Esq.                4/19/2006 Mississippi                         Review depo                3:24:52
                                                                          testimony and add
                                                                          facts to summary
                                                                          judgment motion
Shirim, Esq.                4/19/2006 Mississippi                         Research and draft         5:32:00
                                                                          memo re standards
                                                                          and scope for SJ
                                                                          motion

Total: 4/19/2006
                                                                                         10.69


Shirim, Esq.                4/20/2006 Mississippi                         Draft facts for the        2:48:26
                                                                          SJ motion
Shirim, Esq.                4/20/2006 Mississippi                         Draft facts and legal      8:41:55
                                                                          section for
                                                                          summary judgment
                                                                          motion

Total: 4/20/2006
                                                                                         11.51
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 68 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   348



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                4/25/2006 Mississippi                         Telephone call with        0:13:17
                                                                          Source and email
                                                                          re same
Shirim, Esq.                4/25/2006 Mississippi                         Meeting with Tara          0:33:13
                                                                          and Susan re
                                                                          drafting the SJ brief
Shirim, Esq.                4/25/2006 Mississippi                         Draft facts for SJ         0:51:05
                                                                          motion re training
Shirim, Esq.                4/25/2006 Mississippi                         Draft section of SJ       10:23:06
                                                                          motion

Total: 4/25/2006
                                                                                          12.01


Shirim, Esq.                4/26/2006 Mississippi                         Telephone call with        0:15:00
                                                                          ET and TCrean re
                                                                          SJ motion issues
Shirim, Esq.                4/26/2006 Mississippi                         Draft section of SJ        2:26:19
                                                                          motion
Shirim, Esq.                4/26/2006 Mississippi                         Draft SJ motion            5:12:26
                                                                          section

Total: 4/26/2006
                                                                                           7.90


Shirim, Esq.                4/27/2006 Mississippi                         Draft facts for SJ        13:28:09
                                                                          motion

Total: 4/27/2006
                                                                                          13.47


Shirim, Esq.                4/29/2006 Mississippi                         Draft SJ motion and       13:29:12
                                                                          statement of facts

Total: 4/29/2006
                                                                                          13.49


Shirim, Esq.                4/30/2006 Mississippi                         Draft findings of         14:38:10
                                                                          fact and SJ facts for
                                                                          motion

Total: 4/30/2006
                                                                                          14.64
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 69 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                       Page   349



User                      Date        Client                              Description                Time Spent


Shirim, Esq.                 5/2/2006 Mississippi                         Telephone call with           0:13:00
                                                                          ET and Tara re D's
                                                                          SJ motion response
Shirim, Esq.                 5/2/2006 Mississippi                         T/C Meeting with              0:15:00
                                                                          team re SJ motions
Shirim, Esq.                 5/2/2006 Mississippi                         Review Defendants'            1:11:12
                                                                          motion to dismiss &
                                                                          motion for SJ
Shirim, Esq.                 5/2/2006 Mississippi                         Draft memo re                 6:55:37
                                                                          harm to kids for SJ
                                                                          opposition

Total: 5/2/2006
                                                                                              8.59


Shirim, Esq.                 5/3/2006 Mississippi                         Draft memo re                 0:14:01
                                                                          conversation with
                                                                          NP source
Shirim, Esq.                 5/3/2006 Mississippi                         Review expert                 0:42:59
                                                                          reports to pull
                                                                          named plaintiff
                                                                          facts for opposition
                                                                          to D's SJ motion
Shirim, Esq.                 5/3/2006 Mississippi                         Meeting with                  0:52:08
                                                                          attorneys to discuss
                                                                          our approach to our
                                                                          SJ opp.
Shirim, Esq.                 5/3/2006 Mississippi                         Draft opp to defs' sj        10:23:13
                                                                          motion

Total: 5/3/2006
                                                                                             12.21


Shirim, Esq.                 5/4/2006 Mississippi                         Meeting with team             0:30:40
                                                                          re SJ motion task
                                                                          updates
Shirim, Esq.                 5/4/2006 Mississippi                         Draft opp to SJ               3:03:52
                                                                          motion
Shirim, Esq.                 5/4/2006 Mississippi                         Draft opp to SJ               3:05:20
                                                                          motion

Total: 5/4/2006
                                                                                              6.66


Shirim, Esq.                 5/5/2006 Mississippi                         Draft SJ opp                  2:12:50
                                                                          section re facts
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 70 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   350



User                      Date        Client                              Description             Time Spent



Total: 5/5/2006
                                                                                           2.21


Shirim, Esq.                 5/7/2006 Mississippi                         Edit draft section of      1:55:39
                                                                          SJ opp.

Total: 5/7/2006
                                                                                           1.93


Shirim, Esq.                 5/9/2006 Mississippi                         Meeting with ET,           0:07:33
                                                                          Priy & TCrean re
                                                                          brief in opp to SJ
Shirim, Esq.                 5/9/2006 Mississippi                         Telephone call with        0:28:27
                                                                          team re motion
                                                                          practice and trial
                                                                          prep
Shirim, Esq.                 5/9/2006 Mississippi                         edit draft of SJ           0:34:25
                                                                          motion opp.
Shirim, Esq.                 5/9/2006 Mississippi                         Meeting with Liz           0:43:00
                                                                          and Priy re edu
                                                                          opportunities for NP
                                                                          J
Shirim, Esq.                 5/9/2006 Mississippi                         Review draft SJ            1:07:32
                                                                          opp.
Shirim, Esq.                 5/9/2006 Mississippi                         Draft facts for SJ         5:09:58
                                                                          opp.

Total: 5/9/2006
                                                                                           8.19


Shirim, Esq.                5/10/2006 Mississippi                         Meeting with ET re         0:08:36
                                                                          motion for summary
                                                                          judgment
Shirim, Esq.                5/10/2006 Mississippi                         Review depo                2:10:26
                                                                          testimony for SJ
                                                                          opp.
Shirim, Esq.                5/10/2006 Mississippi                         Research and               2:58:42
                                                                          prepare motion to
                                                                          strike

Total: 5/10/2006
                                                                                           5.29


Shirim, Esq.                5/11/2006 Mississippi                         edit motion to strike      0:40:00
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 71 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                        Page   351



User                      Date        Client                              Description                 Time Spent


Shirim, Esq.                5/11/2006 Mississippi                         edit SJ opp legal              1:45:00
                                                                          sections
Shirim, Esq.                5/11/2006 Mississippi                         Draft reply to                 1:54:20
                                                                          motion to compel
Shirim, Esq.                5/11/2006 Mississippi                         Draft motion to                3:10:00
                                                                          strike

Total: 5/11/2006
                                                                                               7.50


Shirim, Esq.                5/16/2006 Mississippi                         Telephone call with            0:14:37
                                                                          all team re briefing
                                                                          and then with CR
                                                                          attorneys re tasks
                                                                          to be done on SJ
                                                                          opp. brief
Shirim, Esq.                5/16/2006 Mississippi                         Review Motion to               0:36:47
                                                                          strike and revise
Shirim, Esq.                5/16/2006 Mississippi                         Edit SJ motion opp.            0:44:33

Shirim, Esq.                5/16/2006 Mississippi                         edit portions of our           6:54:42
                                                                          opp.

Total: 5/16/2006
                                                                                               8.50


Shirim, Esq.                5/17/2006 Mississippi                         Meeting with CR                0:48:41
                                                                          attorneys re trial
                                                                          witness list and
                                                                          other trial Prep
                                                                          issues
Shirim, Esq.                5/17/2006 Mississippi                         Revise SJ opp                  9:01:55


Total: 5/17/2006
                                                                                               9.84


Shirim, Esq.                5/20/2006 Mississippi                         Read Def's opp and             0:40:00
                                                                          findings of fact

Total: 5/20/2006
                                                                                               0.67


Shirim, Esq.                5/23/2006 Mississippi                         all counsel team               0:31:31
                                                                          meeting and then
                                                                          continues meeting
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 72 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   352



User                      Date        Client                              Description              Time Spent


                                                                          with CR team re
                                                                          reply to ds' opp to
                                                                          our SJ motion
Shirim, Esq.                5/23/2006 Mississippi                         Research in                 0:41:49
                                                                          preparation for
                                                                          reply to their SJ opp.
Shirim, Esq.                5/23/2006 Mississippi                         Telephone call with         0:44:44
                                                                          contact re NP
Shirim, Esq.                5/23/2006 Mississippi                         Draft our reply to          3:59:12
                                                                          their opp to our SJ
                                                                          motion
Shirim, Esq.                5/23/2006 Mississippi                         Draft reply to SJ           5:42:20
                                                                          reply motion

Total: 5/23/2006
                                                                                          11.68


Shirim, Esq.                5/24/2006 Mississippi                         Draft reply to their        7:48:39
                                                                          opp.

Total: 5/24/2006
                                                                                           7.81


Shirim, Esq.                5/25/2006 Mississippi                         edit SJ opp motion          2:40:00


Total: 5/25/2006
                                                                                           2.67


Shirim, Esq.                5/30/2006 Mississippi                         Telephone call with         0:20:53
                                                                          team re trial and SJ
                                                                          opp.
Shirim, Esq.                5/30/2006 Mississippi                         Edit NP section of          0:39:23
                                                                          reply to d's opp to
                                                                          SJ
Shirim, Esq.                5/30/2006 Mississippi                         Finalizing additional       1:58:56
                                                                          undisputed facts
Shirim, Esq.                5/30/2006 Mississippi                         Finalizing SJ. opp          5:22:16
                                                                          and additional
                                                                          undisputed facts
Shirim, Esq.                5/30/2006 Mississippi                         Finalizing SJ reply         8:40:00
                                                                          and additional
                                                                          undisputed facts

Total: 5/30/2006
                                                                                          17.03
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 73 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   353



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                5/31/2006 Mississippi                         Draft e mail about         0:12:19
                                                                          trial tasks
Shirim, Esq.                5/31/2006 Mississippi                         Read Defendants'           1:30:00
                                                                          reply to our Opp to
                                                                          their motion to
                                                                          exclude, their
                                                                          motion re
                                                                          abstention and their
                                                                          motion re SJ

Total: 5/31/2006
                                                                                           1.71


Shirim, Esq.                 6/1/2006 Mississippi                         Draft letter to Next       0:20:00
                                                                          friends re case
                                                                          update
Shirim, Esq.                 6/1/2006 Mississippi                         Telephone call with        0:35:40
                                                                          ET along with all
                                                                          other CR MS staff
                                                                          to discuss pretrial
                                                                          order tasks
Shirim, Esq.                 6/1/2006 Mississippi                         Begin to prepare           1:39:21
                                                                          PTO
Shirim, Esq.                 6/1/2006 Mississippi                         Review rules re            2:45:00
                                                                          pretrial orders,
                                                                          begin drafting same

Total: 6/1/2006
                                                                                           5.33


Shirim, Esq.                 6/6/2006 Mississippi                         Draft facts for PTO        5:06:36
                                                                          order
Shirim, Esq.                 6/6/2006 Mississippi                         Review depo                6:14:01
                                                                          testimony to
                                                                          prepare our reply to
                                                                          their opp to our
                                                                          motion to strike and
                                                                          draft same (drafting
                                                                          as I was reviewing
                                                                          the depositions)

Total: 6/6/2006
                                                                                          11.34


Shirim, Esq.                 6/7/2006 Mississippi                         Draft notes on our         1:52:00
                                                                          opp to their surreply
                                                                          motion
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 74 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   354



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                 6/7/2006 Mississippi                         Draft opposition to       5:58:03
                                                                          defendants surreply
                                                                          motion

Total: 6/7/2006
                                                                                          7.84


Shirim, Esq.                6/13/2006 Mississippi                         Meeting with alll         0:36:50
                                                                          counsel - weekly
                                                                          status re trial prep
Shirim, Esq.                6/13/2006 Mississippi                         Meeting with CR           0:53:40
                                                                          team re PTO
Shirim, Esq.                6/13/2006 Mississippi                         Review and edit NP        6:53:24
                                                                          case updates for
                                                                          PTO findings

Total: 6/13/2006
                                                                                          8.39


Shirim, Esq.                6/14/2006 Mississippi                         Review and edit NP        2:02:07
                                                                          facts for the PTO
Shirim, Esq.                6/14/2006 Mississippi                         edit NP PTO facts         3:45:00

Shirim, Esq.                6/14/2006 Mississippi                         edit PTO NP facts         4:00:38


Total: 6/14/2006
                                                                                          9.80


Shirim, Esq.                6/15/2006 Mississippi                         Draft witness list        3:49:13
                                                                          memo
Shirim, Esq.                6/15/2006 Mississippi                         Edit some of the          4:00:41
                                                                          200 pages of PTO
                                                                          facts

Total: 6/15/2006
                                                                                          7.83


Shirim, Esq.                6/19/2006 Mississippi                         Review all contact        3:40:00
                                                                          memos and put
                                                                          together potential
                                                                          witness list

Total: 6/19/2006
                                                                                          3.67
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 75 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   355



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                6/20/2006 Mississippi                         Draft emails to            0:17:50
                                                                          potential witnesses
Shirim, Esq.                6/20/2006 Mississippi                         Reach out to               2:28:43
                                                                          potential witnesses,
                                                                          and draft contact
                                                                          memos re efforts
Shirim, Esq.                6/20/2006 Mississippi                         Review NP case             5:27:55
                                                                          records pulling
                                                                          together docs to be
                                                                          used at trial
Shirim, Esq.                6/20/2006 Mississippi                         Revise FRE 1006            7:25:11
                                                                          summaries and
                                                                          PTO facts

Total: 6/20/2006
                                                                                         15.67


Shirim, Esq.                6/21/2006 Mississippi                         Revise NP FRE              1:37:02
                                                                          1006 submissions
Shirim, Esq.                6/21/2006 Mississippi                         Review docs to             4:20:44
                                                                          determine what
                                                                          needs to be
                                                                          designated an
                                                                          exhibit
Shirim, Esq.                6/21/2006 Mississippi                         Edit facts in              7:26:00
                                                                          proposed PTO

Total: 6/21/2006
                                                                                         13.40


Shirim, Esq.                6/22/2006 Mississippi                         Telephone call with        0:50:30
                                                                          PACT re CPS
                                                                          positions
Shirim, Esq.                6/22/2006 Mississippi                         Witness                    3:01:24
                                                                          identification work
Shirim, Esq.                6/22/2006 Mississippi                         Review mandatory           3:40:23
                                                                          disvlosure docs to
                                                                          determine what we
                                                                          will use as exhibits

Total: 6/22/2006
                                                                                           7.53


Shirim, Esq.                6/27/2006 Mississippi                         Review Order re            0:09:42
                                                                          NP report and draft
                                                                          email re same
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 76 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   356



User                      Date        Client                              Description              Time Spent


Shirim, Esq.                6/27/2006 Mississippi                         Telephone call with         0:20:47
                                                                          ET re witness
                                                                          identification and
                                                                          prep
Shirim, Esq.                6/27/2006 Mississippi                         Weekly case                 0:32:00
                                                                          Conference with
                                                                          team
Shirim, Esq.                6/27/2006 Mississippi                         Update chart of             0:48:42
                                                                          witness contacts
Shirim, Esq.                6/27/2006 Mississippi                         Telephone calls             3:31:29
                                                                          with potential
                                                                          witnesses re
                                                                          availability, areas of
                                                                          testimony

Total: 6/27/2006
                                                                                            5.37


Shirim, Esq.                6/28/2006 Mississippi                         Meeting with team           0:36:07
                                                                          and paras about
                                                                          task assignments
                                                                          for trial prep
Shirim, Esq.                6/28/2006 Mississippi                         Draft notes for ML          1:16:26
                                                                          testimony
Shirim, Esq.                6/28/2006 Mississippi                         Draft outline for           2:06:01
                                                                          expert witness
                                                                          testimony
Shirim, Esq.                6/28/2006 Mississippi                         Meeting with ET;            2:39:18
                                                                          PS; TCrean re trial
                                                                          strategy and
                                                                          witness testimony
Shirim, Esq.                6/28/2006 Mississippi                         Update chart of all         2:47:06
                                                                          potential witnesses,
                                                                          contact history and
                                                                          affiliation

Total: 6/28/2006
                                                                                            9.42


Shirim, Esq.                6/29/2006 Mississippi                         Talk with interns           0:08:51
                                                                          about ML exhibits
Shirim, Esq.                6/29/2006 Mississippi                         Draft sketch of             3:19:03
                                                                          witness questions
                                                                          for ML
Shirim, Esq.                6/29/2006 Mississippi                         Draft trial                 4:05:12
                                                                          preparation
                                                                          materials for ML
                                                                          testimony
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08      Page 77 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   357



User                      Date        Client                              Description               Time Spent



Total: 6/29/2006
                                                                                             7.56


Shirim, Esq.                 7/5/2006 Mississippi                         Review the index of          0:08:05
                                                                          personnel file
                                                                          records.
Shirim, Esq.                 7/5/2006 Mississippi                         Review memo re               0:20:23
                                                                          subpoenas
Shirim, Esq.                 7/5/2006 Mississippi                         Conference call              0:28:39
                                                                          with team re
                                                                          demonstrative
                                                                          evidence
Shirim, Esq.                 7/5/2006 Mississippi                         Draft trial outline for      1:09:50
                                                                          NP evidence
Shirim, Esq.                 7/5/2006 Mississippi                         Draft outline for NP         6:44:38
                                                                          expert testimony

Total: 7/5/2006
                                                                                             8.85


Shirim, Esq.                 7/6/2006 Mississippi                         Read about MS                0:12:00
                                                                          problems trying to
                                                                          access fed.
                                                                          medicaid funds
Shirim, Esq.                 7/6/2006 Mississippi                         Meeting with interns         0:18:10
                                                                          re trial exhibit
                                                                          preparation
Shirim, Esq.                 7/6/2006 Mississippi                         edit partial draft of        1:04:09
                                                                          ML testimony outline
Shirim, Esq.                 7/6/2006 Mississippi                         Telephone call with          1:04:54
                                                                          ET re Lewis trial
                                                                          testimony
Shirim, Esq.                 7/6/2006 Mississippi                         Telephone                    1:31:55
                                                                          conferences with
                                                                          potential witnesses
Shirim, Esq.                 7/6/2006 Mississippi                         Read depo                    2:07:15
                                                                          testimony for
                                                                          preparation of
                                                                          expert testimony
Shirim, Esq.                 7/6/2006 Mississippi                         Continue to draft            2:09:42
                                                                          outline of Expert
                                                                          questions for trial

Total: 7/6/2006
                                                                                             8.46
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08      Page 78 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   358



User                      Date        Client                              Description               Time Spent


Shirim, Esq.                7/11/2006 Mississippi                         Telephone call with          0:12:03
                                                                          contact re possible
                                                                          DFCS source
Shirim, Esq.                7/11/2006 Mississippi                         Meeting to review            0:16:59
                                                                          proposed
                                                                          demonstratives for
                                                                          NP testimony
Shirim, Esq.                7/11/2006 Mississippi                         Telephone call with          0:40:28
                                                                          team and then just
                                                                          with Loeb about
                                                                          witness
                                                                          development and
                                                                          demonstratives
Shirim, Esq.                7/11/2006 Mississippi                         Continue to develop          3:52:12
                                                                          MS trial testimony
                                                                          from experts
Shirim, Esq.                7/11/2006 Mississippi                         Finish initial draft of      5:08:59
                                                                          expert trial
                                                                          testimony questions

Total: 7/11/2006
                                                                                           10.17


Shirim, Esq.                7/12/2006 Mississippi                         Talk with Susan              0:15:00
                                                                          and Priy about
                                                                          developing
                                                                          demonstrative
                                                                          exhibits and D's
                                                                          testimony
Shirim, Esq.                7/12/2006 Mississippi                         Add jamison facts            0:17:14
                                                                          to ML trial outline
Shirim, Esq.                7/12/2006 Mississippi                         Review                       2:20:18
                                                                          correspondence
                                                                          discovery and index
                                                                          possible exhibits
                                                                          that will be used to
                                                                          demonstrate long
                                                                          standing nature of
                                                                          DFCS problems
Shirim, Esq.                7/12/2006 Mississippi                         Review historical            3:11:16
                                                                          docs to determine
                                                                          what to use as
                                                                          exhibits

Total: 7/12/2006
                                                                                            6.07
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 79 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   359



User                      Date        Client                              Description              Time Spent


Shirim, Esq.                7/13/2006 Mississippi                         Review memo on              0:21:18
                                                                          daubert as applied
                                                                          in the 5th circuit
Shirim, Esq.                7/13/2006 Mississippi                         Draft index of docs         1:47:40
                                                                          that may be used
                                                                          as exhibits in
                                                                          witness testimony
Shirim, Esq.                7/13/2006 Mississippi                         Review and identify         2:05:07
                                                                          documentary
                                                                          exhibits re MDHS
                                                                          budget and
                                                                          historical
                                                                          background of
                                                                          problems plaguing
                                                                          system

Total: 7/13/2006
                                                                                            4.24


Shirim, Esq.                7/18/2006 Mississippi                         Telephone call with         0:20:00
                                                                          all team re witness
                                                                          development
Shirim, Esq.                7/18/2006 Mississippi                         Revise NP                   0:23:21
                                                                          permanency
                                                                          timeline
Shirim, Esq.                7/18/2006 Mississippi                         Review proposed             0:33:51
                                                                          demonstrative aids
                                                                          for testimony re NPs
Shirim, Esq.                7/18/2006 Mississippi                         Meeting with CR             0:53:44
                                                                          team re trial
                                                                          responsibilities
Shirim, Esq.                7/18/2006 Mississippi                         Meeting with Loeb           1:30:00
                                                                          people re
                                                                          demonstrative
                                                                          evidence
Shirim, Esq.                7/18/2006 Mississippi                         Revise NP time line         1:59:17
                                                                          demostrative aids

Total: 7/18/2006
                                                                                            5.67


Shirim, Esq.                7/19/2006 Mississippi                         Revise ML trial             0:52:50
                                                                          testimony
Shirim, Esq.                7/19/2006 Mississippi                         Review Cody B               1:35:12
                                                                          docs and index
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08      Page 80 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   360



User                      Date        Client                              Description               Time Spent



Total: 7/19/2006
                                                                                             2.47


Shirim, Esq.                7/20/2006 Mississippi                         Review placement             0:10:28
                                                                          charts created by
                                                                          paras
Shirim, Esq.                7/20/2006 Mississippi                         Identify all policy          2:07:51
                                                                          provisions we need
                                                                          as exhibits, and
                                                                          begin identifying
                                                                          specific NP case
                                                                          docs that we will
                                                                          introduce

Total: 7/20/2006
                                                                                             2.30


Shirim, Esq.                7/25/2006 Mississippi                         Telephone call with          0:24:20
                                                                          ET and TCrean re
                                                                          demonstratives
Shirim, Esq.                7/25/2006 Mississippi                         edit outline of D trial      0:29:50
                                                                          testimony questions
Shirim, Esq.                7/25/2006 Mississippi                         Telephone call with          0:52:36
                                                                          full team, and then
                                                                          just MRL re trial
                                                                          and NP J
Shirim, Esq.                7/25/2006 Mississippi                         Edit language being          1:00:02
                                                                          used in
                                                                          demonstratives
Shirim, Esq.                7/25/2006 Mississippi                         Review policy                1:50:31
                                                                          excerpts to be used
                                                                          at trial
Shirim, Esq.                7/25/2006 Mississippi                         Prepare text and             5:54:36
                                                                          source lists for
                                                                          demosntrative
                                                                          exhibits

Total: 7/25/2006
                                                                                           10.54


Shirim, Esq.                7/26/2006 Mississippi                         Telephone call with          0:05:11
                                                                          Kim G at Loeb re
                                                                          demonstrative aids
Shirim, Esq.                7/26/2006 Mississippi                         Prepare for phone            0:40:00
                                                                          conference with
                                                                          expert re trial
                                                                          testimony
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 81 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   361



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                7/26/2006 Mississippi                         Meeting with SL re         1:06:53
                                                                          jamison testimony
Shirim, Esq.                7/26/2006 Mississippi                         Revise trial               1:25:00
                                                                          questions in light of
                                                                          discussion with NP
                                                                          expert
Shirim, Esq.                7/26/2006 Mississippi                         Telephone call with        2:05:00
                                                                          expert re trial
                                                                          testimony

Total: 7/26/2006
                                                                                           5.37


Shirim, Esq.                 8/1/2006 Mississippi                         Review                     0:13:07
                                                                          demonstratives and
                                                                          email Loeb re same
Shirim, Esq.                 8/1/2006 Mississippi                         Telephone call with        0:17:20
                                                                          Jamison's GAL re
                                                                          status
Shirim, Esq.                 8/1/2006 Mississippi                         edit reply to opp. to      0:20:00
                                                                          our motion re
                                                                          additional
                                                                          witnesses. Email
                                                                          comments to ET
Shirim, Esq.                 8/1/2006 Mississippi                         Telephone call with        0:29:07
                                                                          source on coast re
                                                                          recent child death
                                                                          and eamil team re
                                                                          same
Shirim, Esq.                 8/1/2006 Mississippi                         Telephone call with        0:57:16
                                                                          sources re
                                                                          diversion of kids
                                                                          from foster care
                                                                          system to shrink
                                                                          ranks, and email
                                                                          notes re same
Shirim, Esq.                 8/1/2006 Mississippi                          Edit trail testimony      1:04:02
                                                                          questions in light of
                                                                          discussion with
                                                                          Expert.
Shirim, Esq.                 8/1/2006 Mississippi                         Meeting with ET,           1:09:51
                                                                          and then whole
                                                                          team, and then just
                                                                          CR team re TRO
                                                                          possibility following
                                                                          child death and
                                                                          report from sources
                                                                          that DHS is
                                                                          intentionally
                                                                          diverting kids
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 82 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   362



User                      Date        Client                              Description               Time Spent


Shirim, Esq.                 8/1/2006 Mississippi                         Review                       1:34:54
                                                                          permanency docs,
                                                                          work up possible
                                                                          exhibits

Total: 8/1/2006
                                                                                             6.09


Shirim, Esq.                 8/2/2006 Mississippi                         Telephone call with          0:15:31
                                                                          NF JJ re NP expert
                                                                          report and email re
                                                                          same
Shirim, Esq.                 8/2/2006 Mississippi                         Meeting with SL re           0:32:00
                                                                          witnesses we will
                                                                          be calling at trial
Shirim, Esq.                 8/2/2006 Mississippi                         Review personnel             1:20:05
                                                                          file docs and draft
                                                                          quick memo re
                                                                          docs deficienies.
Shirim, Esq.                 8/2/2006 Mississippi                         Draft trial questions        1:33:01
                                                                          for witness

Total: 8/2/2006
                                                                                             3.67


Shirim, Esq.                 8/7/2006 Mississippi                         Review letter to             0:20:00
                                                                          Hood and email
                                                                          team re same

Total: 8/7/2006
                                                                                             0.33


Shirim, Esq.                 8/8/2006 Mississippi                         Telephone call with          0:27:00
                                                                          team re Hood
                                                                          overtures
Shirim, Esq.                 8/8/2006 Mississippi                         Meeting with ET              0:47:27
                                                                          and Tara re fact
                                                                          sheet
Shirim, Esq.                 8/8/2006 Mississippi                         Review Gulf Coast            0:55:03
                                                                          Child Welfare
                                                                          Agency
                                                                          assessment and all
                                                                          appendicies
Shirim, Esq.                 8/8/2006 Mississippi                         Telephone call with          1:15:00
                                                                          ML re testimony
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 83 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   363



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                 8/8/2006 Mississippi                         Review revised             3:00:42
                                                                          Blue Print for
                                                                          Reform and New
                                                                          PIP

Total: 8/8/2006
                                                                                           6.42


Shirim, Esq.                8/10/2006 Mississippi                         Finalizing facts for       1:13:30
                                                                          deficiencies
Shirim, Esq.                8/10/2006 Mississippi                         Edit fact sheet of         4:57:22
                                                                          MDHS deficiencies
                                                                          for possible
                                                                          settlement purposes

Total: 8/10/2006
                                                                                           6.19


Shirim, Esq.                8/22/2006 Mississippi                         Telephone call with        0:18:00
                                                                          NY team re PTO
                                                                          facts and other
                                                                          tasks to be done
Shirim, Esq.                8/22/2006 Mississippi                         Telephone call with        0:22:05
                                                                          ET re settlement
                                                                          meeting
Shirim, Esq.                8/22/2006 Mississippi                         Revise PTO facts           5:41:13


Total: 8/22/2006
                                                                                           6.36


Shirim, Esq.                8/23/2006 Mississippi                         Read memo                  0:32:54
                                                                          tracking changes in
                                                                          PIP
Shirim, Esq.                8/23/2006 Mississippi                         pull together docs         0:34:17
                                                                          to make into an
                                                                          exhibit re perm.
                                                                          planning
Shirim, Esq.                8/23/2006 Mississippi                         Revise PTO facts           1:02:04

Shirim, Esq.                8/23/2006 Mississippi                         edit PTO facts             2:34:43


Total: 8/23/2006
                                                                                           4.73
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 84 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   364



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                8/24/2006 Mississippi                         edit 24 pages of           2:34:35
                                                                          PTO facts
Shirim, Esq.                8/24/2006 Mississippi                         Create visuals of          4:40:35
                                                                          permanency history
                                                                          for each NP

Total: 8/24/2006
                                                                                           7.26


Shirim, Esq.                8/29/2006 Mississippi                         Read Judges SJ             0:15:00
                                                                          opinion and email
                                                                          team re same
Shirim, Esq.                8/29/2006 Mississippi                         Draft and edit PTO         7:26:45
                                                                          facts

Total: 8/29/2006
                                                                                           7.70


Shirim, Esq.                8/30/2006 Mississippi                         Meeting with team          0:20:00
                                                                          re PTO tasks and
                                                                          SJ decision
Shirim, Esq.                8/30/2006 Mississippi                         Draft PTO facts re         2:31:40
                                                                          abuse in care from
                                                                          investigation
                                                                          documents
Shirim, Esq.                8/30/2006 Mississippi                         Review A/N foster          2:48:28
                                                                          care reports and
                                                                          draft FOF re same

Total: 8/30/2006
                                                                                           5.67


Shirim, Esq.                8/31/2006 Mississippi                         Read abuse in              8:14:14
                                                                          care docs and draft
                                                                          FOFs based on
                                                                          same

Total: 8/31/2006
                                                                                           8.24


Shirim, Esq.                 9/5/2006 Mississippi                         Telephone call to          0:09:53
                                                                          inform various
                                                                          sources of SJ
                                                                          decision
Shirim, Esq.                 9/5/2006 Mississippi                         Draft letter to NFs        0:15:00
                                                                          re SJ decision
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 85 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   365



User                      Date        Client                              Description              Time Spent


Shirim, Esq.                 9/5/2006 Mississippi                         Telephone call with         0:28:08
                                                                          MS Forest county
                                                                          contact re recent
                                                                          developments in
                                                                          that county DHS
                                                                          office.
Shirim, Esq.                 9/5/2006 Mississippi                         Edit PTO facts              2:39:21

Shirim, Esq.                 9/5/2006 Mississippi                         Edit PTO facts              3:33:28


Total: 9/5/2006
                                                                                            7.10


Shirim, Esq.                 9/6/2006 Mississippi                         Review docs to              4:56:02
                                                                          identify NP exhibits
Shirim, Esq.                 9/6/2006 Mississippi                         Review abuse docs           5:21:39
                                                                          for PTO facts

Total: 9/6/2006
                                                                                           10.29


Shirim, Esq.                9/12/2006 Mississippi                         Telephone call with         0:33:06
                                                                          all of team and then
                                                                          just CR team re
                                                                          PTO scheduling
                                                                          and related tasks
Shirim, Esq.                9/12/2006 Mississippi                         Draft letter to Youth       0:50:38
                                                                          Court contacts in
                                                                          MS
Shirim, Esq.                9/12/2006 Mississippi                         Prepare visual aids         4:24:53
                                                                          re permanency
                                                                          planning for trial

Total: 9/12/2006
                                                                                            5.80


Shirim, Esq.                9/13/2006 Mississippi                         Telephone call with         0:09:00
                                                                          ML re preparing for
                                                                          trial
Shirim, Esq.                9/13/2006 Mississippi                         Review docs                 0:19:42
                                                                          related to CWLA
                                                                          contract with MDHS
Shirim, Esq.                9/13/2006 Mississippi                         Meeting with SL,            1:02:20
                                                                          ET & Tara re trial
                                                                          strategy and
                                                                          witness list
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 86 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   366



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                9/13/2006 Mississippi                         Prepare trial             1:51:08
                                                                          strategy questions
                                                                          for meeting with SL
                                                                          and ET

Total: 9/13/2006
                                                                                          3.37


Shirim, Esq.                9/14/2006 Mississippi                         Meeting with ET to        0:34:44
                                                                          discuss trial
                                                                          transcripts and
                                                                          cross of D's
                                                                          witnesses
Shirim, Esq.                9/14/2006 Mississippi                         Review Olivia Y           0:35:27
                                                                          docs
Shirim, Esq.                9/14/2006 Mississippi                         Review Cody B             2:03:19
                                                                          docs to prepare for
                                                                          conversation with
                                                                          ML
Shirim, Esq.                9/14/2006 Mississippi                         Review John A docs        5:04:51


Total: 9/14/2006
                                                                                          8.31


Shirim, Esq.                9/19/2006 Mississippi                         Review John A             0:46:56
                                                                          scanned docs -
                                                                          mostly old health
                                                                          records
Shirim, Esq.                9/19/2006 Mississippi                         Research for              2:14:46
                                                                          motion to get case
                                                                          records in.
Shirim, Esq.                9/19/2006 Mississippi                         Review Jamison            2:34:04
                                                                          NP documents -
                                                                          mostly duplicates,
                                                                          and medical
                                                                          records - further
                                                                          exeplifies the poor
                                                                          record keeping
                                                                          practice on the part
                                                                          of defendants.
Shirim, Esq.                9/19/2006 Mississippi                         Review over 1,000         4:03:36
                                                                          pages of discovery
                                                                          - most of which
                                                                          were duplicates or
                                                                          med. records that
                                                                          were clearly never a
                                                                          part of DHS file.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 87 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   367



User                      Date        Client                              Description             Time Spent



Total: 9/19/2006
                                                                                           9.66


Shirim, Esq.                9/20/2006 Mississippi                         Research case law          8:12:26
                                                                          in preparation for
                                                                          making in limine
                                                                          motions if Ds don't
                                                                          stipulate to our
                                                                          exhibits.

Total: 9/20/2006
                                                                                           8.21


Shirim, Esq.                9/21/2006 Mississippi                         Research on                7:34:23
                                                                          overcoming
                                                                          objections to our
                                                                          trial exhibits

Total: 9/21/2006
                                                                                           7.57


Shirim, Esq.                9/26/2006 Mississippi                         Telephone call with        0:02:03
                                                                          ML to reschedule
                                                                          time to discuss trial
                                                                          date and testimony
Shirim, Esq.                9/26/2006 Mississippi                         Read evidentiary           0:09:18
                                                                          research case law
                                                                          on FRE 1006
                                                                          summaries
Shirim, Esq.                9/26/2006 Mississippi                         Telephone call with        1:08:02
                                                                          team and then just
                                                                          ET and Tara re
                                                                          PTO facts and
                                                                          Hood's comments
                                                                          re settlement
Shirim, Esq.                9/26/2006 Mississippi                         Incorporate                2:55:40
                                                                          changes suggested
                                                                          by ET to script, and
                                                                          to exhibit list
Shirim, Esq.                9/26/2006 Mississippi                         Draft memo based           4:07:01
                                                                          on my research and
                                                                          case write-ups for
                                                                          ET re various
                                                                          evidentiary issues
                                                                          in the fifth circuit.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08     Page 88 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   368



User                      Date        Client                              Description             Time Spent



Total: 9/26/2006
                                                                                           8.37


Shirim, Esq.                9/27/2006 Mississippi                         Continue to draft          1:14:31
                                                                          mem on Fifth
                                                                          Circuit evidentiary
                                                                          rulings

Total: 9/27/2006
                                                                                           1.24


Shirim, Esq.                9/28/2006 Mississippi                         Meeting with Priy to       0:35:44
                                                                          discuss Jamison's
                                                                          testimony
Shirim, Esq.                9/28/2006 Mississippi                         Finalizing legal           1:09:37
                                                                          memo for ET re
                                                                          evidentiary rulings
Shirim, Esq.                9/28/2006 Mississippi                         Telephone call with        2:03:23
                                                                          ML to prepare for
                                                                          trial
Shirim, Esq.                9/28/2006 Mississippi                         cite check and edit        3:11:39
                                                                          memo on moving
                                                                          various exhibits into
                                                                          evidence

Total: 9/28/2006
                                                                                           7.01


Shirim, Esq.                10/3/2006 Mississippi                         Read Hood letter           0:06:00

Shirim, Esq.                10/3/2006 Mississippi                         Meeting with paras         0:11:44
                                                                          to go through which
                                                                          exhibits from D's
                                                                          exhibit designation
                                                                          we need copies of.
Shirim, Esq.                10/3/2006 Mississippi                         Meeting with team          0:30:00
                                                                          re D's PTO and
                                                                          settlment offer
Shirim, Esq.                10/3/2006 Mississippi                         Review D's weekly          1:39:45
                                                                          activity reports
Shirim, Esq.                10/3/2006 Mississippi                         Review defendants'         2:20:41
                                                                          PTO proffer

Total: 10/3/2006
                                                                                           4.80
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 89 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   369



User                      Date        Client                              Description            Time Spent


Shirim, Esq.                10/4/2006 Mississippi                         Research case law         4:36:09
                                                                          regarding
                                                                          exceptions to
                                                                          hearsay rule in 5th
                                                                          Circuit

Total: 10/4/2006
                                                                                          4.60


Shirim, Esq.               10/10/2006 Mississippi                         Review letters from       0:21:05
                                                                          Hood, and consider
                                                                          response
Shirim, Esq.               10/10/2006 Mississippi                         Review draft of our       0:23:10
                                                                          response to Hood
                                                                          letter and
                                                                          co-counsel edits to
                                                                          letter
Shirim, Esq.               10/10/2006 Mississippi                         Research possible         2:48:12
                                                                          mediators and
                                                                          revise letter to
                                                                          Hood re same
Shirim, Esq.               10/10/2006 Mississippi                         Review defendants'        4:39:55
                                                                          exhibits and
                                                                          propose exceptions

Total: 10/10/2006
                                                                                          8.21


Shirim, Esq.               10/11/2006 Mississippi                         Electronic mail MRL       0:01:50
                                                                          re possible
                                                                          mediators
Shirim, Esq.               10/11/2006 Mississippi                          edit and finalize        0:25:00
                                                                          letter to court re
                                                                          possible mediation
Shirim, Esq.               10/11/2006 Mississippi                         Continue to review        1:04:32
                                                                          D's exhibits and
                                                                          formulate objections
Shirim, Esq.               10/11/2006 Mississippi                         Talk with C Powell        1:12:00
                                                                          re NP
Shirim, Esq.               10/11/2006 Mississippi                         Review Ds exhibits        1:41:07
                                                                          and formulate
                                                                          objections
Shirim, Esq.               10/11/2006 Mississippi                         Research possible         2:15:54
                                                                          mediators

Total: 10/11/2006
                                                                                          6.69
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 90 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   370



User                      Date        Client                              Description            Time Spent


Shirim, Esq.               10/12/2006 Mississippi                         Talk to MRL re            0:05:03
                                                                          mediators
Shirim, Esq.               10/12/2006 Mississippi                         Research possible         2:34:42
                                                                          monitoring team,
                                                                          and draft letter re
                                                                          same
Shirim, Esq.               10/12/2006 Mississippi                         Review documents          6:10:37
                                                                          and revise PTO
                                                                          draft accordingly

Total: 10/12/2006
                                                                                          8.84


Shirim, Esq.               10/17/2006 Mississippi                         Read emails re            0:05:00
                                                                          potentrial mediators
                                                                          and PTO scheduling
Shirim, Esq.               10/17/2006 Mississippi                         Telephone call with       0:17:36
                                                                          ET re editing
                                                                          defendants' FRE
                                                                          1006 summaries
Shirim, Esq.               10/17/2006 Mississippi                         Begin review of           2:34:09
                                                                          defendants' FRE
                                                                          1006

Total: 10/17/2006
                                                                                          2.94


Shirim, Esq.               10/18/2006 Mississippi                         Review, cite check        4:49:26
                                                                          and edit
                                                                          Defendants FRE
                                                                          1006 summary
                                                                          regarding Cody B.

Total: 10/18/2006
                                                                                          4.82


Shirim, Esq.               10/19/2006 Mississippi                         edit and cite check       0:37:21
                                                                          FRE1006 for Cody
Shirim, Esq.               10/19/2006 Mississippi                         Prepare for and           1:26:51
                                                                          conduct trial
                                                                          preparation session
                                                                          with ML
Shirim, Esq.               10/19/2006 Mississippi                         Review and revise         1:32:59
                                                                          D's FRE 1006
                                                                          summary for Cody b
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 91 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   371



User                      Date        Client                              Description            Time Spent


Shirim, Esq.               10/19/2006 Mississippi                         Review and edit Ds'       1:45:13
                                                                          FRE summary re
                                                                          Cody B based on
                                                                          review of documents

Total: 10/19/2006
                                                                                          5.37


Shirim, Esq.               10/24/2006 Mississippi                         Telephone call with       0:22:31
                                                                          team re PTO
Shirim, Esq.               10/24/2006 Mississippi                         Review and edit FE        0:54:38
                                                                          1006 sent from
                                                                          defendnats
                                                                          (involves cross
                                                                          checking all facts
                                                                          with original docs)
Shirim, Esq.               10/24/2006 Mississippi                         Review and verify         3:23:51
                                                                          ds' FRE 1006
                                                                          summaries

Total: 10/24/2006
                                                                                          4.69


Shirim, Esq.               10/25/2006 Mississippi                         edit and fact check       1:46:25
                                                                          defendants' FRE
                                                                          1006

Total: 10/25/2006
                                                                                          1.77


Shirim, Esq.               10/31/2006 Mississippi                         Telephone call with       0:14:32
                                                                          team re 11/1 AG
                                                                          meeting
Shirim, Esq.               10/31/2006 Mississippi                         Edit and cite check       0:34:29
                                                                          D's FRE 1006
                                                                          summary regarding
                                                                          Cody B.
Shirim, Esq.               10/31/2006 Mississippi                          Edit and cite check      4:01:26
                                                                          D's FRE 1006
                                                                          regarding Cody B.

Total: 10/31/2006
                                                                                          4.83
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 92 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   372



User                      Date        Client                              Description             Time Spent


Shirim, Esq.                11/1/2006 Mississippi                         Telephone call with        0:10:14
                                                                          CK re plans for NP
                                                                          during the holiday
                                                                          break when the
                                                                          dorm will be closed.
Shirim, Esq.                11/1/2006 Mississippi                         Talk to source in          0:43:06
                                                                          Harrison County
Shirim, Esq.                11/1/2006 Mississippi                         Talk to MRL and            0:45:00
                                                                          then ET about
                                                                          settlement and
                                                                          review related docs.
Shirim, Esq.                11/1/2006 Mississippi                         Telephone call with        0:50:44
                                                                          Marva Lewis re
                                                                          testimony
Shirim, Esq.                11/1/2006 Mississippi                         edit and cite check        1:44:46
                                                                          Cody B. FRE 1006

Total: 11/1/2006
                                                                                           4.24


Shirim, Esq.                11/2/2006 Mississippi                         Review letter of           0:03:34
                                                                          Rusty re PTO
Shirim, Esq.                11/2/2006 Mississippi                         Continue review of         0:36:08
                                                                          COA standards
Shirim, Esq.                11/2/2006 Mississippi                         Research on COA            0:55:02
                                                                          standards for
                                                                          settlement purposes
Shirim, Esq.                11/2/2006 Mississippi                         Research                   4:02:26
                                                                          standards for
                                                                          settlement proposal
                                                                          draft

Total: 11/2/2006
                                                                                           5.62


Shirim, Esq.                11/5/2006 Mississippi                         Read and draft             1:00:00
                                                                          memo re COA
                                                                          standards

Total: 11/5/2006
                                                                                           1.00


Shirim, Esq.                11/6/2006 Mississippi                         Draft memo re              8:42:28
                                                                          settlement terms
                                                                          that compares
                                                                          policy, to COA
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 93 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                     Page   373



User                      Date        Client                              Description              Time Spent


                                                                          standards to what
                                                                          our original
                                                                          proposal required.

Total: 11/6/2006
                                                                                            8.71


Shirim, Esq.                11/8/2006 Mississippi                         Meeting with MRL            0:20:00
                                                                          and ET re
                                                                          settlement proposal
Shirim, Esq.                11/8/2006 Mississippi                         Draft revised              13:09:25
                                                                          settlement proposal

Total: 11/8/2006
                                                                                           13.49


Shirim, Esq.                11/9/2006 Mississippi                         Draft revised               6:58:49
                                                                          settlement plan

Total: 11/9/2006
                                                                                            6.98


Shirim, Esq.               11/14/2006 Mississippi                         Review final                0:28:00
                                                                          proposal sent to
                                                                          defendants and JL
                                                                          comments re same

Total: 11/14/2006
                                                                                            0.47


Shirim, Esq.               11/16/2006 Mississippi                         Telephone call with         0:06:39
                                                                          NP
Shirim, Esq.               11/16/2006 Mississippi                         Electronic mail             0:08:45
                                                                          team re
                                                                          conversation woth
                                                                          NP

Total: 11/16/2006
                                                                                            0.26


Shirim, Esq.               11/22/2006 Mississippi                         edit Mandatory              1:05:12
                                                                          disclosure
                                                                          supplement
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 94 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   374



User                      Date        Client                              Description               Time Spent



Total: 11/22/2006
                                                                                             1.09


Shirim, Esq.               11/28/2006 Mississippi                         Draft terms of               1:15:52
                                                                          settlement
Shirim, Esq.               11/28/2006 Mississippi                         Draft settlement             2:37:36
                                                                          proposal
Shirim, Esq.               11/28/2006 Mississippi                         Draft settlement             3:37:04
                                                                          terms

Total: 11/28/2006
                                                                                             7.51


Shirim, Esq.               11/29/2006 Mississippi                         Draft settlement             1:35:21
                                                                          proposal
Shirim, Esq.               11/29/2006 Mississippi                         Draft settlement             6:52:08
                                                                          proposal

Total: 11/29/2006
                                                                                             8.46


Shirim, Esq.               11/30/2006 Mississippi                         Telephone call with          0:12:35
                                                                          candidate for
                                                                          monitor
Shirim, Esq.               11/30/2006 Mississippi                         Draft settlement             1:29:20
                                                                          proposal
Shirim, Esq.               11/30/2006 Mississippi                         Draft settelment             3:49:36
                                                                          proposal and edit
                                                                          protoin by PS

Total: 11/30/2006
                                                                                             5.53


Shirim, Esq.                12/5/2006 Mississippi                         Draft and revise             2:26:00
                                                                          settlement proposal
                                                                          and get copy to ET
                                                                          for trip
Shirim, Esq.                12/5/2006 Mississippi                         Draft settlement             3:42:39
                                                                          proposal

Total: 12/5/2006
                                                                                             6.14
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 95 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                      Page   375



User                      Date        Client                              Description               Time Spent


Shirim, Esq.               12/12/2006 Mississippi                         Review memo on               0:06:33
                                                                          definition of
                                                                          substantial
                                                                          compliance in the
                                                                          fifth circuit.
Shirim, Esq.               12/12/2006 Mississippi                         Talk with Julie              0:10:00
                                                                          about various policy
                                                                          questions that have
                                                                          come up duirng
                                                                          negotiations,
                                                                          including ability to
                                                                          transfer TANF
                                                                          funds inter-agency.
Shirim, Esq.               12/12/2006 Mississippi                         Meeting with ET re           0:10:00
                                                                          redrafting terms of
                                                                          agreement
Shirim, Esq.               12/12/2006 Mississippi                         Telephone call with          0:15:00
                                                                          HP at AG's office re
                                                                          dispute resolution
                                                                          clause
Shirim, Esq.               12/12/2006 Mississippi                         Talk with ET, MM             0:15:00
                                                                          and SL re next
                                                                          steps in negotiations
Shirim, Esq.               12/12/2006 Mississippi                         Talk with ET about           0:18:00
                                                                          proposed revisions
                                                                          to settlement
                                                                          agreement
Shirim, Esq.               12/12/2006 Mississippi                         Telephone call with          0:19:00
                                                                          MM, ET and SL re
                                                                          settlement
                                                                          negotiations
Shirim, Esq.               12/12/2006 Mississippi                         Redraft negotiated           0:55:00
                                                                          terms of settlement
Shirim, Esq.               12/12/2006 Mississippi                         Telephone call with          2:29:27
                                                                          AG and MM and SL
                                                                          re settlement terms
Shirim, Esq.               12/12/2006 Mississippi                         Review and revise            2:50:17
                                                                          additional
                                                                          settlement terms to
                                                                          be sent to
                                                                          defendants on 12/13

Total: 12/12/2006
                                                                                             7.82


Shirim, Esq.               12/13/2006 Mississippi                         Talk with ET re              0:11:15
                                                                          edits made to
                                                                          settlement draft
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 96 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   376



User                      Date        Client                              Description            Time Spent


Shirim, Esq.               12/13/2006 Mississippi                         Review edits to new       0:18:59
                                                                          settlement
                                                                          language
Shirim, Esq.               12/13/2006 Mississippi                         Edit redrafted            0:45:23
                                                                          segments of
                                                                          settlement
                                                                          discussed during
                                                                          12/12 conference
                                                                          with AG
Shirim, Esq.               12/13/2006 Mississippi                         Meeting with JL and       1:20:00
                                                                          JP at L&L re fiscal
                                                                          considerations of
                                                                          settlement
                                                                          agreement

Total: 12/13/2006
                                                                                          2.60


Shirim, Esq.               12/14/2006 Mississippi                         Finish editing the        0:38:39
                                                                          new settlement
                                                                          proposal.
Shirim, Esq.               12/14/2006 Mississippi                         Telephone call with       1:31:19
                                                                          ET to discuss
                                                                          proposed changes
                                                                          to settlement
                                                                          agreement draft
Shirim, Esq.               12/14/2006 Mississippi                         Edit newest terms         1:40:54
                                                                          of the settlement
                                                                          agreement proposal

Total: 12/14/2006
                                                                                          3.84


Shirim, Esq.               12/19/2006 Mississippi                         Telephone call with       0:26:22
                                                                          team re settlement
                                                                          proposal terms,
                                                                          esp. fiscal.

Total: 12/19/2006
                                                                                          0.44



Total: Shirim, Esq.
                                                                                        835.95
       Case 3:04-cv-00251-HSO-ASH           Document 472-5             Filed 05/09/08     Page 97 of 658
5/1/2008                                    Children's Rights, Inc.
12:53 PM                                   User Defined Slip Listing                                    Page   377



User                            Date        Client                              Description             Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                    1/18/2006 Mississippi                         Conference call            0:45:00
                                                                                with team re next
                                                                                steps for exp
                                                                                reports and new
                                                                                doc production
                                                                                coming in.

Total: 1/18/2006
                                                                                                 0.75


Susan Lambiase                     2/6/2006 Mississippi                         Telephone calls            0:50:00
                                                                                and emails with
                                                                                team
Susan Lambiase                     2/6/2006 Mississippi                         Review named pl            5:10:00
                                                                                exp report

Total: 2/6/2006
                                                                                                 6.00


Susan Lambiase                     2/7/2006 Mississippi                         Review draft exec          0:45:00
                                                                                summ of mgmt rep
                                                                                and suggest edits

Total: 2/7/2006
                                                                                                 0.75


Susan Lambiase                    2/27/2006 Mississippi                         Review motion re           0:40:00
                                                                                release of exp
                                                                                report -- edit and
                                                                                email et re same

Total: 2/27/2006
                                                                                                 0.67


Susan Lambiase                    2/28/2006 Mississippi                         Talk with eric re          0:16:00
                                                                                expert deps; talk to
                                                                                sn re exp deps

Total: 2/28/2006
                                                                                                 0.27


Susan Lambiase                     3/2/2006 Mississippi                         Meeting with sn re         0:14:00
                                                                                marva lewis dep
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 98 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   378



User                      Date        Client                              Description            Time Spent



Total: 3/2/2006
                                                                                          0.23


Susan Lambiase               3/3/2006 Mississippi                         Talk with mrl re dep      0:12:00
                                                                          issues

Total: 3/3/2006
                                                                                          0.20


Susan Lambiase              3/10/2006 Mississippi                         t/conf with team re       0:43:34
                                                                          settlement
                                                                          conference next
                                                                          week ; meet with
                                                                          CR team re same

Total: 3/10/2006
                                                                                          0.73


Susan Lambiase              3/15/2006 Mississippi                         Prepare for meeting       2:30:00
                                                                          and prepping expert
                                                                          for dep

Total: 3/15/2006
                                                                                          2.50


Susan Lambiase              3/16/2006 Mississippi                         Telephone call with       0:24:00
                                                                          mrl re expert deps
                                                                          and scheduling
Susan Lambiase              3/16/2006 Mississippi                         Meeting with expert       5:30:00
                                                                          and sn to Prepare
                                                                          exp for dep

Total: 3/16/2006
                                                                                          5.90


Susan Lambiase              3/23/2006 Mississippi                         Conference call           0:15:00
                                                                          with mrl and et re
                                                                          work and delegation
Susan Lambiase              3/23/2006 Mississippi                         Review old exp dep        3:45:00
                                                                          and rev mgmt rep
                                                                          to prep for def
                                                                          expert dep,
                                                                          upcoming
       Case 3:04-cv-00251-HSO-ASH     Document 472-5             Filed 05/09/08    Page 99 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                   Page   379



User                      Date        Client                              Description            Time Spent



Total: 3/23/2006
                                                                                          4.00


Susan Lambiase              3/27/2006 Mississippi                         Review outline for        0:18:38
                                                                          dep Prep of expert
Susan Lambiase              3/27/2006 Mississippi                         Meeting with tara re      0:20:00
                                                                          FOF issues

Total: 3/27/2006
                                                                                          0.64


Susan Lambiase              3/28/2006 Mississippi                         Telephone call with       0:25:00
                                                                          et re expert dep
                                                                          today and re
                                                                          scheudling issues
                                                                          re deps

Total: 3/28/2006
                                                                                          0.42


Susan Lambiase              3/29/2006 Mississippi                         Meeting with holly        0:10:00
                                                                          re fof issues

Total: 3/29/2006
                                                                                          0.17


Susan Lambiase               4/3/2006 Mississippi                         Review our exxpert        0:20:00
                                                                          rfpd and defs'
                                                                          written responses
Susan Lambiase               4/3/2006 Mississippi                         Review exp reprot         0:25:00
                                                                          and gather other
                                                                          docs for prep of exp
                                                                          dep
Susan Lambiase               4/3/2006 Mississippi                         Review and                0:30:00
                                                                          respond to emails
                                                                          re deps
Susan Lambiase               4/3/2006 Mississippi                         Review expert             1:28:00
                                                                          report and
                                                                          participate in
                                                                          conference call with
                                                                          team

Total: 4/3/2006
                                                                                          2.72
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 100 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   380



User                      Date        Client                          Description             Time Spent


Susan Lambiase               4/4/2006 Mississippi                     Prepare for def            2:05:00
                                                                      expert's depo
Susan Lambiase               4/4/2006 Mississippi                     Prepare for defs'          3:26:24
                                                                      expert depo

Total: 4/4/2006
                                                                                       5.52


Susan Lambiase               4/5/2006 Mississippi                     Review docs for            1:50:00
                                                                      steib dep
Susan Lambiase               4/5/2006 Mississippi                     Review docs fro            3:11:08
                                                                      Steib doc production

Total: 4/5/2006
                                                                                       5.02


Susan Lambiase               4/6/2006 Mississippi                     Review docs from           1:08:18
                                                                      steib production
Susan Lambiase               4/6/2006 Mississippi                     Review miss docs           2:06:06


Total: 4/6/2006
                                                                                       3.24


Susan Lambiase               4/7/2006 Mississippi                     Prepare for dep of         7:30:00
                                                                      def expert,
                                                                      re-review report, etc

Total: 4/7/2006
                                                                                       7.50


Susan Lambiase              4/10/2006 Mississippi                     Prepare for dep of         2:30:00
                                                                      steib
Susan Lambiase              4/10/2006 Mississippi                     Prepare steib dep          4:09:55


Total: 4/10/2006
                                                                                       6.67


Susan Lambiase              4/11/2006 Mississippi                     Prepare for steib          1:05:00
                                                                      dep
Susan Lambiase              4/11/2006 Mississippi                     Prepare for                3:41:29
                                                                      Deposition of Def
                                                                      expert
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 101 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   381



User                      Date        Client                          Description              Time Spent



Total: 4/11/2006
                                                                                        4.77


Susan Lambiase              4/12/2006 Mississippi                     Prepare for dep             1:30:00

Susan Lambiase              4/12/2006 Mississippi                     Prepare for dep             2:40:51


Total: 4/12/2006
                                                                                        4.18


Susan Lambiase              4/13/2006 Mississippi                     Prepare for dep             1:20:00


Total: 4/13/2006
                                                                                        1.33


Susan Lambiase              4/14/2006 Mississippi                     Telephone call with         0:35:00
                                                                      team re sj motion
Susan Lambiase              4/14/2006 Mississippi                     Review rfpd for def         0:38:20
                                                                      exp and let eric
                                                                      know what was not
                                                                      produced
Susan Lambiase              4/14/2006 Mississippi                     Deposition of defs'         5:30:00
                                                                      expert

Total: 4/14/2006
                                                                                        6.72


Susan Lambiase              4/24/2006 Mississippi                     Meeting with tara re        1:30:00
                                                                      status of sj motion;
                                                                      emails and
                                                                      conversations with
                                                                      mrl and with et re
                                                                      same

Total: 4/24/2006
                                                                                        1.50


Susan Lambiase              4/25/2006 Mississippi                     Telephone call with         0:15:00
                                                                      et re status of sj
                                                                      motion
Susan Lambiase              4/25/2006 Mississippi                     Review and edit C.1         3:00:00
                                                                      (caseloads) secition
                                                                      of sj motion
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 102 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   382



User                      Date        Client                          Description              Time Spent



Total: 4/25/2006
                                                                                        3.25


Susan Lambiase              4/26/2006 Mississippi                     Talk with shirim            0:15:58
                                                                      than with tara re
                                                                      status of motion
                                                                      and memo
Susan Lambiase              4/26/2006 Mississippi                     Meeting with marcia         0:16:00
                                                                      re settlement
                                                                      negotiaitons and SJ
                                                                      motion
Susan Lambiase              4/26/2006 Mississippi                     Review writing from         0:16:39
                                                                      last night and talk to
                                                                      tara re org of same
Susan Lambiase              4/26/2006 Mississippi                     edit caseloads              0:33:34
                                                                      section
Susan Lambiase              4/26/2006 Mississippi                     Review and edit             1:15:00
                                                                      and write caseloads
                                                                      section of brief
Susan Lambiase              4/26/2006 Mississippi                     edit caseloads              4:03:00
                                                                      section of brief --
                                                                      add more facts
                                                                      gathered by paras

Total: 4/26/2006
                                                                                        6.68


Susan Lambiase              4/27/2006 Mississippi                     Meeting with et re          0:30:00
                                                                      next steps
Susan Lambiase              4/27/2006 Mississippi                     Meeting with ET re          0:30:51
                                                                      SJ motion; review
                                                                      section
Susan Lambiase              4/27/2006 Mississippi                     edit section and            0:35:00
                                                                      send to team
Susan Lambiase              4/27/2006 Mississippi                     Review and edit             2:19:18
                                                                      legal section
Susan Lambiase              4/27/2006 Mississippi                     Meeting with eric,          4:30:00
                                                                      then with eric and
                                                                      marcia, about brief.
                                                                      reorganize
                                                                      caseload section of
                                                                      brief to make
                                                                      consistent with
                                                                      other changes; edit
                                                                      down section
                                                                      subtantially
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 103 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   383



User                      Date        Client                          Description             Time Spent



Total: 4/27/2006
                                                                                       8.41


Susan Lambiase              4/28/2006 Mississippi                     Draft section on           0:30:00
                                                                      health service array
Susan Lambiase              4/28/2006 Mississippi                     edit entire section d      3:14:00
                                                                      re resources
Susan Lambiase              4/28/2006 Mississippi                     edit and reorganize        5:08:18
                                                                      training and
                                                                      supervision section
                                                                      of brief; edit and
                                                                      cite check
                                                                      caseloads section;
                                                                      edit resources
                                                                      section

Total: 4/28/2006
                                                                                       8.87


Susan Lambiase              4/29/2006 Mississippi                     Review 2 section of        1:30:00
                                                                      brief nad correct
                                                                      errors
Susan Lambiase              4/29/2006 Mississippi                     Review brief for cite      1:59:00
                                                                      checking
Susan Lambiase              4/29/2006 Mississippi                     work on all aspects       10:15:13
                                                                      of getting brief out.

Total: 4/29/2006
                                                                                      13.73


Susan Lambiase              4/30/2006 Mississippi                     Review and edit;           3:30:00
                                                                      create TOC;
                                                                      troubleshoot final
                                                                      editing questions

Total: 4/30/2006
                                                                                       3.50


Susan Lambiase               5/1/2006 Mississippi                     Review emails re           0:45:00
                                                                      filings; respond to
                                                                      same
Susan Lambiase               5/1/2006 Mississippi                     Review defs'               2:00:00
                                                                      motions and memos
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 104 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   384



User                      Date        Client                          Description              Time Spent



Total: 5/1/2006
                                                                                        2.75


Susan Lambiase               5/3/2006 Mississippi                     Meeting w/ team re          1:00:00
                                                                      responding to defs'
                                                                      sj motion

Total: 5/3/2006
                                                                                        1.00


Susan Lambiase               5/4/2006 Mississippi                     Meeting with team           0:30:00
                                                                      re status of
                                                                      responsive papers

Total: 5/4/2006
                                                                                        0.50


Susan Lambiase               5/9/2006 Mississippi                     Meeting with team           0:24:04
                                                                      re status of our brief

Total: 5/9/2006
                                                                                        0.40


Susan Lambiase              5/15/2006 Mississippi                     Review and edit             0:45:00
                                                                      brief

Total: 5/15/2006
                                                                                        0.75


Susan Lambiase              6/27/2006 Mississippi                     Talk with ET;               0:25:00
                                                                      review docs re steib

Total: 6/27/2006
                                                                                        0.42


Susan Lambiase              6/28/2006 Mississippi                     Meeting with et and         0:45:00
                                                                      mrl re trial issues

Total: 6/28/2006
                                                                                        0.75


Susan Lambiase              7/26/2006 Mississippi                     Meeting with sn re          0:50:00
                                                                      jamison direct exam
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 105 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   385



User                      Date        Client                          Description              Time Spent



Total: 7/26/2006
                                                                                        0.83


Susan Lambiase               8/1/2006 Mississippi                     Review email and            0:09:00
                                                                      discuss implications
                                                                      with mrl re diverting
                                                                      kids from class
Susan Lambiase               8/1/2006 Mississippi                     Conference call             0:20:00
                                                                      with team re next
                                                                      steps and status
                                                                      (left early)

Total: 8/1/2006
                                                                                        0.48


Susan Lambiase               8/2/2006 Mississippi                     Meeting with shirim         0:30:00
                                                                      about evidentiary
                                                                      questions and
                                                                      strategy about
                                                                      getting certain info
                                                                      into evidence at trial

Total: 8/2/2006
                                                                                        0.50


Susan Lambiase              8/15/2006 Mississippi                     Telephone call with         0:11:00
                                                                      mrl and et re next
                                                                      steps re steib recs
Susan Lambiase              8/15/2006 Mississippi                     Finalizing memo re          0:33:08
                                                                      steib report
Susan Lambiase              8/15/2006 Mississippi                      edit document re           0:54:57
                                                                      steib report
Susan Lambiase              8/15/2006 Mississippi                     Review steib report         1:15:00
                                                                      prepare document
                                                                      re issues and
                                                                      recommendations

Total: 8/15/2006
                                                                                        2.90


Susan Lambiase              9/13/2006 Mississippi                     Meeting with team           0:20:00
                                                                      re trial questions
                                                                      (came late)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 106 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   386



User                      Date        Client                          Description            Time Spent



Total: 9/13/2006
                                                                                      0.33


Susan Lambiase             10/11/2006 Mississippi                     Telephone call with       0:14:00
                                                                      mrl then t/c with
                                                                      potenital mediator

Total: 10/11/2006
                                                                                      0.23


Susan Lambiase             11/29/2006 Mississippi                     Meeting with team         0:30:00
                                                                      re negotiations
Susan Lambiase             11/29/2006 Mississippi                     Prepare for meeting       0:45:00


Total: 11/29/2006
                                                                                      1.25



Total: Susan Lambiase
                                                                                    129.93
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 107 of 658
5/1/2008                                   Children's Rights, Inc.
12:53 PM                                  User Defined Slip Listing                                Page   387



User                           Date        Client                          Description             Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                    6/27/2006 Mississippi                     Conference call            0:25:00
                                                                           with JW, ET, SN,
                                                                           MRL, T C, PS re
                                                                           finalization of
                                                                           witness list, release
                                                                           of expert report to
                                                                           press, and
                                                                           identification of
                                                                           additional exhibits.

Total: 6/27/2006
                                                                                            0.42


Talia Kraemer                    6/28/2006 Mississippi                     Meeting with MS            0:30:00
                                                                           team regarding
                                                                           witness lists, adding
                                                                           new exhibits, and
                                                                           instructions for
                                                                           document review.
                                                                           Also present: HB,
                                                                           JW, CR, AW, T C,
                                                                           SN, ET, PS, VJ
Talia Kraemer                    6/28/2006 Mississippi                     Review personnel           0:30:00
                                                                           files for MS case
Talia Kraemer                    6/28/2006 Mississippi                     Review personnel           1:00:00
                                                                           files for MS
Talia Kraemer                    6/28/2006 Mississippi                     Review personnel           3:30:00
                                                                           files for MS case

Total: 6/28/2006
                                                                                            5.50


Talia Kraemer                    6/29/2006 Mississippi                     Review personnel           1:45:00
                                                                           files for MS case
Talia Kraemer                    6/29/2006 Mississippi                     Review personnel           3:30:00
                                                                           files for MS case

Total: 6/29/2006
                                                                                            5.25


Talia Kraemer                    6/30/2006 Mississippi                     Go through MS              0:39:57
                                                                           FOF document to
                                                                           look for additions to
                                                                           be made to PTO
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 108 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   388



User                      Date        Client                          Description            Time Spent



Total: 6/30/2006
                                                                                      0.67


Talia Kraemer                7/5/2006 Mississippi                     Review original           0:38:11
                                                                      personnel
                                                                      documents for
                                                                      non-substantive
                                                                      deficiencies
Talia Kraemer                7/5/2006 Mississippi                     Index written             1:09:58
                                                                      response
                                                                      documents, adding
                                                                      to master index

Total: 7/5/2006
                                                                                      1.81


Talia Kraemer                7/6/2006 Mississippi                     Index written             1:56:36
                                                                      response
                                                                      documents, adding
                                                                      to master discovery
                                                                      index.

Total: 7/6/2006
                                                                                      1.94


Talia Kraemer               7/10/2006 Mississippi                     Search indices for        0:10:00
                                                                      references to
                                                                      confidential source
Talia Kraemer               7/10/2006 Mississippi                     Retrieve discovery        0:38:27
                                                                      documents for SN

Total: 7/10/2006
                                                                                      0.81


Talia Kraemer               7/18/2006 Mississippi                     Retrieve phone            0:09:51
                                                                      number for contact
                                                                      in Madison, MS for
                                                                      ET
Talia Kraemer               7/18/2006 Mississippi                     MS team meeting           0:28:16
                                                                      with ET, SN, PS,
                                                                      T.C., CR, JW, HB
Talia Kraemer               7/18/2006 Mississippi                     Search for                2:09:55
                                                                      information in
                                                                      Depos, manuals,
                                                                      and personnel files
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 109 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   389



User                      Date        Client                          Description             Time Spent


                                                                      regarding standard
                                                                      case record review
                                                                      practice

Total: 7/18/2006
                                                                                      2.80


Talia Kraemer               7/19/2006 Mississippi                     Search for                 1:15:38
                                                                      standards of case
                                                                      record review in
                                                                      Depos, policy
                                                                      manual, personnel
                                                                      files, etc.

Total: 7/19/2006
                                                                                      1.26


Talia Kraemer               7/20/2006 Mississippi                     Prepare exhibits           0:19:11
                                                                      containing
                                                                      information on case
                                                                      review standards
Talia Kraemer               7/20/2006 Mississippi                     Search for case            1:10:20
                                                                      review standards
                                                                      and protocols in
                                                                      Depos, policy
                                                                      manual, exhibits, etc
Talia Kraemer               7/20/2006 Mississippi                     Compile Federal            1:23:08
                                                                      child welfare
                                                                      standards for PTO
                                                                      Findings of Fact

Total: 7/20/2006
                                                                                      2.88


Talia Kraemer               7/21/2006 Mississippi                     compile federal            0:19:38
                                                                      standards to add to
                                                                      PTO findings of fact
Talia Kraemer               7/21/2006 Mississippi                     Compile documents          3:44:04
                                                                      relating to national
                                                                      and state case
                                                                      review standards

Total: 7/21/2006
                                                                                      4.06
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 110 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   390



User                      Date        Client                          Description            Time Spent


Talia Kraemer               7/24/2006 Mississippi                     Search for                0:51:13
                                                                      information re:
                                                                      training of ASWS's
                                                                      in reviewing case
                                                                      records
Talia Kraemer               7/24/2006 Mississippi                     Prepare memo for          2:59:03
                                                                      SN re: federal and
                                                                      state case review
                                                                      standards

Total: 7/24/2006
                                                                                      3.83


Talia Kraemer               7/25/2006 Mississippi                     Search for                0:34:08
                                                                      transcript of
                                                                      LaShawn trial for
                                                                      MS team
Talia Kraemer               7/25/2006 Mississippi                     Review CFSR               0:50:26
                                                                      manual for
                                                                      instructions
                                                                      regarding onsite
                                                                      case reviews
Talia Kraemer               7/25/2006 Mississippi                     Prepare memo for          0:51:38
                                                                      SN re: state and
                                                                      federal case review
                                                                      standards

Total: 7/25/2006
                                                                                      2.27


Talia Kraemer               7/26/2006 Mississippi                     Compile excerpts          0:05:23
                                                                      from DFCS Policy
                                                                      Manual for SN

Total: 7/26/2006
                                                                                      0.09


Talia Kraemer                8/1/2006 Mississippi                     Scan and file PDF         0:15:00
                                                                      version of licensed
                                                                      foster homes
                                                                      document on f-drive
Talia Kraemer                8/1/2006 Mississippi                     Put together list of      0:56:32
                                                                      locations of foster
                                                                      care placements for
                                                                      named plaintiffs
Talia Kraemer                8/1/2006 Mississippi                     Work on                   1:36:18
                                                                      cross-checks for
                                                                      TC's memo to ET
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 111 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   391



User                      Date        Client                          Description              Time Spent


                                                                      re: potential exhibits
                                                                      from investigation
                                                                      docs

Total: 8/1/2006
                                                                                        2.80


Talia Kraemer                8/2/2006 Mississippi                     File electronic copy        0:34:34
                                                                      of Licensed Foster
                                                                      Homes list on
                                                                      F-drive
Talia Kraemer                8/2/2006 Mississippi                     Cross-checking              2:33:11
                                                                      DHS investigation
                                                                      reports of
                                                                      abuse/neglect in
                                                                      foster homes with
                                                                      list of currently
                                                                      licensed homes

Total: 8/2/2006
                                                                                        3.13


Talia Kraemer                8/7/2006 Mississippi                     Go through March            2:05:27
                                                                      '05 and current PIP
                                                                      to compare the two
                                                                      documents

Total: 8/7/2006
                                                                                        2.09


Talia Kraemer                8/8/2006 Mississippi                     Go through 2005             0:05:26
                                                                      PIP and current PIP
                                                                      to look for changes

Total: 8/8/2006
                                                                                        0.09


Talia Kraemer                8/9/2006 Mississippi                     Go through 2005             0:21:28
                                                                      and 2006 PIPs to
                                                                      look for changes

Total: 8/9/2006
                                                                                        0.36
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 112 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   392



User                      Date        Client                          Description            Time Spent


Talia Kraemer               8/10/2006 Mississippi                     Go through 2005           4:16:19
                                                                      and 2006 PIPs to
                                                                      look for changes

Total: 8/10/2006
                                                                                      4.27


Talia Kraemer               8/11/2006 Mississippi                     Work on                   2:32:43
                                                                      comparison of 2005
                                                                      and 2006 PIPs

Total: 8/11/2006
                                                                                      2.55


Talia Kraemer               8/14/2006 Mississippi                     Work on                   1:10:39
                                                                      comparison of 2005
                                                                      and 2006 PIP

Total: 8/14/2006
                                                                                      1.18


Talia Kraemer               8/15/2006 Mississippi                     Work on                   4:56:04
                                                                      comparison of 2005
                                                                      and 2006 PIPs

Total: 8/15/2006
                                                                                      4.93


Talia Kraemer               8/16/2006 Mississippi                     Compile various           0:10:01
                                                                      documents for TC
Talia Kraemer               8/16/2006 Mississippi                     Go through DHS            1:53:31
                                                                      worker personnel
                                                                      file
Talia Kraemer               8/16/2006 Mississippi                     Work on                   3:03:22
                                                                      comparison of 2005
                                                                      and 2006 PIP

Total: 8/16/2006
                                                                                      5.12


Talia Kraemer               8/17/2006 Mississippi                     Telephone call with       0:05:00
                                                                      ET re PIP memo
Talia Kraemer               8/17/2006 Mississippi                     Retrieve bates            0:05:00
                                                                      ranges for March
                                                                      06 PIP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 113 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   393



User                      Date        Client                          Description              Time Spent


Talia Kraemer               8/17/2006 Mississippi                     Compile list of PTO         0:48:44
                                                                      documents for TC
Talia Kraemer               8/17/2006 Mississippi                     Revise PIP memo             0:56:33

Talia Kraemer               8/17/2006 Mississippi                     Write memo re               2:33:56
                                                                      comparison of 2005
                                                                      and 2006 MS PIPs

Total: 8/17/2006
                                                                                        4.48


Talia Kraemer               8/18/2006 Mississippi                     Compile PTO                 1:04:51
                                                                      exhibits for TC

Total: 8/18/2006
                                                                                        1.08


Talia Kraemer               8/21/2006 Mississippi                     Meeting with HB             0:05:00
                                                                      and JW to discuss
                                                                      division of MS tasks

Total: 8/21/2006
                                                                                        0.08


Talia Kraemer               8/22/2006 Mississippi                     Go through list of          2:50:31
                                                                      licensed foster care
                                                                      homes to look for
                                                                      number of empty
                                                                      homes and number
                                                                      of homes operating
                                                                      over licensed
                                                                      capacity. For TC

Total: 8/22/2006
                                                                                        2.84


Talia Kraemer               8/25/2006 Mississippi                     Meeting with HB             0:42:03
                                                                      and JW re
                                                                      formatting
                                                                      standards for PTO
Talia Kraemer               8/25/2006 Mississippi                     Go through PTO to           1:16:43
                                                                      cite-check.

Total: 8/25/2006
                                                                                        1.98
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 114 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   394



User                      Date        Client                          Description             Time Spent


Talia Kraemer               8/28/2006 Mississippi                     Go through PTO             3:39:32
                                                                      facts to cite-check.

Total: 8/28/2006
                                                                                       3.66


Talia Kraemer               8/29/2006 Mississippi                     Go through Revised         0:38:55
                                                                      PTO facts to
                                                                      cite-check
Talia Kraemer               8/29/2006 Mississippi                     Go through Revised         1:15:09
                                                                      PTO Facts to
                                                                      cite-check

Total: 8/29/2006
                                                                                       1.90


Talia Kraemer               8/31/2006 Mississippi                     Compile                    0:15:15
                                                                      abuse/neglect
                                                                      reports for SN
Talia Kraemer               8/31/2006 Mississippi                     Go through Revised         0:52:37
                                                                      PTO facts to
                                                                      cite-check.

Total: 8/31/2006
                                                                                       1.13


Talia Kraemer                9/1/2006 Mississippi                     Go through Revised         1:22:05
                                                                      PTO facts to cite
                                                                      check.

Total: 9/1/2006
                                                                                       1.37


Talia Kraemer                9/5/2006 Mississippi                     Telephone call with        0:15:00
                                                                      ET; JW, HB, and
                                                                      CR also present; to
                                                                      discuss MS timeline
                                                                      and tasks for the
                                                                      week
Talia Kraemer                9/5/2006 Mississippi                     Go through Revised         6:05:20
                                                                      PTO to cite-check

Total: 9/5/2006
                                                                                       6.34
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 115 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   395



User                      Date        Client                          Description            Time Spent


Talia Kraemer                9/6/2006 Mississippi                     Discuss timeframe         0:10:00
                                                                      for PTO submission
                                                                      with JW, HB, SN,
                                                                      ET
Talia Kraemer                9/6/2006 Mississippi                     Discuss PTO               0:10:38
                                                                      source-less cites
                                                                      with Tara
Talia Kraemer                9/6/2006 Mississippi                     Cite-checking the         7:39:42
                                                                      revised PTO

Total: 9/6/2006
                                                                                      8.01


Talia Kraemer                9/7/2006 Mississippi                     Discuss PTO               0:08:00
                                                                      progress w/HB, JW,
                                                                      and SN
Talia Kraemer                9/7/2006 Mississippi                     Cite-checking the         6:38:36
                                                                      PTO

Total: 9/7/2006
                                                                                      6.77


Talia Kraemer                9/8/2006 Mississippi                     Telephone call with       0:15:00
                                                                      ET. Tara, JW, HB,
                                                                      CR also present.
Talia Kraemer                9/8/2006 Mississippi                     Cite-checking             1:28:29
                                                                      revised PTO

Total: 9/8/2006
                                                                                      1.72


Talia Kraemer               9/11/2006 Mississippi                     Telephone call with       0:09:05
                                                                      ET re PTO editing
Talia Kraemer               9/11/2006 Mississippi                     Cite-checking PTO         2:46:24

Talia Kraemer               9/11/2006 Mississippi                     Cite-checking PTO         3:35:35
                                                                      (cont.d)

Total: 9/11/2006
                                                                                      6.51


Talia Kraemer               9/12/2006 Mississippi                     Cite-checking PTO         2:51:37
                                                                      (cont.d)
Talia Kraemer               9/12/2006 Mississippi                     Cite-checking PTO         4:45:38
                                                                      (cont.d)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 116 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   396



User                      Date        Client                          Description            Time Spent



Total: 9/12/2006
                                                                                      7.62


Talia Kraemer               9/13/2006 Mississippi                     Cite-checking PTO         4:25:58
                                                                      facts (cont.d)
Talia Kraemer               9/13/2006 Mississippi                     Cite-checking PTO         4:46:56
                                                                      facts (cont.d)

Total: 9/13/2006
                                                                                      9.21


Talia Kraemer               9/14/2006 Mississippi                     Meeting with ET,          0:04:39
                                                                      HB, and JW re:
                                                                      progress on PTO
                                                                      preparation
Talia Kraemer               9/14/2006 Mississippi                     Cite-checking PTO         2:30:24
                                                                      facts (cont.d)
Talia Kraemer               9/14/2006 Mississippi                     Cite-checking PTO         5:11:20
                                                                      facts (cont'd)

Total: 9/14/2006
                                                                                      7.78


Talia Kraemer               9/15/2006 Mississippi                     Cite-checking PTO         5:11:12
                                                                      facts (cont.d)

Total: 9/15/2006
                                                                                      5.19


Talia Kraemer               9/18/2006 Mississippi                     Telephone call with       0:14:33
                                                                      ET re: Mississippi
                                                                      work load for the
                                                                      week. JW, HB, CR
                                                                      also there.
Talia Kraemer               9/18/2006 Mississippi                     Cite-checking PTO         2:03:59
                                                                      (cont.)

Total: 9/18/2006
                                                                                      2.31


Talia Kraemer               9/19/2006 Mississippi                     Telephone call with       0:21:00
                                                                      ET; HB, JW, and
                                                                      CR also present
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 117 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   397



User                      Date        Client                          Description             Time Spent


Talia Kraemer               9/19/2006 Mississippi                     Meeting with JW,           0:28:00
                                                                      HB, CR re: division
                                                                      of paralegal PTO
                                                                      tasks for next few
                                                                      days
Talia Kraemer               9/19/2006 Mississippi                     Go through PTO             3:50:21
                                                                      facts to make sure
                                                                      all cited sources are
                                                                      on exhibit list
Talia Kraemer               9/19/2006 Mississippi                     Continue checking          5:55:36
                                                                      that all sources
                                                                      cited in PTO facts
                                                                      are on exhibit list

Total: 9/19/2006
                                                                                      10.59


Talia Kraemer               9/20/2006 Mississippi                     Cite-check new fact        0:19:24
                                                                      for PTO
Talia Kraemer               9/20/2006 Mississippi                     Edit deposition            0:38:01
                                                                      designations on
                                                                      revised draft PTO
Talia Kraemer               9/20/2006 Mississippi                     Final editing of PTO       1:00:00

Talia Kraemer               9/20/2006 Mississippi                     Proofreading PTO           4:29:25
                                                                      facts document

Total: 9/20/2006
                                                                                       6.44


Talia Kraemer               10/3/2006 Mississippi                     Meeting with SN,           0:05:00
                                                                      JW, HB to discuss
                                                                      tasks for reviewing
                                                                      Ds' PTO
Talia Kraemer               10/3/2006 Mississippi                     Telephone call with        0:15:18
                                                                      ET (10min) ; JW
                                                                      and HB present;
                                                                      discuss same w/JW
                                                                      and HB
Talia Kraemer               10/3/2006 Mississippi                     Go through D's             1:46:43
                                                                      PTO to check for
                                                                      gaps in lists of
                                                                      weekly MACWIS
                                                                      reports

Total: 10/3/2006
                                                                                       2.12
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 118 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   398



User                      Date        Client                          Description              Time Spent


Talia Kraemer               10/4/2006 Mississippi                     Look for                    0:12:30
                                                                      documentation that
                                                                      recent PIP was
                                                                      approved 4/1/06
Talia Kraemer               10/4/2006 Mississippi                     Discuss division of         0:13:00
                                                                      tasks re D's PTO
                                                                      w/JW and HB
Talia Kraemer               10/4/2006 Mississippi                     Go through D's              2:20:41
                                                                      PTO to check for
                                                                      joint exhibits (cont)
Talia Kraemer               10/4/2006 Mississippi                     Go through D's              3:07:12
                                                                      PTO to check for
                                                                      joint exhibits

Total: 10/4/2006
                                                                                        5.89


Talia Kraemer               10/5/2006 Mississippi                     Go through two              0:26:39
                                                                      copies of 2005
                                                                      budget requests to
                                                                      look for differences

Total: 10/5/2006
                                                                                        0.44


Talia Kraemer               10/6/2006 Mississippi                     Go through D's              0:22:21
                                                                      PTO exhibit list to
                                                                      order in
                                                                      chronological order
                                                                      various
                                                                      components of
                                                                      same exhibit

Total: 10/6/2006
                                                                                        0.37


Talia Kraemer              10/12/2006 Mississippi                     Discuss PTO                 0:10:00
                                                                      preparation tasks
                                                                      with JW and HB
Talia Kraemer              10/12/2006 Mississippi                     Combine contested           0:10:20
                                                                      issues of fact/law
                                                                      from Def's PTO to
                                                                      ours
Talia Kraemer              10/12/2006 Mississippi                     Discuss tasks for           0:20:00
                                                                      revised exhibit list
                                                                      for PTO w/JW and
                                                                      HB
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 119 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   399



User                      Date        Client                          Description              Time Spent


Talia Kraemer              10/12/2006 Mississippi                     Work on exhibit             0:58:47
                                                                      lists for PTO for
                                                                      court (cont).
Talia Kraemer              10/12/2006 Mississippi                     Work on preparing           1:23:39
                                                                      P's, D's, and joint
                                                                      exhibit lists for PTO
                                                                      to court

Total: 10/12/2006
                                                                                        3.04


Talia Kraemer              10/13/2006 Mississippi                     Work on joint               0:11:33
                                                                      exhibit list for PTO
                                                                      for court
Talia Kraemer              10/13/2006 Mississippi                     Go through PTO              0:35:30
                                                                      exhibits to delete
                                                                      joint exhibits from
                                                                      D's list (cont)

Total: 10/13/2006
                                                                                        0.78


Talia Kraemer              10/18/2006 Mississippi                     Go through Weekly           3:37:45
                                                                      Activities reports
                                                                      from D's exhibit list
                                                                      to look for missing
                                                                      reports

Total: 10/18/2006
                                                                                        3.63


Talia Kraemer              10/19/2006 Mississippi                     Go through WSARs            2:06:37
                                                                      on D's exhibit list to
                                                                      look for gaps in
                                                                      weekly reports
                                                                      (cont.)
Talia Kraemer              10/19/2006 Mississippi                     Go through series           3:06:09
                                                                      of weekly and
                                                                      monthly reports to
                                                                      look for missing
                                                                      reports on D's
                                                                      exhibit list

Total: 10/19/2006
                                                                                        5.21
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 120 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   400



User                      Date        Client                          Description               Time Spent


Talia Kraemer              10/20/2006 Mississippi                     Go through                   3:00:19
                                                                      weekly/monthly
                                                                      reports on D's
                                                                      exhibit list to look
                                                                      for gaps (cont)

Total: 10/20/2006
                                                                                         3.01


Talia Kraemer              10/23/2006 Mississippi                     Go through weekly            2:30:20
                                                                      and monthly
                                                                      exhibits on D's
                                                                      exhibit list to look
                                                                      for gaps (cont),
                                                                      write memo to MS
                                                                      team on same.

Total: 10/23/2006
                                                                                         2.51


Talia Kraemer              10/24/2006 Mississippi                     Go through                   2:53:41
                                                                      weekly/monthly
                                                                      reports on D's
                                                                      exhibit list to look
                                                                      for gaps, work on
                                                                      memo to MS team
                                                                      on same (cont)

Total: 10/24/2006
                                                                                         2.89


Talia Kraemer              10/25/2006 Mississippi                     Go through                   1:50:44
                                                                      weekly/monthly
                                                                      reports on D's
                                                                      exhibit list to look
                                                                      for gaps, work on
                                                                      memo to MS team
                                                                      on same (cont)

Total: 10/25/2006
                                                                                         1.85


Talia Kraemer              10/26/2006 Mississippi                     Prepare and print            0:06:00
                                                                      excel charts of
                                                                      missing reports
                                                                      from D's exhibit list
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 121 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   401



User                      Date        Client                          Description               Time Spent


Talia Kraemer              10/26/2006 Mississippi                     Meeting with ET re           0:24:00
                                                                      memo on
                                                                      documents missing
                                                                      from D's exhibit list
Talia Kraemer              10/26/2006 Mississippi                     Follow-up on memo            4:54:56
                                                                      regarding gaps in
                                                                      D's exhibit list -
                                                                      corrections, looking
                                                                      for additional pieces
                                                                      of information

Total: 10/26/2006
                                                                                        5.42


Talia Kraemer              10/27/2006 Mississippi                     Follow-up on memo            3:38:54
                                                                      regarding gaps in
                                                                      D's exhibit list -
                                                                      corrections, looking
                                                                      for additional pieces
                                                                      of information
                                                                      (cont'd)

Total: 10/27/2006
                                                                                        3.65


Talia Kraemer              10/30/2006 Mississippi                     Work on revisions            2:03:57
                                                                      and additions to
                                                                      memo re gaps in
                                                                      weekly/monthly
                                                                      reports on D's
                                                                      exhibit list (cont)

Total: 10/30/2006
                                                                                        2.07


Talia Kraemer              10/31/2006 Mississippi                     Finalize memo to             0:20:00
                                                                      MS team re gaps
                                                                      on D's exhibit list
Talia Kraemer              10/31/2006 Mississippi                     Work on revisions            4:40:08
                                                                      to memo re gaps in
                                                                      D's monthly/weekly
                                                                      reports on exhibit list

Total: 10/31/2006
                                                                                        5.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 122 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   402



User                      Date        Client                          Description               Time Spent


Talia Kraemer               11/1/2006 Mississippi                     Telephone call with          0:05:00
                                                                      Skyline re
                                                                      document pickup
Talia Kraemer               11/1/2006 Mississippi                     Discuss MS                   0:10:00
                                                                      negotiation updates
                                                                      with JW and JP

Total: 11/1/2006
                                                                                         0.25


Talia Kraemer               11/2/2006 Mississippi                     Review D's new               0:20:01
                                                                      draft PTO

Total: 11/2/2006
                                                                                         0.33


Talia Kraemer               11/7/2006 Mississippi                     Discuss task on              0:10:00
                                                                      organizing and
                                                                      itemizing content
                                                                      for settlement
                                                                      agreement with JW,
                                                                      HB, and CR
Talia Kraemer               11/7/2006 Mississippi                     Reorganizing and             3:56:24
                                                                      formatting materials
                                                                      for proposed
                                                                      settlement

Total: 11/7/2006
                                                                                         4.11


Talia Kraemer               11/9/2006 Mississippi                     Edit pages from              0:18:00
                                                                      draft settlement
                                                                      agreement

Total: 11/9/2006
                                                                                         0.30


Talia Kraemer              11/27/2006 Mississippi                     Review Draft                 0:08:05
                                                                      Mandatory
                                                                      Disclosures
                                                                      Supplement and
                                                                      comments

Total: 11/27/2006
                                                                                         0.13
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 123 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   403



User                      Date        Client                          Description             Time Spent


Talia Kraemer              11/30/2006 Mississippi                     Search for                 0:52:18
                                                                      provisions in CT
                                                                      and DC settlement
                                                                      agreements re:
                                                                      resources required
                                                                      to be provided to
                                                                      monitor

Total: 11/30/2006
                                                                                       0.87


Talia Kraemer              12/13/2006 Mississippi                     Go through two             1:28:50
                                                                      settlement draft
                                                                      proposals to look
                                                                      for changes

Total: 12/13/2006
                                                                                       1.48


Talia Kraemer              12/18/2006 Mississippi                     Proofread Plaintiffs'      1:37:34
                                                                      proposal for
                                                                      settlement
                                                                      agreement

Total: 12/18/2006
                                                                                       1.63



Total: Talia Kraemer
                                                                                     214.10
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08    Page 124 of 658
5/1/2008                                Children's Rights, Inc.
12:53 PM                               User Defined Slip Listing                                Page   404



User                        Date        Client                          Description             Time Spent


Attorney/Para: Tara Crean
Tara Crean                    1/13/2006 Mississippi                     Review                     0:10:00
                                                                        correspondence re
                                                                        outstanding
                                                                        documents to be
                                                                        produced.
Tara Crean                    1/13/2006 Mississippi                     Telephone call with        0:41:00
                                                                        ET, AW, and HB re
                                                                        status of
                                                                        management report.

Total: 1/13/2006
                                                                                         0.85


Tara Crean                    1/17/2006 Mississippi                     Telephone call with        0:25:00
                                                                        ET, SN, C.
                                                                        Carbone, J.
                                                                        Piskora, and BH re
                                                                        motion for revised
                                                                        case management
                                                                        order, motion to
                                                                        compel production,
                                                                        experts, further
                                                                        discovery, and
                                                                        legislative strategy.

Total: 1/17/2006
                                                                                         0.42


Tara Crean                    1/18/2006 Mississippi                     Conference call            0:36:00
                                                                        with ET, SN, PS,
                                                                        HB, JW, and SL re
                                                                        status, current and
                                                                        future assignments.

Total: 1/18/2006
                                                                                         0.60


Tara Crean                    1/19/2006 Mississippi                     Review draft               2:34:00
                                                                        management report.

Total: 1/19/2006
                                                                                         2.57
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 125 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   405



User                      Date        Client                          Description               Time Spent


Tara Crean                  1/23/2006 Mississippi                     Go through                  12:00:00
                                                                      minuscripts of
                                                                      depositions for
                                                                      citations in
                                                                      management report.

Total: 1/23/2006
                                                                                        12.00


Tara Crean                  1/24/2006 Mississippi                     Go through                  12:00:00
                                                                      minuscripts of
                                                                      depositions for
                                                                      citations in
                                                                      management
                                                                      report.

Total: 1/24/2006
                                                                                        12.00


Tara Crean                  1/25/2006 Mississippi                     Go through                  12:00:00
                                                                      minuscripts of
                                                                      depositions for
                                                                      citations in
                                                                      management report.

Total: 1/25/2006
                                                                                        12.00


Tara Crean                  1/26/2006 Mississippi                     Go through                  10:30:00
                                                                      minuscripts of
                                                                      depositions for
                                                                      citations for
                                                                      management report.

Total: 1/26/2006
                                                                                        10.50


Tara Crean                  1/27/2006 Mississippi                     Go through                   0:29:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management
                                                                      report.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 126 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   406



User                      Date        Client                          Description             Time Spent


Tara Crean                  1/27/2006 Mississippi                     Go through                 4:10:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.

Total: 1/27/2006
                                                                                      4.65


Tara Crean                  1/28/2006 Mississippi                     Electronic mail re         0:06:00
                                                                      motion to compel re
                                                                      documents re child
                                                                      fatality review.
Tara Crean                  1/28/2006 Mississippi                     Go through                 1:26:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.
Tara Crean                  1/28/2006 Mississippi                     Go through                 4:04:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.

Total: 1/28/2006
                                                                                      5.60


Tara Crean                  1/29/2006 Mississippi                     Go through                 2:23:00
                                                                      depositions for
                                                                      citations for
                                                                      management report.

Total: 1/29/2006
                                                                                      2.38


Tara Crean                  1/30/2006 Mississippi                     Conference call            0:23:00
                                                                      with ET, JW, HB,
                                                                      EW, EH, and PS re
                                                                      status of document
                                                                      review, fiscal expert
                                                                      report, case record
                                                                      review report,
                                                                      named plaintiff
                                                                      report, and
                                                                      management report.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 127 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   407



User                      Date        Client                          Description             Time Spent


Tara Crean                  1/30/2006 Mississippi                     Telephone call with        0:27:00
                                                                      ET re status of
                                                                      settlement
                                                                      negotiations and
                                                                      expert reports.
Tara Crean                  1/30/2006 Mississippi                     Go through                 5:25:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations to
                                                                      management
                                                                      reports.

Total: 1/30/2006
                                                                                       6.25


Tara Crean                  1/31/2006 Mississippi                     Go through                 0:22:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.
Tara Crean                  1/31/2006 Mississippi                     Conference call            0:41:00
                                                                      with ET, C.
                                                                      Carbone, MRL, S.
                                                                      Leech, PS, SN, K.
                                                                      Todd, HB re revised
                                                                      CMO, expert
                                                                      reports,
                                                                      media/legislative
                                                                      strategy, settlement
                                                                      overtures, and
                                                                      further discovery.
Tara Crean                  1/31/2006 Mississippi                     Go through                 4:15:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.
Tara Crean                  1/31/2006 Mississippi                     Go through                 4:42:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.

Total: 1/31/2006
                                                                                     10.00


Tara Crean                   2/1/2006 Mississippi                     Electronic mail re         0:39:00
                                                                      Jamison.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 128 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   408



User                      Date        Client                          Description             Time Spent


Tara Crean                   2/1/2006 Mississippi                     Read Motion for            0:41:00
                                                                      Substitution of
                                                                      Counsel.
Tara Crean                   2/1/2006 Mississippi                     Conference with            1:28:00
                                                                      MRL, ET, SN, PS,
                                                                      J. Piskora, J. Lang,
                                                                      and C. Carbone re
                                                                      case record review,
                                                                      Brister's report,
                                                                      legal standards,
                                                                      depositions,
                                                                      documents to
                                                                      request, and
                                                                      settlement
                                                                      negotiations.
Tara Crean                   2/1/2006 Mississippi                     Go through                 7:15:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.

Total: 2/1/2006
                                                                                     10.05


Tara Crean                   2/2/2006 Mississippi                     Electronic mail to J.      0:04:00
                                                                      Piskora re
                                                                      deposition citation
                                                                      for fiscal report.
Tara Crean                   2/2/2006 Mississippi                     Electronic mail to         0:06:00
                                                                      PS re assignment
                                                                      re bulletins.
Tara Crean                   2/2/2006 Mississippi                     Review deposition          0:25:00
                                                                      of M. McDaniel re
                                                                      retention.
Tara Crean                   2/2/2006 Mississippi                     Conference with            0:50:00
                                                                      ET, PS, HB
                                                                      (partial), EH, SN,
                                                                      JW (partial), EW
                                                                      (partial) re named
                                                                      plaintiffs report,
                                                                      case record review,
                                                                      and management
                                                                      report.
Tara Crean                   2/2/2006 Mississippi                     Go through                 1:35:00
                                                                      deposition
                                                                      minuscripts for
                                                                      citations for
                                                                      management report.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 129 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   409



User                      Date        Client                          Description             Time Spent


Tara Crean                   2/2/2006 Mississippi                     Conference with ET         1:45:00
                                                                      and SN re citations
                                                                      to deposition for
                                                                      management report.
Tara Crean                   2/2/2006 Mississippi                     Conference with ET         2:34:00
                                                                      and SN re citations
                                                                      to deposition for
                                                                      management report.

Total: 2/2/2006
                                                                                       7.32


Tara Crean                   2/3/2006 Mississippi                     Review minuscript          0:10:00
                                                                      of deposition of K.
                                                                      Triplett re training.
Tara Crean                   2/3/2006 Mississippi                     Review                     9:39:00
                                                                      management report
                                                                      regarding needed
                                                                      citations

Total: 2/3/2006
                                                                                       9.82


Tara Crean                   2/4/2006 Mississippi                     Review                    13:35:00
                                                                      management report
                                                                      regarding needed
                                                                      citations

Total: 2/4/2006
                                                                                      13.58


Tara Crean                   2/5/2006 Mississippi                     Supervise EH.              0:05:00

Tara Crean                   2/5/2006 Mississippi                     Review deposition          0:05:00
                                                                      of G. Young
Tara Crean                   2/5/2006 Mississippi                     Telephone call with        0:18:00
                                                                      ET re allocation of
                                                                      outstanding tasks
                                                                      for management
                                                                      report.
Tara Crean                   2/5/2006 Mississippi                     Review depositions         0:56:00
                                                                      of M. McDaniel and
                                                                      B. Mangold.
Tara Crean                   2/5/2006 Mississippi                     Review draft              12:59:00
                                                                      management report
                                                                      regarding needed
                                                                      citations
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 130 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   410



User                      Date        Client                          Description             Time Spent



Total: 2/5/2006
                                                                                     14.37


Tara Crean                   2/6/2006 Mississippi                     Talk with SN re            0:19:00
                                                                      failure to meet PIP
                                                                      deadlines.
Tara Crean                   2/6/2006 Mississippi                     Talk with SN re            0:19:00
                                                                      paying back money
                                                                      to federal
                                                                      government.
Tara Crean                   2/6/2006 Mississippi                     Conference call            0:49:00
                                                                      with C. Crabtree
                                                                      and ET re
                                                                      management report
                                                                      draft.
Tara Crean                   2/6/2006 Mississippi                     Conference with            0:53:00
                                                                      ET, PS, JW, SN
                                                                      (partial), HB, EW,
                                                                      and EH (partial).
Tara Crean                   2/6/2006 Mississippi                     Cite-check                 8:29:00
                                                                      management report.

Total: 2/6/2006
                                                                                     10.82


Tara Crean                   2/7/2006 Mississippi                     Telephone call with        0:04:00
                                                                      C. Crabtree re
                                                                      timing.
Tara Crean                   2/7/2006 Mississippi                     Review deposition          0:04:00
                                                                      of R. Hamrick re
                                                                      Foster Care Review
                                                                      Board abolished.
Tara Crean                   2/7/2006 Mississippi                     Electronic mail to C.      0:05:00
                                                                      Crabtree re
                                                                      management report
                                                                      re MACWIS.
Tara Crean                   2/7/2006 Mississippi                     Telephone call with        0:05:00
                                                                      C. Crabtree re
                                                                      board rates.
Tara Crean                   2/7/2006 Mississippi                     Conference calls           0:10:00
                                                                      with C. Crabtree
                                                                      and EH re citations.
Tara Crean                   2/7/2006 Mississippi                     Telephone call with        0:15:00
                                                                      C. Crabtree re
                                                                      revisions to draft of
                                                                      management report.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 131 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   411



User                      Date        Client                          Description              Time Spent


Tara Crean                   2/7/2006 Mississippi                     Review deposition           0:16:00
                                                                      of B. Mangold re
                                                                      number of licensure
                                                                      specialists.
Tara Crean                   2/7/2006 Mississippi                     Talk with SN re             0:19:00
                                                                      Brister Fiscal
                                                                      Report re board
                                                                      rates.
Tara Crean                   2/7/2006 Mississippi                     Conference with             0:33:00
                                                                      ET, EW, CR, JW,
                                                                      DG, GK, SN, HB,
                                                                      and PS re
                                                                      outstanding tasks
                                                                      and division of labor.
Tara Crean                   2/7/2006 Mississippi                     Telephone call with         0:39:00
                                                                      C. Crabtree re
                                                                      revisions to draft of
                                                                      management report.
Tara Crean                   2/7/2006 Mississippi                     Cite-checking              13:30:00
                                                                      management report.

Total: 2/7/2006
                                                                                      16.01


Tara Crean                   2/9/2006 Mississippi                     Electronic mail to          0:02:00
                                                                      SN re Rule 26
                                                                      disclosure re C.
                                                                      Crabtree.
Tara Crean                   2/9/2006 Mississippi                     Telephone call with         0:07:00
                                                                      C. Crabtree.
Tara Crean                   2/9/2006 Mississippi                     Conference call             0:57:00
                                                                      with ET, SN, PS,
                                                                      HB, JW, and EW re
                                                                      document
                                                                      production, Rule 26
                                                                      disclosures,
                                                                      document review,
                                                                      etc.

Total: 2/9/2006
                                                                                       1.10


Tara Crean                  2/13/2006 Mississippi                     Write letter to R.          0:17:00
                                                                      Fortenberry
                                                                      enclosing
                                                                      documents.
Tara Crean                  2/13/2006 Mississippi                     Conference with ET          0:54:00
                                                                      and PS.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 132 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   412



User                      Date        Client                          Description            Time Spent


Tara Crean                  2/13/2006 Mississippi                     Plaintiffs'               1:30:00
                                                                      Supplemental
                                                                      Response to
                                                                      Defendants' First
                                                                      Demand for
                                                                      Production of
                                                                      Documents.
Tara Crean                  2/13/2006 Mississippi                     Read expert reports.      2:10:00

Tara Crean                  2/13/2006 Mississippi                     Go through                2:37:00
                                                                      documents to be
                                                                      produced to
                                                                      defendants.

Total: 2/13/2006
                                                                                      7.47


Tara Crean                  2/14/2006 Mississippi                     Electronic mail to        0:03:00
                                                                      AW re box of
                                                                      documents.
Tara Crean                  2/14/2006 Mississippi                     Revise letter to R.       0:04:00
                                                                      Fortenberry.
Tara Crean                  2/14/2006 Mississippi                     Conference call           0:15:00
                                                                      with ET, J. Piskora,
                                                                      MRL, M. McAnally,
                                                                      S. Leech, W.
                                                                      Drinkwater, PS, and
                                                                      SN re press,
                                                                      release of named
                                                                      plaintiffs report,
                                                                      settlement
                                                                      overtures, and
                                                                      further discovery.
Tara Crean                  2/14/2006 Mississippi                     Revise                    0:16:00
                                                                      supplemental
                                                                      response to
                                                                      document demand.
Tara Crean                  2/14/2006 Mississippi                     Conference with           0:38:00
                                                                      ET, SN, PS, JW,
                                                                      and HB re
                                                                      document review.
Tara Crean                  2/14/2006 Mississippi                     Index new                 1:34:00
                                                                      discovery
                                                                      documents
Tara Crean                  2/14/2006 Mississippi                     Review expert             1:40:00
                                                                      reports.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 133 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   413



User                      Date        Client                          Description             Time Spent



Total: 2/14/2006
                                                                                       4.51


Tara Crean                  2/15/2006 Mississippi                     Meeting with AW re         0:25:00
                                                                      document review.
Tara Crean                  2/15/2006 Mississippi                     Index nwe                 10:43:00
                                                                      discovery
                                                                      documents

Total: 2/15/2006
                                                                                      11.14


Tara Crean                  2/16/2006 Mississippi                     Index new                  2:04:00
                                                                      discovery
                                                                      documents.

Total: 2/16/2006
                                                                                       2.07


Tara Crean                  2/17/2006 Mississippi                     Index new                  4:03:00
                                                                      discovery
                                                                      documents.

Total: 2/17/2006
                                                                                       4.05


Tara Crean                  2/19/2006 Mississippi                     Index documents.           0:43:00


Total: 2/19/2006
                                                                                       0.72


Tara Crean                  2/20/2006 Mississippi                     Index new                  6:19:00
                                                                      discovery
                                                                      documents.

Total: 2/20/2006
                                                                                       6.32


Tara Crean                  2/21/2006 Mississippi                     Electronic mail to         0:06:00
                                                                      ET and SN re
                                                                      deposition dates.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 134 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   414



User                      Date        Client                          Description             Time Spent


Tara Crean                  2/21/2006 Mississippi                     Review Defendant's         0:07:00
                                                                      First Request for
                                                                      Production re
                                                                      Brister.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:07:00
                                                                      First Request for
                                                                      Production of
                                                                      Documents re Hess.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:07:00
                                                                      First Request for
                                                                      Production of
                                                                      Documents re
                                                                      Crabtree.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:07:00
                                                                      First Request for
                                                                      Production of
                                                                      Documents re Hiatt.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:07:00
                                                                      First Interrogatories
                                                                      to Plaintiffs re
                                                                      Experts.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:08:00
                                                                      First Request for
                                                                      Production of
                                                                      Documents re
                                                                      Lewis.
Tara Crean                  2/21/2006 Mississippi                     Telephone call with        0:09:00
                                                                      C. Crabtree re
                                                                      deposition dates.
Tara Crean                  2/21/2006 Mississippi                     Telephone call with        0:10:00
                                                                      C. Crabtree re
                                                                      deposition dates.
Tara Crean                  2/21/2006 Mississippi                     Talk with SN re            0:15:00
                                                                      deposition dates.
Tara Crean                  2/21/2006 Mississippi                     Review Defendants'         0:42:00
                                                                      Amended Initial
                                                                      Disclosures.
Tara Crean                  2/21/2006 Mississippi                     Conference call            0:55:00
                                                                      with ET, J. Piskora,
                                                                      K. Todd, JW, S.
                                                                      Leech, SN (partial),
                                                                      PS (partial) re
                                                                      releasing Named
                                                                      Plaintiff report
                                                                      publicly,
                                                                      media/legislative
                                                                      strategy, upcoming
                                                                      discovery issues.
Tara Crean                  2/21/2006 Mississippi                     Index new                  6:28:00
                                                                      discovery
                                                                      documents.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 135 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   415



User                      Date        Client                          Description            Time Spent



Total: 2/21/2006
                                                                                      9.49


Tara Crean                  2/22/2006 Mississippi                     Index new                 0:54:00
                                                                      discovery
                                                                      documents
Tara Crean                  2/22/2006 Mississippi                     Conference with           1:00:00
                                                                      ET, HB, JW, PS,
                                                                      and SN re review
                                                                      and use of
                                                                      documents re
                                                                      licensing and
                                                                      investigations.
Tara Crean                  2/22/2006 Mississippi                     Prepare for               1:30:00
                                                                      depositions of
                                                                      experts.

Total: 2/22/2006
                                                                                      3.40


Tara Crean                  2/23/2006 Mississippi                     Index documents           5:29:00


Total: 2/23/2006
                                                                                      5.48


Tara Crean                  2/28/2006 Mississippi                     Conference call           0:35:00
                                                                      with C. Carbone, K.
                                                                      Todd, MRL, ET,
                                                                      SN, PS, S. Leech
                                                                      (partial) re motion
                                                                      for leave to release
                                                                      named plaintiffs
                                                                      report publicly,
                                                                      plaintiffs' request
                                                                      for production of
                                                                      documents re
                                                                      defendants'
                                                                      experts, and
                                                                      deposition
                                                                      scheduling.

Total: 2/28/2006
                                                                                      0.58
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 136 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   416



User                      Date        Client                          Description             Time Spent


Tara Crean                   3/2/2006 Mississippi                     Telephone call with        0:03:00
                                                                      C. Crabtree re
                                                                      scheduling.
Tara Crean                   3/2/2006 Mississippi                     Telephone call with        0:47:00
                                                                      C. Crabtree re
                                                                      Defendants' First
                                                                      Interrogatories
                                                                      Relating to Experts
                                                                      and Defendants'
                                                                      First Request for
                                                                      Production of
                                                                      Documents
                                                                      Relating to C.
                                                                      Crabtree.
Tara Crean                   3/2/2006 Mississippi                     Conference call            1:03:00
                                                                      with ET, SN
                                                                      (partial), PS
                                                                      (partial), JW
                                                                      (partial), HB
                                                                      (partial), and EW
                                                                      (partial).

Total: 3/2/2006
                                                                                       1.88


Tara Crean                   3/3/2006 Mississippi                     Electronic mail re         0:08:00
                                                                      child fatality.
Tara Crean                   3/3/2006 Mississippi                     Index new                  5:13:00
                                                                      discovery
                                                                      documents.

Total: 3/3/2006
                                                                                       5.35


Tara Crean                   3/4/2006 Mississippi                     Prepare for depos          1:30:00
                                                                      of experts

Total: 3/4/2006
                                                                                       1.50


Tara Crean                   3/5/2006 Mississippi                     Index new                  2:22:00
                                                                      discovery
                                                                      documents

Total: 3/5/2006
                                                                                       2.37
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 137 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   417



User                      Date        Client                          Description            Time Spent


Tara Crean                   3/6/2006 Mississippi                     Talk with HB re           0:08:00
                                                                      redactions from
                                                                      documents to be
                                                                      produced.
Tara Crean                   3/6/2006 Mississippi                     Telephone call with       0:15:00
                                                                      C. Crabtree re
                                                                      document
                                                                      production.

Total: 3/6/2006
                                                                                      0.38


Tara Crean                   3/7/2006 Mississippi                     Draft Plaintiffs'         0:15:00
                                                                      Response to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      Regarding C.
                                                                      Crabtree.
Tara Crean                   3/7/2006 Mississippi                     Telephone call with       0:15:00
                                                                      ET re document
                                                                      production.
Tara Crean                   3/7/2006 Mississippi                     Conference call           0:25:00
                                                                      with ET, MRL, K.
                                                                      Todd, PS re
                                                                      opposition to
                                                                      dispositive motions
                                                                      extension and
                                                                      response on
                                                                      summary judgment
                                                                      page extension
                                                                      request, response
                                                                      to defendants'
                                                                      requests for
                                                                      production re
                                                                      experts, and
                                                                      settlement meeting.
Tara Crean                   3/7/2006 Mississippi                     Draft Plaintiffs'         0:45:00
                                                                      Response to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      Relating to C.
                                                                      Crabtree.
Tara Crean                   3/7/2006 Mississippi                     Prepare for               1:48:00
                                                                      deposition of C.
                                                                      Crabtree.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 138 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   418



User                      Date        Client                          Description            Time Spent



Total: 3/7/2006
                                                                                      3.47


Tara Crean                   3/8/2006 Mississippi                     Retrieve documents        0:11:00
                                                                      to be produced.
Tara Crean                   3/8/2006 Mississippi                     Prepare document          0:33:00
                                                                      production re C.
                                                                      Crabtree.
Tara Crean                   3/8/2006 Mississippi                     Telephone call with       0:50:00
                                                                      ET re preparation
                                                                      for deposition of C.
                                                                      Crabtree.
Tara Crean                   3/8/2006 Mississippi                     Conference call           1:00:00
                                                                      with C. Crabtree
                                                                      and ET re
                                                                      preparation for
                                                                      deposition.
Tara Crean                   3/8/2006 Mississippi                     Index new disovery        9:22:00
                                                                      documents.

Total: 3/8/2006
                                                                                     11.93


Tara Crean                   3/9/2006 Mississippi                     Index new                 5:40:00
                                                                      discovery
                                                                      documents

Total: 3/9/2006
                                                                                      5.67


Tara Crean                  3/10/2006 Mississippi                     Telephone call with       0:05:00
                                                                      ET re supplemental
                                                                      documents.
Tara Crean                  3/10/2006 Mississippi                     Telephone call with       0:15:00
                                                                      ET re preparation of
                                                                      C. Crabtree for
                                                                      deposition.
Tara Crean                  3/10/2006 Mississippi                     Electronic mail with      0:17:00
                                                                      ET re response to
                                                                      request for
                                                                      production of
                                                                      documents re
                                                                      experts.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 139 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   419



User                      Date        Client                          Description             Time Spent


Tara Crean                  3/10/2006 Mississippi                     Meeting with EW,           0:20:00
                                                                      HB, and JW re
                                                                      document
                                                                      production re
                                                                      experts.
Tara Crean                  3/10/2006 Mississippi                     Conference call            1:00:00
                                                                      with ET, PS, JW,
                                                                      and EW re tasks.

Total: 3/10/2006
                                                                                       1.94


Tara Crean                  3/13/2006 Mississippi                     Conference call            0:10:00
                                                                      with ET, EW, JW,
                                                                      and HB re
                                                                      document
                                                                      production re
                                                                      experts.
Tara Crean                  3/13/2006 Mississippi                     Read defendant's           0:15:00
                                                                      supplemental
                                                                      responses
Tara Crean                  3/13/2006 Mississippi                     Conference call            0:30:00
                                                                      with ET, MRL, PS,
                                                                      W. Drinkwater, M.
                                                                      McAnally, and S.
                                                                      Leech re
                                                                      confidential
                                                                      settlement
                                                                      memorandum.
Tara Crean                  3/13/2006 Mississippi                     Retrieve doucments         0:40:00
                                                                      to be produced
Tara Crean                  3/13/2006 Mississippi                     Draft responses to         2:16:00
                                                                      document demands
                                                                      regarding C.
                                                                      Crabtree

Total: 3/13/2006
                                                                                       3.86


Tara Crean                  3/14/2006 Mississippi                     Draft Plaintiffs'          0:02:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.
Tara Crean                  3/14/2006 Mississippi                     Electronic mail re         0:04:00
                                                                      Jamison.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 140 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   420



User                      Date        Client                          Description              Time Spent


Tara Crean                  3/14/2006 Mississippi                     Telephone call with         0:10:00
                                                                      ET re things to do.
Tara Crean                  3/14/2006 Mississippi                     Electronic mail re          0:14:00
                                                                      Jamison.
Tara Crean                  3/14/2006 Mississippi                     Supervise HB re             0:16:00
                                                                      answer to
                                                                      interrogatory re C.
                                                                      Crabtree.
Tara Crean                  3/14/2006 Mississippi                     Telephone call with         0:20:00
                                                                      C. Crabtree re
                                                                      document
                                                                      production and
                                                                      Plaintiffs'
                                                                      Responses to First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.
Tara Crean                  3/14/2006 Mississippi                     Review document             0:22:00
                                                                      production
Tara Crean                  3/14/2006 Mississippi                     Draft responses re          0:24:00
                                                                      C. Crabtree.
Tara Crean                  3/14/2006 Mississippi                     Analyzing expert            0:25:00
                                                                      reports regarding
                                                                      document request
Tara Crean                  3/14/2006 Mississippi                     Telephone calls             0:30:00
                                                                      with ET re plaintiffs'
                                                                      responses to
                                                                      defendants'
                                                                      demands for
                                                                      production of
                                                                      documents re
                                                                      experts.
Tara Crean                  3/14/2006 Mississippi                     Conference call             0:30:00
                                                                      with ET, C.
                                                                      Carbone, SN, PS re
                                                                      Governor's
                                                                      deposition,
                                                                      deposing
                                                                      defendants'
                                                                      experts, plaintiffs'
                                                                      responses to
                                                                      defendants' request
                                                                      for production of
                                                                      documents, etc.
Tara Crean                  3/14/2006 Mississippi                     Draft Plaintiffs'           0:43:00
                                                                      Responses to First
                                                                      Request for
                                                                      Production of
                                                                      Documents re P.
                                                                      Hess.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 141 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   421



User                      Date        Client                          Description            Time Spent


Tara Crean                  3/14/2006 Mississippi                     Draft Plaintiffs'         6:00:00
                                                                      Responses to First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.

Total: 3/14/2006
                                                                                     10.01


Tara Crean                  3/15/2006 Mississippi                     document                  5:19:00
                                                                      production and
                                                                      written responses.

Total: 3/15/2006
                                                                                      5.32


Tara Crean                  3/16/2006 Mississippi                     Telephone call with       0:05:00
                                                                      ET re case
                                                                      management.
Tara Crean                  3/16/2006 Mississippi                     Telephone call with       0:14:00
                                                                      MRL re settlement
                                                                      conference and
                                                                      schedule for taking
                                                                      expert depositions.
Tara Crean                  3/16/2006 Mississippi                     Telephone call with       0:19:00
                                                                      SN re Plaintiffs'
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      Relating to M.
                                                                      Lewis.
Tara Crean                  3/16/2006 Mississippi                     Draft Plaintiffs'         0:44:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      Relating to C.
                                                                      Crabtree.
Tara Crean                  3/16/2006 Mississippi                     Analyzing expert          1:08:00
                                                                      reports regarding
                                                                      document requests
Tara Crean                  3/16/2006 Mississippi                     Review documents          5:00:00
                                                                      to be produced in
                                                                      response to
                                                                      Defendants' First
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 142 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   422



User                      Date        Client                          Description              Time Spent


                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      Relating to C.
                                                                      Crabtree.

Total: 3/16/2006
                                                                                        7.49


Tara Crean                  3/17/2006 Mississippi                     Revise Plaintiffs'          0:03:00
                                                                      Responses to
                                                                      Defendants's First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.
Tara Crean                  3/17/2006 Mississippi                     Review Defendants'          0:05:00
                                                                      Response to
                                                                      Plaintiffs' Motion for
                                                                      Leave to Release
                                                                      Redacted Social
                                                                      Worker Expert
                                                                      Report of M. Lewis.
Tara Crean                  3/17/2006 Mississippi                     Telephone calls             0:15:00
                                                                      with K. Todd re
                                                                      Plaintiffs'
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re B.
                                                                      Brister.
Tara Crean                  3/17/2006 Mississippi                     Prepare Plaintiffs'         0:54:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re W.
                                                                      Hiatt.
Tara Crean                  3/17/2006 Mississippi                     Prepare Plaintiffs'         1:15:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re P.
                                                                      Hess.
Tara Crean                  3/17/2006 Mississippi                     Prepare Plaintiffs'         1:20:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 143 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   423



User                      Date        Client                          Description             Time Spent


                                                                      Production of
                                                                      Documents re M.
                                                                      Lewis.
Tara Crean                  3/17/2006 Mississippi                     Draft Plaintiffs'          2:37:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re P.
                                                                      Hess.

Total: 3/17/2006
                                                                                       6.48


Tara Crean                  3/18/2006 Mississippi                     Electronic mail to K.      0:04:00
                                                                      Todd regarding
                                                                      Plaintiffs'
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      regarding B. Brister
Tara Crean                  3/18/2006 Mississippi                     Edit Plaintiffs'           0:50:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents
                                                                      regarding M. Lewis

Total: 3/18/2006
                                                                                       0.90


Tara Crean                  3/19/2006 Mississippi                     Prepare Plaintiffs'        0:30:00
                                                                      Answers to
                                                                      Defendants' First
                                                                      Set of
                                                                      Interrogatories
                                                                      Relating to Experts.
Tara Crean                  3/19/2006 Mississippi                     Analyzing expert           0:36:00
                                                                      reports regarding
                                                                      document
                                                                      production
Tara Crean                  3/19/2006 Mississippi                     Prepare Plaintiffs'        0:45:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 144 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   424



User                      Date        Client                          Description             Time Spent


                                                                      Production of
                                                                      Documents re M.
                                                                      Lewis.
Tara Crean                  3/19/2006 Mississippi                     Plaintiffs'                0:49:00
                                                                      Responses to
                                                                      Defendants'
                                                                      Request for
                                                                      Production of
                                                                      Documents re W.
                                                                      Hiatt.
Tara Crean                  3/19/2006 Mississippi                     Revise Plaintiffs'         0:52:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.
Tara Crean                  3/19/2006 Mississippi                     Prepare Plaintiffs'        0:56:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re P.
                                                                      Hess.
Tara Crean                  3/19/2006 Mississippi                     Draft Findings of          2:32:00
                                                                      Fact.

Total: 3/19/2006
                                                                                       7.00


Tara Crean                  3/20/2006 Mississippi                     Telephone call with        0:03:00
                                                                      M. McAnally re
                                                                      Plaintiffs'
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re W.
                                                                      Hiatt and method of
                                                                      service.
Tara Crean                  3/20/2006 Mississippi                     Telephone calls            0:04:00
                                                                      with SL re
                                                                      production of other
                                                                      expert reports by B.
                                                                      Brister.
Tara Crean                  3/20/2006 Mississippi                     Electronic mail to C.      0:04:00
                                                                      Crabtree re
                                                                      Verification.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 145 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   425



User                      Date        Client                          Description            Time Spent


Tara Crean                  3/20/2006 Mississippi                     Telephone call with       0:04:00
                                                                      K. Todd re
                                                                      supplementation of
                                                                      production of
                                                                      documents re B.
                                                                      Brister; electronic
                                                                      mail to ET re same.
Tara Crean                  3/20/2006 Mississippi                     Telephone calls           0:08:00
                                                                      with K. Todd re
                                                                      production of other
                                                                      expert reports by B.
                                                                      Brister.
Tara Crean                  3/20/2006 Mississippi                     Telephone call with       0:09:00
                                                                      L. Templeton re
                                                                      service.
Tara Crean                  3/20/2006 Mississippi                     Telephone call with       0:28:00
                                                                      J. Piskora re
                                                                      depositions and
                                                                      responses to
                                                                      request for
                                                                      production of
                                                                      documents re B.
                                                                      Brister.
Tara Crean                  3/20/2006 Mississippi                     Draft Verifications.      0:30:00

Tara Crean                  3/20/2006 Mississippi                     Prepare for               0:30:00
                                                                      deposition of C.
                                                                      Crabtee.
Tara Crean                  3/20/2006 Mississippi                     Write letter to R.        0:33:00
                                                                      Fortenberry re
                                                                      discovery re
                                                                      experts.
Tara Crean                  3/20/2006 Mississippi                     Prepare Plaintiffs'       0:34:00
                                                                      Response to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re P.
                                                                      Hess.
Tara Crean                  3/20/2006 Mississippi                     Draft Notice of           0:45:00
                                                                      Service of Answers
                                                                      to Interrogatories
                                                                      and Responses to
                                                                      Request for
                                                                      Production; draft
                                                                      Certificate of
                                                                      Service re same.
Tara Crean                  3/20/2006 Mississippi                     Prepare Plaintiffs'       1:28:00
                                                                      Answers to
                                                                      Defendants' First
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 146 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   426



User                      Date        Client                          Description             Time Spent


                                                                      Set of
                                                                      Interrogatories re
                                                                      Experts.
Tara Crean                  3/20/2006 Mississippi                     Prepare Plaintiffs'        1:31:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re B.
                                                                      Brister.
Tara Crean                  3/20/2006 Mississippi                     Revise Plaintiffs'         2:11:00
                                                                      Responses to
                                                                      Defendants' First
                                                                      Request for
                                                                      Production of
                                                                      Documents re C.
                                                                      Crabtree.

Total: 3/20/2006
                                                                                       9.05


Tara Crean                  3/21/2006 Mississippi                     Electronic mail to         0:05:00
                                                                      ET (and team) re
                                                                      document
                                                                      production.
Tara Crean                  3/21/2006 Mississippi                     Telephone call with        0:14:00
                                                                      J. Piskora.
Tara Crean                  3/21/2006 Mississippi                     Electronic mail from       0:23:00
                                                                      MRL re settlement;
                                                                      conference with HB
                                                                      and MRL re same.
Tara Crean                  3/21/2006 Mississippi                     Prepare for                4:21:00
                                                                      deposition of C.
                                                                      Crabtree.

Total: 3/21/2006
                                                                                       5.04


Tara Crean                  3/22/2006 Mississippi                     Conference call            0:06:00
                                                                      with ET, HB, and
                                                                      JW re assignments
                                                                      and deadlines.
Tara Crean                  3/22/2006 Mississippi                     Telephone call with        0:14:00
                                                                      J. Piskora re
                                                                      production of
                                                                      documents re B.
                                                                      Brister.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 147 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   427



User                      Date        Client                          Description            Time Spent


Tara Crean                  3/22/2006 Mississippi                     Retrieve                  0:17:00
                                                                      correspondence
                                                                      with B. Brister for
                                                                      document
                                                                      production.
Tara Crean                  3/22/2006 Mississippi                     Research and write        3:54:00
                                                                      letter to R.
                                                                      Fortenberry re
                                                                      deficiencies in
                                                                      supplemental
                                                                      document
                                                                      production.
Tara Crean                  3/22/2006 Mississippi                     Index new                 5:29:00
                                                                      discovery
                                                                      documents

Total: 3/22/2006
                                                                                      9.99


Tara Crean                  3/23/2006 Mississippi                     Electronic mail with      0:13:00
                                                                      J. Piskora, JW, and
                                                                      ET re depositions.
Tara Crean                  3/23/2006 Mississippi                     Reserch and write         5:25:00
                                                                      letter to R.
                                                                      Fortenberry re
                                                                      deficiencies in
                                                                      supplemental
                                                                      document
                                                                      production (cont'd)

Total: 3/23/2006
                                                                                      5.64


Tara Crean                  3/24/2006 Mississippi                     subpoena and              0:13:00
                                                                      exhibit.
Tara Crean                  3/24/2006 Mississippi                     Telephone call with       0:30:00
                                                                      ET re preparation
                                                                      for deposition of C.
                                                                      Crabtree.
Tara Crean                  3/24/2006 Mississippi                     Conference call           1:20:00
                                                                      with ET and C.
                                                                      Crabtree re
                                                                      preparation for
                                                                      deposition.
Tara Crean                  3/24/2006 Mississippi                     Research and write        3:00:00
                                                                      letter to R.
                                                                      Fortenberry re
                                                                      deficiencies in
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 148 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   428



User                      Date        Client                          Description             Time Spent


                                                                      supplemental
                                                                      document
                                                                      production.

Total: 3/24/2006
                                                                                       5.05


Tara Crean                  3/25/2006 Mississippi                     Electronic mail re         0:33:00
                                                                      draft settlement
                                                                      response.

Total: 3/25/2006
                                                                                       0.55


Tara Crean                  3/27/2006 Mississippi                     Telephone call with        0:30:00
                                                                      ET re letter to R.
                                                                      Fortenberry and re
                                                                      Findings of Fact.
Tara Crean                  3/27/2006 Mississippi                     Talk with SL re            0:30:00
                                                                      Findings of Fact.
Tara Crean                  3/27/2006 Mississippi                     Research and write         4:59:00
                                                                      letter to R.
                                                                      Fortenberry re
                                                                      deficiencies in
                                                                      supplemental
                                                                      document
                                                                      production,

Total: 3/27/2006
                                                                                       5.98


Tara Crean                  3/28/2006 Mississippi                     Revise letter to R.        0:38:00
                                                                      Fortenberry re
                                                                      deficiencies in
                                                                      supplemental
                                                                      document
                                                                      production.
Tara Crean                  3/28/2006 Mississippi                     Analyzing expert           5:16:00
                                                                      reports for FOFs

Total: 3/28/2006
                                                                                       5.90


Tara Crean                  3/29/2006 Mississippi                     Analyzing expert           4:00:00
                                                                      reports for FOFs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 149 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   429



User                      Date        Client                          Description            Time Spent


Tara Crean                  3/29/2006 Mississippi                     Draft Findings of         4:00:00
                                                                      Fact from expert
                                                                      reports

Total: 3/29/2006
                                                                                      8.00


Tara Crean                  3/30/2006 Mississippi                     Telephone call with       0:10:00
                                                                      J. Piskora re
                                                                      deposition.
Tara Crean                  3/30/2006 Mississippi                     Write letter to C.        0:15:00
                                                                      Crabtree enclosing
                                                                      MACWIS plans.
Tara Crean                  3/30/2006 Mississippi                     Draft Findings of        10:26:00
                                                                      Fact from expert
                                                                      reports

Total: 3/30/2006
                                                                                     10.85


Tara Crean                  3/31/2006 Mississippi                     Draft Findings of         1:16:00
                                                                      Fact from expert
                                                                      reports
Tara Crean                  3/31/2006 Mississippi                     Analyzing expert          5:06:00
                                                                      reports regarding
                                                                      FOFs

Total: 3/31/2006
                                                                                      6.37


Tara Crean                   4/2/2006 Mississippi                     Analyzing expert          4:08:00
                                                                      reports regarding
                                                                      FOFs

Total: 4/2/2006
                                                                                      4.13


Tara Crean                   4/3/2006 Mississippi                     Conference with ET        0:15:00
                                                                      re preparation for
                                                                      summary judgment
Tara Crean                   4/3/2006 Mississippi                     Conference call           0:51:00
                                                                      with ET, MRL, J.
                                                                      Piskora, S. Leech,
                                                                      SL, PS, SN, and
                                                                      HB re Governor's
                                                                      deposition
                                                                      agreement,
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 150 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   430



User                      Date        Client                          Description               Time Spent


                                                                      depositions of
                                                                      experts, Felder,
                                                                      Taylor, and
                                                                      Biggers, motion to
                                                                      compel, updating
                                                                      inititial disclosures,
                                                                      and summary
                                                                      judgment motion.
Tara Crean                   4/3/2006 Mississippi                     Analyzing expert             2:54:00
                                                                      reports for FOFs
Tara Crean                   4/3/2006 Mississippi                     Draft Findings of            7:41:00
                                                                      Fact from expert
                                                                      reports

Total: 4/3/2006
                                                                                       11.68


Tara Crean                   4/4/2006 Mississippi                     Electronic mail to           0:06:00
                                                                      ET re telephone call
                                                                      with C. Crabtree re
                                                                      preparation for
                                                                      deposition.
Tara Crean                   4/4/2006 Mississippi                     Electronic mail to           0:22:00
                                                                      MRL re preparation
                                                                      for deposition of
                                                                      Taylor.
Tara Crean                   4/4/2006 Mississippi                     Telephone call with          1:00:00
                                                                      C. Crabtree re
                                                                      preparation for
                                                                      deposition.
Tara Crean                   4/4/2006 Mississippi                     Draft Findings of            5:18:00
                                                                      Fact

Total: 4/4/2006
                                                                                         6.77


Tara Crean                   4/5/2006 Mississippi                     Electronic mail with         0:08:00
                                                                      MRL and ET re
                                                                      document
                                                                      production re PIP.
Tara Crean                   4/5/2006 Mississippi                     Talk with SN re              0:10:00
                                                                      preparation of
                                                                      experts for
                                                                      deposition.
Tara Crean                   4/5/2006 Mississippi                     Organize materials           0:15:00
                                                                      re preparation for
                                                                      depositions of C.
                                                                      Crabtree and M.
                                                                      Lewis.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 151 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   431



User                      Date        Client                          Description             Time Spent


Tara Crean                   4/5/2006 Mississippi                     Review                     0:41:00
                                                                      correspondence re
                                                                      PIP.
Tara Crean                   4/5/2006 Mississippi                     Draft Findings of          4:11:00
                                                                      Fact.

Total: 4/5/2006
                                                                                       5.41


Tara Crean                   4/6/2006 Mississippi                     Prepare with SN            0:21:00
                                                                      and SL (partial) for
                                                                      deposition of M.
                                                                      Lewis.
Tara Crean                   4/6/2006 Mississippi                     Conference call            0:35:00
                                                                      with ET and SN re
                                                                      depositions of
                                                                      Taylor and Felder
                                                                      and preparation for
                                                                      depositions of M.
                                                                      Lewis and C.
                                                                      Crabtree.
Tara Crean                   4/6/2006 Mississippi                     Analyzing expert           2:13:00
                                                                      reports regarding
                                                                      FOFS
Tara Crean                   4/6/2006 Mississippi                     Draft Findings of          4:46:00
                                                                      Fact.

Total: 4/6/2006
                                                                                       7.92


Tara Crean                   4/7/2006 Mississippi                     Telephone call with        0:05:00
                                                                      ET re deposition of
                                                                      P. Hess.
Tara Crean                   4/7/2006 Mississippi                     Electronic mail re         0:07:00
                                                                      deposition of P.
                                                                      Hess and strategy.
Tara Crean                   4/7/2006 Mississippi                     Telephone call with        0:10:00
                                                                      SN re deposition of
                                                                      P. Hess.
Tara Crean                   4/7/2006 Mississippi                     Telephone call with        0:55:00
                                                                      C. Crabtree re
                                                                      preparation for
                                                                      deposition.
Tara Crean                   4/7/2006 Mississippi                     Draft Findings of          4:06:00
                                                                      Fact.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 152 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   432



User                      Date        Client                          Description               Time Spent



Total: 4/7/2006
                                                                                         5.39


Tara Crean                   4/9/2006 Mississippi                     Draft Findings of            2:02:00
                                                                      Fact.

Total: 4/9/2006
                                                                                         2.03


Tara Crean                  4/10/2006 Mississippi                     Retrieve document            0:04:00
                                                                      for SL in
                                                                      preparation for
                                                                      deposition of Steib.
Tara Crean                  4/10/2006 Mississippi                     Talk with SL re              0:06:00
                                                                      deposition of Steib.
Tara Crean                  4/10/2006 Mississippi                     Talk with PS re              0:10:00
                                                                      Findings of Fact.
Tara Crean                  4/10/2006 Mississippi                     Conference call              0:12:00
                                                                      with ET and SL re
                                                                      depositions.
Tara Crean                  4/10/2006 Mississippi                     Review CWLA                  0:41:00
                                                                      expert report in
                                                                      preparation for
                                                                      deposition of C.
                                                                      Crabtree.
Tara Crean                  4/10/2006 Mississippi                     Prepare for                  3:12:00
                                                                      deposition of M.
                                                                      Lewis.
Tara Crean                  4/10/2006 Mississippi                     Analyzing expert             3:58:00
                                                                      reports.

Total: 4/10/2006
                                                                                         8.39


Tara Crean                  4/11/2006 Mississippi                     Conference call              0:35:00
                                                                      with team.
Tara Crean                  4/11/2006 Mississippi                     Meeting with M.              0:45:00
                                                                      Lewis and SN re
                                                                      preparation for
                                                                      deposition.

Total: 4/11/2006
                                                                                         1.33


Tara Crean                  4/12/2006 Mississippi                     Deposition of M.             1:00:00
                                                                      Lewis.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 153 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   433



User                      Date        Client                          Description               Time Spent


Tara Crean                  4/12/2006 Mississippi                     Meeting with C.              3:30:00
                                                                      Crabtree and SN
                                                                      (partial) re
                                                                      preparation for
                                                                      deposition.

Total: 4/12/2006
                                                                                         4.50


Tara Crean                  4/13/2006 Mississippi                     Meeting with C.              0:25:00
                                                                      Crabtree re
                                                                      preparation for
                                                                      deposition.
Tara Crean                  4/13/2006 Mississippi                     Deposition of C.             2:30:00
                                                                      Crabtree.

Total: 4/13/2006
                                                                                         2.92


Tara Crean                  4/14/2006 Mississippi                     Electronic mail from         0:03:00
                                                                      SN re meeting with
                                                                      confidential sources
                                                                      in Jackson.
Tara Crean                  4/14/2006 Mississippi                     Electronic mail with         0:10:00
                                                                      confidential sources.
Tara Crean                  4/14/2006 Mississippi                     Telephone calls              0:45:00
                                                                      with ET, SN
                                                                      (partial) and SL
                                                                      (partial) re
                                                                      summary judgment.
Tara Crean                  4/14/2006 Mississippi                     Revise Plaintiffs'           2:28:00
                                                                      Motion to Compel
                                                                      Documents
                                                                      Responsive to
                                                                      Plaintiffs' First,
                                                                      Third, and Fifth
                                                                      Requests for
                                                                      Production of
                                                                      Documents and
                                                                      First Request for
                                                                      Production as to
                                                                      Experts.

Total: 4/14/2006
                                                                                         3.44
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 154 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   434



User                      Date        Client                          Description              Time Spent


Tara Crean                  4/17/2006 Mississippi                     Finalizing motions          0:02:00
                                                                      to withdraw EP and
                                                                      MR.
Tara Crean                  4/17/2006 Mississippi                     Check regulations           0:02:00
                                                                      re page limit.
Tara Crean                  4/17/2006 Mississippi                     Telephone call with         0:02:00
                                                                      M. McAnally re
                                                                      Plaintiffs' Motion to
                                                                      Compel Documents
                                                                      Responsive to
                                                                      Plaintiffs' First and
                                                                      Fifth Request for
                                                                      Production of
                                                                      Documents and
                                                                      First Request for
                                                                      Production of
                                                                      Documents as to
                                                                      Experts.
Tara Crean                  4/17/2006 Mississippi                     Read decision re            0:10:00
                                                                      class certification.
Tara Crean                  4/17/2006 Mississippi                     Talk with PS re             0:20:00
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                  4/17/2006 Mississippi                     Conference with             0:40:00
                                                                      EW, HB, and JW re
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                  4/17/2006 Mississippi                     Draft Plaintiffs'           1:57:00
                                                                      Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                  4/17/2006 Mississippi                     Finalizing Plaintiffs'      4:14:00
                                                                      Motion to Compel
                                                                      Documents
                                                                      Responsive to
                                                                      Plaintiffs' First and
                                                                      Fifth Requests for
                                                                      Production of
                                                                      Documents and
                                                                      First Request for
                                                                      Production of
                                                                      Documents as to
                                                                      Experts.

Total: 4/17/2006
                                                                                        7.44
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 155 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   435



User                      Date        Client                          Description              Time Spent


Tara Crean                  4/18/2006 Mississippi                     Meeting with SN re          0:10:00
                                                                      summary judgment
                                                                      brief.
Tara Crean                  4/18/2006 Mississippi                     Research re                 0:14:00
                                                                      substantive due
                                                                      process.
Tara Crean                  4/18/2006 Mississippi                     Talk with SN re             0:20:00
                                                                      Plaintiff's Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                  4/18/2006 Mississippi                     Draft Plaintiff's           1:02:00
                                                                      Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                  4/18/2006 Mississippi                     Research re                 3:00:00
                                                                      substantive due
                                                                      process.
Tara Crean                  4/18/2006 Mississippi                     Draft summary               7:30:00
                                                                      judgment brief.

Total: 4/18/2006
                                                                                       12.26


Tara Crean                  4/19/2006 Mississippi                     Analyzing transcript        5:30:00
                                                                      of deposition of R.
                                                                      Felder.
Tara Crean                  4/19/2006 Mississippi                     Draft summary               5:30:00
                                                                      judgment motion.

Total: 4/19/2006
                                                                                       11.00


Tara Crean                  4/20/2006 Mississippi                     Talk with SN and            0:08:00
                                                                      HB re fiscal report
                                                                      by B. Brister.
Tara Crean                  4/20/2006 Mississippi                     Talk with SN re             0:19:00
                                                                      summary judgment
                                                                      brief.
Tara Crean                  4/20/2006 Mississippi                     Meeting with PS re          0:20:00
                                                                      status of
                                                                      assignment for
                                                                      summary judgment
                                                                      brief.
Tara Crean                  4/20/2006 Mississippi                     Meeting with SN             0:30:00
                                                                      and PS (partial) re
                                                                      summary judgment
                                                                      brief.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 156 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   436



User                      Date        Client                          Description              Time Spent


Tara Crean                  4/20/2006 Mississippi                     Meeting with JW             0:40:00
                                                                      and HB re status of
                                                                      assignments for
                                                                      summary judgment
                                                                      brief.
Tara Crean                  4/20/2006 Mississippi                     Draft summary               2:20:00
                                                                      judgment brief.
Tara Crean                  4/20/2006 Mississippi                     Analyzing                   3:00:00
                                                                      deposition of R.
                                                                      Felder.

Total: 4/20/2006
                                                                                        7.28


Tara Crean                  4/21/2006 Mississippi                     Conference call             0:21:00
                                                                      with MRL, ET, W.
                                                                      Drinkwater, M.
                                                                      McAnally, S. Leech,
                                                                      SN, and PS re
                                                                      settlement
                                                                      negotiations.
Tara Crean                  4/21/2006 Mississippi                     Draft summary               6:00:00
                                                                      judgment brief.

Total: 4/21/2006
                                                                                        6.35


Tara Crean                  4/23/2006 Mississippi                     Draft summary               5:00:00
                                                                      judgment brief.

Total: 4/23/2006
                                                                                        5.00


Tara Crean                  4/24/2006 Mississippi                     Telephone call with         0:05:00
                                                                      ET re extension of
                                                                      page limit and other
                                                                      issues re summary
                                                                      judgment brief.
Tara Crean                  4/24/2006 Mississippi                     Research re                 0:09:00
                                                                      substantive due
                                                                      process, deliberate
                                                                      indifference, and
                                                                      reasonable
                                                                      professional
                                                                      judgment.
Tara Crean                  4/24/2006 Mississippi                     Conference with             0:30:00
                                                                      EW, HB, and JW re
                                                                      assignments re
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 157 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   437



User                      Date        Client                          Description             Time Spent


                                                                      statement of
                                                                      undisputed material
                                                                      facts.

Total: 4/24/2006
                                                                                       0.73


Tara Crean                  4/25/2006 Mississippi                     Talk with SN re            0:19:00
                                                                      summary judgment
                                                                      outline.
Tara Crean                  4/25/2006 Mississippi                     Telephone call with        0:36:00
                                                                      J. Piskora re
                                                                      summary judgment
                                                                      standard,
                                                                      substantive due
                                                                      process standard,
                                                                      fiscal defense, and
                                                                      depositions of P.
                                                                      Boulette and D.
                                                                      Biggers.
Tara Crean                  4/25/2006 Mississippi                     Meeting with PS            0:47:00
                                                                      and HB (partial) re
                                                                      assignment re
                                                                      statement of
                                                                      undisputed material
                                                                      facts.
Tara Crean                  4/25/2006 Mississippi                     Conference with SL         0:58:00
                                                                      and SN re summary
                                                                      judgment brief.
Tara Crean                  4/25/2006 Mississippi                     Telephone call with        1:00:00
                                                                      ET re summary
                                                                      judgment brief.
Tara Crean                  4/25/2006 Mississippi                     Prepare summary           15:19:00
                                                                      judgment brief.

Total: 4/25/2006
                                                                                      18.99


Tara Crean                  4/26/2006 Mississippi                     Electronic mail to J.      0:04:00
                                                                      Piskora re case law
                                                                      re fiscal defense.
Tara Crean                  4/26/2006 Mississippi                     Telephone call with        0:05:00
                                                                      ET re cases re
                                                                      deliberate
                                                                      indifference
                                                                      standard and re
                                                                      status.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 158 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   438



User                      Date        Client                          Description               Time Spent


Tara Crean                  4/26/2006 Mississippi                     Conference call              0:15:00
                                                                      with ET and SN re
                                                                      status of summary
                                                                      judgment brief.
Tara Crean                  4/26/2006 Mississippi                     Meeting with SL re           0:19:00
                                                                      structure of
                                                                      summary judgment
                                                                      brief and re status.
Tara Crean                  4/26/2006 Mississippi                     Draft summary                4:31:00
                                                                      judgment motion.
Tara Crean                  4/26/2006 Mississippi                     Draft summary                9:50:00
                                                                      judgment brief.

Total: 4/26/2006
                                                                                        15.07


Tara Crean                  4/27/2006 Mississippi                     Draft summary                6:27:00
                                                                      judgment brief.

Total: 4/27/2006
                                                                                         6.45


Tara Crean                  4/28/2006 Mississippi                     Supervise EW and             0:15:00
                                                                      JW.
Tara Crean                  4/28/2006 Mississippi                     Compile documents            0:40:00
                                                                      unreported cases to
                                                                      be included as
                                                                      exhibits to summary
                                                                      judgment motion.
Tara Crean                  4/28/2006 Mississippi                     Revise facts section        10:15:00
                                                                      of summary
                                                                      judgment motion.

Total: 4/28/2006
                                                                                        11.17


Tara Crean                  4/29/2006 Mississippi                     Conference with              0:04:00
                                                                      ET, SN (partial),
                                                                      HB, and CR re
                                                                      allocation of tasks.
Tara Crean                  4/29/2006 Mississippi                     Retrieve data                0:09:00
                                                                      aggregation re
                                                                      young children in
                                                                      shelters.
Tara Crean                  4/29/2006 Mississippi                     facts section of             1:41:00
                                                                      summary judgment
                                                                      brief.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 159 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   439



User                      Date        Client                          Description             Time Spent


Tara Crean                  4/29/2006 Mississippi                     Draft facts section        7:32:00
                                                                      of summary
                                                                      judgment motion.

Total: 4/29/2006
                                                                                       9.43


Tara Crean                  4/30/2006 Mississippi                     Conference with            0:02:00
                                                                      GK and HB re
                                                                      cite-checking.
Tara Crean                  4/30/2006 Mississippi                     Telephone calls            0:02:00
                                                                      with SL re
                                                                      deposition exhibits.
Tara Crean                  4/30/2006 Mississippi                     Conference with            0:03:00
                                                                      SN, GK, and HB re
                                                                      next steps.
Tara Crean                  4/30/2006 Mississippi                     Search for job title       0:06:00
                                                                      in deposition for ET.
Tara Crean                  4/30/2006 Mississippi                     Supervise HB re            0:08:00
                                                                      exhibits.
Tara Crean                  4/30/2006 Mississippi                     Search for citation        0:18:00
                                                                      re caseloads in
                                                                      depositions of
                                                                      Regional Directors
                                                                      for ET.
Tara Crean                  4/30/2006 Mississippi                     Draft facts section        9:06:00
                                                                      of summary
                                                                      judgment motion.

Total: 4/30/2006
                                                                                       9.74


Tara Crean                   5/1/2006 Mississippi                     Telephone call with        0:07:00
                                                                      HB re exhibits.
Tara Crean                   5/1/2006 Mississippi                     Telephone call with        0:07:00
                                                                      M. McAnally re
                                                                      exhibits.
Tara Crean                   5/1/2006 Mississippi                     Finalize facts             4:30:00
                                                                      section of summary
                                                                      judgment motion.

Total: 5/1/2006
                                                                                       4.74


Tara Crean                   5/2/2006 Mississippi                     Review Defendants'         0:22:00
                                                                      Motion and
                                                                      Memorandum to
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 160 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   440



User                      Date        Client                          Description              Time Spent


                                                                      Exclude Expert
                                                                      Testimony of B.
                                                                      Brister.
Tara Crean                   5/2/2006 Mississippi                     Review Defendants'          0:32:00
                                                                      Brief in Support of
                                                                      Their Motion for
                                                                      Abstention Based
                                                                      on Younger v.
                                                                      Harris.
Tara Crean                   5/2/2006 Mississippi                     Conference call             0:45:00
                                                                      with MRL, ET, SN,
                                                                      W. Drinkwater, M.
                                                                      McAnally, J.
                                                                      Piskora, K. Todd,
                                                                      and EW re
                                                                      responses to
                                                                      Defendants'
                                                                      abstention,
                                                                      summary judgment,
                                                                      and Daubert
                                                                      motions.
Tara Crean                   5/2/2006 Mississippi                     Conference call             0:45:00
                                                                      with SN and ET re
                                                                      responding to
                                                                      Defendants'
                                                                      summary judgment
                                                                      motion.
Tara Crean                   5/2/2006 Mississippi                     Analyzing                   1:16:00
                                                                      Defendants' Motion
                                                                      in Support of Their
                                                                      Motion for
                                                                      Summary
                                                                      Judgment.

Total: 5/2/2006
                                                                                        3.67


Tara Crean                   5/3/2006 Mississippi                     Research re                 7:00:00
                                                                      substantive due
                                                                      process for
                                                                      summary
                                                                      judgement opp,

Total: 5/3/2006
                                                                                        7.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 161 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   441



User                      Date        Client                          Description              Time Spent


Tara Crean                   5/4/2006 Mississippi                     Conference with             0:30:00
                                                                      ET, SN, SL, and PS
                                                                      re status of
                                                                      opposition to
                                                                      summary judgment.
Tara Crean                   5/4/2006 Mississippi                     Conference with             0:30:00
                                                                      SN, SL, ET, and PS
                                                                      re opposition to
                                                                      summary judgment.
Tara Crean                   5/4/2006 Mississippi                     Research re                 7:30:00
                                                                      substantive due
                                                                      process.

Total: 5/4/2006
                                                                                        8.50


Tara Crean                   5/5/2006 Mississippi                     Research re                 5:46:00
                                                                      substantive due
                                                                      process.

Total: 5/5/2006
                                                                                        5.77


Tara Crean                   5/6/2006 Mississippi                     Research re                 8:53:00
                                                                      substantive due
                                                                      process.

Total: 5/6/2006
                                                                                        8.88


Tara Crean                   5/7/2006 Mississippi                     Draft brief in              9:21:00
                                                                      opposition to
                                                                      defendants' motion
                                                                      for summary
                                                                      judgment.

Total: 5/7/2006
                                                                                        9.35


Tara Crean                   5/8/2006 Mississippi                     Research re                 0:09:00
                                                                      substantive due
                                                                      process.
Tara Crean                   5/8/2006 Mississippi                     Draft brief in              4:44:00
                                                                      opposition to
                                                                      defendants' motion
                                                                      re summary
                                                                      judgment.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 162 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                              Page   442



User                      Date        Client                          Description           Time Spent



Total: 5/8/2006
                                                                                     4.88


Tara Crean                   5/9/2006 Mississippi                     Conference call          0:05:00
                                                                      with ET and HB re
                                                                      assignments.
Tara Crean                   5/9/2006 Mississippi                     Conference call          0:06:00
                                                                      with ET, SN, and
                                                                      PS re assignments
                                                                      re summary
                                                                      judgment
                                                                      opposition.
Tara Crean                   5/9/2006 Mississippi                     Research re              0:09:00
                                                                      substantive due
                                                                      process.
Tara Crean                   5/9/2006 Mississippi                     Conference call          0:21:00
                                                                      with SN, JW, ET,
                                                                      MRL, J. Piskora, C.
                                                                      Carbone, S. Leech,
                                                                      and M. McAnally re
                                                                      responding to
                                                                      Defendants'
                                                                      abstention,
                                                                      summary judgment,
                                                                      and Daubert
                                                                      motions, motion to
                                                                      compel reply, and
                                                                      trial preparation.
Tara Crean                   5/9/2006 Mississippi                     Draft brief in           5:18:00
                                                                      opposition to
                                                                      summary judgment.

Total: 5/9/2006
                                                                                     5.98


Tara Crean                  5/10/2006 Mississippi                     Revise brief in          3:00:00
                                                                      opposition to
                                                                      summary judgment.
Tara Crean                  5/10/2006 Mississippi                     Draft brief in           5:35:00
                                                                      opposition to
                                                                      summary judgment.

Total: 5/10/2006
                                                                                     8.58
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 163 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   443



User                      Date        Client                          Description            Time Spent


Tara Crean                  5/11/2006 Mississippi                     Draft brief in           10:33:00
                                                                      opposition to
                                                                      summary judgment.

Total: 5/11/2006
                                                                                     10.55


Tara Crean                  5/12/2006 Mississippi                     Research re               0:05:00
                                                                      substantive due
                                                                      process.
Tara Crean                  5/12/2006 Mississippi                     Telephone call with       0:06:00
                                                                      ET re editing
                                                                      abstention brief and
                                                                      document review.
Tara Crean                  5/12/2006 Mississippi                     Talk with PS re           0:19:00
                                                                      reviewing hot
                                                                      documents for
                                                                      summary judgment
                                                                      brief.
Tara Crean                  5/12/2006 Mississippi                     Conference with           0:21:00
                                                                      HB, JW, and CR re
                                                                      indexing.
Tara Crean                  5/12/2006 Mississippi                     Draft brief in            8:07:00
                                                                      opposition to
                                                                      summary judgment.

Total: 5/12/2006
                                                                                      8.97


Tara Crean                  5/15/2006 Mississippi                     Review documents          3:00:00
                                                                      re licensing and
                                                                      investigations.

Total: 5/15/2006
                                                                                      3.00


Tara Crean                  5/16/2006 Mississippi                     Conference call           0:08:00
                                                                      with ET, C.
                                                                      Carbone, J.
                                                                      Piskora, S. Leech,
                                                                      PS, SN, K. Todd,
                                                                      and JW re
                                                                      responding to
                                                                      Defendants'
                                                                      abstention,
                                                                      summary judgment,
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 164 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   444



User                      Date        Client                          Description             Time Spent


                                                                      and Daubert
                                                                      motions and S.
                                                                      Ward.
Tara Crean                  5/16/2006 Mississippi                     Conference call            0:10:00
                                                                      with ET, PS, and
                                                                      SN re division of
                                                                      labor.
Tara Crean                  5/16/2006 Mississippi                     Prepare new               10:31:00
                                                                      discovery
                                                                      documents to be
                                                                      reviewed -- status,
                                                                      priority, and by
                                                                      whom.

Total: 5/16/2006
                                                                                      10.82


Tara Crean                  5/17/2006 Mississippi                     Electronic mail to J.      0:05:00
                                                                      Piskora re
                                                                      deposition exhibits.
Tara Crean                  5/17/2006 Mississippi                     Electronic mail to J.      0:05:00
                                                                      Piskora re fiscal
                                                                      documents.
Tara Crean                  5/17/2006 Mississippi                     Telephone call with        0:10:00
                                                                      J. Piskora re fiscal
                                                                      documents.
Tara Crean                  5/17/2006 Mississippi                     Search for citations       0:21:00
                                                                      for brief in
                                                                      opposition to
                                                                      summary judgment.
Tara Crean                  5/17/2006 Mississippi                     Conference with            1:15:00
                                                                      MRL, ET, SN, PS
                                                                      re preparation for
                                                                      trial.

Total: 5/17/2006
                                                                                       1.93


Tara Crean                  5/18/2006 Mississippi                     Meeting with ET re         0:41:00
                                                                      documents to be
                                                                      reviewed.
Tara Crean                  5/18/2006 Mississippi                     Review documents           6:00:00
                                                                      -- identify hot
                                                                      documents.
Tara Crean                  5/18/2006 Mississippi                     Case management            6:00:00
                                                                      re discovery
                                                                      documents to be
                                                                      reviewed -- priority
                                                                      and by whom.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 165 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   445



User                      Date        Client                          Description              Time Spent



Total: 5/18/2006
                                                                                       12.68


Tara Crean                  5/19/2006 Mississippi                     Read Defendants'            0:34:00
                                                                      Response in
                                                                      Opposition to
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment on
                                                                      Liability and
                                                                      Defendants'
                                                                      Memorandum of
                                                                      Law in Support of
                                                                      Their Response in
                                                                      Opposition to
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment on
                                                                      Liability.
Tara Crean                  5/19/2006 Mississippi                     Review documents.           6:30:00


Total: 5/19/2006
                                                                                        7.07


Tara Crean                  5/21/2006 Mississippi                     Review documents.           2:02:00


Total: 5/21/2006
                                                                                        2.03


Tara Crean                  5/22/2006 Mississippi                     Review documents.           1:07:00

Tara Crean                  5/22/2006 Mississippi                     Review documents.           6:32:00


Total: 5/22/2006
                                                                                        7.65


Tara Crean                  5/23/2006 Mississippi                     Conference call             0:15:00
                                                                      with ET, SN, C.
                                                                      Carbone, and J.
                                                                      Piskora.
Tara Crean                  5/23/2006 Mississippi                     Telephone call with         0:34:00
                                                                      J. Piskora re fiscal
                                                                      documents.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 166 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   446



User                      Date        Client                          Description            Time Spent


Tara Crean                  5/23/2006 Mississippi                     Review documents.         1:32:00

Tara Crean                  5/23/2006 Mississippi                     Conference with           2:00:00
                                                                      ET, CR (partial), M.
                                                                      Smith, V.
                                                                      Chapman, C.
                                                                      Weeden, R.
                                                                      Yocum, F. Hunter,
                                                                      K. Guche, T. Burch
                                                                      re background,
                                                                      expert reports,
                                                                      organizational
                                                                      structure, Named
                                                                      Plaintiffs, Foster
                                                                      Care Review, and
                                                                      indexing documents.

Total: 5/23/2006
                                                                                      4.35


Tara Crean                  5/24/2006 Mississippi                     Telephone call with       0:08:00
                                                                      PS re status of
                                                                      review and indexing
                                                                      of documents re
                                                                      Named Plaintiff
                                                                      Jamison.
Tara Crean                  5/24/2006 Mississippi                     Check local rule re       0:10:00
                                                                      due dates for
                                                                      motions in limine.
Tara Crean                  5/24/2006 Mississippi                     Sort documents to         5:11:00
                                                                      go to Wilmer for
                                                                      review

Total: 5/24/2006
                                                                                      5.48


Tara Crean                  5/25/2006 Mississippi                     Electronic mail re        0:12:00
                                                                      telephone call with
                                                                      confidential source
                                                                      (foster/adoptive
                                                                      parent in Forrest
                                                                      County) re
                                                                      retaliation,
                                                                      Children's Taks
                                                                      Force, etc.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 167 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   447



User                      Date        Client                          Description            Time Spent


Tara Crean                  5/25/2006 Mississippi                     Telephone call with       0:42:00
                                                                      confidential source
                                                                      (foster/adoptive
                                                                      parent in Forrest
                                                                      County).
Tara Crean                  5/25/2006 Mississippi                     Review documents          2:59:00
                                                                      re investigations
                                                                      and licensing.

Total: 5/25/2006
                                                                                      3.88


Tara Crean                  5/26/2006 Mississippi                     Review documents          5:50:00


Total: 5/26/2006
                                                                                      5.83


Tara Crean                  5/30/2006 Mississippi                     Read Defendants'          0:07:00
                                                                      Reply to Plaintiffs'
                                                                      Response in
                                                                      Opposition to
                                                                      Defendants' Motion
                                                                      to Include the
                                                                      Expert Testimony of
                                                                      B. Brister.
Tara Crean                  5/30/2006 Mississippi                     Conference call           0:17:00
                                                                      with ET, W.
                                                                      Drinkwater, M.
                                                                      McAnally re
                                                                      summary judgment
                                                                      reply, pretrial
                                                                      memorandum, and
                                                                      trial preparation.
Tara Crean                  5/30/2006 Mississippi                     Meeting with RA re        0:18:00
                                                                      assignment.
Tara Crean                  5/30/2006 Mississippi                     Meeting with VJ re        0:22:00
                                                                      assignment.
Tara Crean                  5/30/2006 Mississippi                     Draft reply brief         5:32:00
                                                                      regarding summary
                                                                      judgement
Tara Crean                  5/30/2006 Mississippi                     Review documents.         6:30:00


Total: 5/30/2006
                                                                                     13.10
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 168 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   448



User                      Date        Client                          Description            Time Spent


Tara Crean                  5/31/2006 Mississippi                     Conference call           0:32:00
                                                                      with V. Champion,
                                                                      M. Smith, and C.
                                                                      Weeden re
                                                                      indexing documents
                                                                      and Individual
                                                                      Service Plans.
Tara Crean                  5/31/2006 Mississippi                     Conference with VJ        0:40:00
                                                                      and RA re indexing
                                                                      documents.
Tara Crean                  5/31/2006 Mississippi                     Review documents.         5:50:00


Total: 5/31/2006
                                                                                      7.03


Tara Crean                   6/1/2006 Mississippi                     Telephone call with       0:08:00
                                                                      ET re assignments
                                                                      for paralegals.
Tara Crean                   6/1/2006 Mississippi                     Talk with CR re           0:15:00
                                                                      assignments.
Tara Crean                   6/1/2006 Mississippi                     Supervise VJ re           0:22:00
                                                                      documents re
                                                                      Foster Care
                                                                      Reviews.
Tara Crean                   6/1/2006 Mississippi                     Conference call           1:00:00
                                                                      with ET, SN, and
                                                                      PS re tasks for
                                                                      pretrial order.

Total: 6/1/2006
                                                                                      1.75


Tara Crean                   6/2/2006 Mississippi                     Electronic mail re        0:05:00
                                                                      telephone call with
                                                                      source re Jamison.
Tara Crean                   6/2/2006 Mississippi                     Telephone call with       0:10:00
                                                                      source re Jamison.
Tara Crean                   6/2/2006 Mississippi                     Telephone call with       0:22:00
                                                                      v. Champion re
                                                                      documents re Olivia.
Tara Crean                   6/2/2006 Mississippi                     Conference with VJ        0:40:00
                                                                      and RA re
                                                                      discovery indices.
Tara Crean                   6/2/2006 Mississippi                     Prepare documents         6:00:00
                                                                      for copying and
                                                                      review by interns
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 169 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   449



User                      Date        Client                          Description              Time Spent



Total: 6/2/2006
                                                                                        7.29


Tara Crean                   6/5/2006 Mississippi                     Read decision re            0:03:00
                                                                      motion to compel
                                                                      production of
                                                                      documents.
Tara Crean                   6/5/2006 Mississippi                     Work on Pretrial            6:00:00
                                                                      Order

Total: 6/5/2006
                                                                                        6.05


Tara Crean                   6/6/2006 Mississippi                     Telephone call with         0:05:00
                                                                      V. Champion re
                                                                      status of review of
                                                                      documents re Olivia
                                                                      Y.
Tara Crean                   6/6/2006 Mississippi                     Telephone call with         0:05:00
                                                                      M. Smith re status
                                                                      of review of
                                                                      documents re
                                                                      Named Plaintiff
                                                                      John A.
Tara Crean                   6/6/2006 Mississippi                     Telephone call with         0:05:00
                                                                      T. Burch re status
                                                                      of review of
                                                                      documents.
Tara Crean                   6/6/2006 Mississippi                     Telephone call with         0:12:00
                                                                      W. Harris re status
                                                                      of review of
                                                                      documents.
Tara Crean                   6/6/2006 Mississippi                     Read Defendants'            0:16:00
                                                                      Surrebuttal in
                                                                      Response to
                                                                      Plaintiffs' Reply in
                                                                      Further Support of
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment.
Tara Crean                   6/6/2006 Mississippi                     Read Defendants'            0:21:00
                                                                      Motion for Leave to
                                                                      File a Surrebuttal to
                                                                      Plaintiffs' Reply in
                                                                      Further Support of
                                                                      Plaintiffs' Motion for
                                                                      Summary
                                                                      Judgment.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 170 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   450



User                      Date        Client                          Description               Time Spent


Tara Crean                   6/6/2006 Mississippi                     Prepare Pretrial             4:56:00
                                                                      Order.

Total: 6/6/2006
                                                                                         5.99


Tara Crean                   6/7/2006 Mississippi                     Telephone call with          0:08:00
                                                                      R. Yocum re status
                                                                      of review of
                                                                      documents.
Tara Crean                   6/7/2006 Mississippi                     Reviewing                    5:08:00
                                                                      documents
                                                                      regarding most
                                                                      recent aggregate
                                                                      data

Total: 6/7/2006
                                                                                         5.26


Tara Crean                   6/8/2006 Mississippi                     Telephone call with          0:05:00
                                                                      C. Weeden re
                                                                      status of review of
                                                                      documents re Cody
                                                                      B.
Tara Crean                   6/8/2006 Mississippi                     Telephone call with          0:06:00
                                                                      T. Burch re status
                                                                      of review of
                                                                      documents.
Tara Crean                   6/8/2006 Mississippi                     Review documents.            6:42:00


Total: 6/8/2006
                                                                                         6.88


Tara Crean                   6/9/2006 Mississippi                     Telephone call with          0:02:00
                                                                      ETregarding
                                                                      inclusion of
                                                                      remedial facts in
                                                                      pretrial order
Tara Crean                   6/9/2006 Mississippi                     Telephone call with          0:48:00
                                                                      VJ regarding
                                                                      interpreting
                                                                      MACWIS
                                                                      documents
Tara Crean                   6/9/2006 Mississippi                     Draft Pretrial Order.        9:22:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 171 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   451



User                      Date        Client                          Description             Time Spent



Total: 6/9/2006
                                                                                      10.20


Tara Crean                  6/10/2006 Mississippi                     Draft Pretrial Order.      7:00:00


Total: 6/10/2006
                                                                                       7.00


Tara Crean                  6/11/2006 Mississippi                     Draft Pretrial Order.     11:00:00


Total: 6/11/2006
                                                                                      11.00


Tara Crean                  6/12/2006 Mississippi                     Talk with ET and VJ        0:04:00
                                                                      re MACWIS
                                                                      documents.
Tara Crean                  6/12/2006 Mississippi                     Electronic mail to T.      0:08:00
                                                                      Burch re index.
Tara Crean                  6/12/2006 Mississippi                     Telephone call with        0:10:00
                                                                      T. Burch re status
                                                                      of review of
                                                                      documents.
Tara Crean                  6/12/2006 Mississippi                     Telephone call with        0:10:00
                                                                      T. Jacob re status
                                                                      of review of
                                                                      documents.
Tara Crean                  6/12/2006 Mississippi                     Telephone call with        0:15:00
                                                                      C. Weeden re
                                                                      review of
                                                                      documents re Cody.
Tara Crean                  6/12/2006 Mississippi                     Review indices.            0:15:00

Tara Crean                  6/12/2006 Mississippi                     Talk with ET re            0:15:00
                                                                      priorities for
                                                                      assignments.
Tara Crean                  6/12/2006 Mississippi                     Telephone call with        0:15:00
                                                                      M. Smith re review
                                                                      of documents re
                                                                      John.
Tara Crean                  6/12/2006 Mississippi                     Telephone call with        0:15:00
                                                                      V. Champion re
                                                                      review of
                                                                      documents re Olivia.
Tara Crean                  6/12/2006 Mississippi                     Electronic mail with       0:21:00
                                                                      ET re indices.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 172 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   452



User                      Date        Client                          Description             Time Spent


Tara Crean                  6/12/2006 Mississippi                     Talk with VJ re            0:40:00
                                                                      MACWIS
                                                                      documents.
Tara Crean                  6/12/2006 Mississippi                     Draft Pretrial Order.      5:30:00


Total: 6/12/2006
                                                                                       8.31


Tara Crean                  6/13/2006 Mississippi                     Conference call            0:33:00
                                                                      with ET, MRL, M.
                                                                      McAnally, S. Leech,
                                                                      PS, SN, and HB re
                                                                      Pretrial Order
                                                                      preparation, trial
                                                                      preparation, and
                                                                      response to motion
                                                                      for surrebuttal.
Tara Crean                  6/13/2006 Mississippi                     Conference with            1:03:00
                                                                      ET, JW, HB, RA,
                                                                      VJ, SN, CR, and
                                                                      PS.
Tara Crean                  6/13/2006 Mississippi                     Draft Pretrial Order.      7:40:00


Total: 6/13/2006
                                                                                       9.27


Tara Crean                  6/14/2006 Mississippi                     Telephone call with        0:15:00
                                                                      C. Crabtree re
                                                                      status.
Tara Crean                  6/14/2006 Mississippi                     Draft Pretrial Order.      6:55:00


Total: 6/14/2006
                                                                                       7.17


Tara Crean                  6/15/2006 Mississippi                     Telephone call with        0:02:00
                                                                      PS re Pretrial Order.
Tara Crean                  6/15/2006 Mississippi                     Telephone call with        0:06:00
                                                                      W. Harris re
                                                                      document review.
Tara Crean                  6/15/2006 Mississippi                     Telephone call with        0:10:00
                                                                      F. Hunter re
                                                                      document review.
Tara Crean                  6/15/2006 Mississippi                     Review MACWIS              0:10:00
                                                                      documents.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 173 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   453



User                      Date        Client                          Description              Time Spent


Tara Crean                  6/15/2006 Mississippi                     Draft Pretrial Order.       6:17:00


Total: 6/15/2006
                                                                                        6.75


Tara Crean                  6/16/2006 Mississippi                     Telephone call with         0:13:00
                                                                      ET re Pretrial Order.
Tara Crean                  6/16/2006 Mississippi                     Electronic mail re          0:13:00
                                                                      paralegals'
                                                                      assignments.
Tara Crean                  6/16/2006 Mississippi                     Talk with IL re             0:17:00
                                                                      Pretrial Order.
Tara Crean                  6/16/2006 Mississippi                     Telephone call with         0:32:00
                                                                      ET re Pretrial Order.
Tara Crean                  6/16/2006 Mississippi                     Draft Pretrial Order.       7:26:00


Total: 6/16/2006
                                                                                        8.68


Tara Crean                  6/17/2006 Mississippi                     Draft findings of fact      2:59:00

Tara Crean                  6/17/2006 Mississippi                     Edit findings of fact       3:28:00


Total: 6/17/2006
                                                                                        6.45


Tara Crean                  6/18/2006 Mississippi                     Draft findings of fact      9:41:00


Total: 6/18/2006
                                                                                        9.68


Tara Crean                  6/19/2006 Mississippi                     Conference with             0:53:00
                                                                      ET, PS, HB, JW,
                                                                      CR, and AW.
Tara Crean                  6/19/2006 Mississippi                     Conference with             3:45:00
                                                                      ET, J. Lang
                                                                      (partial), C.
                                                                      Carbone (partial),
                                                                      SL, MRL, PS, W.
                                                                      Drinkwater, and S.
                                                                      Leech re Pretrial
                                                                      Order finalization,
                                                                      Motions in Limine,
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 174 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   454



User                      Date        Client                          Description             Time Spent


                                                                      Pretrial Conference,
                                                                      trial brief, theory
                                                                      and presentation of
                                                                      the case, and
                                                                      press.
Tara Crean                  6/19/2006 Mississippi                     Draft PTO.                 4:35:00


Total: 6/19/2006
                                                                                       9.21


Tara Crean                  6/20/2006 Mississippi                     Review mail from           0:03:00
                                                                      R. Fortenberry re
                                                                      document
                                                                      production pursuant
                                                                      to order on motion
                                                                      to compel.
Tara Crean                  6/20/2006 Mississippi                     Electronic mail re         0:04:00
                                                                      case examples.
Tara Crean                  6/20/2006 Mississippi                     Electronic mail re         0:13:00
                                                                      exhibits.
Tara Crean                  6/20/2006 Mississippi                     Meeting with ET re         0:27:00
                                                                      exhibits.
Tara Crean                  6/20/2006 Mississippi                     Talk with ET re trial      0:51:00
                                                                      staffing.
Tara Crean                  6/20/2006 Mississippi                     Meeting with ET re         1:10:00
                                                                      exhibits.
Tara Crean                  6/20/2006 Mississippi                     Review MACWIS              1:44:00
                                                                      documents.
Tara Crean                  6/20/2006 Mississippi                     Draft Pretrial Order.      7:21:00


Total: 6/20/2006
                                                                                      11.89


Tara Crean                  6/21/2006 Mississippi                     Electronic mail with       0:02:00
                                                                      HB re CWLA
                                                                      standards.
Tara Crean                  6/21/2006 Mississippi                     Read Defendants'           0:04:00
                                                                      Reply to Plaintiffs'
                                                                      Opposition to
                                                                      Defendants' Motion
                                                                      to File Surrebuttal.
Tara Crean                  6/21/2006 Mississippi                     Meeting with ET re         1:11:00
                                                                      revising Pretrial
                                                                      Order.
Tara Crean                  6/21/2006 Mississippi                     Revise and                10:20:00
                                                                      cite-check Pretrial
                                                                      Order.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 175 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   455



User                      Date        Client                          Description              Time Spent



Total: 6/21/2006
                                                                                       11.61


Tara Crean                  6/22/2006 Mississippi                     Analyzing                   2:06:00
                                                                      documents as
                                                                      potential exhibits to
                                                                      Pretrial Order.
Tara Crean                  6/22/2006 Mississippi                     Analyzing                   3:15:00
                                                                      documents re
                                                                      investigations for
                                                                      use as possible
                                                                      exhibits for Pretrial
                                                                      Order.

Total: 6/22/2006
                                                                                        5.35


Tara Crean                  6/23/2006 Mississippi                     Analyzing                   5:30:00
                                                                      documents re
                                                                      investigations for
                                                                      use as possible
                                                                      exhibits for Pretrial
                                                                      Order.

Total: 6/23/2006
                                                                                        5.50


Tara Crean                  6/27/2006 Mississippi                     Conference call             0:45:00
                                                                      with ET, MRL, S.
                                                                      Leech, and SN re
                                                                      Pretrial Order and
                                                                      trial preparation.

Total: 6/27/2006
                                                                                        0.75


Tara Crean                  6/28/2006 Mississippi                     Electronic mail to C.       0:02:00
                                                                      Carbone and J.
                                                                      Piskora re legal
                                                                      research re Daubert.
Tara Crean                  6/28/2006 Mississippi                     Electronic mail re          0:04:00
                                                                      witness pay.
Tara Crean                  6/28/2006 Mississippi                     Conference with             1:00:00
                                                                      SN, PS, HB, JW,
                                                                      TK, AW, ET, CR,
                                                                      and VJ re
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 176 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   456



User                      Date        Client                          Description             Time Spent


                                                                      document review,
                                                                      witnesses, exhibits,
                                                                      demonstrative
                                                                      aides, and Pretrial
                                                                      Order facts.
Tara Crean                  6/28/2006 Mississippi                     Conference with            1:39:00
                                                                      ET, SN, and PS re
                                                                      P. Hess, Jamison,
                                                                      C. Crabtree, B.
                                                                      Brister, depositions,
                                                                      legal research re
                                                                      Daubert, witnesses.

Total: 6/28/2006
                                                                                       2.75


Tara Crean                  6/29/2006 Mississippi                     Review documents           4:42:00
                                                                      re investigations for
                                                                      possible use as
                                                                      exhibits in Pretrial
                                                                      Order.

Total: 6/29/2006
                                                                                       4.70


Tara Crean                  6/30/2006 Mississippi                     Review documents           7:11:00
                                                                      regarding abuse in
                                                                      care investigations

Total: 6/30/2006
                                                                                       7.18


Tara Crean                   7/3/2006 Mississippi                     Review documents           7:00:00
                                                                      re abuse in care for
                                                                      possible use as
                                                                      exhibits to Pretrial
                                                                      Order.

Total: 7/3/2006
                                                                                       7.00


Tara Crean                   7/5/2006 Mississippi                     Write memo to ET           1:33:00
                                                                      re abuse in care
                                                                      documents to be
                                                                      used as exhibits to
                                                                      Pretrial Order.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 177 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   457



User                      Date        Client                          Description             Time Spent


Tara Crean                   7/5/2006 Mississippi                     Review documents           7:44:00
                                                                      re abuse in care for
                                                                      possible use as
                                                                      exhibits to Pretrial
                                                                      Order.

Total: 7/5/2006
                                                                                      9.28


Tara Crean                   7/6/2006 Mississippi                     Electronic mail to         0:02:00
                                                                      SB re briefs re
                                                                      Daubert.
Tara Crean                   7/6/2006 Mississippi                     Telephone call with        0:02:00
                                                                      JW re briefs re
                                                                      Daubert for SB.
Tara Crean                   7/6/2006 Mississippi                     Meeting with Sb re         0:09:00
                                                                      assignment re
                                                                      Daubert legal
                                                                      research and script
                                                                      for trial.
Tara Crean                   7/6/2006 Mississippi                     Write memo to ET           5:26:00
                                                                      re documents to be
                                                                      used as exhibits re
                                                                      abuse in care.

Total: 7/6/2006
                                                                                      5.64


Tara Crean                   7/7/2006 Mississippi                     Meeting with SB re         0:03:00
                                                                      research re Daubert.
Tara Crean                   7/7/2006 Mississippi                     Telephone call with        0:15:00
                                                                      ET re tasks for
                                                                      paralegals.
Tara Crean                   7/7/2006 Mississippi                     Conference with            0:31:00
                                                                      JW, TK, HB, AW,
                                                                      and CR re tasks.
Tara Crean                   7/7/2006 Mississippi                     Telephone call with        0:56:00
                                                                      ET re status of
                                                                      review of indices to
                                                                      cull new exhibits for
                                                                      Pretrial Order,
                                                                      script for direct
                                                                      examination of C.
                                                                      Crabtree, visual
                                                                      aide for C.
                                                                      Crabtree,
                                                                      supervision of SB
                                                                      re assignment re
                                                                      script re Daubert,
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 178 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   458



User                      Date        Client                          Description             Time Spent


                                                                      agenda for weekly
                                                                      conference call with
                                                                      team, proposed
                                                                      motion re
                                                                      supplemental
                                                                      witnesses, and
                                                                      scheduling
                                                                      conference call with
                                                                      C. Crabtree.
Tara Crean                   7/7/2006 Mississippi                     Write memo to ET           6:04:00
                                                                      re additional
                                                                      possible exhibits to
                                                                      Pretrial Order re
                                                                      abuse in care.

Total: 7/7/2006
                                                                                       7.82


Tara Crean                   7/9/2006 Mississippi                     Search for hot             0:15:00
                                                                      documents
                                                                      mentioning H.
                                                                      Goodman

Total: 7/9/2006
                                                                                       0.25


Tara Crean                  7/11/2006 Mississippi                     Electronic mail to         0:06:00
                                                                      ET re C. Crabtree's
                                                                      availability.
Tara Crean                  7/11/2006 Mississippi                     Talk with HB re            0:08:00
                                                                      assignment re
                                                                      Findings of Fact.
Tara Crean                  7/11/2006 Mississippi                     Talk with SN and           0:15:00
                                                                      PS re witness
                                                                      development.
Tara Crean                  7/11/2006 Mississippi                     Conference call            0:17:00
                                                                      with SN, J. Piskora,
                                                                      M. McAnally, and S.
                                                                      Leech re witness
                                                                      development,
                                                                      motion to
                                                                      supplement witness
                                                                      list, ethical
                                                                      restrictions on
                                                                      speaking for former
                                                                      employees, and
                                                                      demonstrative
                                                                      aides.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 179 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   459



User                      Date        Client                          Description             Time Spent


Tara Crean                  7/11/2006 Mississippi                     Electronic mail with       0:48:00
                                                                      SN and M.
                                                                      McAnally re exhibit
                                                                      to motion.
Tara Crean                  7/11/2006 Mississippi                     Prepare                    5:39:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/11/2006
                                                                                       7.21


Tara Crean                  7/12/2006 Mississippi                     Electronic mail to J.      0:04:00
                                                                      Piskora re visual
                                                                      aide for C. Crabtree.
Tara Crean                  7/12/2006 Mississippi                     Electronic mail to J.      0:06:00
                                                                      Piskora re visual
                                                                      aide for
                                                                      examination of C.
                                                                      Crabtree.
Tara Crean                  7/12/2006 Mississippi                     Prepare                    6:14:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/12/2006
                                                                                       6.40


Tara Crean                  7/13/2006 Mississippi                     Electronic mail to         0:04:00
                                                                      DG re management
                                                                      report and Daubert.
Tara Crean                  7/13/2006 Mississippi                     Electronic mail with       0:06:00
                                                                      SN re Daubert
                                                                      script.
Tara Crean                  7/13/2006 Mississippi                     Review press               0:06:00
                                                                      release re CWLA
                                                                      report re declining
                                                                      eligibility rates for
                                                                      Title IV-E funding;
                                                                      Electronic mail with
                                                                      SN re relevance to
                                                                      Brister's
                                                                      conclusions.
Tara Crean                  7/13/2006 Mississippi                     Revise Agreed              0:06:00
                                                                      Order Removing
                                                                      from Court's Docket
                                                                      and Placing Under
                                                                      Seal; meet with SN
                                                                      re same; telephone
                                                                      call with M.
                                                                      McAnally re same.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 180 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   460



User                      Date        Client                          Description             Time Spent


Tara Crean                  7/13/2006 Mississippi                     Supervise SB re            0:16:00
                                                                      assignment re
                                                                      Daubert.
Tara Crean                  7/13/2006 Mississippi                     Prepare                    1:27:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/13/2006
                                                                                       2.09


Tara Crean                  7/14/2006 Mississippi                     Prepare visuals for        6:30:00
                                                                      trial.

Total: 7/14/2006
                                                                                       6.50


Tara Crean                  7/15/2006 Mississippi                     Prepare                    7:15:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/15/2006
                                                                                       7.25


Tara Crean                  7/16/2006 Mississippi                     Prepare                    5:30:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/16/2006
                                                                                       5.50


Tara Crean                  7/17/2006 Mississippi                     Electronic mail with       0:08:00
                                                                      ET re direct
                                                                      examination of C.
                                                                      Crabtree.
Tara Crean                  7/17/2006 Mississippi                     Meeting with SB re         0:19:00
                                                                      assignment re
                                                                      Daubert research
                                                                      tailored to C.
                                                                      Crabtree.

Total: 7/17/2006
                                                                                       0.45
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 181 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   461



User                      Date        Client                          Description            Time Spent


Tara Crean                  7/18/2006 Mississippi                     Conference with           0:30:00
                                                                      JW, HB, CR, TK,
                                                                      ET, SN, PS re
                                                                      tasks.
Tara Crean                  7/18/2006 Mississippi                     Conference with           0:30:00
                                                                      ET, SN, and PS re
                                                                      tasks.
Tara Crean                  7/18/2006 Mississippi                     Conference call           0:35:00
                                                                      with ET, MRL, SN,
                                                                      PS, M. McAnally, J.
                                                                      Piskora, and S.
                                                                      Leech re witness
                                                                      development.
Tara Crean                  7/18/2006 Mississippi                     Conference with J.        2:00:00
                                                                      Piskora, SN, K.
                                                                      Todd, K. Guche,
                                                                      and A. Mitelman re
                                                                      demonstrative
                                                                      aides.

Total: 7/18/2006
                                                                                      3.58


Tara Crean                  7/19/2006 Mississippi                     Meeting with ET re        1:00:00
                                                                      direct examination
                                                                      of C. Crabtree.

Total: 7/19/2006
                                                                                      1.00


Tara Crean                  7/20/2006 Mississippi                     Meeting with SB re        0:19:00
                                                                      assignment re
                                                                      research re
                                                                      business records
                                                                      exception to
                                                                      hearsay rule.
Tara Crean                  7/20/2006 Mississippi                     Meeting with TK re        0:20:00
                                                                      assignment re
                                                                      standards from
                                                                      CFSR for Findings
                                                                      of Fact.
Tara Crean                  7/20/2006 Mississippi                     Prepare                   6:00:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/20/2006
                                                                                      6.65
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 182 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   462



User                      Date        Client                          Description             Time Spent


Tara Crean                  7/21/2006 Mississippi                     Electronic mail to K.      0:05:00
                                                                      Todd re visuals.
Tara Crean                  7/21/2006 Mississippi                     Electronic mail to K.      0:14:00
                                                                      Todd re visuals.
Tara Crean                  7/21/2006 Mississippi                     Talk with SB re            0:19:00
                                                                      assignment re
                                                                      research re
                                                                      business records.
Tara Crean                  7/21/2006 Mississippi                     Prepare visuals.           1:59:00


Total: 7/21/2006
                                                                                       2.61


Tara Crean                  7/24/2006 Mississippi                     Electronic mail with       0:04:00
                                                                      K. Todd and K.
                                                                      Guche re
                                                                      demonstrative
                                                                      aides.
Tara Crean                  7/24/2006 Mississippi                     Write memo to ET           0:05:00
                                                                      re potential exhibits
                                                                      re abuse in care.
Tara Crean                  7/24/2006 Mississippi                     Electronic mail to         0:13:00
                                                                      SN and JW re
                                                                      document re John
                                                                      A.
Tara Crean                  7/24/2006 Mississippi                     Telephone call with        0:13:00
                                                                      V. Champion re
                                                                      document re John
                                                                      A.
Tara Crean                  7/24/2006 Mississippi                     Review documents.          0:30:00

Tara Crean                  7/24/2006 Mississippi                     Prepare                    5:30:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/24/2006
                                                                                       6.59


Tara Crean                  7/25/2006 Mississippi                     Review memo by             0:03:00
                                                                      SB re application of
                                                                      business records
                                                                      hearsay exception
                                                                      in 5th Cir.
Tara Crean                  7/25/2006 Mississippi                     substance of               0:12:00
                                                                      demonstrative
                                                                      aides; electronic
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 183 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   463



User                      Date        Client                          Description               Time Spent


                                                                      mail with K. Guche,
                                                                      K. Todd, and J.
                                                                      Piskora re same.
Tara Crean                  7/25/2006 Mississippi                     Conference call              0:31:00
                                                                      with MRL, ET, SN,
                                                                      PS, K. Guche, and
                                                                      K. Todd re
                                                                      demonstrative
                                                                      aides, current case
                                                                      developments, and
                                                                      letter to Defendants
                                                                      re expert cost
                                                                      reimbursement.
Tara Crean                  7/25/2006 Mississippi                     Prepare                      2:30:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/25/2006
                                                                                         3.27


Tara Crean                  7/26/2006 Mississippi                     Electronic mail with         0:05:00
                                                                      ET re scheduling.
Tara Crean                  7/26/2006 Mississippi                     Telephone call with          0:05:00
                                                                      C. Crabtree re
                                                                      scheduling.
Tara Crean                  7/26/2006 Mississippi                     Telephone call with          0:10:00
                                                                      C. Crabtree re
                                                                      scheduling.
Tara Crean                  7/26/2006 Mississippi                     Prepare                      2:37:00
                                                                      demonstratives for
                                                                      trial.

Total: 7/26/2006
                                                                                         2.95


Tara Crean                  7/28/2006 Mississippi                     Prepare visuals.             4:30:00


Total: 7/28/2006
                                                                                         4.50


Tara Crean                  7/30/2006 Mississippi                     Review documents             1:30:00
                                                                      for potential exhibits
                                                                      to pretrial order
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 184 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   464



User                      Date        Client                          Description              Time Spent



Total: 7/30/2006
                                                                                        1.50


Tara Crean                  7/31/2006 Mississippi                     Read Response in            0:05:00
                                                                      Opposition to
                                                                      Motion to File
                                                                      Supplemented
                                                                      Witness List.
Tara Crean                  7/31/2006 Mississippi                     adding to exhibit list      0:10:00
                                                                      for Pretrial Order.

Total: 7/31/2006
                                                                                        0.25


Tara Crean                   8/1/2006 Mississippi                     Conference with ET          0:05:00
                                                                      and SN re tasks
                                                                      and priorities, legal
                                                                      research
                                                                      assignment for
                                                                      intern, assignment
                                                                      for TK.
Tara Crean                   8/1/2006 Mississippi                     Talk with ET re             0:15:00
                                                                      memo re potential
                                                                      exhibits from
                                                                      investigations
                                                                      documents.
Tara Crean                   8/1/2006 Mississippi                     Talk with TK re             0:15:00
                                                                      assignment re
                                                                      memo re potential
                                                                      exhibits from
                                                                      investigations
                                                                      documents.
Tara Crean                   8/1/2006 Mississippi                     Talk with SB re             0:19:00
                                                                      assignment re
                                                                      research re 5th
                                                                      Circuit standard for
                                                                      temporary
                                                                      restraining order.
Tara Crean                   8/1/2006 Mississippi                     Conference with ET          0:40:00
                                                                      re direct
                                                                      examination of
                                                                      experts and review
                                                                      of documents for
                                                                      use as exhibits to
                                                                      Pretrial Order.
Tara Crean                   8/1/2006 Mississippi                     Conference call             0:42:00
                                                                      with ET, SL, SN,
                                                                      PS, M. McAnally, S.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 185 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   465



User                      Date        Client                          Description              Time Spent


                                                                      Leech, and K.
                                                                      Guche re
                                                                      witnesses, current
                                                                      case developments,
                                                                      Defendants'
                                                                      response to our
                                                                      motion for
                                                                      additional
                                                                      witnesses.
Tara Crean                   8/1/2006 Mississippi                     Revise script for           3:48:00
                                                                      direct examination
                                                                      of C. Crabtree.

Total: 8/1/2006
                                                                                        6.07


Tara Crean                   8/2/2006 Mississippi                     Talk with TK re             0:05:00
                                                                      assignment re
                                                                      cross-referencing
                                                                      foster homes with
                                                                      noteworthy abuse
                                                                      investigations
                                                                      against list of active
                                                                      foster homes.
Tara Crean                   8/2/2006 Mississippi                     Draft script for           11:21:00
                                                                      direct examination
                                                                      of C. Crabtree.

Total: 8/2/2006
                                                                                       11.43


Tara Crean                   8/3/2006 Mississippi                     Telephone call with         0:02:00
                                                                      SN re reply brief for
                                                                      motion to
                                                                      supplement witness
                                                                      list
Tara Crean                   8/3/2006 Mississippi                     Electronic mail to          0:02:00
                                                                      ET re reply brief for
                                                                      motion to
                                                                      supplement witness
                                                                      list
Tara Crean                   8/3/2006 Mississippi                     Electronic mail to          0:04:00
                                                                      ET and SN re
                                                                      confirmation from
                                                                      witness of lack of
                                                                      email in local
                                                                      offices.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 186 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   466



User                      Date        Client                          Description             Time Spent


Tara Crean                   8/3/2006 Mississippi                     Electronic mail to         0:08:00
                                                                      ET re telephone call
                                                                      with C. Crabtree.
Tara Crean                   8/3/2006 Mississippi                     Electronic mail with       0:12:00
                                                                      ET re case
                                                                      management.
Tara Crean                   8/3/2006 Mississippi                     Telephone call with        0:30:00
                                                                      with C. Crabtree.
Tara Crean                   8/3/2006 Mississippi                     Prepare                    1:05:00
                                                                      demonstrative
                                                                      aides for direct
                                                                      examination of C.
                                                                      Crabtree.
Tara Crean                   8/3/2006 Mississippi                     Draft script for           7:36:00
                                                                      direct examination
                                                                      of C. Crabtree.

Total: 8/3/2006
                                                                                       9.64


Tara Crean                   8/4/2006 Mississippi                     Read memo by SB            0:03:00
                                                                      re Rule 65
                                                                      governing
                                                                      temporary
                                                                      restraining orders in
                                                                      the 5th Circuit.
Tara Crean                   8/4/2006 Mississippi                     Telephone call with        0:14:00
                                                                      ET re preparation of
                                                                      C. Crabtree, priority
                                                                      of assignments,
                                                                      distribution of tasks
                                                                      among paralegals,
                                                                      and case
                                                                      developments.
Tara Crean                   8/4/2006 Mississippi                     Talk with TK re            0:20:00
                                                                      tasks and new
                                                                      assignment re
                                                                      analyzing revisions
                                                                      to revised PIP
                                                                      matrix.
Tara Crean                   8/4/2006 Mississippi                     Prepare                    0:23:00
                                                                      demonstrative
                                                                      aides to be used in
                                                                      direct examination
                                                                      of C. Crabtree.
Tara Crean                   8/4/2006 Mississippi                     Conference call            1:45:00
                                                                      with C. Crabtree
                                                                      and ET re
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 187 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   467



User                      Date        Client                          Description             Time Spent


                                                                      preparation for
                                                                      direct examination
                                                                      at trial.
Tara Crean                   8/4/2006 Mississippi                     Write memo to ET           2:00:00
                                                                      re potential exhibits
                                                                      re abuse in care
                                                                      investigations.

Total: 8/4/2006
                                                                                       4.74


Tara Crean                   8/8/2006 Mississippi                     Electronic mail to         0:04:00
                                                                      SN and PS re
                                                                      Jamison trip.
Tara Crean                   8/8/2006 Mississippi                     Conference with ET         0:33:00
                                                                      and SN re letter to
                                                                      J. Hood and talking
                                                                      points.
Tara Crean                   8/8/2006 Mississippi                     Conference call            0:45:00
                                                                      with MRL (partial),
                                                                      ET, SN, PS, J.
                                                                      Piskora, K. Guche,
                                                                      M. McAnally, and S.
                                                                      Leech re witnesses,
                                                                      draft letter to J.
                                                                      Hood, draft letter to
                                                                      R. Fortenberry re
                                                                      Jamison's trip, and
                                                                      other current case
                                                                      developments.

Total: 8/8/2006
                                                                                       1.37


Tara Crean                   8/9/2006 Mississippi                     Telephone calls            0:02:00
                                                                      with SN re fact
                                                                      sheet for settlement
                                                                      negotiations.
Tara Crean                   8/9/2006 Mississippi                     Revise fact sheet          8:39:00
                                                                      for settlement
                                                                      negotiations.

Total: 8/9/2006
                                                                                       8.68


Tara Crean                  8/11/2006 Mississippi                     Telephone calls            0:10:00
                                                                      with C. Crabtree.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 188 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   468



User                      Date        Client                          Description              Time Spent


Tara Crean                  8/11/2006 Mississippi                     Electronic mail with        0:12:00
                                                                      ET re point of
                                                                      clarification re
                                                                      priorities.
Tara Crean                  8/11/2006 Mississippi                     Review indices for          7:00:00
                                                                      documents to be
                                                                      included as exhibits
                                                                      in supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/11/2006
                                                                                        7.37


Tara Crean                  8/14/2006 Mississippi                     Electronic mail re          0:19:00
                                                                      APHSA.
Tara Crean                  8/14/2006 Mississippi                     Review documents            2:01:00
                                                                      for potential exhibits
                                                                      to supplemental
                                                                      pretrial order.
Tara Crean                  8/14/2006 Mississippi                     Review indices for          3:00:00
                                                                      potential exhibits to
                                                                      supplemental
                                                                      pretrial order.

Total: 8/14/2006
                                                                                        5.34


Tara Crean                  8/15/2006 Mississippi                     Telephone call with         0:03:00
                                                                      ET and TK re
                                                                      deadline for
                                                                      assignment re PIP.
Tara Crean                  8/15/2006 Mississippi                     Review discovery            0:07:00
                                                                      index re St.
                                                                      Michael's Academy.
Tara Crean                  8/15/2006 Mississippi                     Electronic mail to          0:07:00
                                                                      MRL et al. re
                                                                      licensing and abuse
                                                                      in care documents
                                                                      re St. Michael's
                                                                      Academy.
Tara Crean                  8/15/2006 Mississippi                     Electronic mail to          0:08:00
                                                                      ET re case
                                                                      management.
Tara Crean                  8/15/2006 Mississippi                     Review discovery            0:17:00
                                                                      documents re St.
                                                                      Michael's Campus.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 189 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   469



User                      Date        Client                          Description             Time Spent


Tara Crean                  8/15/2006 Mississippi                     Conference call            0:18:00
                                                                      with ET, J. Piskora,
                                                                      S. Leech (partial),
                                                                      and PS re trial
                                                                      preparation,
                                                                      exhibits,
                                                                      demonstrative
                                                                      aides, current case
                                                                      developments, and
                                                                      fees and costs to
                                                                      date.
Tara Crean                  8/15/2006 Mississippi                     Review indices and         4:00:00
                                                                      underlying
                                                                      documents for
                                                                      exhibits to
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/15/2006
                                                                                       5.00


Tara Crean                  8/16/2006 Mississippi                     Review indices and         7:23:00
                                                                      underlying
                                                                      documents for
                                                                      potential exhibits to
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/16/2006
                                                                                       7.38


Tara Crean                  8/17/2006 Mississippi                     Review indices and         4:43:00
                                                                      underlying
                                                                      documents for
                                                                      potential exhibits to
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/17/2006
                                                                                       4.72


Tara Crean                  8/21/2006 Mississippi                     Electronic mail with       0:14:00
                                                                      HB, SN, and ET re
                                                                      facts from
                                                                      personnel
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 190 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   470



User                      Date        Client                          Description             Time Spent


                                                                      documents to be
                                                                      included in
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.
Tara Crean                  8/21/2006 Mississippi                     Write memo to ET           0:46:00
                                                                      re historical data
                                                                      and admissions to
                                                                      be included in
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.
Tara Crean                  8/21/2006 Mississippi                     Write memo to ET           1:00:00
                                                                      re documents re
                                                                      admissions of link
                                                                      between systemic
                                                                      deficiencies and
                                                                      anecdotal evidence
                                                                      of risk to children,
                                                                      to use as potential
                                                                      exhibits to pretrial
                                                                      order.
Tara Crean                  8/21/2006 Mississippi                     Review discovery           4:10:00
                                                                      documents for
                                                                      potential exhibits to
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/21/2006
                                                                                       6.17


Tara Crean                  8/22/2006 Mississippi                     Analyzing historical       0:16:00
                                                                      data.
Tara Crean                  8/22/2006 Mississippi                     Talk with TK re            0:20:00
                                                                      assignment re
                                                                      pretrial order facts.
Tara Crean                  8/22/2006 Mississippi                     Telephone call with        0:37:00
                                                                      ET, SN, and PS re
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order and
                                                                      Jamison's trip.
Tara Crean                  8/22/2006 Mississippi                     Write memo to ET           1:25:00
                                                                      re historical data
                                                                      and admissions.
Tara Crean                  8/22/2006 Mississippi                     Review discovery          10:03:00
                                                                      documents for
                                                                      pretrial exhibits.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 191 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   471



User                      Date        Client                          Description             Time Spent



Total: 8/22/2006
                                                                                     12.69


Tara Crean                  8/23/2006 Mississippi                     Analyzing historical       9:57:00
                                                                      data for possible
                                                                      additions to facts
                                                                      section of and
                                                                      exhibits to
                                                                      supplemental
                                                                      pretrial pretrial
                                                                      order.

Total: 8/23/2006
                                                                                       9.95


Tara Crean                  8/24/2006 Mississippi                     Analyzing historical       0:30:00
                                                                      data for
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.
Tara Crean                  8/24/2006 Mississippi                     Write memo to ET           3:02:00
                                                                      re additional
                                                                      documents and
                                                                      facts to be included
                                                                      in supplemental
                                                                      proposed pretrial
                                                                      order.
Tara Crean                  8/24/2006 Mississippi                     Write memo to ET           4:00:00
                                                                      re historical data
                                                                      and admissions.

Total: 8/24/2006
                                                                                       7.53


Tara Crean                  8/28/2006 Mississippi                     Review indices for         5:00:00
                                                                      potential facts and
                                                                      exhibits for
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.

Total: 8/28/2006
                                                                                       5.00


Tara Crean                  8/29/2006 Mississippi                     Write memo to ET           0:10:00
                                                                      re case examples.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 192 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   472



User                      Date        Client                          Description              Time Spent


Tara Crean                  8/29/2006 Mississippi                     Write memo to ET            0:25:00
                                                                      re historical
                                                                      admissions.
Tara Crean                  8/29/2006 Mississippi                     Talk re decision            0:30:00
                                                                      with SN, SL, ET,
                                                                      JW, HB, and TK.
Tara Crean                  8/29/2006 Mississippi                     Draft Findings of           0:36:00
                                                                      Fact re historical
                                                                      admissions.
Tara Crean                  8/29/2006 Mississippi                     Review indices for          1:15:00
                                                                      potential facts or
                                                                      exhibits to add to
                                                                      proposed pretrial
                                                                      order.
Tara Crean                  8/29/2006 Mississippi                     Draft Findings of           3:00:00
                                                                      Fact re failed
                                                                      reform efforts.

Total: 8/29/2006
                                                                                        5.94


Tara Crean                  8/30/2006 Mississippi                     Supervise HB re             0:03:00
                                                                      cite-checking.
Tara Crean                  8/30/2006 Mississippi                     Conference call             0:05:00
                                                                      with W. Drinkwater,
                                                                      C. Carbone, and ET
                                                                      re decision and
                                                                      next steps to
                                                                      getting a trial date.
Tara Crean                  8/30/2006 Mississippi                     Supervise                   0:10:00
                                                                      paralegals re
                                                                      cite-checking facts
                                                                      section of proposed
                                                                      supplemental
                                                                      pretrial order.

Total: 8/30/2006
                                                                                        0.30


Tara Crean                  8/31/2006 Mississippi                     Conference call             0:30:00
                                                                      with ET, SN, and
                                                                      PS re outstanding
                                                                      tasks re PTO.
Tara Crean                  8/31/2006 Mississippi                     Review documents            2:58:00
                                                                      flagged from
                                                                      indices as
                                                                      potentially worth
                                                                      including in pretrial
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 193 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   473



User                      Date        Client                          Description             Time Spent


                                                                      order in facts
                                                                      section or as
                                                                      exhibits.
Tara Crean                  8/31/2006 Mississippi                     Analyzing trend            3:39:00
                                                                      data to select
                                                                      documents to be
                                                                      used as exhibits to
                                                                      the supplemental
                                                                      proposed pretrial
                                                                      order and to be
                                                                      incorporated into
                                                                      visuals.
Tara Crean                  8/31/2006 Mississippi                     Draft Findings of          8:30:00
                                                                      Fact/Pretrial Order.

Total: 8/31/2006
                                                                                     15.62


Tara Crean                   9/5/2006 Mississippi                     Electronic mail to         0:08:00
                                                                      ET re summary of
                                                                      data re listing of
                                                                      foster homes.
Tara Crean                   9/5/2006 Mississippi                     Telephone call with        0:18:00
                                                                      ET re memos re
                                                                      State-Level Citizens
                                                                      Review Board for
                                                                      inclusion as
                                                                      findings of fact in
                                                                      pretrial order,
                                                                      standards in Policy
                                                                      Bulletins for
                                                                      inclusion as
                                                                      findings of fact in
                                                                      pretrial order,
                                                                      admissions in
                                                                      Training Manual,
                                                                      and trend data for
                                                                      use as exhibits and
                                                                      visuals.
Tara Crean                   9/5/2006 Mississippi                     adding exhibits to         0:46:00
                                                                      pretrial order.
Tara Crean                   9/5/2006 Mississippi                     Draft Findings of          2:37:00
                                                                      Fact.

Total: 9/5/2006
                                                                                       3.82
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 194 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                 Page   474



User                      Date        Client                          Description              Time Spent


Tara Crean                   9/6/2006 Mississippi                     Conference call             0:20:00
                                                                      with MRL, ET, J.
                                                                      Piskora, and K.
                                                                      Todd re trial date,
                                                                      PTO, settlement,
                                                                      and fees to date.
Tara Crean                   9/6/2006 Mississippi                     Supervise TK re             0:40:00
                                                                      cite-checking.
Tara Crean                   9/6/2006 Mississippi                     adding exhibits to          0:45:00
                                                                      supplemental
                                                                      proposed pretrial
                                                                      order.
Tara Crean                   9/6/2006 Mississippi                     Retrieve selected           0:54:00
                                                                      documents from
                                                                      personnel files for
                                                                      findings of fact.
Tara Crean                   9/6/2006 Mississippi                     Draft Findings of           2:35:00
                                                                      Fact.
Tara Crean                   9/6/2006 Mississippi                     Review indices re           4:44:00
                                                                      personnel files.

Total: 9/6/2006
                                                                                        9.96


Tara Crean                   9/7/2006 Mississippi                     Supervise HB re             0:08:00
                                                                      cite-checking.
Tara Crean                   9/7/2006 Mississippi                     Draft facts for             0:17:00
                                                                      Pretrial Order.
Tara Crean                   9/7/2006 Mississippi                     Supervise TK re             1:00:00
                                                                      cite-checking.

Total: 9/7/2006
                                                                                        1.41


Tara Crean                   9/8/2006 Mississippi                     Conference call             0:12:00
                                                                      with ET, CR, TK,
                                                                      JW, and HB re
                                                                      cite-checking.
Tara Crean                   9/8/2006 Mississippi                     Supervise TK re             0:20:00
                                                                      cite-checking.

Total: 9/8/2006
                                                                                        0.53


Tara Crean                  9/11/2006 Mississippi                     reconstructing              0:12:00
                                                                      organizational chart
                                                                      to assist with
                                                                      pretrial order.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 195 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                    Page   475



User                      Date        Client                          Description                 Time Spent



Total: 9/11/2006
                                                                                           0.20


Tara Crean                  9/12/2006 Mississippi                     Conference call                0:15:00
                                                                      with ET and SN.
Tara Crean                  9/12/2006 Mississippi                     Conference call                0:45:00
                                                                      with MRL, ET, SN,
                                                                      PS, S. Leech, and
                                                                      J. Piskora re pretrial
                                                                      and trial dates,
                                                                      Jamison trip,
                                                                      potential settlement
                                                                      talks, and
                                                                      witnesses.

Total: 9/12/2006
                                                                                           1.00


Tara Crean                  9/13/2006 Mississippi                     Conference with                1:00:00
                                                                      ET, SN and SL
                                                                      (partial) re trial
                                                                      preparation.

Total: 9/13/2006
                                                                                           1.00


Tara Crean                  9/14/2006 Mississippi                     Talk with TK re                0:20:00
                                                                      interpreting AFSA
                                                                      Compliance Report
                                                                      -- accounting for
                                                                      children who are
                                                                      legally freed but do
                                                                      not have a TPR
                                                                      request in MACWIS.
Tara Crean                  9/14/2006 Mississippi                     Supervise TK re                0:20:00
                                                                      cite-checking.

Total: 9/14/2006
                                                                                           0.66


Tara Crean                  9/19/2006 Mississippi                     Supervise CR re                0:03:00
                                                                      exhibits.
Tara Crean                  9/19/2006 Mississippi                     Supervise HB re                0:08:00
                                                                      exhibits.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 196 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   476



User                      Date        Client                          Description            Time Spent


Tara Crean                  9/19/2006 Mississippi                     Conference call           0:20:00
                                                                      with MRL, ET, S.
                                                                      Leech, M.
                                                                      McAnally, and K.
                                                                      Todd re pretrial /
                                                                      trial date, budget
                                                                      hearings, Proposed
                                                                      PTO,
                                                                      witnesses,and J.
                                                                      Hood.

Total: 9/19/2006
                                                                                      0.51


Tara Crean                  9/21/2006 Mississippi                     Electronic mail with      0:03:00
                                                                      SN and ET re listing
                                                                      witnesses to get
                                                                      business records
                                                                      admitted.
Tara Crean                  9/21/2006 Mississippi                     Electronic mail with      0:05:00
                                                                      SN and PS re
                                                                      Jamison trip.
Tara Crean                  9/21/2006 Mississippi                     Talk with SN re           0:12:00
                                                                      motions in limine.

Total: 9/21/2006
                                                                                      0.33


Tara Crean                  9/25/2006 Mississippi                     Telephone call with       0:03:00
                                                                      C. Crabtree re
                                                                      scheduling.

Total: 9/25/2006
                                                                                      0.05


Tara Crean                  9/26/2006 Mississippi                     Supervise HB re           0:08:00
                                                                      visuals.
Tara Crean                  9/26/2006 Mississippi                     Conference call           0:10:00
                                                                      with ET and SN re
                                                                      contact with
                                                                      confidential source
                                                                      (former DHS
                                                                      employee) and
                                                                      Pretrial Order.
Tara Crean                  9/26/2006 Mississippi                     Prepare visuals.          0:12:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 197 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                  Page   477



User                      Date        Client                          Description               Time Spent


Tara Crean                  9/26/2006 Mississippi                     Conference call              0:38:00
                                                                      with ET, SN, J.
                                                                      Piskora, K. Todd,
                                                                      M. McAnally re
                                                                      Pretrial Order,
                                                                      Pretrial Conference,
                                                                      possible meeting
                                                                      with J. Hood re
                                                                      settlement, and
                                                                      MDHS budget
                                                                      hearing.

Total: 9/26/2006
                                                                                         1.13


Tara Crean                  9/27/2006 Mississippi                     Electronic mail re           0:15:00
                                                                      deposition
                                                                      summaries.

Total: 9/27/2006
                                                                                         0.25


Tara Crean                  9/28/2006 Mississippi                     Conference call              1:36:00
                                                                      with C. Crabtree
                                                                      and ET re direct
                                                                      examination.

Total: 9/28/2006
                                                                                         1.60


Tara Crean                  9/29/2006 Mississippi                     Conference call re           0:45:00
                                                                      Pretrial Order and
                                                                      other preparation
                                                                      for Pretrial
                                                                      Conference.

Total: 9/29/2006
                                                                                         0.75


Tara Crean                  10/3/2006 Mississippi                     Analyzing witness            0:05:00
                                                                      list.
Tara Crean                  10/3/2006 Mississippi                     Electronic mail re           0:19:00
                                                                      intake.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 198 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   478



User                      Date        Client                          Description             Time Spent



Total: 10/3/2006
                                                                                       0.40


Tara Crean                  10/6/2006 Mississippi                     Analyzing Council          1:45:00
                                                                      on Accreditation
                                                                      standards for
                                                                      settlement
                                                                      purposes.

Total: 10/6/2006
                                                                                       1.75


Tara Crean                 10/10/2006 Mississippi                     Review mail from J.        0:05:00
                                                                      Hood.
Tara Crean                 10/10/2006 Mississippi                     Draft letter to J.         0:30:00
                                                                      Hood.
Tara Crean                 10/10/2006 Mississippi                     Conference call            0:45:00
                                                                      with ET, J. Piskora,
                                                                      MRL, M. McAnally,
                                                                      and S. Leech
                                                                      (partial) re Pretrial
                                                                      Order, Pretrial
                                                                      Conference, letter
                                                                      from J. Hood
                                                                      requesting
                                                                      mediation, and
                                                                      MDHS budget
                                                                      hearing documents.
Tara Crean                 10/10/2006 Mississippi                     Analyzing Council          4:15:00
                                                                      on Accreditation
                                                                      standards for
                                                                      settlement
                                                                      purposes.

Total: 10/10/2006
                                                                                       5.58


Tara Crean                 10/11/2006 Mississippi                     Review mail from           0:02:00
                                                                      C. Williams to D.
                                                                      Taylor re PIP.
Tara Crean                 10/11/2006 Mississippi                     Review mail from           0:02:00
                                                                      R. Fortenberry re
                                                                      evidentiary basis for
                                                                      proposed findings.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 199 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   479



User                      Date        Client                          Description             Time Spent



Total: 10/11/2006
                                                                                       0.06


Tara Crean                 10/12/2006 Mississippi                     Write memo to             11:01:00
                                                                      MRL re COA for
                                                                      settlement
                                                                      purposes.

Total: 10/12/2006
                                                                                     11.02


Tara Crean                 10/13/2006 Mississippi                     Finalizing memo to         1:10:00
                                                                      MRL re COA for
                                                                      settlement
                                                                      purposes.

Total: 10/13/2006
                                                                                       1.17


Tara Crean                 10/16/2006 Mississippi                     Electronic mail re         0:04:00
                                                                      settlement
                                                                      negotiations.

Total: 10/16/2006
                                                                                       0.07


Tara Crean                 10/17/2006 Mississippi                     Talk with J. Farber        0:04:00
                                                                      re CWLA;
                                                                      electronic mail to
                                                                      ET and MRL re
                                                                      same.
Tara Crean                 10/17/2006 Mississippi                     Talk with SN re            0:04:00
                                                                      telephone
                                                                      conference.
Tara Crean                 10/17/2006 Mississippi                     Electronic mail with       0:05:00
                                                                      ET re research re
                                                                      expert as fact
                                                                      witness.
Tara Crean                 10/17/2006 Mississippi                     Conference call            0:23:00
                                                                      with MRL, J.
                                                                      Piskora, ET, and M.
                                                                      McAnally re
                                                                      rescheduling
                                                                      Pretrial Conference,
                                                                      Pretrial Order, and
                                                                      proposed
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 200 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                               Page   480



User                      Date        Client                          Description            Time Spent


                                                                      settlement meeting
                                                                      with AG and
                                                                      mediators.

Total: 10/17/2006
                                                                                      0.60


Tara Crean                 10/18/2006 Mississippi                     Talk with HB re           0:10:00
                                                                      status of visual
                                                                      aides.
Tara Crean                 10/18/2006 Mississippi                     Meeting with IL re        1:10:00
                                                                      memos re class
                                                                      action procedural
                                                                      rules in South
                                                                      Carolina state court
                                                                      and preliminary
                                                                      Younger research.
Tara Crean                 10/18/2006 Mississippi                     Revise memo re            2:01:00
                                                                      preliminary
                                                                      research re
                                                                      Younger abstention.

Total: 10/18/2006
                                                                                      3.36


Tara Crean                 12/13/2006 Mississippi                     Electronic mail to        0:19:00
                                                                      HB re 30(b)(6)
                                                                      depositions.
Tara Crean                 12/13/2006 Mississippi                     Telephone call with       0:53:00
                                                                      ET and SN re
                                                                      management report.

Total: 12/13/2006
                                                                                      1.20


Tara Crean                 12/14/2006 Mississippi                     Electronic mail to        0:07:00
                                                                      HB and AW re
                                                                      sources for
                                                                      management report.

Total: 12/14/2006
                                                                                      0.12
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 201 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                Page   481



User                      Date      Client                           Description             Time Spent



Total: Tara Crean
                                                                                   1181.06
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08   Page 202 of 658
5/1/2008                                    Children's Rights, Inc.
12:53 PM                                   User Defined Slip Listing                              Page   482



User                            Date        Client                          Description           Time Spent


Attorney/Para: Veronica Joice
Veronica Joice                     6/1/2006 Mississippi                     Review discovery         1:35:00
                                                                            documents for ms
                                                                            case and index

Total: 6/1/2006
                                                                                           1.58


Veronica Joice                     6/5/2006 Mississippi                     Document                 3:45:00
                                                                            review/discovery
                                                                            index

Total: 6/5/2006
                                                                                           3.75


Veronica Joice                     6/6/2006 Mississippi                     Document                 3:30:00
                                                                            review/discovery
                                                                            index

Total: 6/6/2006
                                                                                           3.50


Veronica Joice                     6/7/2006 Mississippi                     Review discovery         1:00:00
                                                                            docs/index

Total: 6/7/2006
                                                                                           1.00


Veronica Joice                     6/8/2006 Mississippi                     Document                 2:10:00
                                                                            review/discovery

Total: 6/8/2006
                                                                                           2.17


Veronica Joice                     6/9/2006 Mississippi                     Document review,         3:15:00
                                                                            phone meeting with
                                                                            Telephone call
                                                                            about documents

Total: 6/9/2006
                                                                                           3.25


Veronica Joice                    6/12/2006 Mississippi                     Discovery                2:55:00
                                                                            index/document
                                                                            review for ms case
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 203 of 658
5/1/2008                              Children's Rights, Inc.
12:53 PM                             User Defined Slip Listing                                Page   483



User                      Date        Client                          Description             Time Spent



Total: 6/12/2006
                                                                                      2.92


Veronica Joice              6/13/2006 Mississippi                     MS team meeting            1:00:00
                                                                      with ET, TCrean,
                                                                      SN, HB, JW, CR,
                                                                      PS, RA (intern)
Veronica Joice              6/13/2006 Mississippi                     Document                   3:30:00
                                                                      review/discovery
                                                                      index

Total: 6/13/2006
                                                                                      4.50


Veronica Joice              6/19/2006 Mississippi                     MS discovery index         0:10:00
                                                                      follow up for TCrean
Veronica Joice              6/19/2006 Mississippi                     Trial preparation          4:00:00
                                                                      meeting at Loeb &
                                                                      Loeb with TCrean,
                                                                      ET, MRL, SL, PS,
                                                                      Randy (intern) and
                                                                      Sharon (intern)

Total: 6/19/2006
                                                                                      4.17


Veronica Joice              6/20/2006 Mississippi                     Document                   1:05:00
                                                                      review/discovery
                                                                      index

Total: 6/20/2006
                                                                                      1.08


Veronica Joice              6/28/2006 Mississippi                     Document review -          4:10:00
                                                                      Personnel Files

Total: 6/28/2006
                                                                                      4.17


Veronica Joice              6/29/2006 Mississippi                     Document review -          1:00:00
                                                                      personnel files index
Veronica Joice              6/29/2006 Mississippi                     Document review -          2:15:00
                                                                      personnel files index
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 204 of 658
5/1/2008                             Children's Rights, Inc.
12:53 PM                            User Defined Slip Listing                                Page   484



User                      Date      Client                           Description             Time Spent



Total: 6/29/2006
                                                                                      3.25



Total: Veronica Joice
                                                                                     35.34



Grand Total
                                                                                   7314.56
       Case 3:04-cv-00251-HSO-ASH           Document 472-5           Filed 05/09/08    Page 205 of 658
5/7/2008                                     Children's Rights, Inc.
10:11 AM                                    User Defined Slip Listing                                 Page    1




                                                Selection Criteria

Slip.Date           1/1/2007 - 11/30/2007
Case.Selection      Include: Mississippi


User                             Date        Client                           Description             Time Spent


Attorney/Para: Colin Reardon
Colin Reardon                      1/18/2007 Mississippi                      Review, cite-check         2:30:00
                                                                              and correct D's list
                                                                              of John A. facts

Total: 1/18/2007
                                                                                               2.50


Colin Reardon                      1/22/2007 Mississippi                      Review, cite-check,        1:30:00
                                                                              and revise D's
                                                                              proposed facts for
                                                                              John A

Total: 1/22/2007
                                                                                               1.50


Colin Reardon                      1/23/2007 Mississippi                      Review, cite-check,        9:30:00
                                                                              and revise D's
                                                                              proposed facts for
                                                                              John A (cont.)

Total: 1/23/2007
                                                                                               9.50


Colin Reardon                      1/27/2007 Mississippi                      Review, cite-check,        6:30:00
                                                                              and revise D's
                                                                              proposed facts for
                                                                              John A (cont.)

Total: 1/27/2007
                                                                                               6.50


Colin Reardon                      1/29/2007 Mississippi                      Review, cite-check,        5:00:00
                                                                              and edit Jamison
                                                                              FRE summary

Total: 1/29/2007
                                                                                               5.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 206 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page    2



User                      Date        Client                          Description            Time Spent


Colin Reardon               1/30/2007 Mississippi                     Review, cite-check,       8:00:00
                                                                      and edit Jamison
                                                                      FRE summary

Total: 1/30/2007
                                                                                      8.00


Colin Reardon               1/31/2007 Mississippi                     Review, cite-check,       8:00:00
                                                                      and edit Jamison
                                                                      FRE summary

Total: 1/31/2007
                                                                                      8.00


Colin Reardon                2/1/2007 Mississippi                     Review, proof, and       11:00:00
                                                                      cite-check Jamison
                                                                      FRE summary

Total: 2/1/2007
                                                                                    11.00


Colin Reardon                2/2/2007 Mississippi                     Review, proof, and        6:00:00
                                                                      cite-check Jamison
                                                                      FRE summary

Total: 2/2/2007
                                                                                      6.00


Colin Reardon                2/3/2007 Mississippi                     Review, cite-check,       7:30:00
                                                                      and edit Jamison
                                                                      FRE summary

Total: 2/3/2007
                                                                                      7.50


Colin Reardon                2/5/2007 Mississippi                     Telephone call with       0:25:00
                                                                      ET and paras re
                                                                      next steps in FRE
                                                                      summaries; discuss
                                                                      w/ paras
                                                                      beforehand (10 min)

Total: 2/5/2007
                                                                                      0.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 207 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page    3



User                      Date        Client                          Description             Time Spent


Colin Reardon                2/6/2007 Mississippi                     Review, format             2:00:00
                                                                      Jamison FRE draft
                                                                      summary for PS

Total: 2/6/2007
                                                                                       2.00


Colin Reardon                2/7/2007 Mississippi                     Review, proof, and         7:00:00
                                                                      format Jamison
                                                                      FRE summary

Total: 2/7/2007
                                                                                       7.00


Colin Reardon                2/8/2007 Mississippi                     Review, proof, and         6:40:21
                                                                      format Jamison
                                                                      FRE summary

Total: 2/8/2007
                                                                                       6.67


Colin Reardon                2/9/2007 Mississippi                     Review, proof,             7:00:00
                                                                      format, and finalize
                                                                      Jamison FRE
                                                                      summary

Total: 2/9/2007
                                                                                       7.00


Colin Reardon               2/12/2007 Mississippi                     Discuss                    0:10:00
                                                                      cite-checking and
                                                                      preparing brief w/
                                                                      YGH
Colin Reardon               2/12/2007 Mississippi                     Review, proof,            10:30:00
                                                                      check legal and
                                                                      record cites, and
                                                                      prepare exhibits for
                                                                      brief in opp to D's
                                                                      mot to add
                                                                      post-discovery
                                                                      evidence

Total: 2/12/2007
                                                                                     10.67
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 208 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page    4



User                      Date        Client                          Description             Time Spent


Colin Reardon               2/13/2007 Mississippi                     Review, proof,             6:30:00
                                                                      check legal and
                                                                      record cites, and
                                                                      prepare exhibits for
                                                                      brief in opp to D's
                                                                      mot to add
                                                                      post-discovery
                                                                      evidence

Total: 2/13/2007
                                                                                       6.50


Colin Reardon               2/14/2007 Mississippi                     Review D's may call        2:30:00
                                                                      witness list against
                                                                      D's initial
                                                                      disclosures to
                                                                      identify witnesses

Total: 2/14/2007
                                                                                       2.50


Colin Reardon               2/16/2007 Mississippi                     Review, propose            3:00:00
                                                                      edits to, cite-check,
                                                                      proof and prepare
                                                                      exhbits for motion
                                                                      in limine to exclude
                                                                      post-discovery
                                                                      evidence.

Total: 2/16/2007
                                                                                       3.00


Colin Reardon               2/20/2007 Mississippi                     Review, cite-check,       13:00:00
                                                                      edit and proof
                                                                      exhibit list to PTO
                                                                      for sending to D's

Total: 2/20/2007
                                                                                      13.00


Colin Reardon               2/21/2007 Mississippi                     Conference call w/         0:20:00
                                                                      ET, SN, JW, HB,
                                                                      TK re revising and
                                                                      cite-checking
                                                                      Pretrial Order to
                                                                      send to D's
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 209 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page    5



User                      Date        Client                          Description            Time Spent


Colin Reardon               2/21/2007 Mississippi                     Review, cite-check,       3:30:00
                                                                      edit and proof
                                                                      exhibit list and
                                                                      witness list to PTO
                                                                      for sending to D's
                                                                      (cont.)

Total: 2/21/2007
                                                                                      3.83


Colin Reardon               2/22/2007 Mississippi                     Update Pl's               0:30:00
                                                                      Witness list in PTO
                                                                      to include witness
                                                                      address information

Total: 2/22/2007
                                                                                      0.50


Colin Reardon                3/6/2007 Mississippi                     Meeting with ET,          0:30:00
                                                                      SN, JW, TK, and
                                                                      HB re responding to
                                                                      D's edits to FRE
                                                                      summaries

Total: 3/6/2007
                                                                                      0.50


Colin Reardon                3/9/2007 Mississippi                     Review scheduling         0:20:00
                                                                      order and discuss
                                                                      motions in limine
                                                                      deadline w/ YGK

Total: 3/9/2007
                                                                                      0.33


Colin Reardon               3/11/2007 Mississippi                     Prepare calendar of       1:00:00
                                                                      all court and
                                                                      internal deadlines
                                                                      leading up to trial;
                                                                      circulate
Colin Reardon               3/11/2007 Mississippi                     Review P's                1:30:00
                                                                      revisions to John A.
                                                                      FRE and verify that
                                                                      no facts were
                                                                      omitted or
                                                                      duplicated; discuss
                                                                      same w/ HB
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 210 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page    6



User                      Date        Client                          Description           Time Spent



Total: 3/11/2007
                                                                                     2.50


Colin Reardon               3/17/2007 Mississippi                     Draft FOF for W.         2:30:00
                                                                      children; review
                                                                      discovery
                                                                      productions and
                                                                      indices for same

Total: 3/17/2007
                                                                                     2.50


Colin Reardon               3/19/2007 Mississippi                     Draft FOF for W.         5:00:00
                                                                      children; review
                                                                      discovery
                                                                      productions and
                                                                      indices for same

Total: 3/19/2007
                                                                                     5.00


Colin Reardon               3/20/2007 Mississippi                     Prepare pdf of NP        0:10:00
                                                                      FRE Summary for
                                                                      PS; email same to
                                                                      her
Colin Reardon               3/20/2007 Mississippi                     Prepare pdf and          0:20:00
                                                                      compare-write of
                                                                      D's NP FRE
                                                                      Summary for PS;
                                                                      email same to her
Colin Reardon               3/20/2007 Mississippi                     Draft FOF for W.         4:14:05
                                                                      children; review
                                                                      discovery
                                                                      productions and
                                                                      indices for same
                                                                      (cont.)
Colin Reardon               3/20/2007 Mississippi                     Draft W. Kids FOF        7:00:00


Total: 3/20/2007
                                                                                    11.73


Colin Reardon               3/21/2007 Mississippi                     Draft W. Kids FOF        6:00:00
                                                                      (cont.)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 211 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page    7



User                      Date        Client                          Description             Time Spent



Total: 3/21/2007
                                                                                       6.00


Colin Reardon               3/27/2007 Mississippi                     Draft W. Kids FOF          2:30:00
                                                                      (cont.)

Total: 3/27/2007
                                                                                       2.50


Colin Reardon               3/28/2007 Mississippi                     Work on W. Kids            2:00:00
                                                                      case summary for
                                                                      use in negotiating
                                                                      service plan with
                                                                      Defs

Total: 3/28/2007
                                                                                       2.00


Colin Reardon                4/3/2007 Mississippi                     Discuss W. Kids w/         0:10:00
                                                                      ET

Total: 4/3/2007
                                                                                       0.17


Colin Reardon                4/6/2007 Mississippi                     Telephone call with        0:25:00
                                                                      ET re W. Kids
                                                                      findings of fact (15
                                                                      min). Revise same
                                                                      per his instructions.

Total: 4/6/2007
                                                                                       0.42


Colin Reardon               4/23/2007 Mississippi                     Email ET re W. Kids        0:10:00


Total: 4/23/2007
                                                                                       0.17


Colin Reardon               5/20/2007 Mississippi                     Review W. Kids             2:30:00
                                                                      documents
                                                                      produced by D's in
                                                                      May '07; draft notes
                                                                      on same; revise P's
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 212 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page    8



User                      Date        Client                          Description            Time Spent


                                                                      proposed service
                                                                      plan for W. kids'
                                                                      based on review

Total: 5/20/2007
                                                                                      2.50


Colin Reardon               5/22/2007 Mississippi                     Review draft letter       0:15:00
                                                                      to D's re services
                                                                      plans for NPs, with
                                                                      focus on W. Kids'
                                                                      plans

Total: 5/22/2007
                                                                                      0.25


Colin Reardon               5/29/2007 Mississippi                     Research Indep            0:45:00
                                                                      Living Services and
                                                                      Stipends in other
                                                                      CR case for
                                                                      comparison for SN
                                                                      & PS

Total: 5/29/2007
                                                                                      0.75



Total: Colin Reardon
                                                                                    165.91
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 213 of 658
5/7/2008                                   Children's Rights, Inc.
10:11 AM                                  User Defined Slip Listing                              Page    9



User                           Date        Client                          Description           Time Spent


Attorney/Para: Elissa Gelber
Elissa Gelber                    6/22/2007 Mississippi                     Depo preparation         1:25:00
                                                                           licensing

Total: 6/22/2007
                                                                                          1.42



Total: Elissa Gelber
                                                                                          1.42
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 214 of 658
5/7/2008                                   Children's Rights, Inc.
10:11 AM                                  User Defined Slip Listing                              Page   10



User                           Date        Client                          Description           Time Spent


Attorney/Para: Emily Wallace
Emily Wallace                    7/18/2007 Mississippi                     Meeting with PS          0:20:00
                                                                           regarding
                                                                           substantive due
                                                                           process for Miss.
                                                                           remedies
Emily Wallace                    7/18/2007 Mississippi                     Researching SDP          1:00:00
                                                                           for remedies phase
                                                                           in Miss.
Emily Wallace                    7/18/2007 Mississippi                     Updating case law        3:00:00
                                                                           for Miss. remedies

Total: 7/18/2007
                                                                                          4.33


Emily Wallace                    7/20/2007 Mississippi                     Researching case         0:40:00
                                                                           law on SDP for
                                                                           Miss. remedies
Emily Wallace                    7/20/2007 Mississippi                     Updating SDP             0:40:00
                                                                           cases for Miss.
                                                                           remedies
Emily Wallace                    7/20/2007 Mississippi                     Updating SDP             0:40:00
                                                                           cases for MIss.
                                                                           remedies

Total: 7/20/2007
                                                                                          2.01


Emily Wallace                    7/21/2007 Mississippi                     Researching SDP          2:00:00
                                                                           for remedies phase

Total: 7/21/2007
                                                                                          2.00


Emily Wallace                    7/23/2007 Mississippi                     Researching SDP          1:18:00
                                                                           for remedies phase

Total: 7/23/2007
                                                                                          1.30


Emily Wallace                    7/24/2007 Mississippi                     Research SDP for         2:30:00
                                                                           Miss. remedies
                                                                           phase
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 215 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   11



User                      Date        Client                          Description           Time Spent



Total: 7/24/2007
                                                                                     2.50


Emily Wallace               7/25/2007 Mississippi                     Research on SDP          2:15:00
                                                                      for remedies phase
Emily Wallace               7/25/2007 Mississippi                     Research/memo on         3:30:00
                                                                      SDP for Miss.
                                                                      remedies phase

Total: 7/25/2007
                                                                                     5.75


Emily Wallace               7/26/2007 Mississippi                     Researching age to       1:00:00
                                                                      contract for Miss.

Total: 7/26/2007
                                                                                     1.00


Emily Wallace               7/27/2007 Mississippi                     Writing draft memo       1:00:00
                                                                      on age to contract
Emily Wallace               7/27/2007 Mississippi                     Researching SDP          2:00:00
                                                                      for remedies phase

Total: 7/27/2007
                                                                                     3.00


Emily Wallace               7/31/2007 Mississippi                     Revising age to          0:45:00
                                                                      contract memo for
                                                                      Miss.

Total: 7/31/2007
                                                                                     0.75


Emily Wallace                8/1/2007 Mississippi                     Revising age to          0:25:00
                                                                      contract memo
Emily Wallace                8/1/2007 Mississippi                     Revising                 1:15:00
                                                                      substantive due
                                                                      process memo for
                                                                      remedies phase

Total: 8/1/2007
                                                                                     1.67
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 216 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   12



User                      Date        Client                          Description           Time Spent


Emily Wallace                8/2/2007 Mississippi                     Revising memo on         1:35:00
                                                                      substantive due
                                                                      process for
                                                                      remedies phase

Total: 8/2/2007
                                                                                     1.58



Total: Emily Wallace
                                                                                    25.89
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 217 of 658
5/7/2008                                   Children's Rights, Inc.
10:11 AM                                  User Defined Slip Listing                                Page   13



User                           Date        Client                          Description             Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                     1/2/2007 Mississippi                     Electronic mails to        0:07:00
                                                                           co-counsel
                                                                           regarding settlement
Eric Thompson                     1/2/2007 Mississippi                     Electronic mail HP         0:14:00
                                                                           regarding
                                                                           settlement proposal
Eric Thompson                     1/2/2007 Mississippi                     Telephone call with        0:17:00
                                                                           SN regarding
                                                                           settlement drafting
Eric Thompson                     1/2/2007 Mississippi                     Telephone call with        0:34:00
                                                                           MRL regarding
                                                                           settlement
Eric Thompson                     1/2/2007 Mississippi                     Telephone call with        0:39:00
                                                                           MRL, SN regarding
                                                                           settlement
Eric Thompson                     1/2/2007 Mississippi                     Review Ds'                 1:17:00
                                                                           settlement
                                                                           comments

Total: 1/2/2007
                                                                                           3.13


Eric Thompson                     1/3/2007 Mississippi                     Electronic mail            0:11:00
                                                                           co-counsel
                                                                           regarding
                                                                           settlement response
Eric Thompson                     1/3/2007 Mississippi                     Drafting settlement        9:56:00


Total: 1/3/2007
                                                                                          10.11


Eric Thompson                     1/4/2007 Mississippi                     Telephone call with        0:24:00
                                                                           JW regarding
                                                                           settlement redrafting
Eric Thompson                     1/4/2007 Mississippi                     Telephone call with        0:53:00
                                                                           SN, MM, StL, WD
                                                                           regarding
                                                                           settlement
                                                                           preparation
Eric Thompson                     1/4/2007 Mississippi                     Settlement revisions       3:50:00


Total: 1/4/2007
                                                                                           5.11
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 218 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   14



User                      Date        Client                          Description              Time Spent


Eric Thompson                1/5/2007 Mississippi                     Prepare for                 0:11:53
                                                                      settlement t/c
Eric Thompson                1/5/2007 Mississippi                     Revise draft                1:49:52
                                                                      settlement doc;
                                                                      email to HP re:
                                                                      same
Eric Thompson                1/5/2007 Mississippi                     Conference call             2:46:37
                                                                      with Ds re:
                                                                      settlement

Total: 1/5/2007
                                                                                        4.81


Eric Thompson                1/8/2007 Mississippi                     Electronic mail JW          0:05:00
                                                                      regarding witness
                                                                      research
Eric Thompson                1/8/2007 Mississippi                     Electronic mail NP          0:07:00
                                                                      regarding depo
Eric Thompson                1/8/2007 Mississippi                     Electronic mail             0:10:00
                                                                      regarding
                                                                      settlement
                                                                      telephone call
                                                                      scheduling
Eric Thompson                1/8/2007 Mississippi                     Review witness info         0:20:00

Eric Thompson                1/8/2007 Mississippi                     Research and email          0:23:00
                                                                      SR regarding depo
                                                                      travel
Eric Thompson                1/8/2007 Mississippi                     Prepare settlement          0:30:00
                                                                      telephone call
Eric Thompson                1/8/2007 Mississippi                     Draft letter to RF          0:42:00
                                                                      regarding
                                                                      witnesses; email
                                                                      co-counsel
                                                                      regarding same

Total: 1/8/2007
                                                                                        2.28


Eric Thompson                1/9/2007 Mississippi                     Electronic mail HP          0:26:47
                                                                      re: settlement
                                                                      negotiations
Eric Thompson                1/9/2007 Mississippi                     Conference call             1:30:00
                                                                      with Ds, MRL, SN,
                                                                      StL re: settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 219 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   15



User                      Date        Client                          Description             Time Spent



Total: 1/9/2007
                                                                                       1.95


Eric Thompson               1/10/2007 Mississippi                     Review memo                0:13:00
                                                                      regarding NF
                                                                      requirements
Eric Thompson               1/10/2007 Mississippi                     Finalize letter to RF      0:18:00
                                                                      regarding witnesses

Total: 1/10/2007
                                                                                       0.52


Eric Thompson               1/11/2007 Mississippi                     Telephone call with        0:07:00
                                                                      SN regarding
                                                                      settlement
Eric Thompson               1/11/2007 Mississippi                     Telephone call with        0:08:00
                                                                      MRL regarding
                                                                      settlement revisions
Eric Thompson               1/11/2007 Mississippi                     Prepare settlement         1:00:00
                                                                      telephone call
Eric Thompson               1/11/2007 Mississippi                     Settlement                 2:00:00
                                                                      telephone call with
                                                                      Ds
Eric Thompson               1/11/2007 Mississippi                     Revise settlement          3:40:00
                                                                      draft

Total: 1/11/2007
                                                                                       6.92


Eric Thompson               1/12/2007 Mississippi                     Telephone call with        0:38:00
                                                                      MRL, SN (for part)
                                                                      regarding
                                                                      settlement revisions
Eric Thompson               1/12/2007 Mississippi                     Revise settlement          4:39:00
                                                                      draft/add cites

Total: 1/12/2007
                                                                                       5.28


Eric Thompson               1/16/2007 Mississippi                     Telephone call with        0:20:00
                                                                      JW regarding PTO
Eric Thompson               1/16/2007 Mississippi                     Conference call            1:00:00
                                                                      with Ds, MRL, SN
                                                                      re: settlement
Eric Thompson               1/16/2007 Mississippi                     Draft revisions to         2:23:24
                                                                      settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 220 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   16



User                      Date        Client                          Description            Time Spent



Total: 1/16/2007
                                                                                      3.72


Eric Thompson               1/17/2007 Mississippi                     Telephone call with       0:05:00
                                                                      NP
Eric Thompson               1/17/2007 Mississippi                     Telephone call with       0:19:00
                                                                      PS regarding NP
                                                                      FRE 1006 doc
Eric Thompson               1/17/2007 Mississippi                     Review draft FRE          1:00:00
                                                                      1006 edits;
                                                                      telephone with SN
                                                                      regarding same
Eric Thompson               1/17/2007 Mississippi                     Draft settlement          2:10:00
                                                                      revisions; email HP
                                                                      regarding same

Total: 1/17/2007
                                                                                      3.57


Eric Thompson               1/18/2007 Mississippi                     Electronic mail MM        0:11:00
                                                                      regarding witness
                                                                      doc releases

Total: 1/18/2007
                                                                                      0.18


Eric Thompson               1/19/2007 Mississippi                     Telephone call with       0:07:00
                                                                      StL regarding
                                                                      deposition
Eric Thompson               1/19/2007 Mississippi                     Telephone call with       0:20:00
                                                                      MRL and
                                                                      co-counsel
                                                                      regarding
                                                                      settlement dates;
                                                                      email HP regarding
                                                                      same
Eric Thompson               1/19/2007 Mississippi                     Prepare fees info;        0:36:00
                                                                      email HP regarding
                                                                      same

Total: 1/19/2007
                                                                                      1.05


Eric Thompson               1/22/2007 Mississippi                     Review Ds motion          0:05:00
                                                                      to dismiss NPs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 221 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   17



User                      Date        Client                          Description             Time Spent


Eric Thompson               1/22/2007 Mississippi                     Review depo                0:09:00
                                                                      notice, subpeona
Eric Thompson               1/22/2007 Mississippi                     Telephone call with        0:11:00
                                                                      JW, CR, HB
                                                                      regarding FRE
                                                                      1006 document
                                                                      review
Eric Thompson               1/22/2007 Mississippi                     Review CAC info            0:20:00

Eric Thompson               1/22/2007 Mississippi                     Review medical             0:26:00
                                                                      releases; email
                                                                      witness regarding
                                                                      same
Eric Thompson               1/22/2007 Mississippi                     Review research            0:32:00
                                                                      memo regarding
                                                                      NP mootness
Eric Thompson               1/22/2007 Mississippi                     Draft opposition to        6:20:00
                                                                      motion to dismiss
                                                                      NPs related
                                                                      research

Total: 1/22/2007
                                                                                       8.03


Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:04:00
                                                                      MRL regarding
                                                                      letter to Hood
Eric Thompson               1/23/2007 Mississippi                     Electronic mail HP         0:06:00
                                                                      regarding telephone
                                                                      call
Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:09:00
                                                                      SN, JW regarding
                                                                      FRE 1006 docs
Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:10:00
                                                                      StL regarding depo
                                                                      coverage
Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:13:00
                                                                      SN regarding
                                                                      opposition to
                                                                      motion to dismiss
                                                                      NPs
Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:19:00
                                                                      PS regarding FRE
                                                                      1006 draft; emails
                                                                      regarding same
Eric Thompson               1/23/2007 Mississippi                     Telephone call with        0:38:00
                                                                      co-counsel
                                                                      regarding
                                                                      settlement,
                                                                      witnesses, depos,
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 222 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   18



User                      Date        Client                          Description            Time Spent


                                                                      PTC, motion to
                                                                      dismiss NPs, NF
                                                                      substitution
Eric Thompson               1/23/2007 Mississippi                     Prepare co-counsel        0:45:00
                                                                      telephone call
Eric Thompson               1/23/2007 Mississippi                     Electronic mail to        0:46:00
                                                                      RF regarding NP
                                                                      docs/FRE 1006
                                                                      issues
Eric Thompson               1/23/2007 Mississippi                     Draft letter to AG        0:54:00
                                                                      Hood from MRL
Eric Thompson               1/23/2007 Mississippi                     Revise motion to          1:17:00
                                                                      substitute NF; email
                                                                      RF regarding same
Eric Thompson               1/23/2007 Mississippi                     Revise opposition         1:48:00


Total: 1/23/2007
                                                                                      7.16


Eric Thompson               1/24/2007 Mississippi                     Telephone call with       0:06:00
                                                                      NF regarding NP
Eric Thompson               1/24/2007 Mississippi                     Write letter to RF        0:20:00
                                                                      regarding NF
Eric Thompson               1/24/2007 Mississippi                     Finalize motion to        0:22:00
                                                                      substitute NF
Eric Thompson               1/24/2007 Mississippi                     Research and              2:30:00
                                                                      revise opp to
                                                                      motion to dismiss
                                                                      NPs

Total: 1/24/2007
                                                                                      3.30


Eric Thompson               1/25/2007 Mississippi                     Electronic mail PA        0:05:00
                                                                      regarding FRE1006
                                                                      drafting
Eric Thompson               1/25/2007 Mississippi                     Telephone call with       0:06:00
                                                                      JW regarding FRE
                                                                      1006 drafting
Eric Thompson               1/25/2007 Mississippi                     Electronic mail MM        0:09:00
                                                                      regarding
                                                                      settlement
                                                                      telephone call
Eric Thompson               1/25/2007 Mississippi                     Telephone call with       0:17:00
                                                                      witness regarding
                                                                      depo
Eric Thompson               1/25/2007 Mississippi                     Review draft              1:11:00
                                                                      FRE1006
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 223 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   19



User                      Date        Client                          Description            Time Spent



Total: 1/25/2007
                                                                                      1.79


Eric Thompson               1/26/2007 Mississippi                     Finalize opposition       0:52:00
                                                                      to motion to dismiss
                                                                      NPs

Total: 1/26/2007
                                                                                      0.87


Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:05:00
                                                                      StL; left message
Eric Thompson               1/29/2007 Mississippi                     Electronic mail to        0:12:00
                                                                      co-counsel
                                                                      regarding
                                                                      witnessess, depos
Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:18:00
                                                                      witnesses
Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:22:00
                                                                      source regarding
                                                                      Jackson County
                                                                      DHS
Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:25:00
                                                                      clerk's office
                                                                      regarding ECF
                                                                      notification error
Eric Thompson               1/29/2007 Mississippi                     Electronic mail to        0:31:00
                                                                      StL, MM regarding
                                                                      witnessess, depos
Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:37:00
                                                                      JW regarding
                                                                      FRE1006
Eric Thompson               1/29/2007 Mississippi                     Telephone call with       0:46:00
                                                                      PS regarding
                                                                      FRE1006
Eric Thompson               1/29/2007 Mississippi                     Review draft              2:16:00
                                                                      FRE1006

Total: 1/29/2007
                                                                                      5.55


Eric Thompson               1/30/2007 Mississippi                     Telephone call with       0:10:00
                                                                      SN, JW regarding
                                                                      FRE1006
                                                                      summaries
Eric Thompson               1/30/2007 Mississippi                     Prepare depo              0:27:00
                                                                      materials
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 224 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   20



User                      Date        Client                          Description            Time Spent


Eric Thompson               1/30/2007 Mississippi                     Draft contact info        0:39:00
                                                                      regarding Jackson
                                                                      County DHS
Eric Thompson               1/30/2007 Mississippi                     Meeting with depo         1:30:00
                                                                      witness, fact
                                                                      witnesses
Eric Thompson               1/30/2007 Mississippi                     Edit FRE1006              1:30:00


Total: 1/30/2007
                                                                                      4.27


Eric Thompson               1/31/2007 Mississippi                     Telephone call with       0:30:00
                                                                      TK regarding
                                                                      FRE1006 edits
Eric Thompson               1/31/2007 Mississippi                     Telephone call with       0:35:00
                                                                      SN regarding
                                                                      FRE1006 edits
Eric Thompson               1/31/2007 Mississippi                     Edit FRE1006              0:45:00

Eric Thompson               1/31/2007 Mississippi                     Deposition of             3:00:00
                                                                      Roebuck

Total: 1/31/2007
                                                                                      4.83


Eric Thompson                2/1/2007 Mississippi                     Review D's motion         0:27:00
                                                                      to supplement
Eric Thompson                2/1/2007 Mississippi                     Telephone call with       0:36:00
                                                                      PS regarding
                                                                      FRE1006
Eric Thompson                2/1/2007 Mississippi                     Telephone call's          1:49:00
                                                                      with JW regarding
                                                                      FRE1006 edits
Eric Thompson                2/1/2007 Mississippi                     Edit FRE1006              4:41:00


Total: 2/1/2007
                                                                                      7.55


Eric Thompson                2/2/2007 Mississippi                     Telephone call with       0:05:00
                                                                      JW regarding
                                                                      FRE1006
Eric Thompson                2/2/2007 Mississippi                     Telephone call with       0:14:00
                                                                      MM, WD, StL, MRL
                                                                      regarding settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 225 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   21



User                      Date        Client                          Description            Time Spent


Eric Thompson                2/2/2007 Mississippi                     Electronic mails to       0:16:00
                                                                      co-counsel
                                                                      regarding
                                                                      settlement
                                                                      telephone call
Eric Thompson                2/2/2007 Mississippi                     Review Ds                 0:38:00
                                                                      response regarding
                                                                      motion to dismiss
                                                                      NPs
Eric Thompson                2/2/2007 Mississippi                     Research sur-reply        0:54:00
                                                                      regarding motion to
                                                                      dismiss NPs
Eric Thompson                2/2/2007 Mississippi                     Electronic mail RF        1:22:00
                                                                      regarding
                                                                      FRE1006s

Total: 2/2/2007
                                                                                      3.48


Eric Thompson                2/4/2007 Mississippi                     Research sur-reply        2:35:00
                                                                      regarding motion to
                                                                      dismiss NPs

Total: 2/4/2007
                                                                                      2.58


Eric Thompson                2/5/2007 Mississippi                     Electronic mail           0:07:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call
Eric Thompson                2/5/2007 Mississippi                     Telephone call with       0:09:00
                                                                      paras regarding
                                                                      FREs PTO
Eric Thompson                2/5/2007 Mississippi                     Telephone call with       0:16:00
                                                                      JPF regarding
                                                                      surreply NP
                                                                      research
Eric Thompson                2/5/2007 Mississippi                     Telephone call with       0:27:00
                                                                      MRL, SL, IL YK
                                                                      regarding opp to
                                                                      motion to supp disc.
Eric Thompson                2/5/2007 Mississippi                     Review exh's to Ds        2:06:00
                                                                      motion to supp disc.
Eric Thompson                2/5/2007 Mississippi                     Research sur-reply        4:51:00
                                                                      regarding motion to
                                                                      dismiss NPs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 226 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   22



User                      Date        Client                          Description            Time Spent



Total: 2/5/2007
                                                                                      7.94


Eric Thompson                2/6/2007 Mississippi                     Edit letter to RF         0:20:00
                                                                      regarding additional
                                                                      witnesses
Eric Thompson                2/6/2007 Mississippi                     Telephone call with       0:27:00
                                                                      SN regarding PTO
                                                                      preparation
Eric Thompson                2/6/2007 Mississippi                     Telephone call with       0:27:00
                                                                      co-counsel
                                                                      regarding motion to
                                                                      supp. disc.
Eric Thompson                2/6/2007 Mississippi                     Draft sur-reply           2:40:00
                                                                      regarding motion to
                                                                      dismiss NPs

Total: 2/6/2007
                                                                                      3.90


Eric Thompson                2/7/2007 Mississippi                     Telephone call with       0:06:00
                                                                      PS regarding
                                                                      FRE1006
Eric Thompson                2/7/2007 Mississippi                     Telephone call with       0:07:00
                                                                      JW regarding PTO
                                                                      facts
Eric Thompson                2/7/2007 Mississippi                     Telephone call with       0:30:00
                                                                      SL, SN regarding
                                                                      sur-reply
Eric Thompson                2/7/2007 Mississippi                     Review draft opp to       0:30:00
                                                                      supp disc
Eric Thompson                2/7/2007 Mississippi                     Revise trial plan         0:38:00

Eric Thompson                2/7/2007 Mississippi                     Review PTO facts          0:48:00

Eric Thompson                2/7/2007 Mississippi                     Telephone call with       1:01:00
                                                                      MRL, SL (SN, PS,
                                                                      YK for part)
                                                                      regarding PTC,
                                                                      case tasks and
                                                                      staffing
Eric Thompson                2/7/2007 Mississippi                     Revise sur-reply          6:49:00


Total: 2/7/2007
                                                                                     10.49
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 227 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   23



User                      Date        Client                          Description              Time Spent


Eric Thompson                2/8/2007 Mississippi                     Finalize sur-reply          1:18:00

Eric Thompson                2/8/2007 Mississippi                     Edit FRE1006s              10:31:00


Total: 2/8/2007
                                                                                      11.82


Eric Thompson                2/9/2007 Mississippi                     Review Hood letter          0:23:00

Eric Thompson                2/9/2007 Mississippi                     Draft email to RF           0:23:00
                                                                      regarding
                                                                      FRE1006s
Eric Thompson                2/9/2007 Mississippi                     Research opp to             0:33:00
                                                                      supp disc
Eric Thompson                2/9/2007 Mississippi                     Draft opp to supp           0:41:00
                                                                      disc
Eric Thompson                2/9/2007 Mississippi                     Edit FRE1006s               9:19:00


Total: 2/9/2007
                                                                                      11.31


Eric Thompson               2/10/2007 Mississippi                     Draft opp to supp           3:00:00
                                                                      disc

Total: 2/10/2007
                                                                                        3.00


Eric Thompson               2/11/2007 Mississippi                     Draft opp to supp           3:43:00
                                                                      disc

Total: 2/11/2007
                                                                                        3.72


Eric Thompson               2/12/2007 Mississippi                     Electronic mail to          0:26:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call, R. 4.3 violation
Eric Thompson               2/12/2007 Mississippi                     Revise opp to supp         10:15:00
                                                                      disc

Total: 2/12/2007
                                                                                      10.68
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 228 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   24



User                      Date        Client                          Description             Time Spent


Eric Thompson               2/13/2007 Mississippi                     Telephone call with        0:19:00
                                                                      JW regarding draft
                                                                      PTO
Eric Thompson               2/13/2007 Mississippi                     Telephone call with        0:25:00
                                                                      co-counsel
Eric Thompson               2/13/2007 Mississippi                     Revise letter to RF        0:49:00
                                                                      regarding R. 4.3
                                                                      violation
Eric Thompson               2/13/2007 Mississippi                     Draft trial plan           1:10:00

Eric Thompson               2/13/2007 Mississippi                     Draft PTO                  2:00:00

Eric Thompson               2/13/2007 Mississippi                     Revise opp to supp         4:04:00
                                                                      disc.

Total: 2/13/2007
                                                                                       8.80


Eric Thompson               2/14/2007 Mississippi                     Review witness             0:13:00
                                                                      corresp. regarding
                                                                      R. 4.3 violation;
                                                                      emails regarding
                                                                      same
Eric Thompson               2/14/2007 Mississippi                     Telephone call with        0:18:00
                                                                      JW regarding draft
                                                                      PTO
Eric Thompson               2/14/2007 Mississippi                     Review placement           0:27:00
                                                                      charts regarding
                                                                      FRE1006s;
                                                                      telephone call with
                                                                      JW regarding same
Eric Thompson               2/14/2007 Mississippi                     Electronic mail RF         0:29:00
                                                                      regarding PTO
Eric Thompson               2/14/2007 Mississippi                     Review draft motion        0:51:00
                                                                      in limine; telephone
                                                                      call with YK
                                                                      regarding same
Eric Thompson               2/14/2007 Mississippi                     Draft trial plan           0:58:00

Eric Thompson               2/14/2007 Mississippi                     Draft PTO                  2:29:00

Eric Thompson               2/14/2007 Mississippi                     Edit draft motion in       2:36:00
                                                                      limine

Total: 2/14/2007
                                                                                       8.35


Eric Thompson               2/15/2007 Mississippi                     Telephone call with        0:09:00
                                                                      witness re: interview
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 229 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   25



User                      Date        Client                          Description             Time Spent


Eric Thompson               2/15/2007 Mississippi                     Electronic mail MM         0:10:26
                                                                      re: Motion in Limine
Eric Thompson               2/15/2007 Mississippi                     Prepare trial prep         1:13:50
                                                                      plan
Eric Thompson               2/15/2007 Mississippi                     Revise motion in           1:27:44
                                                                      limine
Eric Thompson               2/15/2007 Mississippi                     Conference with            3:11:00
                                                                      CR case team, inc
                                                                      paras re: trial Prep
                                                                      tasks

Total: 2/15/2007
                                                                                       6.19


Eric Thompson               2/16/2007 Mississippi                     Review letter fr BC        0:10:07
                                                                      re: depo witness;
                                                                      emails MM re: same
Eric Thompson               2/16/2007 Mississippi                     Draft letter to court      0:12:55
                                                                      re: PTC
Eric Thompson               2/16/2007 Mississippi                     Prepare PTC                0:15:23

Eric Thompson               2/16/2007 Mississippi                     Conference with            0:16:04
                                                                      YK, HB re: PTO
Eric Thompson               2/16/2007 Mississippi                     Conference with            0:27:54
                                                                      HB, JW re: PTO
                                                                      prep
Eric Thompson               2/16/2007 Mississippi                     Review Goodman             0:33:00
                                                                      depo transcript
Eric Thompson               2/16/2007 Mississippi                     Review Roebuck             0:45:00
                                                                      depo transcript
Eric Thompson               2/16/2007 Mississippi                     Conference call            0:48:01
                                                                      with MM, JW re:
                                                                      exh's; email MM re:
                                                                      same
Eric Thompson               2/16/2007 Mississippi                     Finalizing motion in       1:07:14
                                                                      limine
Eric Thompson               2/16/2007 Mississippi                     Draft FOF                  1:12:55


Total: 2/16/2007
                                                                                       5.83


Eric Thompson               2/25/2007 Mississippi                     Meeting with MRL,          1:45:00
                                                                      MM, StL, WD
                                                                      regarding PTC
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 230 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   26



User                      Date        Client                          Description              Time Spent



Total: 2/25/2007
                                                                                        1.75


Eric Thompson               2/26/2007 Mississippi                     Prepare scheduling          0:30:00
                                                                      order
Eric Thompson               2/26/2007 Mississippi                     Meeting with MM,            1:00:00
                                                                      StL, with KO
                                                                      regarding trial
                                                                      document
                                                                      management
Eric Thompson               2/26/2007 Mississippi                     PTC                         1:00:00

Eric Thompson               2/26/2007 Mississippi                     Meeting with MRL,           1:00:00
                                                                      MM, WD, StL
                                                                      regarding PTC
Eric Thompson               2/26/2007 Mississippi                     Meeting with MRL,           2:00:00
                                                                      MM, WD, StL
                                                                      regarding trial
                                                                      preparation
Eric Thompson               2/26/2007 Mississippi                     Revise trial plan           2:00:00


Total: 2/26/2007
                                                                                        7.50


Eric Thompson               2/27/2007 Mississippi                     Telephone call with         0:30:00
                                                                      co-counsel
Eric Thompson               2/27/2007 Mississippi                     Telephone call with         0:30:00
                                                                      PS, YGK, paras
                                                                      regarding trial
                                                                      preparation
Eric Thompson               2/27/2007 Mississippi                     Revise trial plan           0:49:00

Eric Thompson               2/27/2007 Mississippi                     Meeting with NF             1:00:00

Eric Thompson               2/27/2007 Mississippi                     Meeting with source         1:30:00
                                                                      regarding Forrest
                                                                      County DHS

Total: 2/27/2007
                                                                                        4.32


Eric Thompson               2/28/2007 Mississippi                     Meeting with                1:00:00
                                                                      witness regarding
                                                                      Harrison County
                                                                      DHS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 231 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   27



User                      Date        Client                          Description            Time Spent


Eric Thompson               2/28/2007 Mississippi                     Meeting with              1:15:00
                                                                      sources, witnesses
                                                                      regarding Harrison
                                                                      County DHS
Eric Thompson               2/28/2007 Mississippi                     Meeting with              1:20:00
                                                                      witness regarding
                                                                      Harrison County
                                                                      DHS
Eric Thompson               2/28/2007 Mississippi                     Meeting with              1:30:00
                                                                      witness regarding
                                                                      Forrest County DHS

Total: 2/28/2007
                                                                                      5.08


Eric Thompson                3/3/2007 Mississippi                     Review Goodman            0:08:00
                                                                      depo digest; email
                                                                      StL re:same

Total: 3/3/2007
                                                                                      0.13


Eric Thompson                3/5/2007 Mississippi                     Electronic mail JP        0:05:52
                                                                      re: exh's
Eric Thompson                3/5/2007 Mississippi                     Review trial Prep.        0:35:29
                                                                      tasks, assignments
Eric Thompson                3/5/2007 Mississippi                     Conference with           1:06:58
                                                                      paras, MRL, SL,
                                                                      PS, YK re: trial
                                                                      Prep. tasks
Eric Thompson                3/5/2007 Mississippi                     Edit draft FOF            7:37:54


Total: 3/5/2007
                                                                                      9.44


Eric Thompson                3/6/2007 Mississippi                     Conference with YK        0:22:00
                                                                      re: FOF
Eric Thompson                3/6/2007 Mississippi                     Revise letter to          0:36:39
                                                                      Court re: orders
Eric Thompson                3/6/2007 Mississippi                     Revise trial plan         0:43:20

Eric Thompson                3/6/2007 Mississippi                     Conference call           0:45:20
                                                                      with co-counsel re:
                                                                      trial prep tasks
Eric Thompson                3/6/2007 Mississippi                     Prepare trial prep        1:39:55
                                                                      timeline, tasks
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 232 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   28



User                      Date        Client                          Description             Time Spent


Eric Thompson                3/6/2007 Mississippi                     Review Ds'                 2:19:32
                                                                      FRE1006 edits;
                                                                      meet w/ SN, paras
                                                                      re: same

Total: 3/6/2007
                                                                                       6.46


Eric Thompson                3/7/2007 Mississippi                     Email SN re: FRE           0:12:00

Eric Thompson                3/7/2007 Mississippi                     Emails with witness        0:36:00

Eric Thompson                3/7/2007 Mississippi                     Review D's FRE             3:27:00
                                                                      edits; t/c's SN, JW,
                                                                      HB re:same

Total: 3/7/2007
                                                                                       4.25


Eric Thompson                3/8/2007 Mississippi                     Telephone call with        0:31:00
                                                                      JP re: trial prep
                                                                      meeting; emails re:
                                                                      same
Eric Thompson                3/8/2007 Mississippi                     Emails SN, JW re:          0:37:00
                                                                      PTO, witnesses,
                                                                      exh's
Eric Thompson                3/8/2007 Mississippi                     edit FOF; email JK         1:00:00
                                                                      re: same
Eric Thompson                3/8/2007 Mississippi                     Telephone call with        1:09:00
                                                                      witness
Eric Thompson                3/8/2007 Mississippi                     Prepare trial plan         4:44:00


Total: 3/8/2007
                                                                                       8.02


Eric Thompson               3/12/2007 Mississippi                     Review depo                0:20:00
                                                                      designations, email
                                                                      PS re: same
Eric Thompson               3/12/2007 Mississippi                     Emails PS re: depo         0:24:00
                                                                      designations
Eric Thompson               3/12/2007 Mississippi                     Review draft Cody          0:27:00
                                                                      B. FRE
Eric Thompson               3/12/2007 Mississippi                     Prepare for                1:00:00
                                                                      co-counsel trial
                                                                      Prep. meeting
Eric Thompson               3/12/2007 Mississippi                     Review draft Olivia        1:07:00
                                                                      Y. FRE
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 233 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   29



User                      Date        Client                          Description             Time Spent


Eric Thompson               3/12/2007 Mississippi                     Review draft John          1:10:00
                                                                      A. FRE
Eric Thompson               3/12/2007 Mississippi                     Draft trial plan;          2:29:00
                                                                      email co-counsel
                                                                      re: same

Total: 3/12/2007
                                                                                       6.95


Eric Thompson               3/13/2007 Mississippi                     Finalizing email to        0:05:54
                                                                      Ds re: FREs
Eric Thompson               3/13/2007 Mississippi                     Conference with PS         0:07:00
                                                                      re: depo
                                                                      designations
Eric Thompson               3/13/2007 Mississippi                     Conference with SN         0:10:08
                                                                      re: witnesses
Eric Thompson               3/13/2007 Mississippi                     Email MM re:               0:12:42
                                                                      Witness records
Eric Thompson               3/13/2007 Mississippi                     Electronic mail            0:20:48
                                                                      co-counsel re: trial
                                                                      Prep mtg
Eric Thompson               3/13/2007 Mississippi                     Telephone call with        0:20:57
                                                                      StL re: witness
Eric Thompson               3/13/2007 Mississippi                     Telephone call with        0:24:23
                                                                      witness
Eric Thompson               3/13/2007 Mississippi                     Telephone call JW          0:34:23
                                                                      re: FRE 1006 edits
Eric Thompson               3/13/2007 Mississippi                     Meeting with depo          0:35:00
                                                                      witness
Eric Thompson               3/13/2007 Mississippi                     Prepare trial Prep.        0:35:59
                                                                      Meeting
Eric Thompson               3/13/2007 Mississippi                     Draft witness info         0:40:34

Eric Thompson               3/13/2007 Mississippi                     Revise draft letter        0:54:52
                                                                      to ct re: pending
                                                                      motions
Eric Thompson               3/13/2007 Mississippi                     Prepare trial plan         0:56:40

Eric Thompson               3/13/2007 Mississippi                     Meeting with               2:00:00
                                                                      co-counsel at Loeb

Total: 3/13/2007
                                                                                       7.99


Eric Thompson               3/14/2007 Mississippi                     Electronic mail re:        0:08:05
                                                                      team mtg
Eric Thompson               3/14/2007 Mississippi                     Conference with            0:13:07
                                                                      MRL re: draft FOF
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 234 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   30



User                      Date        Client                          Description             Time Spent


Eric Thompson               3/14/2007 Mississippi                     Telephone call with        0:13:43
                                                                      expert
Eric Thompson               3/14/2007 Mississippi                     Telephone call with        0:30:00
                                                                      witness
Eric Thompson               3/14/2007 Mississippi                     Draft witness notes        0:58:20

Eric Thompson               3/14/2007 Mississippi                     Prepare trial plan         1:07:45

Eric Thompson               3/14/2007 Mississippi                     Conference with            1:10:00
                                                                      SN, PS, JW, HB,
                                                                      MRL (for part)
Eric Thompson               3/14/2007 Mississippi                     Edit witness script        2:04:23


Total: 3/14/2007
                                                                                       6.42


Eric Thompson               3/15/2007 Mississippi                     Conference with            0:11:54
                                                                      JW, TK re: exhibits
Eric Thompson               3/15/2007 Mississippi                     Telephone call with        0:27:00
                                                                      JW re: FRE exh.
Eric Thompson               3/15/2007 Mississippi                     Review trial Prep          0:27:25
                                                                      tasks
Eric Thompson               3/15/2007 Mississippi                     Electronic mail JP         0:30:47
                                                                      re: fiscal case
Eric Thompson               3/15/2007 Mississippi                     Review depo                0:33:00
                                                                      designations
Eric Thompson               3/15/2007 Mississippi                     edit draft witness         0:37:45
                                                                      script

Total: 3/15/2007
                                                                                       2.80


Eric Thompson               3/16/2007 Mississippi                     Telephone call with        0:12:00
                                                                      HB re: exh's
Eric Thompson               3/16/2007 Mississippi                     Telephone calls            0:19:00
                                                                      with JW re: FRE
                                                                      aggregation
Eric Thompson               3/16/2007 Mississippi                     Telephone call with        0:26:00
                                                                      JP re: fiscal
                                                                      witnesses, exh's
Eric Thompson               3/16/2007 Mississippi                     Draft expert direct        3:10:00
                                                                      exam

Total: 3/16/2007
                                                                                       4.12
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 235 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   31



User                      Date        Client                          Description               Time Spent


Eric Thompson               3/20/2007 Mississippi                     Telephone call with          0:05:00
                                                                      SN, TK re: FRE
Eric Thompson               3/20/2007 Mississippi                     Emails KR re: FRE            0:07:00

Eric Thompson               3/20/2007 Mississippi                     Telephone call with          0:14:00
                                                                      PS re: NP witness
Eric Thompson               3/20/2007 Mississippi                     Telephone call with          0:18:00
                                                                      JW re: exh's
Eric Thompson               3/20/2007 Mississippi                     Telephone call with          0:18:00
                                                                      CR re: NP fofs
Eric Thompson               3/20/2007 Mississippi                     Telephone call with          1:00:00
                                                                      SN, JW (HB, CR,
                                                                      JW, PS for part)
Eric Thompson               3/20/2007 Mississippi                     Prep. for trial plan         1:30:00


Total: 3/20/2007
                                                                                         3.53


Eric Thompson               3/21/2007 Mississippi                     Telephone call with          0:07:00
                                                                      TK re: info for
                                                                      witness cross
Eric Thompson               3/21/2007 Mississippi                     Telephone call with          0:10:00
                                                                      PS, TK re: FRE
Eric Thompson               3/21/2007 Mississippi                     Telephone call with          0:10:00
                                                                      SN re: expert
Eric Thompson               3/21/2007 Mississippi                     Telephone call with          0:12:00
                                                                      JW, JK, HB re:
                                                                      FOF, exh's
Eric Thompson               3/21/2007 Mississippi                     Emails co-counsel            0:25:00
                                                                      re: t/c
Eric Thompson               3/21/2007 Mississippi                     Telephone call with          0:26:00
                                                                      witness
Eric Thompson               3/21/2007 Mississippi                     Review exh's                 0:51:00

Eric Thompson               3/21/2007 Mississippi                     Review FREs,                 1:33:00
                                                                      email Ds re: same
Eric Thompson               3/21/2007 Mississippi                     Draft wintness script        1:44:00

Eric Thompson               3/21/2007 Mississippi                     Prep. trial plan             2:09:00


Total: 3/21/2007
                                                                                         7.79


Eric Thompson               3/22/2007 Mississippi                     Conference with TK           0:05:00
                                                                      re: exh's
Eric Thompson               3/22/2007 Mississippi                     Review email from            0:12:00
                                                                      Ds, FREs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 236 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   32



User                      Date        Client                          Description             Time Spent


Eric Thompson               3/22/2007 Mississippi                     Conference call            0:12:51
                                                                      with StL re: witness
Eric Thompson               3/22/2007 Mississippi                     Electronic mail JP         0:17:11
                                                                      re: trial Prep PTO
Eric Thompson               3/22/2007 Mississippi                     Electronic mail            0:21:23
                                                                      expert re: trial prep
Eric Thompson               3/22/2007 Mississippi                     Conference call            1:05:28
                                                                      with co-counsel re;
                                                                      trial prep
Eric Thompson               3/22/2007 Mississippi                     Prepare trial plan         1:16:24

Eric Thompson               3/22/2007 Mississippi                     Review NP findings         1:31:13


Total: 3/22/2007
                                                                                       5.02


Eric Thompson               3/23/2007 Mississippi                     Electronic mail StL        0:14:48
                                                                      re: witness info
Eric Thompson               3/23/2007 Mississippi                     Prepare settlement         0:23:58
                                                                      mtg
Eric Thompson               3/23/2007 Mississippi                     Conference with PS         0:52:25
                                                                      re: exh's
Eric Thompson               3/23/2007 Mississippi                     Prepare PTO                4:20:03


Total: 3/23/2007
                                                                                       5.85


Eric Thompson               3/26/2007 Mississippi                     settlement                 9:00:00
                                                                      conference with Ds

Total: 3/26/2007
                                                                                       9.00


Eric Thompson               3/27/2007 Mississippi                     Telephone call with        0:30:00
                                                                      co-counsel
Eric Thompson               3/27/2007 Mississippi                     Conference with            1:00:00
                                                                      StL and NF re:
                                                                      NPs, settlement
Eric Thompson               3/27/2007 Mississippi                     settlement                 7:00:00
                                                                      conference w/ Ds,
                                                                      settlement drafting

Total: 3/27/2007
                                                                                       8.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 237 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   33



User                      Date        Client                          Description             Time Spent


Eric Thompson               3/28/2007 Mississippi                     Meeting with MRL,          0:25:00
                                                                      potential mediator
Eric Thompson               3/28/2007 Mississippi                     Telephone call with        0:38:00
                                                                      experts
Eric Thompson               3/28/2007 Mississippi                     Draft motion, order,       5:00:00
                                                                      notice re: settlement

Total: 3/28/2007
                                                                                       6.05


Eric Thompson               3/29/2007 Mississippi                     Conference with            0:20:00
                                                                      court re: settlement
Eric Thompson               3/29/2007 Mississippi                     Telephone call with        0:21:00
                                                                      JW re: draft motion
Eric Thompson               3/29/2007 Mississippi                     Meeting with GM,           0:45:00
                                                                      RF re: agreement,
                                                                      motion

Total: 3/29/2007
                                                                                       1.43


Eric Thompson                4/2/2007 Mississippi                     Telephone call with        0:06:00
                                                                      expert regarding
                                                                      meeting
Eric Thompson                4/2/2007 Mississippi                     Revise jt filing           1:23:00
                                                                      regarding
                                                                      preliminary
                                                                      approval; email RF
                                                                      regarding same

Total: 4/2/2007
                                                                                       1.48


Eric Thompson                4/3/2007 Mississippi                     Telephone calls            0:19:00
                                                                      with NF re: NPs
Eric Thompson                4/3/2007 Mississippi                     Conference call            0:40:00
                                                                      with co-counsel re:
                                                                      remedies phase,
                                                                      NPs
Eric Thompson                4/3/2007 Mississippi                     Telephone call with        0:44:17
                                                                      witness re: remedial
                                                                      phase
Eric Thompson                4/3/2007 Mississippi                     Review budget              0:56:47
                                                                      figures; email
                                                                      co-counsel re: same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 238 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   34



User                      Date        Client                          Description              Time Spent



Total: 4/3/2007
                                                                                        2.68


Eric Thompson                4/4/2007 Mississippi                     Telephone call with         0:05:41
                                                                      HP re: COA,
                                                                      mediators; left
                                                                      message
Eric Thompson                4/4/2007 Mississippi                     Electronic mail             0:12:57
                                                                      expert re: mtg
Eric Thompson                4/4/2007 Mississippi                     Telephone call with         0:17:53
                                                                      StL
Eric Thompson                4/4/2007 Mississippi                     Telephone call with         0:20:05
                                                                      atty for class
                                                                      members
Eric Thompson                4/4/2007 Mississippi                     Research possible           0:37:18
                                                                      mediators; email
                                                                      co-counsel re: same
Eric Thompson                4/4/2007 Mississippi                     Draft email to D's          0:46:00
                                                                      re: FRE1006s

Total: 4/4/2007
                                                                                        2.33


Eric Thompson                4/5/2007 Mississippi                     Electronic mail HP,         0:09:00
                                                                      RF regarding NP
                                                                      info
Eric Thompson                4/5/2007 Mississippi                     Electronic mails            0:10:00
                                                                      source regarding
                                                                      remedies
Eric Thompson                4/5/2007 Mississippi                     Telephone call with         0:10:00
                                                                      expert re: trial dates
Eric Thompson                4/5/2007 Mississippi                     Telephone call with         0:18:00
                                                                      MRL, SN regarding
                                                                      mediators
Eric Thompson                4/5/2007 Mississippi                     Review NPs info             1:16:00

Eric Thompson                4/5/2007 Mississippi                     Write letter to Ds          1:35:00
                                                                      regarding remedial
                                                                      deadlines

Total: 4/5/2007
                                                                                        3.64


Eric Thompson                4/6/2007 Mississippi                     Telephone call with         0:18:00
                                                                      CR regarding NP
                                                                      info
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 239 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   35



User                      Date        Client                          Description            Time Spent



Total: 4/6/2007
                                                                                      0.30


Eric Thompson                4/9/2007 Mississippi                     Telephone call with       0:04:00
                                                                      JW regarding MS
                                                                      intake regarding
                                                                      class member
Eric Thompson                4/9/2007 Mississippi                     Electronic mail to        0:07:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call
Eric Thompson                4/9/2007 Mississippi                     Telephone call with       0:15:00
                                                                      MRL, MM, WD
                                                                      regarding mediator
Eric Thompson                4/9/2007 Mississippi                     Electronic mail           0:15:00
                                                                      regarding mediator
Eric Thompson                4/9/2007 Mississippi                     Review NP info;           0:15:00
                                                                      email PS regarding
                                                                      same
Eric Thompson                4/9/2007 Mississippi                     Telephone call with       0:24:00
                                                                      StL regarding
                                                                      mediator

Total: 4/9/2007
                                                                                      1.34


Eric Thompson               4/10/2007 Mississippi                     Electronic mail PS        0:09:00
                                                                      regarding NP
Eric Thompson               4/10/2007 Mississippi                     Electronic mail           0:10:00
                                                                      regarding
                                                                      co-counsel
                                                                      telephone call
Eric Thompson               4/10/2007 Mississippi                     Prepare co-counsel        0:15:00
                                                                      telephone call
Eric Thompson               4/10/2007 Mississippi                     Telephone call with       0:22:00
                                                                      co-counsel

Total: 4/10/2007
                                                                                      0.94


Eric Thompson               4/11/2007 Mississippi                     Telephone call with       0:06:00
                                                                      HP regarding COA
                                                                      plan, planning
Eric Thompson               4/11/2007 Mississippi                     Electronic mail           0:08:00
                                                                      MRL, SN regarding
                                                                      COA info
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 240 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   36



User                      Date        Client                          Description             Time Spent


Eric Thompson               4/11/2007 Mississippi                     Telephone call with        0:16:00
                                                                      SN, MRL regarding
                                                                      mediator
Eric Thompson               4/11/2007 Mississippi                     Electronic mail            0:22:00
                                                                      regarding mediator
                                                                      selection
Eric Thompson               4/11/2007 Mississippi                     Write letter to RF,        0:34:00
                                                                      HP regarding
                                                                      mediator

Total: 4/11/2007
                                                                                       1.44


Eric Thompson               4/12/2007 Mississippi                     Telephone call with        0:07:00
                                                                      SN, MRL regarding
                                                                      mediator
Eric Thompson               4/12/2007 Mississippi                     Electronic mail            0:09:00
                                                                      co-counsel
                                                                      regarding mediator
Eric Thompson               4/12/2007 Mississippi                     Telephone call with        0:18:00
                                                                      source/witness
                                                                      regarding remedies
Eric Thompson               4/12/2007 Mississippi                     Review arbitrator          0:31:00
                                                                      info; telephone call,
                                                                      email with
                                                                      co-counsel
                                                                      regarding same

Total: 4/12/2007
                                                                                       1.09


Eric Thompson               4/13/2007 Mississippi                     Review RF letter           0:03:00
                                                                      regarding NPs
Eric Thompson               4/13/2007 Mississippi                     Telephone call with        0:03:00
                                                                      RF regarding
                                                                      mediator, left
                                                                      message
Eric Thompson               4/13/2007 Mississippi                     Revise co-counsel          0:07:00
                                                                      telephone call
                                                                      minutes
Eric Thompson               4/13/2007 Mississippi                     Electronic mail RF,        0:08:00
                                                                      HP regarding
                                                                      telephone call
Eric Thompson               4/13/2007 Mississippi                     Telephone call with        0:11:00
                                                                      MS attorney
                                                                      regarding class
                                                                      notice
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 241 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   37



User                      Date        Client                          Description            Time Spent


Eric Thompson               4/13/2007 Mississippi                     Telephone call with       0:17:00
                                                                      JW regarding
                                                                      intake calls
                                                                      regarding class
                                                                      notice
Eric Thompson               4/13/2007 Mississippi                     Electronic mails          0:24:00
                                                                      regarding mediator
Eric Thompson               4/13/2007 Mississippi                     Telephone call with       0:24:00
                                                                      StL regarding
                                                                      mediator
Eric Thompson               4/13/2007 Mississippi                     Telephone call with       0:30:00
                                                                      MRL, WD, StL
                                                                      regarding mediator
Eric Thompson               4/13/2007 Mississippi                     Telephone call with       0:33:00
                                                                      StL, potential
                                                                      mediator
Eric Thompson               4/13/2007 Mississippi                     Telephone call with       0:42:00
                                                                      StL, MRL regarding
                                                                      mediator info
Eric Thompson               4/13/2007 Mississippi                     Review mediator           0:55:00
                                                                      info

Total: 4/13/2007
                                                                                      4.28


Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:05:00
                                                                      WD regarding
                                                                      mediator
Eric Thompson               4/16/2007 Mississippi                     Electronic mail HP,       0:06:00
                                                                      RF regarding
                                                                      mediator telephone
                                                                      call
Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:08:00
                                                                      WD regarding
                                                                      mediator
Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:10:00
                                                                      StL regarding
                                                                      mediator
Eric Thompson               4/16/2007 Mississippi                     Electronic mail           0:14:00
                                                                      co-counsel
Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:14:00
                                                                      source regarding
                                                                      class member
                                                                      maltreatment
Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:25:00
                                                                      HP, GM, RF, WD
                                                                      regarding mediator
Eric Thompson               4/16/2007 Mississippi                     Telephone call with       0:36:00
                                                                      MRL regarding
                                                                      mediator
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 242 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   38



User                      Date        Client                          Description             Time Spent


Eric Thompson               4/16/2007 Mississippi                     Review mediator            0:37:00
                                                                      info

Total: 4/16/2007
                                                                                       2.58


Eric Thompson               4/17/2007 Mississippi                     Telephone call with        0:10:00
                                                                      MRL regarding
                                                                      mediator
Eric Thompson               4/17/2007 Mississippi                     Electronic mail HP,        0:12:00
                                                                      RF regarding
                                                                      mediator
Eric Thompson               4/17/2007 Mississippi                     Telephone call with        0:13:00
                                                                      StL regarding
                                                                      mediator
Eric Thompson               4/17/2007 Mississippi                     Review mediator            0:19:00
                                                                      info
Eric Thompson               4/17/2007 Mississippi                     Telephone call with        0:47:00
                                                                      co-counsel
                                                                      regarding mediator
Eric Thompson               4/17/2007 Mississippi                     Draft letter to Court      2:13:00
                                                                      regarding mediator

Total: 4/17/2007
                                                                                       3.91


Eric Thompson               4/18/2007 Mississippi                     Telephone call with        0:06:00
                                                                      JW regarding
                                                                      notice intake
Eric Thompson               4/18/2007 Mississippi                     Electronic mail,           0:40:00
                                                                      telephone call
                                                                      messages RF, HP
                                                                      regarding mediator
Eric Thompson               4/18/2007 Mississippi                     Draft letter to Court      1:30:00
                                                                      regarding mediator
                                                                      (cont'd)

Total: 4/18/2007
                                                                                       2.27


Eric Thompson               4/23/2007 Mississippi                     Telephone call with        0:05:00
                                                                      MRL regarding
                                                                      Judge Lee conflict
Eric Thompson               4/23/2007 Mississippi                     Review motion to           0:09:00
                                                                      withdraw TCrean;
                                                                      email regarding
                                                                      same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 243 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   39



User                      Date        Client                          Description            Time Spent


Eric Thompson               4/23/2007 Mississippi                     Telephone call with       0:12:00
                                                                      source regarding
                                                                      Court; email
                                                                      co-counsel
                                                                      regarding same
Eric Thompson               4/23/2007 Mississippi                     Write letter to RF,       0:18:00
                                                                      HP regarding NP
                                                                      files, remedial
                                                                      planning
Eric Thompson               4/23/2007 Mississippi                     Research conflict         0:42:00
                                                                      issue; emails
                                                                      regarding same
Eric Thompson               4/23/2007 Mississippi                     Review NP info;           1:17:00
                                                                      draft letter to W.
                                                                      NPs

Total: 4/23/2007
                                                                                      2.71


Eric Thompson               4/24/2007 Mississippi                     email SN regarding        0:04:00
                                                                      recusal
Eric Thompson               4/24/2007 Mississippi                     Electronic mail SN,       0:05:00
                                                                      JW regarding W.
                                                                      kids
Eric Thompson               4/24/2007 Mississippi                     Telephone call with       0:09:00
                                                                      GAL regarding
                                                                      class notice
Eric Thompson               4/24/2007 Mississippi                     Telephone call with       0:12:00
                                                                      SN, JW regarding
                                                                      W. kids
Eric Thompson               4/24/2007 Mississippi                     Telephone call with       0:17:00
                                                                      SN, JW regarding
                                                                      class members
Eric Thompson               4/24/2007 Mississippi                     Telephone call with       0:19:00
                                                                      source regarding
                                                                      class members,
                                                                      remedies
Eric Thompson               4/24/2007 Mississippi                     Review info               0:44:00
                                                                      regarding class
                                                                      members;
                                                                      telephone call with
                                                                      SN, JW regarding
                                                                      same

Total: 4/24/2007
                                                                                      1.83


Eric Thompson               4/25/2007 Mississippi                     Review source info        0:07:57
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 244 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   40



User                      Date        Client                          Description             Time Spent


Eric Thompson               4/25/2007 Mississippi                     Telephone call with        0:08:04
                                                                      source re: DHS
                                                                      remedial needs
Eric Thompson               4/25/2007 Mississippi                     Conference with SN         0:12:00
                                                                      re: fairness hrg prep
Eric Thompson               4/25/2007 Mississippi                     Telephone calls            0:17:56
                                                                      with GAL for NPs
Eric Thompson               4/25/2007 Mississippi                     Electronic mails           0:28:23
                                                                      MM, WD, StL re: ct.
                                                                      conf

Total: 4/25/2007
                                                                                       1.23


Eric Thompson               4/26/2007 Mississippi                     Telephone call with        0:08:00
                                                                      SN, regarding
                                                                      meeting with experts
Eric Thompson               4/26/2007 Mississippi                     Conference with            0:10:00
                                                                      SN, JW re: 5/8-9
                                                                      mtgs
Eric Thompson               4/26/2007 Mississippi                     Review NP info             0:14:16

Eric Thompson               4/26/2007 Mississippi                     Telephone call;            0:16:03
                                                                      email KR re: NP info
Eric Thompson               4/26/2007 Mississippi                     Telephone call with        0:27:00
                                                                      StL regarding Court
                                                                      conference

Total: 4/26/2007
                                                                                       1.26


Eric Thompson               4/30/2007 Mississippi                     Electronic mail RK         0:05:00
                                                                      regarding NPs
Eric Thompson               4/30/2007 Mississippi                     Telephone call with        0:08:00
                                                                      JW regarding class
                                                                      member info
Eric Thompson               4/30/2007 Mississippi                     Telephone call with        0:16:00
                                                                      source regarding
                                                                      DHS, class
                                                                      members
Eric Thompson               4/30/2007 Mississippi                     Telephone call with        0:21:00
                                                                      NP, FP regarding
                                                                      meeting
Eric Thompson               4/30/2007 Mississippi                     Prepare meeting            0:23:00
                                                                      with experts
Eric Thompson               4/30/2007 Mississippi                     Electronic mails RF,       0:33:00
                                                                      HP regarding
                                                                      remedial planning
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 245 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   41



User                      Date        Client                          Description            Time Spent


Eric Thompson               4/30/2007 Mississippi                     Write letter RF, HP       0:51:00
                                                                      regarding
                                                                      settlement
                                                                      implementation
Eric Thompson               4/30/2007 Mississippi                     Prepare info for          1:50:00
                                                                      mediator

Total: 4/30/2007
                                                                                      4.44


Eric Thompson                5/1/2007 Mississippi                     Finalizing letter to      0:12:00
                                                                      RF, HP re: remedial
                                                                      planning
Eric Thompson                5/1/2007 Mississippi                     Conference with           2:25:00
                                                                      MRL (part), SN, TK,
                                                                      and experts re:
                                                                      remedial planning
Eric Thompson                5/1/2007 Mississippi                     Meeting with MRL,         3:00:00
                                                                      SN, experts
                                                                      regarding remedial
                                                                      planning

Total: 5/1/2007
                                                                                      5.62


Eric Thompson                5/2/2007 Mississippi                     Meeting with John         1:00:00
                                                                      A. at Millcreek
Eric Thompson                5/2/2007 Mississippi                     Hattiesburg               1:45:00
                                                                      meeting with foster
                                                                      parents
Eric Thompson                5/2/2007 Mississippi                     Jackson meeting           2:45:00
                                                                      with stakeholders
                                                                      regarding
                                                                      settlement,
                                                                      remedies

Total: 5/2/2007
                                                                                      5.50


Eric Thompson                5/3/2007 Mississippi                     Harrison Youth            2:15:00
                                                                      Court Meeting with
                                                                      stakeholders
                                                                      regarding
                                                                      settlement,
                                                                      remedies
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 246 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   42



User                      Date        Client                          Description             Time Spent



Total: 5/3/2007
                                                                                       2.25


Eric Thompson                5/4/2007 Mississippi                     Telephone call with        0:16:00
                                                                      NF
Eric Thompson                5/4/2007 Mississippi                     Telephone call with        0:20:00
                                                                      JW regarding class
                                                                      member, class
                                                                      notice info
Eric Thompson                5/4/2007 Mississippi                     Prepare mediation          2:06:00
                                                                      submission

Total: 5/4/2007
                                                                                       2.70


Eric Thompson                5/7/2007 Mississippi                     Telephone call with        0:06:11
                                                                      source re: hrg
                                                                      comments
Eric Thompson                5/7/2007 Mississippi                     Electronic mails to        0:07:00
                                                                      RF re: mediator mtg
Eric Thompson                5/7/2007 Mississippi                     Electronic mail to         0:12:00
                                                                      co-counsel re: hrg
                                                                      submission
Eric Thompson                5/7/2007 Mississippi                     Conference with            0:18:00
                                                                      TK, JW re: hrg
                                                                      submission prep
Eric Thompson                5/7/2007 Mississippi                     Prepare mtg w/ NPs         0:25:14

Eric Thompson                5/7/2007 Mississippi                     Write letter to RF,        0:32:01
                                                                      HP re: monitor

Total: 5/7/2007
                                                                                       1.67


Eric Thompson                5/8/2007 Mississippi                     Meeting with NPs,          1:20:00
                                                                      FP

Total: 5/8/2007
                                                                                       1.33


Eric Thompson                5/9/2007 Mississippi                     Olive Branch               3:20:00
                                                                      meeting with
                                                                      stakeholders
                                                                      regarding
                                                                      settlement,
                                                                      remedies
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 247 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   43



User                      Date        Client                          Description            Time Spent



Total: 5/9/2007
                                                                                      3.33


Eric Thompson               5/10/2007 Mississippi                     Review RF letter          0:06:00

Eric Thompson               5/10/2007 Mississippi                     Electronic mail RF,       0:08:00
                                                                      HP regarding joint
                                                                      motion for final
                                                                      approval
Eric Thompson               5/10/2007 Mississippi                     Review settlement         0:18:00
                                                                      comments
Eric Thompson               5/10/2007 Mississippi                     Telephone call with       0:26:00
                                                                      NF regarding NPs
Eric Thompson               5/10/2007 Mississippi                     Telephone call with       0:30:00
                                                                      MRL, SN, MM, WD,
                                                                      StL regarding
                                                                      fairness hearing
Eric Thompson               5/10/2007 Mississippi                     Review draft              0:40:00
                                                                      affidavit regarding
                                                                      comments
Eric Thompson               5/10/2007 Mississippi                     Prepare settlement        5:53:00
                                                                      approval
                                                                      submissions

Total: 5/10/2007
                                                                                      8.01


Eric Thompson               5/11/2007 Mississippi                     Revise settlement         6:40:00
                                                                      approval
                                                                      submission
                                                                      materials

Total: 5/11/2007
                                                                                      6.67


Eric Thompson               5/13/2007 Mississippi                     Draft memo in             7:32:00
                                                                      support, declaration

Total: 5/13/2007
                                                                                      7.53


Eric Thompson               5/14/2007 Mississippi                     Telephone call with       0:07:00
                                                                      JW regarding court
                                                                      filing
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 248 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   44



User                      Date        Client                          Description            Time Spent


Eric Thompson               5/14/2007 Mississippi                     Finalize memo in          5:00:00
                                                                      support and
                                                                      exhibits regarding
                                                                      settlement approval

Total: 5/14/2007
                                                                                      5.12


Eric Thompson               5/15/2007 Mississippi                     Telephone call with       0:31:00
                                                                      co-counsel
                                                                      regarding fairness
                                                                      hearing, mediation
Eric Thompson               5/15/2007 Mississippi                     Prepare fairness          1:57:00
                                                                      hearing

Total: 5/15/2007
                                                                                      2.47


Eric Thompson               5/16/2007 Mississippi                     Meeting with MRL,         0:30:00
                                                                      SN regarding
                                                                      fairness hearing
Eric Thompson               5/16/2007 Mississippi                     Meeting with MRL,         1:30:00
                                                                      SN, co-counsel
                                                                      regarding fairness
                                                                      hearing, mediation
Eric Thompson               5/16/2007 Mississippi                     Prepare fairness          2:46:00
                                                                      hearing

Total: 5/16/2007
                                                                                      4.77


Eric Thompson               5/17/2007 Mississippi                     Meeting with              0:30:00
                                                                      co-counsel
                                                                      regarding hearing
Eric Thompson               5/17/2007 Mississippi                     Meeting with MRL,         0:35:00
                                                                      SN, NF regarding
                                                                      NP, mediation
Eric Thompson               5/17/2007 Mississippi                     Hearing regarding         0:50:00
                                                                      approval of
                                                                      settlement
Eric Thompson               5/17/2007 Mississippi                     Mediation meeting         1:00:00
                                                                      with co-counsel, Ds
                                                                      and mediator
Eric Thompson               5/17/2007 Mississippi                     Meeting with SN,          1:25:00
                                                                      NF regarding NP
                                                                      settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 249 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   45



User                      Date        Client                          Description            Time Spent



Total: 5/17/2007
                                                                                      4.33


Eric Thompson               5/21/2007 Mississippi                     Telephone call with       0:22:00
                                                                      FP to NP
Eric Thompson               5/21/2007 Mississippi                     Telephone call with       0:30:00
                                                                      PS regarding NP
                                                                      service needs
Eric Thompson               5/21/2007 Mississippi                     Review NPs info;          6:06:00
                                                                      draft NP services
                                                                      proposals

Total: 5/21/2007
                                                                                      6.97


Eric Thompson               5/22/2007 Mississippi                     Telephone calls           0:12:00
                                                                      withPS regarding
                                                                      NP plan
Eric Thompson               5/22/2007 Mississippi                     Review settlement         0:13:00
                                                                      hearing comments
                                                                      info
Eric Thompson               5/22/2007 Mississippi                     Electronic mail           0:16:00
                                                                      experts regarding
                                                                      meeting with COA
Eric Thompson               5/22/2007 Mississippi                     Review/edit               0:17:00
                                                                      additional NP
                                                                      proposals; email RF
                                                                      regarding same
Eric Thompson               5/22/2007 Mississippi                     Review hearing,           0:22:00
                                                                      transcript
Eric Thompson               5/22/2007 Mississippi                     Telephone call with       0:34:00
                                                                      co-counsel
                                                                      regarding mediation
Eric Thompson               5/22/2007 Mississippi                     Revise NP service         3:49:00
                                                                      proposals

Total: 5/22/2007
                                                                                      5.73


Eric Thompson               5/23/2007 Mississippi                     Electronic mail MM        0:06:00
                                                                      regarding
                                                                      settlement order
Eric Thompson               5/23/2007 Mississippi                     Electronic mail NF        0:11:00
                                                                      regarding NP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 250 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   46



User                      Date        Client                          Description             Time Spent


Eric Thompson               5/23/2007 Mississippi                     Telephone call with        0:12:00
                                                                      SN regarding
                                                                      submission to
                                                                      mediator
Eric Thompson               5/23/2007 Mississippi                     Prepare proposed           0:23:00
                                                                      consent order filing
Eric Thompson               5/23/2007 Mississippi                     Draft proposed             0:32:00
                                                                      consent order;
                                                                      email RF regarding
                                                                      same
Eric Thompson               5/23/2007 Mississippi                     Revise draft letter        2:39:00
                                                                      to mediator

Total: 5/23/2007
                                                                                       4.04


Eric Thompson               5/24/2007 Mississippi                     File ECF motion            0:22:00
                                                                      and consent order
Eric Thompson               5/24/2007 Mississippi                     Prepare motion             0:34:00
                                                                      regarding
                                                                      confidentiality
                                                                      extension
Eric Thompson               5/24/2007 Mississippi                     Review draft letter        0:49:00
                                                                      to mediator;
                                                                      telephone call with
                                                                      SN regarding same

Total: 5/24/2007
                                                                                       1.76


Eric Thompson               5/25/2007 Mississippi                     Electronic mail            0:05:00
                                                                      experts regarding
                                                                      COA meeting
Eric Thompson               5/25/2007 Mississippi                     Electronic mails           0:13:00
                                                                      source regarding
                                                                      relief
Eric Thompson               5/25/2007 Mississippi                     Review RF letters;         0:26:00
                                                                      emails regarding
                                                                      same

Total: 5/25/2007
                                                                                       0.73


Eric Thompson               5/29/2007 Mississippi                     Telephone call with        0:11:00
                                                                      SN regarding
                                                                      mediation
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 251 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   47



User                      Date        Client                          Description           Time Spent


Eric Thompson               5/29/2007 Mississippi                     Telephone call with      0:12:00
                                                                      RF regarding NP
                                                                      agreements
Eric Thompson               5/29/2007 Mississippi                     Telephone call with      0:12:00
                                                                      SN regarding
                                                                      mediation
Eric Thompson               5/29/2007 Mississippi                     Review mediation         0:13:00
                                                                      submission
Eric Thompson               5/29/2007 Mississippi                     Telephone call with      0:38:00
                                                                      co-counsel
                                                                      regarding
                                                                      mediation, NPs
                                                                      discovery
Eric Thompson               5/29/2007 Mississippi                     Telephone call with      0:47:00
                                                                      SN, PS, JW
                                                                      regarding NP
                                                                      agreements
Eric Thompson               5/29/2007 Mississippi                     Review Ds' letter        0:56:00
                                                                      regarding NPs,
                                                                      COA, Monitor,
                                                                      expedited discovery
Eric Thompson               5/29/2007 Mississippi                     Draft response           3:30:00
                                                                      regarding NP

Total: 5/29/2007
                                                                                     6.64


Eric Thompson               5/31/2007 Mississippi                     Meeting with             1:00:00
                                                                      co-counsel
                                                                      regarding NP
                                                                      mediation
Eric Thompson               5/31/2007 Mississippi                     NP mediation             3:45:00


Total: 5/31/2007
                                                                                     4.75


Eric Thompson                6/1/2007 Mississippi                     Electronic mail          0:08:00
                                                                      regarding mediation
                                                                      schedule
Eric Thompson                6/1/2007 Mississippi                     Electronic mail RF       0:08:00
                                                                      regarding COA
                                                                      meeting
Eric Thompson                6/1/2007 Mississippi                     Electronic mail          0:09:00
                                                                      experts regarding
                                                                      monitor
Eric Thompson                6/1/2007 Mississippi                     Review monitor info      0:35:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 252 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   48



User                      Date        Client                          Description            Time Spent


Eric Thompson                6/1/2007 Mississippi                     Finalize NP               1:28:00
                                                                      agreements; email
                                                                      RF regarding same

Total: 6/1/2007
                                                                                      2.46


Eric Thompson                6/4/2007 Mississippi                     Electronic mail           0:08:00
                                                                      source regarding
                                                                      mediator
Eric Thompson                6/4/2007 Mississippi                     Review NP                 0:19:00
                                                                      agreements edits;
                                                                      email KR regarding
                                                                      same

Total: 6/4/2007
                                                                                      0.45


Eric Thompson                6/5/2007 Mississippi                     Electronic mail           0:05:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call
Eric Thompson                6/5/2007 Mississippi                     Electronic mail MM        0:05:00
                                                                      regarding NP
                                                                      agreements
Eric Thompson                6/5/2007 Mississippi                     Telephone call with       0:07:00
                                                                      SN regarding
                                                                      MDHS plan
Eric Thompson                6/5/2007 Mississippi                     Electronic mail KR        0:09:00
                                                                      regarding monitor
Eric Thompson                6/5/2007 Mississippi                     Electronic mail           0:14:00
                                                                      regarding
                                                                      co-counsel
                                                                      telephone call
Eric Thompson                6/5/2007 Mississippi                     Review MDHS draft         2:16:00
                                                                      plan

Total: 6/5/2007
                                                                                      2.93


Eric Thompson                6/6/2007 Mississippi                     Telephone call with       0:09:00
                                                                      NP regarding
                                                                      settlement
Eric Thompson                6/6/2007 Mississippi                     Telephone call with       0:15:00
                                                                      SN, MRL regarding
                                                                      MDHS plan
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 253 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   49



User                      Date        Client                          Description            Time Spent


Eric Thompson                6/6/2007 Mississippi                     Telephone call with       0:15:00
                                                                      mediator, email
                                                                      regarding schedule
Eric Thompson                6/6/2007 Mississippi                     Review MDHS plan          0:36:00
                                                                      analysis; telephone
                                                                      call with SN, email
                                                                      co-counsel
                                                                      regarding same
Eric Thompson                6/6/2007 Mississippi                     Review MDHS plan;         0:45:00
                                                                      letter to RF
                                                                      regarding same

Total: 6/6/2007
                                                                                      2.00


Eric Thompson                6/8/2007 Mississippi                     Telephone call with       0:06:00
                                                                      NP
Eric Thompson                6/8/2007 Mississippi                     Telephone call with       0:12:00
                                                                      JW regarding COA
                                                                      research
Eric Thompson                6/8/2007 Mississippi                     Telephone call,           0:21:00
                                                                      email regarding
                                                                      mediator
Eric Thompson                6/8/2007 Mississippi                     Write letter to RF        1:31:00
                                                                      regarding MDHS
                                                                      plan documents

Total: 6/8/2007
                                                                                      2.17


Eric Thompson               6/11/2007 Mississippi                     Telephone call with       0:50:00
                                                                      co-counsel
                                                                      regarding meeting
                                                                      with COA, mediation
Eric Thompson               6/11/2007 Mississippi                     Prepare 6/12 COA          1:00:00
                                                                      meeting and 6/13
                                                                      mediation
Eric Thompson               6/11/2007 Mississippi                     Meeting with              1:25:00
                                                                      experts regarding
                                                                      COA meeting

Total: 6/11/2007
                                                                                      3.25


Eric Thompson               6/12/2007 Mississippi                     Prepare mediation         0:50:00
                                                                      meeting
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 254 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   50



User                      Date        Client                          Description            Time Spent


Eric Thompson               6/12/2007 Mississippi                     Meeting with              1:40:00
                                                                      experts (MM for
                                                                      part) regarding
                                                                      COA meeting
                                                                      preparation
Eric Thompson               6/12/2007 Mississippi                     Meeting with COA,         3:15:00
                                                                      experts, MM
                                                                      regarding remedial
                                                                      planning

Total: 6/12/2007
                                                                                      5.75


Eric Thompson               6/13/2007 Mississippi                     Meeting with MRL          0:50:00
                                                                      and co-counsel
                                                                      regarding mediation
                                                                      preparation
Eric Thompson               6/13/2007 Mississippi                     Mediation                 3:00:00


Total: 6/13/2007
                                                                                      3.83


Eric Thompson               6/14/2007 Mississippi                     Telephone call with       0:25:00
                                                                      experts regarding
                                                                      COA, mediation info
Eric Thompson               6/14/2007 Mississippi                     Draft consent order;      0:35:00
                                                                      email RF regarding
                                                                      same

Total: 6/14/2007
                                                                                      1.00


Eric Thompson               6/15/2007 Mississippi                     Review emails to          0:05:00
                                                                      Court regarding
                                                                      consent order,
                                                                      argeement
Eric Thompson               6/15/2007 Mississippi                     Review press info         0:06:00
                                                                      regarding DHS
Eric Thompson               6/15/2007 Mississippi                     Electronic mail RF        0:11:00
                                                                      regarding NP
                                                                      settlement relief
Eric Thompson               6/15/2007 Mississippi                     Telephone call with       0:12:00
                                                                      FP to NP regarding
                                                                      settlement relief
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 255 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   51



User                      Date        Client                          Description            Time Spent


Eric Thompson               6/15/2007 Mississippi                     Review KR letter          0:28:00
                                                                      regarding DFCS
                                                                      docs; email experts
                                                                      regarding same

Total: 6/15/2007
                                                                                      1.03


Eric Thompson               6/19/2007 Mississippi                     Telephone call's          0:06:00
                                                                      with SN regarding
                                                                      MDHS document
                                                                      review
Eric Thompson               6/19/2007 Mississippi                     Prepare co-counsel        0:20:00
                                                                      telephone call
                                                                      regarding case
                                                                      tasks
Eric Thompson               6/19/2007 Mississippi                     Telephone call with       0:30:00
                                                                      co-counsel
                                                                      regarding mediator,
                                                                      Monitor, COA,
                                                                      discovery
Eric Thompson               6/19/2007 Mississippi                     Electronic mail           0:40:00
                                                                      COA regarding
                                                                      MDHS
Eric Thompson               6/19/2007 Mississippi                     Review APHSA,             4:40:00
                                                                      NRC Assmts
                                                                      regarding MDHS

Total: 6/19/2007
                                                                                      6.27


Eric Thompson               6/20/2007 Mississippi                     Telephone call with       0:15:00
                                                                      StL re: NRC rpt
Eric Thompson               6/20/2007 Mississippi                     Review MDHS               0:56:08
                                                                      docs; revise ltr to
                                                                      RF re: MDHS draft
                                                                      Plan

Total: 6/20/2007
                                                                                      1.19


Eric Thompson               6/21/2007 Mississippi                     Telephone call with       0:02:29
                                                                      COA, left message
Eric Thompson               6/21/2007 Mississippi                     Telephone call with       0:04:55
                                                                      FP to NP
Eric Thompson               6/21/2007 Mississippi                     Electronic mail RF        0:05:08
                                                                      re: NP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 256 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   52



User                      Date        Client                          Description             Time Spent


Eric Thompson               6/21/2007 Mississippi                     Revise draft               0:20:53
                                                                      comments to
                                                                      MDHS plan; email
                                                                      co-counsel re: same
Eric Thompson               6/21/2007 Mississippi                     Electronic mails           0:22:54
                                                                      SN, MRL re: case
                                                                      contacts, tasks
Eric Thompson               6/21/2007 Mississippi                     Write letter RF re:        0:26:31
                                                                      discovery schedule
Eric Thompson               6/21/2007 Mississippi                      Revise proposed           0:28:05
                                                                      discovery schedule
Eric Thompson               6/21/2007 Mississippi                     Review MDHS plan           0:43:16
                                                                      docs
Eric Thompson               6/21/2007 Mississippi                     Meeting with SN,           1:07:16
                                                                      MRL, PS, TK, JW
                                                                      re: case tasks,
                                                                      NPs, discovery,
                                                                      mediation

Total: 6/21/2007
                                                                                       3.69


Eric Thompson               6/22/2007 Mississippi                     Telephone call with        0:08:00
                                                                      class member
                                                                      regarding MDHS
Eric Thompson               6/22/2007 Mississippi                     Write letter to RF         0:15:00
                                                                      regarding discovery
                                                                      schedule
Eric Thompson               6/22/2007 Mississippi                     Review draft letter        0:15:00
                                                                      to NP; email PS
                                                                      regarding same
Eric Thompson               6/22/2007 Mississippi                     Finalize letter to RF      0:18:00
                                                                      regarding MDHS
                                                                      draft plan

Total: 6/22/2007
                                                                                       0.93


Eric Thompson                7/9/2007 Mississippi                     Review COA letter          0:05:00

Eric Thompson                7/9/2007 Mississippi                     Electronic mail            0:08:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call
Eric Thompson                7/9/2007 Mississippi                     Telephone call with        0:11:00
                                                                      MRL regarding
                                                                      COA, mediator
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 257 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   53



User                      Date        Client                          Description            Time Spent


Eric Thompson                7/9/2007 Mississippi                     Review                    0:15:00
                                                                      correspondence,
                                                                      order regarding
                                                                      mediation schedule
Eric Thompson                7/9/2007 Mississippi                     Review MDHS docs          0:15:00


Total: 7/9/2007
                                                                                      0.89


Eric Thompson               7/10/2007 Mississippi                     Telephone call with       0:12:00
                                                                      SN regarding
                                                                      remedial hearing
Eric Thompson               7/10/2007 Mississippi                     Telephone call with       0:23:00
                                                                      co-counsel
                                                                      regarding
                                                                      mediation, NPs
Eric Thompson               7/10/2007 Mississippi                     Prepare co-counsel        0:25:00
                                                                      telephone call
Eric Thompson               7/10/2007 Mississippi                     Prepare 7/24 MS           0:28:00
                                                                      mtgs
Eric Thompson               7/10/2007 Mississippi                     Telephone call with       0:35:00
                                                                      SL regarding
                                                                      conference call with
                                                                      RF
Eric Thompson               7/10/2007 Mississippi                     Write letter to RF        0:42:00
                                                                      regardind disc.
Eric Thompson               7/10/2007 Mississippi                     Telephone call with       0:58:00
                                                                      SN regarding disc
                                                                      needs

Total: 7/10/2007
                                                                                      3.72


Eric Thompson               7/11/2007 Mississippi                     Electronic mail           0:11:00
                                                                      witness
Eric Thompson               7/11/2007 Mississippi                     Telephone call with       0:12:00
                                                                      source regarding
                                                                      MDHS
Eric Thompson               7/11/2007 Mississippi                     Electronic mail MM        0:16:00
                                                                      regarding witness
                                                                      docs
Eric Thompson               7/11/2007 Mississippi                     Review Felder dep         0:40:00


Total: 7/11/2007
                                                                                      1.32
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 258 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   54



User                      Date        Client                          Description            Time Spent


Eric Thompson               7/12/2007 Mississippi                     Review proposed           0:35:00
                                                                      discovery schedule;
                                                                      telephone call with
                                                                      RF regarding same
Eric Thompson               7/12/2007 Mississippi                     Review new draft          0:48:00
                                                                      FOFs
Eric Thompson               7/12/2007 Mississippi                     Revise FOF for            3:06:00
                                                                      remedial hearing

Total: 7/12/2007
                                                                                      4.48


Eric Thompson               7/13/2007 Mississippi                     Electronic mail           0:14:00
                                                                      experts regarding
                                                                      COA timing
Eric Thompson               7/13/2007 Mississippi                     Telephone call with       0:16:00
                                                                      source regarding
                                                                      class members
Eric Thompson               7/13/2007 Mississippi                     Electronic mail           0:21:00
                                                                      COA regarding
                                                                      MDHS assmts
Eric Thompson               7/13/2007 Mississippi                     Telephone call with       0:25:00
                                                                      co-counsel
                                                                      regarding mediation
Eric Thompson               7/13/2007 Mississippi                     Write letter to RF        0:35:00
                                                                      regarding disc
                                                                      agreement
Eric Thompson               7/13/2007 Mississippi                     Telephone call with       0:41:00
                                                                      source regarding
                                                                      class member;
                                                                      email co-counsel
                                                                      regarding same
Eric Thompson               7/13/2007 Mississippi                     Revise FOF outline        0:50:00
                                                                      for hearing
Eric Thompson               7/13/2007 Mississippi                     Telephone call with       1:06:00
                                                                      COA regarding
                                                                      timing; MDHS info;
                                                                      emails co-counsel
                                                                      regarding same

Total: 7/13/2007
                                                                                      4.46


Eric Thompson               7/16/2007 Mississippi                     Telephone call with       0:10:00
                                                                      witness
Eric Thompson               7/16/2007 Mississippi                     Draft remedial trial      2:22:00
                                                                      plan
Eric Thompson               7/16/2007 Mississippi                     Revise FOF outline        2:51:00
                                                                      for remedial hearing
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 259 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   55



User                      Date        Client                          Description             Time Spent



Total: 7/16/2007
                                                                                       5.39


Eric Thompson               7/17/2007 Mississippi                     Telephone call with        0:09:00
                                                                      SN regarding case
                                                                      tasks
Eric Thompson               7/17/2007 Mississippi                     Telephone call with        0:54:00
                                                                      co-counsel
                                                                      regarding
                                                                      mediation, remedial
                                                                      hearing
Eric Thompson               7/17/2007 Mississippi                     Revise FOF                 2:21:00


Total: 7/17/2007
                                                                                       3.40


Eric Thompson               7/18/2007 Mississippi                     Telephone call with        0:04:00
                                                                      NP, left message
Eric Thompson               7/18/2007 Mississippi                     Electronic mail KR         0:12:00
                                                                      regarding NP docs
Eric Thompson               7/18/2007 Mississippi                     Revise FOF                 2:00:00


Total: 7/18/2007
                                                                                       2.27


Eric Thompson               7/19/2007 Mississippi                     Telephone call with        0:07:00
                                                                      source regarding
                                                                      mediator
Eric Thompson               7/19/2007 Mississippi                     Telephone call with        0:10:00
                                                                      SN regarding 5th
                                                                      Circuit caselaw for
                                                                      remedial hearing
Eric Thompson               7/19/2007 Mississippi                     Telephone call with        0:24:00
                                                                      SN, source
                                                                      regarding MDHS,
                                                                      class members
Eric Thompson               7/19/2007 Mississippi                     Telephone call with        0:25:00
                                                                      COA
Eric Thompson               7/19/2007 Mississippi                     Telephone call with        0:28:00
                                                                      NP; telephone call
                                                                      with FP to NP
Eric Thompson               7/19/2007 Mississippi                     Draft remedial trial       0:59:00
                                                                      plan
Eric Thompson               7/19/2007 Mississippi                     Revise FOF                 1:05:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 260 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   56



User                      Date        Client                          Description           Time Spent


Eric Thompson               7/19/2007 Mississippi                     Review MDHS draft        1:34:00
                                                                      plan

Total: 7/19/2007
                                                                                     5.21


Eric Thompson               7/20/2007 Mississippi                     Telephone call with      0:08:00
                                                                      SL, RF regarding
                                                                      mediation
                                                                      scheduling
Eric Thompson               7/20/2007 Mississippi                     Electronic mail KR       0:08:00
                                                                      regarding NP
                                                                      meeting
Eric Thompson               7/20/2007 Mississippi                     Prepare co-counsel       0:10:00
                                                                      t/c
Eric Thompson               7/20/2007 Mississippi                     Electronic mail          0:11:00
                                                                      MRL, SN regarding
                                                                      COA
Eric Thompson               7/20/2007 Mississippi                     Electronic mails RA      0:35:00
                                                                      regarding mediation
                                                                      schedule
Eric Thompson               7/20/2007 Mississippi                     Telephone call with      0:40:00
                                                                      co-counsel
                                                                      regarding MDHS
                                                                      plan, COA,
                                                                      mediation

Total: 7/20/2007
                                                                                     1.86


Eric Thompson               7/23/2007 Mississippi                     Electronic mail KR       0:05:00
                                                                      regarding NP
                                                                      meeting, docs
Eric Thompson               7/23/2007 Mississippi                     Electronic mail RF,      0:14:00
                                                                      co-counsel
                                                                      regarding mediation
                                                                      schedule
Eric Thompson               7/23/2007 Mississippi                     Electronic mail MRL      0:14:00
                                                                      regarding meetings
Eric Thompson               7/23/2007 Mississippi                     Electronic mails         0:18:00
                                                                      sources regarding
                                                                      meeting
Eric Thompson               7/23/2007 Mississippi                     Review research          0:43:00
                                                                      memo regarding
                                                                      rememdies
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 261 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   57



User                      Date        Client                          Description           Time Spent



Total: 7/23/2007
                                                                                     1.56


Eric Thompson               7/24/2007 Mississippi                     Telephone call with      0:08:00
                                                                      SN regarding
                                                                      response to DHS
                                                                      plan
Eric Thompson               7/24/2007 Mississippi                     Telephone call with      0:12:00
                                                                      MRL, SN regarding
                                                                      COA
Eric Thompson               7/24/2007 Mississippi                     Telephone call with      0:12:00
                                                                      LG regarding
                                                                      remedies research
Eric Thompson               7/24/2007 Mississippi                     Telephone call with      0:13:00
                                                                      expert regarding
                                                                      COA, docs
Eric Thompson               7/24/2007 Mississippi                     Review letters from      0:24:00
                                                                      RK regarding NP
                                                                      docs, COA docs;
                                                                      emails regarding
                                                                      same
Eric Thompson               7/24/2007 Mississippi                     Telephone call with      0:28:00
                                                                      COA regarding
                                                                      proposal timing;
                                                                      email co-counsel
                                                                      regarding same
Eric Thompson               7/24/2007 Mississippi                     Review info              0:38:00
                                                                      regarding DHS plan
                                                                      deficiencies

Total: 7/24/2007
                                                                                     2.25


Eric Thompson               7/26/2007 Mississippi                     Review intakes;          0:14:00
                                                                      emails regarding
                                                                      same
Eric Thompson               7/26/2007 Mississippi                     Review NP records        0:32:00

Eric Thompson               7/26/2007 Mississippi                     Revise letters to        0:45:00
                                                                      NPs regarding DHS
                                                                      docs
Eric Thompson               7/26/2007 Mississippi                     Review and analyze       1:09:00
                                                                      recent DHS data

Total: 7/26/2007
                                                                                     2.66
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 262 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   58



User                      Date        Client                          Description            Time Spent


Eric Thompson               7/27/2007 Mississippi                     Telephone call with       0:05:00
                                                                      TK regarding DHS
                                                                      data search
Eric Thompson               7/27/2007 Mississippi                     Telephone call with       0:16:00
                                                                      expert; email MRL
                                                                      regarding same
Eric Thompson               7/27/2007 Mississippi                     Electronic mail           0:18:00
                                                                      source regarding
                                                                      MDHS data
Eric Thompson               7/27/2007 Mississippi                     Analyze recent            2:15:00
                                                                      DHS caseload data;
                                                                      email COA, expert
                                                                      regarding same
Eric Thompson               7/27/2007 Mississippi                     Draft letter reponse      3:04:00
                                                                      regarding MDHS
                                                                      plan
Eric Thompson               7/27/2007 Mississippi                     Prepare DHS plan          5:40:00
                                                                      comments

Total: 7/27/2007
                                                                                     11.64


Eric Thompson               7/31/2007 Mississippi                     Telephone call with       0:09:00
                                                                      SL regarding
                                                                      mediation
Eric Thompson               7/31/2007 Mississippi                     Telephone call with       0:22:00
                                                                      co-counsel
                                                                      regarding case
                                                                      tasks, mediation
Eric Thompson               7/31/2007 Mississippi                     Review recent DHS         0:23:00
                                                                      budget
                                                                      docs/progress
                                                                      reports
Eric Thompson               7/31/2007 Mississippi                     Prepare co-counsel        0:28:00
                                                                      t/c
Eric Thompson               7/31/2007 Mississippi                     Draft DHS plan            4:44:00
                                                                      comments

Total: 7/31/2007
                                                                                      6.10


Eric Thompson                8/1/2007 Mississippi                     Finalize DHS plan         0:29:00
                                                                      response
Eric Thompson                8/1/2007 Mississippi                     Review APHSA              0:33:00
                                                                      docs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 263 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   59



User                      Date        Client                          Description            Time Spent



Total: 8/1/2007
                                                                                      1.03


Eric Thompson                8/2/2007 Mississippi                     Telephone call with       0:04:00
                                                                      PS regarding
                                                                      witness
Eric Thompson                8/2/2007 Mississippi                     Telephone call with       0:04:00
                                                                      witness, left
                                                                      message
Eric Thompson                8/2/2007 Mississippi                     Review draft letter       0:07:00
                                                                      to NP; email PS,
                                                                      SN regarding same
Eric Thompson                8/2/2007 Mississippi                     Electronic mail           0:10:00
                                                                      expert, COA
Eric Thompson                8/2/2007 Mississippi                     Telephone call with       1:17:00
                                                                      source regarding
                                                                      DFCS; email
                                                                      co-counsel
                                                                      regarding same

Total: 8/2/2007
                                                                                      1.71


Eric Thompson                8/3/2007 Mississippi                     Review expert             0:19:00
                                                                      questions regarding
                                                                      DHS progress report
Eric Thompson                8/3/2007 Mississippi                     Review COA letter;        0:25:00
                                                                      telephone call with
                                                                      MRL regarding
                                                                      same
Eric Thompson                8/3/2007 Mississippi                     Revise RK letter          0:30:00
                                                                      regarding NP
Eric Thompson                8/3/2007 Mississippi                     Review recent DHS         0:35:00
                                                                      info for mediation

Total: 8/3/2007
                                                                                      1.82


Eric Thompson                8/6/2007 Mississippi                     Electronic mail RF        0:06:00
                                                                      regarding mediation
Eric Thompson                8/6/2007 Mississippi                     Electronic mail           0:06:00
                                                                      source regarding
                                                                      meeting
Eric Thompson                8/6/2007 Mississippi                     Review draft doc          0:15:00
                                                                      requests
Eric Thompson                8/6/2007 Mississippi                     Prepare remedial          0:29:00
                                                                      hearing plan
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 264 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   60



User                      Date        Client                          Description            Time Spent


Eric Thompson                8/6/2007 Mississippi                     Prepare meetings          0:44:00
                                                                      with sources
Eric Thompson                8/6/2007 Mississippi                     Prepare remedial          0:47:00
                                                                      hearing co-counsel
                                                                      preparation
                                                                      meeting; email
                                                                      co-counsel
                                                                      regarding same
Eric Thompson                8/6/2007 Mississippi                     Prepare mediation         1:48:00
                                                                      materials, info

Total: 8/6/2007
                                                                                      4.24


Eric Thompson                8/7/2007 Mississippi                     Telephone call with       0:12:00
                                                                      source
Eric Thompson                8/7/2007 Mississippi                     Meeting with KR,          0:24:00
                                                                      KM regarding NP
Eric Thompson                8/7/2007 Mississippi                     Meeting with              2:13:00
                                                                      witnesses regarding
                                                                      DHS

Total: 8/7/2007
                                                                                      2.82


Eric Thompson                8/8/2007 Mississippi                     Meeting with MRL          0:22:00
                                                                      regarding mediation
                                                                      prep
Eric Thompson                8/8/2007 Mississippi                     Telephone call with       0:25:00
                                                                      SN, YK, PS
                                                                      regarding remedial
                                                                      hearing prep
Eric Thompson                8/8/2007 Mississippi                     Meeting with with         0:30:00
                                                                      class member in
                                                                      Gulfport
Eric Thompson                8/8/2007 Mississippi                     Meeting with MRL,         0:45:00
                                                                      SL regarding
                                                                      mediation prep
Eric Thompson                8/8/2007 Mississippi                     mediation                 1:00:00

Eric Thompson                8/8/2007 Mississippi                     Telephone call with       1:17:00
                                                                      co-counsel
                                                                      regarding remedial
                                                                      hearing prep
Eric Thompson                8/8/2007 Mississippi                     Meeting with              1:45:00
                                                                      witnesses in
                                                                      Hattiesburg
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 265 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   61



User                      Date        Client                          Description            Time Spent



Total: 8/8/2007
                                                                                      6.07


Eric Thompson                8/9/2007 Mississippi                     Electronic mail MRL       0:06:00
                                                                      regarding COA
Eric Thompson                8/9/2007 Mississippi                     Telephone call with       0:08:00
                                                                      COA regarding
                                                                      process
Eric Thompson                8/9/2007 Mississippi                     Revise co-counsel         0:10:00
                                                                      t/c minutes
Eric Thompson                8/9/2007 Mississippi                     Telephone call with       0:17:00
                                                                      SN, PS (part)
                                                                      regarding disc prep

Total: 8/9/2007
                                                                                      0.68


Eric Thompson               8/10/2007 Mississippi                     Telephone call with       0:16:00
                                                                      PS regarding
                                                                      remedial memo
Eric Thompson               8/10/2007 Mississippi                     Telephone call with       0:21:00
                                                                      MRL regarding
                                                                      case tasks
Eric Thompson               8/10/2007 Mississippi                     Prepare work plan         2:33:00
                                                                      for remedial hearing
                                                                      hearing prep

Total: 8/10/2007
                                                                                      3.17


Eric Thompson               8/27/2007 Mississippi                     Review Ds' motion         0:11:00
                                                                      regarding SDP
Eric Thompson               8/27/2007 Mississippi                     Telephone call with       0:22:00
                                                                      SN regarding case
                                                                      tasks, motion
Eric Thompson               8/27/2007 Mississippi                     Telephone call with       0:35:00
                                                                      MRL regarding
                                                                      mediation

Total: 8/27/2007
                                                                                      1.13


Eric Thompson               8/28/2007 Mississippi                     Telephone call with       0:08:00
                                                                      MRL, SN regarding
                                                                      email to mediator
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 266 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   62



User                      Date        Client                          Description            Time Spent


Eric Thompson               8/28/2007 Mississippi                     Telephone call with       0:17:00
                                                                      co-counsel
                                                                      regarding mediation
Eric Thompson               8/28/2007 Mississippi                     Telephone call with       0:19:00
                                                                      SN regarding
                                                                      discovery
Eric Thompson               8/28/2007 Mississippi                     Telephone call with       0:28:00
                                                                      SN regarding doc
                                                                      requests
Eric Thompson               8/28/2007 Mississippi                     Revise email to           0:42:00
                                                                      mediator
Eric Thompson               8/28/2007 Mississippi                     Telephone call with       0:43:00
                                                                      co-counsel
                                                                      regarding
                                                                      mediation, discovery
Eric Thompson               8/28/2007 Mississippi                     Prepare co-counsel        0:55:00
                                                                      telephone call
Eric Thompson               8/28/2007 Mississippi                     Revise doc requests       2:05:00


Total: 8/28/2007
                                                                                      5.62


Eric Thompson               8/30/2007 Mississippi                     Telephone call with       0:24:00
                                                                      COA regarding MS
                                                                      contact; email
                                                                      regarding same
Eric Thompson               8/30/2007 Mississippi                     Revise expedited          2:04:00
                                                                      RFPDs

Total: 8/30/2007
                                                                                      2.47


Eric Thompson               8/31/2007 Mississippi                     Telephone call with       0:07:00
                                                                      SN regarding
                                                                      RFPDs
Eric Thompson               8/31/2007 Mississippi                     Review co-counsel         0:07:00
                                                                      t/c minutes
Eric Thompson               8/31/2007 Mississippi                     Draft expedited rogs      1:05:00

Eric Thompson               8/31/2007 Mississippi                     Revise RFPDs              1:41:00
                                                                      email TK regarding
                                                                      needed info

Total: 8/31/2007
                                                                                      3.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 267 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   63



User                      Date        Client                          Description            Time Spent


Eric Thompson                9/4/2007 Mississippi                     Telephone call with       0:13:00
                                                                      co-counsel
                                                                      regarding
                                                                      discovery, SDP
                                                                      motion, mediation
Eric Thompson                9/4/2007 Mississippi                     Draft RFPDs               0:17:00
                                                                      Appendix A
Eric Thompson                9/4/2007 Mississippi                     Draft response to         5:12:00
                                                                      Ds' SDP motion

Total: 9/4/2007
                                                                                      5.70


Eric Thompson                9/5/2007 Mississippi                     Conference with           0:41:48
                                                                      SN, PS, YK, TK, JP
                                                                      re: discovery,
                                                                      motion response
Eric Thompson                9/5/2007 Mississippi                     Conference call           1:00:33
                                                                      with Ds, COA,
                                                                      mediator re: plan;
                                                                      prep for same
Eric Thompson                9/5/2007 Mississippi                     Revise RFPDs,             5:04:18
                                                                      Rogs

Total: 9/5/2007
                                                                                      6.78


Eric Thompson                9/6/2007 Mississippi                     Conference with JP        0:08:22
                                                                      re: opp to motion
                                                                      re: SDP
Eric Thompson                9/6/2007 Mississippi                     Finalizing ltr to RK      0:09:53
                                                                      re: NP
Eric Thompson                9/6/2007 Mississippi                     Telephone call with       0:10:00
                                                                      StL re: Rogs
Eric Thompson                9/6/2007 Mississippi                     Conference with SN        0:14:17
                                                                      re: COA mtg prep
Eric Thompson                9/6/2007 Mississippi                     Conference with           0:55:45
                                                                      SN, MRL re: mtg w/
                                                                      COA prep (MRL for
                                                                      part)
Eric Thompson                9/6/2007 Mississippi                     Finalizing expedited      1:48:33
                                                                      RFPDs and Rogs

Total: 9/6/2007
                                                                                      3.45


Eric Thompson                9/7/2007 Mississippi                     Draft remedial plan       5:46:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 268 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   64



User                      Date        Client                          Description             Time Spent



Total: 9/7/2007
                                                                                       5.77


Eric Thompson                9/8/2007 Mississippi                     Draft remedial plan        0:50:00

Eric Thompson                9/8/2007 Mississippi                     Draft Opp. to SDP          1:55:00
                                                                      motion

Total: 9/8/2007
                                                                                       2.75


Eric Thompson                9/9/2007 Mississippi                     Telephone call with        0:26:00
                                                                      MRL, SN regarding
                                                                      remedial plan

Total: 9/9/2007
                                                                                       0.43


Eric Thompson               9/10/2007 Mississippi                     Conference with            0:53:50
                                                                      MRL, SN re:
                                                                      remedial plan
Eric Thompson               9/10/2007 Mississippi                     Draft opposition to        1:06:13
                                                                      SDP motion
Eric Thompson               9/10/2007 Mississippi                     Draft remedial order       1:50:23

Eric Thompson               9/10/2007 Mississippi                     Conference with            1:50:38
                                                                      SN, JP (for part) re:
                                                                      remedial order

Total: 9/10/2007
                                                                                       5.68


Eric Thompson               9/11/2007 Mississippi                     Electronic mail MRL        0:04:48
                                                                      re: remedial plan
Eric Thompson               9/11/2007 Mississippi                     Electronic mail            0:16:16
                                                                      co-counsel re:
                                                                      remedial plan
Eric Thompson               9/11/2007 Mississippi                     Prepare mediation          0:31:41
                                                                      mtg w/ COA, Ds
Eric Thompson               9/11/2007 Mississippi                     Conference call            0:40:04
                                                                      with sources, SN
                                                                      re: DFCS
Eric Thompson               9/11/2007 Mississippi                     Review Ds'                 1:08:51
                                                                      discovery requests;
                                                                      conf w/ SN, TK re:
                                                                      same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 269 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   65



User                      Date        Client                          Description            Time Spent


Eric Thompson               9/11/2007 Mississippi                     Draft opp to SDP          1:25:49
                                                                      motion
Eric Thompson               9/11/2007 Mississippi                     Meeting with COA,         2:26:00
                                                                      Ds re: remedial plan

Total: 9/11/2007
                                                                                      6.56


Eric Thompson               9/12/2007 Mississippi                     Telephone call with       0:05:00
                                                                      FP
Eric Thompson               9/12/2007 Mississippi                     Telephone call with       0:10:00
                                                                      class member
Eric Thompson               9/12/2007 Mississippi                     Conference with           0:25:00
                                                                      MRL, SN, PS, TK
                                                                      re: remedial plan
Eric Thompson               9/12/2007 Mississippi                     Draft remedial plan       1:46:22

Eric Thompson               9/12/2007 Mississippi                     Meeting with COA,         2:25:00
                                                                      Ds re: remedial plan
Eric Thompson               9/12/2007 Mississippi                     Revise draft              2:42:00
                                                                      opposition to SDP
                                                                      motion

Total: 9/12/2007
                                                                                      7.56


Eric Thompson               9/13/2007 Mississippi                     Telephone call with       0:18:00
                                                                      MRL, SN, RF, RA
                                                                      regarding mediation
Eric Thompson               9/13/2007 Mississippi                     Telephone call with       0:27:00
                                                                      SN, MRL regarding
                                                                      remediation
Eric Thompson               9/13/2007 Mississippi                     Draft remedial plan       3:32:00
                                                                      benchmarks
Eric Thompson               9/13/2007 Mississippi                     Finalize Opp to           4:21:00
                                                                      SDP motion, exh's;
                                                                      file same

Total: 9/13/2007
                                                                                      8.63


Eric Thompson               9/14/2007 Mississippi                     Draft remedial plan       8:00:00
                                                                      benchmarks

Total: 9/14/2007
                                                                                      8.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 270 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   66



User                      Date        Client                          Description            Time Spent


Eric Thompson               9/16/2007 Mississippi                     Draft rememdial           2:45:00
                                                                      plna benchmarks

Total: 9/16/2007
                                                                                      2.75


Eric Thompson               9/17/2007 Mississippi                     Electronic mail to        0:11:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call
Eric Thompson               9/17/2007 Mississippi                     Telephone call with       0:13:00
                                                                      class member
Eric Thompson               9/17/2007 Mississippi                     Write letter to HP,       0:45:00
                                                                      RF
Eric Thompson               9/17/2007 Mississippi                     Draft plan                4:02:00
                                                                      benchmarks

Total: 9/17/2007
                                                                                      5.18


Eric Thompson               9/18/2007 Mississippi                     Telephone call with       0:20:00
                                                                      co-counsel
                                                                      regarding remedial
                                                                      plan, discovery
Eric Thompson               9/18/2007 Mississippi                     Telephone call with       0:47:00
                                                                      SN regarding
                                                                      reform plan
Eric Thompson               9/18/2007 Mississippi                     Review Ds' edits to       2:10:00
                                                                      reform plan
Eric Thompson               9/18/2007 Mississippi                     Revise draft              7:31:00
                                                                      benchmarks and
                                                                      implementation plan

Total: 9/18/2007
                                                                                    10.80


Eric Thompson               9/19/2007 Mississippi                     Review Ds'                2:37:25
                                                                      proposed reform
                                                                      plan
Eric Thompson               9/19/2007 Mississippi                     Revise remedial           3:25:43
                                                                      plan
Eric Thompson               9/19/2007 Mississippi                     Meeting with Ds,          4:45:00
                                                                      SN re: remedial plan

Total: 9/19/2007
                                                                                    10.80
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 271 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   67



User                      Date        Client                          Description             Time Spent


Eric Thompson               9/20/2007 Mississippi                     Conference with            0:08:26
                                                                      SN, JP re: remedial
                                                                      plan
Eric Thompson               9/20/2007 Mississippi                     Meeting with Ds,           2:55:21
                                                                      SN re: remedial plan
Eric Thompson               9/20/2007 Mississippi                     Draft                      6:16:27
                                                                      implementation plan

Total: 9/20/2007
                                                                                       9.33


Eric Thompson               9/21/2007 Mississippi                     Review remedial            3:09:00
                                                                      plan, info regarding
                                                                      same; edit plan

Total: 9/21/2007
                                                                                       3.15


Eric Thompson               9/24/2007 Mississippi                     Review Ds' reply           0:07:00
                                                                      regarding SDP
                                                                      motion
Eric Thompson               9/24/2007 Mississippi                     Electronic mail RF         0:07:00
                                                                      regarding plan
                                                                      provisions
Eric Thompson               9/24/2007 Mississippi                     Electronic mail            0:11:00
                                                                      mediator regarding
                                                                      mediation status
Eric Thompson               9/24/2007 Mississippi                     Electronic mail            0:19:00
                                                                      co-counsel
                                                                      regarding telephone
                                                                      call, mediation

Total: 9/24/2007
                                                                                       0.74


Eric Thompson               9/25/2007 Mississippi                     Draft remedial plan        0:14:35
                                                                      provision; email Ds
                                                                      re: same
Eric Thompson               9/25/2007 Mississippi                     Conference call            1:12:00
                                                                      with Ds, SN, JP re:
                                                                      remedial plan
Eric Thompson               9/25/2007 Mississippi                     Conference calls           1:25:00
                                                                      with co-counsel re:
                                                                      remedial plan
Eric Thompson               9/25/2007 Mississippi                     Conferences with           1:32:26
                                                                      JP, SN re: remedial
                                                                      plan
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 272 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   68



User                      Date        Client                          Description            Time Spent



Total: 9/25/2007
                                                                                      4.40


Eric Thompson               9/26/2007 Mississippi                     Telephone call with       0:02:52
                                                                      NP's placement
                                                                      case manager; left
                                                                      message
Eric Thompson               9/26/2007 Mississippi                     Conference call           0:17:00
                                                                      with Ds, mediator,
                                                                      SN, JP
Eric Thompson               9/26/2007 Mississippi                     Conference call           0:32:00
                                                                      with Ds, COA, SN,
                                                                      JP re: remedial plan
Eric Thompson               9/26/2007 Mississippi                     Review draft              0:51:03
                                                                      discovery
                                                                      responses; discuss
                                                                      same w/ TK
Eric Thompson               9/26/2007 Mississippi                     Review and draft          1:11:49
                                                                      remedial order
                                                                      provisions

Total: 9/26/2007
                                                                                      2.91


Eric Thompson               9/27/2007 Mississippi                     Telephone call with       0:10:00
                                                                      contact at St.
                                                                      Francis regarding
                                                                      NP

Total: 9/27/2007
                                                                                      0.17


Eric Thompson               10/2/2007 Mississippi                     Telephone call with       0:02:01
                                                                      NP re: placement
Eric Thompson               10/2/2007 Mississippi                     Telephone call with       0:09:00
                                                                      NP's placement
Eric Thompson               10/2/2007 Mississippi                     Telephone call with       0:18:00
                                                                      StL re: mediation
Eric Thompson               10/2/2007 Mississippi                     Telephone call with       0:19:00
                                                                      MRL regarding
                                                                      remedial plan
Eric Thompson               10/2/2007 Mississippi                     Conference call           0:20:00
                                                                      with co-counsel re:
                                                                      mediation,
                                                                      expedited discovery
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 273 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   69



User                      Date        Client                          Description            Time Spent


Eric Thompson               10/2/2007 Mississippi                     Conference with           0:25:00
                                                                      MRL, SN re:
                                                                      remedial order
Eric Thompson               10/2/2007 Mississippi                     Conference call           0:30:00
                                                                      with mediator, Ds
Eric Thompson               10/2/2007 Mississippi                     Prepare remedial          0:38:14
                                                                      docs for MRL review
Eric Thompson               10/2/2007 Mississippi                     Draft responses to        2:57:44
                                                                      rogs and RFPDs
Eric Thompson               10/2/2007 Mississippi                     Review Ds'                4:24:25
                                                                      proposed IP and
                                                                      benchmarks;
                                                                      prepare counter doc

Total: 10/2/2007
                                                                                     10.06


Eric Thompson               10/3/2007 Mississippi                     Conference with TK        0:21:19
                                                                      re: disc docs
Eric Thompson               10/3/2007 Mississippi                      Conference with          1:09:30
                                                                      SN re:
                                                                      implementation plan
Eric Thompson               10/3/2007 Mississippi                     Conference calls          3:09:23
                                                                      with Ds, SN re;
                                                                      remedial plan
Eric Thompson               10/3/2007 Mississippi                     Draft remedial order      8:24:51


Total: 10/3/2007
                                                                                     13.09


Eric Thompson               10/4/2007 Mississippi                     Draft RFPD                0:20:20
                                                                      responses
Eric Thompson               10/4/2007 Mississippi                     Electronic mail to        0:54:28
                                                                      NFs; t/c NFs re:
                                                                      same
Eric Thompson               10/4/2007 Mississippi                     Draft remedial plan,      7:24:27
                                                                      implementation
                                                                      plan; emails Ds re:
                                                                      same; t/c's w/ Ds
                                                                      re: same

Total: 10/4/2007
                                                                                      8.66


Eric Thompson               10/5/2007 Mississippi                     Telephone call with       0:10:00
                                                                      Ds, MRL
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 274 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   70



User                      Date        Client                          Description            Time Spent


Eric Thompson               10/5/2007 Mississippi                     Telephone call with       0:25:00
                                                                      MRL regarding draft
                                                                      plan
Eric Thompson               10/5/2007 Mississippi                     Telephone call with       0:30:00
                                                                      mediator, Ds, MRL
Eric Thompson               10/5/2007 Mississippi                     Draft remedial plan       1:30:00


Total: 10/5/2007
                                                                                      2.59


Eric Thompson               10/9/2007 Mississippi                     Conference call           0:27:05
                                                                      with co-counsel re:
                                                                      remedial order
Eric Thompson               10/9/2007 Mississippi                     Conference call           3:00:40
                                                                      with Ds re: remedial
                                                                      order
Eric Thompson               10/9/2007 Mississippi                     Prepare remedial          3:45:45
                                                                      order

Total: 10/9/2007
                                                                                      7.22


Eric Thompson              10/10/2007 Mississippi                     Electronic mail to        0:16:36
                                                                      RF re: monitor
Eric Thompson              10/10/2007 Mississippi                     Conference call           0:49:00
                                                                      with monitor, MRL
Eric Thompson              10/10/2007 Mississippi                     Review Ds' redlines       1:16:18
                                                                      of remedial order;
                                                                      edit; email Ds re:
                                                                      same
Eric Thompson              10/10/2007 Mississippi                     Draft joint motion        3:26:16
                                                                      for preliminary
                                                                      approval

Total: 10/10/2007
                                                                                      5.81


Eric Thompson              10/11/2007 Mississippi                     Draft notice to           1:41:01
                                                                      class, proposed
                                                                      publication order;
                                                                      email Ds re: same

Total: 10/11/2007
                                                                                      1.68
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 275 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   71



User                      Date        Client                          Description             Time Spent


Eric Thompson              10/12/2007 Mississippi                     Telephone call with        0:00:00
                                                                      Ds, Monitor
                                                                      regarding resource
                                                                      needs, process
Eric Thompson              10/12/2007 Mississippi                     Telephone call with        0:10:00
                                                                      SL, IL regarding
                                                                      monitoring budgets
Eric Thompson              10/12/2007 Mississippi                     Electronic mail            0:19:00
                                                                      co-counsel
                                                                      regarding
                                                                      settlement status
Eric Thompson              10/12/2007 Mississippi                     Telephone call with        1:20:00
                                                                      Monitor regarding
                                                                      resource needs,
                                                                      process

Total: 10/12/2007
                                                                                       1.82


Eric Thompson              10/15/2007 Mississippi                     Electronic mail to         0:00:00
                                                                      RF regarding
                                                                      remedial order

Total: 10/15/2007
                                                                                       0.00


Eric Thompson              10/16/2007 Mississippi                     Telephone call with        0:05:00
                                                                      RF regarding
                                                                      remedial order
Eric Thompson              10/16/2007 Mississippi                     Telephone call with        0:06:00
                                                                      Monitor
Eric Thompson              10/16/2007 Mississippi                     Electronic mail RF         0:14:00
                                                                      and AY regarding
                                                                      final docs
Eric Thompson              10/16/2007 Mississippi                     Electronic mails           0:14:00
                                                                      MRL, SN regarding
                                                                      remedial order
Eric Thompson              10/16/2007 Mississippi                     Electronic mail RF         0:18:00
                                                                      and HP regarding
                                                                      remedial order

Total: 10/16/2007
                                                                                       0.94


Eric Thompson              10/17/2007 Mississippi                     Review RF email            0:06:00
                                                                      regarding AG
                                                                      comments
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 276 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   72



User                      Date        Client                          Description              Time Spent


Eric Thompson              10/17/2007 Mississippi                     Electronic mail Ds          0:15:00
                                                                      regarding edits to
                                                                      remedial order
Eric Thompson              10/17/2007 Mississippi                     Revise remedial             0:18:00
                                                                      order; email Ds
                                                                      regarding same
Eric Thompson              10/17/2007 Mississippi                     Telephone call with         0:22:00
                                                                      MRL, SN regarding
                                                                      AG comments
Eric Thompson              10/17/2007 Mississippi                     Telephone call with         0:24:00
                                                                      Ds, MRL, SN
                                                                      regarding remedial
                                                                      order
Eric Thompson              10/17/2007 Mississippi                     Electronic mail             0:28:00
                                                                      mediator regarding
                                                                      status
Eric Thompson              10/17/2007 Mississippi                     Review edits to             2:05:00
                                                                      remedial order

Total: 10/17/2007
                                                                                        3.97


Eric Thompson              10/18/2007 Mississippi                     Electronic mail             0:06:00
                                                                      monitor

Total: 10/18/2007
                                                                                        0.10


Eric Thompson              10/19/2007 Mississippi                     Electronic mail RF          0:04:00
                                                                      regarding status
Eric Thompson              10/19/2007 Mississippi                     Electronic mail             0:17:00
                                                                      monitor regarding
                                                                      CQI issues

Total: 10/19/2007
                                                                                        0.35


Eric Thompson              10/22/2007 Mississippi                     Telephone call with         0:05:00
                                                                      RF regarding
                                                                      remedial order, joint
                                                                      motion
Eric Thompson              10/22/2007 Mississippi                     Review Ds'                  0:21:00
                                                                      proposed changes
                                                                      to joint motion for
                                                                      preliminary
                                                                      approval, notice;
                                                                      email Ds regarding
                                                                      same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 277 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   73



User                      Date        Client                          Description             Time Spent



Total: 10/22/2007
                                                                                       0.43


Eric Thompson              10/23/2007 Mississippi                     Telephone call with        0:04:00
                                                                      RF regarding status
Eric Thompson              10/23/2007 Mississippi                     Electronic mail            0:08:00
                                                                      monitor regarding
                                                                      status
Eric Thompson              10/23/2007 Mississippi                     Electronic mails           0:14:00
                                                                      rearding remedial
                                                                      order, motion
Eric Thompson              10/23/2007 Mississippi                     Finalize joint motion      1:13:00
                                                                      regarding
                                                                      preliminary approval

Total: 10/23/2007
                                                                                       1.65


Eric Thompson              10/24/2007 Mississippi                     Telephone call with        0:10:00
                                                                      monitor re:
                                                                      agreement status
Eric Thompson              10/24/2007 Mississippi                     Telephone calls            0:11:23
                                                                      with RF; left
                                                                      messages

Total: 10/24/2007
                                                                                       0.36


Eric Thompson              10/25/2007 Mississippi                     Telephone call with        0:09:54
                                                                      PH, HP, MRL re:
                                                                      remedial order; left
                                                                      messages
Eric Thompson              10/25/2007 Mississippi                     Electronic mails re:       0:49:30
                                                                      remedial order;
                                                                      email mediator re:
                                                                      same

Total: 10/25/2007
                                                                                       1.00


Eric Thompson              10/26/2007 Mississippi                     Telephone call with        0:10:00
                                                                      MRL regarding
                                                                      status of remedial
                                                                      order
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 278 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   74



User                      Date        Client                          Description            Time Spent


Eric Thompson              10/26/2007 Mississippi                     Telephone call with       0:10:00
                                                                      monitor regarding
                                                                      remedial order
Eric Thompson              10/26/2007 Mississippi                     Telephone call with       0:14:00
                                                                      SL regarding
                                                                      remedial order

Total: 10/26/2007
                                                                                      0.57


Eric Thompson              10/29/2007 Mississippi                     Electronic mail and       0:14:00
                                                                      telephone call with
                                                                      SL regarding
                                                                      remedial order
Eric Thompson              10/29/2007 Mississippi                     Telephone call with       0:30:00
                                                                      MM, MRL, SL
                                                                      regarding remedial
                                                                      order
Eric Thompson              10/29/2007 Mississippi                     Electronic mails          1:15:00
                                                                      MRL, MM regarding
                                                                      remedial order,
                                                                      hearing, court

Total: 10/29/2007
                                                                                      1.98


Eric Thompson              10/30/2007 Mississippi                     Telephone call with       0:26:00
                                                                      co-counsel
                                                                      regarding remedial
                                                                      order

Total: 10/30/2007
                                                                                      0.43


Eric Thompson              10/31/2007 Mississippi                     Electronic mails          0:06:00
                                                                      MRL, MM regarding
                                                                      hearing date
Eric Thompson              10/31/2007 Mississippi                     Telephone call with       0:12:00
                                                                      SL regarding
                                                                      remedial order
Eric Thompson              10/31/2007 Mississippi                     Telephone call with       0:14:00
                                                                      MRL regarding
                                                                      remedial order
Eric Thompson              10/31/2007 Mississippi                     Telephone call with       0:22:00
                                                                      MRL, MM, SN
                                                                      regarding remedial
                                                                      order
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 279 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   75



User                      Date        Client                          Description            Time Spent


Eric Thompson              10/31/2007 Mississippi                     Prepare for               0:30:00
                                                                      mediator telephone
                                                                      call
Eric Thompson              10/31/2007 Mississippi                     Telephone call with       0:30:00
                                                                      mediator, Ds,
                                                                      co-counsel
                                                                      regarding remedial
                                                                      order
Eric Thompson              10/31/2007 Mississippi                     Electronic mails          0:30:00
                                                                      MM, WD regarding
                                                                      emergency cout
                                                                      conference
Eric Thompson              10/31/2007 Mississippi                     Telephone calls,          0:39:00
                                                                      emails, HP
                                                                      regarding remedial
                                                                      order
Eric Thompson              10/31/2007 Mississippi                     Draft email to HP         2:42:00
                                                                      regarding remedial
                                                                      order; emails to
                                                                      MRL regarding
                                                                      same; research
                                                                      substantial
                                                                      compliance
                                                                      standard

Total: 10/31/2007
                                                                                      5.75


Eric Thompson               11/1/2007 Mississippi                     Telephone call with       0:06:21
                                                                      monitor re: timing
Eric Thompson               11/1/2007 Mississippi                     Telephone call with       0:08:00
                                                                      MRl re: remedial
                                                                      order
Eric Thompson               11/1/2007 Mississippi                     Telephone call with       0:10:00
                                                                      StL re: remedial
                                                                      order
Eric Thompson               11/1/2007 Mississippi                     Electronic mails re;      0:47:46
                                                                      remedial order
Eric Thompson               11/1/2007 Mississippi                     Draft summary of          2:04:28
                                                                      remedial order for
                                                                      NFs; email re; same

Total: 11/1/2007
                                                                                      3.28


Eric Thompson               11/2/2007 Mississippi                     Review joint motion       0:04:37
                                                                      for prelim approval
Eric Thompson               11/2/2007 Mississippi                     Electronic mail to        0:12:26
                                                                      RF re; fairness hrg
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 280 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   76



User                      Date        Client                          Description               Time Spent


Eric Thompson               11/2/2007 Mississippi                     Draft settlement             2:01:54
                                                                      summary for NFs;
                                                                      email re: same
                                                                      (cont'd)

Total: 11/2/2007
                                                                                         2.32


Eric Thompson               11/5/2007 Mississippi                     Electronic mail              0:10:00
                                                                      co-counsel
                                                                      regarding status
Eric Thompson               11/5/2007 Mississippi                     Electronic mails             0:49:00
                                                                      MRL regarding
                                                                      fairness hearing

Total: 11/5/2007
                                                                                         0.99


Eric Thompson               11/6/2007 Mississippi                     Electronic mail              0:05:00
                                                                      regarding MRL
                                                                      regarding filing
Eric Thompson               11/6/2007 Mississippi                     Telephone call with          0:10:00
                                                                      MRL regarding
                                                                      fairness hearing;
                                                                      notice
Eric Thompson               11/6/2007 Mississippi                     Telephone call with          0:12:00
                                                                      SN regarding
                                                                      fairness hearing;
                                                                      notice
Eric Thompson               11/6/2007 Mississippi                     Telephone call with          0:15:00
                                                                      RF regarding
                                                                      fairness hearing;
                                                                      notice
Eric Thompson               11/6/2007 Mississippi                     Electronic mail MM           0:25:00
                                                                      regarding filing for
                                                                      notice
Eric Thompson               11/6/2007 Mississippi                     Electronic mails RF,         0:34:00
                                                                      KR regarding
                                                                      fairness hearing;
                                                                      notice

Total: 11/6/2007
                                                                                         1.69


Eric Thompson               11/7/2007 Mississippi                     Electronic mail RF           0:09:00
                                                                      regarding status
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 281 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   77



User                      Date        Client                          Description            Time Spent


Eric Thompson               11/7/2007 Mississippi                     Revise joint motion,      1:33:00
                                                                      order, notice
                                                                      regarding
                                                                      preliminary
                                                                      approval; telephone
                                                                      call with TK, emails
                                                                      MM regarding filing

Total: 11/7/2007
                                                                                      1.70


Eric Thompson               11/8/2007 Mississippi                     Electronic mail           0:09:00
                                                                      COA regarding final
                                                                      remedial order
Eric Thompson               11/8/2007 Mississippi                     Telephone call with       0:31:00
                                                                      SN regarding
                                                                      remedial order info
Eric Thompson               11/8/2007 Mississippi                     Telephone call with       0:31:00
                                                                      MS contacts
                                                                      regarding remedial
                                                                      order, meetings
Eric Thompson               11/8/2007 Mississippi                     Telephone call with       3:00:00
                                                                      MS contacts
                                                                      regarding remedial
                                                                      order, meetings

Total: 11/8/2007
                                                                                      4.19


Eric Thompson               11/9/2007 Mississippi                     Electronic mail           0:06:00
                                                                      source regarding
                                                                      remedial order
Eric Thompson               11/9/2007 Mississippi                     Electronic mail KR        0:11:00
                                                                      regarding notice
Eric Thompson               11/9/2007 Mississippi                     Telephone call with       0:24:00
                                                                      source regarding
                                                                      remedial order,
                                                                      stakeholder meeting

Total: 11/9/2007
                                                                                      0.68


Eric Thompson              11/12/2007 Mississippi                     Telephone call with       0:05:00
                                                                      source regarding
                                                                      meeting
Eric Thompson              11/12/2007 Mississippi                     Telephone call with       0:12:00
                                                                      Chris C. regarding
                                                                      case status
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 282 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   78



User                      Date        Client                          Description            Time Spent


Eric Thompson              11/12/2007 Mississippi                     Draft joint motion        0:35:00
                                                                      for final approval
Eric Thompson              11/12/2007 Mississippi                     Electronic mail           0:37:00
                                                                      co-counsel
                                                                      regarding case
                                                                      status
Eric Thompson              11/12/2007 Mississippi                     Review source info        0:38:00
                                                                      regarding DHS

Total: 11/12/2007
                                                                                      2.11


Eric Thompson              11/13/2007 Mississippi                     Telephone call with       0:14:00
                                                                      SN regarding NP

Total: 11/13/2007
                                                                                      0.23


Eric Thompson              11/15/2007 Mississippi                     Electronic mail MM        0:08:14
                                                                      re: John A.
Eric Thompson              11/15/2007 Mississippi                     Conference with SN        0:12:23
                                                                      re: NP, MS mtgs
Eric Thompson              11/15/2007 Mississippi                     Conference with           0:19:49
                                                                      SN, TK, JP re: case
                                                                      tasks

Total: 11/15/2007
                                                                                      0.68


Eric Thompson              11/16/2007 Mississippi                     Review NP record          1:10:00
                                                                      updates

Total: 11/16/2007
                                                                                      1.17


Eric Thompson              11/19/2007 Mississippi                     Electronic mail TK        0:12:00
                                                                      regarding NP
                                                                      hearing
Eric Thompson              11/19/2007 Mississippi                     Telephone call with       0:13:00
                                                                      source regarding
                                                                      DHS
Eric Thompson              11/19/2007 Mississippi                     Telephone call with       0:38:00
                                                                      monitor regarding
                                                                      status, next steps
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 283 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   79



User                      Date        Client                          Description            Time Spent



Total: 11/19/2007
                                                                                      1.05


Eric Thompson              11/28/2007 Mississippi                     Meeting with NP in        0:40:00
                                                                      Hattiesburg
Eric Thompson              11/28/2007 Mississippi                     Meeting with              2:00:00
                                                                      stakeholders in
                                                                      Jackson regarding
                                                                      proposed settlement

Total: 11/28/2007
                                                                                      2.67


Eric Thompson              11/29/2007 Mississippi                     Meeting with source       1:00:00
                                                                      regarding DHS
Eric Thompson              11/29/2007 Mississippi                     Meeting with              1:25:00
                                                                      stakeholders in
                                                                      Gulfport regarding
                                                                      proposed settlement

Total: 11/29/2007
                                                                                      2.42


Eric Thompson              11/30/2007 Mississippi                     Electronic mail Ds        0:26:00
                                                                      regarding monitor

Total: 11/30/2007
                                                                                      0.43



Total: Eric Thompson
                                                                                    777.67
       Case 3:04-cv-00251-HSO-ASH     Document 472-5          Filed 05/09/08   Page 284 of 658
5/7/2008                               Children's Rights, Inc.
10:11 AM                              User Defined Slip Listing                               Page   80



User                       Date        Client                          Description            Time Spent


Attorney/Para: Greg Katz
Greg Katz                    1/23/2007 Mississippi                     Cite checking and         5:22:40
                                                                       fact checking
                                                                       stipulated NP case
                                                                       summaries

Total: 1/23/2007
                                                                                       5.38


Greg Katz                    1/25/2007 Mississippi                     Work on NP case           4:15:37
                                                                       summaries -- cite
                                                                       checking and editing

Total: 1/25/2007
                                                                                       4.26


Greg Katz                     2/2/2007 Mississippi                     Discuss Jamison           0:14:46
                                                                       NP pre-trial
                                                                       summary work with
                                                                       Priy Sinha

Total: 2/2/2007
                                                                                       0.25


Greg Katz                     2/3/2007 Mississippi                     Pre-trial work.           3:04:28
                                                                       Adding information
                                                                       and making edits to
                                                                       Jamison' history.

Total: 2/3/2007
                                                                                       3.07



Total: Greg Katz
                                                                                     12.96
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08    Page 285 of 658
5/7/2008                                Children's Rights, Inc.
10:11 AM                               User Defined Slip Listing                                Page   81



User                        Date        Client                          Description             Time Spent


Attorney/Para: Holly Beck
Holly Beck                     1/3/2007 Mississippi                     Research policy            0:48:20
                                                                        manual and CWLA
                                                                        standards for
                                                                        settlement
                                                                        proposal, per SN's
                                                                        instructions

Total: 1/3/2007
                                                                                         0.81


Holly Beck                     1/4/2007 Mississippi                     Proofread redlined         0:51:00
                                                                        edits in revised
                                                                        settlement proposal

Total: 1/4/2007
                                                                                         0.85


Holly Beck                     1/5/2007 Mississippi                     Proofread updated          0:36:52
                                                                        settlement proposal

Total: 1/5/2007
                                                                                         0.61


Holly Beck                     1/8/2007 Mississippi                     Search discovery           0:53:10
                                                                        indices for mention
                                                                        of Ds' three
                                                                        additional witnesses

Total: 1/8/2007
                                                                                         0.89


Holly Beck                     1/9/2007 Mississippi                     Discuss resuming           0:05:00
                                                                        trial prep tasks with
                                                                        JW

Total: 1/9/2007
                                                                                         0.08


Holly Beck                    1/16/2007 Mississippi                     Discuss protocol for       0:25:00
                                                                        cite-checking FRE
                                                                        summaries for NPs
                                                                        with Jessica and
                                                                        Shirim (for part)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 286 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   82



User                      Date        Client                          Description              Time Spent


Holly Beck                  1/16/2007 Mississippi                     Review Ds' FRE              1:20:47
                                                                      summary for John
                                                                      A., cite-check info
                                                                      added by Ds

Total: 1/16/2007
                                                                                        1.77


Holly Beck                  1/17/2007 Mississippi                     Draft letter to next        0:12:10
                                                                      friend per Shirim's
                                                                      instructions

Total: 1/17/2007
                                                                                        0.20


Holly Beck                  1/18/2007 Mississippi                     Cite-check Ds' FRE          0:19:12
                                                                      summary for John
                                                                      A.
Holly Beck                  1/18/2007 Mississippi                     Discuss review and          0:30:00
                                                                      cite-checking of
                                                                      FRE summaries
                                                                      with JW and TK
Holly Beck                  1/18/2007 Mississippi                     Cite-check section          2:24:42
                                                                      of Ds' FRE
                                                                      summary for John
                                                                      A.

Total: 1/18/2007
                                                                                        3.23


Holly Beck                  1/19/2007 Mississippi                     Cite-check John A.          0:32:37
                                                                      FRE summary
                                                                      submitted by Ds
                                                                      (cont'd)

Total: 1/19/2007
                                                                                        0.54


Holly Beck                  1/22/2007 Mississippi                     Telephone call with         0:10:00
                                                                      ET, JW and CR
                                                                      about cite-checking
                                                                      Ds' FRE
                                                                      summaries of NPs
Holly Beck                  1/22/2007 Mississippi                     Cite-check section          1:21:56
                                                                      of FRE summary
                                                                      for John A.
                                                                      submitted by Ds
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 287 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   83



User                      Date        Client                          Description           Time Spent


Holly Beck                  1/22/2007 Mississippi                     Continue                 3:22:41
                                                                      cite-checking
                                                                      section of FRE
                                                                      summary for John
                                                                      A. submitted by Ds

Total: 1/22/2007
                                                                                     4.92


Holly Beck                  1/23/2007 Mississippi                     Continue                 1:08:22
                                                                      cite-checking Ds'
                                                                      FRE summary for
                                                                      John A.
Holly Beck                  1/23/2007 Mississippi                     Continue                 4:40:52
                                                                      cite-checking Ds'
                                                                      FRE summary for
                                                                      John A.

Total: 1/23/2007
                                                                                     5.82


Holly Beck                  1/24/2007 Mississippi                     Continue                 2:25:50
                                                                      cite-checking FRE
                                                                      summary for John
                                                                      A. submitted by Ds
Holly Beck                  1/24/2007 Mississippi                     Continue                 4:22:05
                                                                      cite-checking FRE
                                                                      summary of John
                                                                      A. submitted by Ds

Total: 1/24/2007
                                                                                     6.80


Holly Beck                  1/25/2007 Mississippi                     Continue                 1:43:28
                                                                      cite-checking Ds'
                                                                      FRE summary for
                                                                      John A.
Holly Beck                  1/25/2007 Mississippi                     Continue                 4:38:09
                                                                      cite-checking Ds'
                                                                      FRE summary of
                                                                      John A.

Total: 1/25/2007
                                                                                     6.36
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 288 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   84



User                      Date        Client                          Description             Time Spent


Holly Beck                  1/26/2007 Mississippi                     Continue                   2:44:52
                                                                      cite-checking Ds'
                                                                      FRE summary for
                                                                      John A.
Holly Beck                  1/26/2007 Mississippi                     Continue                   3:16:42
                                                                      cite-checking Ds'
                                                                      FRE summary for
                                                                      John A.

Total: 1/26/2007
                                                                                       6.03


Holly Beck                  1/27/2007 Mississippi                     Continue                   6:06:35
                                                                      cite-checking FRE
                                                                      summary for John
                                                                      A. submitted by Ds

Total: 1/27/2007
                                                                                       6.11


Holly Beck                  1/29/2007 Mississippi                     Review NP docs             0:49:42
                                                                      pertaining to John
                                                                      A. and draft facts
                                                                      for FRE summary
Holly Beck                  1/29/2007 Mississippi                     Continue editing           1:52:40
                                                                      and cite-checking
                                                                      FRE summary for
                                                                      John A. to be
                                                                      submitted to Ds
Holly Beck                  1/29/2007 Mississippi                     Review new version         2:17:34
                                                                      of John A. FRE
                                                                      summary and
                                                                      compare with Ps'
                                                                      original submission
                                                                      to ensure inclusion
                                                                      of all relevant facts
Holly Beck                  1/29/2007 Mississippi                     Continue reviewing         3:26:31
                                                                      new version of John
                                                                      A. FRE summary
                                                                      and comparing with
                                                                      Ps' original
                                                                      submission to
                                                                      ensure inclusion of
                                                                      all relevant facts

Total: 1/29/2007
                                                                                       8.44
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 289 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   85



User                      Date        Client                          Description            Time Spent


Holly Beck                  1/30/2007 Mississippi                     Discuss revisions to      0:10:00
                                                                      be made to set of
                                                                      facts in FRE
                                                                      summary for John
                                                                      A. to be
                                                                      resubmitted to Ds
Holly Beck                  1/30/2007 Mississippi                     Meeting with JW,          0:15:00
                                                                      TK and CR to
                                                                      discuss procedure
                                                                      for cite-checking
                                                                      and editing Jamison
                                                                      and Olivia FRE
                                                                      summaries
Holly Beck                  1/30/2007 Mississippi                     Continue                  1:45:09
                                                                      cite-checking and
                                                                      editing John A. FRE
                                                                      summary
Holly Beck                  1/30/2007 Mississippi                     Research policy           1:47:22
                                                                      and regulations re:
                                                                      disclosure of case
                                                                      records to former
                                                                      foster youth
Holly Beck                  1/30/2007 Mississippi                     Cite-check and edit       2:30:30
                                                                      section of Jamison
                                                                      FRE summary to be
                                                                      submitted to Ds
Holly Beck                  1/30/2007 Mississippi                     Continue editing          2:49:33
                                                                      and cite-checking
                                                                      FRE summary for
                                                                      John A. to be
                                                                      submitted to Ds

Total: 1/30/2007
                                                                                      9.30


Holly Beck                  1/31/2007 Mississippi                     Continue                  2:17:04
                                                                      cite-checking
                                                                      section of
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison J.
Holly Beck                  1/31/2007 Mississippi                     Continue                  4:18:55
                                                                      cite-checking
                                                                      section of
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison J.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 290 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   86



User                      Date        Client                          Description           Time Spent



Total: 1/31/2007
                                                                                     6.60


Holly Beck                   2/1/2007 Mississippi                     Continue                 3:04:39
                                                                      cite-checking
                                                                      section of
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison
Holly Beck                   2/1/2007 Mississippi                     Continue                 5:09:50
                                                                      cite-checking
                                                                      section of Ds' FRE
                                                                      summary for
                                                                      Jamison

Total: 2/1/2007
                                                                                     8.24


Holly Beck                   2/2/2007 Mississippi                     Continue                 0:53:00
                                                                      cite-checking
                                                                      section of
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison
Holly Beck                   2/2/2007 Mississippi                     Continue                 3:54:30
                                                                      cite-checking
                                                                      section of
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison

Total: 2/2/2007
                                                                                     4.79


Holly Beck                   2/3/2007 Mississippi                     Continue                 3:15:22
                                                                      cite-checking
                                                                      Defendants' FRE
                                                                      summary for
                                                                      Jamison

Total: 2/3/2007
                                                                                     3.26
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 291 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   87



User                      Date        Client                          Description             Time Spent


Holly Beck                   2/5/2007 Mississippi                     Discuss tasks for          0:20:00
                                                                      PTO with ET (via
                                                                      phone, for part),
                                                                      JW, TK, CR
Holly Beck                   2/5/2007 Mississippi                     Format and number          3:19:00
                                                                      our revised
                                                                      Jamison FRE
                                                                      summary to be
                                                                      submitted to Ds

Total: 2/5/2007
                                                                                       3.65


Holly Beck                   2/7/2007 Mississippi                     Continue editing           1:20:02
                                                                      our response to Ds'
                                                                      FRE summary for
                                                                      Jamison J.
Holly Beck                   2/7/2007 Mississippi                     Continue editing           3:48:16
                                                                      our response to Ds'
                                                                      FRE summary for
                                                                      Jamison J.

Total: 2/7/2007
                                                                                       5.13


Holly Beck                   2/8/2007 Mississippi                     Prepare exhibits to        0:14:28
                                                                      Ps' sur-reply in
                                                                      opposition to Ds'
                                                                      motion to dismiss
                                                                      NPs
Holly Beck                   2/8/2007 Mississippi                     Discuss remaining          0:15:00
                                                                      tasks for
                                                                      preparation of
                                                                      Jamison J. FRE
                                                                      summary with PS
                                                                      and TK
Holly Beck                   2/8/2007 Mississippi                     Discuss finalizing         0:20:00
                                                                      Jamison FRE
                                                                      summary with PS
                                                                      and ET (for part, via
                                                                      phone)
Holly Beck                   2/8/2007 Mississippi                     Continue editing           1:53:12
                                                                      our FRE summary
                                                                      for Jamison J.
Holly Beck                   2/8/2007 Mississippi                     Continue editing           5:02:00
                                                                      our FRE summary
                                                                      for Jamison J.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 292 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   88



User                      Date        Client                          Description             Time Spent



Total: 2/8/2007
                                                                                       7.74


Holly Beck                   2/9/2007 Mississippi                     Telephone call with        0:13:05
                                                                      PS and ET re:
                                                                      finalizing Jamison
                                                                      J. FRE summary
                                                                      and placement chart
Holly Beck                   2/9/2007 Mississippi                     Continue editing           1:15:52
                                                                      our FRE summary
                                                                      for Jamison J. to be
                                                                      resubmitted to Ds
Holly Beck                   2/9/2007 Mississippi                     Input final edits to       3:18:14
                                                                      FRE summary for
                                                                      Jamison J.
Holly Beck                   2/9/2007 Mississippi                     Input edits and            3:31:34
                                                                      finalize Jamison J.
                                                                      FRE summary

Total: 2/9/2007
                                                                                       8.31


Holly Beck                  2/12/2007 Mississippi                     Telephone call with        0:10:00
                                                                      ET, JW and TK re:
                                                                      preparing PTO to
                                                                      submit to Ds
Holly Beck                  2/12/2007 Mississippi                     Discuss para tasks         0:19:24
                                                                      for PTO finalization
                                                                      with TK and JW
Holly Beck                  2/12/2007 Mississippi                     Finalize exhibit list      2:39:30
                                                                      and deposition
                                                                      designations for
                                                                      PTO to be
                                                                      submitted to
                                                                      Defendants

Total: 2/12/2007
                                                                                       3.15


Holly Beck                  2/13/2007 Mississippi                     Compare Ds'                0:34:35
                                                                      description of
                                                                      exhibit D-64 with
                                                                      produced document
                                                                      of similar
                                                                      description; email
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 293 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   89



User                      Date        Client                          Description            Time Spent


                                                                      SN re: likelihood
                                                                      that the two docs
                                                                      are duplicative

Total: 2/13/2007
                                                                                      0.58


Holly Beck                  2/14/2007 Mississippi                     Review Defendants'        2:34:25
                                                                      PTO witness list
                                                                      and check against
                                                                      Defendants' three
                                                                      initial disclosures

Total: 2/14/2007
                                                                                      2.57


Holly Beck                  2/15/2007 Mississippi                     Review expert facts       0:21:24
                                                                      not included in PTO
                                                                      submissions; email
                                                                      attorneys re:
                                                                      including these in
                                                                      FOF
Holly Beck                  2/15/2007 Mississippi                     Meeting with MS           3:09:50
                                                                      trial team re: tasks
                                                                      for trial prep

Total: 2/15/2007
                                                                                      3.52


Holly Beck                  2/16/2007 Mississippi                     Meeting with              0:20:00
                                                                      Jessica and Eric re:
                                                                      finalizing PTO for
                                                                      court when we get
                                                                      Defendants'
                                                                      response
Holly Beck                  2/16/2007 Mississippi                     Organize FOF              0:23:32
                                                                      folder on f drive
                                                                      with documents for
                                                                      Yasmin to
                                                                      incorporate into
                                                                      new FOF outline
Holly Beck                  2/16/2007 Mississippi                     Meeting with              0:24:00
                                                                      Yasmin and Eric re:
                                                                      preparing FOF
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 294 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   90



User                      Date        Client                          Description               Time Spent


Holly Beck                  2/16/2007 Mississippi                     Proofread Ps                 0:31:31
                                                                      Motion in Limine to
                                                                      exclude
                                                                      post-discovery
                                                                      evidence from trial
Holly Beck                  2/16/2007 Mississippi                     Prepare procedure            0:45:39
                                                                      for drafting findings
                                                                      of fact from
                                                                      Crabtree report;
                                                                      email YGK, ET and
                                                                      SN

Total: 2/16/2007
                                                                                        2.41


Holly Beck                  2/19/2007 Mississippi                     Begin comparing              1:34:03
                                                                      Defendants 2/16
                                                                      PTO with their
                                                                      November PTO;
                                                                      note changes for
                                                                      attys

Total: 2/19/2007
                                                                                        1.57


Holly Beck                  2/20/2007 Mississippi                     Verify that all              0:14:43
                                                                      objections raised to
                                                                      Plaintiffs' exhibits in
                                                                      Defendants 2/16
                                                                      PTO are
                                                                      incorporated into
                                                                      Plaintiffs' PTO for
                                                                      submission to court
Holly Beck                  2/20/2007 Mississippi                     Review emails from           0:15:00
                                                                      SN and ET re: PTO
                                                                      revisions; discuss
                                                                      tasks for revising
                                                                      PTO with JW
Holly Beck                  2/20/2007 Mississippi                     Telephone call with          0:21:00
                                                                      ET, SN, PS, JW,
                                                                      TK and CR re:
                                                                      tasks for submitting
                                                                      revised PTO to Defs
Holly Beck                  2/20/2007 Mississippi                     Telephone call with          0:55:00
                                                                      ET, SN, JW, TK,
                                                                      PS (for part), CR
                                                                      (for part), SB (for
                                                                      part) re: issues in
                                                                      revising PTO
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 295 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   91



User                      Date        Client                          Description            Time Spent


Holly Beck                  2/20/2007 Mississippi                     Review joint 9a           1:07:11
                                                                      facts with ET's
                                                                      redlines and flag
                                                                      those facts not in
                                                                      Plaintiffs' 9a facts
                                                                      submitted to
                                                                      Defendants
Holly Beck                  2/20/2007 Mississippi                     Review Defendants'        2:28:55
                                                                      exhibit list and
                                                                      identify exhibits
                                                                      added since
                                                                      November; report
                                                                      additions to SN
Holly Beck                  2/20/2007 Mississippi                     Continue reviewing        6:06:42
                                                                      joint 9a facts with
                                                                      ET's redlines; flag
                                                                      those facts not in
                                                                      Plaintiffs' 9a facts
                                                                      submitted to
                                                                      Defendants; make
                                                                      revisions in redline
                                                                      for accuracy

Total: 2/20/2007
                                                                                     11.48


Holly Beck                  2/21/2007 Mississippi                     Verify date witness       0:07:44
                                                                      was disclosed in
                                                                      Plaintiffs' initial
                                                                      disclosures for ET
                                                                      memo to
                                                                      Defendants
Holly Beck                  2/21/2007 Mississippi                     Telephone call with       0:17:00
                                                                      ET, SN, CR, JW,
                                                                      and TK re: final
                                                                      tasks for PTO
                                                                      before sending out
                                                                      to Defendants
Holly Beck                  2/21/2007 Mississippi                     Finalizing PTO to         2:00:37
                                                                      be submitted to
                                                                      Defendants;
                                                                      comparing
                                                                      Plaintiffs' and
                                                                      Defendants' most
                                                                      recent drafts and
                                                                      reconciling any
                                                                      differences
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 296 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   92



User                      Date        Client                          Description             Time Spent



Total: 2/21/2007
                                                                                       2.42


Holly Beck                  2/22/2007 Mississippi                     Research Hess              0:26:47
                                                                      findings for Yasmin
                                                                      to insert in the FOF
Holly Beck                  2/22/2007 Mississippi                     Research witness           1:02:43
                                                                      addresses and
                                                                      phone numbers for
                                                                      PTO

Total: 2/22/2007
                                                                                       1.50


Holly Beck                  2/26/2007 Mississippi                     Compile all                1:32:45
                                                                      correspondence
                                                                      with co-counsel re:
                                                                      demonstrative aids;
                                                                      save and forward
                                                                      via email to ET

Total: 2/26/2007
                                                                                       1.55


Holly Beck                  2/27/2007 Mississippi                     Email ET re: status        0:10:12
                                                                      of demonstrative
                                                                      aid development
Holly Beck                  2/27/2007 Mississippi                     Telephone call with        0:40:00
                                                                      CR Mississippi
                                                                      team re: trial tasks

Total: 2/27/2007
                                                                                       0.84


Holly Beck                   3/5/2007 Mississippi                     Discuss FOF and            0:10:10
                                                                      PTO tasks with ET
                                                                      and JW
Holly Beck                   3/5/2007 Mississippi                     Review P-stamped           0:19:46
                                                                      exhibits to be
                                                                      redacted; discuss
                                                                      with ET; email SN
                                                                      re: redactions
Holly Beck                   3/5/2007 Mississippi                     Discuss cites to           0:29:20
                                                                      research/verify in
                                                                      draft FOF with
                                                                      Yasmin
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 297 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   93



User                      Date        Client                          Description             Time Spent


Holly Beck                   3/5/2007 Mississippi                     Begin checking             0:34:04
                                                                      cites flagged by
                                                                      Yasmin in draft FOF
Holly Beck                   3/5/2007 Mississippi                     Continue checking          2:31:50
                                                                      cites flagged by
                                                                      Yasmin in draft FOF

Total: 3/5/2007
                                                                                       4.09


Holly Beck                   3/6/2007 Mississippi                     Review Ds' FRE             0:27:34
                                                                      1006 summary for
                                                                      John A.; cite-check
                                                                      areas of
                                                                      disagreement
Holly Beck                   3/6/2007 Mississippi                     Meeting with SN,           0:28:11
                                                                      ET, TK, JW and CR
                                                                      re: reviewing Defs'
                                                                      FRE summaries
                                                                      and preparing
                                                                      responses
Holly Beck                   3/6/2007 Mississippi                     Continue checking          0:43:06
                                                                      cites in FOF
                                                                      flagged by Yasmin
Holly Beck                   3/6/2007 Mississippi                     Continue reviewing         2:19:34
                                                                      Ds' FRE 1006
                                                                      summary for John
                                                                      A.; cite-check areas
                                                                      of disagreement

Total: 3/6/2007
                                                                                       3.98


Holly Beck                   3/7/2007 Mississippi                     Telephone call with        0:05:03
                                                                      ET re: corrections
                                                                      to make to section
                                                                      of most recent John
                                                                      A. FRE summary
                                                                      submitted by
                                                                      Defendants
Holly Beck                   3/7/2007 Mississippi                     Discuss how to             0:11:58
                                                                      indicate when NP
                                                                      docs were obtained
                                                                      by Defendants in
                                                                      FRE summaries
                                                                      with SN, JW and TK
Holly Beck                   3/7/2007 Mississippi                     Discuss task list for      0:15:00
                                                                      pretrial conference
                                                                      and FOF with JW
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 298 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   94



User                      Date        Client                          Description            Time Spent


Holly Beck                   3/7/2007 Mississippi                     Cite-check                2:06:58
                                                                      Defendants'
                                                                      revisions to John A.
                                                                      FRE summary
                                                                      submitted on 3/6/07

Total: 3/7/2007
                                                                                      2.65


Holly Beck                   3/8/2007 Mississippi                     Continue checking         2:08:31
                                                                      cites added or
                                                                      edited by
                                                                      Defendants in their
                                                                      version of FRE
                                                                      summary for John
                                                                      A. sent to us 3/6/07
Holly Beck                   3/8/2007 Mississippi                     Check cites added         2:41:43
                                                                      or edited by
                                                                      Defendants in their
                                                                      version of FRE
                                                                      summary for John
                                                                      A. sent to us 3/6/07

Total: 3/8/2007
                                                                                      4.84


Holly Beck                   3/9/2007 Mississippi                     Discuss remaining         0:25:23
                                                                      FRE summary
                                                                      tasks with Jessica,
                                                                      Talia, Colin (for
                                                                      part) and Shirim via
                                                                      phone (for part)

Total: 3/9/2007
                                                                                      0.42


Holly Beck                  3/11/2007 Mississippi                     Cite-check and add        5:01:38
                                                                      footnotes indicating
                                                                      when John A. docs
                                                                      were obtained by
                                                                      MDHS to John A.
                                                                      FRE summary

Total: 3/11/2007
                                                                                      5.03
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 299 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   95



User                      Date        Client                          Description             Time Spent


Holly Beck                  3/12/2007 Mississippi                     Two telephone calls        0:14:27
                                                                      with ET re: edits to
                                                                      John A. FRE
                                                                      summary
Holly Beck                  3/12/2007 Mississippi                     Input ET's edits in        2:24:53
                                                                      John A. FRE
                                                                      summary

Total: 3/12/2007
                                                                                       2.65


Holly Beck                  3/13/2007 Mississippi                     Review mandatory           0:20:06
                                                                      disclosures for
                                                                      mention of witness
                                                                      for SN
Holly Beck                  3/13/2007 Mississippi                     Review John A.             0:36:48
                                                                      case file docs with
                                                                      JW to determine
                                                                      third-party source
Holly Beck                  3/13/2007 Mississippi                     Finalize John A.           0:46:03
                                                                      FRE summary to be
                                                                      sent to Defendants
Holly Beck                  3/13/2007 Mississippi                     Meeting with               3:35:47
                                                                      co-counsel at Loeb
                                                                      and Loeb (local
                                                                      counsel via video
                                                                      conference)
                                                                      regarding
                                                                      preparation for trial

Total: 3/13/2007
                                                                                       5.32


Holly Beck                  3/14/2007 Mississippi                     Discuss preparing          0:05:00
                                                                      cross folders for
                                                                      Taylor and Felder
                                                                      with TK
Holly Beck                  3/14/2007 Mississippi                     Discuss process for        0:05:00
                                                                      pulling and
                                                                      reviewing Ds'
                                                                      exhibits (for
                                                                      purpose of
                                                                      interposing
                                                                      objections) with PS
Holly Beck                  3/14/2007 Mississippi                     Meeting with TK,           0:15:12
                                                                      JW and CR re:
                                                                      dividing up
                                                                      Defendants'
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 300 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   96



User                      Date        Client                          Description             Time Spent


                                                                      witnesses for
                                                                      purposes of making
                                                                      cross folders
Holly Beck                  3/14/2007 Mississippi                     Meeting with SN,           0:19:55
                                                                      JW and TK (for
                                                                      part) re: compiling
                                                                      info for NP visual
                                                                      aids
Holly Beck                  3/14/2007 Mississippi                     Meeting with ET,           1:10:06
                                                                      SN, JW, PS, and
                                                                      MRL (for part) re:
                                                                      trial preparation

Total: 3/14/2007
                                                                                       1.91


Holly Beck                  3/15/2007 Mississippi                     Review possible            0:20:00
                                                                      sources for people
                                                                      to check for
                                                                      information for
                                                                      cross folders; email
                                                                      attys with questions
                                                                      re: usefulness of
                                                                      certain doc types
Holly Beck                  3/15/2007 Mississippi                     Prepare guide for          1:40:34
                                                                      creating cross
                                                                      folders, including
                                                                      list of sources to
                                                                      check and where to
                                                                      find them and notes
                                                                      re: specific
                                                                      witnesses on Ds' list
Holly Beck                  3/15/2007 Mississippi                     Prepare PDF of             1:54:34
                                                                      AAP "Fostering
                                                                      Health" 2005 exhibit
                                                                      to send to
                                                                      Defendants

Total: 3/15/2007
                                                                                       3.92


Holly Beck                  3/16/2007 Mississippi                     Telephone call with        0:11:36
                                                                      ET re: sending
                                                                      additional exhibit
                                                                      PDFs to Melody
Holly Beck                  3/16/2007 Mississippi                     Redact internal            0:30:40
                                                                      filing notes on
                                                                      P-stamped exhibits
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 301 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   97



User                      Date        Client                          Description             Time Spent



Total: 3/16/2007
                                                                                       0.70


Holly Beck                  3/19/2007 Mississippi                     Finalize letter to         0:31:11
                                                                      Melody and CD
                                                                      containing exhibit
                                                                      PDFs; prepare and
                                                                      send FedEx
                                                                      package containing
                                                                      same
Holly Beck                  3/19/2007 Mississippi                     Continue preparing         0:36:35
                                                                      resource list and
                                                                      folders for
                                                                      preparation of cross
                                                                      folders
Holly Beck                  3/19/2007 Mississippi                     Add deposition             0:53:50
                                                                      transcript exhibits
                                                                      and depo
                                                                      designations to
                                                                      PTO per ET and J.
                                                                      Piskora's
                                                                      instructions
Holly Beck                  3/19/2007 Mississippi                     Continue preparing         2:05:25
                                                                      resource list and
                                                                      folders for
                                                                      preparation of cross
                                                                      folders

Total: 3/19/2007
                                                                                       4.12


Holly Beck                  3/20/2007 Mississippi                     Discuss preparation        0:07:24
                                                                      of cross folders with
                                                                      TK
Holly Beck                  3/20/2007 Mississippi                     Review draft FOF           0:08:58
                                                                      and make sure all
                                                                      exhibits and depo
                                                                      designations are
                                                                      listed in our PTO
Holly Beck                  3/20/2007 Mississippi                     Telephone call with        0:46:00
                                                                      MS team re: PTO
                                                                      and trial tasks
Holly Beck                  3/20/2007 Mississippi                     Review draft FOF           1:25:24
                                                                      to verify that all
                                                                      cited exhibits and
                                                                      deposition
                                                                      designations are in
                                                                      PTO
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 302 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   98



User                      Date        Client                          Description             Time Spent



Total: 3/20/2007
                                                                                       2.46


Holly Beck                  3/21/2007 Mississippi                     File emails from           0:03:44
                                                                      source in cross
                                                                      folder for one of Ds'
                                                                      witnesses
Holly Beck                  3/21/2007 Mississippi                     Add may-call               0:04:36
                                                                      witness information
                                                                      to PTO
Holly Beck                  3/21/2007 Mississippi                     Send Priy PDFs of          0:07:55
                                                                      excerpts from Ds'
                                                                      exhibits so she can
                                                                      determine possible
                                                                      objections to
                                                                      interpose
Holly Beck                  3/21/2007 Mississippi                     Compile PDF of             0:21:38
                                                                      Exh. P-110 from
                                                                      multiple emails sent
                                                                      by co-counsel
                                                                      paralegal; save for
                                                                      transmission to
                                                                      co-counsel in
                                                                      Jackson and
                                                                      Defendants
Holly Beck                  3/21/2007 Mississippi                     Telephone call with        0:23:00
                                                                      Yasmin, Jessica
                                                                      and ET re: process
                                                                      for making sure all
                                                                      docs cited in FOF
                                                                      are in PTO exhibit
                                                                      list
Holly Beck                  3/21/2007 Mississippi                     Discuss                    0:23:11
                                                                      cite-checking FOF
                                                                      with JW and
                                                                      Yasmin (for part)
Holly Beck                  3/21/2007 Mississippi                     Review compilation         0:34:40
                                                                      of facts pertaining
                                                                      to historical reports
                                                                      re: MDHS; email ET
                                                                      re: findings and
                                                                      timing of adding
                                                                      docs/facts to FOF
                                                                      and PTO
Holly Beck                  3/21/2007 Mississippi                     Verify that all            3:05:16
                                                                      sources cited in
                                                                      FOF are listed in
                                                                      PTO exhibit list and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 303 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   99



User                      Date        Client                          Description             Time Spent


                                                                      depo designations;
                                                                      compile list of those
                                                                      that are not

Total: 3/21/2007
                                                                                       5.07


Holly Beck                  3/22/2007 Mississippi                     Continue reviewing         4:11:22
                                                                      FOF and verifying
                                                                      that all cites are in
                                                                      PTO exhibit list and
                                                                      depo designations

Total: 3/22/2007
                                                                                       4.19


Holly Beck                  3/27/2007 Mississippi                     Discuss scanning           0:05:00
                                                                      exhibits over
                                                                      weekend with TK,
                                                                      JW and CR
Holly Beck                  3/27/2007 Mississippi                     Research positions         1:09:45
                                                                      of unknown Ds'
                                                                      witnesses and
                                                                      update cross-folder
                                                                      preparation guide

Total: 3/27/2007
                                                                                       1.24


Holly Beck                  5/11/2007 Mississippi                     Verify dates in joint      0:20:00
                                                                      motion for approval
                                                                      of settlement are
                                                                      accurate

Total: 5/11/2007
                                                                                       0.33


Holly Beck                  5/24/2007 Mississippi                     Begin reviewing            1:12:46
                                                                      Felder transcript for
                                                                      admissions re:
                                                                      being uninformed;
                                                                      hand project off to
                                                                      JW
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 304 of 658
5/7/2008                             Children's Rights, Inc.
10:11 AM                            User Defined Slip Listing                               Page   100



User                      Date      Client                           Description            Time Spent



Total: 5/24/2007
                                                                                     1.21



Total: Holly Beck
                                                                                   196.20
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08    Page 305 of 658
5/7/2008                                      Children's Rights, Inc.
10:11 AM                                     User Defined Slip Listing                               Page   101



User                             Date         Client                          Description            Time Spent


Attorney/Para: Jeremiah Frei-Pearson
Jeremiah Frei-P                      2/5/2007 Mississippi                     Drafted email to ET       0:36:00
                                                                              summarizing the
                                                                              results of my
                                                                              research re:
                                                                              named plaintiffs.
                                                                              Email collected and
                                                                              summarized
                                                                              several cases.
Jeremiah Frei-P                      2/5/2007 Mississippi                     Researched case           2:15:00
                                                                              law and potential
                                                                              arguments re:
                                                                              defendants' claim
                                                                              that named
                                                                              plaintiffs are moot.

Total: 2/5/2007
                                                                                              2.85


Jeremiah Frei-P                      2/6/2007 Mississippi                     Drafted and revised       2:15:00
                                                                              draft of brief re:
                                                                              whether Olivia Y.
                                                                              and Cody B. should
                                                                              be dismissed.
Jeremiah Frei-P                      2/6/2007 Mississippi                     Continued to              4:03:00
                                                                              research case law
                                                                              regarding whether
                                                                              adopted named
                                                                              plaintiffs were
                                                                              mooted out of the
                                                                              case where the
                                                                              adoption took place
                                                                              subsequent to class
                                                                              certification.

Total: 2/6/2007
                                                                                              6.30


Jeremiah Frei-P                      2/7/2007 Mississippi                     Researched                1:48:00
                                                                              numerous
                                                                              miscellaneous
                                                                              issues and
                                                                              shepardized cases
                                                                              re: the draft
                                                                              sur-reply motion.
       Case 3:04-cv-00251-HSO-ASH     Document 472-5          Filed 05/09/08   Page 306 of 658
5/7/2008                               Children's Rights, Inc.
10:11 AM                              User Defined Slip Listing                              Page   102



User                           Date   Client                           Description           Time Spent



Total: 2/7/2007
                                                                                      1.80



Total: Jeremiah Frei-Pearson
                                                                                     10.95
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 307 of 658
5/7/2008                                      Children's Rights, Inc.
10:11 AM                                     User Defined Slip Listing                               Page   103



User                              Date        Client                          Description            Time Spent


Attorney/Para: Jessica Polansky
Jessica Polansk                     8/22/2007 Mississippi                     Meeting with SN &         1:12:29
                                                                              PS re meeting
                                                                              w/COA and Defs,
                                                                              remedial memo,
                                                                              and FOFing

Total: 8/22/2007
                                                                                              1.21


Jessica Polansk                     8/27/2007 Mississippi                     Read and respond          0:21:00
                                                                              to emails and read
                                                                              defendants' motion
                                                                              re substantive due
                                                                              process

Total: 8/27/2007
                                                                                              0.35


Jessica Polansk                     8/28/2007 Mississippi                     Telephone call with       0:07:00
                                                                              ET re response to
                                                                              motion re scope of
                                                                              SDP
Jessica Polansk                     8/28/2007 Mississippi                     Read and respond          0:08:00
                                                                              to emails re COA
Jessica Polansk                     8/28/2007 Mississippi                     Team Meeting re           0:18:15
                                                                              COA

Total: 8/28/2007
                                                                                              0.55


Jessica Polansk                     8/29/2007 Mississippi                     Telephone call with       0:04:00
                                                                              PS re scope of SDP
                                                                              research
Jessica Polansk                     8/29/2007 Mississippi                     Review emails re          0:16:00
                                                                              mediation and
                                                                              remedial plan with
                                                                              defs and COA

Total: 8/29/2007
                                                                                              0.34


Jessica Polansk                     8/31/2007 Mississippi                     Read and analyze          0:10:59
                                                                              prior briefing re
                                                                              scope of SDP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 308 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   104



User                      Date        Client                          Description            Time Spent



Total: 8/31/2007
                                                                                      0.18


Jessica Polansk              9/4/2007 Mississippi                     Conference call           0:11:33
                                                                      with full team (ET,
                                                                      YGK, and TK from
                                                                      children's rights)
Jessica Polansk              9/4/2007 Mississippi                     Research and draft        1:31:33
                                                                      response to motion
                                                                      re scope of SDP

Total: 9/4/2007
                                                                                      1.72


Jessica Polansk              9/5/2007 Mississippi                     Meeting with ET,          0:42:10
                                                                      SN, PS, YGK
                                                                      (came in late), TK
Jessica Polansk              9/5/2007 Mississippi                     Research re scope         3:02:27
                                                                      of SDP for
                                                                      response to Defs'
                                                                      motion

Total: 9/5/2007
                                                                                      3.74


Jessica Polansk              9/6/2007 Mississippi                     Talk with ET re           0:10:00
                                                                      draft response to
                                                                      motion re scope of
                                                                      SDP
Jessica Polansk              9/6/2007 Mississippi                     Research and draft        4:47:34
                                                                      response to motion
                                                                      regarding scope of
                                                                      SDP

Total: 9/6/2007
                                                                                      4.96


Jessica Polansk              9/7/2007 Mississippi                     Research and draft        6:18:03
                                                                      response to motion
                                                                      regarding scope of
                                                                      SDP

Total: 9/7/2007
                                                                                      6.30
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 309 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   105



User                      Date        Client                          Description            Time Spent


Jessica Polansk             9/10/2007 Mississippi                     Talk with ET re           0:05:00
                                                                      response to motion
                                                                      re scope of SDP
Jessica Polansk             9/10/2007 Mississippi                     Read revisions to         0:12:00
                                                                      draft response to
                                                                      motion re scope of
                                                                      substantive due
                                                                      process
Jessica Polansk             9/10/2007 Mississippi                     Research re scope         2:41:25
                                                                      of SDP and revise
                                                                      draft opposition to
                                                                      defendants' memo

Total: 9/10/2007
                                                                                      2.97


Jessica Polansk             9/11/2007 Mississippi                     Talk with ET re           0:09:00
                                                                      scope of SDP
                                                                      memo (3 min); re
                                                                      status of
                                                                      negotiations with
                                                                      COA and
                                                                      defendants (6 min)
Jessica Polansk             9/11/2007 Mississippi                     Draft and revise          4:14:50
                                                                      response to motion
                                                                      re scope of SDP;
                                                                      discuss with ET (6
                                                                      min)

Total: 9/11/2007
                                                                                      4.40


Jessica Polansk             9/12/2007 Mississippi                     Draft response to         2:35:12
                                                                      motion re scope of
                                                                      SDP

Total: 9/12/2007
                                                                                      2.59


Jessica Polansk             9/17/2007 Mississippi                     Read emails re            0:09:40
                                                                      settlement
                                                                      negotiations and
                                                                      response to Defs'
                                                                      motion
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 310 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   106



User                      Date        Client                          Description           Time Spent



Total: 9/17/2007
                                                                                     0.16


Jessica Polansk             9/18/2007 Mississippi                     Read                     0:09:00
                                                                      correspondence re
                                                                      NPs, email ET re
                                                                      negotiations
Jessica Polansk             9/18/2007 Mississippi                     Conference call          0:20:54
                                                                      with full team
Jessica Polansk             9/18/2007 Mississippi                     Read and analyze         0:28:06
                                                                      defendants'
                                                                      revisions to
                                                                      proposed
                                                                      settlement reform
                                                                      plan

Total: 9/18/2007
                                                                                     0.97


Jessica Polansk             9/19/2007 Mississippi                     Talk with ET and         0:19:00
                                                                      SN re next steps in
                                                                      settlement
                                                                      negotiations and
                                                                      tasks
Jessica Polansk             9/19/2007 Mississippi                     Read and analyze         0:23:10
                                                                      proposed
                                                                      benchmarks for
                                                                      settlement reform
                                                                      plan
Jessica Polansk             9/19/2007 Mississippi                     Analyze COA draft        1:49:53
                                                                      document and
                                                                      incorporate into
                                                                      draft
                                                                      implementation plan

Total: 9/19/2007
                                                                                     2.54


Jessica Polansk             9/20/2007 Mississippi                     Review notes from        0:05:00
                                                                      settlement
                                                                      negotiations and
                                                                      make task list
Jessica Polansk             9/20/2007 Mississippi                     Email defendants         0:08:00
                                                                      with documents
                                                                      discussed during
                                                                      settlement
                                                                      negotiations
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 311 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   107



User                      Date        Client                          Description            Time Spent


Jessica Polansk             9/20/2007 Mississippi                     Talk with PS re           0:12:00
                                                                      settlement
                                                                      negotiations and
                                                                      discuss education
                                                                      and independent
                                                                      living provisions
Jessica Polansk             9/20/2007 Mississippi                     Research APPLA            2:04:59
                                                                      standards and IV-E
                                                                      waivers for
                                                                      subsidized
                                                                      guardianship and
                                                                      draft settlement
                                                                      language re IV-E
                                                                      waivers

Total: 9/20/2007
                                                                                      2.49


Jessica Polansk             9/21/2007 Mississippi                     Talk with Julie &         0:16:00
                                                                      Laurie re
                                                                      subsidized
                                                                      guardianship and
                                                                      relative foster
                                                                      payments for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/21/2007 Mississippi                     Draft email to            0:18:20
                                                                      attorneys and policy
                                                                      dept re relative
                                                                      foster payments
                                                                      and subsidized
                                                                      guardianship for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/21/2007 Mississippi                     Research info for         2:15:51
                                                                      settlement re
                                                                      subsidized
                                                                      guardianship, IV-E
                                                                      waivers, and
                                                                      relative foster
                                                                      payments for
                                                                      settlement
                                                                      negotiations

Total: 9/21/2007
                                                                                      2.84
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 312 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   108



User                      Date        Client                          Description            Time Spent


Jessica Polansk             9/24/2007 Mississippi                     Read defs' reply          0:04:00
                                                                      brief re motion re
                                                                      scope SDP
Jessica Polansk             9/24/2007 Mississippi                     Read and analyze          0:07:00
                                                                      draft settlement
                                                                      reform plan
Jessica Polansk             9/24/2007 Mississippi                     Talk with LL re           0:12:00
                                                                      subsidized
                                                                      guardianship and
                                                                      relative foster care
                                                                      for settlement
                                                                      negotiations
Jessica Polansk             9/24/2007 Mississippi                     Talk with SM re           0:29:00
                                                                      subsidized
                                                                      guardianship and
                                                                      relative foster care
                                                                      for settlement
                                                                      negotiations
Jessica Polansk             9/24/2007 Mississippi                     Review defendants'        1:51:00
                                                                      revisions to draft
                                                                      settlement plan and
                                                                      make edits
Jessica Polansk             9/24/2007 Mississippi                     Research re               3:43:46
                                                                      subsidized
                                                                      guardianship, and
                                                                      relative foster
                                                                      payments, and
                                                                      licensure for foster
                                                                      parents for
                                                                      settlement
                                                                      negotiations

Total: 9/24/2007
                                                                                      6.45


Jessica Polansk             9/25/2007 Mississippi                     Talk with SN re           0:10:00
                                                                      licensing waivers
                                                                      for relatives for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/25/2007 Mississippi                     Telephone call with       0:12:00
                                                                      source re
                                                                      interpretation of
                                                                      licensing waiver for
                                                                      relatives under IV-E
Jessica Polansk             9/25/2007 Mississippi                     Conference call           0:15:00
                                                                      with team and
                                                                      co-counsel (ET,
                                                                      SN, MAB)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 313 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   109



User                      Date        Client                          Description           Time Spent


Jessica Polansk             9/25/2007 Mississippi                     Talk with ET and         0:29:00
                                                                      SN re strategy and
                                                                      provisions of draft
                                                                      settlement reform
                                                                      plan
Jessica Polansk             9/25/2007 Mississippi                     Draft email to           0:44:00
                                                                      defendants re
                                                                      provisions of
                                                                      settlement reform
                                                                      plan
Jessica Polansk             9/25/2007 Mississippi                     Research info re         0:45:18
                                                                      maintenance
                                                                      payments and re
                                                                      subsidized
                                                                      guardianship for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/25/2007 Mississippi                     Talk with ET and         0:48:00
                                                                      SN re defs' draft
                                                                      settlement plan and
                                                                      strategize for
                                                                      negotiations
Jessica Polansk             9/25/2007 Mississippi                     Settlement               2:06:09
                                                                      Negotiations with
                                                                      Defendants, ET, SN

Total: 9/25/2007
                                                                                     5.49


Jessica Polansk             9/26/2007 Mississippi                     Read emails re           0:05:00
                                                                      settlement
Jessica Polansk             9/26/2007 Mississippi                     Review article re        0:07:00
                                                                      subsidized
                                                                      guardianship for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/26/2007 Mississippi                     Research terms re        0:28:00
                                                                      subsidized
                                                                      guardianship in
                                                                      previous consent
                                                                      decrees for
                                                                      settlement
                                                                      negotiations
Jessica Polansk             9/26/2007 Mississippi                     Review defs' draft       0:29:00
                                                                      of settlement
                                                                      reform plan and
                                                                      compare with Pls'
                                                                      proposals and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 314 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   110



User                      Date        Client                          Description            Time Spent


                                                                      email TK with tasks
                                                                      re settlement
                                                                      negotiations

Total: 9/26/2007
                                                                                      1.15


Jessica Polansk             9/28/2007 Mississippi                     Review                    0:08:00
                                                                      correspondence
                                                                      and Defs' new draft
                                                                      of settlement plan
Jessica Polansk             9/28/2007 Mississippi                     Read letter from          0:15:00
                                                                      COA and
                                                                      agreement between
                                                                      COA and Defs

Total: 9/28/2007
                                                                                      0.38


Jessica Polansk             10/1/2007 Mississippi                     Read info from PS         0:08:19
                                                                      re educational
                                                                      provisions to
                                                                      include in
                                                                      settlement plan and
                                                                      read
                                                                      correspondence
                                                                      from Defs

Total: 10/1/2007
                                                                                      0.14


Jessica Polansk             10/2/2007 Mississippi                     Email ET re draft         0:05:00
                                                                      settlement plan and
                                                                      read
                                                                      correspondence
Jessica Polansk             10/2/2007 Mississippi                     Review latest draft       0:18:00
                                                                      of settlement
                                                                      reform plan
Jessica Polansk             10/2/2007 Mississippi                     Conference call           0:23:00
                                                                      with full team

Total: 10/2/2007
                                                                                      0.76


Jessica Polansk            10/15/2007 Mississippi                     Read editorial re         0:01:19
                                                                      foster care in MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 315 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   111



User                      Date        Client                          Description              Time Spent



Total: 10/15/2007
                                                                                        0.02


Jessica Polansk            10/30/2007 Mississippi                     Conference call             0:24:18
                                                                      with full team

Total: 10/30/2007
                                                                                        0.41


Jessica Polansk            11/30/2007 Mississippi                     Telephone call with         0:18:31
                                                                      NP and email team
                                                                      re phone call

Total: 11/30/2007
                                                                                        0.31



Total: Jessica Polansky
                                                                                     53.42
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08    Page 316 of 658
5/7/2008                                     Children's Rights, Inc.
10:11 AM                                    User Defined Slip Listing                                 Page   112



User                             Date        Client                          Description              Time Spent


Attorney/Para: Jessica Wheeler
Jessica Wheeler                     1/2/2007 Mississippi                     Review Defendants'          0:55:00
                                                                             proposed FRE
                                                                             summary of John
                                                                             A's case file and
                                                                             make necessary
                                                                             additions.
Jessica Wheeler                     1/2/2007 Mississippi                     Review revised              1:00:00
                                                                             settlement proposal
                                                                             submitted by
                                                                             Defendants and
                                                                             identify changes
                                                                             made to previous
                                                                             version.
Jessica Wheeler                     1/2/2007 Mississippi                     Review Defendants'          2:58:23
                                                                             proposed FRE
                                                                             summary of John
                                                                             A's case file and
                                                                             make necessary
                                                                             additions.

Total: 1/2/2007
                                                                                               4.89


Jessica Wheeler                     1/4/2007 Mississippi                     Assist in finalizing        1:45:00
                                                                             revised settlement
                                                                             proposal for
                                                                             submission to
                                                                             Defendants.
Jessica Wheeler                     1/4/2007 Mississippi                     Assist in finalizing        6:15:00
                                                                             revised settlement
                                                                             proposal for
                                                                             submission to
                                                                             Defendants.

Total: 1/4/2007
                                                                                               8.00


Jessica Wheeler                     1/5/2007 Mississippi                     Review revised              1:12:38
                                                                             settlement proposal.
Jessica Wheeler                     1/5/2007 Mississippi                     Assist in finalizing        2:20:00
                                                                             revised draft
                                                                             settlement proposal
                                                                             for submission to
                                                                             Defendants.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 317 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   113



User                      Date        Client                          Description             Time Spent



Total: 1/5/2007
                                                                                       3.54


Jessica Wheeler              1/8/2007 Mississippi                     Correspond with            0:23:52
                                                                      MRL re contents of
                                                                      correspondence
                                                                      from Defendants.
Jessica Wheeler              1/8/2007 Mississippi                     Search discovery           1:29:00
                                                                      indices and case
                                                                      files for information
                                                                      regarding
                                                                      individuals
                                                                      Defendants seek to
                                                                      add to their witness
                                                                      list.

Total: 1/8/2007
                                                                                       1.88


Jessica Wheeler              1/9/2007 Mississippi                     Meeting with ET            0:15:15
                                                                      regarding trial
                                                                      preparation.
Jessica Wheeler              1/9/2007 Mississippi                     Review Defendants'         1:21:47
                                                                      proposed FRE
                                                                      summary of John
                                                                      A.'s case file and
                                                                      make necessary
                                                                      additions.

Total: 1/9/2007
                                                                                       1.61


Jessica Wheeler             1/10/2007 Mississippi                     Proofread, prepare,        0:30:00
                                                                      and send
                                                                      correspondence
                                                                      regarding additional
                                                                      witnesses to
                                                                      Defendants and
                                                                      carbon-copied
                                                                      individuals.
Jessica Wheeler             1/10/2007 Mississippi                     Make revisions to          3:04:36
                                                                      draft PTO in
                                                                      anticipation of
                                                                      submission to Court.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 318 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   114



User                      Date        Client                          Description             Time Spent



Total: 1/10/2007
                                                                                       3.58


Jessica Wheeler             1/11/2007 Mississippi                     Revise draft PTO           3:12:20
                                                                      for submission to
                                                                      Court.

Total: 1/11/2007
                                                                                       3.21


Jessica Wheeler             1/16/2007 Mississippi                     Telephone call with        0:25:28
                                                                      ET re tasks for
                                                                      revising PTO.
Jessica Wheeler             1/16/2007 Mississippi                     Conversations with         0:35:47
                                                                      HB and SN (SN did
                                                                      not participate for
                                                                      all) re procedure for
                                                                      reviewing and
                                                                      revising Ds' FRE
                                                                      summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
Jessica Wheeler             1/16/2007 Mississippi                     Review and revise          2:27:16
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A. case file.

Total: 1/16/2007
                                                                                       3.47


Jessica Wheeler             1/17/2007 Mississippi                     Conference call            0:25:00
                                                                      with SN and ET re
                                                                      reviewing and
                                                                      revising
                                                                      Defendants' FRE
                                                                      summaries of
                                                                      Named Plaintiffs'
                                                                      case files.

Total: 1/17/2007
                                                                                       0.42


Jessica Wheeler             1/18/2007 Mississippi                     Meeting with PS re         0:17:43
                                                                      strategy for
                                                                      reviewing and
                                                                      revising
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 319 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   115



User                      Date        Client                          Description            Time Spent


                                                                      Defendants' FRE
                                                                      summary of
                                                                      Jamison J.'s case
                                                                      file.
Jessica Wheeler             1/18/2007 Mississippi                     Meeting with TK           0:30:09
                                                                      and HB re
                                                                      collaborating on
                                                                      reviewing and
                                                                      revising
                                                                      Defendants' FRE
                                                                      summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
Jessica Wheeler             1/18/2007 Mississippi                     Review and revise         2:52:16
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A.'s case file.
Jessica Wheeler             1/18/2007 Mississippi                     Review and revise         3:40:46
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A.'s case file.

Total: 1/18/2007
                                                                                      7.35


Jessica Wheeler             1/19/2007 Mississippi                     Review and revise         2:52:32
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A's case file.

Total: 1/19/2007
                                                                                      2.88


Jessica Wheeler             1/21/2007 Mississippi                     Review and revise         3:20:31
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A's case file.

Total: 1/21/2007
                                                                                      3.34


Jessica Wheeler             1/22/2007 Mississippi                     Conference call           0:10:01
                                                                      with ET, HB, and
                                                                      CR re revising Defs'
                                                                      FRE summaries of
                                                                      NP case files.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 320 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   116



User                      Date        Client                          Description           Time Spent


Jessica Wheeler             1/22/2007 Mississippi                     Review and revise        4:53:32
                                                                      Defs' FRE
                                                                      summary of John
                                                                      A's case file.
Jessica Wheeler             1/22/2007 Mississippi                     Review and revise        5:11:10
                                                                      Defs' FRE
                                                                      summary of John
                                                                      A's case file.

Total: 1/22/2007
                                                                                    10.25


Jessica Wheeler             1/23/2007 Mississippi                     Conference call          0:33:43
                                                                      with co-counsel,
                                                                      ET, and SN re
                                                                      ongoing settlement
                                                                      negotiations.
Jessica Wheeler             1/23/2007 Mississippi                     Proofread, prepare,      0:47:11
                                                                      and send
                                                                      correspondence to
                                                                      Defendants and
                                                                      carbon-copied
                                                                      individuals re
                                                                      settlement
                                                                      negotiations.
Jessica Wheeler             1/23/2007 Mississippi                     Review Defendants'       1:00:00
                                                                      FRE summaries
                                                                      and investigate
                                                                      identity of
                                                                      AG-stamped
                                                                      documents.
Jessica Wheeler             1/23/2007 Mississippi                     Review, cite-check,      2:55:22
                                                                      and revise
                                                                      Defendants' FRE
                                                                      1006 summary of
                                                                      John A's case
                                                                      record.
Jessica Wheeler             1/23/2007 Mississippi                     Review, cite-check,      5:03:38
                                                                      and revise
                                                                      Defendants' FRE
                                                                      1006 summary of
                                                                      John A's case
                                                                      record.

Total: 1/23/2007
                                                                                    10.33
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 321 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   117



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             1/24/2007 Mississippi                     Meeting with SN re         0:18:51
                                                                      protocol for revising
                                                                      Defs' FRE
                                                                      summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
Jessica Wheeler             1/24/2007 Mississippi                     Review, cite-check,        0:23:31
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.
Jessica Wheeler             1/24/2007 Mississippi                     Draft minutes of           0:30:18
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             1/24/2007 Mississippi                     Proofread, prepare,        0:33:25
                                                                      and send
                                                                      correspondence to
                                                                      Defendants and
                                                                      carbon-copied
                                                                      individuals
                                                                      regarding
                                                                      substitution of
                                                                      Jamison J.'s next
                                                                      friend.
Jessica Wheeler             1/24/2007 Mississippi                     Proofread and              1:00:00
                                                                      revise motion to
                                                                      substitute Jamison
                                                                      J.'s next friend.
Jessica Wheeler             1/24/2007 Mississippi                     Draft minutes of           1:39:01
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             1/24/2007 Mississippi                     Review, cite-check,        5:08:49
                                                                      and revise
                                                                      Defendants' FRE
                                                                      summary of John
                                                                      A.'s case file.

Total: 1/24/2007
                                                                                       9.57


Jessica Wheeler             1/25/2007 Mississippi                     Meeting with TK,           0:15:00
                                                                      HB, and CR re
                                                                      revising Defs' FRE
                                                                      summary of John
                                                                      A's case file.
Jessica Wheeler             1/25/2007 Mississippi                     Review, cite-check,        4:15:08
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 322 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   118



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             1/25/2007 Mississippi                     Review, cite-check,        6:07:02
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.

Total: 1/25/2007
                                                                                     10.62


Jessica Wheeler             1/26/2007 Mississippi                     Proofread                  1:08:09
                                                                      Opposition to
                                                                      Defendants' Motion
                                                                      to Dismiss NPs.
Jessica Wheeler             1/26/2007 Mississippi                     Review, cite-check,        3:22:20
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.
Jessica Wheeler             1/26/2007 Mississippi                     Review, cite-check,        3:42:00
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.

Total: 1/26/2007
                                                                                       8.21


Jessica Wheeler             1/27/2007 Mississippi                     Review, cite-check,        8:30:16
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.

Total: 1/27/2007
                                                                                       8.50


Jessica Wheeler             1/28/2007 Mississippi                     Review, cite-check,        9:11:52
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.

Total: 1/28/2007
                                                                                       9.20


Jessica Wheeler             1/29/2007 Mississippi                     Review, cite-check,        5:09:33
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case
                                                                      record.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 323 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   119



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             1/29/2007 Mississippi                     Review, cite-check,        9:55:43
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      John A.'s case
                                                                      record.

Total: 1/29/2007
                                                                                      15.09


Jessica Wheeler             1/30/2007 Mississippi                     Discuss tasks for          0:10:00
                                                                      finalizing revisions
                                                                      to FRE summary of
                                                                      John A.'s case file
                                                                      with HB.
Jessica Wheeler             1/30/2007 Mississippi                     Meeting with SN,           0:10:17
                                                                      TK, CR, and HB re
                                                                      revising Defs' FRE
                                                                      summaries.
Jessica Wheeler             1/30/2007 Mississippi                     Meeting with HB,           0:15:00
                                                                      TK, and CR re
                                                                      revising FRE
                                                                      summaries.
Jessica Wheeler             1/30/2007 Mississippi                     Discuss revisions to       0:30:00
                                                                      FRE summaries
                                                                      with SN.
Jessica Wheeler             1/30/2007 Mississippi                     Finalize revisions to      0:30:00
                                                                      Defs' FRE
                                                                      summary of John
                                                                      A.'s case file.
Jessica Wheeler             1/30/2007 Mississippi                     Finalize revisions to      4:50:41
                                                                      Defs' FRE
                                                                      summary of John
                                                                      A.'s case file.

Total: 1/30/2007
                                                                                       6.43


Jessica Wheeler             1/31/2007 Mississippi                     Review, cite-check,        4:27:30
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y. case
                                                                      record.
Jessica Wheeler             1/31/2007 Mississippi                     Review and revise          5:13:25
                                                                      Defs' FRE
                                                                      summaries of NPs'
                                                                      case files.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 324 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   120



User                      Date        Client                          Description              Time Spent



Total: 1/31/2007
                                                                                        9.68


Jessica Wheeler              2/1/2007 Mississippi                     Review, cite-check,         0:12:23
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              2/1/2007 Mississippi                     Incorporate                 0:23:03
                                                                      revisions to John A.
                                                                      FRE summary
                                                                      discussed with ET.
Jessica Wheeler              2/1/2007 Mississippi                     Help decipher               0:28:39
                                                                      Jamison J.
                                                                      documents cited in
                                                                      Defs' FRE
                                                                      summary.
Jessica Wheeler              2/1/2007 Mississippi                     Telephone call with         0:30:00
                                                                      ET re his revisions
                                                                      to Defs' FRE
                                                                      summary of John
                                                                      A.'s case file.
Jessica Wheeler              2/1/2007 Mississippi                     Telephone call with         0:45:00
                                                                      ET (3rd) re
                                                                      revisions to FRE
                                                                      summary of John
                                                                      A.'s case file.
Jessica Wheeler              2/1/2007 Mississippi                     Telephone call with         0:46:24
                                                                      ET (2nd) re
                                                                      revisions to Defs'
                                                                      FRE summary of
                                                                      John A.'s case file.
Jessica Wheeler              2/1/2007 Mississippi                     Finalize revisions to       1:49:19
                                                                      Defs' FRE
                                                                      summary of John
                                                                      A.'s case file.
Jessica Wheeler              2/1/2007 Mississippi                     Review, cite-check,         2:13:25
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y. case file.

Total: 2/1/2007
                                                                                        7.13


Jessica Wheeler              2/2/2007 Mississippi                     Implement                   1:45:17
                                                                      additional
                                                                      last-minute
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 325 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   121



User                      Date        Client                          Description              Time Spent


                                                                      changes to John A.
                                                                      FRE summary
                                                                      revisions.
Jessica Wheeler              2/2/2007 Mississippi                     Review, cite-check,         2:50:55
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              2/2/2007 Mississippi                     Review, cite-check,         4:06:02
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.

Total: 2/2/2007
                                                                                        8.70


Jessica Wheeler              2/3/2007 Mississippi                     Review, cite-check,         8:54:47
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.

Total: 2/3/2007
                                                                                        8.91


Jessica Wheeler              2/4/2007 Mississippi                     Review, cite-check,         6:46:35
                                                                      and revise
                                                                      Defendants' FRE
                                                                      1006 summary of
                                                                      Olivia Y.'s case file.

Total: 2/4/2007
                                                                                        6.78


Jessica Wheeler              2/5/2007 Mississippi                     Meeting with HB,            0:20:00
                                                                      TK, and CR re
                                                                      finalizing FRE
                                                                      revisions and
                                                                      revising proposed
                                                                      PTO. (Conference
                                                                      call with ET for
                                                                      portion of this time.)
Jessica Wheeler              2/5/2007 Mississippi                     Review, cite-check,         3:22:05
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              2/5/2007 Mississippi                     Review, cite-check,         4:00:03
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 326 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   122



User                      Date        Client                          Description              Time Spent



Total: 2/5/2007
                                                                                        7.70


Jessica Wheeler              2/6/2007 Mississippi                     Proofread, prepare,         0:28:44
                                                                      and send
                                                                      correspondence to
                                                                      Defs and
                                                                      carbon-copied
                                                                      individuals
                                                                      regarding Defs'
                                                                      proposed additional
                                                                      witnesses.
Jessica Wheeler              2/6/2007 Mississippi                     Review, cite-check,         1:22:37
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              2/6/2007 Mississippi                     Review, cite-check,         5:07:47
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.

Total: 2/6/2007
                                                                                        6.99


Jessica Wheeler              2/7/2007 Mississippi                     Discuss with SN             0:10:00
                                                                      preparation for
                                                                      cross-examination
                                                                      of Defs' NP-related
                                                                      witnesses.
Jessica Wheeler              2/7/2007 Mississippi                     Review drafts of            0:13:23
                                                                      PTO facts
                                                                      exchanged with
                                                                      Defs and talk to ET
                                                                      re how to create
                                                                      next draft.
Jessica Wheeler              2/7/2007 Mississippi                     Review, cite-check,         3:59:47
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              2/7/2007 Mississippi                     Review, cite-check,         4:08:40
                                                                      and revise Defs'
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.

Total: 2/7/2007
                                                                                        8.53
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 327 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   123



User                      Date        Client                          Description             Time Spent


Jessica Wheeler              2/8/2007 Mississippi                     Proofread Pls'             1:51:00
                                                                      motion to file
                                                                      sur-reply and
                                                                      sur-reply and
                                                                      prepare motions
                                                                      and exhibits for
                                                                      filing.
Jessica Wheeler              2/8/2007 Mississippi                     Review, cite-check,        4:05:20
                                                                      and revise Defs'
                                                                      FRE 1006 summary
                                                                      of Olivia Y.'s case
                                                                      file.
Jessica Wheeler              2/8/2007 Mississippi                     Review, cite-check,        4:50:32
                                                                      and revise Defs'
                                                                      FRE 1006 summary
                                                                      of Olivia Y.'s case
                                                                      file.

Total: 2/8/2007
                                                                                      10.78


Jessica Wheeler              2/9/2007 Mississippi                     Finalize FRE 1006          2:37:16
                                                                      summaries of Olivia
                                                                      Y. and Jamison J.'s
                                                                      case files.
Jessica Wheeler              2/9/2007 Mississippi                     Finalize FRE 1006          7:55:51
                                                                      summaries of Olivia
                                                                      Y. and Jamison J.'s
                                                                      case files.

Total: 2/9/2007
                                                                                      10.55


Jessica Wheeler             2/12/2007 Mississippi                     Conference call            0:12:13
                                                                      with ET, HB, and
                                                                      TK re revising
                                                                      proposed PTO.
Jessica Wheeler             2/12/2007 Mississippi                     Contact court              0:54:12
                                                                      reporters re
                                                                      requested
                                                                      minuscript version
                                                                      of Henry Goodman
                                                                      transcript. Save,
                                                                      review, and
                                                                      circulate transcripts
                                                                      of Goodman and
                                                                      Roebuck
                                                                      depositions.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 328 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   124



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             2/12/2007 Mississippi                     Finalize revisions to      1:42:18
                                                                      proposed PTO for
                                                                      submission to
                                                                      Defendants.
Jessica Wheeler             2/12/2007 Mississippi                     Finalize revisions to      2:30:41
                                                                      proposed PTO for
                                                                      submission to
                                                                      Defendants.

Total: 2/12/2007
                                                                                       5.32


Jessica Wheeler             2/13/2007 Mississippi                     Conference call            0:20:00
                                                                      with co-counsel,
                                                                      ET, SN, and YG.
Jessica Wheeler             2/13/2007 Mississippi                     Proofread, prepare,        0:26:50
                                                                      and send to
                                                                      Defendants and
                                                                      carbon-copied
                                                                      individuals
                                                                      correspondence re
                                                                      Rule 4.3.
Jessica Wheeler             2/13/2007 Mississippi                     Create John A.             0:55:05
                                                                      placement chart.
Jessica Wheeler             2/13/2007 Mississippi                     Finalize revised           2:52:26
                                                                      PTO for submission
                                                                      to Defendants.

Total: 2/13/2007
                                                                                       4.57


Jessica Wheeler             2/14/2007 Mississippi                     Review initial             0:04:03
                                                                      disclosures to
                                                                      determine whether
                                                                      individual was
                                                                      included.
Jessica Wheeler             2/14/2007 Mississippi                     Save copies of             0:13:56
                                                                      as-filed opposition
                                                                      to Defendants'
                                                                      motion to
                                                                      supplement their
                                                                      initial disclosures.
Jessica Wheeler             2/14/2007 Mississippi                     Telephone call with        0:16:44
                                                                      ET re revisions to
                                                                      draft PTO.
Jessica Wheeler             2/14/2007 Mississippi                     Review and save            0:19:00
                                                                      correspondence
                                                                      between source
                                                                      and Rachal and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 329 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   125



User                      Date        Client                          Description              Time Spent


                                                                      correspondence
                                                                      from Fortenberry to
                                                                      Plaintiffs regarding
                                                                      contact between
                                                                      source and Rachal.
Jessica Wheeler             2/14/2007 Mississippi                     Save Carter                 0:21:39
                                                                      deposition
                                                                      transcript and
                                                                      prepare copies of
                                                                      Carter, Goodman,
                                                                      and Roebuck
                                                                      deposition
                                                                      transcripts for
                                                                      review by ET and
                                                                      SN.
Jessica Wheeler             2/14/2007 Mississippi                     Prepare index of            0:30:00
                                                                      depositions for use
                                                                      in trial preparations.
Jessica Wheeler             2/14/2007 Mississippi                     Finalize draft PTO          4:33:30
                                                                      for submission to
                                                                      Defendants.

Total: 2/14/2007
                                                                                        6.32


Jessica Wheeler             2/15/2007 Mississippi                     Discuss trial               0:10:00
                                                                      exhibits with SB
                                                                      and HB.
Jessica Wheeler             2/15/2007 Mississippi                     Finalize list of            0:19:30
                                                                      depositions and
                                                                      correspond with
                                                                      co-counsel re same.
Jessica Wheeler             2/15/2007 Mississippi                     Review trial tasks          1:15:10
                                                                      and create listing of
                                                                      priorities for trial
                                                                      preparation.
Jessica Wheeler             2/15/2007 Mississippi                     Meeting with MRL,           3:10:00
                                                                      SL, ET, SN, YG,
                                                                      PS, TK, CR, and
                                                                      HB re trial
                                                                      preparation (MRL,
                                                                      SL, and CR left
                                                                      early).

Total: 2/15/2007
                                                                                        4.92
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 330 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   126



User                      Date        Client                          Description            Time Spent


Jessica Wheeler             2/16/2007 Mississippi                     Draft and send            0:07:01
                                                                      correspondence to
                                                                      experts re
                                                                      Pediatrics study;
                                                                      correspond with
                                                                      co-counsel re same.
Jessica Wheeler             2/16/2007 Mississippi                     Discuss status of         0:08:00
                                                                      exhibit objections
                                                                      with SB.
Jessica Wheeler             2/16/2007 Mississippi                     Meeting with ET           0:20:02
                                                                      and HB re finalizing
                                                                      PTO for submission
                                                                      to Court and
                                                                      preparing exhibits
                                                                      for trial.
Jessica Wheeler             2/16/2007 Mississippi                     Conference call           0:45:00
                                                                      with co-counsel and
                                                                      ET re logistics of
                                                                      trial preparation.
Jessica Wheeler             2/16/2007 Mississippi                     Prepare electronic        5:02:05
                                                                      copies of trial
                                                                      exhibits.

Total: 2/16/2007
                                                                                      6.36


Jessica Wheeler             2/20/2007 Mississippi                     Conference call           0:19:56
                                                                      with co-counsel,
                                                                      MRL, ET, SN
Jessica Wheeler             2/20/2007 Mississippi                     Conference call           0:24:00
                                                                      with ET, SN, PS,
                                                                      HB, CR, and TK re
                                                                      responding to Defs'
                                                                      proposed PTO.
Jessica Wheeler             2/20/2007 Mississippi                     Conference call           0:55:00
                                                                      with ET, SN, HB,
                                                                      TK, CR, PS, and
                                                                      SB. (CR, PS, and
                                                                      SB came late, and
                                                                      when JW, HB, CR,
                                                                      TK, and SN left
                                                                      [after JW had been
                                                                      there 55 minutes],
                                                                      SB, PS, and ET
                                                                      continued call.)
Jessica Wheeler             2/20/2007 Mississippi                     Review Defs'              6:30:41
                                                                      revised PTO
                                                                      proposal and assist
                                                                      in addressing
                                                                      changes.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 331 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   127



User                      Date        Client                          Description            Time Spent


Jessica Wheeler             2/20/2007 Mississippi                     Review Defs'              6:39:37
                                                                      revised PTO
                                                                      proposal and assist
                                                                      in addressing
                                                                      changes.

Total: 2/20/2007
                                                                                     14.82


Jessica Wheeler             2/21/2007 Mississippi                     Conference call           0:25:00
                                                                      with ET, SN, HB,
                                                                      CR, and TK (SN,
                                                                      HB, CR, and TK left
                                                                      early).
Jessica Wheeler             2/21/2007 Mississippi                     Review and                1:04:45
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues.
Jessica Wheeler             2/21/2007 Mississippi                     Assist in revising        5:25:11
                                                                      proposed PTO.

Total: 2/21/2007
                                                                                      6.92


Jessica Wheeler             2/22/2007 Mississippi                     Correspond with           0:05:00
                                                                      co-counsel
                                                                      regarding internal
                                                                      conference call
                                                                      regarding
                                                                      settlement issues.
Jessica Wheeler             2/22/2007 Mississippi                     Discuss staffing          0:10:00
                                                                      needs for tomorrow
                                                                      morning's PTO
                                                                      revision with SN
                                                                      and HB.
Jessica Wheeler             2/22/2007 Mississippi                     Prepare binder of         0:17:14
                                                                      Summary
                                                                      Judgment filings for
                                                                      use by YG in
                                                                      preparation of
                                                                      Findings of Fact.
Jessica Wheeler             2/22/2007 Mississippi                     Prepare electronic        1:20:05
                                                                      copies of exhibits.
Jessica Wheeler             2/22/2007 Mississippi                     Revise proposed           1:33:42
                                                                      PTO for submission
                                                                      to Court.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 332 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   128



User                      Date        Client                          Description            Time Spent



Total: 2/22/2007
                                                                                      3.43


Jessica Wheeler             2/23/2007 Mississippi                     Review and save           0:55:00
                                                                      Defs' PTO
                                                                      revisions; review,
                                                                      save, and circulate
                                                                      correspondence
                                                                      from Defs re the
                                                                      same.
Jessica Wheeler             2/23/2007 Mississippi                     Review Defs'              3:04:33
                                                                      witness lists and
                                                                      Defs' mandatory
                                                                      disclosures;
                                                                      prepare listings of
                                                                      likely topics of
                                                                      testimony.

Total: 2/23/2007
                                                                                      4.00


Jessica Wheeler             2/26/2007 Mississippi                     Review                    0:33:02
                                                                      correspondence for
                                                                      discussion of
                                                                      representation of
                                                                      Billy Mangold and
                                                                      foward relevant
                                                                      pieces to Stephen
                                                                      Leech.
Jessica Wheeler             2/26/2007 Mississippi                     Review PTO exhibit        3:00:00
                                                                      lists and prepare
                                                                      electronic copies of
                                                                      exhibits.

Total: 2/26/2007
                                                                                      3.55


Jessica Wheeler             2/27/2007 Mississippi                     Conference call           0:30:00
                                                                      with co-counsel,
                                                                      ET, PS, and YG re
                                                                      trial preparation.
Jessica Wheeler             2/27/2007 Mississippi                     Conference call           0:40:00
                                                                      with ET, HB, PS,
                                                                      YG, TK, and CR re
                                                                      trial preparation.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 333 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   129



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             2/27/2007 Mississippi                     Review most recent         3:23:32
                                                                      version of PTO and
                                                                      prepare electronic
                                                                      copies of exhibits.

Total: 2/27/2007
                                                                                       4.56


Jessica Wheeler             2/28/2007 Mississippi                     Telephone call with        0:07:00
                                                                      SN re tasks for trial
                                                                      preparation.
Jessica Wheeler             2/28/2007 Mississippi                     Leave message for          0:20:00
                                                                      Marva Lewis re
                                                                      scheduling a phone
                                                                      call for her and SN
                                                                      and send her email
                                                                      re the same.
Jessica Wheeler             2/28/2007 Mississippi                     Prepare CD-ROM             0:57:03
                                                                      of trial exhibits for
                                                                      use in trial
                                                                      preparation.
Jessica Wheeler             2/28/2007 Mississippi                     Review Defendants'         3:30:05
                                                                      mandatory
                                                                      disclosures and
                                                                      finish identifying
                                                                      Defs'
                                                                      characterization in
                                                                      disclosures of
                                                                      individuals on Defs'
                                                                      witness list.

Total: 2/28/2007
                                                                                       4.90


Jessica Wheeler              3/1/2007 Mississippi                     Prepare electronic         3:02:02
                                                                      copies of trial
                                                                      exhibits.
Jessica Wheeler              3/1/2007 Mississippi                     Prepare electronic         4:13:27
                                                                      copies of trial
                                                                      exhibits.

Total: 3/1/2007
                                                                                       7.25


Jessica Wheeler              3/2/2007 Mississippi                     Prepare electronic         1:43:59
                                                                      versions of trial
                                                                      exhibits.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 334 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   130



User                      Date        Client                          Description             Time Spent



Total: 3/2/2007
                                                                                       1.73


Jessica Wheeler              3/5/2007 Mississippi                     Discuss trial              0:05:00
                                                                      preparation with HB.
Jessica Wheeler              3/5/2007 Mississippi                     Discuss Findings of        0:10:00
                                                                      Fact and PTO tasks
                                                                      with ET and HB.
Jessica Wheeler              3/5/2007 Mississippi                     Gather press for           0:14:29
                                                                      use in examination
                                                                      of Don Taylor.
Jessica Wheeler              3/5/2007 Mississippi                     Prepare list of            0:19:26
                                                                      budget-related
                                                                      exhibits of which
                                                                      Defendants have
                                                                      requested pdf
                                                                      copies.
Jessica Wheeler              3/5/2007 Mississippi                     Prepare Roebuck            0:23:53
                                                                      deposition
                                                                      transcript and
                                                                      errata sheet for
                                                                      review by Randy
                                                                      Roebuck; search
                                                                      for updated mailing
                                                                      address for same.
Jessica Wheeler              3/5/2007 Mississippi                     Add designations to        0:28:07
                                                                      PTO for additional
                                                                      depositions cited in
                                                                      current version of
                                                                      FOF.
Jessica Wheeler              3/5/2007 Mississippi                     Search for                 0:30:40
                                                                      complete text of
                                                                      American Academy
                                                                      of Pediatrics article
                                                                      "Fostering Health."
Jessica Wheeler              3/5/2007 Mississippi                     Search for                 0:43:00
                                                                      complete text of
                                                                      American Academy
                                                                      of Pediatrics article
                                                                      "Fostering Health"
                                                                      (continued).
Jessica Wheeler              3/5/2007 Mississippi                     Meeting with ET,           1:00:00
                                                                      MRL, SL, PS, YG,
                                                                      CR, HB, and TK
                                                                      (HB left early) re
                                                                      trial preparation.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 335 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   131



User                      Date        Client                          Description              Time Spent


Jessica Wheeler              3/5/2007 Mississippi                     Prepare outline re          1:01:43
                                                                      attorney / paralegal
                                                                      teams preparing for
                                                                      Plaintiffs' witnesses'
                                                                      direct testimony.

Total: 3/5/2007
                                                                                        4.94


Jessica Wheeler              3/6/2007 Mississippi                     Search for name of          0:10:00
                                                                      adoption director in
                                                                      state office.
Jessica Wheeler              3/6/2007 Mississippi                     Update calendar of          0:12:05
                                                                      pretrial deadlines
                                                                      (Court and internal).
Jessica Wheeler              3/6/2007 Mississippi                     Meeting with ET,            0:35:43
                                                                      SN, HB, TK, and
                                                                      CR re reviewing
                                                                      and revising
                                                                      Defendants'
                                                                      updated FRE
                                                                      proposals. (SN and
                                                                      JW stayed for a few
                                                                      minutes after others
                                                                      left.)
Jessica Wheeler              3/6/2007 Mississippi                     Conference call             0:37:00
                                                                      with co-counsel,
                                                                      ET, SN, and PS.
Jessica Wheeler              3/6/2007 Mississippi                     Search for                  1:35:00
                                                                      complete text of
                                                                      American Academy
                                                                      of Pediatrics article
                                                                      "Fostering Health."
Jessica Wheeler              3/6/2007 Mississippi                     Review, cite-check,         1:53:29
                                                                      and revise Defs'
                                                                      most recent FRE
                                                                      summaries.
Jessica Wheeler              3/6/2007 Mississippi                     Review, cite-check,         3:31:36
                                                                      and revise Defs'
                                                                      most recent FRE
                                                                      summary of John
                                                                      A's case file.

Total: 3/6/2007
                                                                                        8.59


Jessica Wheeler              3/7/2007 Mississippi                     Discuss paralegal           0:15:00
                                                                      tasks with HB.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 336 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   132



User                      Date        Client                          Description             Time Spent


Jessica Wheeler              3/7/2007 Mississippi                     Review P-stamped           0:16:44
                                                                      documents to
                                                                      determine where
                                                                      Bates-stamping of
                                                                      publicly available
                                                                      documents
                                                                      requested by
                                                                      Defendants should
                                                                      begin. E-mail John
                                                                      Piskora regarding
                                                                      same.
Jessica Wheeler              3/7/2007 Mississippi                     Prepare and send           0:20:00
                                                                      to Randy Roebuck
                                                                      cover letter and
                                                                      transcript, errata
                                                                      sheet, certification,
                                                                      and self-addressed
                                                                      stamped envelope.
Jessica Wheeler              3/7/2007 Mississippi                     Search for any             0:47:09
                                                                      news updates
                                                                      regarding MS foster
                                                                      father cited in facts
                                                                      who was arrested
                                                                      for molesting
                                                                      children in his care.
Jessica Wheeler              3/7/2007 Mississippi                     Review, cite-check,        2:44:54
                                                                      and revise Defs'
                                                                      most recent FRE
                                                                      summary of Olivia
                                                                      Y.'s case file.
Jessica Wheeler              3/7/2007 Mississippi                     Review, cite-check,        2:53:03
                                                                      and revise Defs'
                                                                      most recent FRE
                                                                      summary of Olivia
                                                                      Y.'s case file.

Total: 3/7/2007
                                                                                       7.28


Jessica Wheeler              3/8/2007 Mississippi                     Update working             1:52:07
                                                                      draft of PTO to
                                                                      reflect Defendants
                                                                      most recent
                                                                      changes and
                                                                      Plaintiffs additions
                                                                      to witness list, etc.
Jessica Wheeler              3/8/2007 Mississippi                     Review, cite-check,        2:39:47
                                                                      and revise
                                                                      Defendants' most
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 337 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   133



User                      Date        Client                          Description              Time Spent


                                                                      recent proposed
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.
Jessica Wheeler              3/8/2007 Mississippi                     Review, cite-check,         3:00:07
                                                                      and revise
                                                                      Defendants' most
                                                                      recent proposed
                                                                      FRE summary of
                                                                      Olivia Y.'s case file.

Total: 3/8/2007
                                                                                        7.53


Jessica Wheeler              3/9/2007 Mississippi                     Revise calendar of          0:48:24
                                                                      trial / pretrial
                                                                      internal and Court
                                                                      deadlines.
Jessica Wheeler              3/9/2007 Mississippi                     Review, cite-check,         4:46:55
                                                                      and revise
                                                                      Defendants' most
                                                                      recent FRE
                                                                      summary of Olivia
                                                                      Y.'s case file.

Total: 3/9/2007
                                                                                        5.59


Jessica Wheeler             3/10/2007 Mississippi                     Review, cite-check,         3:45:49
                                                                      and revise
                                                                      Defendants' most
                                                                      recent FRE
                                                                      summary of Olivia
                                                                      Y.'s case file.

Total: 3/10/2007
                                                                                        3.76


Jessica Wheeler             3/11/2007 Mississippi                     Review, cite-check,         4:09:48
                                                                      and revise
                                                                      Defendants' most
                                                                      recent FRE
                                                                      summary of Olivia
                                                                      Y.'s case file.

Total: 3/11/2007
                                                                                        4.16
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 338 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   134



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             3/12/2007 Mississippi                     Revise calendar of         0:35:00
                                                                      internal and Court
                                                                      deadlines.
Jessica Wheeler             3/12/2007 Mississippi                     Revise Defendants'         1:22:21
                                                                      most recent FRE
                                                                      summaries of
                                                                      Named Plaintiffs'
                                                                      case files.

Total: 3/12/2007
                                                                                       1.95


Jessica Wheeler             3/13/2007 Mississippi                     Prepare materials          0:20:00
                                                                      (pretrial/trial
                                                                      calendar, trial plan,
                                                                      working PTO, etc)
                                                                      for use in trial-prep
                                                                      meeting with
                                                                      co-counsel.
Jessica Wheeler             3/13/2007 Mississippi                     Draft list of              0:37:48
                                                                      additional trial-prep
                                                                      tasks discussed in
                                                                      meeting with
                                                                      co-counsel.
Jessica Wheeler             3/13/2007 Mississippi                     Finalize revisions to      1:45:00
                                                                      FRE summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
Jessica Wheeler             3/13/2007 Mississippi                     Gather and review          3:40:33
                                                                      memoranda and
                                                                      correspondence
                                                                      concerning
                                                                      private-provider
                                                                      witnesses.
Jessica Wheeler             3/13/2007 Mississippi                     Meeting with               3:45:00
                                                                      co-counsel and
                                                                      MRL, SL, ET, SN,
                                                                      PS, YG, and HB
                                                                      regarding trial
                                                                      preparation.

Total: 3/13/2007
                                                                                      10.14


Jessica Wheeler             3/14/2007 Mississippi                     Discuss preparation        0:07:00
                                                                      of cross
                                                                      examination
                                                                      materials with TK,
                                                                      HB, and Cr.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 339 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   135



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             3/14/2007 Mississippi                     Discuss NP-related         0:21:20
                                                                      demonstrative aids
                                                                      with SN, HB, and
                                                                      TK (TK present for
                                                                      portion only).
Jessica Wheeler             3/14/2007 Mississippi                     Meeting with MRL,          1:10:00
                                                                      ET, SN, PS, and
                                                                      HB (MRL left early)
                                                                      re trial preparation.

Total: 3/14/2007
                                                                                       1.65


Jessica Wheeler             3/15/2007 Mississippi                     Search for missing         0:55:00
                                                                      page of exhibit.
Jessica Wheeler             3/15/2007 Mississippi                     Aggregate data             2:37:22
                                                                      from Licensed
                                                                      Foster Homes
                                                                      MACWIS print-out.
Jessica Wheeler             3/15/2007 Mississippi                     Aggregate data             4:17:08
                                                                      from Licensed
                                                                      Foster Homes
                                                                      MACWIS print-out.

Total: 3/15/2007
                                                                                       7.83


Jessica Wheeler             3/16/2007 Mississippi                     Aggregate data             5:02:47
                                                                      regarding licensed
                                                                      foster homes.

Total: 3/16/2007
                                                                                       5.05


Jessica Wheeler             3/19/2007 Mississippi                     Catalogue                  0:19:04
                                                                      videotaped
                                                                      depositions and
                                                                      format of footage.
Jessica Wheeler             3/19/2007 Mississippi                     Prepare electronic         0:36:50
                                                                      copies of trial
                                                                      exhibits.
Jessica Wheeler             3/19/2007 Mississippi                     Revise proposed            1:52:07
                                                                      PTO with additional
                                                                      exhibit and
                                                                      deposition
                                                                      designation
                                                                      information.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 340 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   136



User                      Date        Client                          Description           Time Spent


Jessica Wheeler             3/19/2007 Mississippi                     Finalize proposed        2:04:49
                                                                      FRE data
                                                                      aggregation for
                                                                      review by
                                                                      Defendants.
Jessica Wheeler             3/19/2007 Mississippi                     Finalize proposed        4:22:14
                                                                      FRE data
                                                                      aggregation for
                                                                      review by
                                                                      Defendants.

Total: 3/19/2007
                                                                                     9.25


Jessica Wheeler             3/20/2007 Mississippi                     Review and save          0:04:00
                                                                      correspondence
                                                                      from contacts.
Jessica Wheeler             3/20/2007 Mississippi                     Telephone calls          0:10:00
                                                                      with ET re sending
                                                                      Defendants exhibits
                                                                      they requested.
Jessica Wheeler             3/20/2007 Mississippi                     Finish preparing         0:43:00
                                                                      exhibits requested
                                                                      by Defendants for
                                                                      submission to them.
Jessica Wheeler             3/20/2007 Mississippi                     Conference call          0:59:00
                                                                      with ET, SN, YG,
                                                                      PS, HB, TK, and
                                                                      CR regarding trial
                                                                      preparation (SN,
                                                                      JW, and ET
                                                                      continued
                                                                      conversation after
                                                                      others departed).
Jessica Wheeler             3/20/2007 Mississippi                     Review, cite-check,      1:45:02
                                                                      and revise
                                                                      Defendants' most
                                                                      recent proposed
                                                                      FRE summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
Jessica Wheeler             3/20/2007 Mississippi                     Review, cite-check,      3:51:42
                                                                      and revise
                                                                      Defendants' most
                                                                      recent proposed
                                                                      FRE summaries of
                                                                      Named Plaintiffs'
                                                                      case files.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 341 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   137



User                      Date        Client                          Description              Time Spent



Total: 3/20/2007
                                                                                        7.55


Jessica Wheeler             3/21/2007 Mississippi                     Discuss tasks               0:05:00
                                                                      related to PTO,
                                                                      FRE summary of
                                                                      Jamison J.'s case
                                                                      file, and
                                                                      cross-examination
                                                                      preparation with
                                                                      HB, TK, and CR.
Jessica Wheeler             3/21/2007 Mississippi                     Review discovery            0:14:34
                                                                      indices and identify
                                                                      licensing file that is
                                                                      possible exhibit.
Jessica Wheeler             3/21/2007 Mississippi                     Discuss FOF with            0:23:12
                                                                      HB and YG (YG
                                                                      was present for
                                                                      only portion of
                                                                      discussion).
Jessica Wheeler             3/21/2007 Mississippi                     Telephone call with         0:24:35
                                                                      ET, YG, and HB
                                                                      regarding PTO and
                                                                      FOF.
Jessica Wheeler             3/21/2007 Mississippi                     Finalize revisions to       0:44:35
                                                                      FRE summaries of
                                                                      John A. and Olivia
                                                                      Y.'s case files.
Jessica Wheeler             3/21/2007 Mississippi                     Finalize revisions to       1:10:00
                                                                      FRE summaries of
                                                                      John A. and Olivia
                                                                      Y.'s case files.
Jessica Wheeler             3/21/2007 Mississippi                     Review draft FOF            3:25:28
                                                                      and confirm that all
                                                                      exhibits and
                                                                      deposition
                                                                      designations are
                                                                      included in PTO.
Jessica Wheeler             3/21/2007 Mississippi                     Review draft FOF            4:18:26
                                                                      and confirm that all
                                                                      exhibits and
                                                                      deposition
                                                                      designations are
                                                                      included in PTO.

Total: 3/21/2007
                                                                                       10.76
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 342 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   138



User                      Date        Client                          Description               Time Spent


Jessica Wheeler             3/22/2007 Mississippi                     Prepare                      0:20:00
                                                                      Defendants'
                                                                      exhibits for review
                                                                      by PS.
Jessica Wheeler             3/22/2007 Mississippi                     Prepare a licensing          0:20:00
                                                                      file for review by ET
                                                                      as a potential
                                                                      exhibit; identify and
                                                                      prepare for review
                                                                      related documents.
Jessica Wheeler             3/22/2007 Mississippi                     Review draft FOF             3:08:36
                                                                      and confirm that all
                                                                      necessary exhibits
                                                                      and deposition
                                                                      designations are
                                                                      included in PTO.
Jessica Wheeler             3/22/2007 Mississippi                     Review draft FOF             4:51:05
                                                                      and confirm that all
                                                                      necessary exhibits
                                                                      and deposition
                                                                      designations are
                                                                      included in PTO.

Total: 3/22/2007
                                                                                         8.65


Jessica Wheeler             3/23/2007 Mississippi                     Finalize revised             2:04:47
                                                                      PTO for submission
                                                                      to Defendants.
Jessica Wheeler             3/23/2007 Mississippi                     Finalize revised             5:54:46
                                                                      PTO for submission
                                                                      to Defendants.

Total: 3/23/2007
                                                                                         7.99


Jessica Wheeler             3/26/2007 Mississippi                     Finalize revised             3:15:30
                                                                      PTO.
Jessica Wheeler             3/26/2007 Mississippi                     Finalize revised             5:20:11
                                                                      PTO.

Total: 3/26/2007
                                                                                         8.60


Jessica Wheeler             3/27/2007 Mississippi                     Discuss exhibit              0:05:00
                                                                      scanning with HB,
                                                                      TK, and CR.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 343 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   139



User                      Date        Client                          Description              Time Spent


Jessica Wheeler             3/27/2007 Mississippi                     Conference call             0:20:00
                                                                      with co-counsel,
                                                                      ET, SL, SN, and PS
                                                                      (SN and PS joined
                                                                      after the call had
                                                                      started).
Jessica Wheeler             3/27/2007 Mississippi                     Discuss tasks with          0:45:00
                                                                      SN.
Jessica Wheeler             3/27/2007 Mississippi                     Finalize revised            1:27:32
                                                                      PTO.

Total: 3/27/2007
                                                                                        2.62


Jessica Wheeler             3/29/2007 Mississippi                     Assist in preparing         5:20:24
                                                                      Motion for
                                                                      Preliminary
                                                                      Approval of
                                                                      Stipulated
                                                                      Settlement,
                                                                      proposed Order,
                                                                      and Notice of
                                                                      Proposed
                                                                      Settlement (fill in
                                                                      dates and captions;
                                                                      proofread; etc).

Total: 3/29/2007
                                                                                        5.34


Jessica Wheeler             3/30/2007 Mississippi                     Update log re               1:25:00
                                                                      status of projects
                                                                      that are being
                                                                      suspended
                                                                      because of the
                                                                      liability settlement
                                                                      but that may need
                                                                      to be resumed if
                                                                      remedy goes to trial.

Total: 3/30/2007
                                                                                        1.42


Jessica Wheeler              4/2/2007 Mississippi                     Draft notes                 1:04:12
                                                                      regarding status of
                                                                      ongoing projects
                                                                      suspended due to
                                                                      liability settlement.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 344 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   140



User                      Date        Client                          Description             Time Spent


Jessica Wheeler              4/2/2007 Mississippi                     Assist in revising         2:49:13
                                                                      joint motion for
                                                                      preliminary
                                                                      approval and
                                                                      associated
                                                                      documents per
                                                                      Defendants'
                                                                      specifications and
                                                                      co-counsel's
                                                                      recommendations;
                                                                      prepare exhibits.

Total: 4/2/2007
                                                                                       3.89


Jessica Wheeler              4/3/2007 Mississippi                     Conference call            0:41:00
                                                                      with co-counsel,
                                                                      MRL, ET, SN, and
                                                                      PS.
Jessica Wheeler              4/3/2007 Mississippi                     Draft minutes of           1:00:36
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler              4/3/2007 Mississippi                     Create calendar of         1:01:42
                                                                      deadlines and
                                                                      benchmarks for
                                                                      remedy phase of
                                                                      litigation.

Total: 4/3/2007
                                                                                       2.72


Jessica Wheeler              4/4/2007 Mississippi                     Review and save            0:23:30
                                                                      correspondence
                                                                      with co-counsel and
                                                                      contacts regarding
                                                                      potential mediators
                                                                      and needed
                                                                      reforms.
Jessica Wheeler              4/4/2007 Mississippi                     Exchange emails            0:28:35
                                                                      with co-counsel
                                                                      regarding obtaining
                                                                      copies of deposition
                                                                      DVDs and
                                                                      differently formatted
                                                                      deposition
                                                                      transcripts.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 345 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   141



User                      Date        Client                          Description               Time Spent


Jessica Wheeler              4/4/2007 Mississippi                     Draft minutes of             1:34:54
                                                                      co-counsel
                                                                      conference call
                                                                      (continued).

Total: 4/4/2007
                                                                                         2.45


Jessica Wheeler              4/5/2007 Mississippi                     Review and save              0:10:35
                                                                      correspondence
                                                                      with Defendants
                                                                      and experts.
Jessica Wheeler              4/5/2007 Mississippi                     Proofread, prepare,          0:37:14
                                                                      and send letter to
                                                                      Defendants and
                                                                      carbon copied
                                                                      individuals via
                                                                      electronic and
                                                                      regular mail.

Total: 4/5/2007
                                                                                         0.80


Jessica Wheeler              4/6/2007 Mississippi                     Update log                   0:41:53
                                                                      regarding status of
                                                                      suspended ongoing
                                                                      projects.

Total: 4/6/2007
                                                                                         0.70


Jessica Wheeler              4/9/2007 Mississippi                     Correspond with PS           0:09:00
                                                                      regarding
                                                                      settlement terms
                                                                      most recently
                                                                      submitted to
                                                                      Defendants in
                                                                      previous round of
                                                                      negotiations.
Jessica Wheeler              4/9/2007 Mississippi                     Add to log                   1:37:00
                                                                      regarding status of
                                                                      suspended projects.
Jessica Wheeler              4/9/2007 Mississippi                     Return intake                2:03:58
                                                                      phone call; discuss
                                                                      call with ET; write
                                                                      up memorandum
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 346 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   142



User                      Date        Client                          Description             Time Spent


                                                                      regarding contents
                                                                      of call and circulate
                                                                      to team.

Total: 4/9/2007
                                                                                       3.84


Jessica Wheeler             4/10/2007 Mississippi                     Conference call            0:16:00
                                                                      with co-counsel,
                                                                      ET, SN, PS, and
                                                                      YG.
Jessica Wheeler             4/10/2007 Mississippi                     Draft minutes of           1:10:46
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             4/10/2007 Mississippi                     Search for                 2:12:44
                                                                      memoranda and
                                                                      press regarding
                                                                      unlicensed group
                                                                      homes in
                                                                      Mississippi.

Total: 4/10/2007
                                                                                       3.66


Jessica Wheeler             4/11/2007 Mississippi                     Proofread, prepare,        1:02:38
                                                                      and send letter
                                                                      regarding mediators
                                                                      to Defendants and
                                                                      carbon-copied
                                                                      individuals via
                                                                      electronic and
                                                                      regular mail.
Jessica Wheeler             4/11/2007 Mississippi                     Add to log re status       1:15:00
                                                                      of suspended
                                                                      ongoing projects.

Total: 4/11/2007
                                                                                       2.29


Jessica Wheeler             4/12/2007 Mississippi                     Review and save            0:05:01
                                                                      letter from
                                                                      Defendants
                                                                      regarding proposed
                                                                      mediators and
                                                                      e-mail from
                                                                      co-counsel
                                                                      regarding
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 347 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   143



User                      Date        Client                          Description             Time Spent


                                                                      background of one
                                                                      of proposed
                                                                      mediators.
Jessica Wheeler             4/12/2007 Mississippi                     Research mediator          1:56:12
                                                                      candidate
                                                                      propsosed by
                                                                      Defendants.
Jessica Wheeler             4/12/2007 Mississippi                     Research mediator          2:05:14
                                                                      candidate proposed
                                                                      by Defendants.

Total: 4/12/2007
                                                                                       4.11


Jessica Wheeler             4/13/2007 Mississippi                     Find current               0:05:00
                                                                      placement of W.
                                                                      children on map;
                                                                      find driving time
                                                                      from Jackson and
                                                                      Memphis.
Jessica Wheeler             4/13/2007 Mississippi                     Finish drafting            0:44:10
                                                                      minutes of
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             4/13/2007 Mississippi                     Field calls from           4:13:40
                                                                      individuals with
                                                                      questions about
                                                                      Notice of
                                                                      Settlement they
                                                                      received.

Total: 4/13/2007
                                                                                       5.05


Jessica Wheeler             4/16/2007 Mississippi                     Field telephone            4:27:23
                                                                      calls from recipients
                                                                      of Notice of
                                                                      Settlement who
                                                                      have questions
                                                                      about settlement.

Total: 4/16/2007
                                                                                       4.46


Jessica Wheeler             4/17/2007 Mississippi                     Check sources of           0:05:00
                                                                      ANE evidence for
                                                                      any information re
                                                                      W children's current
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 348 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   144



User                      Date        Client                          Description             Time Spent


                                                                      placement; report to
                                                                      ET and SN that
                                                                      none found.
Jessica Wheeler             4/17/2007 Mississippi                     Discuss phone calls        0:05:00
                                                                      re Notices with SN.
Jessica Wheeler             4/17/2007 Mississippi                     Conference call            0:10:00
                                                                      with co-counsel,
                                                                      ET, SN, PS, and
                                                                      YG.
Jessica Wheeler             4/17/2007 Mississippi                     Field telephone            2:00:00
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.
Jessica Wheeler             4/17/2007 Mississippi                     Field telephone            5:00:00
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions.

Total: 4/17/2007
                                                                                       7.33


Jessica Wheeler             4/18/2007 Mississippi                     Field telephone            5:30:00
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions.

Total: 4/18/2007
                                                                                       5.50


Jessica Wheeler             4/19/2007 Mississippi                     Locate and prepare         1:00:00
                                                                      necessary
                                                                      attachments to
                                                                      letter to Judge Lee
                                                                      re proposed
                                                                      mediators.
Jessica Wheeler             4/19/2007 Mississippi                     Field telephone            4:01:07
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.

Total: 4/19/2007
                                                                                       5.02


Jessica Wheeler             4/20/2007 Mississippi                     Field telephone            3:45:00
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 349 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   145



User                      Date        Client                          Description             Time Spent



Total: 4/20/2007
                                                                                       3.75


Jessica Wheeler             4/23/2007 Mississippi                     Prepare and send           0:20:00
                                                                      letter to Defendants
                                                                      and carbon-copied
                                                                      individuals via
                                                                      electronic and
                                                                      regular mail.
Jessica Wheeler             4/23/2007 Mississippi                     Prepare and send           0:20:00
                                                                      letter to W children
                                                                      via Federal Express.
Jessica Wheeler             4/23/2007 Mississippi                     Field telephone            3:45:00
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions.

Total: 4/23/2007
                                                                                       4.41


Jessica Wheeler             4/24/2007 Mississippi                     Conference call            0:10:00
                                                                      with ET and SN re
                                                                      making contact with
                                                                      W children.
Jessica Wheeler             4/24/2007 Mississippi                     Conference call            0:15:09
                                                                      with ET and SN re
                                                                      handling of reports
                                                                      of risk of harm to
                                                                      children in custody.
Jessica Wheeler             4/24/2007 Mississippi                     Review FOF re W            0:31:14
                                                                      children in
                                                                      preparation for
                                                                      possible telephone
                                                                      call with them.
Jessica Wheeler             4/24/2007 Mississippi                     Conference call            0:40:19
                                                                      with ET and SN re
                                                                      how to respond to
                                                                      reports of risk to
                                                                      foster children
                                                                      received during
                                                                      calls from recipients
                                                                      of Notice.
Jessica Wheeler             4/24/2007 Mississippi                     Draft summary of           1:35:00
                                                                      reports of risk to
                                                                      foster children
                                                                      received in calls re
                                                                      Notice.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 350 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   146



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             4/24/2007 Mississippi                     Field telephone            1:38:25
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.

Total: 4/24/2007
                                                                                       4.83


Jessica Wheeler             4/26/2007 Mississippi                     Discuss MS-trip            0:03:00
                                                                      travel arrangments
                                                                      with EC.
Jessica Wheeler             4/26/2007 Mississippi                     Discuss MS trip            0:05:00
                                                                      with SN.
Jessica Wheeler             4/26/2007 Mississippi                     Discuss with SN            0:10:00
                                                                      how to proceed with
                                                                      phone call from
                                                                      recipient of Notice
                                                                      who indicates
                                                                      possible
                                                                      maltreatment of
                                                                      foster children.
Jessica Wheeler             4/26/2007 Mississippi                     Meeting with ET            0:11:00
                                                                      and SN re trip to
                                                                      MS May 8 and 9.
Jessica Wheeler             4/26/2007 Mississippi                     Prepare and send           0:12:11
                                                                      second FedEx to W
                                                                      children.
Jessica Wheeler             4/26/2007 Mississippi                     Search for                 0:14:00
                                                                      information re
                                                                      whereabouts of W
                                                                      children foster
                                                                      home (alternate
                                                                      addresses for
                                                                      phone number
                                                                      provided, etc);
                                                                      report to ET and SN.
Jessica Wheeler             4/26/2007 Mississippi                     Track FedEx to W           0:15:16
                                                                      children.
Jessica Wheeler             4/26/2007 Mississippi                     Coordinate with EC         0:21:30
                                                                      re travel
                                                                      arrangements for
                                                                      MS trip.
Jessica Wheeler             4/26/2007 Mississippi                     Field telephone            2:44:50
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 351 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   147



User                      Date        Client                          Description             Time Spent



Total: 4/26/2007
                                                                                       4.27


Jessica Wheeler             4/30/2007 Mississippi                     Confirm that CR did        0:10:00
                                                                      not receive
                                                                      correspondence
                                                                      from Defendants re
                                                                      remedial planning
                                                                      during weekend.
Jessica Wheeler             4/30/2007 Mississippi                     Field telephone            1:33:01
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.

Total: 4/30/2007
                                                                                       1.72


Jessica Wheeler              5/1/2007 Mississippi                     Prepare and send           0:10:00
                                                                      letter to Defendants
                                                                      and carbon copied
                                                                      individuals via
                                                                      electronic mail.
Jessica Wheeler              5/1/2007 Mississippi                     Review letters to          1:30:00
                                                                      Judge Lee from
                                                                      recipients of Notice;
                                                                      find and circulate
                                                                      further information
                                                                      regarding foster
                                                                      child from whom we
                                                                      received letter.
Jessica Wheeler              5/1/2007 Mississippi                     Prepare materials          1:30:00
                                                                      (FOF, former
                                                                      proposed
                                                                      settlement terms,
                                                                      settlement
                                                                      agreement,
                                                                      10/31/06 MDHS
                                                                      update to Carola
                                                                      Pike) and extract
                                                                      FOF outline for
                                                                      MRL, ET, SN, and
                                                                      TK meeting with
                                                                      experts.
Jessica Wheeler              5/1/2007 Mississippi                     Telephone calls            1:45:00
                                                                      with ET re letter
                                                                      from class member;
                                                                      telephone call with
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 352 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   148



User                      Date        Client                          Description             Time Spent


                                                                      class member (PS
                                                                      participated in
                                                                      portion of call).

Total: 5/1/2007
                                                                                       4.92


Jessica Wheeler              5/2/2007 Mississippi                     Find and verify            0:20:00
                                                                      contact information
                                                                      and directions for
                                                                      facility where John
                                                                      A. has been moved;
                                                                      provide information
                                                                      to ET and SN.
Jessica Wheeler              5/2/2007 Mississippi                     Telephone call with        0:21:45
                                                                      SN re email that
                                                                      has come in for her
                                                                      while she's been in
                                                                      MS and re
                                                                      arranging meeting
                                                                      with foster child.
Jessica Wheeler              5/2/2007 Mississippi                     Prepare and send           0:22:46
                                                                      letter to Defendants
                                                                      via electronic and
                                                                      regular mail.
Jessica Wheeler              5/2/2007 Mississippi                     Field telephone            2:28:11
                                                                      calls from recipients
                                                                      of Notice who have
                                                                      questions about it.

Total: 5/2/2007
                                                                                       3.54


Jessica Wheeler              5/3/2007 Mississippi                     Field telephone            4:30:00
                                                                      calls from recipients
                                                                      of Notice with
                                                                      questions about it.

Total: 5/3/2007
                                                                                       4.50


Jessica Wheeler              5/7/2007 Mississippi                     Meeting with ET            0:20:27
                                                                      and TK re fairness
                                                                      hearing submission.
Jessica Wheeler              5/7/2007 Mississippi                     Draft affidavit re         0:38:00
                                                                      calls re Notice.
Jessica Wheeler              5/7/2007 Mississippi                     Copy and review            0:51:13
                                                                      NP record update.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 353 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   149



User                      Date        Client                          Description             Time Spent


Jessica Wheeler              5/7/2007 Mississippi                     Field telephone            1:22:51
                                                                      calls from Notice
                                                                      recipients with
                                                                      questions about it.

Total: 5/7/2007
                                                                                       3.20


Jessica Wheeler              5/8/2007 Mississippi                     Work on affidavit re       0:45:00
                                                                      callers in response
                                                                      to Notice.
Jessica Wheeler              5/8/2007 Mississippi                     Meeting with W.            2:20:00
                                                                      children and foster
                                                                      mother (and ET,
                                                                      SN).

Total: 5/8/2007
                                                                                       3.08


Jessica Wheeler              5/9/2007 Mississippi                     Meeting with ET,           3:30:00
                                                                      SN, and service
                                                                      providers.

Total: 5/9/2007
                                                                                       3.50


Jessica Wheeler             5/10/2007 Mississippi                     Field telephone call       0:20:00
                                                                      from recipient of
                                                                      Notice with
                                                                      questions about it.
Jessica Wheeler             5/10/2007 Mississippi                     Review, copy, scan,        0:20:35
                                                                      and circulate
                                                                      materials provided
                                                                      by stakeholders.
Jessica Wheeler             5/10/2007 Mississippi                     Update affidavit           3:18:21
                                                                      with information
                                                                      obtained in May 9
                                                                      meeting.
Jessica Wheeler             5/10/2007 Mississippi                     Update affidavit           4:15:00
                                                                      with information
                                                                      obtained in May 9
                                                                      meeting.

Total: 5/10/2007
                                                                                       8.23
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 354 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   150



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             5/11/2007 Mississippi                     Telephone call with        0:23:35
                                                                      class member.
Jessica Wheeler             5/11/2007 Mississippi                     Draft and revise           1:45:00
                                                                      affidavit.
Jessica Wheeler             5/11/2007 Mississippi                     Draft and revise           5:30:00
                                                                      affidavit.

Total: 5/11/2007
                                                                                       7.64


Jessica Wheeler             5/14/2007 Mississippi                     Telephone call with        0:10:00
                                                                      Jerelyn Jones re
                                                                      her submission to
                                                                      Court in response
                                                                      to Notice.
Jessica Wheeler             5/14/2007 Mississippi                     Assist in preparing        2:03:11
                                                                      Motion for Final
                                                                      Approval and
                                                                      Plaintiffs' Memo. in
                                                                      Support, along with
                                                                      all exhibits.
Jessica Wheeler             5/14/2007 Mississippi                     Assist in preparing        5:07:53
                                                                      Motion for Final
                                                                      Approval and
                                                                      Plaintiffs' Memo. in
                                                                      Support, along with
                                                                      all exhibits.

Total: 5/14/2007
                                                                                       7.35


Jessica Wheeler             5/15/2007 Mississippi                     Search for current         0:21:00
                                                                      MS foster care
                                                                      board rates at ET's
                                                                      request.
Jessica Wheeler             5/15/2007 Mississippi                     Conference call            0:30:00
                                                                      with co-counsel,
                                                                      MRL, ET, PS, and
                                                                      YG.
Jessica Wheeler             5/15/2007 Mississippi                     Prepare materials          1:20:00
                                                                      for use by SN for
                                                                      fairness hearing;
                                                                      assist AA in
                                                                      preparing same for
                                                                      use by MRL.
Jessica Wheeler             5/15/2007 Mississippi                     Field telephone            3:12:00
                                                                      calls from recipients
                                                                      of Notice with
                                                                      questions about it.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 355 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   151



User                      Date        Client                          Description             Time Spent



Total: 5/15/2007
                                                                                       5.38


Jessica Wheeler             5/16/2007 Mississippi                     Telephone call with        0:03:00
                                                                      ET re sharing W
                                                                      chidlren discovery
                                                                      documents with
                                                                      their next friend.
Jessica Wheeler             5/16/2007 Mississippi                     Telephone call with        0:07:00
                                                                      class member's
                                                                      foster mother re his
                                                                      availabilty.
Jessica Wheeler             5/16/2007 Mississippi                     Discuss contact            0:10:00
                                                                      with class member
                                                                      with PS.
Jessica Wheeler             5/16/2007 Mississippi                     Review and take            1:02:58
                                                                      notes regarding
                                                                      record update for
                                                                      John A.
Jessica Wheeler             5/16/2007 Mississippi                     Prepare and ship W         1:08:58
                                                                      children's case file
                                                                      to MS at request of
                                                                      NF Zelatra Williams.
Jessica Wheeler             5/16/2007 Mississippi                     Draft memorandum           2:46:32
                                                                      re meeting with W.
                                                                      children and
                                                                      services needed by
                                                                      them.

Total: 5/16/2007
                                                                                       5.32


Jessica Wheeler             5/17/2007 Mississippi                     Field telephone            2:34:22
                                                                      calls from recipients
                                                                      of Notice.
Jessica Wheeler             5/17/2007 Mississippi                     Review and index           2:41:58
                                                                      John A. record
                                                                      update.

Total: 5/17/2007
                                                                                       5.27


Jessica Wheeler             5/18/2007 Mississippi                     Discuss ways to            0:15:00
                                                                      help class member
                                                                      with Sara Munson.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 356 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   152



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             5/18/2007 Mississippi                     Discuss ways to            0:25:00
                                                                      help class member
                                                                      with PS.
Jessica Wheeler             5/18/2007 Mississippi                     Field telephone            1:24:04
                                                                      calls and e-mails
                                                                      from recipients of
                                                                      Notice.
Jessica Wheeler             5/18/2007 Mississippi                     Memorialize                2:00:00
                                                                      conversations with
                                                                      recipients of Notice.

Total: 5/18/2007
                                                                                       4.07


Jessica Wheeler             5/21/2007 Mississippi                     Field and                  1:58:38
                                                                      memorialize
                                                                      telephone calls
                                                                      from recipients of
                                                                      Notice.

Total: 5/21/2007
                                                                                       1.98


Jessica Wheeler             5/22/2007 Mississippi                     Conference call            0:29:49
                                                                      with co-counsel,
                                                                      ET, SN, YG, PS.
Jessica Wheeler             5/22/2007 Mississippi                     Draft minutes of           0:30:00
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             5/22/2007 Mississippi                     Field and                  1:23:59
                                                                      memorialize
                                                                      telephone calls
                                                                      from recipients of
                                                                      Notice.
Jessica Wheeler             5/22/2007 Mississippi                     Assist in preparing        2:35:45
                                                                      and finalizing
                                                                      proposed
                                                                      agreements for
                                                                      plans and services
                                                                      for names Plaintiffs.

Total: 5/22/2007
                                                                                       5.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 357 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   153



User                      Date        Client                          Description            Time Spent


Jessica Wheeler             5/23/2007 Mississippi                     Proofread and             0:43:12
                                                                      make edits to
                                                                      confidential
                                                                      submission to
                                                                      Justice Anderson.
Jessica Wheeler             5/23/2007 Mississippi                     Field and                 2:52:11
                                                                      memorialize
                                                                      telephone calls
                                                                      from recipients of
                                                                      Notice.

Total: 5/23/2007
                                                                                      3.59


Jessica Wheeler             5/24/2007 Mississippi                     Assist in                 3:32:53
                                                                      preparation of
                                                                      confidential
                                                                      submission to
                                                                      Justice Anderson.

Total: 5/24/2007
                                                                                      3.55


Jessica Wheeler             5/25/2007 Mississippi                     Respond to intake         0:06:00
                                                                      email.
Jessica Wheeler             5/25/2007 Mississippi                     Review and save           0:49:32
                                                                      correspondence
                                                                      from Defendants re
                                                                      COA meeting, NP
                                                                      plans and services,
                                                                      discovery timeline,
                                                                      and monitor
                                                                      proposals.

Total: 5/25/2007
                                                                                      0.93


Jessica Wheeler             5/29/2007 Mississippi                     Proofread revisions       0:15:31
                                                                      to confidential
                                                                      submission to
                                                                      Justice Anderson.
Jessica Wheeler             5/29/2007 Mississippi                     Prepare materials         0:25:19
                                                                      (notes re NP record
                                                                      updates, etc) for
                                                                      use by ET on trip to
                                                                      MS.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 358 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   154



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             5/29/2007 Mississippi                     Conference call            0:40:00
                                                                      with ET, SN, and
                                                                      PS re Defendants'
                                                                      response re service
                                                                      plans for named
                                                                      Plaintiffs.
Jessica Wheeler             5/29/2007 Mississippi                     Conference call            0:40:00
                                                                      with co-counsel,
                                                                      MRL, ET, SN, PS,
                                                                      and YGK.
Jessica Wheeler             5/29/2007 Mississippi                     Review and                 0:54:43
                                                                      suggest revisions to
                                                                      draft reply to
                                                                      Defendants'
                                                                      response re named
                                                                      Plaintiff services
                                                                      plans.
Jessica Wheeler             5/29/2007 Mississippi                     Review John A.             1:15:00
                                                                      case records to
                                                                      determine school
                                                                      enrollment status
                                                                      after 2005
                                                                      expulsion. Report
                                                                      findings to ET and
                                                                      SN.
Jessica Wheeler             5/29/2007 Mississippi                     Assist in preparing        1:15:00
                                                                      confidential
                                                                      submission to
                                                                      Justice Anderson
                                                                      (continued from last
                                                                      week).
Jessica Wheeler             5/29/2007 Mississippi                     Assist in preparing        1:43:44
                                                                      confidential
                                                                      submission to
                                                                      Justice Anderson
                                                                      (continued from
                                                                      earlier today).

Total: 5/29/2007
                                                                                       7.16


Jessica Wheeler             5/30/2007 Mississippi                     Review materials           0:15:00
                                                                      from Defendants re
                                                                      plans and services
                                                                      for named Plaintiffs.
Jessica Wheeler             5/30/2007 Mississippi                     Memorialize                3:02:35
                                                                      meeting with W.
                                                                      kids and foster
                                                                      mother
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 359 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   155



User                      Date        Client                          Description             Time Spent



Total: 5/30/2007
                                                                                       3.29


Jessica Wheeler             5/31/2007 Mississippi                     Memorialize                0:45:00
                                                                      meeting with W
                                                                      children and foster
                                                                      mother.
Jessica Wheeler             5/31/2007 Mississippi                     Field telephone            1:24:25
                                                                      calls from recipients
                                                                      of Notice.

Total: 5/31/2007
                                                                                       2.16


Jessica Wheeler              6/1/2007 Mississippi                     Review final service       0:22:13
                                                                      plans for named
                                                                      Plaintiffs.
Jessica Wheeler              6/1/2007 Mississippi                     Memorialize phone          0:49:11
                                                                      calls from recipients
                                                                      of Notice.
Jessica Wheeler              6/1/2007 Mississippi                     Field intakes from         1:00:00
                                                                      recipients of Notice.

Total: 6/1/2007
                                                                                       2.19


Jessica Wheeler              6/4/2007 Mississippi                     Memorialize                1:26:06
                                                                      conversation with
                                                                      W. children.

Total: 6/4/2007
                                                                                       1.44


Jessica Wheeler              6/5/2007 Mississippi                     Review draft plan.         1:21:07


Total: 6/5/2007
                                                                                       1.35


Jessica Wheeler              6/6/2007 Mississippi                     Discuss draft plan         0:20:00
                                                                      with SN.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 360 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   156



User                      Date        Client                          Description             Time Spent



Total: 6/6/2007
                                                                                       0.33


Jessica Wheeler              6/8/2007 Mississippi                     Search for contact         0:10:00
                                                                      information for MS
                                                                      party with whom ET
                                                                      would like to make
                                                                      contact.
Jessica Wheeler              6/8/2007 Mississippi                     Prepare (proofread,        0:52:10
                                                                      etc) and send letter
                                                                      to Defendants re
                                                                      MDHS planning
                                                                      documents.

Total: 6/8/2007
                                                                                       1.04


Jessica Wheeler             6/11/2007 Mississippi                     Conference call            0:32:51
                                                                      with co-counsel,
                                                                      ET, MRL, PS, YG.
Jessica Wheeler             6/11/2007 Mississippi                     Draft minutes of           1:07:45
                                                                      co-counsel
                                                                      conference call.

Total: 6/11/2007
                                                                                       1.68


Jessica Wheeler             6/14/2007 Mississippi                     Memorialize                0:30:45
                                                                      conversations with
                                                                      recipients of Notice
                                                                      who called
                                                                      Children's Rights to
                                                                      report their
                                                                      experiences.

Total: 6/14/2007
                                                                                       0.51


Jessica Wheeler             6/19/2007 Mississippi                     Draft minutes of           0:15:00
                                                                      co-counsel
                                                                      conference call (will
                                                                      be continued).
Jessica Wheeler             6/19/2007 Mississippi                     Conference call            0:23:00
                                                                      with co-counsel,
                                                                      ET, SN, and PS.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 361 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   157



User                      Date        Client                          Description            Time Spent


Jessica Wheeler             6/19/2007 Mississippi                     Prepare copies of         1:05:00
                                                                      documents recently
                                                                      provided by
                                                                      Defendants for
                                                                      review by attorneys.
Jessica Wheeler             6/19/2007 Mississippi                     Review documents          2:00:00
                                                                      provided by
                                                                      Defendants for
                                                                      deficiencies.

Total: 6/19/2007
                                                                                      3.71


Jessica Wheeler             6/20/2007 Mississippi                     Review documents          1:00:00
                                                                      provided by
                                                                      Defendants for
                                                                      deficiencies.
Jessica Wheeler             6/20/2007 Mississippi                     Draft minutes of          1:06:33
                                                                      co-counsel
                                                                      conference call.
Jessica Wheeler             6/20/2007 Mississippi                     Prepare copies for        1:08:11
                                                                      review by ET of
                                                                      MACWIS
                                                                      documents and
                                                                      Permanency
                                                                      Hearing Reports
                                                                      recently produced
                                                                      by Defendants.

Total: 6/20/2007
                                                                                      3.25


Jessica Wheeler             6/21/2007 Mississippi                     Meeting with MRL,         1:05:00
                                                                      ET, SN, PS, and TK
                                                                      about case status
                                                                      and upcoming
                                                                      tasks.
Jessica Wheeler             6/21/2007 Mississippi                     Determine and map         1:13:16
                                                                      county breakdown
                                                                      of DFCS's new
                                                                      regional boundaries.
Jessica Wheeler             6/21/2007 Mississippi                     Review documents          1:41:15
                                                                      recently provided by
                                                                      Defendants for
                                                                      deficiencies.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 362 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   158



User                      Date        Client                          Description             Time Spent



Total: 6/21/2007
                                                                                       3.99


Jessica Wheeler             6/22/2007 Mississippi                     Telephone calls            0:55:00
                                                                      with class member
                                                                      who contacted CR
                                                                      when unable to
                                                                      reach caseworker
                                                                      or GAL; telephone
                                                                      call with office of
                                                                      GAL in question.
Jessica Wheeler             6/22/2007 Mississippi                     Proofread, prepare,        2:07:00
                                                                      and send letters
                                                                      regarding first draft
                                                                      Plan and
                                                                      abbreviated
                                                                      discovery schedule
                                                                      to Defendants.

Total: 6/22/2007
                                                                                       3.04


Jessica Wheeler             6/25/2007 Mississippi                     Organize                   1:00:00
                                                                      documents
                                                                      provided by
                                                                      Defendants

Total: 6/25/2007
                                                                                       1.00


Jessica Wheeler             6/26/2007 Mississippi                     Search for and             0:10:00
                                                                      obtain First Star
                                                                      report regarding
                                                                      different states'
                                                                      right to counsel
                                                                      laws.
Jessica Wheeler             6/26/2007 Mississippi                     Search for and             0:22:56
                                                                      obtain article by
                                                                      contact for review
                                                                      by SN in
                                                                      preparation for
                                                                      conversation with
                                                                      her.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 363 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   159



User                      Date        Client                          Description             Time Spent


Jessica Wheeler             6/26/2007 Mississippi                     Proofread, prepare,        0:38:15
                                                                      and send letter to
                                                                      Defendants re NP
                                                                      emancipation
                                                                      stipend.
Jessica Wheeler             6/26/2007 Mississippi                     Memorialize                1:45:01
                                                                      telephone calls
                                                                      from recipients of
                                                                      Notice.

Total: 6/26/2007
                                                                                       2.94


Jessica Wheeler             6/27/2007 Mississippi                     Place telephone            0:46:33
                                                                      call to class
                                                                      member with PS;
                                                                      discuss call with PS
                                                                      afterwards.
Jessica Wheeler             6/27/2007 Mississippi                     Memorialize phone          2:45:00
                                                                      calls from recipients
                                                                      of Notice.

Total: 6/27/2007
                                                                                       3.53


Jessica Wheeler             6/28/2007 Mississippi                     Memorialize phone          1:37:29
                                                                      calls from recipients
                                                                      of Notice.

Total: 6/28/2007
                                                                                       1.62



Total: Jessica Wheeler
                                                                                    623.50
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08   Page 364 of 658
5/7/2008                                    Children's Rights, Inc.
10:11 AM                                   User Defined Slip Listing                              Page   160



User                            Date        Client                          Description           Time Spent


Attorney/Para: Julian Darwall
Julian Darwall                    8/13/2007 Mississippi                     Draft intake memo        0:39:46

Julian Darwall                    8/13/2007 Mississippi                     Intake memo (draft)      0:49:49


Total: 8/13/2007
                                                                                           1.49



Total: Julian Darwall
                                                                                           1.49
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08   Page 365 of 658
5/7/2008                                    Children's Rights, Inc.
10:11 AM                                   User Defined Slip Listing                              Page   161



User                            Date        Client                          Description           Time Spent


Attorney/Para: Laura Ginsberg
Laura Ginsberg                    6/26/2007 Mississippi                     Research                 2:30:00
                                                                            reeivership

Total: 6/26/2007
                                                                                           2.50


Laura Ginsberg                    6/27/2007 Mississippi                     Research                 1:30:00
                                                                            receivership
Laura Ginsberg                    6/27/2007 Mississippi                     Research                 6:00:00
                                                                            receivership

Total: 6/27/2007
                                                                                           7.50


Laura Ginsberg                    6/28/2007 Mississippi                     Research                 3:30:00
                                                                            receivership

Total: 6/28/2007
                                                                                           3.50


Laura Ginsberg                    7/11/2007 Mississippi                     Research                 3:30:00
                                                                            receivership

Total: 7/11/2007
                                                                                           3.50


Laura Ginsberg                    7/12/2007 Mississippi                     Research                 2:40:00
                                                                            receivership
Laura Ginsberg                    7/12/2007 Mississippi                     Research                 4:30:00
                                                                            receivership

Total: 7/12/2007
                                                                                           7.17


Laura Ginsberg                    7/13/2007 Mississippi                     Research                 1:30:00
                                                                            receivership

Total: 7/13/2007
                                                                                           1.50


Laura Ginsberg                    7/17/2007 Mississippi                     Research                 2:00:00
                                                                            receivership
Laura Ginsberg                    7/17/2007 Mississippi                     Research                 3:00:00
                                                                            receivership
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 366 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   162



User                      Date        Client                          Description            Time Spent



Total: 7/17/2007
                                                                                      5.00


Laura Ginsberg              7/20/2007 Mississippi                     Research                  0:45:00
                                                                      receivership
Laura Ginsberg              7/20/2007 Mississippi                     Research                  0:45:00
                                                                      receivership

Total: 7/20/2007
                                                                                      1.50


Laura Ginsberg              7/25/2007 Mississippi                     Research                  1:30:00
                                                                      receivership

Total: 7/25/2007
                                                                                      1.50



Total: Laura Ginsberg
                                                                                     33.67
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08    Page 367 of 658
5/7/2008                                     Children's Rights, Inc.
10:11 AM                                    User Defined Slip Listing                                Page   163



User                            Date         Client                          Description             Time Spent


Attorney/Para: Mae Ackerman-Brimberg
Mae Ackerman-B                     9/6/2007 Mississippi                      Finalizing Notice of       0:21:50
                                                                             service of Plfs.'
                                                                             Request for
                                                                             Production of
                                                                             Documents

Total: 9/6/2007
                                                                                              0.36


Mae Ackerman-B                     9/13/2007 Mississippi                     Compiling exhibits         1:00:42
                                                                             for Plfs.' Reponse
                                                                             to Defs.' Motion re:
                                                                             Scope of SDP
Mae Ackerman-B                     9/13/2007 Mississippi                     Finalizing Plfs.'          1:20:53
                                                                             Reponse to Defs.'
                                                                             Motion re: Scope of
                                                                             SDP

Total: 9/13/2007
                                                                                              2.36


Mae Ackerman-B                     9/27/2007 Mississippi                     Telephone call with        0:06:34
                                                                             Next Friend re:
                                                                             review of potential
                                                                             settlement
                                                                             agreement
Mae Ackerman-B                     9/27/2007 Mississippi                     Reviewing redlines         0:13:19
                                                                             to draft
                                                                             implementation
                                                                             plan & benchmarks

Total: 9/27/2007
                                                                                              0.33


Mae Ackerman-B                   10/30/2007 Mississippi                      Conference call            0:25:42
                                                                             with MS team re:
                                                                             strategy
Mae Ackerman-B                   10/30/2007 Mississippi                      Finalizing Minutes         0:37:11
                                                                             from MS team
                                                                             conference call
Mae Ackerman-B                   10/30/2007 Mississippi                      Finalizing Minutes         0:55:14
                                                                             from Conf. Call with
                                                                             MS team
       Case 3:04-cv-00251-HSO-ASH     Document 472-5          Filed 05/09/08   Page 368 of 658
5/7/2008                               Children's Rights, Inc.
10:11 AM                              User Defined Slip Listing                             Page   164



User                           Date   Client                           Description          Time Spent



Total: 10/30/2007
                                                                                     1.97



Total: Mae Ackerman-Brimberg
                                                                                     5.02
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 369 of 658
5/7/2008                                      Children's Rights, Inc.
10:11 AM                                     User Defined Slip Listing                               Page   165



User                             Date         Client                          Description            Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                       1/2/2007 Mississippi                     Telephone call with       0:30:00
                                                                              ET regarding settle
Marcia R Lowry                       1/2/2007 Mississippi                     Telephone call with       0:45:00
                                                                              SN, ET regarding
                                                                              settle

Total: 1/2/2007
                                                                                              1.25


Marcia R Lowry                       1/3/2007 Mississippi                     Review settle prop.       1:30:00


Total: 1/3/2007
                                                                                              1.50


Marcia R Lowry                       1/4/2007 Mississippi                     Review state settle       0:40:00
                                                                              prop.

Total: 1/4/2007
                                                                                              0.67


Marcia R Lowry                       1/5/2007 Mississippi                     Negotiations with         2:40:00
                                                                              Defs, SL, ET

Total: 1/5/2007
                                                                                              2.67


Marcia R Lowry                       1/9/2007 Mississippi                     Telephone call with       0:15:00
                                                                              ET regarding new
                                                                              witnesses
Marcia R Lowry                       1/9/2007 Mississippi                     Review settle for         0:40:00
                                                                              negot
Marcia R Lowry                       1/9/2007 Mississippi                     Conference with           1:25:00
                                                                              ET, SN, defs settle
                                                                              negot

Total: 1/9/2007
                                                                                              2.34


Marcia R Lowry                      1/12/2007 Mississippi                     Telephone call with       0:40:00
                                                                              ET, SN regarding
                                                                              negotiations
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 370 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   166



User                      Date        Client                          Description            Time Spent



Total: 1/12/2007
                                                                                      0.67


Marcia R Lowry              1/16/2007 Mississippi                     Conference with           0:10:00
                                                                      SN, ET regarding
                                                                      settle draft
Marcia R Lowry              1/16/2007 Mississippi                     Telephone call with       0:50:00
                                                                      ET, SN regarding
                                                                      settle

Total: 1/16/2007
                                                                                      1.00


Marcia R Lowry              1/17/2007 Mississippi                     Review draft/settle       0:30:00


Total: 1/17/2007
                                                                                      0.50


Marcia R Lowry              1/23/2007 Mississippi                     Edit letter,              0:35:00
                                                                      telephone call with
                                                                      ET, review other
                                                                      edits

Total: 1/23/2007
                                                                                      0.58


Marcia R Lowry               2/2/2007 Mississippi                     Telephone call with       0:15:00
                                                                      co-counsel
                                                                      regarding settle

Total: 2/2/2007
                                                                                      0.25


Marcia R Lowry               2/5/2007 Mississippi                     Review def motion         0:15:00


Total: 2/5/2007
                                                                                      0.25


Marcia R Lowry               2/6/2007 Mississippi                     Telephone call with       0:35:00
                                                                      co-counsel
                                                                      regarding trial
                                                                      preparation, settle
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 371 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   167



User                      Date        Client                          Description               Time Spent



Total: 2/6/2007
                                                                                         0.58


Marcia R Lowry               2/7/2007 Mississippi                     Conference with SL           0:10:00
                                                                      regarding trial
                                                                      preparation
Marcia R Lowry               2/7/2007 Mississippi                     Conference with              0:30:00
                                                                      SL, SN regarding
                                                                      trial preparation
Marcia R Lowry               2/7/2007 Mississippi                     Conference with              0:30:00
                                                                      SL, SN, Priy, YGK
                                                                      regarding trial
                                                                      preparation

Total: 2/7/2007
                                                                                         1.17


Marcia R Lowry              2/15/2007 Mississippi                     Conference with              1:15:00
                                                                      trial team regarding
                                                                      preparation

Total: 2/15/2007
                                                                                         1.25


Marcia R Lowry              2/16/2007 Mississippi                     Conference with ET           0:10:00
                                                                      regarding
                                                                      preparation for
                                                                      conference

Total: 2/16/2007
                                                                                         0.17


Marcia R Lowry              2/20/2007 Mississippi                     Review court letter;         0:20:00
                                                                      respond regarding
                                                                      same

Total: 2/20/2007
                                                                                         0.33


Marcia R Lowry              2/23/2007 Mississippi                     Conference with              0:25:00
                                                                      co-counsel
                                                                      regarding settle
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 372 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   168



User                      Date        Client                          Description            Time Spent



Total: 2/23/2007
                                                                                      0.42


Marcia R Lowry              2/26/2007 Mississippi                     Review proposed           0:20:00
                                                                      order
Marcia R Lowry              2/26/2007 Mississippi                     Write memo to             0:20:00
                                                                      co-counsel
Marcia R Lowry              2/26/2007 Mississippi                     Court                     1:15:00

Marcia R Lowry              2/26/2007 Mississippi                     Conference with           1:30:00
                                                                      co-counsel
                                                                      regarding trial
                                                                      preparation
Marcia R Lowry              2/26/2007 Mississippi                     Conference with           1:30:00
                                                                      co-counsel
                                                                      regarding court
                                                                      conference
Marcia R Lowry              2/26/2007 Mississippi                     Conference with           1:45:00
                                                                      co-counsel; prepare
                                                                      for court
Marcia R Lowry              2/26/2007 Mississippi                     Conference with ET        2:30:00
                                                                      and source

Total: 2/26/2007
                                                                                      9.16


Marcia R Lowry               3/5/2007 Mississippi                     Conference with           0:45:00
                                                                      co-counsel team
                                                                      regarding trial
                                                                      preparation

Total: 3/5/2007
                                                                                      0.75


Marcia R Lowry              3/13/2007 Mississippi                     Review court letter,      0:15:00
                                                                      conference with ET
                                                                      regarding same
Marcia R Lowry              3/13/2007 Mississippi                     Telephone call with       0:15:00
                                                                      source regarding
                                                                      trial
Marcia R Lowry              3/13/2007 Mississippi                     Conference with ET        0:30:00
                                                                      regarding witnesses
Marcia R Lowry              3/13/2007 Mississippi                     Prepare for trial,        2:30:00
                                                                      co-counsel team
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 373 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                   Page   169



User                      Date        Client                          Description                Time Spent



Total: 3/13/2007
                                                                                          3.50


Marcia R Lowry              3/14/2007 Mississippi                     Conference with ET            0:15:00
                                                                      regarding FOF
Marcia R Lowry              3/14/2007 Mississippi                     Review FOF                    0:20:00

Marcia R Lowry              3/14/2007 Mississippi                     Write memo to/from            0:20:00
                                                                      co-counsel
                                                                      regarding settle
Marcia R Lowry              3/14/2007 Mississippi                     Draft letter to Hood          0:30:00


Total: 3/14/2007
                                                                                          1.41


Marcia R Lowry              3/22/2007 Mississippi                     Trial preparation             1:00:00
                                                                      meeting, team

Total: 3/22/2007
                                                                                          1.00


Marcia R Lowry              3/26/2007 Mississippi                     Conference with               0:20:00
                                                                      co-counsel
Marcia R Lowry              3/26/2007 Mississippi                     Conference with               1:00:00
                                                                      ET, co-counsel
                                                                      regarding
                                                                      negotiations
Marcia R Lowry              3/26/2007 Mississippi                     Conference with               9:00:00
                                                                      defs, including
                                                                      drafting

Total: 3/26/2007
                                                                                     10.33


Marcia R Lowry              3/27/2007 Mississippi                     Prepare for                   1:30:00
                                                                      negotiations
Marcia R Lowry              3/27/2007 Mississippi                     Negot, defs,                  7:30:00
                                                                      co-counsel

Total: 3/27/2007
                                                                                          9.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 374 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   170



User                      Date        Client                          Description             Time Spent


Marcia R Lowry              3/28/2007 Mississippi                     Telephone call with        0:30:00
                                                                      defendants,
                                                                      counsel regarding
                                                                      settlement
Marcia R Lowry              3/28/2007 Mississippi                     Conference with            0:30:00
                                                                      potential mediator
Marcia R Lowry              3/28/2007 Mississippi                     Conference with            0:36:00
                                                                      defendants,
                                                                      counsel regarding
                                                                      settlement
Marcia R Lowry              3/28/2007 Mississippi                     Telephone call with        2:36:00
                                                                      co-counsel
                                                                      regarding
                                                                      settlement, memos
                                                                      regarding same

Total: 3/28/2007
                                                                                       4.20


Marcia R Lowry               4/3/2007 Mississippi                     Conference with            0:35:00
                                                                      co-counsel
                                                                      regarding settlement

Total: 4/3/2007
                                                                                       0.58


Marcia R Lowry               4/4/2007 Mississippi                     Conference with            0:45:00
                                                                      ET, SN regarding
                                                                      possible monitors,
                                                                      email Wayne D.
                                                                      regarding same

Total: 4/4/2007
                                                                                       0.75


Marcia R Lowry               4/5/2007 Mississippi                     Review, resp               0:10:00
                                                                      regarding letter defs
Marcia R Lowry               4/5/2007 Mississippi                     Write/rec memos            1:15:00
                                                                      regarding mediator,
                                                                      telephone call with
                                                                      ET, SN regarding
                                                                      same

Total: 4/5/2007
                                                                                       1.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 375 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   171



User                      Date        Client                          Description            Time Spent


Marcia R Lowry               4/9/2007 Mississippi                     Telephone call with       0:15:00
                                                                      co-counsel
                                                                      regarding mediator

Total: 4/9/2007
                                                                                      0.25


Marcia R Lowry              4/10/2007 Mississippi                     Memo co-counsel           0:10:00
                                                                      regarding mediator

Total: 4/10/2007
                                                                                      0.17


Marcia R Lowry              4/11/2007 Mississippi                     Telephone call with       0:20:00
                                                                      ET, SN regarding
                                                                      mediator
Marcia R Lowry              4/11/2007 Mississippi                     Memos to/from             0:40:00
                                                                      co-counsel
                                                                      regarding mediator

Total: 4/11/2007
                                                                                      1.00


Marcia R Lowry              4/12/2007 Mississippi                     Review/send emails        0:40:00
                                                                      regarding Mediator

Total: 4/12/2007
                                                                                      0.67


Marcia R Lowry              4/13/2007 Mississippi                     Telephone call with       0:30:00
                                                                      co-counsel
                                                                      regarding mediator

Total: 4/13/2007
                                                                                      0.50


Marcia R Lowry              4/16/2007 Mississippi                     Telephone call with       0:10:00
                                                                      ET regarding
                                                                      mediator
Marcia R Lowry              4/16/2007 Mississippi                     Telephone call with       0:10:00
                                                                      ET regarding
                                                                      mediator
Marcia R Lowry              4/16/2007 Mississippi                     Review memo ET            0:10:00
                                                                      regarding mediator
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 376 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   172



User                      Date        Client                          Description             Time Spent



Total: 4/16/2007
                                                                                       0.51


Marcia R Lowry              4/17/2007 Mississippi                     Review memos,              0:20:00
                                                                      telephone call with
                                                                      ET regarding
                                                                      mediator

Total: 4/17/2007
                                                                                       0.33


Marcia R Lowry              4/18/2007 Mississippi                     Review ET, WD              0:45:00
                                                                      emails regarding
                                                                      mediator, respond

Total: 4/18/2007
                                                                                       0.75


Marcia R Lowry              4/19/2007 Mississippi                     Review court letter        0:20:00
                                                                      from mediator

Total: 4/19/2007
                                                                                       0.33


Marcia R Lowry              4/23/2007 Mississippi                     Telephone call with        0:40:00
                                                                      to and from
                                                                      co-counsel
                                                                      regarding judge

Total: 4/23/2007
                                                                                       0.67


Marcia R Lowry              4/25/2007 Mississippi                     Conference with ET         0:30:00
                                                                      regarding preparing
                                                                      for fairness hearing,
                                                                      discovery regarding
                                                                      remedy

Total: 4/25/2007
                                                                                       0.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 377 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   173



User                      Date        Client                          Description              Time Spent


Marcia R Lowry              4/30/2007 Mississippi                     Review memos                0:10:00
                                                                      regarding remedial
                                                                      plan, telephone call
                                                                      with ET regarding
                                                                      same

Total: 4/30/2007
                                                                                        0.17


Marcia R Lowry               5/1/2007 Mississippi                     Conference with             2:00:00
                                                                      Peg Hess, ET,
                                                                      Cathy, SN
                                                                      regarding
                                                                      negotiations,
                                                                      remedy

Total: 5/1/2007
                                                                                        2.00


Marcia R Lowry              5/10/2007 Mississippi                     Telephone call with         0:30:00
                                                                      co-counsel
                                                                      regarding fairness,
                                                                      mediator

Total: 5/10/2007
                                                                                        0.50


Marcia R Lowry              5/11/2007 Mississippi                     Review affidavits           0:25:00
                                                                      for fairness hearing,
                                                                      comments
                                                                      regarding same

Total: 5/11/2007
                                                                                        0.42


Marcia R Lowry              5/14/2007 Mississippi                     Telephone call with         0:30:00
                                                                      co-counsel
                                                                      regarding planning
                                                                      for fairness hearing

Total: 5/14/2007
                                                                                        0.50


Marcia R Lowry              5/15/2007 Mississippi                     Review court papers         0:45:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 378 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   174



User                      Date        Client                          Description              Time Spent



Total: 5/15/2007
                                                                                        0.75


Marcia R Lowry              5/16/2007 Mississippi                     Conference with             1:00:00
                                                                      co-counsel
                                                                      regarding
                                                                      preparation for
                                                                      hearing

Total: 5/16/2007
                                                                                        1.00


Marcia R Lowry              5/17/2007 Mississippi                     Conference with             0:15:00
                                                                      co-counsel
                                                                      regarding mediation
Marcia R Lowry              5/17/2007 Mississippi                     Conference with             0:20:00
                                                                      defs regarding
                                                                      mediator
Marcia R Lowry              5/17/2007 Mississippi                     Court                       0:45:00

Marcia R Lowry              5/17/2007 Mississippi                     Conference with             1:00:00
                                                                      co-counsel
                                                                      regarding
                                                                      preparation for
                                                                      mediator
Marcia R Lowry              5/17/2007 Mississippi                     Meeting with                1:30:00
                                                                      mediator
Marcia R Lowry              5/17/2007 Mississippi                     Prepare for court           1:30:00


Total: 5/17/2007
                                                                                        5.33


Marcia R Lowry              5/23/2007 Mississippi                     Review email                0:20:00
                                                                      mediator, respond
                                                                      co-counsel, review
                                                                      respond

Total: 5/23/2007
                                                                                        0.33


Marcia R Lowry              5/24/2007 Mississippi                     Edit mediator letter        0:40:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 379 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   175



User                      Date        Client                          Description            Time Spent



Total: 5/24/2007
                                                                                      0.67


Marcia R Lowry              5/29/2007 Mississippi                     Conference with           0:30:00
                                                                      co-counsel
                                                                      regarding mediation
Marcia R Lowry              5/29/2007 Mississippi                     Edit Anderson letter      0:40:00


Total: 5/29/2007
                                                                                      1.17


Marcia R Lowry               6/5/2007 Mississippi                     Review State plan         0:20:00


Total: 6/5/2007
                                                                                      0.33


Marcia R Lowry               6/6/2007 Mississippi                     Review exp.               0:15:00
                                                                      comments on state
                                                                      plan
Marcia R Lowry               6/6/2007 Mississippi                     Telephone call with       0:15:00
                                                                      SN, ET regarding
                                                                      mediator, state plan
Marcia R Lowry               6/6/2007 Mississippi                     Review state plan;        1:30:00
                                                                      review Sn notes
                                                                      regarding same,
                                                                      respond to
                                                                      co-counsel

Total: 6/6/2007
                                                                                      2.00


Marcia R Lowry               6/8/2007 Mississippi                     Write memo to             0:30:00
                                                                      co-counsel
                                                                      regarding monitor
                                                                      candidate
Marcia R Lowry               6/8/2007 Mississippi                     Conference with           2:00:00
                                                                      potential monitor

Total: 6/8/2007
                                                                                      2.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 380 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   176



User                      Date        Client                          Description            Time Spent


Marcia R Lowry              6/11/2007 Mississippi                     Telephone call with       0:30:00
                                                                      co-counsel
                                                                      regarding monitor,
                                                                      mediator
Marcia R Lowry              6/11/2007 Mississippi                     Conference with           1:00:00
                                                                      COA

Total: 6/11/2007
                                                                                      1.50


Marcia R Lowry              6/13/2007 Mississippi                     Conference with           1:00:00
                                                                      co-counsel prepare
                                                                      for negotiation
Marcia R Lowry              6/13/2007 Mississippi                     Conference with           3:00:00
                                                                      mediator and defs

Total: 6/13/2007
                                                                                      4.00


Marcia R Lowry              6/19/2007 Mississippi                     Review memos              0:30:00
                                                                      regarding COA and
                                                                      NRC report

Total: 6/19/2007
                                                                                      0.50


Marcia R Lowry              6/21/2007 Mississippi                     Conference with           1:00:00
                                                                      co-counsel
                                                                      regarding remedy
                                                                      hearing preparation

Total: 6/21/2007
                                                                                      1.00


Marcia R Lowry              6/22/2007 Mississippi                     Telephone call with       0:30:00
                                                                      Monitor candidate
Marcia R Lowry              6/22/2007 Mississippi                     Telephone call with       0:35:00
                                                                      Monitor candidate

Total: 6/22/2007
                                                                                      1.08


Marcia R Lowry               7/2/2007 Mississippi                     Write memo                0:20:00
                                                                      co-counsel
                                                                      regarding monitor
                                                                      telephone call
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 381 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   177



User                      Date        Client                          Description            Time Spent


Marcia R Lowry               7/2/2007 Mississippi                     Telephone call with       0:25:00
                                                                      SL regarding
                                                                      Monitor
Marcia R Lowry               7/2/2007 Mississippi                     Telephone call with       0:30:00
                                                                      co-counsel, defs
                                                                      regarding monitor

Total: 7/2/2007
                                                                                      1.25


Marcia R Lowry               7/3/2007 Mississippi                     Review co-counsel         0:45:00
                                                                      memos regarding
                                                                      Monitor, memo
                                                                      regarding resp. to
                                                                      Defs, telephone call
                                                                      with SN regarding
                                                                      letter to defs

Total: 7/3/2007
                                                                                      0.75


Marcia R Lowry               7/4/2007 Mississippi                     Review, respond           0:40:00
                                                                      Rusty email
                                                                      regarding Monitor

Total: 7/4/2007
                                                                                      0.67


Marcia R Lowry               7/5/2007 Mississippi                     Conference with SN        0:10:00
                                                                      regarding order
                                                                      Monitor, discovery
Marcia R Lowry               7/5/2007 Mississippi                     Conference with           0:45:00
                                                                      SN, review memos,
                                                                      draft stipulation
                                                                      regarding Monitor
                                                                      extension

Total: 7/5/2007
                                                                                      0.92


Marcia R Lowry               7/9/2007 Mississippi                     Telephone call with       0:20:00
                                                                      ET regarding
                                                                      Monitor status,
                                                                      discovery
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 382 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   178



User                      Date        Client                          Description            Time Spent



Total: 7/9/2007
                                                                                      0.33


Marcia R Lowry              7/10/2007 Mississippi                     Telephone call with       0:20:00
                                                                      co-counsel
                                                                      regarding hearing
                                                                      preparation,
                                                                      discovery

Total: 7/10/2007
                                                                                      0.33


Marcia R Lowry              7/11/2007 Mississippi                     Telephone call with       0:15:00
                                                                      source regarding
                                                                      Monitor
Marcia R Lowry              7/11/2007 Mississippi                     Conference with SN        0:20:00
                                                                      regarding State/
                                                                      Monitor, hearing
Marcia R Lowry              7/11/2007 Mississippi                     Review memo from          0:30:00
                                                                      Steve L. regarding
                                                                      defs, respond to
                                                                      same

Total: 7/11/2007
                                                                                      1.08


Marcia R Lowry              7/13/2007 Mississippi                     Review ET memo            0:25:00
                                                                      regarding COA,
                                                                      respond regarding
                                                                      same
Marcia R Lowry              7/13/2007 Mississippi                     Memos to/from ET,         0:25:00
                                                                      Steve L. regarding
                                                                      docs, COA
Marcia R Lowry              7/13/2007 Mississippi                     Conference with           0:30:00
                                                                      co-counsel
                                                                      regarding plan,
                                                                      mediation
                                                                      conference

Total: 7/13/2007
                                                                                      1.34


Marcia R Lowry              7/16/2007 Mississippi                     Telephone call with       0:45:00
                                                                      co-counsel
                                                                      regarding 7/25
                                                                      meeting, COA
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 383 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   179



User                      Date        Client                          Description              Time Spent



Total: 7/16/2007
                                                                                        0.75


Marcia R Lowry              7/18/2007 Mississippi                     Review memo                 0:10:00
                                                                      regardig relief

Total: 7/18/2007
                                                                                        0.17


Marcia R Lowry              7/19/2007 Mississippi                     Review state                0:45:00
                                                                      proposal,
                                                                      conference with SN
                                                                      regarding same

Total: 7/19/2007
                                                                                        0.75


Marcia R Lowry              7/20/2007 Mississippi                     Conference with             0:35:00
                                                                      co-counsel
                                                                      regarding
                                                                      negotiations, COA,
                                                                      plan
Marcia R Lowry              7/20/2007 Mississippi                     Review state's              1:12:00
                                                                      revised plan

Total: 7/20/2007
                                                                                        1.78


Marcia R Lowry              7/24/2007 Mississippi                     Review memo                 0:10:00
                                                                      regarding defs
                                                                      production
Marcia R Lowry              7/24/2007 Mississippi                     Conference with             0:30:00
                                                                      COA, conference
                                                                      with SN, ET
                                                                      regarding same

Total: 7/24/2007
                                                                                        0.67


Marcia R Lowry               8/3/2007 Mississippi                     Review COA letter,          0:45:00
                                                                      memos to/from
                                                                      co-counsel
                                                                      regarding same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 384 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   180



User                      Date        Client                          Description            Time Spent



Total: 8/3/2007
                                                                                      0.75


Marcia R Lowry               8/8/2007 Mississippi                     Conference with           1:00:00
                                                                      defs
Marcia R Lowry               8/8/2007 Mississippi                     Conference with           1:12:00
                                                                      co-counsel
                                                                      regarding hearing
                                                                      preparation
Marcia R Lowry               8/8/2007 Mississippi                     Prepare for               1:30:00
                                                                      mediation

Total: 8/8/2007
                                                                                      3.70


Marcia R Lowry              8/10/2007 Mississippi                     Telephone call with       0:25:00
                                                                      ET regarding trial
                                                                      preparation

Total: 8/10/2007
                                                                                      0.42


Marcia R Lowry              8/15/2007 Mississippi                     Review letters            0:45:00
                                                                      Mediators regarding
                                                                      negotiations,
                                                                      conference with
                                                                      COA, memo to
                                                                      co-counsel

Total: 8/15/2007
                                                                                      0.75


Marcia R Lowry              8/21/2007 Mississippi                     Conference with           0:40:00
                                                                      co-counsel
                                                                      regarding meeting
Marcia R Lowry              8/21/2007 Mississippi                     Conference with           1:00:00
                                                                      co-counsel, prepare
                                                                      for negotiations
Marcia R Lowry              8/21/2007 Mississippi                     Conference with           2:30:00
                                                                      co-counsel, defs,
                                                                      monitor COA

Total: 8/21/2007
                                                                                      4.17
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 385 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   181



User                      Date        Client                          Description            Time Spent


Marcia R Lowry              8/28/2007 Mississippi                     Conference with           0:15:00
                                                                      co-counsel
                                                                      regarding COA
Marcia R Lowry              8/28/2007 Mississippi                     Conference with           0:45:00
                                                                      co-counsel
                                                                      regarding motion,
                                                                      remedy
Marcia R Lowry              8/28/2007 Mississippi                     Draft memo to             1:15:00
                                                                      mediator, include
                                                                      conference with
                                                                      SN, ET regarding
                                                                      same

Total: 8/28/2007
                                                                                      2.25


Marcia R Lowry               9/4/2007 Mississippi                     Review State              0:15:00
                                                                      submission
                                                                      regarding COA

Total: 9/4/2007
                                                                                      0.25


Marcia R Lowry               9/5/2007 Mississippi                     Conference with           0:45:00
                                                                      defs regarding plan

Total: 9/5/2007
                                                                                      0.75


Marcia R Lowry               9/9/2007 Mississippi                     Edit response to          0:45:00
                                                                      state motion
Marcia R Lowry               9/9/2007 Mississippi                     Review/edit               1:30:00
                                                                      settlement proposal

Total: 9/9/2007
                                                                                      2.25


Marcia R Lowry              9/10/2007 Mississippi                     Conference with           1:20:00
                                                                      SN, ET preparation
                                                                      for negotiations

Total: 9/10/2007
                                                                                      1.33
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 386 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   182



User                      Date        Client                          Description             Time Spent


Marcia R Lowry              9/11/2007 Mississippi                     Conference with SL         0:10:00
                                                                      regarding case
                                                                      record review
Marcia R Lowry              9/11/2007 Mississippi                     Conference with            1:15:00
                                                                      Defs, COA
                                                                      regarding settle
Marcia R Lowry              9/11/2007 Mississippi                     Conference with            1:15:00
                                                                      defs, COA
                                                                      regarding settle

Total: 9/11/2007
                                                                                       2.67


Marcia R Lowry              9/12/2007 Mississippi                     Conference with            0:30:00
                                                                      SN, ET regarding
                                                                      negotiations, settle
Marcia R Lowry              9/12/2007 Mississippi                     Telephone call with        0:30:00
                                                                      potential monitor
Marcia R Lowry              9/12/2007 Mississippi                     Review settlement          1:45:00
                                                                      document

Total: 9/12/2007
                                                                                       2.75


Marcia R Lowry              9/13/2007 Mississippi                     Telephone call with        0:10:00
                                                                      Mediator, Defs
Marcia R Lowry              9/13/2007 Mississippi                     Prepare for                0:25:00
                                                                      Mediator call
Marcia R Lowry              9/13/2007 Mississippi                     Conference with            0:40:00
                                                                      ET, SN regarding
                                                                      brief, settle
Marcia R Lowry              9/13/2007 Mississippi                     Edit in limine brief       0:40:00


Total: 9/13/2007
                                                                                       1.93


Marcia R Lowry              10/1/2007 Mississippi                     Telephone call with        0:30:00
                                                                      ET regarding settle
                                                                      negotiations

Total: 10/1/2007
                                                                                       0.50


Marcia R Lowry              10/2/2007 Mississippi                     Conference with            0:10:00
                                                                      ET, SN regarding
                                                                      settle
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 387 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   183



User                      Date        Client                          Description            Time Spent


Marcia R Lowry              10/2/2007 Mississippi                     Telephone call with       0:15:00
                                                                      co-counsel
                                                                      regarding
                                                                      negotiations
Marcia R Lowry              10/2/2007 Mississippi                     Review settle prop.       0:30:00

Marcia R Lowry              10/2/2007 Mississippi                     Telephone call with       0:30:00
                                                                      mediator, defs,
                                                                      co-counsel
Marcia R Lowry              10/2/2007 Mississippi                     Review settle prop.       0:40:00

Marcia R Lowry              10/2/2007 Mississippi                     Review state prop,        0:45:00
                                                                      memo to SN, ET
                                                                      regarding same
Marcia R Lowry              10/2/2007 Mississippi                     Review settle,            1:25:00
                                                                      conference with ET,
                                                                      SN regarding same

Total: 10/2/2007
                                                                                      4.26


Marcia R Lowry              10/3/2007 Mississippi                     Telephone call with       0:25:00
                                                                      ETregarding settle

Total: 10/3/2007
                                                                                      0.42


Marcia R Lowry              10/4/2007 Mississippi                     Conference with           0:45:00
                                                                      ET, SN regarding
                                                                      settle
Marcia R Lowry              10/4/2007 Mississippi                     Review settle             1:00:00


Total: 10/4/2007
                                                                                      1.75


Marcia R Lowry              10/5/2007 Mississippi                     Telephone call with       0:30:00
                                                                      defs, mediator
                                                                      regarding settle

Total: 10/5/2007
                                                                                      0.50


Marcia R Lowry              10/9/2007 Mississippi                     Telephone call with       0:20:00
                                                                      co-counsel
                                                                      regarding status of
                                                                      settle
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 388 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   184



User                      Date        Client                          Description               Time Spent



Total: 10/9/2007
                                                                                         0.33


Marcia R Lowry             10/10/2007 Mississippi                     Conference with              0:45:00
                                                                      Monitor regarding
                                                                      provisions, timing
Marcia R Lowry             10/10/2007 Mississippi                     Conference with              0:55:00
                                                                      Monitor, ET
                                                                      regarding settle

Total: 10/10/2007
                                                                                         1.67


Marcia R Lowry             10/16/2007 Mississippi                     Review settlement,           0:40:00
                                                                      memo to ET and
                                                                      telephone call
                                                                      regarding terms
Marcia R Lowry             10/16/2007 Mississippi                     Review settlement            0:50:00
                                                                      terms, memos to
                                                                      co-counsel
                                                                      regarding same

Total: 10/16/2007
                                                                                         1.50


Marcia R Lowry             10/25/2007 Mississippi                     Telephone call with          0:30:00
                                                                      Paul Harold
Marcia R Lowry             10/25/2007 Mississippi                     Conference with              0:45:00
                                                                      SN, ET, SL
                                                                      regarding settlement

Total: 10/25/2007
                                                                                         1.25


Marcia R Lowry             10/26/2007 Mississippi                     Memo PH, reply               0:20:00
                                                                      regarding settle
Marcia R Lowry             10/26/2007 Mississippi                     Write memo to                2:00:00
                                                                      co-counsel
                                                                      regarding settle
                                                                      probs

Total: 10/26/2007
                                                                                         2.33
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 389 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   185



User                      Date        Client                          Description               Time Spent


Marcia R Lowry             10/29/2007 Mississippi                     Review emails                0:15:00
                                                                      co-counsel
                                                                      regarding same
Marcia R Lowry             10/29/2007 Mississippi                     Telephone call with          0:20:00
                                                                      co-counsel
                                                                      regarding finalizing;
                                                                      settle
Marcia R Lowry             10/29/2007 Mississippi                     Electronic mail              0:45:00
                                                                      to/from defs
                                                                      regarding finalizing,
                                                                      memo to/from
                                                                      co-counsel
                                                                      regarding same

Total: 10/29/2007
                                                                                         1.33


Marcia R Lowry             10/30/2007 Mississippi                     Conference with              0:30:00
                                                                      co-counsel
                                                                      regarding finalizing
                                                                      settle

Total: 10/30/2007
                                                                                         0.50


Marcia R Lowry             10/31/2007 Mississippi                     Conference with              0:20:00
                                                                      ET, WD
Marcia R Lowry             10/31/2007 Mississippi                     Telephone call with          0:30:00
                                                                      mediator
Marcia R Lowry             10/31/2007 Mississippi                     Write memo to/from           0:45:00
                                                                      co-counsel
                                                                      regarding settle

Total: 10/31/2007
                                                                                         1.58


Marcia R Lowry              11/1/2007 Mississippi                     Write memos                  0:30:00
                                                                      co-counsel
                                                                      regarding settle
Marcia R Lowry              11/1/2007 Mississippi                     Telephone                    0:50:00
                                                                      call/memos
                                                                      co-counsel
                                                                      regarding settle

Total: 11/1/2007
                                                                                         1.33
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 390 of 658
5/7/2008                                   Children's Rights, Inc.
10:11 AM                                  User Defined Slip Listing                               Page   186



User                           Date        Client                          Description            Time Spent


Marcia R Lowry                  11/12/2007 Mississippi                     Memos regarding           0:30:00
                                                                           fees to co-counsel

Total: 11/12/2007
                                                                                           0.50


Marcia R Lowry                  11/16/2007 Mississippi                     Write memo to             0:10:00
                                                                           monitor regarding
                                                                           prep.
Marcia R Lowry                  11/16/2007 Mississippi                     Write memo to/from        0:20:00
                                                                           monitor regarding
                                                                           briefing

Total: 11/16/2007
                                                                                           0.50



Total: Marcia Robinson Lowry
                                                                                         144.14
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08    Page 391 of 658
5/7/2008                                Children's Rights, Inc.
10:11 AM                               User Defined Slip Listing                                Page   187



User                        Date        Client                          Description             Time Spent


Attorney/Para: Priy Sinha
Priy Sinha                     1/2/2007 Mississippi                     Talked to NP               1:00:00
                                                                        Jamison and
                                                                        Corene about
                                                                        services for NP
                                                                        Jamison; drafted
                                                                        notes
Priy Sinha                     1/2/2007 Mississippi                     Talked to Shirim           5:30:24
                                                                        and Susan about
                                                                        researching
                                                                        whether 20-year old
                                                                        can represent self
                                                                        in MS dist. court
                                                                        case and what
                                                                        procedure might be
                                                                        necessary to inform
                                                                        court re death of
                                                                        next friend (:15);
                                                                        researched 17(c)
                                                                        and what law
                                                                        applies to define
                                                                        infant (1);
                                                                        definitions of infant
                                                                        in MS law (2);
                                                                        talked to shirim
                                                                        about next steps
                                                                        (:20); researched
                                                                        17(b) and capacity
                                                                        to sue (1); drafted
                                                                        brief memo

Total: 1/2/2007
                                                                                         6.51


Priy Sinha                     1/3/2007 Mississippi                     Researched                 1:15:00
                                                                        capacity to sue (1);
                                                                        talked to Shirim
                                                                        about next steps on
                                                                        research; talked to
                                                                        Elissa about
                                                                        assigning follow up
                                                                        tasks to (:15)

Total: 1/3/2007
                                                                                         1.25


Priy Sinha                    1/16/2007 Mississippi                     Talked to SN about         0:20:00
                                                                        possible research
                                                                        project re. NP (:10);
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 392 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   188



User                      Date        Client                          Description              Time Spent


                                                                      FRE 1006 project
                                                                      (:05): new NF for
                                                                      Jamison (:05)
Priy Sinha                  1/16/2007 Mississippi                     Talked to SN about          0:40:00
                                                                      potential NF (:15);
                                                                      assembling
                                                                      agreed-upon FRE
                                                                      report (:25)

Total: 1/16/2007
                                                                                        1.00


Priy Sinha                  1/17/2007 Mississippi                     Talked to Eric about        3:59:11
                                                                      FRE 1006
                                                                      assignment and
                                                                      NP's situation (:25);
                                                                      emailed with
                                                                      Corene and Shirim
                                                                      about NP (:15);
                                                                      gathered materials
                                                                      and started working
                                                                      on FRE 1006 report

Total: 1/17/2007
                                                                                        3.99


Priy Sinha                  1/20/2007 Mississippi                     Telephone calls             0:30:00
                                                                      with NP

Total: 1/20/2007
                                                                                        0.50


Priy Sinha                  1/22/2007 Mississippi                     Telephone calls             0:50:00
                                                                      with registrar's
                                                                      office, housing
                                                                      office for Jamison
                                                                      (:30); took notes
                                                                      and emailed group
                                                                      update (:20)
Priy Sinha                  1/22/2007 Mississippi                     Drafted P's edits to        8:23:37
                                                                      FRE 1006 summary
                                                                      for Jamison

Total: 1/22/2007
                                                                                        9.22
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 393 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   189



User                      Date        Client                          Description            Time Spent


Priy Sinha                  1/23/2007 Mississippi                     Conference call           0:34:34
                                                                      with team
Priy Sinha                  1/23/2007 Mississippi                     Drafted response to       7:58:48
                                                                      D's FRE summary

Total: 1/23/2007
                                                                                      8.56


Priy Sinha                  1/24/2007 Mississippi                     Drafted response to       8:26:38
                                                                      Defendants' FRE
                                                                      Summary for
                                                                      Jamison

Total: 1/24/2007
                                                                                      8.44


Priy Sinha                  1/25/2007 Mississippi                     Drafted response to       9:52:15
                                                                      Defendants' FRE
                                                                      1006 summary of
                                                                      Jamison's life in
                                                                      foster care by
                                                                      drafting summaries
                                                                      of services for
                                                                      years 1993-1998
                                                                      that Ps are not
                                                                      contesting (3hrs),
                                                                      citechecking
                                                                      documents, editing
                                                                      document, and
                                                                      merging P and D's
                                                                      versions of the
                                                                      summaries (6:52)
                                                                      from mid-1994 to
                                                                      1995

Total: 1/25/2007
                                                                                      9.87


Priy Sinha                  1/26/2007 Mississippi                     Drafted response to       8:47:37
                                                                      Defendants' FRE
                                                                      1006 summary of
                                                                      Jamison's life in
                                                                      foster care by
                                                                      citechecking
                                                                      documents,
                                                                      comparing their
                                                                      version to ours, and
                                                                      merging two
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 394 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   190



User                      Date        Client                          Description              Time Spent


                                                                      documents to
                                                                      maintain both
                                                                      parties' points. Did
                                                                      this for years
                                                                      1996-98.

Total: 1/26/2007
                                                                                        8.79


Priy Sinha                  1/29/2007 Mississippi                     Drafted FRE                11:04:32
                                                                      summary for
                                                                      Jamison: talked to
                                                                      HB, JW, and CR
                                                                      about how to split
                                                                      up Jamison's
                                                                      summary (:30);
                                                                      talked to ET about
                                                                      detailed questions
                                                                      in draft so far (:45);
                                                                      started going
                                                                      through documents
                                                                      to determine what
                                                                      needs to be
                                                                      citechecked and
                                                                      added our version
                                                                      of the FRE to the
                                                                      document (9:19);
                                                                      talked to CR about
                                                                      doing years
                                                                      1998-99 and
                                                                      checked in again
                                                                      later in day (:30)

Total: 1/29/2007
                                                                                       11.08


Priy Sinha                  1/30/2007 Mississippi                     Drafted FRE                11:18:44
                                                                      Summary for
                                                                      Jamison: finished
                                                                      going through
                                                                      144-page document
                                                                      and highlighting
                                                                      citations to
                                                                      citecheck (2:00);
                                                                      drafted detailed
                                                                      email giving
                                                                      directions for CR
                                                                      and HB on what
                                                                      we're looking for
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 395 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   191



User                      Date        Client                          Description            Time Spent


                                                                      when we're
                                                                      citechecking (:45);
                                                                      talked to Shirim
                                                                      about schedule and
                                                                      para support (:15);
                                                                      emailed Emmy
                                                                      directions on what
                                                                      documents to pull
                                                                      for working copies
                                                                      (:20); took out all
                                                                      services that are
                                                                      undisputed from
                                                                      document (:1:15);
                                                                      drafted summaries
                                                                      of undisputed
                                                                      services for years
                                                                      1999-2006 (5:42);
                                                                      gave instructions to
                                                                      TK and HB and
                                                                      answered questions
                                                                      about citechecking
                                                                      of documents (1)

Total: 1/30/2007
                                                                                     11.31


Priy Sinha                  1/31/2007 Mississippi                     Review hot docs          10:34:14
                                                                      index for additional
                                                                      hot docs to enter
                                                                      into D FRE
                                                                      summary; met with
                                                                      paras about work
                                                                      allocation and
                                                                      schedule; met with
                                                                      EC and determined
                                                                      her schedule to pull
                                                                      documents; talked
                                                                      to Jamison and
                                                                      took notes (:25);
                                                                      pulled documents
                                                                      to talk about when
                                                                      legal custody began
                                                                      for D

Total: 1/31/2007
                                                                                     10.57
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 396 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   192



User                      Date        Client                          Description             Time Spent


Priy Sinha                   2/1/2007 Mississippi                     Reviewed                  13:30:40
                                                                      paralegals' drafts of
                                                                      Jamison FRE 1006
                                                                      sections in detail
                                                                      and looked for
                                                                      detailed and
                                                                      big-picture issues
                                                                      (3:30); met with TK
                                                                      (:30); met with Greg
                                                                      3x (:30); talked to
                                                                      Laurie Bensky
                                                                      about social
                                                                      work-related
                                                                      questions in his
                                                                      summary (:20);
                                                                      talked to SN about
                                                                      status (:30); talked
                                                                      to Holly (:20);
                                                                      entered ET's edits
                                                                      to pages 1-36 (2);
                                                                      pulled documents
                                                                      to sort out custody,
                                                                      timeline, and home
                                                                      evaluation status
                                                                      during 12/91 to 3/92
                                                                      (3:30); talked to ET
                                                                      (:30); entered in
                                                                      Catholic Charities
                                                                      citations to pages
                                                                      1-36 (:30);
                                                                      assessed overall
                                                                      schedule for project
                                                                      (:30); coordinated
                                                                      overall schedule
                                                                      and assignments
                                                                      with paralegals (1);

Total: 2/1/2007
                                                                                      13.51


Priy Sinha                   2/2/2007 Mississippi                     Talked to Greg            14:20:18
                                                                      about his section
                                                                      and next steps
                                                                      (:25); reviewed and
                                                                      made comments on
                                                                      Holly's section (2);
                                                                      reviewed and made
                                                                      comments on
                                                                      Colin's section (2);
                                                                      talked to paras and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 397 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   193



User                      Date        Client                          Description             Time Spent


                                                                      left msgs with
                                                                      Shirim about
                                                                      weekend staffing,
                                                                      management of
                                                                      document, and
                                                                      steps necessary
                                                                      and schedule for
                                                                      completion (2);
                                                                      emailed ET about
                                                                      schedule (:15);
                                                                      citechecked half of
                                                                      outstanding
                                                                      documents in paras
                                                                      1-270 (3:30);
                                                                      answered questions
                                                                      for paras (1);
                                                                      reviewed paras
                                                                      1-270 for
                                                                      substantive
                                                                      consistency (3:10)

Total: 2/2/2007
                                                                                      14.34


Priy Sinha                   2/3/2007 Mississippi                     Read over half of          1:00:00
                                                                      Talia's second
                                                                      section she
                                                                      citechecked of
                                                                      Jamison's FRE

Total: 2/3/2007
                                                                                       1.00


Priy Sinha                   2/4/2007 Mississippi                     Drafted FRE               12:20:25
                                                                      summary for
                                                                      Jamison: finished
                                                                      citechecking pages
                                                                      1-35 of 100 (3);
                                                                      added more detail
                                                                      about certain
                                                                      events by going
                                                                      back to documetns
                                                                      (2); read over half
                                                                      of draft (4);
                                                                      organized schedule
                                                                      and to do list (:30);
                                                                      talked to JW and
                                                                      HB about tasks
                                                                      remaining and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 398 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   194



User                      Date        Client                          Description               Time Spent


                                                                      labeling of certain
                                                                      document to
                                                                      accurately reflect
                                                                      when produced to
                                                                      Defendnats (:30);
                                                                      reviewed CR and
                                                                      TK's sections that
                                                                      they citechecked
                                                                      (2:20)

Total: 2/4/2007
                                                                                       12.34


Priy Sinha                   2/5/2007 Mississippi                     Finished reading             3:30:00
                                                                      1/4 of
                                                                      track-changes FRE
                                                                      Summary (now at
                                                                      200 pages long)
                                                                      and editing and
                                                                      checking
                                                                      documents when
                                                                      needed (3:00);
                                                                      sent email to group
                                                                      and talked to HB
                                                                      about next steps
                                                                      and new charts for
                                                                      NP's (:30);
Priy Sinha                   2/5/2007 Mississippi                     Read over second             3:35:20
                                                                      half of 200-page
                                                                      FRE summary for
                                                                      consistency and
                                                                      entered in changes
                                                                      or checked
                                                                      documents where
                                                                      necessary (:

Total: 2/5/2007
                                                                                         7.09


Priy Sinha                   2/6/2007 Mississippi                     Conference call              0:25:16
                                                                      with team
Priy Sinha                   2/6/2007 Mississippi                     Talked to SN and             0:35:00
                                                                      SB about
                                                                      liability/relief stages
                                                                      of MS case
Priy Sinha                   2/6/2007 Mississippi                     Reviewed 88 pages            8:51:54
                                                                      of FRE summary
                                                                      draft for
                                                                      consistency;
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 399 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   195



User                      Date        Client                          Description               Time Spent


                                                                      checked select
                                                                      documents if
                                                                      appeared wrong or
                                                                      incomplete; edited
                                                                      text for
                                                                      completeness
                                                                      (8:30); talked to SN,
                                                                      JW, about creating
                                                                      FRE charts (:22)

Total: 2/6/2007
                                                                                        9.87


Priy Sinha                   2/7/2007 Mississippi                     Talked to Eric about         0:20:00
                                                                      status of Jamison
                                                                      summary and tasks
                                                                      and schedule for
                                                                      delivery by Friday to
                                                                      Defs; Jessica about
                                                                      completing
                                                                      placement charts
                                                                      by Friday
Priy Sinha                   2/7/2007 Mississippi                     Talked to SN and             0:22:00
                                                                      emailed team about
                                                                      local rules
                                                                      permitting trial briefs
Priy Sinha                   2/7/2007 Mississippi                     Meeting with team            0:45:00
                                                                      about MS trial
                                                                      strategy
Priy Sinha                   2/7/2007 Mississippi                     Finalized drafting of       11:43:08
                                                                      Jamison FRE
                                                                      summary by doing
                                                                      substance conflict
                                                                      check (4:43);
                                                                      entering in
                                                                      additional hot docs
                                                                      and facts (4);
                                                                      supervisiong and
                                                                      coordinating with
                                                                      paralegal team and
                                                                      shirim on document
                                                                      formatting and
                                                                      substance issues
                                                                      (2);

Total: 2/7/2007
                                                                                       13.17
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 400 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   196



User                      Date        Client                          Description             Time Spent


Priy Sinha                   2/8/2007 Mississippi                     Finalizing Jamison        14:20:02
                                                                      draft

Total: 2/8/2007
                                                                                      14.33


Priy Sinha                   2/9/2007 Mississippi                     Finalized FRE 1006         9:33:56
                                                                      summary to send to
                                                                      defendants

Total: 2/9/2007
                                                                                       9.57


Priy Sinha                  2/12/2007 Mississippi                     Telephone call with        0:05:08
                                                                      NP
Priy Sinha                  2/12/2007 Mississippi                     Read P's response          1:31:01
                                                                      in opposition to
                                                                      Defendants' motion
                                                                      for leave to
                                                                      supplement
                                                                      defendant's initial
                                                                      disclosures, looked
                                                                      up local and fed
                                                                      rules of proc., and
                                                                      drafted comments
                                                                      for ET
Priy Sinha                  2/12/2007 Mississippi                     Read/compile hot           1:46:40
                                                                      documents to
                                                                      append to our
                                                                      exhibit list for PTO;
                                                                      drafted email about
                                                                      them and
                                                                      asking/make
                                                                      recommendations
                                                                      of items to include
                                                                      on the list;
                                                                      citechecking the
                                                                      documents

Total: 2/12/2007
                                                                                       3.39


Priy Sinha                  2/14/2007 Mississippi                     Telephone call with        0:10:00
                                                                      Jamison
Priy Sinha                  2/14/2007 Mississippi                     Talked to SN about         0:30:00
                                                                      Jamison,
                                                                      responding to email
                                                                      from John Lang
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 401 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   197



User                      Date        Client                          Description               Time Spent


                                                                      about Jamison, and
                                                                      possibly developing
                                                                      an internal trial
                                                                      preparation calendar
Priy Sinha                  2/14/2007 Mississippi                     Made to do list of           0:40:00
                                                                      tasks on MS;
                                                                      looked up previous
                                                                      to do lists from
                                                                      Summer 2006
Priy Sinha                  2/14/2007 Mississippi                     Drafted update for           1:45:00
                                                                      circulation to John
                                                                      Lang and other
                                                                      counsel interested
                                                                      in Jamison and
                                                                      possible remedies:
                                                                      researched John's
                                                                      questions about
                                                                      past and present
                                                                      academic
                                                                      performance,
                                                                      researched
                                                                      statistics on college
                                                                      graduation for
                                                                      foster care alumni;
                                                                      drafted email with
                                                                      recommendations
                                                                      for long term
                                                                      strategies for
                                                                      Jamison; and
                                                                      suggested periodic
                                                                      updates about
                                                                      Jamison to
                                                                      interested counsel

Total: 2/14/2007
                                                                                        3.09


Priy Sinha                  2/15/2007 Mississippi                     Read through trial           0:30:58
                                                                      tasks for meeting;
                                                                      printed out calendar
                                                                      to start mapping out
                                                                      our internal
                                                                      preparation calendar
Priy Sinha                  2/15/2007 Mississippi                     Meeting about trial          5:14:09
                                                                      tasks (3:15);
                                                                      worked on calendar
                                                                      for trial Prep. (1:20);
                                                                      talked to sara about
                                                                      evidence issues
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 402 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   198



User                      Date        Client                          Description             Time Spent


                                                                      (:30); worked on
                                                                      email to JL about
                                                                      NP Jamison (:20)

Total: 2/15/2007
                                                                                       5.76


Priy Sinha                  2/16/2007 Mississippi                     Researched local           2:57:14
                                                                      rules in SD of MS
                                                                      and FRCP
                                                                      regarding trial and
                                                                      trial preparation
                                                                      calendar (1:40/);
                                                                      talked to Yasmin
                                                                      about MS case and
                                                                      trial preparation
                                                                      (:20); responded to
                                                                      emails from John
                                                                      Lang about
                                                                      Jamison (:45);
                                                                      talked to SN about
                                                                      Jamison (:05)

Total: 2/16/2007
                                                                                       2.95


Priy Sinha                  2/20/2007 Mississippi                     Conference call            0:55:00
                                                                      with team (:30);
                                                                      with CR team (:25)
Priy Sinha                  2/20/2007 Mississippi                     Finalized PTO draft        6:20:58
                                                                      by citechecking
                                                                      defendants'
                                                                      standards on
                                                                      federal oversight of
                                                                      DCFS; pulled full
                                                                      language of
                                                                      statutes and
                                                                      regulations to
                                                                      understand
                                                                      defendants' cites;
                                                                      looked at actual
                                                                      federal oversight
                                                                      Title IV B CFSP
                                                                      plan to determine
                                                                      whether citations to
                                                                      a CFSP were
                                                                      correct; talked to
                                                                      Sara Bartosz, SN,
                                                                      and ET about
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 403 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   199



User                      Date        Client                          Description             Time Spent


                                                                      apparent citation
                                                                      errors in this
                                                                      section and
                                                                      whether to agree
                                                                      upon including
                                                                      these types of legal
                                                                      cites in PTO Rule
                                                                      9(a) facts; edited
                                                                      document to reflect
                                                                      agreed upon
                                                                      changes and
                                                                      drafted email to
                                                                      team with edits.

Total: 2/20/2007
                                                                                       7.27


Priy Sinha                  2/26/2007 Mississippi                     Talked to YGK, HB,         5:00:10
                                                                      and SN about
                                                                      status of FOF,
                                                                      cross examination
                                                                      questions, and
                                                                      status of MS case
                                                                      (:45); called
                                                                      Jamison, sent him
                                                                      emails with
                                                                      websites for
                                                                      transitioning out of
                                                                      foster care,
                                                                      summer programs,
                                                                      and scholarships
                                                                      after screening
                                                                      them, and left msg
                                                                      with Jamison's
                                                                      counselor (:40);
                                                                      emailed with CK
                                                                      about Jamison's
                                                                      current status (:30);

Total: 2/26/2007
                                                                                       5.00


Priy Sinha                  2/27/2007 Mississippi                     Telephone call with        0:20:00
                                                                      Jamison
Priy Sinha                  2/27/2007 Mississippi                     Weekly Telephone           1:08:00
                                                                      call with team
                                                                      followed by CR
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 404 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   200



User                      Date        Client                          Description            Time Spent


                                                                      team meeting with
                                                                      ET on phone from
                                                                      MS
Priy Sinha                  2/27/2007 Mississippi                     Drafted FOF for           5:28:43
                                                                      Brister report

Total: 2/27/2007
                                                                                      6.94


Priy Sinha                  2/28/2007 Mississippi                     Researched                0:30:00
                                                                      applications for
                                                                      Casey Family
                                                                      Scholars program
                                                                      for Jamison,
                                                                      including
                                                                      requirements and
                                                                      deadline; left
                                                                      Jamison a message
Priy Sinha                  2/28/2007 Mississippi                     Drafted Brister FOF       6:24:20


Total: 2/28/2007
                                                                                      6.91


Priy Sinha                   3/1/2007 Mississippi                     Drafted digest of         0:17:19
                                                                      Goodman depo
Priy Sinha                   3/1/2007 Mississippi                     Drafted Brister FOF       5:50:16


Total: 3/1/2007
                                                                                      6.13


Priy Sinha                   3/2/2007 Mississippi                     Talked to Jamison         1:00:00
                                                                      who needed to go
                                                                      to doctor for hurt
                                                                      eye, his counselor
                                                                      about his
                                                                      counseling and
                                                                      school track record,
                                                                      and ET and SL
                                                                      about Jamison's
                                                                      status.
Priy Sinha                   3/2/2007 Mississippi                     Drafted digest for        5:02:23
                                                                      Henry Goodman
                                                                      depo
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 405 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   201



User                      Date        Client                          Description              Time Spent



Total: 3/2/2007
                                                                                        6.04


Priy Sinha                   3/5/2007 Mississippi                     Telephone call to           0:10:00
                                                                      Jamison; left
                                                                      message with his
                                                                      roommate
Priy Sinha                   3/5/2007 Mississippi                     Reviewed                    0:30:00
                                                                      Jamison's online
                                                                      sites and talked to
                                                                      SL about them
Priy Sinha                   3/5/2007 Mississippi                     Reviewed                    0:30:07
                                                                      Defendants'
                                                                      proposed witness
                                                                      list and third initial
                                                                      disclosure list for
                                                                      Jamison related
                                                                      witnesses
Priy Sinha                   3/5/2007 Mississippi                     Organized trial             0:33:05
                                                                      prep. "to do" list
Priy Sinha                   3/5/2007 Mississippi                     Meeting with team           1:06:05
                                                                      (:50); talked to ET
                                                                      about Jamison (:16)
Priy Sinha                   3/5/2007 Mississippi                     Drafted Goodman             7:20:39
                                                                      depo digest

Total: 3/5/2007
                                                                                      10.16


Priy Sinha                   3/6/2007 Mississippi                     Telephone call and          0:10:00
                                                                      email to Jamison
Priy Sinha                   3/6/2007 Mississippi                     Organized                   0:16:13
                                                                      calendar--put new
                                                                      dates into trial
                                                                      preparation
                                                                      calendar and into
                                                                      personal calendar
Priy Sinha                   3/6/2007 Mississippi                     Researched local            0:33:29
                                                                      rules to confirm
                                                                      pretrial deadlines
                                                                      for trial calendar
Priy Sinha                   3/6/2007 Mississippi                     Telephone call with         0:45:00
                                                                      Jamison (:35);
                                                                      talked to ET (:05)
                                                                      and SN (:05)
Priy Sinha                   3/6/2007 Mississippi                     Weekly meeting              0:45:00
                                                                      with team
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 406 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   202



User                      Date        Client                          Description             Time Spent


Priy Sinha                   3/6/2007 Mississippi                     Drafted Goodman            2:50:36
                                                                      depo digest
Priy Sinha                   3/6/2007 Mississippi                     Reviewed Lewis's           4:17:40
                                                                      COL for FOF/COL
                                                                      regarding Jamison
                                                                      and drafted new
                                                                      FOF by choosing
                                                                      highlights of Lewis
                                                                      report and checking
                                                                      them against
                                                                      revised FRE for
                                                                      Jamison

Total: 3/6/2007
                                                                                       9.63


Priy Sinha                   3/7/2007 Mississippi                     Organized to do list       0:20:00
                                                                      for Mississippi
                                                                      pretrial
Priy Sinha                   3/7/2007 Mississippi                     Researched local           1:43:19
                                                                      rules about pretrial
                                                                      deadlines to put
                                                                      into trial calendar;
                                                                      sent email to ET/SN
                                                                      about S/C memos
Priy Sinha                   3/7/2007 Mississippi                     Reviewed past              2:07:56
                                                                      computer files for
                                                                      evidence-related
                                                                      memos
Priy Sinha                   3/7/2007 Mississippi                     Revised                    3:08:14
                                                                      Jamison-related
                                                                      FOF from Lewis
                                                                      expert report and
                                                                      checked all
                                                                      Jamison FOFs
                                                                      against the revised
                                                                      FRE summary

Total: 3/7/2007
                                                                                       7.32


Priy Sinha                   3/8/2007 Mississippi                     Organized                  0:10:00
                                                                      scholarship info for
                                                                      Jamison and gave
                                                                      him a call in his
                                                                      dorm room;
                                                                      emailed to make
                                                                      arrangements to
                                                                      speak at a later time
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 407 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   203



User                      Date        Client                          Description           Time Spent


Priy Sinha                   3/8/2007 Mississippi                     Reviewed internal        0:30:00
                                                                      trial preparation
                                                                      calendar to
                                                                      determine if it's
                                                                      ready to circulate
                                                                      widely and talked
                                                                      about date-counting
                                                                      rules with SL
Priy Sinha                   3/8/2007 Mississippi                     Drafted email to         1:15:00
                                                                      ET, SB, and JW
                                                                      about evidentiary
                                                                      objections and
                                                                      steps necessary to
                                                                      resolve them;
                                                                      talked to YGK
                                                                      about how
                                                                      objections are in
                                                                      practice resolved;
                                                                      reviewed MS's
                                                                      computer files for
                                                                      additional evidence
                                                                      memos
Priy Sinha                   3/8/2007 Mississippi                     Reviewed exhibits        2:19:25
                                                                      objections to
                                                                      determine what
                                                                      category of
                                                                      documents they are
Priy Sinha                   3/8/2007 Mississippi                     Drafted witness          2:45:14
                                                                      depo summaries for
                                                                      PTO

Total: 3/8/2007
                                                                                     6.99


Priy Sinha                   3/9/2007 Mississippi                     Finalized pretrial       0:30:00
                                                                      calendar for team
                                                                      by doublechecking
                                                                      court ordered dates
Priy Sinha                   3/9/2007 Mississippi                     Drafted summary of       7:32:04
                                                                      depo designations
                                                                      and
                                                                      counterdesignations
                                                                      for trial plan

Total: 3/9/2007
                                                                                     8.03
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 408 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   204



User                      Date        Client                          Description             Time Spent


Priy Sinha                  3/10/2007 Mississippi                     Drafted summary            7:33:42
                                                                      paragraphs of depo
                                                                      designations for
                                                                      trial plan (short
                                                                      versions)

Total: 3/10/2007
                                                                                       7.56


Priy Sinha                  3/12/2007 Mississippi                     Finalized depo             0:15:00
                                                                      summaries for trial
                                                                      plan: pulled
                                                                      transcript citation
                                                                      for Meadors'
                                                                      position and
                                                                      forwarded to JW
                                                                      and ET
Priy Sinha                  3/12/2007 Mississippi                     Finalizing calendar:       0:41:08
                                                                      reviewed calendar
                                                                      to make sure dates
                                                                      correctly transferred
                                                                      to word format
Priy Sinha                  3/12/2007 Mississippi                     Assembled                  4:40:46
                                                                      revisions to depo
                                                                      designations for
                                                                      PTO by
                                                                      doublechecking
                                                                      changes, confirmed
                                                                      that certain
                                                                      excerpts were
                                                                      errors, searched for
                                                                      content that might
                                                                      explain erroneous
                                                                      designation, as per
                                                                      ET request, drafted
                                                                      FOF for new
                                                                      excerpts
                                                                      designated,
                                                                      emailed with ET,
                                                                      crosschecked
                                                                      whether depos
                                                                      were included in
                                                                      exhibit list in PTO

Total: 3/12/2007
                                                                                       5.62
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 409 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   205



User                      Date        Client                          Description               Time Spent


Priy Sinha                  3/13/2007 Mississippi                     Talked to SN about           0:10:00
                                                                      any tasks for my to
                                                                      do list, and status of
                                                                      listing Lewis
                                                                      report/cross of
                                                                      witnesses hot docs
                                                                      in exhibits list
Priy Sinha                  3/13/2007 Mississippi                     Talked to Jamison            0:15:00

Priy Sinha                  3/13/2007 Mississippi                     Organized to do list         0:30:00
                                                                      of tasks for trial prep
Priy Sinha                  3/13/2007 Mississippi                     Team talk about              0:33:00
                                                                      details of case
                                                                      strategy over group
                                                                      dinner
Priy Sinha                  3/13/2007 Mississippi                     Talked to Jamison            0:45:00
                                                                      about status of trial
                                                                      and his testimony,
                                                                      how long we need
                                                                      him, his
                                                                      schoolwork, took
                                                                      notes, and talked to
                                                                      SN/email with CK
                                                                      about where he
                                                                      might stay in
                                                                      Jackson during trial
Priy Sinha                  3/13/2007 Mississippi                     Did preliminary              0:50:00
                                                                      research on FRE
                                                                      Rule 703 and
                                                                      whether documents
                                                                      relied upon by
                                                                      experts may be
                                                                      inadmissible;
                                                                      drafted email to SN,
                                                                      SL, and SB on topic
Priy Sinha                  3/13/2007 Mississippi                     Revised depo                 2:03:16
                                                                      designations
Priy Sinha                  3/13/2007 Mississippi                     Meeting at Loeb for          4:00:00
                                                                      pre trial preparation
                                                                      (including travel
                                                                      time of 1 hour)

Total: 3/13/2007
                                                                                         9.10


Priy Sinha                  3/14/2007 Mississippi                     Touched based                0:10:00
                                                                      with SB about
                                                                      evidence project
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 410 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   206



User                      Date        Client                          Description            Time Spent


Priy Sinha                  3/14/2007 Mississippi                     Talked to ET and          0:14:45
                                                                      HB about specifics
                                                                      of determining
                                                                      evidence objections
                                                                      to Defs' exhibits
Priy Sinha                  3/14/2007 Mississippi                     Electronic mails          0:30:00
                                                                      about Jamison
                                                                      status and
                                                                      suggestions for
                                                                      counseling and
                                                                      summer plans from
                                                                      CK
Priy Sinha                  3/14/2007 Mississippi                     Meeting with CR           1:15:00
                                                                      team
Priy Sinha                  3/14/2007 Mississippi                     Revised depo              7:33:55
                                                                      designations for
                                                                      clarity,
                                                                      completeness, and
                                                                      whether rebuttal to
                                                                      counterdesignations
                                                                      needed

Total: 3/14/2007
                                                                                      9.74


Priy Sinha                  3/15/2007 Mississippi                     Talked to CK and          0:10:00
                                                                      Jamison about
                                                                      status
Priy Sinha                  3/15/2007 Mississippi                     Drafted trial script      0:11:51
                                                                      for Jamison
Priy Sinha                  3/15/2007 Mississippi                     Reviewed Defs'            1:10:03
                                                                      exhibits on the PTO
                                                                      for additional
                                                                      objections;
                                                                      compiled list of
                                                                      exhibits to pull to
                                                                      look at more
                                                                      closely; talked to
                                                                      HB about how
                                                                      many and when to
                                                                      pull the full copies
                                                                      of the exhibits
Priy Sinha                  3/15/2007 Mississippi                     Revised depo              5:52:55
                                                                      designations

Total: 3/15/2007
                                                                                      7.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 411 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   207



User                      Date        Client                          Description             Time Spent


Priy Sinha                  3/16/2007 Mississippi                     Reviewed Defs              0:27:46
                                                                      exhibit list for
                                                                      additional
                                                                      objections; talked to
                                                                      HB about status of
                                                                      getting hard copy
Priy Sinha                  3/16/2007 Mississippi                     Reviewed Defs exh          3:00:15
                                                                      list and selected
                                                                      documents listed
                                                                      for objections;
                                                                      researched rules of
                                                                      completeness,
                                                                      business record &
                                                                      public record
                                                                      exceptions to
                                                                      hearsay
Priy Sinha                  3/16/2007 Mississippi                     Drafted and revised        4:28:55
                                                                      trial script for D

Total: 3/16/2007
                                                                                       7.94


Priy Sinha                  3/19/2007 Mississippi                     Drafted direct script      0:45:25
                                                                      for Jamison
Priy Sinha                  3/19/2007 Mississippi                     Drafted summary            1:00:56
                                                                      FOF of Brister
                                                                      Report including
                                                                      methodology;
                                                                      doublechecked
                                                                      motion in limine to
                                                                      doublecheck best
                                                                      language
Priy Sinha                  3/19/2007 Mississippi                     Reviewed                   1:59:50
                                                                      documents to
                                                                      assess evidentiary
                                                                      objections to Defs'
                                                                      exhibits

Total: 3/19/2007
                                                                                       3.78


Priy Sinha                  3/20/2007 Mississippi                     Left msgs /sent text       0:10:00
                                                                      to Jamison to talk
                                                                      about Casey
                                                                      scholarship and trial
                                                                      script
Priy Sinha                  3/20/2007 Mississippi                     Talked to ET about         0:20:00
                                                                      scheduling to go to
                                                                      trial
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 412 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   208



User                      Date        Client                          Description             Time Spent


Priy Sinha                  3/20/2007 Mississippi                     Organized to do list       0:30:57
                                                                      for MS pretrial tasks
Priy Sinha                  3/20/2007 Mississippi                     Meeting with team          1:03:52
                                                                      about MS tasks
Priy Sinha                  3/20/2007 Mississippi                     Talked to counselor        1:30:00
                                                                      about Jamison's
                                                                      grades and exam
                                                                      and class schedule
                                                                      and strategies to
                                                                      help him improve
                                                                      his grades (:30);
                                                                      talked to SN about
                                                                      these matters (:30);
                                                                      drafted email to ET
                                                                      with this info (:15);
                                                                      talked to CR about
                                                                      nonschool
                                                                      strategies for
                                                                      Jamison (:15)
Priy Sinha                  3/20/2007 Mississippi                     Reviewed                   3:10:51
                                                                      Defendant's FRE
                                                                      version of March
                                                                      16; talked to SN
                                                                      about most efficient
                                                                      method by which to
                                                                      determine which
                                                                      documents are in
                                                                      dispute (:20); began
                                                                      reading through
                                                                      225-page document
                                                                      to determine what
                                                                      needs to be done to
                                                                      stipulate to Defs'
                                                                      edits

Total: 3/20/2007
                                                                                       6.76


Priy Sinha                  3/21/2007 Mississippi                     Talked to YGK              0:10:00
                                                                      about FOF and
                                                                      FRE summaries
Priy Sinha                  3/21/2007 Mississippi                     Talked to TK about         0:30:00
                                                                      tasks and system to
                                                                      revise Jamison
                                                                      FRE and
                                                                      scheduling them
Priy Sinha                  3/21/2007 Mississippi                     Revised trial script       0:39:59
                                                                      for Jamison for
                                                                      review by ET
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 413 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   209



User                      Date        Client                          Description              Time Spent


Priy Sinha                  3/21/2007 Mississippi                     Reviewed Defs'              1:10:00
                                                                      exh. for objections
                                                                      for PTO
Priy Sinha                  3/21/2007 Mississippi                     Reviewed Defs'              5:52:37
                                                                      edits to Jamison
                                                                      FRE to note areas
                                                                      of substantive
                                                                      changes that need
                                                                      to confirmed

Total: 3/21/2007
                                                                                        8.39


Priy Sinha                  3/22/2007 Mississippi                     Left msg with NP            0:05:45

Priy Sinha                  3/22/2007 Mississippi                     Meeting with team           1:02:45
                                                                      about trial and
                                                                      settlement
Priy Sinha                  3/22/2007 Mississippi                     Reviewed Defs's             3:21:08
                                                                      exhibits to
                                                                      determine
                                                                      objections to them
Priy Sinha                  3/22/2007 Mississippi                     Reviewed depo               6:03:18
                                                                      transcripts for add'l
                                                                      depo designations

Total: 3/22/2007
                                                                                      10.56


Priy Sinha                  3/23/2007 Mississippi                     Telephone call with         0:20:00
                                                                      NP
Priy Sinha                  3/23/2007 Mississippi                     Talked to YGK               0:25:00
                                                                      about results from
                                                                      citechecking of
                                                                      FOF materials
Priy Sinha                  3/23/2007 Mississippi                     Organized tasks for         0:30:00
                                                                      PTO to be sent out
                                                                      today; gathered and
                                                                      forwarded to JW
                                                                      items ET asked me
                                                                      to
Priy Sinha                  3/23/2007 Mississippi                     Talked to Eric about        0:40:00
                                                                      Defs' exhibits and
                                                                      additional
                                                                      objections,
                                                                      additional depo
                                                                      designations, and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 414 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   210



User                      Date        Client                          Description            Time Spent


                                                                      substantive edits of
                                                                      FOF based on depo
                                                                      designations
Priy Sinha                  3/23/2007 Mississippi                     Followed up               1:05:00
                                                                      regarding ET
                                                                      instructions
                                                                      regarding PTO:
                                                                      reviewed additional
                                                                      Def's exhibits for
                                                                      objection, drafted
                                                                      objections and
                                                                      notes for objection
                                                                      list
Priy Sinha                  3/23/2007 Mississippi                     Revised FOF and           4:46:45
                                                                      depo designations
                                                                      for inclusion in PTO
                                                                      by citechecking
                                                                      against transcripts,
                                                                      verifying status as
                                                                      30(b)(6)

Total: 3/23/2007
                                                                                      7.78


Priy Sinha                  3/25/2007 Mississippi                     Revised FOF and           6:03:07
                                                                      depo citations for
                                                                      depo designations

Total: 3/25/2007
                                                                                      6.05


Priy Sinha                  3/26/2007 Mississippi                     Talked to Jamison         0:28:59
                                                                      about status,
                                                                      needed educ.
                                                                      services
Priy Sinha                  3/26/2007 Mississippi                     Talked to SL and          0:30:00
                                                                      YKG about
                                                                      proposed
                                                                      settlement
                                                                      agreement
Priy Sinha                  3/26/2007 Mississippi                     Reviewed Jamison          3:17:32
                                                                      FRE for edits
Priy Sinha                  3/26/2007 Mississippi                     Reviewed FOF for          3:36:47
                                                                      expanded depo
                                                                      designations
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 415 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   211



User                      Date        Client                          Description            Time Spent



Total: 3/26/2007
                                                                                      7.88


Priy Sinha                  3/27/2007 Mississippi                     Reviewed                  1:30:00
                                                                      Defendants' edits to
                                                                      Jamison's FRE
Priy Sinha                  3/27/2007 Mississippi                     Reviewed additional       4:00:00
                                                                      depositions for
                                                                      completeness and
                                                                      clarity of
                                                                      designations by
                                                                      co-counsel

Total: 3/27/2007
                                                                                      5.50


Priy Sinha                  3/28/2007 Mississippi                     Telephone call with       0:20:00
                                                                      Jamison about
                                                                      whether he
                                                                      approved of
                                                                      settlement
Priy Sinha                  3/28/2007 Mississippi                     Talked SN and             0:30:00
                                                                      legal team about
                                                                      status of settlement
                                                                      discussions

Total: 3/28/2007
                                                                                      0.83


Priy Sinha                  3/29/2007 Mississippi                     Telephone call with       0:20:00
                                                                      Jamison about
                                                                      settlement
                                                                      provisions & about
                                                                      what other services
                                                                      he may require; and
                                                                      arranged how to
                                                                      complete
                                                                      scholarship
                                                                      application

Total: 3/29/2007
                                                                                      0.33


Priy Sinha                   4/2/2007 Mississippi                     Talked to SN about        0:10:00
                                                                      circulating Hess
                                                                      report to direct
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 416 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   212



User                      Date        Client                          Description            Time Spent


                                                                      services providers
                                                                      in preparation for
                                                                      remedy
                                                                      proceedings & MS
                                                                      work by fellow
Priy Sinha                   4/2/2007 Mississippi                     For S/C: pulled           0:30:00
                                                                      treatise cites & did
                                                                      quick content
                                                                      check; emailed with
                                                                      ET and JW about
                                                                      details of cites and
                                                                      formats
Priy Sinha                   4/2/2007 Mississippi                     Electronic mail to        3:50:29
                                                                      Jamison to
                                                                      schedule team
                                                                      meeting to discuss
                                                                      S/C needs and took
                                                                      notes on
                                                                      conversation (:20);
                                                                      researched ILS
                                                                      services that can
                                                                      be/should be
                                                                      provided by reading
                                                                      studies and
                                                                      reviewing MS ILS
                                                                      plan

Total: 4/2/2007
                                                                                      4.51


Priy Sinha                   4/3/2007 Mississippi                     Conference call           0:45:00
                                                                      with team
Priy Sinha                   4/3/2007 Mississippi                     Telephone calls           0:45:00
                                                                      and emails about
                                                                      team meeting with
                                                                      Jamison to
                                                                      establish services
                                                                      needed for
                                                                      Settlement

Total: 4/3/2007
                                                                                      1.50


Priy Sinha                   4/4/2007 Mississippi                     Organized team            1:47:28
                                                                      meeting for NP
                                                                      Jamison to discuss
                                                                      services needed for
                                                                      settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 417 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   213



User                      Date        Client                          Description            Time Spent



Total: 4/4/2007
                                                                                      1.79


Priy Sinha                   4/5/2007 Mississippi                     Reviewed                  0:28:58
                                                                      settlement
                                                                      agreement of Dec.
                                                                      18, 2006 to see if
                                                                      mentions some
                                                                      items specific to
                                                                      Jamison, such as
                                                                      being forced to stay
                                                                      at a lockdown
                                                                      group home for
                                                                      formerly delinquent
                                                                      youth
Priy Sinha                   4/5/2007 Mississippi                     Read legislation          0:52:58
                                                                      summary for MS
                                                                      youth for relevance
                                                                      to our class of
                                                                      clients, drafted
                                                                      email highlighting
                                                                      key items for SN
                                                                      and ET, and pulled
                                                                      Jamison language
                                                                      from complaint to
                                                                      possibly forward to
                                                                      Training school
                                                                      case monitor

Total: 4/5/2007
                                                                                      1.36


Priy Sinha                   4/6/2007 Mississippi                     Researched                0:30:00
                                                                      Indepedent living
                                                                      services that should
                                                                      be available to NP
Priy Sinha                   4/6/2007 Mississippi                     Researched ILS for        1:00:00
                                                                      NP

Total: 4/6/2007
                                                                                      1.50


Priy Sinha                   4/9/2007 Mississippi                     Researched                6:36:37
                                                                      possible ILS for NP;
                                                                      sent out email
                                                                      reminding all of
                                                                      conference call and
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 418 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   214



User                      Date        Client                          Description            Time Spent


                                                                      talked to NP to
                                                                      remind him as well;
                                                                      did phonecall with
                                                                      team (:50); then
                                                                      drafted memo with
                                                                      action plan for
                                                                      immediate services
                                                                      as well as services
                                                                      to ask for through
                                                                      mediation

Total: 4/9/2007
                                                                                      6.61


Priy Sinha                  4/10/2007 Mississippi                     Conference call           0:15:52
                                                                      with team
Priy Sinha                  4/10/2007 Mississippi                     Electronic mail to        0:45:00
                                                                      Corene Kendrick
                                                                      about assistance
                                                                      she can provide to
                                                                      Jamison; circulated
                                                                      team meeting
                                                                      summary via email
                                                                      to Corene and
                                                                      Chris with action
                                                                      plans; emailed with
                                                                      ET and SN about
                                                                      privilege concerns
                                                                      about circulating
                                                                      summaries
Priy Sinha                  4/10/2007 Mississippi                     Talked to SN about        1:15:06
                                                                      exploring education
                                                                      remedy issues in
                                                                      MS; drafted email
                                                                      to contact; pulled
                                                                      up past
                                                                      correspondence
                                                                      with contact about
                                                                      foster
                                                                      care/education
Priy Sinha                  4/10/2007 Mississippi                     Researched                5:00:17
                                                                      independent living
                                                                      services for
                                                                      Jamison for
                                                                      mediation by going
                                                                      through COA and
                                                                      federal standards
                                                                      and drafted
                                                                      independent
                                                                      living/emancipation
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 419 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   215



User                      Date        Client                          Description              Time Spent


                                                                      services summary
                                                                      for use for Jamison
                                                                      and other NP's

Total: 4/10/2007
                                                                                        7.26


Priy Sinha                  4/11/2007 Mississippi                     Researched and              0:40:00
                                                                      drafted services
                                                                      proposal for
                                                                      Jamison/other NP's
                                                                      who need ILS
Priy Sinha                  4/11/2007 Mississippi                     Finalized services          6:20:07
                                                                      plan for Jamison
                                                                      (6:10); confirmed
                                                                      financial aid info for
                                                                      Jamison (:10);

Total: 4/11/2007
                                                                                        7.01


Priy Sinha                  4/12/2007 Mississippi                     Prepared to talk to         1:18:39
                                                                      contact by
                                                                      researching her
                                                                      organization and
                                                                      the contacts we
                                                                      work with there;
                                                                      drafted email to her
Priy Sinha                  4/12/2007 Mississippi                     Researched state            1:55:38
                                                                      laws relevant to
                                                                      service needs of
                                                                      NP Jamison

Total: 4/12/2007
                                                                                        3.24


Priy Sinha                  4/16/2007 Mississippi                     Researched                  1:56:40
                                                                      education and
                                                                      foster care issues
                                                                      in MS

Total: 4/16/2007
                                                                                        1.94


Priy Sinha                  4/17/2007 Mississippi                     Conference call             0:20:00
                                                                      with counsel team
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 420 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   216



User                      Date        Client                          Description              Time Spent


Priy Sinha                  4/17/2007 Mississippi                     Talked to Jamison           0:30:00
                                                                      for update and took
                                                                      notes on
                                                                      conversation; sent
                                                                      email to CK to
                                                                      update about
                                                                      contact info for NP

Total: 4/17/2007
                                                                                        0.83


Priy Sinha                  4/19/2007 Mississippi                     Talked to Jamison           2:00:00
                                                                      about his thought of
                                                                      joining the military,
                                                                      talked to SN, IL,
                                                                      and EG about, did
                                                                      research on options
                                                                      in military as well as
                                                                      government-funded
                                                                      programs, began
                                                                      compiling list of
                                                                      independent living
                                                                      services to add to
                                                                      remedy settlement
                                                                      agreement such as
                                                                      counseling on
                                                                      government funded
                                                                      programs

Total: 4/19/2007
                                                                                        2.00


Priy Sinha                  4/23/2007 Mississippi                     Researched joining          4:55:02
                                                                      the Navy and other
                                                                      government options
                                                                      for Jamison,
                                                                      including calling
                                                                      AmeriCorps
                                                                      programs to see if
                                                                      they have
                                                                      residential
                                                                      placements

Total: 4/23/2007
                                                                                        4.92
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 421 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   217



User                      Date        Client                          Description              Time Spent


Priy Sinha                  4/24/2007 Mississippi                     Talked to Jamison,          9:30:00
                                                                      SN, JW, Chris
                                                                      Powell, Corene
                                                                      Kendrick, Army
                                                                      recruiters, and
                                                                      Navy recruiter
                                                                      about Jamison
                                                                      joining military.
                                                                      Talked to Financial
                                                                      Aid about summer
                                                                      school and Student
                                                                      Affairs office to sort
                                                                      out financial aid,
                                                                      emailed to team
                                                                      about status of
                                                                      Jamison, sent
                                                                      Jamison materials
                                                                      about AmeriCorps.

Total: 4/24/2007
                                                                                        9.50


Priy Sinha                  4/25/2007 Mississippi                     Electronic mail to          0:45:00
                                                                      team about
                                                                      Jamison; talked to
                                                                      Jamison about
                                                                      Army package

Total: 4/25/2007
                                                                                        0.75


Priy Sinha                  4/30/2007 Mississippi                     Read draft letter to        0:10:40
                                                                      Defendants for
                                                                      comments
Priy Sinha                  4/30/2007 Mississippi                     Researched Army             1:57:25
                                                                      statistics and
                                                                      information for
                                                                      Jamison

Total: 4/30/2007
                                                                                        2.14


Priy Sinha                   5/1/2007 Mississippi                     Telephone call with         0:30:00
                                                                      class member, to
                                                                      answer his
                                                                      questions about
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 422 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   218



User                      Date        Client                          Description             Time Spent


                                                                      independent living
                                                                      services and paying
                                                                      for college

Total: 5/1/2007
                                                                                       0.50


Priy Sinha                   5/4/2007 Mississippi                     Telephone call with        0:45:57
                                                                      classmember about
                                                                      ILS/Chafee
                                                                      services he's
                                                                      entitled to and
                                                                      drafted email to
                                                                      group about him
Priy Sinha                   5/4/2007 Mississippi                     Telephone call with        1:18:01
                                                                      Jamison about
                                                                      joining the Army,
                                                                      possibility of going
                                                                      to Iraq, and
                                                                      importance of
                                                                      seeing the contract
                                                                      before he signs,
                                                                      and writing notes
                                                                      and follow up
                                                                      emails to MS team
                                                                      about it

Total: 5/4/2007
                                                                                       2.07


Priy Sinha                  5/10/2007 Mississippi                     Talked to SN about         7:25:29
                                                                      research
                                                                      assignment
                                                                      regarding standards
                                                                      for settlement (:05);
                                                                      did research
                                                                      assignment, looking
                                                                      at Manual for
                                                                      Complex Lit,
                                                                      previous GA
                                                                      submission, 5th
                                                                      Circuit and SDMiss
                                                                      and read cases,
                                                                      and sent follow up
                                                                      emails to ET to
                                                                      clarify assignment
                                                                      (3:47); drafted
                                                                      memo (3:33)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 423 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   219



User                      Date        Client                          Description            Time Spent



Total: 5/10/2007
                                                                                      7.42


Priy Sinha                  5/11/2007 Mississippi                     Telephone call to         0:20:00
                                                                      Jamison and took
                                                                      notes, sent follow
                                                                      up email to CK
Priy Sinha                  5/11/2007 Mississippi                     Revised services          0:36:23
                                                                      plan for Jamison

Total: 5/11/2007
                                                                                      0.94


Priy Sinha                  5/13/2007 Mississippi                     Reviewed Jamison          1:00:00
                                                                      updated discovery
                                                                      documents

Total: 5/13/2007
                                                                                      1.00


Priy Sinha                  5/14/2007 Mississippi                     Read motion for           0:37:57
                                                                      final approval, for
                                                                      which I pullled
                                                                      caselaw, to provide
                                                                      comments and sent
                                                                      email to ET with
                                                                      comments
Priy Sinha                  5/14/2007 Mississippi                     Reviewed                  0:50:28
                                                                      remainder of
                                                                      Jamison documents
Priy Sinha                  5/14/2007 Mississippi                     Finalized mem. in         2:07:34
                                                                      support of final
                                                                      approval for
                                                                      settlement
                                                                      agreement

Total: 5/14/2007
                                                                                      3.60


Priy Sinha                  5/15/2007 Mississippi                     Conference call           0:23:41
                                                                      with team MS
Priy Sinha                  5/15/2007 Mississippi                     Finished reviewing        1:06:04
                                                                      documents from
                                                                      most recent
                                                                      discovery update
                                                                      for Jamison
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 424 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   220



User                      Date        Client                          Description             Time Spent


Priy Sinha                  5/15/2007 Mississippi                     Revised and                4:50:59
                                                                      finalized services
                                                                      plan for Jamison for
                                                                      submission to
                                                                      Defendants or the
                                                                      mediator by:
                                                                      looking up and
                                                                      finalizing citations;
                                                                      citechecking outline
                                                                      of services;
                                                                      emailing document
                                                                      to Jamison and
                                                                      GAL/NF Chris
                                                                      Powell for
                                                                      comments and
                                                                      calling them to
                                                                      follow up; including
                                                                      their comments

Total: 5/15/2007
                                                                                       6.34


Priy Sinha                  5/16/2007 Mississippi                     Telephone calls            2:24:39
                                                                      with Jamison and
                                                                      Chris Powell to get
                                                                      their feeback
                                                                      regarding the
                                                                      services plan

Total: 5/16/2007
                                                                                       2.41


Priy Sinha                  5/17/2007 Mississippi                     Conference call            1:30:00
                                                                      with SN, ET, and
                                                                      Chris Powell about
                                                                      Jamison's services
                                                                      plan; took notes on
                                                                      conversation for
                                                                      memorializing in a
                                                                      one-sheet
                                                                      contract/ISP

Total: 5/17/2007
                                                                                       1.50


Priy Sinha                  5/18/2007 Mississippi                     talked to Chris            0:41:56
                                                                      Powell about
                                                                      comments to D's
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 425 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   221



User                      Date        Client                          Description            Time Spent


                                                                      service plan,
                                                                      redlined changes,
                                                                      and sent to CP and
                                                                      ET
Priy Sinha                  5/18/2007 Mississippi                     Revised Jamison           3:36:33
                                                                      services plan

Total: 5/18/2007
                                                                                      4.31


Priy Sinha                  5/21/2007 Mississippi                     Reviewed services         0:20:00
                                                                      plans for NP's
Priy Sinha                  5/21/2007 Mississippi                     Revised Jamison's         4:49:33
                                                                      service plan
                                                                      agreement

Total: 5/21/2007
                                                                                      5.16


Priy Sinha                  5/22/2007 Mississippi                     Conference call           0:39:19
                                                                      with team; talked to
                                                                      SN about mediation
                                                                      and upcoming trip
                                                                      to MS
Priy Sinha                  5/22/2007 Mississippi                     Talked to JAG             0:57:16
                                                                      about Jamison's
                                                                      Army contract
                                                                      terms; Jamison
                                                                      about what
                                                                      documents he does
                                                                      and does not have
                                                                      and terms that
                                                                      should be in them
Priy Sinha                  5/22/2007 Mississippi                     Revised services          2:30:08
                                                                      plans for NP's

Total: 5/22/2007
                                                                                      4.11


Priy Sinha                  5/23/2007 Mississippi                     Telephone call with       1:03:58
                                                                      Jamison about
                                                                      Army contract

Total: 5/23/2007
                                                                                      1.07
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 426 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   222



User                      Date        Client                          Description               Time Spent


Priy Sinha                  5/24/2007 Mississippi                     Gave comments to             0:10:00
                                                                      SN about letter to
                                                                      mediator
Priy Sinha                  5/24/2007 Mississippi                     Drafted short memo           2:26:29
                                                                      for classmember
                                                                      about independent
                                                                      living services and
                                                                      the contact for him
                                                                      at the local
                                                                      community college

Total: 5/24/2007
                                                                                         2.61


Priy Sinha                  5/25/2007 Mississippi                     Gathered resource            2:09:20
                                                                      folder of legal
                                                                      materials for NP
                                                                      services mediation;
                                                                      read Defendants'
                                                                      response and new
                                                                      Policy Manual

Total: 5/25/2007
                                                                                         2.16


Priy Sinha                  5/29/2007 Mississippi                     Talked to Jamison            0:10:00
                                                                      about questions
                                                                      related to Army
Priy Sinha                  5/29/2007 Mississippi                     Reviewed NP                  0:15:00
                                                                      services plan
                                                                      response from
                                                                      Defendants
Priy Sinha                  5/29/2007 Mississippi                     MS conference call           0:39:21

Priy Sinha                  5/29/2007 Mississippi                     Talked with ET, SN,          3:00:57
                                                                      and JW about
                                                                      Jamison reform
                                                                      plan; revised terms
                                                                      as per discussion
                                                                      and emailed to
                                                                      group;

Total: 5/29/2007
                                                                                         4.10


Priy Sinha                  5/30/2007 Mississippi                     Read April 2006              8:00:00
                                                                      Policy Manual to
                                                                      prepare for
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 427 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   223



User                      Date        Client                          Description            Time Spent


                                                                      mediation (1:30);
                                                                      meeting with
                                                                      Zelatra Williams
                                                                      (:45); prepped
                                                                      further for
                                                                      mediation by
                                                                      re-reading Chafee
                                                                      materials, reviewing
                                                                      Lewis NP report,
                                                                      going through
                                                                      supporting cited
                                                                      materials (2:45);
                                                                      worked with ET to
                                                                      draft response to
                                                                      Defs' proposal for
                                                                      NP service plan (3);

Total: 5/30/2007
                                                                                      8.00


Priy Sinha                  5/31/2007 Mississippi                     Attended meeting          3:50:00
                                                                      with Defs re NP
                                                                      services plan

Total: 5/31/2007
                                                                                      3.83


Priy Sinha                   6/1/2007 Mississippi                     Organized conf. call      2:30:00
                                                                      with NF Chris
                                                                      Powell about
                                                                      Jamison and talked
                                                                      to him about status
                                                                      of discussions
                                                                      (:30); organized
                                                                      materials from trip
                                                                      to MS (:30);
                                                                      contacted
                                                                      Jamison's recruiting
                                                                      office for contact
                                                                      info for him (:30):
                                                                      emailed ET with
                                                                      follow up questions
                                                                      about emancipation
                                                                      (:30); review NP
                                                                      services plan sent
                                                                      out to Defs (:30)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 428 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   224



User                      Date        Client                          Description            Time Spent



Total: 6/1/2007
                                                                                      2.50


Priy Sinha                   6/5/2007 Mississippi                     Electronic mails          0:30:00
                                                                      with CK about
                                                                      Jamison regarding
                                                                      contact information,
                                                                      confidentiality, and
                                                                      updates on his
                                                                      status
Priy Sinha                   6/5/2007 Mississippi                     Reviewed                  2:20:36
                                                                      Jamison's service
                                                                      plan and
                                                                      confidentiality
                                                                      concerns about D;
                                                                      discussed needed
                                                                      services with
                                                                      contact;
                                                                      brainstormed
                                                                      further services;
                                                                      talked to Chris
                                                                      Powell about
                                                                      services; took notes
                                                                      for records; sent
                                                                      emails to ET and SN

Total: 6/5/2007
                                                                                      2.84


Priy Sinha                  6/18/2007 Mississippi                     Electronic mails          0:55:00
                                                                      about Jamison's
                                                                      contact information
                                                                      at Army and
                                                                      remaining services
                                                                      plan tasks for him;
                                                                      and with ET about
                                                                      schedule for
                                                                      reviewing MDHS
                                                                      settlement plan
                                                                      documents

Total: 6/18/2007
                                                                                      0.92


Priy Sinha                  6/19/2007 Mississippi                     Reviewed docs for         1:20:00
                                                                      response to Def's
                                                                      Blueprint to
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 429 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   225



User                      Date        Client                          Description             Time Spent


                                                                      Success; conf. call
                                                                      with SN and ET
                                                                      about task (:20)

Total: 6/19/2007
                                                                                       1.33


Priy Sinha                  6/20/2007 Mississippi                     Reviewed and               3:30:00
                                                                      drafted memo
                                                                      regarding family
                                                                      preservation
                                                                      contracts entered
                                                                      into by MDHS

Total: 6/20/2007
                                                                                       3.50


Priy Sinha                  6/21/2007 Mississippi                     MS staff meeting           1:40:00
                                                                      (1:10); talked to SN
                                                                      and ET about
                                                                      regional action
                                                                      plans being
                                                                      incomplete and
                                                                      seeking additional
                                                                      items (:20); emailed
                                                                      with EG and SN
                                                                      about MS research
                                                                      assignments (:10)

Total: 6/21/2007
                                                                                       1.67


Priy Sinha                  6/26/2007 Mississippi                     Gathered templates         0:38:18
                                                                      of receivership
                                                                      research for
                                                                      meeting with intern
                                                                      Laura, for her
                                                                      research
                                                                      assignment on
                                                                      standards for
                                                                      receivership in the
                                                                      5th Circuit; met with
                                                                      her to give her
                                                                      assignment; sent
                                                                      follow up email to
                                                                      SN about research
                                                                      question
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 430 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   226



User                      Date        Client                          Description              Time Spent


Priy Sinha                  6/26/2007 Mississippi                     Drafted letter for          1:30:00
                                                                      emancipation
                                                                      stipend for NP,
                                                                      doublechecked
                                                                      terms of service
                                                                      agreement and
                                                                      emancipation order,
                                                                      and assembled
                                                                      enclosures, for
                                                                      SN's signature

Total: 6/26/2007
                                                                                        2.14


Priy Sinha                  6/27/2007 Mississippi                     Talked to LG                0:30:00
                                                                      (intern) about
                                                                      researching
                                                                      receivership
                                                                      question; answered
                                                                      follow up questions
Priy Sinha                  6/27/2007 Mississippi                     Talked to                   1:10:00
                                                                      classmember with
                                                                      JW and sent follow
                                                                      up email to him and
                                                                      to ET

Total: 6/27/2007
                                                                                        1.67


Priy Sinha                  6/28/2007 Mississippi                     Talked to SN about          1:00:00
                                                                      strategy in
                                                                      responding to Defs'
                                                                      letter re. stipend for
                                                                      Jamison; drafted
                                                                      follow up email to
                                                                      ET; reviewed
                                                                      settlement
                                                                      agreement and
                                                                      correspondence on
                                                                      issue

Total: 6/28/2007
                                                                                        1.00


Priy Sinha                  7/11/2007 Mississippi                     Telephone call with         1:30:00
                                                                      Jamison from Army
                                                                      basic training in
                                                                      Missouri (1:20);
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 431 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   227



User                      Date        Client                          Description            Time Spent


                                                                      drafted email to
                                                                      team of
                                                                      conversation (:10)

Total: 7/11/2007
                                                                                      1.50


Priy Sinha                  7/12/2007 Mississippi                     Meeting with intern       0:30:00
                                                                      Laura Ginsberg to
                                                                      discuss
                                                                      receivership
                                                                      research
Priy Sinha                  7/12/2007 Mississippi                     Researched                0:30:30
                                                                      services for Jamison

Total: 7/12/2007
                                                                                      1.01


Priy Sinha                  7/13/2007 Mississippi                     Conference call           0:30:00
                                                                      regarding plan for
                                                                      remedy
Priy Sinha                  7/13/2007 Mississippi                     Research: pulled          3:01:40
                                                                      10th circuit caselaw
                                                                      that had permitted
                                                                      consent decree to
                                                                      go beyond
                                                                      constitutional
                                                                      concerns

Total: 7/13/2007
                                                                                      3.53


Priy Sinha                  7/16/2007 Mississippi                     Telephone call with       0:20:00
                                                                      class member's
                                                                      foster mother to
                                                                      check if member
                                                                      receive letter about
                                                                      college; sent letter
                                                                      to her aol email
                                                                      address; talked to
                                                                      Talia to let her
                                                                      know situation
Priy Sinha                  7/16/2007 Mississippi                     Telephone call with       0:40:00
                                                                      CK about Jamison
Priy Sinha                  7/16/2007 Mississippi                     Pulled research on        3:02:10
                                                                      scope of district
                                                                      court's power to
                                                                      create remedies for
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 432 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   228



User                      Date        Client                          Description            Time Spent


                                                                      SN; sent email to
                                                                      SN and EG about
                                                                      supervising interns
                                                                      on research topics;
                                                                      reviewed Laura
                                                                      Ginsberg's memo
                                                                      on receiverships;
                                                                      met with her to give
                                                                      her feedback;
                                                                      looked up contact
                                                                      information for
                                                                      individuals with
                                                                      whom NP wanted
                                                                      to be in touch

Total: 7/16/2007
                                                                                      4.04


Priy Sinha                  7/18/2007 Mississippi                     Talked to Emily           1:00:00
                                                                      Wallace about
                                                                      updating
                                                                      substantive due
                                                                      process research;
                                                                      answered questions
                                                                      about assignment;
                                                                      talked briefly to SN
                                                                      about assignment;
                                                                      sent confirmatory
                                                                      email to SN and ET
                                                                      describing
                                                                      assignment
Priy Sinha                  7/18/2007 Mississippi                     Reviewed                  1:49:42
                                                                      documents relating
                                                                      to Jamison
                                                                      provided to us
                                                                      under Named
                                                                      Plaintiff agreement
                                                                      of June 2007

Total: 7/18/2007
                                                                                      2.83


Priy Sinha                  7/20/2007 Mississippi                     Conference call           0:45:00
                                                                      with team
                                                                      Mississippi about
                                                                      response to plan
                                                                      submitted July 19
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 433 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   229



User                      Date        Client                          Description            Time Spent


Priy Sinha                  7/20/2007 Mississippi                     Followed up on            2:00:00
                                                                      tasks for Jamison
                                                                      including contacting
                                                                      his mentor, spoke
                                                                      to mentor about
                                                                      arrangements for
                                                                      his stipend funds
                                                                      and how they
                                                                      should be allocated,
                                                                      looking up
                                                                      arrangements for
                                                                      his cellphone

Total: 7/20/2007
                                                                                      2.75


Priy Sinha                  7/23/2007 Mississippi                     Reviewed Jamison          2:11:00
                                                                      documents
                                                                      submitted in
                                                                      response to Named
                                                                      Plaintiff service
                                                                      agreements of June
                                                                      2007

Total: 7/23/2007
                                                                                      2.18


Priy Sinha                  7/24/2007 Mississippi                     Meeting with intern       0:25:00
                                                                      Emily Wallace to
                                                                      discuss research
                                                                      and structure of
                                                                      memo
Priy Sinha                  7/24/2007 Mississippi                     Prepared package          0:40:00
                                                                      of materials
                                                                      including copies of
                                                                      MDHS files (sent to
                                                                      us in response to
                                                                      the June 2007
                                                                      named plaintiff
                                                                      services
                                                                      agreement) to be
                                                                      sent to Jamison;
                                                                      drafted cover letter
                                                                      with question on
                                                                      how to allocate his
                                                                      $1000
                                                                      emancipation
                                                                      stipend
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 434 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   230



User                      Date        Client                          Description             Time Spent



Total: 7/24/2007
                                                                                       1.09


Priy Sinha                  7/26/2007 Mississippi                     Talked to and              0:50:00
                                                                      emailed with intern
                                                                      Emily Wallace
                                                                      several times to
                                                                      discuss legal
                                                                      research
                                                                      assignment
                                                                      regarding legal age
                                                                      to contract in
                                                                      Mississippi (:40);
                                                                      talked to SN about
                                                                      questions (:05); and
                                                                      Brooks Halliday
                                                                      about questions
                                                                      (:05)
Priy Sinha                  7/26/2007 Mississippi                     Telephone call with        1:05:00
                                                                      contact about
                                                                      status of our
                                                                      requests for funds
                                                                      for Jamison and
                                                                      strategy for getting
                                                                      funds and services
                                                                      to him while he's in
                                                                      Army training (:30);
                                                                      updated SN about
                                                                      status (:05); sent
                                                                      email to Kenya
                                                                      Rachal to ask
                                                                      MDHS to correct
                                                                      address on file for
                                                                      Jamison that's valid
                                                                      until August 3 (:20);
                                                                      wrote notes about
                                                                      the above in our
                                                                      records for Jamison
                                                                      (:10)

Total: 7/26/2007
                                                                                       1.91


Priy Sinha                  7/30/2007 Mississippi                     Drafted letter for         1:00:00
                                                                      Jamison services;
                                                                      made follow up
                                                                      phone calls/emails
                                                                      to Jamison's
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 435 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   231



User                      Date        Client                          Description            Time Spent


                                                                      mentor about best
                                                                      way to pay for
                                                                      services for Jamison

Total: 7/30/2007
                                                                                      1.00


Priy Sinha                   8/1/2007 Mississippi                     Drafted letter for        3:00:00
                                                                      Jamison; made
                                                                      follow up calls to
                                                                      determine details of
                                                                      vendors to whom
                                                                      Jamison's Start Up
                                                                      stipend should be
                                                                      sent
Priy Sinha                   8/1/2007 Mississippi                     Reviewed                  3:00:29
                                                                      COA-submitted
                                                                      version of the
                                                                      regional action
                                                                      plans; emailed with
                                                                      ET and TK to
                                                                      ensure I had right
                                                                      copies and to get
                                                                      more details about
                                                                      assignment; drafted
                                                                      brief memo
                                                                      comparing COA
                                                                      submitted docs to
                                                                      the ones we
                                                                      received in
                                                                      discovery in early
                                                                      summer

Total: 8/1/2007
                                                                                      6.01


Priy Sinha                   8/2/2007 Mississippi                     Talked to Jamison,        1:00:00
                                                                      who is to graduate
                                                                      Aug 3 from basic
                                                                      training in Army;
                                                                      took notes on
                                                                      conversation
Priy Sinha                   8/2/2007 Mississippi                     Drafted letter for        2:30:00
                                                                      Jamison's stipend;
                                                                      entered in ET's
                                                                      edits and
                                                                      citechecked
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 436 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   232



User                      Date        Client                          Description              Time Spent


                                                                      document against
                                                                      settlement
                                                                      agreement

Total: 8/2/2007
                                                                                        3.50


Priy Sinha                   8/3/2007 Mississippi                     Revised Jamison             1:00:00
                                                                      letter to send out to
                                                                      Defs; coordinate
                                                                      with TK regarding
                                                                      sending out letter

Total: 8/3/2007
                                                                                        1.00


Priy Sinha                   8/6/2007 Mississippi                     Reviewed memos              2:39:01
                                                                      on SDP and age to
                                                                      contract by intern
                                                                      EW; rmet with EW
                                                                      about age of
                                                                      contract memo and
                                                                      reviewed
                                                                      subsequent edits
                                                                      on it

Total: 8/6/2007
                                                                                        2.65


Priy Sinha                   8/8/2007 Mississippi                     Prepared for                0:30:00
                                                                      conference call
                                                                      meeting on
                                                                      remedial trial plan
Priy Sinha                   8/8/2007 Mississippi                     Conference call             2:00:00
                                                                      with team MS about
                                                                      remedial trial (1:15);
                                                                      further CR
                                                                      conference call
                                                                      about tasks (:45)
Priy Sinha                   8/8/2007 Mississippi                     Gathered                    4:50:30
                                                                      Defendant's plan
                                                                      and reviewed for
                                                                      memo critiquing
                                                                      Def's strategy of
                                                                      reform measures
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 437 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   233



User                      Date        Client                          Description             Time Spent



Total: 8/8/2007
                                                                                       7.34


Priy Sinha                   8/9/2007 Mississippi                     Read through 9             5:00:00
                                                                      documents for
                                                                      Def's ongoing
                                                                      reform proposals,
                                                                      and expert's
                                                                      recommendations

Total: 8/9/2007
                                                                                       5.00


Priy Sinha                  8/10/2007 Mississippi                     Talked to JP about         0:15:00
                                                                      summary of
                                                                      remedial trial
                                                                      meeting and
                                                                      schedule
Priy Sinha                  8/10/2007 Mississippi                     Drafted summary            0:15:00
                                                                      memo of ongoing
                                                                      reforms alleged by
                                                                      MDHS; emailed
                                                                      with ET to finalize
                                                                      list of items to have
                                                                      reviewed
Priy Sinha                  8/10/2007 Mississippi                     Telephone call with        0:30:00
                                                                      ET to discuss trial
                                                                      schedule, remedial
                                                                      memo assignment,
                                                                      my vacation and
                                                                      fellowship end date,
                                                                      intern assignments,
                                                                      and MDHS
                                                                      response to
                                                                      Jamison letter
Priy Sinha                  8/10/2007 Mississippi                     Talked to Jamison          0:50:00
                                                                      about follow up on
                                                                      stipend fund
                                                                      request and other
                                                                      matters related to
                                                                      moving to army
                                                                      base in Arizona

Total: 8/10/2007
                                                                                       1.83
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 438 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   234



User                      Date        Client                          Description           Time Spent


Priy Sinha                  8/13/2007 Mississippi                     Drafted summary of       6:18:32
                                                                      Defs' ongoing
                                                                      reforms regarding
                                                                      child safety and
                                                                      expert
                                                                      recommendations:
                                                                      reviewed PIP April
                                                                      2007 narrative for
                                                                      safety and
                                                                      staffing/training
                                                                      topics and drafted
                                                                      summaries

Total: 8/13/2007
                                                                                     6.31


Priy Sinha                  8/14/2007 Mississippi                     Drafted summary of       3:10:38
                                                                      Defs' ongoing
                                                                      reforms

Total: 8/14/2007
                                                                                     3.18


Priy Sinha                  8/15/2007 Mississippi                     Telephone call with      0:30:00
                                                                      Jamison; took
                                                                      notes on
                                                                      conversation
Priy Sinha                  8/15/2007 Mississippi                     Drafted summary of       0:49:53
                                                                      Def's ongoing
                                                                      reform: looked at
                                                                      6/07 plan and
                                                                      compared to 7/07
                                                                      plan for any major
                                                                      ommissions or
                                                                      changes

Total: 8/15/2007
                                                                                     1.33


Priy Sinha                  8/16/2007 Mississippi                     Drafted summary of       4:00:29
                                                                      Defs' ongoing
                                                                      reforms: compared
                                                                      6/07 plan to 7/07
                                                                      plan for major
                                                                      omissions/changes
                                                                      on safety or
                                                                      staffing/training
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 439 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   235



User                      Date        Client                          Description             Time Spent



Total: 8/16/2007
                                                                                       4.01


Priy Sinha                  8/17/2007 Mississippi                     Drafted summary of         6:18:58
                                                                      Defs' ongoing
                                                                      reforms

Total: 8/17/2007
                                                                                       6.32


Priy Sinha                  8/20/2007 Mississippi                     Drafted summary of         8:00:41
                                                                      expert
                                                                      recommendations
                                                                      regarding MS, for
                                                                      remedial trial

Total: 8/20/2007
                                                                                       8.01


Priy Sinha                  8/21/2007 Mississippi                     Talked to JP about         3:37:11
                                                                      workplan on MS
                                                                      (:20); revised draft
                                                                      of memo on
                                                                      ongoing reforms

Total: 8/21/2007
                                                                                       3.62


Priy Sinha                  8/22/2007 Mississippi                     Revised safety             3:20:00
                                                                      remedial memo
                                                                      section (2:00); sent
                                                                      to SN (:05); met
                                                                      with SN and JP
                                                                      about MS tasks and
                                                                      to discuss safety
                                                                      section and further
                                                                      tasks (1:15)

Total: 8/22/2007
                                                                                       3.33


Priy Sinha                  8/23/2007 Mississippi                     Drafted summary of         5:02:38
                                                                      Defs'
                                                                      training/staffing
                                                                      reforms
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 440 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   236



User                      Date        Client                          Description              Time Spent



Total: 8/23/2007
                                                                                        5.04


Priy Sinha                  8/24/2007 Mississippi                     Drafted summary of          6:00:00
                                                                      Defendants'
                                                                      reforms on
                                                                      staffing/training

Total: 8/24/2007
                                                                                        6.00


Priy Sinha                  8/25/2007 Mississippi                     Reviewed Defs'              3:00:00
                                                                      ongoing reforms on
                                                                      staffing/training

Total: 8/25/2007
                                                                                        3.00


Priy Sinha                  8/26/2007 Mississippi                     Telephone call with         0:10:00
                                                                      Jamison about
                                                                      finalizing stipend
Priy Sinha                  8/26/2007 Mississippi                     Reviewed Defs'              3:00:00
                                                                      ongoing reforms on
                                                                      staffing/training

Total: 8/26/2007
                                                                                        3.17


Priy Sinha                  8/27/2007 Mississippi                     Drafted letter to           0:50:00
                                                                      Rachal about
                                                                      finalizing details for
                                                                      Jamison's stipend
                                                                      (:20); spoke to
                                                                      Jamison to confirm
                                                                      details (:10); spoke
                                                                      to contact to
                                                                      confirm vendor
                                                                      mailing address
                                                                      and how to make
                                                                      payments to AT & T
                                                                      via check as
                                                                      requested by
                                                                      MDHS (:20)
Priy Sinha                  8/27/2007 Mississippi                     Reviewed NP docs            1:30:00
                                                                      regarding Jamison
                                                                      produced in August
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 441 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   237



User                      Date        Client                          Description             Time Spent


                                                                      2007; flagged key
                                                                      documents; drafted
                                                                      brief index; sent
                                                                      email to group with
                                                                      index
Priy Sinha                  8/27/2007 Mississippi                     Reviewed experts'          6:54:38
                                                                      recommendations
                                                                      regarding reforms
                                                                      on staffing/training
                                                                      (:40); reviewed PIP
                                                                      regarding safety
                                                                      and
                                                                      staffing/training;
                                                                      reorganized memo
                                                                      on safety by topic
                                                                      not report

Total: 8/27/2007
                                                                                       9.24


Priy Sinha                   9/5/2007 Mississippi                     Attended MS                1:25:00
                                                                      meeting with team
                                                                      (1 hour); met with
                                                                      SN to discuss
                                                                      remedial memo
                                                                      points (:25);
Priy Sinha                   9/5/2007 Mississippi                     Revised summaries          1:48:52
                                                                      for remedial memo

Total: 9/5/2007
                                                                                       3.23


Priy Sinha                   9/6/2007 Mississippi                     Revised summary            1:00:36
                                                                      of staffing/training
                                                                      reforms by
                                                                      Defendants as per
                                                                      SN comments

Total: 9/6/2007
                                                                                       1.01


Priy Sinha                   9/7/2007 Mississippi                     Revised safety             1:23:15
                                                                      section of remedial
                                                                      memo
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 442 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   238



User                      Date        Client                          Description             Time Spent



Total: 9/7/2007
                                                                                       1.39


Priy Sinha                  9/10/2007 Mississippi                     Revised draft of           3:30:00
                                                                      safety section for
                                                                      remedial memo

Total: 9/10/2007
                                                                                       3.50


Priy Sinha                  9/11/2007 Mississippi                     Team meeting with          2:50:19
                                                                      MRL, SN, ET, and
                                                                      JP to discuss
                                                                      strategy for
                                                                      COA/Defs meeting
                                                                      (:20); meeting with
                                                                      COA and Defs, with
                                                                      internal discussion
                                                                      during break from
                                                                      meeting (1:20)
Priy Sinha                  9/11/2007 Mississippi                     Did final review of        3:04:47
                                                                      revisions to Safety
                                                                      section for remedial
                                                                      memo; talked to SN
                                                                      about changes (:30)

Total: 9/11/2007
                                                                                       5.92


Priy Sinha                  9/12/2007 Mississippi                     Debriefed with             0:30:00
                                                                      MRL, ET, SN, TK
                                                                      about Mississippi
                                                                      settlement talks

Total: 9/12/2007
                                                                                       0.50


Priy Sinha                  9/13/2007 Mississippi                     Revised summaries          0:16:08
                                                                      of safety and
                                                                      staffing/training
                                                                      sections for
                                                                      remedial memo
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 443 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   239



User                      Date        Client                          Description            Time Spent



Total: 9/13/2007
                                                                                      0.27


Priy Sinha                  9/14/2007 Mississippi                     Revised draft of          0:30:31
                                                                      safety remedial
                                                                      memo section as
                                                                      per SN's comments

Total: 9/14/2007
                                                                                      0.51


Priy Sinha                  9/17/2007 Mississippi                     Called AT & T with        0:30:00
                                                                      Jamison to
                                                                      research cell phone
                                                                      accounts with him;
                                                                      took notes on
                                                                      conversation
Priy Sinha                  9/17/2007 Mississippi                     Revised memo on           5:00:00
                                                                      safety as per SN's
                                                                      comments

Total: 9/17/2007
                                                                                      5.50


Priy Sinha                  9/18/2007 Mississippi                     Talked to Jamison         0:40:00
                                                                      about setting up AT
                                                                      & T account and
                                                                      how to get gift card
                                                                      & AT & T materials
                                                                      to him; took notes;
                                                                      gave materials to
                                                                      inhouse person for
                                                                      safekeeping

Total: 9/18/2007
                                                                                      0.67


Priy Sinha                  9/24/2007 Mississippi                     Reviewed consent          1:20:19
                                                                      decree for
                                                                      education language

Total: 9/24/2007
                                                                                      1.34
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 444 of 658
5/7/2008                             Children's Rights, Inc.
10:11 AM                            User Defined Slip Listing                               Page   240



User                      Date      Client                           Description            Time Spent



Total: Priy Sinha
                                                                                   658.29
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 445 of 658
5/7/2008                                  Children's Rights, Inc.
10:11 AM                                 User Defined Slip Listing                                 Page   241



User                          Date        Client                          Description              Time Spent


Attorney/Para: Sara Bartosz
Sara Bartosz                     2/8/2007 Mississippi                     Research regarding          2:20:00
                                                                          federal rules of
                                                                          evidence on
                                                                          hearsay exceptions
Sara Bartosz                     2/8/2007 Mississippi                     Review MS expert            2:25:00
                                                                          reports and exhibit
                                                                          list

Total: 2/8/2007
                                                                                            4.75


Sara Bartosz                    2/10/2007 Mississippi                     prepare                     1:30:00
                                                                          memorandum
                                                                          regarding
                                                                          evidentiary issues
                                                                          for trial

Total: 2/10/2007
                                                                                            1.50


Sara Bartosz                    2/15/2007 Mississippi                     Prepare analysis of         2:15:00
                                                                          evidentiary issues
                                                                          to be addressed at
                                                                          trial; legal research
                                                                          re same

Total: 2/15/2007
                                                                                            2.25


Sara Bartosz                    2/16/2007 Mississippi                     Prepare analysis of         3:10:00
                                                                          evidentiary issues
                                                                          for purposes of final
                                                                          pretrial order and
                                                                          trial

Total: 2/16/2007
                                                                                            3.17


Sara Bartosz                    2/20/2007 Mississippi                     Review exhibit lists        3:15:00
                                                                          from parties and
                                                                          assess evidentiary
                                                                          issues and concerns
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 446 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   242



User                      Date        Client                          Description            Time Spent



Total: 2/20/2007
                                                                                      3.25


Sara Bartosz                2/21/2007 Mississippi                     Read/compile case         0:35:00
                                                                      law regarding
                                                                      admissibility of
                                                                      comparable state
                                                                      performance
                                                                      statistics and
                                                                      assess motion in
                                                                      limine with trial
                                                                      team
Sara Bartosz                2/21/2007 Mississippi                     Review defendants'        2:20:00
                                                                      disclosure of trial
                                                                      exhibits and
                                                                      formulate
                                                                      objections where
                                                                      appropriate

Total: 2/21/2007
                                                                                      2.91



Total: Sara Bartosz
                                                                                    17.83
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 447 of 658
5/7/2008                                  Children's Rights, Inc.
10:11 AM                                 User Defined Slip Listing                                Page   243



User                          Date        Client                          Description             Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                     1/2/2007 Mississippi                     Meeting with MRL           0:46:24
                                                                          and ET re
                                                                          settlement proposal
Shirim, Esq.                     1/2/2007 Mississippi                     Review defendants'         1:13:34
                                                                          sett. proposal
Shirim, Esq.                     1/2/2007 Mississippi                     Redraft provisions         3:02:28
                                                                          of settlement
                                                                          agreement

Total: 1/2/2007
                                                                                           5.04


Shirim, Esq.                     1/3/2007 Mississippi                     Revise and draft           9:23:36
                                                                          settlement terms

Total: 1/3/2007
                                                                                           9.39


Shirim, Esq.                     1/4/2007 Mississippi                     edit and cite check        0:34:43
                                                                          D's free 1006
Shirim, Esq.                     1/4/2007 Mississippi                     Edit outcome               0:42:39
                                                                          measures of
                                                                          settlement proposal
Shirim, Esq.                     1/4/2007 Mississippi                     Review Cody docs           0:45:00
                                                                          to cite check FRE
                                                                          memo
Shirim, Esq.                     1/4/2007 Mississippi                     Telephone call with        0:48:59
                                                                          team re strategy for
                                                                          Friday negotiations
Shirim, Esq.                     1/4/2007 Mississippi                     Draft settlement           4:57:47
                                                                          proposal language
                                                                          and incorporate
                                                                          edits made by MRL
                                                                          & SL

Total: 1/4/2007
                                                                                           7.82


Shirim, Esq.                     1/5/2007 Mississippi                     Review edits made          1:34:00
                                                                          to latest version of
                                                                          settlement
Shirim, Esq.                     1/5/2007 Mississippi                     Telephone call with        2:18:07
                                                                          defendants for
                                                                          negotiations
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 448 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   244



User                      Date        Client                          Description            Time Spent



Total: 1/5/2007
                                                                                      3.87


Shirim, Esq.                 1/9/2007 Mississippi                     Talk with MRL re          0:23:33
                                                                      NP and his next
                                                                      friend
Shirim, Esq.                 1/9/2007 Mississippi                     Review and edit           0:43:55
                                                                      memo re capacity
                                                                      to sue at 20 in MS
                                                                      and need for a
                                                                      motion to substitute
                                                                      next friends.
Shirim, Esq.                 1/9/2007 Mississippi                     Settlement                1:27:56
                                                                      negotiations
Shirim, Esq.                 1/9/2007 Mississippi                     edit and cite check       4:38:21
                                                                      FRE 1006 summary

Total: 1/9/2007
                                                                                      7.23


Shirim, Esq.                1/10/2007 Mississippi                     edit and cite check       2:40:52
                                                                      FRE summaries
Shirim, Esq.                1/10/2007 Mississippi                     edit and cite check       4:17:21
                                                                      FRE 1006 summary

Total: 1/10/2007
                                                                                      6.97


Shirim, Esq.                1/11/2007 Mississippi                     Telephone call with       1:20:00
                                                                      defendants re
                                                                      settlement
                                                                      negotiations

Total: 1/11/2007
                                                                                      1.33


Shirim, Esq.                1/16/2007 Mississippi                     Read defendants           0:15:00
                                                                      motion to dismiss
                                                                      named plaintiffs
Shirim, Esq.                1/16/2007 Mississippi                     Begin to research         0:23:03
                                                                      named plaintiff
                                                                      mootness question
                                                                      in circuit.
Shirim, Esq.                1/16/2007 Mississippi                     Telephone call with       0:27:29
                                                                      potential NF,
                                                                      discuss same with
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 449 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   245



User                      Date        Client                          Description            Time Spent


                                                                      PS and then call to
                                                                      NP (left a message
                                                                      re same)
Shirim, Esq.                1/16/2007 Mississippi                     Prepare for s.            0:28:00
                                                                      ngotiations - review
                                                                      defendants' trerms,
                                                                      note our objections
Shirim, Esq.                1/16/2007 Mississippi                     Telephone call with       0:47:45
                                                                      defendants -
                                                                      settlement
                                                                      negotiations
Shirim, Esq.                1/16/2007 Mississippi                     Research for opp to       0:53:02
                                                                      defendants' motion
                                                                      to dismiss named
                                                                      plaintiffs O and C
Shirim, Esq.                1/16/2007 Mississippi                     Draft motion and          1:03:41
                                                                      order for
                                                                      substitution of next
                                                                      friend
Shirim, Esq.                1/16/2007 Mississippi                     Draft motion to           1:10:03
                                                                      substitute next
                                                                      friend
Shirim, Esq.                1/16/2007 Mississippi                     Research                  3:00:08
                                                                      modification law
                                                                      and redraft portions
                                                                      of settlement
                                                                      agreement

Total: 1/16/2007
                                                                                      8.47


Shirim, Esq.                1/17/2007 Mississippi                     Review FRE                2:23:33
                                                                      summaries and edit

Total: 1/17/2007
                                                                                      2.39


Shirim, Esq.                1/21/2007 Mississippi                     edit and cite check       4:48:24
                                                                      Cody FRE 1006

Total: 1/21/2007
                                                                                      4.81


Shirim, Esq.                1/23/2007 Mississippi                     Telephone call with       0:13:44
                                                                      NP re next friend
                                                                      and email to team
                                                                      re same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 450 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   246



User                      Date        Client                          Description              Time Spent


Shirim, Esq.                1/23/2007 Mississippi                     Conference call             0:31:40
                                                                      with team re
                                                                      various motions
                                                                      and pto.
Shirim, Esq.                1/23/2007 Mississippi                     edit motion to              0:33:16
                                                                      dismiss opposition
                                                                      papers
Shirim, Esq.                1/23/2007 Mississippi                      edit and cite check        1:11:47
                                                                      FRE for Cody
Shirim, Esq.                1/23/2007 Mississippi                     edit and cite check         2:25:05
                                                                      FRE for Cody b

Total: 1/23/2007
                                                                                        4.93


Shirim, Esq.                1/24/2007 Mississippi                     Meeting with                0:18:52
                                                                      Jessica re FRE
                                                                      summary edits to
                                                                      John A
Shirim, Esq.                1/24/2007 Mississippi                     edit the FRE                7:14:12
                                                                      summary for Cody b

Total: 1/24/2007
                                                                                        7.55


Shirim, Esq.                1/25/2007 Mississippi                     edit and cite check         2:43:16
                                                                      FRE summary
Shirim, Esq.                1/25/2007 Mississippi                     edit FRE summary            6:22:03


Total: 1/25/2007
                                                                                        9.09


Shirim, Esq.                1/28/2007 Mississippi                     Complete cite              11:07:13
                                                                      check and
                                                                      read-through of
                                                                      Cody B FRE

Total: 1/28/2007
                                                                                     11.12


Shirim, Esq.                1/30/2007 Mississippi                     bgin review and             4:08:51
                                                                      edits to olivia FRE
Shirim, Esq.                1/30/2007 Mississippi                     Review and revise           6:05:08
                                                                      Olivia Y FRE
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 451 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   247



User                      Date        Client                          Description               Time Spent



Total: 1/30/2007
                                                                                        10.24


Shirim, Esq.                1/31/2007 Mississippi                     Edit Olivia FRE             11:54:37


Total: 1/31/2007
                                                                                        11.91


Shirim, Esq.                 2/1/2007 Mississippi                     edit Olivia FRE              5:25:25
                                                                      summary
Shirim, Esq.                 2/1/2007 Mississippi                     edit Olivia FRE 1006         7:46:45


Total: 2/1/2007
                                                                                        13.20


Shirim, Esq.                 2/4/2007 Mississippi                     edit FRE 1006 for            7:05:12
                                                                      Olivia

Total: 2/4/2007
                                                                                         7.09


Shirim, Esq.                 2/6/2007 Mississippi                     Review edits to              0:32:40
                                                                      Olivia Y FRE 1006
Shirim, Esq.                 2/6/2007 Mississippi                     Telephone call with          0:40:17
                                                                      team re recent
                                                                      motions and
                                                                      opening up discivery
Shirim, Esq.                 2/6/2007 Mississippi                     Review defendants'           0:40:46
                                                                      reply to our opp to
                                                                      their motion to
                                                                      dismiss and our
                                                                      request for a
                                                                      sur-reply
Shirim, Esq.                 2/6/2007 Mississippi                     Continue to review           1:04:29
                                                                      defendants' recent
                                                                      production of
                                                                      reform related
                                                                      documents
Shirim, Esq.                 2/6/2007 Mississippi                     Begin to review new          1:23:06
                                                                      evidence
                                                                      defendants seek to
                                                                      enter post-discovery
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 452 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   248



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                 2/6/2007 Mississippi                     Review court file          2:33:17
                                                                      produced in Olivia's
                                                                      case

Total: 2/6/2007
                                                                                       6.90


Shirim, Esq.                 2/7/2007 Mississippi                     Telephone call with        0:14:22
                                                                      Steve Leech re sur
                                                                      reply comments
Shirim, Esq.                 2/7/2007 Mississippi                     Review defendants'         1:26:00
                                                                      PTO and consider
                                                                      motions in limine
                                                                      needed
Shirim, Esq.                 2/7/2007 Mississippi                     Meeting with SL,           1:54:49
                                                                      ET re sur reply
                                                                      papers, and then
                                                                      joined by rest of
                                                                      team to discuss sur
                                                                      reply and trial
                                                                      strategy and tasks
                                                                      to be done
Shirim, Esq.                 2/7/2007 Mississippi                     Review what                3:48:55
                                                                      discovery we need
                                                                      to update assuming
                                                                      post-discivery
                                                                      evidence is allowed,
                                                                      put together memo
                                                                      re same

Total: 2/7/2007
                                                                                       7.40


Shirim, Esq.                 2/8/2007 Mississippi                     Read report on             0:16:15
                                                                      health and
                                                                      wellbeing of MS
                                                                      children of the gulf
                                                                      coast following
                                                                      Katrina
Shirim, Esq.                 2/8/2007 Mississippi                     Review                     0:30:27
                                                                      post-discovery facts
                                                                      re reform efforts
Shirim, Esq.                 2/8/2007 Mississippi                     Review final draft of      0:32:13
                                                                      our sur-reply
                                                                      objecting to
                                                                      post-discvery
                                                                      evidence
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 453 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   249



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                 2/8/2007 Mississippi                     Telephone call with        0:36:00
                                                                      contacts who are
                                                                      being contacted by
                                                                      defendants
Shirim, Esq.                 2/8/2007 Mississippi                     Review PIP                 2:04:00
                                                                      compliance reports
Shirim, Esq.                 2/8/2007 Mississippi                     Research for sur           2:42:35
                                                                      reply
Shirim, Esq.                 2/8/2007 Mississippi                     Research for               3:35:08
                                                                      Sur-reply

Total: 2/8/2007
                                                                                      10.29


Shirim, Esq.                2/13/2007 Mississippi                     Telephone call with        0:06:00
                                                                      source re possible
                                                                      violation of Rule 4.3
Shirim, Esq.                2/13/2007 Mississippi                     Telephone call with        0:34:24
                                                                      team re rule 4.2
                                                                      violations and
                                                                      post-dated
                                                                      discovery
Shirim, Esq.                2/13/2007 Mississippi                     Conduct research           0:44:41
                                                                      and draft letter for
                                                                      ET signature re
                                                                      violation of Rule 4.3
Shirim, Esq.                2/13/2007 Mississippi                     Review PTO                 2:43:32
                                                                      exhibits,
                                                                      considering
                                                                      evidentiary
                                                                      objections
Shirim, Esq.                2/13/2007 Mississippi                     Review revised             3:43:09
                                                                      FRE 1006s adding
                                                                      new exhibits to our
                                                                      draft PTO

Total: 2/13/2007
                                                                                       7.86


Shirim, Esq.                2/14/2007 Mississippi                     Telephone call with        0:05:00
                                                                      NF JJ re meetings
                                                                      on 27th
Shirim, Esq.                2/14/2007 Mississippi                     Telephone call with        0:10:00
                                                                      source on coast re
                                                                      cases before the
                                                                      family court
Shirim, Esq.                2/14/2007 Mississippi                     Telephone call with        0:15:00
                                                                      source re rule 4.3
                                                                      violation
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 454 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   250



User                      Date        Client                          Description               Time Spent


Shirim, Esq.                2/14/2007 Mississippi                     Research                     0:30:00
                                                                      evidentiary
                                                                      objections
Shirim, Esq.                2/14/2007 Mississippi                     Review final JJ              1:30:00
                                                                      FRE 1006
Shirim, Esq.                2/14/2007 Mississippi                     begin to read depo           1:40:00
                                                                      transcripts of our
                                                                      witnesses
Shirim, Esq.                2/14/2007 Mississippi                     Review PTO draft             1:53:03
                                                                      for finalization

Total: 2/14/2007
                                                                                         6.05


Shirim, Esq.                2/15/2007 Mississippi                     Review policy                0:44:49
                                                                      manual exhibits
Shirim, Esq.                2/15/2007 Mississippi                     Draft pto expert             1:43:10
                                                                      facts
Shirim, Esq.                2/15/2007 Mississippi                     Trial strategy               3:08:51
                                                                      meeting

Total: 2/15/2007
                                                                                         5.62


Shirim, Esq.                2/20/2007 Mississippi                     Review D's most              0:34:16
                                                                      recent PTO draft
Shirim, Esq.                2/20/2007 Mississippi                     Draft fof from Lewis         0:37:52
                                                                      report.
Shirim, Esq.                2/20/2007 Mississippi                     Telephone call with          0:41:14
                                                                      all counsel and then
                                                                      just CR team re
                                                                      PTO tasks to be
                                                                      done and letter to
                                                                      court re conference.
Shirim, Esq.                2/20/2007 Mississippi                     Review new PTO               0:49:54
                                                                      exhibits added by
                                                                      defendants
Shirim, Esq.                2/20/2007 Mississippi                     Draft FOFs from              1:11:07
                                                                      NP report
Shirim, Esq.                2/20/2007 Mississippi                     Draft FOFs from              1:28:10
                                                                      expert reports
Shirim, Esq.                2/20/2007 Mississippi                     Draft FOFs from              1:38:57
                                                                      Lewis report
Shirim, Esq.                2/20/2007 Mississippi                     Finalizing PTO for           6:37:36
                                                                      submission to
                                                                      defendants
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 455 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   251



User                      Date        Client                          Description              Time Spent



Total: 2/20/2007
                                                                                    13.66


Shirim, Esq.                2/21/2007 Mississippi                     Draft FOFs from             2:03:52
                                                                      Lewis report
Shirim, Esq.                2/21/2007 Mississippi                     Review exhibits             5:58:28
                                                                      proposed by
                                                                      defendants in
                                                                      recent PTO
                                                                      submission to us

Total: 2/21/2007
                                                                                        8.03


Shirim, Esq.                2/22/2007 Mississippi                     Draft FOFs from             0:39:59
                                                                      expert reports
Shirim, Esq.                2/22/2007 Mississippi                     Draft FOFS from             6:26:53
                                                                      expert reports

Total: 2/22/2007
                                                                                        7.12


Shirim, Esq.                2/27/2007 Mississippi                     Meeting with NF             1:00:00

Shirim, Esq.                2/27/2007 Mississippi                     Meeting with source         1:30:00
                                                                      regarding Forrest
                                                                      County DHS

Total: 2/27/2007
                                                                                        2.50


Shirim, Esq.                2/28/2007 Mississippi                     Meeting with                1:00:00
                                                                      witness regarding
                                                                      Harrison County
                                                                      DHS
Shirim, Esq.                2/28/2007 Mississippi                     Meeting with                1:15:00
                                                                      sources, witnesses
                                                                      regarding Harrison
                                                                      County DHS
Shirim, Esq.                2/28/2007 Mississippi                     Meeting with                1:20:00
                                                                      witness regarding
                                                                      Harrison County
                                                                      DHS
Shirim, Esq.                2/28/2007 Mississippi                     Meeting with                1:30:00
                                                                      witness regarding
                                                                      Forrest County DHS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 456 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   252



User                      Date        Client                          Description            Time Spent



Total: 2/28/2007
                                                                                      5.08


Shirim, Esq.                 3/6/2007 Mississippi                     Prepare for               0:17:10
                                                                      conversation with
                                                                      source - review
                                                                      previous memos re
                                                                      contract agencies
Shirim, Esq.                 3/6/2007 Mississippi                     Review docs               0:39:09
                                                                      provided by Forrest
                                                                      County Source and
                                                                      email team re same
Shirim, Esq.                 3/6/2007 Mississippi                     Telephone call with       0:45:09
                                                                      team re trial prep
Shirim, Esq.                 3/6/2007 Mississippi                     Draft FOFs from           2:09:55
                                                                      expert reports
Shirim, Esq.                 3/6/2007 Mississippi                     Review and edit           6:27:47
                                                                      third round of FRE
                                                                      drafts from
                                                                      defendants

Total: 3/6/2007
                                                                                     10.32


Shirim, Esq.                 3/7/2007 Mississippi                     Electronic mail my        0:08:21
                                                                      thoughts about
                                                                      global objections to
                                                                      be made to
                                                                      defendants' most
                                                                      recent edits to the
                                                                      FREs
Shirim, Esq.                 3/7/2007 Mississippi                     Prepare for               0:23:00
                                                                      telephone call with
                                                                      ML re her testimony
                                                                      to qualify her as an
                                                                      expert witness
Shirim, Esq.                 3/7/2007 Mississippi                     Telephone call with       0:48:21
                                                                      two service
                                                                      providers about
                                                                      current foster care
                                                                      state of affairs and
                                                                      possibility of
                                                                      testifying re same
Shirim, Esq.                 3/7/2007 Mississippi                     Review Cody fre           1:10:54
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 457 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   253



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                 3/7/2007 Mississippi                     Prepare script for         1:31:24
                                                                      witness direct on
                                                                      NP services

Shirim, Esq.                 3/7/2007 Mississippi                     Review and edit            1:59:27
                                                                      most recent Cody
                                                                      FRE from
                                                                      defendants

Total: 3/7/2007
                                                                                       6.02


Shirim, Esq.                 3/8/2007 Mississippi                     Telephone calls -          0:06:00
                                                                      leave messages for
                                                                      potential trial
                                                                      witnesses
Shirim, Esq.                 3/8/2007 Mississippi                     Talk through edits         0:11:11
                                                                      to Cody FRE with
                                                                      Talia
Shirim, Esq.                 3/8/2007 Mississippi                     Telephone call with        0:37:30
                                                                      CP re status of
                                                                      case and NP
Shirim, Esq.                 3/8/2007 Mississippi                     Revise NP direct           1:01:22
                                                                      examination
                                                                      questions
Shirim, Esq.                 3/8/2007 Mississippi                      Begin trail script        1:13:14
                                                                      from potential
                                                                      service provider
Shirim, Esq.                 3/8/2007 Mississippi                     Telephone call with        1:49:00
                                                                      ML re her testimony
Shirim, Esq.                 3/8/2007 Mississippi                     edit trial testimony       3:15:37
                                                                      scripts

Total: 3/8/2007
                                                                                       8.24


Shirim, Esq.                3/11/2007 Mississippi                     Final read through         5:52:39
                                                                      of Olivia and Cody
                                                                      FREs

Total: 3/11/2007
                                                                                       5.88


Shirim, Esq.                3/13/2007 Mississippi                     Prepare for trial          0:45:59
                                                                      meeting
Shirim, Esq.                3/13/2007 Mississippi                     Trial Prep.                0:48:37
                                                                      Identifying needed
                                                                      demonstratives
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 458 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   254



User                      Date        Client                          Description               Time Spent


Shirim, Esq.                3/13/2007 Mississippi                     edit trial script for        1:26:23
                                                                      ML
Shirim, Esq.                3/13/2007 Mississippi                     Meeting with all             1:40:00
                                                                      co-counsel for trial
                                                                      prep
Shirim, Esq.                3/13/2007 Mississippi                     Draft scripts for            5:57:26
                                                                      service provider
                                                                      testimony

Total: 3/13/2007
                                                                                       10.65


Shirim, Esq.                3/14/2007 Mississippi                     edit trial script for        0:51:06
                                                                      service provider
Shirim, Esq.                3/14/2007 Mississippi                     Meeting with CR              1:00:07
                                                                      team to discuss trial
                                                                      tasks
Shirim, Esq.                3/14/2007 Mississippi                     Telephone call with          1:18:29
                                                                      ML to discuss her
                                                                      testimony
Shirim, Esq.                3/14/2007 Mississippi                     Draft trial scripts for      3:06:17
                                                                      service providers
Shirim, Esq.                3/14/2007 Mississippi                     Prepare traisl               4:00:39
                                                                      scripts for serice
                                                                      provider witnesses

Total: 3/14/2007
                                                                                       10.27


Shirim, Esq.                3/20/2007 Mississippi                     Electronic mail ML           0:04:21
                                                                      re scheduling time
                                                                      to meet
Shirim, Esq.                3/20/2007 Mississippi                     Electronic mail ET           0:19:10
                                                                      re calling Youth
                                                                      Court Judges
Shirim, Esq.                3/20/2007 Mississippi                     Review defendants'           0:32:52
                                                                      edits to FREs
Shirim, Esq.                3/20/2007 Mississippi                     edit trial script for        0:54:30
                                                                      service provider
Shirim, Esq.                3/20/2007 Mississippi                     Telephone call with          1:13:24
                                                                      ET first then withl
                                                                      all CR team and
                                                                      then just with JW re
                                                                      FREs, FOFs, and
                                                                      other trial tasks
Shirim, Esq.                3/20/2007 Mississippi                     Draft trial script           4:50:44
                                                                      questions for GAL
                                                                      witness
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 459 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   255



User                      Date        Client                          Description             Time Spent



Total: 3/20/2007
                                                                                       7.92


Shirim, Esq.                3/21/2007 Mississippi                     begin drafting cross       0:14:38
                                                                      of witness
Shirim, Esq.                3/21/2007 Mississippi                     Review FRES,               1:47:41
                                                                      pulling out FOFs for
                                                                      bench book
Shirim, Esq.                3/21/2007 Mississippi                     edit FREs to add           3:16:48
                                                                      facts to FOF for
                                                                      bench book
Shirim, Esq.                3/21/2007 Mississippi                     Finalizing last round      7:40:41
                                                                      of FREs for Olivia,
                                                                      John and Cody

Total: 3/21/2007
                                                                                      12.99


Shirim, Esq.                3/22/2007 Mississippi                     Review John A              1:06:16
                                                                      FRE, pulling out
                                                                      facts for FOF bench
                                                                      book
Shirim, Esq.                3/22/2007 Mississippi                     Meeting with team          2:00:00
                                                                      re trial prep

Total: 3/22/2007
                                                                                       3.10


Shirim, Esq.                3/25/2007 Mississippi                     Review and Revise          1:58:35
                                                                      FRE charts
Shirim, Esq.                3/25/2007 Mississippi                     Draft memo on              3:40:24
                                                                      accreditation
                                                                      process and why it
                                                                      alone will not
                                                                      address ills of MS
                                                                      foster care system

Total: 3/25/2007
                                                                                       5.65


Shirim, Esq.                3/27/2007 Mississippi                     Electronic mail ET         0:03:00
                                                                      re meetings with
                                                                      sources
Shirim, Esq.                3/27/2007 Mississippi                     Telephone call with        0:28:12
                                                                      team re settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 460 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   256



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                3/27/2007 Mississippi                     Telephone call with        0:45:00
                                                                      ET and then NF re
                                                                      proposed settlement
Shirim, Esq.                3/27/2007 Mississippi                      Telephone call with       1:23:31
                                                                      potential witness re
                                                                      testimony
                                                                      concerning mental
                                                                      health services
Shirim, Esq.                3/27/2007 Mississippi                     Prepare                    6:32:40
                                                                      demonstrative aids
                                                                      for Lewis testimony

Total: 3/27/2007
                                                                                       9.20


Shirim, Esq.                3/28/2007 Mississippi                     Review draft               0:58:27
                                                                      settlement
                                                                      agreement and
                                                                      make calls to NFs
                                                                      and others re terms

Total: 3/28/2007
                                                                                       0.97


Shirim, Esq.                3/29/2007 Mississippi                     Talk through terms         0:40:33
                                                                      of settlement
                                                                      agreement with
                                                                      various interested
                                                                      parties
Shirim, Esq.                3/29/2007 Mississippi                     Review and edit            2:23:31
                                                                      motion for
                                                                      preliminary
                                                                      approval and
                                                                      proposed order,
                                                                      then finalize

Total: 3/29/2007
                                                                                       3.07


Shirim, Esq.                 4/4/2007 Mississippi                     Research and               0:58:21
                                                                      make phone calls
                                                                      to identify potential
                                                                      mediator
                                                                      candidates.
Shirim, Esq.                 4/4/2007 Mississippi                     Telephone calls            3:59:30
                                                                      and email with
                                                                      contacts to arrange
                                                                      for listening tour to
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 461 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   257



User                      Date        Client                          Description             Time Spent


                                                                      address settlement
                                                                      and get feedback
                                                                      on reform efforts

Total: 4/4/2007
                                                                                       4.96


Shirim, Esq.                 4/5/2007 Mississippi                     Pull together list of      1:45:00
                                                                      invitees and draft
                                                                      invitations to foster
                                                                      care forums
Shirim, Esq.                 4/5/2007 Mississippi                     Telephone call with        2:15:39
                                                                      sources and emails
                                                                      with same re
                                                                      possible mediators
                                                                      and a proposed
                                                                      Jackson foster care
                                                                      forum.
Shirim, Esq.                 4/5/2007 Mississippi                     Review most recent         2:26:03
                                                                      PIP and budget
                                                                      reports

Total: 4/5/2007
                                                                                       6.44


Shirim, Esq.                4/10/2007 Mississippi                     Read and respond           0:10:00
                                                                      to emails re
                                                                      potential mediators
Shirim, Esq.                4/10/2007 Mississippi                     Telephone call with        0:20:00
                                                                      team re mediators,
                                                                      etc.
Shirim, Esq.                4/10/2007 Mississippi                     Read and address           0:40:00
                                                                      intakes coming in
                                                                      from settlement
                                                                      press
Shirim, Esq.                4/10/2007 Mississippi                     Review PIPS                1:58:05


Total: 4/10/2007
                                                                                       3.14


Shirim, Esq.                4/11/2007 Mississippi                     Review recent MS           0:13:54
                                                                      data to present to
                                                                      our experts
Shirim, Esq.                4/11/2007 Mississippi                     Telephone call with        0:17:39
                                                                      MRL & ET re
                                                                      mediator selection
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 462 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   258



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                4/11/2007 Mississippi                     Prepare for and           0:28:25
                                                                      then have call with
                                                                      candidate for
                                                                      mediator
Shirim, Esq.                4/11/2007 Mississippi                     Draft memo re             0:40:27
                                                                      issues we want our
                                                                      experts to keep in
                                                                      mind for 5/1 meeting
Shirim, Esq.                4/11/2007 Mississippi                     Telephone call with       0:47:12
                                                                      sources re forum to
                                                                      be held in MS re
                                                                      remedial scheme
Shirim, Esq.                4/11/2007 Mississippi                     Review discovery to       4:27:37
                                                                      compile list of
                                                                      issues that we
                                                                      would like experts
                                                                      to address during
                                                                      remedial planning

Total: 4/11/2007
                                                                                      6.91


Shirim, Esq.                4/12/2007 Mississippi                     Telephone call with       0:10:00
                                                                      Et and then speak
                                                                      with MRL re
                                                                      mediators
Shirim, Esq.                4/12/2007 Mississippi                     Continue to collect       1:43:10
                                                                      information for
                                                                      experts on
                                                                      outstanding issues
                                                                      relevant to reform
                                                                      planning
Shirim, Esq.                4/12/2007 Mississippi                     Finish review of PIP      2:13:39
                                                                      related documents
                                                                      and memo to
                                                                      experts re same

Total: 4/12/2007
                                                                                      4.12


Shirim, Esq.                4/17/2007 Mississippi                     Telephone call with       0:11:00
                                                                      source re foster
                                                                      care forum
Shirim, Esq.                4/17/2007 Mississippi                     Telephone call with       0:14:08
                                                                      team re mediator
Shirim, Esq.                4/17/2007 Mississippi                     Read and respond          0:16:07
                                                                      to numerous emails
                                                                      re potential
                                                                      mediators
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 463 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   259



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                4/17/2007 Mississippi                     Research on                3:57:59
                                                                      proposed mediator

Total: 4/17/2007
                                                                                       4.66


Shirim, Esq.                4/18/2007 Mississippi                     Electronic mail            0:04:00
                                                                      team re objections
                                                                      to Agreement
Shirim, Esq.                4/18/2007 Mississippi                     Electronic mail re         0:07:14
                                                                      class member in
                                                                      risky placement
Shirim, Esq.                4/18/2007 Mississippi                     Review letter to Lee       0:10:00
                                                                      re proposed
                                                                      mediators
Shirim, Esq.                4/18/2007 Mississippi                     Telephone call with        0:20:00
                                                                      source re
                                                                      deteriorating
                                                                      conditions on the
                                                                      coast and foster
                                                                      child being returned
                                                                      to known drug
                                                                      abuser
Shirim, Esq.                4/18/2007 Mississippi                     Telephone call with        0:30:00
                                                                      foster parent
                                                                      seeking to object to
                                                                      Agreement

Total: 4/18/2007
                                                                                       1.19


Shirim, Esq.                4/19/2007 Mississippi                     Talk with IL about         0:10:00
                                                                      fairness hearing
                                                                      papers
Shirim, Esq.                4/19/2007 Mississippi                     Review final version       0:13:00
                                                                      of mediator letter to
                                                                      J. Lee
Shirim, Esq.                4/19/2007 Mississippi                     Review press to            2:06:05
                                                                      cite to in our letter
                                                                      to court re
                                                                      mediator, and
                                                                      review several
                                                                      drafts of letter re
                                                                      same

Total: 4/19/2007
                                                                                       2.49
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 464 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   260



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                4/24/2007 Mississippi                     Telephone call with        0:06:00
                                                                      ET and JW re W
                                                                      kids repeatedly in
                                                                      dangerous
                                                                      placements
Shirim, Esq.                4/24/2007 Mississippi                     Talk with ET and           0:28:00
                                                                      again with source
                                                                      re 17 year old foster
                                                                      child who ran away
Shirim, Esq.                4/24/2007 Mississippi                     Telephone call with        0:28:51
                                                                      source on coast re
                                                                      missing pregnant
                                                                      17-year old

Total: 4/24/2007
                                                                                       1.05


Shirim, Esq.                4/25/2007 Mississippi                     Plan for the three         1:29:53
                                                                      MS forums in which
                                                                      ET and I will be
                                                                      hearing from
                                                                      stakeholders re the
                                                                      settlement.

Total: 4/25/2007
                                                                                       1.50


Shirim, Esq.                4/26/2007 Mississippi                     Telephone call with        0:04:00
                                                                      ET re recusal
                                                                      conference
Shirim, Esq.                4/26/2007 Mississippi                     Talk with JW re            0:13:39
                                                                      response to intake
                                                                      call
Shirim, Esq.                4/26/2007 Mississippi                     Talk to ET re trip to      0:14:42
                                                                      MS on 5/8-5/9
Shirim, Esq.                4/26/2007 Mississippi                     Finalizing plans for       0:40:00
                                                                      trip to MS 5/1-5/3
Shirim, Esq.                4/26/2007 Mississippi                     Prepare for meeting        0:55:53
                                                                      with experts (review
                                                                      report summaries
                                                                      and
                                                                      recommendations,
                                                                      email agenda items)

Total: 4/26/2007
                                                                                       2.15
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 465 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   261



User                      Date        Client                          Description              Time Spent


Shirim, Esq.                 5/1/2007 Mississippi                     Prepare for meeting         2:39:37
                                                                      with experts on
                                                                      reform planning

Total: 5/1/2007
                                                                                        2.66


Shirim, Esq.                 5/2/2007 Mississippi                     Meeting with John           1:00:00
                                                                      A. at Millcreek
Shirim, Esq.                 5/2/2007 Mississippi                     Hattiesburg                 1:45:00
                                                                      meeting with foster
                                                                      parents
Shirim, Esq.                 5/2/2007 Mississippi                     Jackson meetings            2:45:00
                                                                      with stakeholders
                                                                      regarding
                                                                      settlement,
                                                                      remedies

Total: 5/2/2007
                                                                                        5.50


Shirim, Esq.                 5/3/2007 Mississippi                     Meeting at Youth            2:15:00
                                                                      Court

Total: 5/3/2007
                                                                                        2.25


Shirim, Esq.                 5/8/2007 Mississippi                     Meeting with W              2:20:00
                                                                      kids and foster
                                                                      mother

Total: 5/8/2007
                                                                                        2.33


Shirim, Esq.                 5/9/2007 Mississippi                     Meeting with                3:30:00
                                                                      service providers

Total: 5/9/2007
                                                                                        3.50


Shirim, Esq.                5/10/2007 Mississippi                     Telephone call with         0:20:00
                                                                      team re settlement
                                                                      hearing presentation
Shirim, Esq.                5/10/2007 Mississippi                     edit affidavits for         0:29:24
                                                                      settlment hearing
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 466 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   262



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                5/10/2007 Mississippi                     edit papers for            1:42:01
                                                                      fairness hearing
Shirim, Esq.                5/10/2007 Mississippi                     Read letters in            3:27:52
                                                                      response to notice
                                                                      and draft motion for
                                                                      approval

Total: 5/10/2007
                                                                                      5.98


Shirim, Esq.                5/15/2007 Mississippi                     Telephone call with        0:26:14
                                                                      team re fairness
                                                                      hearing and
                                                                      meeting with
                                                                      mediator

Total: 5/15/2007
                                                                                      0.44


Shirim, Esq.                5/22/2007 Mississippi                     read and respond           0:09:12
                                                                      to Electronic mail re
                                                                      the failure by DFCS
                                                                      to respond to abuse
                                                                      complaint.
Shirim, Esq.                5/22/2007 Mississippi                     Telephone call with        0:13:29
                                                                      contacts re pace of
                                                                      reform effort
Shirim, Esq.                5/22/2007 Mississippi                     Read and edit              0:24:48
                                                                      proposed service
                                                                      agreements for NPs
Shirim, Esq.                5/22/2007 Mississippi                     Draft outline of           0:28:35
                                                                      confidential
                                                                      submission to
                                                                      Anderson
Shirim, Esq.                5/22/2007 Mississippi                     Telephone call with        0:31:10
                                                                      all counsel and then
                                                                      with just CR team
                                                                      re NP service plans
                                                                      and mediation
                                                                      issues
Shirim, Esq.                5/22/2007 Mississippi                     Research youth             0:31:40
                                                                      conference as
                                                                      service for NP JA,
                                                                      and edit service
                                                                      proposal accordingly
Shirim, Esq.                5/22/2007 Mississippi                     Review systems in          0:34:30
                                                                      place for
                                                                      addressing abuse
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 467 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   263



User                      Date        Client                          Description               Time Spent


                                                                      and neglect calls,
                                                                      and email same to
                                                                      source in MS
Shirim, Esq.                5/22/2007 Mississippi                     Draft letter to Rubin        1:48:23
                                                                      Anderson
Shirim, Esq.                5/22/2007 Mississippi                     Draft letter re scope        2:30:00
                                                                      of SDP for R.
                                                                      Anderson

Total: 5/22/2007
                                                                                         7.20


Shirim, Esq.                5/23/2007 Mississippi                     Edit letter re scope         0:24:50
                                                                      of SDP for mediator

Total: 5/23/2007
                                                                                         0.41


Shirim, Esq.                5/24/2007 Mississippi                     Revise letter to             1:11:25
                                                                      Mediator

Total: 5/24/2007
                                                                                         1.19


Shirim, Esq.                5/29/2007 Mississippi                     Talk to monitoring           0:22:00
                                                                      candidate and
                                                                      make
                                                                      arrangements for
                                                                      meeting with her in
                                                                      CA
Shirim, Esq.                5/29/2007 Mississippi                     Read through all             0:25:47
                                                                      correspondence
                                                                      from defendants re:
                                                                      NPs; discovery
                                                                      schedule; proposed
                                                                      mediator
Shirim, Esq.                5/29/2007 Mississippi                     Read about D's               0:32:09
                                                                      proposed monitors,
                                                                      call and set up
                                                                      appointments to
                                                                      speak with same
Shirim, Esq.                5/29/2007 Mississippi                     Talk with JW, Priy,          0:40:00
                                                                      and ET re reply to
                                                                      defendants'
                                                                      objections to our
                                                                      NP proposals
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 468 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   264



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                5/29/2007 Mississippi                     Telephone call with       0:45:00
                                                                      team re NP
                                                                      proposal; proposed
                                                                      monitor, discovery
                                                                      schedule, and then
                                                                      finish talking with
                                                                      just MRL re
                                                                      schedule to meet
                                                                      with D's proposed
                                                                      monitor
Shirim, Esq.                5/29/2007 Mississippi                     edit NP service           0:47:33
                                                                      plans for
                                                                      negotitation with
                                                                      defendants
Shirim, Esq.                5/29/2007 Mississippi                     Draft confidential        1:52:31
                                                                      submission to
                                                                      Mediator re NPs

Total: 5/29/2007
                                                                                      5.43


Shirim, Esq.                5/30/2007 Mississippi                     Revise NP                 0:45:35
                                                                      agreement language
Shirim, Esq.                5/30/2007 Mississippi                      Review                   0:49:57
                                                                      defendants'
                                                                      proposed
                                                                      abbreviated
                                                                      discovery schedule
                                                                      and draft letter
                                                                      response after
                                                                      confirming dates
                                                                      with ET
Shirim, Esq.                5/30/2007 Mississippi                     Telephone call with       0:58:55
                                                                      ET and PS going
                                                                      through changes to
                                                                      Defendants'
                                                                      response to our
                                                                      proposed NP plans
Shirim, Esq.                5/30/2007 Mississippi                     Review most recent        3:59:51
                                                                      memos re foster
                                                                      care records of NPs
                                                                      and prepare
                                                                      summary for
                                                                      mediation with
                                                                      Anderson

Total: 5/30/2007
                                                                                      6.57
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 469 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   265



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                5/31/2007 Mississippi                     Telephone call with        0:15:00
                                                                      source re mental
                                                                      health services
                                                                      being provided to
                                                                      kids on coast
Shirim, Esq.                5/31/2007 Mississippi                     Talk with ET (twice)       0:25:00
                                                                      re issues arising in
                                                                      NP negotiation,
                                                                      including settling
                                                                      NP claims prior to
                                                                      those of the class
                                                                      and the specific
                                                                      psychiatric
                                                                      recommendations
                                                                      for JA
Shirim, Esq.                5/31/2007 Mississippi                     Review most recent         0:26:42
                                                                      NP proposal
Shirim, Esq.                5/31/2007 Mississippi                     Review and edit            0:41:09
                                                                      materials for MRL
                                                                      re monitoring
                                                                      candidate
Shirim, Esq.                5/31/2007 Mississippi                     Research issue of          0:55:00
                                                                      conflict in awards to
                                                                      NP v. class

Total: 5/31/2007
                                                                                       2.73


Shirim, Esq.                 6/5/2007 Mississippi                     complete review of         0:13:52
                                                                      first draft reform
                                                                      plan
Shirim, Esq.                 6/5/2007 Mississippi                     Review first draft         2:20:03
                                                                      plan
Shirim, Esq.                 6/5/2007 Mississippi                     Draft memo                 2:33:40
                                                                      comparing first draft
                                                                      plan to what was
                                                                      tentatively agreed
                                                                      to in first round of
                                                                      negotaiations and
                                                                      with what needs to
                                                                      be done according
                                                                      to our Findings of
                                                                      Fact
Shirim, Esq.                 6/5/2007 Mississippi                     Draft memo re              3:19:26
                                                                      deficincies in first
                                                                      draft plan
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 470 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   266



User                      Date        Client                          Description            Time Spent



Total: 6/5/2007
                                                                                      8.44


Shirim, Esq.                 6/6/2007 Mississippi                     Telephone call with       0:09:00
                                                                      MRL and ET about
                                                                      6/13 mediator
                                                                      meetings
Shirim, Esq.                 6/6/2007 Mississippi                     Review PIP                5:15:39
                                                                      submissions and
                                                                      narrative to
                                                                      determine ways in
                                                                      which the Draft
                                                                      Plan deficiencies
                                                                      are ameliorated by
                                                                      provisions in PIP,
                                                                      and add
                                                                      observations to
                                                                      Draft reform plan
                                                                      memo

Total: 6/6/2007
                                                                                      5.41


Shirim, Esq.                6/19/2007 Mississippi                     Telephone call with       0:07:33
                                                                      Et re reviewing
                                                                      recent DFCS docs
                                                                      produced last week
Shirim, Esq.                6/19/2007 Mississippi                     Telephone call with       0:20:00
                                                                      team re expediated
                                                                      discovery and
                                                                      mediation
Shirim, Esq.                6/19/2007 Mississippi                     Telephone call with       0:25:07
                                                                      monitoring
                                                                      candidate
Shirim, Esq.                6/19/2007 Mississippi                     Begin review of           3:44:06
                                                                      supplementary
                                                                      documents we
                                                                      requested of
                                                                      defendants

Total: 6/19/2007
                                                                                      4.62


Shirim, Esq.                6/20/2007 Mississippi                     Review county             1:27:15
                                                                      self-assessments.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 471 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   267



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                6/20/2007 Mississippi                     Review recently            4:19:08
                                                                      disclosed
                                                                      documents
                                                                      discussed in Blue
                                                                      Print for Success
                                                                      and track important
                                                                      admissions:

Total: 6/20/2007
                                                                                       5.77


Shirim, Esq.                6/21/2007 Mississippi                     Meeting with team          1:01:59
                                                                      re hearing strategy
                                                                      and discovery needs
Shirim, Esq.                6/21/2007 Mississippi                     Review documents           4:42:22
                                                                      produced by
                                                                      defendants
                                                                      mentioned in Blue
                                                                      Print and continue
                                                                      drafting summary of
                                                                      same

Total: 6/21/2007
                                                                                       5.74


Shirim, Esq.                6/22/2007 Mississippi                     Telephone call with        0:30:00
                                                                      candidate for
                                                                      monitor

Total: 6/22/2007
                                                                                       0.50


Shirim, Esq.                6/27/2007 Mississippi                     Telephone call: left       0:08:54
                                                                      messages for
                                                                      contacts in training
                                                                      school case and
                                                                      other sources
                                                                      seeking to get
                                                                      recent news of
                                                                      COA processs
Shirim, Esq.                6/27/2007 Mississippi                     Finish review of           3:34:05
                                                                      documents
                                                                      produced on
                                                                      6/13/07 and memo
                                                                      re same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 472 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   268



User                      Date        Client                          Description            Time Spent



Total: 6/27/2007
                                                                                      3.72


Shirim, Esq.                6/28/2007 Mississippi                     Read                      0:48:26
                                                                      correspondence re
                                                                      NP stipend, meet
                                                                      with Priy and email
                                                                      ET re same

Total: 6/28/2007
                                                                                      0.81


Shirim, Esq.                 7/3/2007 Mississippi                     Revise letter to          0:19:29
                                                                      Rusty re choice of
                                                                      monitor
Shirim, Esq.                 7/3/2007 Mississippi                     Read emails and           1:20:41
                                                                      minutes re
                                                                      telephone
                                                                      conference call with
                                                                      defendants re
                                                                      selection of monitor
                                                                      and draft letter re
                                                                      same to Rusty

Total: 7/3/2007
                                                                                      1.66


Shirim, Esq.                 7/5/2007 Mississippi                     Read                      0:05:32
                                                                      correspondence re
                                                                      extension of time to
                                                                      jointly pick monitor
Shirim, Esq.                 7/5/2007 Mississippi                     Revise consent            0:08:00
                                                                      order draft
Shirim, Esq.                 7/5/2007 Mississippi                     Draft letter to           0:29:30
                                                                      Defendants re need
                                                                      for a meet and
                                                                      confer re NP Tom
                                                                      W.
Shirim, Esq.                 7/5/2007 Mississippi                     Telephone call with       0:42:56
                                                                      foster parent re
                                                                      status of Named
                                                                      Plaintiffs
Shirim, Esq.                 7/5/2007 Mississippi                     Review past               3:10:03
                                                                      discovery, and
                                                                      devise proposed
                                                                      plan for remedial
                                                                      hearing discovery
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 473 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   269



User                      Date        Client                          Description              Time Spent



Total: 7/5/2007
                                                                                        4.60


Shirim, Esq.                7/10/2007 Mississippi                     Telephone call with         0:12:14
                                                                      ET re review of
                                                                      FOF to resubmit at
                                                                      remedy hearing
Shirim, Esq.                7/10/2007 Mississippi                     Review revised              0:21:00
                                                                      scheduling
                                                                      agreement, talk
                                                                      with ET about
                                                                      proposed changes
Shirim, Esq.                7/10/2007 Mississippi                     Telephone call with         0:30:00
                                                                      team re NP status
                                                                      and discovery
                                                                      schedule
Shirim, Esq.                7/10/2007 Mississippi                     Telephone call with         0:31:06
                                                                      source re defunding
                                                                      of Title iv-e training
                                                                      program
Shirim, Esq.                7/10/2007 Mississippi                     Telephone call with         0:33:01
                                                                      ET re discovery
                                                                      schedule
                                                                      modifications
Shirim, Esq.                7/10/2007 Mississippi                     Review FOF and              1:53:34
                                                                      work out plan for
                                                                      update for 12/3
                                                                      hearing

Total: 7/10/2007
                                                                                        4.01


Shirim, Esq.                7/11/2007 Mississippi                     Review newest               0:10:26
                                                                      discovery plan
Shirim, Esq.                7/11/2007 Mississippi                     Draft FOF from              1:14:20
                                                                      APHSA report of its
                                                                      Organizational
                                                                      assessment of
                                                                      DFCS
Shirim, Esq.                7/11/2007 Mississippi                     Draft FOFs for              6:34:25
                                                                      remedy trial

Total: 7/11/2007
                                                                                        7.98
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 474 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   270



User                      Date        Client                          Description           Time Spent


Shirim, Esq.                7/17/2007 Mississippi                     Review proposed          0:20:00
                                                                      FOF outline for
                                                                      remedial hearing
Shirim, Esq.                7/17/2007 Mississippi                     Read                     0:25:24
                                                                      correspondence re
                                                                      expedited discovery
                                                                      and NPs
Shirim, Esq.                7/17/2007 Mississippi                     Telephone call with      0:47:13
                                                                      team re upcoming
                                                                      mediation session

Total: 7/17/2007
                                                                                     1.54


Shirim, Esq.                7/18/2007 Mississippi                     Research on              6:25:37
                                                                      standards for scope
                                                                      of relief and
                                                                      showing required
                                                                      for a receiver

Total: 7/18/2007
                                                                                     6.43


Shirim, Esq.                7/19/2007 Mississippi                     Read caselaw on          0:41:10
                                                                      scope of remedies
Shirim, Esq.                7/19/2007 Mississippi                     Review newest            2:02:29
                                                                      reform plan

Total: 7/19/2007
                                                                                     2.73


Shirim, Esq.                7/24/2007 Mississippi                     Draft memo for ET        4:26:35
                                                                      re what is missing
                                                                      from their dfraft
                                                                      plan based on our
                                                                      plan, the APHSA
                                                                      and NCWR
                                                                      assessments

Total: 7/24/2007
                                                                                     4.44


Shirim, Esq.                7/26/2007 Mississippi                     Draft expedited          1:01:07
                                                                      discovery requests
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 475 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   271



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                7/26/2007 Mississippi                     Review past               1:20:19
                                                                      productions to
                                                                      identify what was
                                                                      useful to request
                                                                      and darft RFPDs

Total: 7/26/2007
                                                                                      2.36


Shirim, Esq.                7/31/2007 Mississippi                     Review draft of           0:20:00
                                                                      letter to Defendants
                                                                      re recent reform
                                                                      plan, call ET with
                                                                      edits
Shirim, Esq.                7/31/2007 Mississippi                     Telephone call with       0:21:21
                                                                      team re mediation
                                                                      and review of docs
                                                                      sent to COA
Shirim, Esq.                7/31/2007 Mississippi                     Telephone call with       0:34:03
                                                                      source on coast
                                                                      and in Hinds county
                                                                      re caseload issues
                                                                      and PIP related
                                                                      items, email team
                                                                      re same
Shirim, Esq.                7/31/2007 Mississippi                     Review APHSA              0:55:00
                                                                      docs, org. charts
                                                                      and caseload data
                                                                      produced to COA
Shirim, Esq.                7/31/2007 Mississippi                     Review PIP report         1:04:55

Shirim, Esq.                7/31/2007 Mississippi                     Review docs sent          2:04:26
                                                                      to COA re reform
                                                                      efforts

Total: 7/31/2007
                                                                                      5.33


Shirim, Esq.                 8/1/2007 Mississippi                     Draft expedited           2:30:06
                                                                      RFDs
Shirim, Esq.                 8/1/2007 Mississippi                     Finish review of          2:47:26
                                                                      docs submitted by
                                                                      MDHS to COA

Total: 8/1/2007
                                                                                      5.29
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 476 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   272



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                 8/2/2007 Mississippi                     read caselaw re            0:45:00
                                                                      receivership in 5th
                                                                      circuit

Total: 8/2/2007
                                                                                       0.75


Shirim, Esq.                 8/8/2007 Mississippi                     Read letter from           0:04:00
                                                                      COA to defendants
Shirim, Esq.                 8/8/2007 Mississippi                     Draft email re             0:05:00
                                                                      comments made by
                                                                      source re
                                                                      placement process
                                                                      used by MDHS in
                                                                      Region VII
Shirim, Esq.                 8/8/2007 Mississippi                     Review revised             0:15:19
                                                                      Trial plan in
                                                                      preparation for trial
                                                                      prep meeting
Shirim, Esq.                 8/8/2007 Mississippi                     Telephone call with        0:21:00
                                                                      source on Coast re
                                                                      placement practice
Shirim, Esq.                 8/8/2007 Mississippi                     Telephone call with        2:17:42
                                                                      all team and then
                                                                      just ET re
                                                                      strategies for
                                                                      remedial hearing
                                                                      and tasks to be
                                                                      done
Shirim, Esq.                 8/8/2007 Mississippi                     Contine to draft           2:30:00
                                                                      memo re reform
                                                                      efforts proposed by
                                                                      MDHS re child
                                                                      wellbeing and how
                                                                      those fall short of
                                                                      expert
                                                                      recommendations
Shirim, Esq.                 8/8/2007 Mississippi                     Begin to draft             2:59:16
                                                                      memo re reform
                                                                      efforts around
                                                                      foster placement
                                                                      array

Total: 8/8/2007
                                                                                       8.55


Shirim, Esq.                 8/9/2007 Mississippi                     Continue to draft          0:34:46
                                                                      memo re how
                                                                      MDHS proposed
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 477 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   273



User                      Date        Client                          Description           Time Spent


                                                                      reforms re child
                                                                      wellbeing don't go
                                                                      the distance.
Shirim, Esq.                 8/9/2007 Mississippi                     Complete memo of         5:29:28
                                                                      all reform efforts
                                                                      addressing child
                                                                      well being promised
                                                                      or undertaken by
                                                                      MDHS

Total: 8/9/2007
                                                                                     6.07


Shirim, Esq.                8/21/2007 Mississippi                     Meeting with             1:00:00
                                                                      co-counsel to
                                                                      strategize re
                                                                      meeting with Def's
                                                                      and COA
Shirim, Esq.                8/21/2007 Mississippi                     Prepare for meeting      1:30:00
                                                                      with defendants
                                                                      and COA
Shirim, Esq.                8/21/2007 Mississippi                     Meeting with COA         2:30:00
                                                                      and Defs

Total: 8/21/2007
                                                                                     5.00


Shirim, Esq.                8/22/2007 Mississippi                     Meeting with priy        1:10:32
                                                                      and Jessica re FOF
                                                                      and remedial memo
Shirim, Esq.                8/22/2007 Mississippi                     Continue to draft        1:40:53
                                                                      permanency piece
                                                                      of remedial memo
Shirim, Esq.                8/22/2007 Mississippi                     Draft memo re            2:34:24
                                                                      permanency
                                                                      remedial memo

Total: 8/22/2007
                                                                                     5.43


Shirim, Esq.                8/23/2007 Mississippi                      edit memo on            0:53:08
                                                                      remedial efforts
                                                                      undertaken and
                                                                      those
                                                                      recommended re
                                                                      permanency
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 478 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   274



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                8/23/2007 Mississippi                     Draft remedial            5:42:04
                                                                      efforts re placement
                                                                      memo

Total: 8/23/2007
                                                                                      6.59


Shirim, Esq.                8/27/2007 Mississippi                     edit remedial memo        0:40:00


Total: 8/27/2007
                                                                                      0.67


Shirim, Esq.                8/28/2007 Mississippi                     Telephone call with       0:10:00
                                                                      ET re status of D's
                                                                      agreement with
                                                                      COA and D's recent
                                                                      motion
Shirim, Esq.                8/28/2007 Mississippi                     Talk to MRL and           0:10:00
                                                                      then also with ET re
                                                                      proposed email to
                                                                      Anderson re lack of
                                                                      progress
Shirim, Esq.                8/28/2007 Mississippi                     Telephone call with       0:15:41
                                                                      team to discuss
                                                                      news from OCA
                                                                      about progress on
                                                                      contracting with
                                                                      MDHS to begin
                                                                      accreditation
                                                                      process.
Shirim, Esq.                8/28/2007 Mississippi                     Telephone call with       0:17:00
                                                                      ET re discovery
                                                                      requests
Shirim, Esq.                8/28/2007 Mississippi                     Telephone call with       0:17:20
                                                                      ET re interrogs to
                                                                      be propounded
Shirim, Esq.                8/28/2007 Mississippi                     Read and reply to         0:17:50
                                                                      various emails re
                                                                      COA and status of
                                                                      planning
Shirim, Esq.                8/28/2007 Mississippi                     Begin to review           0:20:00
                                                                      Priy's sections or
                                                                      remedial memo
Shirim, Esq.                8/28/2007 Mississippi                     Meeting with MRL          0:43:57
                                                                      and then
                                                                      conference call with
                                                                      team re latest
                                                                      motion re SDP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 479 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   275



User                      Date        Client                          Description              Time Spent


Shirim, Esq.                8/28/2007 Mississippi                     Draft list of other         2:02:38
                                                                      areas we will want
                                                                      to seek discovery

Total: 8/28/2007
                                                                                        4.57


Shirim, Esq.                8/29/2007 Mississippi                     Revise remedial             0:40:00
                                                                      memo

Total: 8/29/2007
                                                                                        0.67


Shirim, Esq.                8/31/2007 Mississippi                     Review doc                  3:33:16
                                                                      responses to
                                                                      prepare
                                                                      management
                                                                      section of remedial
                                                                      memo

Total: 8/31/2007
                                                                                        3.55


Shirim, Esq.                 9/5/2007 Mississippi                     Meeting with MRL,           0:10:00
                                                                      ET and JP to
                                                                      strategize after
                                                                      discussion with
                                                                      mediator
Shirim, Esq.                 9/5/2007 Mississippi                     Meeting with ET             0:15:03
                                                                      and MRL to prepare
                                                                      for telephone
                                                                      conference with
                                                                      mediator and to
                                                                      discuss choice of
                                                                      monitor
Shirim, Esq.                 9/5/2007 Mississippi                     Continue to draft           0:40:00
                                                                      remedial memo re
                                                                      management issues
Shirim, Esq.                 9/5/2007 Mississippi                     Telephone call with         0:40:00
                                                                      all parties and
                                                                      mediator
Shirim, Esq.                 9/5/2007 Mississippi                     Meeting with CR             0:46:20
                                                                      team to discuss
                                                                      discovery related
                                                                      tasks
Shirim, Esq.                 9/5/2007 Mississippi                     edit discovery              0:52:03
                                                                      requests
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 480 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   276



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                 9/5/2007 Mississippi                     Revise expedited           3:40:45
                                                                      discovery requests

Total: 9/5/2007
                                                                                       7.08


Shirim, Esq.                 9/6/2007 Mississippi                     Meeting with ET to         0:09:54
                                                                      discuss the
                                                                      changes to the
                                                                      expedited discovery
                                                                      requests
Shirim, Esq.                 9/6/2007 Mississippi                     Discuss with ET            0:20:00
                                                                      and then draft
                                                                      outline of
                                                                      parameters for 9/11
                                                                      meetings
Shirim, Esq.                 9/6/2007 Mississippi                     Meeting with MRL           1:26:59
                                                                      and ET re drafting
                                                                      proposed court
                                                                      order and
                                                                      implementation
                                                                      plan, and then
                                                                      begin work re same
Shirim, Esq.                 9/6/2007 Mississippi                     Continue to draft          1:45:46
                                                                      memo re remedial
                                                                      efforts around
                                                                      managememnt
                                                                      issues
Shirim, Esq.                 9/6/2007 Mississippi                     Draft review of            2:04:11
                                                                      proposals
                                                                      undertaken by
                                                                      MDHS to address
                                                                      management
                                                                      problems

Total: 9/6/2007
                                                                                       5.78


Shirim, Esq.                 9/9/2007 Mississippi                     Draft revised first        3:20:00
                                                                      implementation
                                                                      plan, and modify
                                                                      settlement reform
                                                                      plan

Total: 9/9/2007
                                                                                       3.33
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 481 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   277



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                9/10/2007 Mississippi                     Revise first year         0:54:58
                                                                      implementation plan
Shirim, Esq.                9/10/2007 Mississippi                     meeting with ET           1:20:00
                                                                      and MRL re draft
                                                                      implementation plan
Shirim, Esq.                9/10/2007 Mississippi                     Review and revise         7:28:54
                                                                      draft reform plan
                                                                      and implementation
                                                                      plan

Total: 9/10/2007
                                                                                      9.73


Shirim, Esq.                9/11/2007 Mississippi                     Meeting with MRL          0:10:00
                                                                      and ET re today's
                                                                      negotiation
Shirim, Esq.                9/11/2007 Mississippi                     Review defendants'        0:15:00
                                                                      expedited discovery
                                                                      and draft initial
                                                                      response
Shirim, Esq.                9/11/2007 Mississippi                     Talk with ET re           0:20:00
                                                                      defendants'
                                                                      discovery
Shirim, Esq.                9/11/2007 Mississippi                     Revise MS draft           0:34:00
                                                                      plan in preparation
                                                                      for negotiations
Shirim, Esq.                9/11/2007 Mississippi                     Meeting with defs         0:34:40
                                                                      and COA to try to
                                                                      negotiate outlines
                                                                      of plan.
Shirim, Esq.                9/11/2007 Mississippi                     Meeting with ET to        0:35:06
                                                                      finish discussion of
                                                                      our responses to
                                                                      defendants'
                                                                      discovery requests
Shirim, Esq.                9/11/2007 Mississippi                     Telephone call with       0:40:00
                                                                      sources on coast
                                                                      and ET
Shirim, Esq.                9/11/2007 Mississippi                     negotiations with         2:03:50
                                                                      defendants and
                                                                      with COA
Shirim, Esq.                9/11/2007 Mississippi                     Continue to add           2:35:29
                                                                      sections to the
                                                                      remedy master
                                                                      memo to reflect
                                                                      remedies
                                                                      undertaken and
                                                                      needed regarding
                                                                      management
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 482 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   278



User                      Date        Client                          Description            Time Spent



Total: 9/11/2007
                                                                                      7.81


Shirim, Esq.                9/12/2007 Mississippi                     negotiations with         2:25:13
                                                                      defendants and
                                                                      COA
Shirim, Esq.                9/12/2007 Mississippi                     Draft and revise         10:06:28
                                                                      first year
                                                                      implementation plan

Total: 9/12/2007
                                                                                     12.53


Shirim, Esq.                9/13/2007 Mississippi                     Telephone call with       0:10:00
                                                                      mediator and
                                                                      defendants
Shirim, Esq.                9/13/2007 Mississippi                     Talk with MRL and         0:35:05
                                                                      ET about
                                                                      negotiations and
                                                                      benchmarks
Shirim, Esq.                9/13/2007 Mississippi                     edit SDP opp.             0:58:19

Shirim, Esq.                9/13/2007 Mississippi                     Draft first year          5:32:44
                                                                      implementation plan

Total: 9/13/2007
                                                                                      7.27


Shirim, Esq.                9/18/2007 Mississippi                     Review benchmark          0:40:00
                                                                      proposal

Total: 9/18/2007
                                                                                      0.67


Shirim, Esq.                9/19/2007 Mississippi                     Finish review of          0:20:11
                                                                      proposed
                                                                      benchmarks
Shirim, Esq.                9/19/2007 Mississippi                     Review and edit           1:41:16
                                                                      defendants' redline
                                                                      version of the Plan
Shirim, Esq.                9/19/2007 Mississippi                     Meeting with ET to        1:50:26
                                                                      discuss defendants
                                                                      counter proposal on
                                                                      Plan
Shirim, Esq.                9/19/2007 Mississippi                     negotiations with         4:35:26
                                                                      defendants
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 483 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   279



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                9/19/2007 Mississippi                     Draft revisions to         5:23:22
                                                                      Plan

Total: 9/19/2007
                                                                                      13.85


Shirim, Esq.                9/20/2007 Mississippi                     Conference with            0:08:26
                                                                      ET, JP regarding
                                                                      remedial plan
Shirim, Esq.                9/20/2007 Mississippi                     Meeting with Ds,           2:55:21
                                                                      ET regarding
                                                                      remedial plan
Shirim, Esq.                9/20/2007 Mississippi                     Draft revised plan         4:16:27
                                                                      language
Shirim, Esq.                9/20/2007 Mississippi                     revise and redraft         4:19:14
                                                                      settlement proposal

Total: 9/20/2007
                                                                                      11.65


Shirim, Esq.                10/2/2007 Mississippi                     Meeting with MRL           0:30:00
                                                                      and ET re
                                                                      Implementation Plan
Shirim, Esq.                10/2/2007 Mississippi                     Meeting with CR            0:34:24
                                                                      team and then
                                                                      whole team re
                                                                      progress on
                                                                      settlement and
                                                                      conversation with J.
                                                                      Anderson
Shirim, Esq.                10/2/2007 Mississippi                     Telephone call with        0:42:00
                                                                      J. Anderson re
                                                                      negotiation update
Shirim, Esq.                10/2/2007 Mississippi                     Review and revise          1:45:00
                                                                      Implementation
                                                                      Plan following
                                                                      conversation with
                                                                      MRL

Total: 10/2/2007
                                                                                       3.52


Shirim, Esq.                10/3/2007 Mississippi                     Talk on phone with         0:15:00
                                                                      source re mental
                                                                      health services for
                                                                      foster children in MS
Shirim, Esq.                10/3/2007 Mississippi                     negotiations with          1:00:00
                                                                      defendants
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 484 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   280



User                      Date        Client                          Description            Time Spent


Shirim, Esq.                10/3/2007 Mississippi                     Talk with ET re           1:10:00
                                                                      changes to
                                                                      implementation plan
Shirim, Esq.                10/3/2007 Mississippi                      Negotiations with        2:15:10
                                                                      defendants

Total: 10/3/2007
                                                                                      4.67


Shirim, Esq.                10/4/2007 Mississippi                     Meeting with MRL          0:35:00
                                                                      re agreement
                                                                      negotiations
Shirim, Esq.                10/4/2007 Mississippi                     Review case load          1:29:07
                                                                      docs for settlement
                                                                      negotiations
Shirim, Esq.                10/4/2007 Mississippi                     negotiations on           1:40:00
                                                                      settlement

Total: 10/4/2007
                                                                                      3.74


Shirim, Esq.               10/11/2007 Mississippi                     Read and review           0:40:00
                                                                      motion for approval
                                                                      of final settlement

Total: 10/11/2007
                                                                                      0.67


Shirim, Esq.               10/17/2007 Mississippi                     Talk with ET and          0:07:00
                                                                      MRL about AG's
                                                                      response to
                                                                      settlement
                                                                      agreement
Shirim, Esq.               10/17/2007 Mississippi                     Review defendants'        0:17:35
                                                                      comments to latest
                                                                      settl. proposal and
                                                                      draft response
Shirim, Esq.               10/17/2007 Mississippi                     Telephone call with       0:27:53
                                                                      defendants re last
                                                                      problems with
                                                                      agreement

Total: 10/17/2007
                                                                                      0.87
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 485 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   281



User                      Date        Client                          Description            Time Spent


Shirim, Esq.               10/31/2007 Mississippi                     Telephone call with       0:06:00
                                                                      team re failure of
                                                                      Ds to dign
                                                                      agreement
Shirim, Esq.               10/31/2007 Mississippi                     Telephone call with       0:30:00
                                                                      Judge ANderson
                                                                      and then with just
                                                                      ps' counsel re
                                                                      settlement
Shirim, Esq.               10/31/2007 Mississippi                     Research contempt         2:30:00
                                                                      proceedings in MS
                                                                      and 5th circuit

Total: 10/31/2007
                                                                                      3.10


Shirim, Esq.                11/1/2007 Mississippi                     email exchanges           0:50:00
                                                                      and talk with MRL
                                                                      re proposed
                                                                      meeting with Judge
                                                                      Lee

Total: 11/1/2007
                                                                                      0.83


Shirim, Esq.                11/8/2007 Mississippi                     Telephone call with       0:20:01
                                                                      ET re reaching out
                                                                      to child wlefare
                                                                      community about
                                                                      settlement
Shirim, Esq.                11/8/2007 Mississippi                     Review finalized          0:31:36
                                                                      implementation
                                                                      plan & settlement
Shirim, Esq.                11/8/2007 Mississippi                     Telephone call with       2:57:39
                                                                      local child welfare
                                                                      people to discuss
                                                                      agreement

Total: 11/8/2007
                                                                                      3.82


Shirim, Esq.               11/13/2007 Mississippi                     Telephone call with       0:11:34
                                                                      R. Kenya and PD
                                                                      appointed for JA
Shirim, Esq.               11/13/2007 Mississippi                     Telephone calls to        0:56:00
                                                                      address arrest of
                                                                      NP JA
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 486 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                   Page   282



User                      Date        Client                          Description                Time Spent


Shirim, Esq.               11/13/2007 Mississippi                     Telephone call with           1:18:30
                                                                      Defendants and
                                                                      with et and others
                                                                      to try and help JA
                                                                      get out of jail
Shirim, Esq.               11/13/2007 Mississippi                     Telephone calls               2:04:32
                                                                      with sources re
                                                                      settlement and on
                                                                      going problems

Total: 11/13/2007
                                                                                          4.51


Shirim, Esq.               11/15/2007 Mississippi                     Telephone call with           0:18:00
                                                                      foster parent source
Shirim, Esq.               11/15/2007 Mississippi                     Telephone calls               0:39:25
                                                                      and emails in effort
                                                                      to get John A. out
                                                                      of jail
Shirim, Esq.               11/15/2007 Mississippi                     Party for MS and              0:59:51
                                                                      atty meeting
Shirim, Esq.               11/15/2007 Mississippi                     update research for           1:12:00
                                                                      fairness hearing
Shirim, Esq.               11/15/2007 Mississippi                     start settlement              4:06:05
                                                                      motion papres

Total: 11/15/2007
                                                                                          7.26


Shirim, Esq.               11/21/2007 Mississippi                     Telephone call with           0:14:00
                                                                      team re attorney
                                                                      fee request
Shirim, Esq.               11/21/2007 Mississippi                     Prepare for meeting           0:37:54
                                                                      with the monitor

Total: 11/21/2007
                                                                                          0.86


Shirim, Esq.               11/27/2007 Mississippi                     Draft motion for              6:12:54
                                                                      final approval of
                                                                      settlement

Total: 11/27/2007
                                                                                          6.22


Shirim, Esq.               11/28/2007 Mississippi                     Meeting with NP in            0:40:00
                                                                      Hattiesburg
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 487 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   283



User                      Date        Client                          Description            Time Spent


Shirim, Esq.               11/28/2007 Mississippi                     Meeting with              2:00:00
                                                                      stakeholders in
                                                                      Jackson regarding
                                                                      proposed settlement

Total: 11/28/2007
                                                                                      2.67


Shirim, Esq.               11/29/2007 Mississippi                     Meeting with source       1:20:00
                                                                      regarding DHS
Shirim, Esq.               11/29/2007 Mississippi                     Meeting with              1:25:00
                                                                      stakeholders in
                                                                      Gulfport regarding
                                                                      proposed settlement

Total: 11/29/2007
                                                                                      2.75



Total: Shirim, Esq.
                                                                                    640.46
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08    Page 488 of 658
5/7/2008                                    Children's Rights, Inc.
10:11 AM                                   User Defined Slip Listing                                 Page   284



User                            Date        Client                          Description              Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                     1/4/2007 Mississippi                     Talk with sn and jw         0:10:00
                                                                            re outcome
                                                                            measures
Susan Lambiase                     1/4/2007 Mississippi                     Talk to mrl then            2:30:00
                                                                            review new draft of
                                                                            doc -- provide
                                                                            comment to mrl and
                                                                            to shirim

Total: 1/4/2007
                                                                                              2.67


Susan Lambiase                     1/5/2007 Mississippi                     Meeting with et re          0:14:00
                                                                            settlement
                                                                            provisions

Total: 1/5/2007
                                                                                              0.23


Susan Lambiase                    1/23/2007 Mississippi                     Review draft                0:15:00
                                                                            response to motion
                                                                            re named pls and
                                                                            review draft letter to
                                                                            defs re settelemtn
                                                                            -- respond to same
Susan Lambiase                    1/23/2007 Mississippi                     edit brief                  0:18:41


Total: 1/23/2007
                                                                                              0.56


Susan Lambiase                     2/5/2007 Mississippi                     Conference call             0:30:00
                                                                            with mrl il et and
                                                                            ygk re motion to
                                                                            open discovery
                                                                            from defs' and our
                                                                            response
Susan Lambiase                     2/5/2007 Mississippi                     Review marisol              0:49:50
                                                                            index for brief on
                                                                            issue similar to one
                                                                            we are briefing here
                                                                            that we have
                                                                            briefed before
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 489 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   285



User                      Date        Client                          Description             Time Spent



Total: 2/5/2007
                                                                                       1.33


Susan Lambiase               2/6/2007 Mississippi                     Meeting with mrl re        0:18:00
                                                                      3 issues pending re
                                                                      motions; talk to sn
                                                                      re defs' notice of 3
                                                                      more witnesses
Susan Lambiase               2/6/2007 Mississippi                     Review defs' and           1:05:00
                                                                      our papers and edit
                                                                      sur reply draft re
                                                                      motion to dismiss
                                                                      named pls

Total: 2/6/2007
                                                                                       1.38


Susan Lambiase               2/7/2007 Mississippi                     Prepare for meeting        0:23:29

Susan Lambiase               2/7/2007 Mississippi                     Meeting with sn and        1:45:00
                                                                      et re sur-reply(30
                                                                      min); meet with mrl
                                                                      and team re pretrial
                                                                      prep

Total: 2/7/2007
                                                                                       2.14


Susan Lambiase               2/8/2007 Mississippi                     Reviewmy edits to          0:17:10
                                                                      our opp to def'
                                                                      adding docs and
                                                                      then discuss with
                                                                      yasmin
Susan Lambiase               2/8/2007 Mississippi                     Review issues with         0:45:00
                                                                      reponse to defs'
                                                                      motion, discuss
                                                                      with sn and ygk and
                                                                      then call mrl to
                                                                      discuss; meet with
                                                                      yasmin to discuss
                                                                      timing and logistics
                                                                      of getting brief out.
Susan Lambiase               2/8/2007 Mississippi                     Review and edit sur        0:55:00
                                                                      reply brief
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 490 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   286



User                      Date        Client                          Description              Time Spent


Susan Lambiase               2/8/2007 Mississippi                     Review and edit             1:48:32
                                                                      draft opposition to
                                                                      defs' request to add
                                                                      docs to initial
                                                                      disclosures

Total: 2/8/2007
                                                                                        3.77


Susan Lambiase               2/9/2007 Mississippi                     Talk to yasmin re           0:10:00
                                                                      brief
Susan Lambiase               2/9/2007 Mississippi                     Review final version        0:20:55
                                                                      of brief before et
                                                                      adds his section
Susan Lambiase               2/9/2007 Mississippi                     Review and edit             2:42:00
                                                                      2nd draft brief
                                                                      response to def
                                                                      motin to add docs

Total: 2/9/2007
                                                                                        3.22


Susan Lambiase              2/11/2007 Mississippi                     Review brief                0:20:00


Total: 2/11/2007
                                                                                        0.33


Susan Lambiase              2/15/2007 Mississippi                     Meeting with team           3:00:00
                                                                      re trial Prep. (had to
                                                                      leaave for some of
                                                                      it)

Total: 2/15/2007
                                                                                        3.00


Susan Lambiase              2/16/2007 Mississippi                     Review final motion         0:12:00
                                                                      in limine

Total: 2/16/2007
                                                                                        0.20


Susan Lambiase               3/5/2007 Mississippi                     Meeting with team           1:00:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 491 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   287



User                      Date        Client                          Description             Time Spent



Total: 3/5/2007
                                                                                       1.00


Susan Lambiase               3/7/2007 Mississippi                     Review expert              1:05:34
                                                                      report

Total: 3/7/2007
                                                                                       1.09


Susan Lambiase               3/8/2007 Mississippi                     Talk to shirim re          0:05:00
                                                                      direct exam Qs for
                                                                      marva
Susan Lambiase               3/8/2007 Mississippi                     Talk with sn re            0:10:00
                                                                      direct exam
                                                                      questioning

Total: 3/8/2007
                                                                                       0.25


Susan Lambiase               3/9/2007 Mississippi                     Review and edit            1:15:43
                                                                      marva lewis direct
                                                                      exam

Total: 3/9/2007
                                                                                       1.26


Susan Lambiase              3/12/2007 Mississippi                     Review and edit            0:36:00
                                                                      rest of marva lewis
                                                                      direct exam for trial
Susan Lambiase              3/12/2007 Mississippi                     Review marva lewis         1:49:33
                                                                      direct exam draft

Total: 3/12/2007
                                                                                       2.43


Susan Lambiase              3/13/2007 Mississippi                     Talk with sn re            0:10:00
                                                                      marva lewis
                                                                      testimony
Susan Lambiase              3/13/2007 Mississippi                     Meeting with team          2:20:00
                                                                      re trial prep

Total: 3/13/2007
                                                                                       2.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 492 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   288



User                      Date        Client                          Description              Time Spent


Susan Lambiase              3/19/2007 Mississippi                     Review Marva                0:15:00
                                                                      Lewis direct exam
Susan Lambiase              3/19/2007 Mississippi                     Review and edit             1:07:00
                                                                      direct exam Cathy
                                                                      Crabtree

Total: 3/19/2007
                                                                                        1.37


Susan Lambiase              3/22/2007 Mississippi                     Review findings of          1:10:00
                                                                      fact and edit same

Total: 3/22/2007
                                                                                        1.17


Susan Lambiase              3/24/2007 Mississippi                     Review findings of          1:00:00
                                                                      fact and edit same

Total: 3/24/2007
                                                                                        1.00


Susan Lambiase              3/26/2007 Mississippi                     edit findings of fact;      0:32:00
                                                                      talk to mrl on phone
                                                                      re findings of fact
                                                                      and re trial issues
Susan Lambiase              3/26/2007 Mississippi                     Review and edit             0:40:00
                                                                      FOF; emails re trial
                                                                      issues

Total: 3/26/2007
                                                                                        1.20


Susan Lambiase              3/27/2007 Mississippi                     Review FOF                  0:12:17

Susan Lambiase              3/27/2007 Mississippi                     Talk with shirim re         0:30:00
                                                                      witness prep
                                                                      strategy
Susan Lambiase              3/27/2007 Mississippi                     Conference call             0:45:00
                                                                      with team (20 min);
                                                                      Conference call
                                                                      with et and mrl re
                                                                      witinesses

Total: 3/27/2007
                                                                                        1.45
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 493 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   289



User                      Date        Client                          Description             Time Spent


Susan Lambiase              3/29/2007 Mississippi                     Review w/ shirim           0:20:00
                                                                      proposed notice
                                                                      order

Total: 3/29/2007
                                                                                       0.33


Susan Lambiase              9/17/2007 Mississippi                     Talk with eric re          0:10:00
                                                                      negotiations; print
                                                                      down docs to review
Susan Lambiase              9/17/2007 Mississippi                     Review and                 2:15:00
                                                                      comment on draft
                                                                      settlement docs

Total: 9/17/2007
                                                                                       2.42


Susan Lambiase              9/18/2007 Mississippi                     Finalizing review of       0:19:02
                                                                      settlement docs
Susan Lambiase              9/18/2007 Mississippi                     Telephone call with        0:46:56
                                                                      et (SN joined later)
                                                                      re draft settlement
                                                                      docs

Total: 9/18/2007
                                                                                       1.10


Susan Lambiase              9/19/2007 Mississippi                     Meeting with et and        0:10:00
                                                                      sn re exit
                                                                      requirements /
                                                                      negotiations
Susan Lambiase              9/19/2007 Mississippi                     Review consent             0:20:00
                                                                      decrees for eric to
                                                                      find comparative
                                                                      exit requirements;
                                                                      discuss same with
                                                                      eric

Total: 9/19/2007
                                                                                       0.50


Susan Lambiase              9/20/2007 Mississippi                     Meeting with sn and        0:31:54
                                                                      et re boardrates
                                                                      and re other
                                                                      settlement issues
                                                                      before negotiations
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 494 of 658
5/7/2008                             Children's Rights, Inc.
10:11 AM                            User Defined Slip Listing                              Page   290



User                      Date      Client                           Description           Time Spent



Total: 9/20/2007
                                                                                    0.53



Total: Susan Lambiase
                                                                                   38.43
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 495 of 658
5/7/2008                                   Children's Rights, Inc.
10:11 AM                                  User Defined Slip Listing                               Page   291



User                           Date        Client                          Description            Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                    1/18/2007 Mississippi                     Work on NP FRE            0:26:58
                                                                           compilation cite
                                                                           checking
Talia Kraemer                    1/18/2007 Mississippi                     Discuss NP                0:30:00
                                                                           compilation with JW
                                                                           and HB
Talia Kraemer                    1/18/2007 Mississippi                     Cite checking NP          2:32:35
                                                                           FRE compilation
                                                                           (cont)

Total: 1/18/2007
                                                                                           3.49


Talia Kraemer                    1/22/2007 Mississippi                     Cite checking FRE         1:00:29
                                                                           compilation for NP
                                                                           John A (cont)
Talia Kraemer                    1/22/2007 Mississippi                     Cite-checking FRE         2:43:16
                                                                           summary
                                                                           compilation of NP
                                                                           John A (cont)

Total: 1/22/2007
                                                                                           3.73


Talia Kraemer                    1/23/2007 Mississippi                     Discuss NP                0:05:00
                                                                           summary review
                                                                           task with SN
Talia Kraemer                    1/23/2007 Mississippi                     Edit and cite-check       4:21:51
                                                                           FRE summary
                                                                           compilation for NP
                                                                           Cody B
Talia Kraemer                    1/23/2007 Mississippi                     Edit and cite-check       4:38:21
                                                                           FRE summary
                                                                           compilation for NP
                                                                           Cody B

Total: 1/23/2007
                                                                                           9.08


Talia Kraemer                    1/24/2007 Mississippi                     Cite-check and edit       1:22:34
                                                                           FRE summary
                                                                           compilation for NP
                                                                           Cody B (cont)
Talia Kraemer                    1/24/2007 Mississippi                     Cite-check and edit       1:53:55
                                                                           FRE summary for
                                                                           NP Cody B (cont)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 496 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   292



User                      Date        Client                          Description            Time Spent


Talia Kraemer               1/24/2007 Mississippi                     Cite-check and edit       2:51:29
                                                                      FRE summary for
                                                                      NP John A

Total: 1/24/2007
                                                                                      6.14


Talia Kraemer               1/25/2007 Mississippi                     Cite-check and edit       1:34:05
                                                                      FRE summary
                                                                      compilation for NP
                                                                      John A (cont)
Talia Kraemer               1/25/2007 Mississippi                     Cite-check and edit       1:55:46
                                                                      FRE summary
                                                                      compilation for NP
                                                                      cody B (cont)
Talia Kraemer               1/25/2007 Mississippi                     Cite-check and edit       3:32:04
                                                                      FRE summary
                                                                      compilation for NP
                                                                      Cody B (cont)

Total: 1/25/2007
                                                                                      7.03


Talia Kraemer               1/26/2007 Mississippi                     Edit FRE summary          2:25:41
                                                                      compilation of NP
                                                                      Cody B

Total: 1/26/2007
                                                                                      2.43


Talia Kraemer               1/27/2007 Mississippi                     Editing FRE               2:53:14
                                                                      summary
                                                                      compilation for NP
                                                                      Cody B (cont)

Total: 1/27/2007
                                                                                      2.89


Talia Kraemer               1/28/2007 Mississippi                     Edit FRE Summary          2:29:54
                                                                      for NP Cody B
                                                                      (cont)

Total: 1/28/2007
                                                                                      2.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 497 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   293



User                      Date        Client                          Description            Time Spent


Talia Kraemer               1/29/2007 Mississippi                     Edit FRE summary          3:00:00
                                                                      for NP Cody B
                                                                      (cont)
Talia Kraemer               1/29/2007 Mississippi                     Edit FRE summary          5:43:57
                                                                      for NP Cody B
                                                                      (cont)

Total: 1/29/2007
                                                                                      8.73


Talia Kraemer               1/30/2007 Mississippi                     Meeting with MS           0:15:00
                                                                      paralegals to
                                                                      discuss FRE
                                                                      summary tasks
                                                                      going forward
Talia Kraemer               1/30/2007 Mississippi                     Edit FRE summary          0:20:00
                                                                      for NP Cody B
                                                                      (cont)
Talia Kraemer               1/30/2007 Mississippi                     Read NP Jamison           0:57:42
                                                                      J. case summary in
                                                                      preparation for work
                                                                      on Jamison FRE
                                                                      summary
Talia Kraemer               1/30/2007 Mississippi                     Work on FRE               2:58:39
                                                                      summarys of NPs
                                                                      John A and Jamison
Talia Kraemer               1/30/2007 Mississippi                     Edit FRE summary          3:29:21
                                                                      for NP Cody B
                                                                      (cont)

Total: 1/30/2007
                                                                                      8.01


Talia Kraemer               1/31/2007 Mississippi                     Edit Cody B FRE           1:33:03
                                                                      summary (cont)
Talia Kraemer               1/31/2007 Mississippi                     Edit FRE summary          3:00:06
                                                                      of NP Jamison J.
Talia Kraemer               1/31/2007 Mississippi                     Edit FRE summary          3:39:15
                                                                      for NP Jamison J
                                                                      (cont)

Total: 1/31/2007
                                                                                      8.20


Talia Kraemer                2/1/2007 Mississippi                     Discuss Jamison J         0:24:09
                                                                      FRE summary edits
                                                                      with PS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 498 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   294



User                      Date        Client                          Description           Time Spent


Talia Kraemer                2/1/2007 Mississippi                     Edit FRE summary         1:30:21
                                                                      for NP Jamison J
                                                                      (cont)
Talia Kraemer                2/1/2007 Mississippi                     Edit FRE summary         5:49:30
                                                                      for NP Jamison J

Total: 2/1/2007
                                                                                     7.74


Talia Kraemer                2/2/2007 Mississippi                     Edit FRE summary         1:40:48
                                                                      for NP Jamison J
                                                                      (cont)
Talia Kraemer                2/2/2007 Mississippi                     Edit FRE summary         2:39:48
                                                                      for NPs Jamison J
                                                                      and Cody B (cont)

Total: 2/2/2007
                                                                                     4.34


Talia Kraemer                2/5/2007 Mississippi                     Discuss tasks for        0:25:00
                                                                      upcoming week
                                                                      with HB, CR, JW,
                                                                      and ET (ET left
                                                                      early)
Talia Kraemer                2/5/2007 Mississippi                     Edit FRE summary         1:36:43
                                                                      for NP Olivia Y
Talia Kraemer                2/5/2007 Mississippi                     Edit FRE summary         2:47:56
                                                                      of NP Olivia Y

Total: 2/5/2007
                                                                                     4.83


Talia Kraemer                2/6/2007 Mississippi                     Search for westlaw       0:16:26
                                                                      cites for NP
                                                                      surreply brief
Talia Kraemer                2/6/2007 Mississippi                     Edit FRE summary         0:57:48
                                                                      for NP Olivia Y

Total: 2/6/2007
                                                                                     1.23


Talia Kraemer                2/7/2007 Mississippi                     Discuss FRE              0:35:26
                                                                      summary and PTO
                                                                      preparation tasks
                                                                      with MS team
Talia Kraemer                2/7/2007 Mississippi                     Edit FRE summary         1:13:33
                                                                      of Jamison J
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 499 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                              Page   295



User                      Date        Client                          Description           Time Spent


Talia Kraemer                2/7/2007 Mississippi                     Edit FRE summary         2:09:12
                                                                      for NP olivia Y
Talia Kraemer                2/7/2007 Mississippi                     Edit FRE summary         5:02:27
                                                                      of NP Jamison J

Total: 2/7/2007
                                                                                     9.01


Talia Kraemer                2/8/2007 Mississippi                     Discuss Jamison          0:00:00
                                                                      FRE summary with
                                                                      PS; HB
Talia Kraemer                2/8/2007 Mississippi                     Edit FRE summary         5:01:11
                                                                      of NP Jamison J
                                                                      (cont)
Talia Kraemer                2/8/2007 Mississippi                     Edit FRE summary         5:36:18
                                                                      for NP Jamison J
                                                                      (cont)

Total: 2/8/2007
                                                                                    10.63


Talia Kraemer                2/9/2007 Mississippi                     Edit FRE summary         4:41:09
                                                                      for NP Jamison J
                                                                      (cont)

Total: 2/9/2007
                                                                                     4.69


Talia Kraemer               2/12/2007 Mississippi                     File electronic          0:10:00
                                                                      transcripts from JR
                                                                      and HG depositions
Talia Kraemer               2/12/2007 Mississippi                     Telephone call with      0:15:00
                                                                      ET, HB, JW re MS
                                                                      PTO tasks for
                                                                      coming week
Talia Kraemer               2/12/2007 Mississippi                     Read deposition          0:20:00
                                                                      transcripts of RR
                                                                      and HG
Talia Kraemer               2/12/2007 Mississippi                     Prepare latest PTO       0:40:36
                                                                      draft
Talia Kraemer               2/12/2007 Mississippi                     Prepare PTO draft        1:30:00


Total: 2/12/2007
                                                                                     2.93
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 500 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   296



User                      Date        Client                          Description             Time Spent


Talia Kraemer               2/13/2007 Mississippi                     Discuss Jamison            0:10:00
                                                                      hot docs with SN,
                                                                      HB, JW, and GK
Talia Kraemer               2/13/2007 Mississippi                     Finalizing PTO             0:13:00
                                                                      exhibit lists
Talia Kraemer               2/13/2007 Mississippi                     Placement chart for        1:20:05
                                                                      NP Cody B

Total: 2/13/2007
                                                                                       1.72


Talia Kraemer               2/14/2007 Mississippi                     Finalizing John A.         0:30:35
                                                                      placement chart
Talia Kraemer               2/14/2007 Mississippi                     Finalizing PTO             1:22:44


Total: 2/14/2007
                                                                                       1.89


Talia Kraemer               2/15/2007 Mississippi                     Search for Georgia         0:06:48
                                                                      FOF as template
                                                                      for MS
Talia Kraemer               2/15/2007 Mississippi                     Meeting with MS            3:10:59
                                                                      team re trial tasks.
                                                                      Present: ET, SN,
                                                                      PS, JW, YGK, CR,
                                                                      SN, MRL, HB, TK.
                                                                      MRL, SN left early.

Total: 2/15/2007
                                                                                       3.29


Talia Kraemer               2/16/2007 Mississippi                     Editing motion in          0:07:58
                                                                      limine
Talia Kraemer               2/16/2007 Mississippi                     Compile documents          0:27:37
                                                                      exhibits for motion
                                                                      in limine
Talia Kraemer               2/16/2007 Mississippi                     Scanning Defs.'            1:41:31
                                                                      exhibits onto the
                                                                      F-drive in
                                                                      preparation for trial

Total: 2/16/2007
                                                                                       2.28
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 501 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   297



User                      Date        Client                          Description              Time Spent


Talia Kraemer               2/20/2007 Mississippi                     Conference call             0:24:34
                                                                      with CR MS team
                                                                      (ET, SN, JW, HB,
                                                                      CR) - came late
Talia Kraemer               2/20/2007 Mississippi                     Editing newest PTO          0:32:50
                                                                      draft - checking
                                                                      whether all of Pls.'
                                                                      objections are in
                                                                      latest version
                                                                      submitted by Defs.
Talia Kraemer               2/20/2007 Mississippi                     Go through Defs.'           0:45:03
                                                                      new PTO exhibit list
                                                                      to check whether
                                                                      duplicate exhibits
                                                                      deleted by Pls.
                                                                      were reinstated by
                                                                      Defs.
Talia Kraemer               2/20/2007 Mississippi                     Telephone call with         0:55:00
                                                                      ET, SN, JW, HB,
                                                                      SB, PS, CR (PS,
                                                                      SB, and CR came
                                                                      late; I left early).
Talia Kraemer               2/20/2007 Mississippi                     Go through Defs             2:20:33
                                                                      new and old PTO
                                                                      exhibit lists to
                                                                      compare (cont)
Talia Kraemer               2/20/2007 Mississippi                     Cite-checking               2:52:16
                                                                      uncontested facts
                                                                      for new PTO draft
Talia Kraemer               2/20/2007 Mississippi                     Go through Defs.'           3:53:44
                                                                      new and old PTO
                                                                      exhibit lists to
                                                                      compare

Total: 2/20/2007
                                                                                       11.74


Talia Kraemer               2/21/2007 Mississippi                     Telephone call with         0:17:00
                                                                      ET, HB, SN, CR,
                                                                      and JW (CR, HB,
                                                                      SN and I left early)
Talia Kraemer               2/21/2007 Mississippi                     Edit exhibit lists for      1:15:00
                                                                      latest PTO draft
                                                                      (cont)
Talia Kraemer               2/21/2007 Mississippi                     Edit exhibit lists for      1:44:37
                                                                      latest PTO draft
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 502 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   298



User                      Date        Client                          Description              Time Spent



Total: 2/21/2007
                                                                                        3.27


Talia Kraemer               2/22/2007 Mississippi                     Discuss witness list        0:06:00
                                                                      tasks w. SN, HB,
                                                                      CR, and JW
Talia Kraemer               2/22/2007 Mississippi                     Scan Pls.' exhibits         0:29:26
                                                                      onto F-drive for
                                                                      reference during trial
Talia Kraemer               2/22/2007 Mississippi                     Fill out witness            1:11:53
                                                                      contact info for Pls.'
                                                                      witnesses

Total: 2/22/2007
                                                                                        1.79


Talia Kraemer               2/23/2007 Mississippi                     Review Defs.'               0:10:00
                                                                      updated PTO draft
Talia Kraemer               2/23/2007 Mississippi                     Prepare To-Do list          0:14:29
                                                                      of witness-related
                                                                      tasks for trial
Talia Kraemer               2/23/2007 Mississippi                     Renumber exhibits           0:28:58
                                                                      on F-drive based on
                                                                      Defs.' renumbering
                                                                      of exhibits in PTO
Talia Kraemer               2/23/2007 Mississippi                     Scan Pls.' exhibits         2:06:55
                                                                      onto F-drive for
                                                                      reference before
                                                                      and during trial

Total: 2/23/2007
                                                                                        3.01


Talia Kraemer               2/26/2007 Mississippi                     Go through Defs.'           0:05:00
                                                                      latest witness list to
                                                                      update list of
                                                                      witnesses for which
                                                                      am responsible for
                                                                      attny back-up
                                                                      during trial
Talia Kraemer               2/26/2007 Mississippi                     Search for                  0:18:03
                                                                      information re
                                                                      witness on internet
Talia Kraemer               2/26/2007 Mississippi                     Renumbering                 0:30:53
                                                                      exhibits on F-drive
                                                                      based on Defs.'
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 503 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   299



User                      Date        Client                          Description            Time Spent


                                                                      renumbering of
                                                                      exhibits in latest
                                                                      PTO draft
Talia Kraemer               2/26/2007 Mississippi                     Scan exhibits onto        1:56:50
                                                                      F-drive for
                                                                      reference before &
                                                                      during trial

Total: 2/26/2007
                                                                                      2.84


Talia Kraemer               2/27/2007 Mississippi                     Conference call           0:40:05
                                                                      with CR MS team
                                                                      (ET, YG-K, PS, JW,
                                                                      HB, and CR) (came
                                                                      late)
Talia Kraemer               2/27/2007 Mississippi                     Scanning exhibits         2:40:43
                                                                      onto F-drive for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)

Total: 2/27/2007
                                                                                      3.35


Talia Kraemer               2/28/2007 Mississippi                     Scanning exhibits         4:25:34
                                                                      onto F-drive for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)

Total: 2/28/2007
                                                                                      4.43


Talia Kraemer                3/1/2007 Mississippi                     Scan exhibits onto        2:03:48
                                                                      F-drive for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)
Talia Kraemer                3/1/2007 Mississippi                     Scanning exhibits         4:41:54
                                                                      onto F-drive for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 504 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   300



User                      Date        Client                          Description            Time Spent



Total: 3/1/2007
                                                                                      6.76


Talia Kraemer                3/2/2007 Mississippi                     Scan exhibits onto        1:00:56
                                                                      F-drive for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)

Total: 3/2/2007
                                                                                      1.02


Talia Kraemer                3/5/2007 Mississippi                     Review deposition         0:10:57
                                                                      digest of Robert
                                                                      Hamrick as
                                                                      template for how to
                                                                      create dep digest
                                                                      and as preparation
                                                                      for witness support
                                                                      on Hamrick during
                                                                      trial
Talia Kraemer                3/5/2007 Mississippi                     Scanning exhibits         0:28:35
                                                                      for reference during
                                                                      and before trial
                                                                      (cont)
Talia Kraemer                3/5/2007 Mississippi                     Meeting with MS           1:01:58
                                                                      team re trial
                                                                      preparation (ET,
                                                                      MRL, SL, JW, PS,
                                                                      YGK, CR all
                                                                      present - MRL
                                                                      came late)
Talia Kraemer                3/5/2007 Mississippi                     Deposition digest         2:04:53
                                                                      for depo of Randy
                                                                      Roebuck

Total: 3/5/2007
                                                                                      3.77


Talia Kraemer                3/6/2007 Mississippi                     Review Defs.'             0:20:09
                                                                      edited FRE
                                                                      summaries
Talia Kraemer                3/6/2007 Mississippi                     Edit and cite-check       0:23:07
                                                                      most recent Cody B
                                                                      FRE draft from
                                                                      Defs.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 505 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   301



User                      Date        Client                          Description            Time Spent


Talia Kraemer                3/6/2007 Mississippi                     Meeting with SN,          0:28:22
                                                                      ET, JW, and HB re
                                                                      FRE summary tasks
Talia Kraemer                3/6/2007 Mississippi                     Deposition                0:42:52
                                                                      summary of Randy
                                                                      Roebuck
Talia Kraemer                3/6/2007 Mississippi                     Edit and cite-check       3:22:32
                                                                      most recent Cody B
                                                                      FRE draft from
                                                                      Defs.

Total: 3/6/2007
                                                                                      5.29


Talia Kraemer                3/7/2007 Mississippi                     Edit Defs.' latest        0:05:52
                                                                      draft of John A FRE
                                                                      summary
Talia Kraemer                3/7/2007 Mississippi                     Discuss FRE               0:10:00
                                                                      editing with SN, HB,
                                                                      and JW
Talia Kraemer                3/7/2007 Mississippi                     Edit Defs.' most          2:41:30
                                                                      recent versions of
                                                                      Cody B FRE
                                                                      summary (cont)
Talia Kraemer                3/7/2007 Mississippi                     Edit Defs.' most          3:32:27
                                                                      recent draft of FRE
                                                                      summary for NP
                                                                      Cody B (cont)

Total: 3/7/2007
                                                                                      6.50


Talia Kraemer                3/8/2007 Mississippi                     Edit Defs.' most          1:21:24
                                                                      recent draft of Cody
                                                                      B FRE summary
                                                                      (cont)
Talia Kraemer                3/8/2007 Mississippi                     Edit Defs.' most          2:47:28
                                                                      recent draft of John
                                                                      A FRE summary
Talia Kraemer                3/8/2007 Mississippi                     Edit Defs.' most          3:27:39
                                                                      recent draft of John
                                                                      A FRE summary
                                                                      (cont.)

Total: 3/8/2007
                                                                                      7.61
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 506 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   302



User                      Date        Client                          Description            Time Spent


Talia Kraemer                3/9/2007 Mississippi                     Telephone call with       0:05:00
                                                                      SN, JW, HB, CR re
                                                                      FRE tasks
Talia Kraemer                3/9/2007 Mississippi                     Edit most recent          0:58:25
                                                                      draft of John A FRE
                                                                      summary (cont)

Total: 3/9/2007
                                                                                      1.05


Talia Kraemer               3/11/2007 Mississippi                     Edit FRE summarys         2:02:07
                                                                      for NPs Cody B and
                                                                      John A

Total: 3/11/2007
                                                                                      2.04


Talia Kraemer               3/12/2007 Mississippi                     Finalizing materials      0:31:47
                                                                      containing CR edits
                                                                      to Cody B FRE to
                                                                      be sent to Defs

Total: 3/12/2007
                                                                                      0.53


Talia Kraemer               3/13/2007 Mississippi                     Figure out                0:06:21
                                                                      allocation of Defs.'
                                                                      witnesses for cross
                                                                      folders task
Talia Kraemer               3/13/2007 Mississippi                     Finalizing John A         0:25:27
                                                                      FRE summary
                                                                      latest draft
Talia Kraemer               3/13/2007 Mississippi                     Locate and pull all       0:29:37
                                                                      documents relating
                                                                      to witness
Talia Kraemer               3/13/2007 Mississippi                     Work on deposition        1:42:25
                                                                      summary of Randy
                                                                      Roebuck

Total: 3/13/2007
                                                                                      2.73


Talia Kraemer               3/14/2007 Mississippi                     Discuss MS tasks          0:04:28
                                                                      from team meeting
                                                                      with HB
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 507 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   303



User                      Date        Client                          Description             Time Spent


Talia Kraemer               3/14/2007 Mississippi                     Meeting with SN,           0:10:00
                                                                      JW, HB re NP
                                                                      visual
                                                                      demonstratives for
                                                                      trial (came late)
Talia Kraemer               3/14/2007 Mississippi                     Meeting with JW,           0:17:56
                                                                      HB, and CR re
                                                                      division of Defs.'
                                                                      witnesses for cross
                                                                      folders
Talia Kraemer               3/14/2007 Mississippi                     Depo digest of             4:07:48
                                                                      Randy Roebuck
                                                                      (cont)

Total: 3/14/2007
                                                                                       4.67


Talia Kraemer               3/15/2007 Mississippi                     Edit latest PTO draft      0:06:08

Talia Kraemer               3/15/2007 Mississippi                     Scan addition to           0:07:11
                                                                      Pls.' exhibit onto
                                                                      F-drive and save to
                                                                      exhibit folder
Talia Kraemer               3/15/2007 Mississippi                     Pull exhibits for (10      0:20:13
                                                                      min) and Go
                                                                      through exhibit list
                                                                      problems with ET
                                                                      (duplicate exhibits,
                                                                      illegible, etc) (10
                                                                      min)
Talia Kraemer               3/15/2007 Mississippi                     Search for Gulf            0:45:58
                                                                      Coast Needs
                                                                      Assessment report
                                                                      and email SN re
                                                                      same
Talia Kraemer               3/15/2007 Mississippi                     Bates stamping             1:00:00
                                                                      non-Bates stamped
                                                                      docs and scanning
                                                                      for Defs.
Talia Kraemer               3/15/2007 Mississippi                     Work on Randy              1:26:10
                                                                      Roebuck deposition
                                                                      summary (cont)
Talia Kraemer               3/15/2007 Mississippi                     Bates Stamping             1:43:10
                                                                      non-bates stamped
                                                                      exhibits on Pls.' exh
                                                                      list
Talia Kraemer               3/15/2007 Mississippi                     Work on deposition         1:50:07
                                                                      summary of Randy
                                                                      Roebuck depo
                                                                      (cont)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 508 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   304



User                      Date        Client                          Description             Time Spent



Total: 3/15/2007
                                                                                       7.33


Talia Kraemer               3/16/2007 Mississippi                     Scanning Defs.'            0:41:36
                                                                      exhibits for
                                                                      reference before
                                                                      and during trial
Talia Kraemer               3/16/2007 Mississippi                     Scanning Defs.'            1:00:00
                                                                      exhibits for
                                                                      reference before
                                                                      and during trial
                                                                      (cont)

Total: 3/16/2007
                                                                                       1.69


Talia Kraemer               3/19/2007 Mississippi                     Organize exhibit           0:21:48
                                                                      lists to reflect
                                                                      scanned and
                                                                      non-scanned
                                                                      exhibits
Talia Kraemer               3/19/2007 Mississippi                     Discuss F-drive            0:30:00
                                                                      clean-up and
                                                                      organizing with HB
                                                                      and CR (I came
                                                                      late; CR left early)
Talia Kraemer               3/19/2007 Mississippi                     Prepare cross              2:22:50
                                                                      folder for Don Taylor

Total: 3/19/2007
                                                                                       3.24


Talia Kraemer               3/20/2007 Mississippi                     Finalizing PTO             0:05:54

Talia Kraemer               3/20/2007 Mississippi                     Review latest FRE          0:21:57
                                                                      drafts from Defs
Talia Kraemer               3/20/2007 Mississippi                     Finalizing Cody B          0:37:15
                                                                      FRE summary
Talia Kraemer               3/20/2007 Mississippi                     Telephone call with        0:46:51
                                                                      ET (SN, JW, HB,
                                                                      CR, PS, and YGK
                                                                      all present)
Talia Kraemer               3/20/2007 Mississippi                     Preparing folder of        2:46:19
                                                                      materials for cross
                                                                      of Defs.' witness
                                                                      Don Taylor
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 509 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   305



User                      Date        Client                          Description             Time Spent



Total: 3/20/2007
                                                                                       4.64


Talia Kraemer               3/21/2007 Mississippi                     Telephone call with        0:10:00
                                                                      ET & PS re
                                                                      Jamison FRE
                                                                      timeframe
Talia Kraemer               3/21/2007 Mississippi                     Telephone call with        0:12:00
                                                                      ET re Don Taylor
                                                                      cross folder
Talia Kraemer               3/21/2007 Mississippi                     Discuss Jamison            0:20:00
                                                                      FRE summary task
                                                                      and timeframe with
                                                                      PS (15min) and
                                                                      paras JW & HB
                                                                      (5min)
Talia Kraemer               3/21/2007 Mississippi                     Discuss Jamison            0:20:00
                                                                      FRE task and
                                                                      timeframe changes
                                                                      with PS
Talia Kraemer               3/21/2007 Mississippi                     Work on preparing          2:00:44
                                                                      folder of materials
                                                                      for cross
                                                                      examination of Don
                                                                      Taylor (cont)
Talia Kraemer               3/21/2007 Mississippi                     Work on Don                4:03:54
                                                                      Taylor cross folder
                                                                      (cont)

Total: 3/21/2007
                                                                                       7.11


Talia Kraemer               3/22/2007 Mississippi                     Work on cross              2:10:41
                                                                      folder for Don
                                                                      Taylor (cont)
Talia Kraemer               3/22/2007 Mississippi                     Work on cross              4:46:15
                                                                      folder for Don Taylor

Total: 3/22/2007
                                                                                       6.95


Talia Kraemer               3/23/2007 Mississippi                     Edit latest PTO            2:00:00
                                                                      draft (cont)
Talia Kraemer               3/23/2007 Mississippi                     Edit latest PTO draft      3:54:24
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 510 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   306



User                      Date        Client                          Description            Time Spent



Total: 3/23/2007
                                                                                      5.91


Talia Kraemer               3/25/2007 Mississippi                     Work on Don               2:55:16
                                                                      Taylor folder of
                                                                      materials for cross
                                                                      examination (cont)

Total: 3/25/2007
                                                                                      2.92


Talia Kraemer               3/26/2007 Mississippi                     Review status of          0:09:31
                                                                      MS settlement talks
                                                                      memo from ET
Talia Kraemer               3/26/2007 Mississippi                     Editing latest PTO        0:39:50
                                                                      draft (cont)
Talia Kraemer               3/26/2007 Mississippi                     Work on Don               2:01:33
                                                                      Taylor cross folder
                                                                      (cont)
Talia Kraemer               3/26/2007 Mississippi                     Edit Defs.' latest        3:00:03
                                                                      draft of Jamison J
                                                                      FRE summary

Total: 3/26/2007
                                                                                      5.85


Talia Kraemer               3/27/2007 Mississippi                     Discuss Jamison J.        0:30:00
                                                                      FRE and other
                                                                      paralegal tasks with
                                                                      PS (15 min) and SN
                                                                      and JW (15 min)
Talia Kraemer               3/27/2007 Mississippi                     Edit latest draft of      0:38:46
                                                                      Jamison J FRE
                                                                      summary (cont)

Total: 3/27/2007
                                                                                      1.15


Talia Kraemer               3/29/2007 Mississippi                     Calculate number          0:05:00
                                                                      of depositions taken
                                                                      for fact witnesses
Talia Kraemer               3/29/2007 Mississippi                     Help JW edit              0:15:00
                                                                      motion for approval
                                                                      of settlement
                                                                      agreement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 511 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   307



User                      Date        Client                          Description              Time Spent



Total: 3/29/2007
                                                                                        0.33


Talia Kraemer               4/11/2007 Mississippi                     Order and file              0:08:41
                                                                      originals of fiscal
                                                                      documents

Total: 4/11/2007
                                                                                        0.14


Talia Kraemer               4/30/2007 Mississippi                     Prepare materials           1:58:11
                                                                      for trip to MS to
                                                                      meet with
                                                                      stakeholders
                                                                      (copies of
                                                                      settlement
                                                                      agreements,
                                                                      directions,
                                                                      itineraries, etc)

Total: 4/30/2007
                                                                                        1.97


Talia Kraemer                5/1/2007 Mississippi                     Update itinerary for        0:10:00
                                                                      trip to MS to meet
                                                                      with stakeholders
Talia Kraemer                5/1/2007 Mississippi                     Meeting with SN;            1:30:00
                                                                      ET; MRL, and
                                                                      experts Hess and
                                                                      Crabtree

Total: 5/1/2007
                                                                                        1.67


Talia Kraemer                5/2/2007 Mississippi                     Meeting with John           1:00:00
                                                                      A. at Millcreek
Talia Kraemer                5/2/2007 Mississippi                     Hattiesburg                 1:45:00
                                                                      meeting with foster
                                                                      parents
Talia Kraemer                5/2/2007 Mississippi                     Jackson meeting             2:45:00
                                                                      with stakeholders
                                                                      regarding
                                                                      settlement,
                                                                      remedies
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 512 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   308



User                      Date        Client                          Description            Time Spent



Total: 5/2/2007
                                                                                      5.50


Talia Kraemer                5/3/2007 Mississippi                     Meeting at Youth          2:15:00
                                                                      Court

Total: 5/3/2007
                                                                                      2.25


Talia Kraemer                5/4/2007 Mississippi                     Review letters from       0:05:00
                                                                      class members in
                                                                      response to
                                                                      settlement notice

Total: 5/4/2007
                                                                                      0.08


Talia Kraemer                5/7/2007 Mississippi                     Notes from                0:18:21
                                                                      community group
                                                                      meetings with
                                                                      stakeholders re
                                                                      remedy
Talia Kraemer                5/7/2007 Mississippi                     Meeting with JW           0:18:49
                                                                      and ET re
                                                                      submissions for
                                                                      fairness hearing

Total: 5/7/2007
                                                                                      0.62


Talia Kraemer                5/8/2007 Mississippi                     Review media              0:11:40
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer                5/8/2007 Mississippi                     Review, file,             0:55:32
                                                                      summarize and
                                                                      circulate letters
                                                                      from stakeholders
                                                                      to court re
                                                                      settlement notice
Talia Kraemer                5/8/2007 Mississippi                     Compile and               2:46:08
                                                                      categorize notes
                                                                      from stakeholder
                                                                      meetings during trip
                                                                      to MS in prep for
                                                                      affidavit submission
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 513 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   309



User                      Date        Client                          Description             Time Spent


Talia Kraemer                5/8/2007 Mississippi                     Work on Affidavit          3:19:07
                                                                      based on
                                                                      community
                                                                      meetings in MS for
                                                                      fairness hearing

Total: 5/8/2007
                                                                                       7.21


Talia Kraemer                5/9/2007 Mississippi                     Review,                    0:10:00
                                                                      summarize, and
                                                                      circulate
                                                                      stakeholder letters
                                                                      filed w. court in
                                                                      response to
                                                                      settlement notice
Talia Kraemer                5/9/2007 Mississippi                     Create list of             0:55:18
                                                                      contacts from
                                                                      meetings in
                                                                      Gulfport and
                                                                      Hattiesburg during
                                                                      week of 5/1/07

Total: 5/9/2007
                                                                                       1.09


Talia Kraemer               5/10/2007 Mississippi                     Retrieve and print         0:10:00
                                                                      letters to court from
                                                                      stakeholders for SN
Talia Kraemer               5/10/2007 Mississippi                     Review ET edits to         0:10:00
                                                                      affidavit draft
Talia Kraemer               5/10/2007 Mississippi                     Edit affidavit draft       2:29:11
                                                                      for settlement
                                                                      fairness hearing

Total: 5/10/2007
                                                                                       2.83


Talia Kraemer               5/11/2007 Mississippi                     Edit affidavit for         2:36:10
                                                                      motion to approve
                                                                      settlement

Total: 5/11/2007
                                                                                       2.60
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 514 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   310



User                      Date        Client                          Description             Time Spent


Talia Kraemer               5/16/2007 Mississippi                     Write memo re              0:20:03
                                                                      current status of NP
                                                                      John A

Total: 5/16/2007
                                                                                       0.33


Talia Kraemer               5/17/2007 Mississippi                     Prepare materials          3:23:14
                                                                      for Hess and
                                                                      Crabtree for
                                                                      remedy prep for
                                                                      settlement (printing
                                                                      COA standards off
                                                                      of website,
                                                                      assemble add'l
                                                                      materials, make
                                                                      binders)

Total: 5/17/2007
                                                                                       3.39


Talia Kraemer               5/18/2007 Mississippi                     Review record              0:04:21
                                                                      update for NP John
                                                                      A
Talia Kraemer               5/18/2007 Mississippi                     File full copy of          0:06:39
                                                                      COA standards on
                                                                      F-drive for
                                                                      reference for
                                                                      settlement purposes
Talia Kraemer               5/18/2007 Mississippi                     Enter stakeholder          0:32:57
                                                                      contact info into
                                                                      worklist
Talia Kraemer               5/18/2007 Mississippi                     Mail COA                   0:48:48
                                                                      standards, model
                                                                      Implementation
                                                                      plans to experts for
                                                                      work on settlement
                                                                      agreement

Total: 5/18/2007
                                                                                       1.54


Talia Kraemer               5/22/2007 Mississippi                     Telephone call with        0:09:14
                                                                      source re NP, calls
                                                                      re same
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 515 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   311



User                      Date        Client                          Description              Time Spent



Total: 5/22/2007
                                                                                        0.15


Talia Kraemer               5/29/2007 Mississippi                     Review NP relief            0:10:00
                                                                      requests by Pls.
Talia Kraemer               5/29/2007 Mississippi                     Search for                  0:23:04
                                                                      independent living
                                                                      start up funds
                                                                      amounts from other
                                                                      states as model

Total: 5/29/2007
                                                                                        0.55


Talia Kraemer               5/30/2007 Mississippi                     Fill out credit report      0:07:57
                                                                      paperwork for NP
                                                                      Jamison J
Talia Kraemer               5/30/2007 Mississippi                     Search for info on          0:09:00
                                                                      Defs.' proposed
                                                                      candidate for
                                                                      monitor
Talia Kraemer               5/30/2007 Mississippi                     Search for                  2:14:56
                                                                      information re
                                                                      potential monitor
                                                                      candidate (cont)

Total: 5/30/2007
                                                                                        2.53


Talia Kraemer               5/31/2007 Mississippi                      Review Millcreek           0:09:21
                                                                      discharge materials
                                                                      for NP John A.
Talia Kraemer               5/31/2007 Mississippi                     Telephone call with         0:16:19
                                                                      NP John A.'s
                                                                      therapist re
                                                                      discharge
                                                                      recommendations,
                                                                      documents for NP
                                                                      mediation
                                                                      purposes; speak
                                                                      with ET and SN re
                                                                      same
Talia Kraemer               5/31/2007 Mississippi                     Prepare and mail            0:21:18
                                                                      credit report
                                                                      request for NP
                                                                      Jamison J (cont)
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 516 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   312



User                      Date        Client                          Description            Time Spent



Total: 5/31/2007
                                                                                      0.79


Talia Kraemer                6/1/2007 Mississippi                     Compile materials         0:39:18
                                                                      re Defs.' proposed
                                                                      monitor for MRL
                                                                      (cont)

Total: 6/1/2007
                                                                                      0.66


Talia Kraemer                6/7/2007 Mississippi                     Review Defs.' draft       0:25:15
                                                                      settlement plan and
                                                                      SN assessment of
                                                                      same

Total: 6/7/2007
                                                                                      0.42


Talia Kraemer               6/12/2007 Mississippi                     Compile and send          0:49:51
                                                                      case materials to
                                                                      monitor candidate

Total: 6/12/2007
                                                                                      0.83


Talia Kraemer               6/14/2007 Mississippi                     Review conf call          0:03:24
                                                                      minutes re potential
                                                                      monitors

Total: 6/14/2007
                                                                                      0.06


Talia Kraemer               6/18/2007 Mississippi                     PDF new discovery         0:08:00
                                                                      docs and email to
                                                                      ET

Total: 6/18/2007
                                                                                      0.13
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 517 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   313



User                      Date        Client                          Description             Time Spent


Talia Kraemer               6/19/2007 Mississippi                     Prepare binder of          2:02:44
                                                                      sample consent
                                                                      decrees and
                                                                      monitoring reports
                                                                      for potential monitor

Total: 6/19/2007
                                                                                       2.05


Talia Kraemer               6/20/2007 Mississippi                     Review news article        0:05:00
                                                                      re return of foster
                                                                      child to abusive
                                                                      home in MS

Total: 6/20/2007
                                                                                       0.08


Talia Kraemer               6/21/2007 Mississippi                     Review letters to          0:07:57
                                                                      Defs re draft plan
                                                                      and discovery
                                                                      schedule
Talia Kraemer               6/21/2007 Mississippi                     Review conference          0:10:00
                                                                      call minutes re case
                                                                      status updates
Talia Kraemer               6/21/2007 Mississippi                     Meeting with SN,           1:00:37
                                                                      ET, MRL, PS, and
                                                                      JW re status,
                                                                      remedy hearing
                                                                      prep

Total: 6/21/2007
                                                                                       1.31


Talia Kraemer               6/28/2007 Mississippi                     Review SN memo             0:10:00
                                                                      re county self
                                                                      assessments

Total: 6/28/2007
                                                                                       0.17


Talia Kraemer                7/2/2007 Mississippi                     Electronic mail            0:07:25
                                                                      exch. with
                                                                      co-counsel
                                                                      paralegal re DVDs
                                                                      of depositions
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 518 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   314



User                      Date        Client                          Description             Time Spent


Talia Kraemer                7/2/2007 Mississippi                     Conference call            0:31:11
                                                                      with MRL, SN, Defs
                                                                      re monitor
                                                                      candidates (20 min
                                                                      - came late);
                                                                      prepare materials
                                                                      for MRL re same
                                                                      (10 min)

Total: 7/2/2007
                                                                                       0.64


Talia Kraemer                7/3/2007 Mississippi                     Edit and finalize          1:01:06
                                                                      letter to Defs re
                                                                      monitor selection
Talia Kraemer                7/3/2007 Mississippi                     Draft minutes of           1:05:37
                                                                      conference call with
                                                                      defs re monitor
                                                                      candidates

Total: 7/3/2007
                                                                                       2.11


Talia Kraemer                7/5/2007 Mississippi                     File                       0:05:00
                                                                      correspondence
                                                                      betw parties re
                                                                      extension of
                                                                      deadline for monitor
                                                                      selection
Talia Kraemer                7/5/2007 Mississippi                     Search for                 0:05:28
                                                                      correspondence
                                                                      from Defs re
                                                                      abbreviated
                                                                      discovery
Talia Kraemer                7/5/2007 Mississippi                     Write memo re tel          0:13:57
                                                                      call with NP's foster
                                                                      mother
Talia Kraemer                7/5/2007 Mississippi                     Telephone call with        0:18:25
                                                                      foster mother of NP
                                                                      and SN
Talia Kraemer                7/5/2007 Mississippi                     Edit and finalize          0:52:05
                                                                      letter to Defs re NP
                                                                      service agreement

Total: 7/5/2007
                                                                                       1.58
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 519 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   315



User                      Date        Client                          Description             Time Spent


Talia Kraemer                7/6/2007 Mississippi                     File agreed order re       0:05:02
                                                                      extension of
                                                                      monitor selection
                                                                      deadline

Total: 7/6/2007
                                                                                       0.08


Talia Kraemer                7/9/2007 Mississippi                     Electronic mail with       0:05:00
                                                                      ET and co-counsel
                                                                      re COA letter to
                                                                      Defs.
Talia Kraemer                7/9/2007 Mississippi                     File                       0:05:00
                                                                      correspondence w.
                                                                      defs re discovery

Total: 7/9/2007
                                                                                       0.16


Talia Kraemer               7/10/2007 Mississippi                     Conference with            0:22:52
                                                                      ET, SN, MRL, PS,
                                                                      Steve Leech, John
                                                                      Piskora
Talia Kraemer               7/10/2007 Mississippi                     Draft minutes from         0:23:43
                                                                      conference call with
                                                                      co-counsel
Talia Kraemer               7/10/2007 Mississippi                     Finalizing letter to       0:33:59
                                                                      Defs re abbreviated
                                                                      discovery

Total: 7/10/2007
                                                                                       1.35


Talia Kraemer               7/11/2007 Mississippi                     Review email from          0:06:00
                                                                      co-counsel re
                                                                      meeting with Defs.'
                                                                      counsel
Talia Kraemer               7/11/2007 Mississippi                     Intake call with           0:20:06
                                                                      caregiver of class
                                                                      members
Talia Kraemer               7/11/2007 Mississippi                     Write up minutes           0:41:31
                                                                      from conference
                                                                      call with co-counsel
                                                                      re discovery and
                                                                      mediation
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 520 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   316



User                      Date        Client                          Description             Time Spent



Total: 7/11/2007
                                                                                       1.13


Talia Kraemer               7/12/2007 Mississippi                     Prepare outline of         0:30:00
                                                                      findings of fact
                                                                      (20min), search for
                                                                      old copies of same
                                                                      (10min)

Total: 7/12/2007
                                                                                       0.50


Talia Kraemer               7/13/2007 Mississippi                     Prepare                    0:04:00
                                                                      self-assessment /
                                                                      RAP PDFs for ET
                                                                      to send to COA
Talia Kraemer               7/13/2007 Mississippi                     File co-counsel            0:08:20
                                                                      corres re strategy
Talia Kraemer               7/13/2007 Mississippi                     File                       0:08:29
                                                                      correspondence
                                                                      with co-counsel re
                                                                      mediator selection
                                                                      and COA process
Talia Kraemer               7/13/2007 Mississippi                     Confirm payments           0:10:00
                                                                      to experts for
                                                                      services rendered
Talia Kraemer               7/13/2007 Mississippi                     Conference call            0:25:48
                                                                      with co-counsel
                                                                      (ET, SN, PS, MRL,
                                                                      JP, McAnally,
                                                                      Leech)
Talia Kraemer               7/13/2007 Mississippi                     Finalize letter to         0:29:38
                                                                      Defs re abbreviated
                                                                      discovery
Talia Kraemer               7/13/2007 Mississippi                     Go through                 1:33:53
                                                                      production of NP
                                                                      files and create list
                                                                      of contents; memo
                                                                      re same

Total: 7/13/2007
                                                                                       3.00


Talia Kraemer               7/16/2007 Mississippi                     Finalizing minutes         0:07:59
                                                                      from co-counsel
                                                                      conference on 7.13
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 521 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   317



User                      Date        Client                          Description            Time Spent


Talia Kraemer               7/16/2007 Mississippi                     Draft minutes from        1:06:49
                                                                      Friday's co-counsel
                                                                      conference call

Total: 7/16/2007
                                                                                      1.24


Talia Kraemer               7/17/2007 Mississippi                     Conference call           0:52:27
                                                                      with co-counsel -
                                                                      MRL, ET, SN, JP,
                                                                      PS, Melody, Piskora

Total: 7/17/2007
                                                                                      0.87


Talia Kraemer               7/19/2007 Mississippi                     Telephone call with       0:06:00
                                                                      foster mother of NP
Talia Kraemer               7/19/2007 Mississippi                     Finalizing memo           0:12:47
                                                                      with notes from
                                                                      co-counsel
                                                                      conference
Talia Kraemer               7/19/2007 Mississippi                     Review Defs.'             0:15:00
                                                                      second draft
                                                                      remedial plan
Talia Kraemer               7/19/2007 Mississippi                     Draft write-up of         1:20:15
                                                                      minutes from
                                                                      co-counsel
                                                                      conference on 7.17

Total: 7/19/2007
                                                                                      1.90


Talia Kraemer               7/20/2007 Mississippi                     Conference call           0:34:57
                                                                      with MRL, ET, SN,
                                                                      PS, JP, YGK, S.
                                                                      Leech to discuss
                                                                      Defs.' latest draft
                                                                      plan and strategy
                                                                      going forward
Talia Kraemer               7/20/2007 Mississippi                     Go through county         1:12:41
                                                                      self assessments to
                                                                      identify staffing
                                                                      needs

Total: 7/20/2007
                                                                                      1.79
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 522 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   318



User                      Date        Client                          Description             Time Spent


Talia Kraemer               7/24/2007 Mississippi                     Work on                    0:10:00
                                                                      self-assessments
                                                                      analysis
Talia Kraemer               7/24/2007 Mississippi                     File                       0:16:25
                                                                      correspondence
                                                                      with Defs re
                                                                      settlement and NPs
Talia Kraemer               7/24/2007 Mississippi                     Review findings            0:20:15
                                                                      regarding county
                                                                      self assessments
                                                                      with intern; email to
                                                                      SN and ET re same
Talia Kraemer               7/24/2007 Mississippi                     Intake call with           0:25:00
                                                                      parent of class
                                                                      member
Talia Kraemer               7/24/2007 Mississippi                     Prepare materials          0:53:45
                                                                      to mail to NP

Total: 7/24/2007
                                                                                       2.10


Talia Kraemer               7/25/2007 Mississippi                     Write up minutes           0:17:37
                                                                      from co-counsel
                                                                      conference re
                                                                      Defs.' draft plan for
                                                                      circulation among
                                                                      team
Talia Kraemer               7/25/2007 Mississippi                     draft letters to NP        0:24:55
                                                                      enclosing DHS files
Talia Kraemer               7/25/2007 Mississippi                     File documents             0:42:22
                                                                      produced by defs
                                                                      for settlement
                                                                      purposes
Talia Kraemer               7/25/2007 Mississippi                     File documents             0:44:29
                                                                      produced by Defs
                                                                      for settlement
                                                                      purposes

Total: 7/25/2007
                                                                                       2.16


Talia Kraemer               7/26/2007 Mississippi                     Retrieve docs              0:11:08
                                                                      produced by defs
                                                                      and shared with
                                                                      COA for ET
Talia Kraemer               7/26/2007 Mississippi                     compile docs               0:15:02
                                                                      provided by MDHS
                                                                      to COA for SN
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 523 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   319



User                      Date        Client                          Description            Time Spent


Talia Kraemer               7/26/2007 Mississippi                     Prepare tables of         0:21:26
                                                                      self-assessment
                                                                      data for SN
Talia Kraemer               7/26/2007 Mississippi                     Draft minutes from        0:27:34
                                                                      co-counsel
                                                                      conferece to
                                                                      circulate to
                                                                      co-counsel (cont)
Talia Kraemer               7/26/2007 Mississippi                     Write memos (3) to        0:40:23
                                                                      attorneys re intakes
                                                                      re class members
Talia Kraemer               7/26/2007 Mississippi                     Compile records for       1:07:48
                                                                      mailing to NP W.
                                                                      kids, edit letter re
                                                                      same

Total: 7/26/2007
                                                                                      3.06


Talia Kraemer               7/27/2007 Mississippi                     Telephone call with       0:05:33
                                                                      ET re MS caseload
                                                                      data
Talia Kraemer               7/27/2007 Mississippi                     File and review           0:09:05
                                                                      correspondence re
                                                                      NP W. kids
Talia Kraemer               7/27/2007 Mississippi                     Search for most           3:23:17
                                                                      recent caseworker
                                                                      data

Total: 7/27/2007
                                                                                      3.63


Talia Kraemer               7/30/2007 Mississippi                     Intake with adoptive      0:17:37
                                                                      parent/relative
                                                                      caregiver
Talia Kraemer               7/30/2007 Mississippi                     Finalizing letter to      0:24:29
                                                                      NP John A and
                                                                      preparing package
                                                                      of accompanying
                                                                      materials
Talia Kraemer               7/30/2007 Mississippi                     Prepare binder of         0:47:06
                                                                      materials provided
                                                                      by DHS to COA for
                                                                      SN

Total: 7/30/2007
                                                                                      1.49
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 524 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   320



User                      Date        Client                          Description             Time Spent


Talia Kraemer               7/31/2007 Mississippi                     Compile settlement         0:05:03
                                                                      proposals and
                                                                      model
                                                                      Implementation
                                                                      plans for JP
Talia Kraemer               7/31/2007 Mississippi                     Retrieve                   0:05:32
                                                                      organizational
                                                                      charts produced to
                                                                      COA and send to
                                                                      ET
Talia Kraemer               7/31/2007 Mississippi                     Retrieve latest            0:11:02
                                                                      budget docs and
                                                                      PDF to ET
Talia Kraemer               7/31/2007 Mississippi                     Conference call            0:21:42
                                                                      with ET, SN, PS,
                                                                      JP, Steve Leech,
                                                                      John Piskora, re
                                                                      strategy
Talia Kraemer               7/31/2007 Mississippi                     Cite check draft           0:48:07
                                                                      response to Defs.'
                                                                      2nd draft plan
Talia Kraemer               7/31/2007 Mississippi                     Go through PIP             0:57:42
                                                                      docs sent by MDHS
                                                                      to COA to ID
                                                                      contents (30 min);
                                                                      prepare copies of
                                                                      same for SN (27
                                                                      min)

Total: 7/31/2007
                                                                                       2.47


Talia Kraemer                8/1/2007 Mississippi                     Retrieve regional          0:10:04
                                                                      action plans for PS
Talia Kraemer                8/1/2007 Mississippi                     Finalizing letter to       1:02:09
                                                                      Rusty re Pls.'
                                                                      comments to draft
                                                                      plan

Total: 8/1/2007
                                                                                       1.21


Talia Kraemer                8/2/2007 Mississippi                     Review ET memo             0:03:29
                                                                      re call with
                                                                      stakeholder
Talia Kraemer                8/2/2007 Mississippi                     Write memo                 0:10:59
                                                                      containing minutes
                                                                      from 7/31 conf call
                                                                      with co-counsel
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 525 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   321



User                      Date        Client                          Description              Time Spent



Total: 8/2/2007
                                                                                        0.24


Talia Kraemer                8/3/2007 Mississippi                     Review expert               0:05:00
                                                                      analysis of
                                                                      summary of DHS
                                                                      progress
Talia Kraemer                8/3/2007 Mississippi                     Write memo w.               0:30:41
                                                                      minutes from 7/31
                                                                      team conf call
Talia Kraemer                8/3/2007 Mississippi                     Finalizing letter to        0:43:37
                                                                      Rachal re start-up
                                                                      stipend for NP
                                                                      Jamison

Total: 8/3/2007
                                                                                        1.32


Talia Kraemer                8/6/2007 Mississippi                     Finalizing minutes          0:04:54
                                                                      from 7/31
                                                                      co-counsel
                                                                      conference for
                                                                      circulation
Talia Kraemer                8/6/2007 Mississippi                     Prepare materials           0:50:03
                                                                      for mailing to MRL
                                                                      for Aug 8 mediation
                                                                      session

Total: 8/6/2007
                                                                                        0.91


Talia Kraemer                8/7/2007 Mississippi                     Search for special          0:20:00
                                                                      allowances
                                                                      provision in foster
                                                                      care manual for
                                                                      services for NP TW

Total: 8/7/2007
                                                                                        0.33


Talia Kraemer                8/8/2007 Mississippi                     Compile materials           0:12:59
                                                                      re MDHS current
                                                                      system status for
                                                                      PS review
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 526 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   322



User                      Date        Client                          Description            Time Spent


Talia Kraemer                8/8/2007 Mississippi                     Conference call           1:15:00
                                                                      with ET, SN, MRL,
                                                                      PS, YGK, MAB,
                                                                      Piskora, Wayne re
                                                                      remedy hearing
                                                                      prep

Total: 8/8/2007
                                                                                      1.47


Talia Kraemer                8/9/2007 Mississippi                     Telephone call to         0:04:21
                                                                      attorney re related
                                                                      case
Talia Kraemer                8/9/2007 Mississippi                     Review memos              0:06:27
                                                                      from SN and MM re
                                                                      calls with contacts
                                                                      in MS
Talia Kraemer                8/9/2007 Mississippi                     Write memo of             2:05:53
                                                                      minutes from team
                                                                      conference on 8/8

Total: 8/9/2007
                                                                                      2.28


Talia Kraemer               8/10/2007 Mississippi                     Telephone call with       0:05:47
                                                                      attorney from
                                                                      related case
Talia Kraemer               8/10/2007 Mississippi                     Review memo from          0:20:14
                                                                      legal intern re
                                                                      substantive due
                                                                      process

Total: 8/10/2007
                                                                                      0.44


Talia Kraemer               8/13/2007 Mississippi                     Work on updated           2:42:48
                                                                      FOF in preparation
                                                                      for remedy hearing

Total: 8/13/2007
                                                                                      2.71


Talia Kraemer               8/14/2007 Mississippi                     Work on creation of       1:53:59
                                                                      FOF for remedy hrg
                                                                      based on
                                                                      pre-settlement FOF
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 527 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   323



User                      Date        Client                          Description              Time Spent



Total: 8/14/2007
                                                                                        1.90


Talia Kraemer               8/17/2007 Mississippi                     Review latest round         0:49:55
                                                                      of NP docs

Total: 8/17/2007
                                                                                        0.83


Talia Kraemer               8/27/2007 Mississippi                     Finalizing work on          0:11:53
                                                                      draft Remedy
                                                                      hearing FOF
Talia Kraemer               8/27/2007 Mississippi                     File                        0:16:15
                                                                      correspondence
                                                                      with Defs re NPs

Total: 8/27/2007
                                                                                        0.47


Talia Kraemer               8/28/2007 Mississippi                     Review emails betw          0:05:55
                                                                      Pls and COA
Talia Kraemer               8/28/2007 Mississippi                     Conference call             0:16:07
                                                                      with MRL, ET, SN,
                                                                      YGK, MM, SLch re
                                                                      COA status
Talia Kraemer               8/28/2007 Mississippi                     Weekly conf call            0:32:40
                                                                      with co-counsel re
                                                                      COA, remedy hrg

Total: 8/28/2007
                                                                                        0.91


Talia Kraemer               8/29/2007 Mississippi                     Review and edit             0:18:15
                                                                      draft letter to
                                                                      mediator re status
Talia Kraemer               8/29/2007 Mississippi                     File latest batch of        0:30:00
                                                                      NP docs
Talia Kraemer               8/29/2007 Mississippi                     Write up minutes            1:23:10
                                                                      from conference
                                                                      calls with team re
                                                                      COA status to
                                                                      circulate
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 528 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   324



User                      Date        Client                          Description            Time Spent



Total: 8/29/2007
                                                                                      2.19


Talia Kraemer               8/30/2007 Mississippi                     Review and file           0:10:00
                                                                      emails with COA,
                                                                      mediator re status
                                                                      of negotiations

Total: 8/30/2007
                                                                                      0.17


Talia Kraemer               8/31/2007 Mississippi                     Search for info for       1:58:22
                                                                      expedited RFPD
                                                                      (dates and types of
                                                                      most recent docs
                                                                      received)

Total: 8/31/2007
                                                                                      1.97


Talia Kraemer                9/4/2007 Mississippi                     Finalizing memo           0:03:00
                                                                      with notes from
                                                                      co-counsel
                                                                      conference
Talia Kraemer                9/4/2007 Mississippi                     Draft conference          0:12:22
                                                                      call minutes for
                                                                      circulation to team
Talia Kraemer                9/4/2007 Mississippi                     Conference call           0:13:28
                                                                      with ET, JP, John
                                                                      Piskora, YGK, SLch
                                                                      (came late)
Talia Kraemer                9/4/2007 Mississippi                     Go through                1:07:33
                                                                      Summary Rpt and
                                                                      PIP to identify
                                                                      MDHS
                                                                      management
                                                                      reports and data
                                                                      tracking

Total: 9/4/2007
                                                                                      1.61


Talia Kraemer                9/5/2007 Mississippi                     Meeting with ET,          0:36:04
                                                                      SN, JP, YGK (came
                                                                      late), PS re
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 529 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   325



User                      Date        Client                          Description             Time Spent


                                                                      mediation status
                                                                      and expedited
                                                                      discovery
Talia Kraemer                9/5/2007 Mississippi                     Go through 4th Q           3:46:03
                                                                      PIP to identify data
                                                                      reports being
                                                                      tracked by DHS

Total: 9/5/2007
                                                                                       4.37


Talia Kraemer                9/6/2007 Mississippi                     Finalizing letter to       0:09:12
                                                                      Defs re NP
                                                                      Jamison J
Talia Kraemer                9/6/2007 Mississippi                     Prepare notices of         0:58:47
                                                                      service for
                                                                      expedited discovery
                                                                      requests
Talia Kraemer                9/6/2007 Mississippi                     Finalizing Pls.'           1:19:12
                                                                      expedited doc
                                                                      request and set of
                                                                      interrogatories
Talia Kraemer                9/6/2007 Mississippi                     Edit expedited             2:22:41
                                                                      discovery request
                                                                      docs

Total: 9/6/2007
                                                                                       4.83


Talia Kraemer                9/7/2007 Mississippi                     File and distribute        0:10:46
                                                                      copies of Defs
                                                                      remedial phase
                                                                      discovery requests
Talia Kraemer                9/7/2007 Mississippi                     Search for citation        0:12:11
                                                                      in policy manual for
                                                                      response brief re
                                                                      SDP

Total: 9/7/2007
                                                                                       0.38


Talia Kraemer               9/10/2007 Mississippi                     Go through consent         0:47:56
                                                                      decrees from other
                                                                      jurisdications to ID
                                                                      appropriate number
                                                                      of pre-service
                                                                      training hours
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 530 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   326



User                      Date        Client                          Description            Time Spent



Total: 9/10/2007
                                                                                      0.80


Talia Kraemer               9/11/2007 Mississippi                     File email                0:08:04
                                                                      correspondence
                                                                      with co-counsel re
                                                                      draft response to
                                                                      SDP motion
Talia Kraemer               9/11/2007 Mississippi                     Compile draft             0:10:32
                                                                      settlement
                                                                      materials to send to
                                                                      Defs, COA
Talia Kraemer               9/11/2007 Mississippi                     Prepare materials         0:20:00
                                                                      for negotiations mtg
                                                                      with Defs
Talia Kraemer               9/11/2007 Mississippi                     Meeting with SN           0:27:01
                                                                      and ET re
                                                                      responses to Defs.'
                                                                      discovery requests
Talia Kraemer               9/11/2007 Mississippi                     Meeting with SN           0:34:11
                                                                      and ET re remedy
                                                                      phase discovery
                                                                      (came late)
Talia Kraemer               9/11/2007 Mississippi                     Work on Pls.'             0:42:34
                                                                      responses to Defs
                                                                      RFPD

Total: 9/11/2007
                                                                                      2.37


Talia Kraemer               9/12/2007 Mississippi                     File corres w.            0:06:00
                                                                      co-counsel re
                                                                      status of
                                                                      negotiations
Talia Kraemer               9/12/2007 Mississippi                     Meeting with MRL,         0:25:30
                                                                      ET, SN, PS (came
                                                                      late) re status of
                                                                      negs
Talia Kraemer               9/12/2007 Mississippi                     Research Olivia Y.        0:37:58
                                                                      court orders re
                                                                      Substantive Due
                                                                      Process

Total: 9/12/2007
                                                                                      1.16
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 531 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   327



User                      Date        Client                          Description             Time Spent


Talia Kraemer               9/18/2007 Mississippi                     Go through Defs.'          0:10:00
                                                                      and Pls.' draft
                                                                      reform plans to
                                                                      compare
Talia Kraemer               9/18/2007 Mississippi                     Go through Defs.'          0:14:24
                                                                      proposed
                                                                      settlement
                                                                      agreement to
                                                                      compare with COA
                                                                      standards
Talia Kraemer               9/18/2007 Mississippi                     Conference call            0:20:00
                                                                      with ET, JP,
                                                                      Piskora, Steve
                                                                      Leech, PS (came
                                                                      late) re
                                                                      negotiations, status
Talia Kraemer               9/18/2007 Mississippi                     Edit and finalize          0:39:40
                                                                      letter to Defs re
                                                                      contact with class
                                                                      members
Talia Kraemer               9/18/2007 Mississippi                     Go through Defs.'          0:49:41
                                                                      settlement proposal
                                                                      to compare with
                                                                      COA standards
                                                                      (cont)

Total: 9/18/2007
                                                                                       2.23


Talia Kraemer               9/19/2007 Mississippi                     Research                   0:32:06
                                                                      standards re
                                                                      placement of young
                                                                      children in
                                                                      congregate care
Talia Kraemer               9/19/2007 Mississippi                     Go through Defs.'          1:01:20
                                                                      edits to settlement
                                                                      proposal to
                                                                      compare with COA
                                                                      standards
Talia Kraemer               9/19/2007 Mississippi                     Meeting with ET            1:31:16
                                                                      and SN re defs.'
                                                                      edits to draft
                                                                      settlement
                                                                      agreement
Talia Kraemer               9/19/2007 Mississippi                     Prepare materials          1:33:19
                                                                      for negotiations with
                                                                      Defs
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 532 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   328



User                      Date        Client                          Description              Time Spent



Total: 9/19/2007
                                                                                        4.64


Talia Kraemer               9/20/2007 Mississippi                      Edit                       0:10:00
                                                                      implementation plan
Talia Kraemer               9/20/2007 Mississippi                     Create chart of MS          1:09:16
                                                                      foster care rates
                                                                      compared to USDA
                                                                      estimates for
                                                                      negotiations

Total: 9/20/2007
                                                                                        1.32


Talia Kraemer               9/21/2007 Mississippi                     Edit settlement             0:21:53
                                                                      reform plan

Total: 9/21/2007
                                                                                        0.36


Talia Kraemer               9/24/2007 Mississippi                     File email                  0:05:28
                                                                      correspondence re
                                                                      negotiated
                                                                      settlement language
Talia Kraemer               9/24/2007 Mississippi                     Compile case-file           0:12:28
                                                                      documents to send
                                                                      to NP Jamison J.
Talia Kraemer               9/24/2007 Mississippi                     Draft Pls.' response        3:40:17
                                                                      to Defs.' remedial
                                                                      phase
                                                                      interrogatories

Total: 9/24/2007
                                                                                        3.97


Talia Kraemer               9/26/2007 Mississippi                     Telephone call with         0:10:00
                                                                      source
Talia Kraemer               9/26/2007 Mississippi                     Telephone calls to          0:19:35
                                                                      next friends re
                                                                      potential settlement
                                                                      agreement
Talia Kraemer               9/26/2007 Mississippi                     File email corres           0:25:00
                                                                      with Defs re
                                                                      negotiations and
                                                                      accompanying
                                                                      settlement drafts
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 533 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   329



User                      Date        Client                          Description            Time Spent


Talia Kraemer               9/26/2007 Mississippi                     Meeting with ET re        0:43:47
                                                                      draft responses to
                                                                      discovery requests

Total: 9/26/2007
                                                                                      1.65


Talia Kraemer               10/1/2007 Mississippi                     Research                  0:19:51
                                                                      standards for caps
                                                                      on number of
                                                                      children in foster
                                                                      homes
Talia Kraemer               10/1/2007 Mississippi                     Finalizing letter to      0:31:22
                                                                      NP Jamison
                                                                      enclosing case file
                                                                      and settlement
                                                                      materials
Talia Kraemer               10/1/2007 Mississippi                     Drafting Pls.'            1:00:00
                                                                      responses to Defs.'
                                                                      expedited discovery
                                                                      requests
Talia Kraemer               10/1/2007 Mississippi                     Drafting responses        2:28:55
                                                                      to expedited
                                                                      discovery requests

Total: 10/1/2007
                                                                                      4.33


Talia Kraemer               10/2/2007 Mississippi                     Conference call           0:20:00
                                                                      with MRL, ET,
                                                                      YGK, SN, J
                                                                      Piskora, Melody
                                                                      McAnally re status
Talia Kraemer               10/2/2007 Mississippi                     Go through draft          2:18:55
                                                                      reform plan and
                                                                      draft
                                                                      implementation
                                                                      plan to ensure all
                                                                      provisions are
                                                                      covered in IP
Talia Kraemer               10/2/2007 Mississippi                     Draft Pls.'               2:54:09
                                                                      responses to Defs.'
                                                                      expedited RFPD
                                                                      and compile
                                                                      necessary docs for
                                                                      production
Talia Kraemer               10/2/2007 Mississippi                     Go through draft          6:52:24
                                                                      reform plan and
                                                                      draft
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 534 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   330



User                      Date        Client                          Description             Time Spent


                                                                      implementation
                                                                      plan to ensure all
                                                                      provisions are
                                                                      covered in IP (cont)

Total: 10/2/2007
                                                                                      12.42


Talia Kraemer               10/3/2007 Mississippi                     Write memo to              0:27:42
                                                                      team re co-counsel
                                                                      conference on 10/2
                                                                      re status of
                                                                      negotiations
Talia Kraemer               10/3/2007 Mississippi                     Compile documents          2:35:25
                                                                      for production in
                                                                      response to Defs.'
                                                                      expedited RFPD

Total: 10/3/2007
                                                                                       3.05


Talia Kraemer               10/9/2007 Mississippi                     File email corres          0:10:32
                                                                      with team, defs re
                                                                      settlement
                                                                      negotiations
Talia Kraemer               10/9/2007 Mississippi                     Conference call            0:22:04
                                                                      with MRL, ET, SN,
                                                                      YGK, S Leech re
                                                                      status of
                                                                      negotiations
Talia Kraemer               10/9/2007 Mississippi                     Write memo to              0:26:01
                                                                      team with minutes
                                                                      from conf call re
                                                                      settlement status

Total: 10/9/2007
                                                                                       0.98


Talia Kraemer              10/10/2007 Mississippi                     File                       0:10:00
                                                                      correspondence
                                                                      with Defs, COA,
                                                                      mediator, and next
                                                                      friends re potential
                                                                      settlement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 535 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   331



User                      Date        Client                          Description              Time Spent


Talia Kraemer              10/10/2007 Mississippi                     Search for                  0:16:18
                                                                      language in
                                                                      agreement in
                                                                      related case re
                                                                      monitor budget

Total: 10/10/2007
                                                                                        0.44


Talia Kraemer              10/11/2007 Mississippi                     File email corres re        0:03:00
                                                                      settlement

Total: 10/11/2007
                                                                                        0.05


Talia Kraemer              10/15/2007 Mississippi                     Review and                  0:20:00
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 10/15/2007
                                                                                        0.33


Talia Kraemer              10/16/2007 Mississippi                     Prepare mailing of          0:15:31
                                                                      signature pages for
                                                                      settlement to
                                                                      co-counsel in MS
Talia Kraemer              10/16/2007 Mississippi                     Review and                  0:17:09
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              10/16/2007 Mississippi                     Prepare new fed ex          0:20:49
                                                                      package with
                                                                      settlement
                                                                      signature page
                                                                      (needed to be
                                                                      re-sent due to edits)
Talia Kraemer              10/16/2007 Mississippi                     Finalizing signature        0:56:48
                                                                      page for settlement
                                                                      agreement
Talia Kraemer              10/16/2007 Mississippi                     Editing settlement          1:00:00
                                                                      reform plan
Talia Kraemer              10/16/2007 Mississippi                     Editing settlement          5:11:29
                                                                      reform plan
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 536 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   332



User                      Date        Client                          Description              Time Spent



Total: 10/16/2007
                                                                                        8.04


Talia Kraemer              10/17/2007 Mississippi                     File corres with            0:08:45
                                                                      Defs re settlement
                                                                      agreement
Talia Kraemer              10/17/2007 Mississippi                     Review and                  0:10:00
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              10/17/2007 Mississippi                     Edit settlement             0:10:00
                                                                      agreement
Talia Kraemer              10/17/2007 Mississippi                     Finalizing                  1:04:58
                                                                      settlement
                                                                      agreement materials

Total: 10/17/2007
                                                                                        1.57


Talia Kraemer              10/18/2007 Mississippi                     Review and                  0:20:00
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              10/18/2007 Mississippi                     Intake call with            1:00:00
                                                                      woman re two class
                                                                      members

Total: 10/18/2007
                                                                                        1.33


Talia Kraemer              10/19/2007 Mississippi                     Review and                  0:21:14
                                                                      circulate press
                                                                      coverage of
                                                                      relevant issues

Total: 10/19/2007
                                                                                        0.35


Talia Kraemer              10/22/2007 Mississippi                     File corres with            0:15:00
                                                                      Defs re motion for
                                                                      settlement approval
                                                                      and drafts of same
Talia Kraemer              10/22/2007 Mississippi                     Review and                  0:29:44
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 537 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   333



User                      Date        Client                          Description              Time Spent



Total: 10/22/2007
                                                                                        0.75


Talia Kraemer              10/23/2007 Mississippi                     Review and                  0:14:23
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              10/23/2007 Mississippi                     Work on draft               0:28:22
                                                                      motion for
                                                                      preliminary
                                                                      approval of
                                                                      settlement

Total: 10/23/2007
                                                                                        0.71


Talia Kraemer              10/24/2007 Mississippi                     Review and                  0:06:25
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 10/24/2007
                                                                                        0.11


Talia Kraemer              10/25/2007 Mississippi                     Review and                  0:22:16
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 10/25/2007
                                                                                        0.37


Talia Kraemer              10/26/2007 Mississippi                     Review and                  0:10:34
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 10/26/2007
                                                                                        0.18


Talia Kraemer              10/29/2007 Mississippi                     Review and                  0:22:02
                                                                      circulate press
                                                                      coverage of
                                                                      relevant issues
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 538 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   334



User                      Date        Client                          Description               Time Spent



Total: 10/29/2007
                                                                                         0.37


Talia Kraemer              10/31/2007 Mississippi                     Review and                   0:24:12
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 10/31/2007
                                                                                         0.40


Talia Kraemer               11/1/2007 Mississippi                     Review and                   0:20:17
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 11/1/2007
                                                                                         0.34


Talia Kraemer               11/2/2007 Mississippi                     File corres with             0:12:54
                                                                      Defs. re final
                                                                      settlement
                                                                      agreement
Talia Kraemer               11/2/2007 Mississippi                     Review and                   0:15:59
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 11/2/2007
                                                                                         0.49


Talia Kraemer               11/5/2007 Mississippi                     Review and                   0:21:23
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues

Total: 11/5/2007
                                                                                         0.36


Talia Kraemer               11/6/2007 Mississippi                     Review and                   0:12:40
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 539 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   335



User                      Date        Client                          Description              Time Spent


Talia Kraemer               11/6/2007 Mississippi                     Prepare mailing of          0:23:07
                                                                      materials to NP
                                                                      Jamison J
Talia Kraemer               11/6/2007 Mississippi                     Draft and finalize          1:02:12
                                                                      letter to Jamison
                                                                      enclosing materials

Total: 11/6/2007
                                                                                        1.64


Talia Kraemer               11/7/2007 Mississippi                     Review and                  0:20:07
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer               11/7/2007 Mississippi                     Finalizing joint            0:43:51
                                                                      motion for prelim
                                                                      approval of
                                                                      settlement
                                                                      agreement

Total: 11/7/2007
                                                                                        1.07


Talia Kraemer               11/8/2007 Mississippi                     File and circulate          0:05:00
                                                                      order granting
                                                                      motion for prelim
                                                                      approval
Talia Kraemer               11/8/2007 Mississippi                     Review and                  0:23:09
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer               11/8/2007 Mississippi                     File (f-drive, hard         0:54:33
                                                                      copies) and
                                                                      circulate (internally,
                                                                      to co-counsel team)
                                                                      joint motion for
                                                                      prelim approval and
                                                                      accompanying
                                                                      exhibits

Total: 11/8/2007
                                                                                        1.38


Talia Kraemer               11/9/2007 Mississippi                     Return intake call          0:07:52
                                                                      with referrals
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 540 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   336



User                      Date        Client                          Description             Time Spent


Talia Kraemer               11/9/2007 Mississippi                     File corres w.             0:12:23
                                                                      co-counsel re
                                                                      signed settlement
                                                                      agreement
Talia Kraemer               11/9/2007 Mississippi                     Review and                 0:54:01
                                                                      circulate media
                                                                      coverage of Olivia
                                                                      Y. settlement

Total: 11/9/2007
                                                                                       1.24


Talia Kraemer              11/12/2007 Mississippi                     File corres w. Defs        0:08:51
                                                                      re settlement
Talia Kraemer              11/12/2007 Mississippi                     Review and                 0:25:05
                                                                      circulate media
                                                                      coverage of
                                                                      settlement
                                                                      agreement

Total: 11/12/2007
                                                                                       0.57


Talia Kraemer              11/13/2007 Mississippi                     Search for                 0:07:58
                                                                      information relating
                                                                      to NP John A. for
                                                                      SN
Talia Kraemer              11/13/2007 Mississippi                     Review and                 0:14:50
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              11/13/2007 Mississippi                     Go through                 2:57:42
                                                                      settlement
                                                                      agreement and IP
                                                                      to combine like
                                                                      provisions and
                                                                      identify due dates

Total: 11/13/2007
                                                                                       3.34


Talia Kraemer              11/14/2007 Mississippi                     Review and                 0:19:52
                                                                      circulate media
                                                                      coverage of
                                                                      relevant issues
Talia Kraemer              11/14/2007 Mississippi                     Intake call from           0:34:52
                                                                      Tupelo re abuse in
                                                                      care
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 541 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   337



User                      Date        Client                          Description             Time Spent



Total: 11/14/2007
                                                                                      0.91


Talia Kraemer              11/15/2007 Mississippi                     Compile list of            0:10:00
                                                                      intake callers who
                                                                      will want to
                                                                      comment on
                                                                      settlement
Talia Kraemer              11/15/2007 Mississippi                     Circulate media            0:19:41
                                                                      coverage of
                                                                      settlement
Talia Kraemer              11/15/2007 Mississippi                     Meeting with SN,           0:25:00
                                                                      ET, JP re status
Talia Kraemer              11/15/2007 Mississippi                     Create Tables of           0:52:12
                                                                      Contents for
                                                                      settlement
                                                                      agreement and IP
                                                                      for ease of
                                                                      reference
Talia Kraemer              11/15/2007 Mississippi                     Work on creating           2:45:51
                                                                      master reference
                                                                      document of all
                                                                      settlement
                                                                      provisions

Total: 11/15/2007
                                                                                      4.55


Talia Kraemer              11/19/2007 Mississippi                     Electronic mail to         0:11:51
                                                                      Defs re NP John A

Total: 11/19/2007
                                                                                      0.20


Talia Kraemer              11/20/2007 Mississippi                     Finalizing FOIA            0:21:33
                                                                      request re attys fees

Total: 11/20/2007
                                                                                      0.36


Talia Kraemer              11/28/2007 Mississippi                     Listen to messages         0:05:00
                                                                      from intake callers
                                                                      responding to
                                                                      settlement notice
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 542 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   338



User                      Date        Client                          Description            Time Spent



Total: 11/28/2007
                                                                                      0.08


Talia Kraemer              11/29/2007 Mississippi                     Listen to messages        0:13:52
                                                                      from callers
                                                                      responding to
                                                                      settlement notice

Total: 11/29/2007
                                                                                      0.23


Talia Kraemer              11/30/2007 Mississippi                     Prepare cover letter      0:15:00
                                                                      and mail settlement
                                                                      materials to contact
Talia Kraemer              11/30/2007 Mississippi                     Telephone calls           1:31:48
                                                                      with callers
                                                                      responding to
                                                                      settlement notice
                                                                      (returned 9 calls)

Total: 11/30/2007
                                                                                      1.78



Total: Talia Kraemer
                                                                                    411.90
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08    Page 543 of 658
5/7/2008                                       Children's Rights, Inc.
10:11 AM                                      User Defined Slip Listing                               Page   339



User                               Date        Client                          Description            Time Spent


Attorney/Para: Yasmin Grewal-Kok
Yasmin Grewal-K                       2/5/2007 Mississippi                     Telephone call with       0:06:00
                                                                               ET re defendant's
                                                                               motion to reopen
                                                                               discovery.
Yasmin Grewal-K                       2/5/2007 Mississippi                     Meeting with SL,          0:27:00
                                                                               ML, IL, ET re
                                                                               strategy for
                                                                               re-opening
                                                                               discovery motion.
Yasmin Grewal-K                       2/5/2007 Mississippi                     Research re               4:03:00
                                                                               defendant's motion
                                                                               to reopen discovery.

Total: 2/5/2007
                                                                                               4.60


Yasmin Grewal-K                       2/6/2007 Mississippi                     Conference call           0:45:00
                                                                               with ML, SN, ET
                                                                               and local counsel re
                                                                               status of case.
Yasmin Grewal-K                       2/6/2007 Mississippi                     Draft opposition to       8:20:00
                                                                               Defendants' motion
                                                                               to reopen discovery.

Total: 2/6/2007
                                                                                               9.08


Yasmin Grewal-K                       2/7/2007 Mississippi                     Conference call           0:40:00
                                                                               with ML, SL, SN,
                                                                               ET and PS, fellow
                                                                               re trial prep
Yasmin Grewal-K                       2/7/2007 Mississippi                     Draft oppositon to        7:03:00
                                                                               Defendants motion
                                                                               to re-open discovery

Total: 2/7/2007
                                                                                               7.72


Yasmin Grewal-K                       2/8/2007 Mississippi                     Meeting with SL re        0:10:00
                                                                               edits to opposition
                                                                               to Defendants'
                                                                               motion to reopen
                                                                               discovery.
Yasmin Grewal-K                       2/8/2007 Mississippi                     Meeting with SL           0:25:00
                                                                               and SN to discuss
                                                                               distinguishing
                                                                               Defendants'
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 544 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   340



User                      Date        Client                          Description             Time Spent


                                                                      citations in
                                                                      opposition to
                                                                      Defendants' motion
                                                                      to reopen discovery.
Yasmin Grewal-K              2/8/2007 Mississippi                     Edit opposition to         1:40:00
                                                                      defendants' motion
                                                                      to reopen discovery
                                                                      with SL changes.
Yasmin Grewal-K              2/8/2007 Mississippi                     Draft opposition to        4:00:00
                                                                      Defendant's motion
                                                                      to reopen discovery.
Yasmin Grewal-K              2/8/2007 Mississippi                     Research re                4:15:00
                                                                      opposition to
                                                                      Defendants' motion
                                                                      to reopen discovery.

Total: 2/8/2007
                                                                                      10.51


Yasmin Grewal-K              2/9/2007 Mississippi                     Final edits to Pls'        5:20:00
                                                                      opposition to
                                                                      Defendants' motion
                                                                      to reopen discovery.

Total: 2/9/2007
                                                                                       5.33


Yasmin Grewal-K             2/12/2007 Mississippi                     Telephone call with        0:10:00
                                                                      ET re opposition to
                                                                      Def. motion to
                                                                      reopen discovery.
Yasmin Grewal-K             2/12/2007 Mississippi                     Review Eric's latest       0:15:00
                                                                      draft of opposition
                                                                      to Def. motion to
                                                                      re-open discovery.
Yasmin Grewal-K             2/12/2007 Mississippi                     Finalizing and            11:00:00
                                                                      making final edits to
                                                                      opposition to
                                                                      Defendants'
                                                                      request to re-open
                                                                      discovery.

Total: 2/12/2007
                                                                                      11.42


Yasmin Grewal-K             2/13/2007 Mississippi                     Weekly conference          0:25:00
                                                                      call with MS team
                                                                      to discuss strategy.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 545 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   341



User                      Date        Client                          Description            Time Spent


Yasmin Grewal-K             2/13/2007 Mississippi                     Review and make           1:20:00
                                                                      final edits to
                                                                      opposition to D's
                                                                      motion to re-open
                                                                      discovery.
Yasmin Grewal-K             2/13/2007 Mississippi                     Draft motion in           9:00:00
                                                                      limine to exclude
                                                                      post-discovery
                                                                      evidence.

Total: 2/13/2007
                                                                                     10.75


Yasmin Grewal-K             2/14/2007 Mississippi                     Draft motion in           5:35:00
                                                                      limine to exclude
                                                                      post-discovery
                                                                      evidence.

Total: 2/14/2007
                                                                                      5.58


Yasmin Grewal-K             2/15/2007 Mississippi                     Meeting with ET re        0:06:00
                                                                      finalizing motion in
                                                                      limine.
Yasmin Grewal-K             2/15/2007 Mississippi                     Final edits to            0:20:00
                                                                      motion in limine.
Yasmin Grewal-K             2/15/2007 Mississippi                     Meeting with team         3:15:00
                                                                      re status of
                                                                      case/scheduling/tas
                                                                      ks.

Total: 2/15/2007
                                                                                      3.68


Yasmin Grewal-K             2/16/2007 Mississippi                     Meeting with ET           0:40:00
                                                                      and HB, paralegal,
                                                                      re FOFs.
Yasmin Grewal-K             2/16/2007 Mississippi                     Review final version      0:45:00
                                                                      of motion in limine
                                                                      to exclude
                                                                      post-discovery
                                                                      evidence.

Total: 2/16/2007
                                                                                      1.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 546 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   342



User                      Date        Client                          Description            Time Spent


Yasmin Grewal-K             2/20/2007 Mississippi                     Telephone call with       0:45:00
                                                                      MS team re PTO.
Yasmin Grewal-K             2/20/2007 Mississippi                     Draft and organize        6:00:00
                                                                      FOFs.

Total: 2/20/2007
                                                                                      6.75


Yasmin Grewal-K             2/21/2007 Mississippi                     Draft FOFs.               7:40:00


Total: 2/21/2007
                                                                                      7.67


Yasmin Grewal-K             2/22/2007 Mississippi                     Draft and organize        7:50:00
                                                                      FOFs.

Total: 2/22/2007
                                                                                      7.83


Yasmin Grewal-K             2/23/2007 Mississippi                     Draft and organize        6:15:00
                                                                      FOFs.

Total: 2/23/2007
                                                                                      6.25


Yasmin Grewal-K             2/26/2007 Mississippi                     Read Defendants'          0:20:00
                                                                      Reply in support of
                                                                      their motion to
                                                                      re-open discovery.
Yasmin Grewal-K             2/26/2007 Mississippi                     Draft and organize        4:00:00
                                                                      FOFs.

Total: 2/26/2007
                                                                                      4.33


Yasmin Grewal-K             2/27/2007 Mississippi                     Meeting team              1:10:00
                                                                      conference call with
                                                                      MS team.
Yasmin Grewal-K             2/27/2007 Mississippi                     Draft and organize        5:00:00
                                                                      FOFs.

Total: 2/27/2007
                                                                                      6.17
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 547 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   343



User                      Date        Client                          Description             Time Spent


Yasmin Grewal-K             2/28/2007 Mississippi                     Draft and organize         7:50:00
                                                                      FOFs.

Total: 2/28/2007
                                                                                       7.83


Yasmin Grewal-K              3/1/2007 Mississippi                     Draft and organize         6:55:00
                                                                      FOFs.

Total: 3/1/2007
                                                                                       6.92


Yasmin Grewal-K              3/2/2007 Mississippi                     Draft and organize         5:20:00
                                                                      FOFs.

Total: 3/2/2007
                                                                                       5.33


Yasmin Grewal-K              3/5/2007 Mississippi                     Meeting with ET re         0:10:00
                                                                      edits to FOFs.
Yasmin Grewal-K              3/5/2007 Mississippi                     Incorporate ET's           0:20:00
                                                                      edits into the FOFs.
Yasmin Grewal-K              3/5/2007 Mississippi                     Meeting with HB,           0:30:00
                                                                      paralegal, re
                                                                      additional cites that
                                                                      need to be added to
                                                                      FOFs.
Yasmin Grewal-K              3/5/2007 Mississippi                     Team meeting re            0:55:00
                                                                      status of case and
                                                                      allotment of tasks.

Total: 3/5/2007
                                                                                       1.92


Yasmin Grewal-K              3/6/2007 Mississippi                     Meeting with ET to         0:35:00
                                                                      discuss his edits to
                                                                      the FOF.
Yasmin Grewal-K              3/6/2007 Mississippi                     Weekly team                0:45:00
                                                                      conference call.
Yasmin Grewal-K              3/6/2007 Mississippi                     Edit, draft and            1:00:00
                                                                      organize FOFs.
Yasmin Grewal-K              3/6/2007 Mississippi                     Add Marva Lewis            2:25:00
                                                                      findings to FOF
                                                                      outline.
Yasmin Grewal-K              3/6/2007 Mississippi                     Incorporate ET's           4:00:00
                                                                      edits to FOFs.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 548 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                 Page   344



User                      Date        Client                          Description              Time Spent



Total: 3/6/2007
                                                                                        8.75


Yasmin Grewal-K              3/7/2007 Mississippi                     Add/organize Marva          3:00:00
                                                                      Lewis findings of
                                                                      fact into the FOF
                                                                      outline.
Yasmin Grewal-K              3/7/2007 Mississippi                     Edit and add Brister        4:15:00
                                                                      findings of fact into
                                                                      the FOF outline.

Total: 3/7/2007
                                                                                        7.25


Yasmin Grewal-K              3/8/2007 Mississippi                     Draft Crabtree              1:15:00
                                                                      findings of fact for
                                                                      FOF outline.
Yasmin Grewal-K              3/8/2007 Mississippi                     Edit and organize           6:00:00
                                                                      Brister findings of
                                                                      fact into FOF
                                                                      outline.

Total: 3/8/2007
                                                                                        7.25


Yasmin Grewal-K              3/9/2007 Mississippi                     Edit and organize           6:00:00
                                                                      FOF outline.

Total: 3/9/2007
                                                                                        6.00


Yasmin Grewal-K             3/13/2007 Mississippi                     Meeting with CR,            0:06:00
                                                                      paralegal, re
                                                                      Named Plaintiff Ws
                                                                      Findings of Fact.
Yasmin Grewal-K             3/13/2007 Mississippi                     Composed                    0:10:00
                                                                      electronic mail to
                                                                      JW, paralegal, re
                                                                      Def. witness cross
                                                                      folders for all
                                                                      management
                                                                      individuals.
Yasmin Grewal-K             3/13/2007 Mississippi                     Meeting with                2:00:00
                                                                      all-counsel at Loeb
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 549 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                  Page   345



User                      Date        Client                          Description               Time Spent



Total: 3/13/2007
                                                                                         2.27


Yasmin Grewal-K             3/15/2007 Mississippi                     Draft Crabtree               3:45:00
                                                                      findings for FOF
                                                                      outline.

Total: 3/15/2007
                                                                                         3.75


Yasmin Grewal-K             3/16/2007 Mississippi                     Draft Crabtree               7:30:00
                                                                      findings for FOF
                                                                      outline.

Total: 3/16/2007
                                                                                         7.50


Yasmin Grewal-K             3/19/2007 Mississippi                     Draft Crabtree               7:15:00
                                                                      findings for FOF
                                                                      outline.

Total: 3/19/2007
                                                                                         7.25


Yasmin Grewal-K             3/20/2007 Mississippi                     Team conference              0:47:00
                                                                      call.
Yasmin Grewal-K             3/20/2007 Mississippi                     Draft Crabtree               5:30:00
                                                                      findings for FOF
                                                                      outline.

Total: 3/20/2007
                                                                                         6.28


Yasmin Grewal-K             3/21/2007 Mississippi                     Meeting with ET              0:20:00
                                                                      and JW and HB,
                                                                      paralegals re FOF
                                                                      outline and citation
                                                                      problems.
Yasmin Grewal-K             3/21/2007 Mississippi                     Draft Crabtree               8:00:00
                                                                      findings for the FOF
                                                                      outline.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 550 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   346



User                      Date        Client                          Description            Time Spent



Total: 3/21/2007
                                                                                      8.33


Yasmin Grewal-K             3/22/2007 Mississippi                     All counsel weekly        1:00:00
                                                                      conference call.
Yasmin Grewal-K             3/22/2007 Mississippi                     Draft Crabtree            8:40:00
                                                                      findings for FOF
                                                                      outline.

Total: 3/22/2007
                                                                                      9.67


Yasmin Grewal-K             3/23/2007 Mississippi                     Talk with Priy re         0:08:00
                                                                      Crabtree findings.
Yasmin Grewal-K             3/23/2007 Mississippi                     Draft response to         6:00:00
                                                                      Def. MIL to
                                                                      preclude expert
                                                                      reports.

Total: 3/23/2007
                                                                                      6.13


Yasmin Grewal-K             3/26/2007 Mississippi                     Draft Opposition to       8:30:00
                                                                      Def. MIL to exclude
                                                                      expert report.

Total: 3/26/2007
                                                                                      8.50


Yasmin Grewal-K             3/27/2007 Mississippi                     Weekly case               0:20:00
                                                                      conference call.
Yasmin Grewal-K             3/27/2007 Mississippi                     Draft Opposition to       6:45:00
                                                                      Def. MIL to
                                                                      preclude expert
                                                                      reports.

Total: 3/27/2007
                                                                                      7.08


Yasmin Grewal-K             3/28/2007 Mississippi                     Edits to Opposition       0:50:00
                                                                      to Defs.' MIL to
                                                                      preclude expert
                                                                      reports.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 551 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   347



User                      Date        Client                          Description             Time Spent



Total: 3/28/2007
                                                                                       0.83


Yasmin Grewal-K              4/3/2007 Mississippi                     Weekly all counsel         0:50:00
                                                                      conference call.

Total: 4/3/2007
                                                                                       0.83


Yasmin Grewal-K             4/10/2007 Mississippi                     Weekly all-counsel         0:15:00
                                                                      conference call.

Total: 4/10/2007
                                                                                       0.25


Yasmin Grewal-K             4/13/2007 Mississippi                     Research legal             4:00:00
                                                                      opinions of Defs.'
                                                                      choice for mediator.

Total: 4/13/2007
                                                                                       4.00


Yasmin Grewal-K             4/17/2007 Mississippi                     Weekly all counsel         0:10:00
                                                                      conference call re
                                                                      mediators.
Yasmin Grewal-K             4/17/2007 Mississippi                     Research Def.              2:20:00
                                                                      mediator proposal

Total: 4/17/2007
                                                                                       2.50


Yasmin Grewal-K             5/15/2007 Mississippi                     Conference call            0:30:00
                                                                      with all counsel re
                                                                      fairness hearing.

Total: 5/15/2007
                                                                                       0.50


Yasmin Grewal-K             5/22/2007 Mississippi                     Weekly all-counsel         0:28:00
                                                                      conference call.
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 552 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   348



User                      Date        Client                          Description             Time Spent



Total: 5/22/2007
                                                                                       0.47


Yasmin Grewal-K             5/29/2007 Mississippi                     Weekly all-counsel         0:36:00
                                                                      conference call.

Total: 5/29/2007
                                                                                       0.60


Yasmin Grewal-K              6/5/2007 Mississippi                     Review DFCS's              1:00:00
                                                                      "Blueprint for
                                                                      Success" draft
                                                                      reform plan.

Total: 6/5/2007
                                                                                       1.00


Yasmin Grewal-K             6/11/2007 Mississippi                     Weekly all-counsel         0:30:00
                                                                      conference call.

Total: 6/11/2007
                                                                                       0.50


Yasmin Grewal-K             6/19/2007 Mississippi                     Weekly all counsel         0:14:00
                                                                      conference call.

Total: 6/19/2007
                                                                                       0.23


Yasmin Grewal-K             7/10/2007 Mississippi                     Weekly all-counsel         0:20:00
                                                                      conference call.

Total: 7/10/2007
                                                                                       0.33


Yasmin Grewal-K             7/13/2007 Mississippi                     All counsel                0:25:00
                                                                      teleconference call.

Total: 7/13/2007
                                                                                       0.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 553 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                                Page   349



User                      Date        Client                          Description             Time Spent


Yasmin Grewal-K             7/17/2007 Mississippi                     All counsel weekly         0:30:00
                                                                      conference call (I
                                                                      got on late)

Total: 7/17/2007
                                                                                       0.50


Yasmin Grewal-K             7/19/2007 Mississippi                     Review 2nd version         0:36:00
                                                                      of MHDS' draft
                                                                      remedial plan.

Total: 7/19/2007
                                                                                       0.60


Yasmin Grewal-K             7/20/2007 Mississippi                     All counsel                0:35:00
                                                                      telephone
                                                                      conference call re
                                                                      MDHS reform plan.

Total: 7/20/2007
                                                                                       0.58


Yasmin Grewal-K              8/1/2007 Mississippi                     Read Plaintiffs'           0:10:00
                                                                      response to Defs.'
                                                                      draft remedial plan.

Total: 8/1/2007
                                                                                       0.17


Yasmin Grewal-K              8/3/2007 Mississippi                     Read email                 0:07:00
                                                                      exchanges between
                                                                      ET and Defs.
                                                                      counsel re COA
                                                                      accreditation issues.

Total: 8/3/2007
                                                                                       0.12


Yasmin Grewal-K              8/6/2007 Mississippi                     Read ET's remedial         0:10:00
                                                                      plan and email re
                                                                      strategy.

Total: 8/6/2007
                                                                                       0.17
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 554 of 658
5/7/2008                              Children's Rights, Inc.
10:11 AM                             User Defined Slip Listing                               Page   350



User                      Date        Client                          Description            Time Spent


Yasmin Grewal-K              8/8/2007 Mississippi                     Meeting with ET,          0:25:00
                                                                      SN and PS,
                                                                      Skadden Fellow, re
                                                                      work distribution; 5
                                                                      Issues Memo.
Yasmin Grewal-K              8/8/2007 Mississippi                     All counsel strategy      1:15:00
                                                                      meeting; remedy
                                                                      trial prep.

Total: 8/8/2007
                                                                                      1.67


Yasmin Grewal-K             8/28/2007 Mississippi                     Conference call           0:15:00
                                                                      with MS team to
                                                                      discuss strategy for
                                                                      reform plan/COA
                                                                      plan.

Total: 8/28/2007
                                                                                      0.25


Yasmin Grewal-K             8/29/2007 Mississippi                     Review MRL letter         0:05:00
                                                                      to Judge Anderson
                                                                      re COA plan.

Total: 8/29/2007
                                                                                      0.08


Yasmin Grewal-K             8/31/2007 Mississippi                     Read minutes of           0:05:00
                                                                      weekly conference
                                                                      call that I missed.

Total: 8/31/2007
                                                                                      0.08


Yasmin Grewal-K              9/4/2007 Mississippi                     Weekly all counsel        0:10:00
                                                                      conference call.

Total: 9/4/2007
                                                                                      0.17


Yasmin Grewal-K              9/5/2007 Mississippi                     Team meeting (I           0:30:00
                                                                      was 10 minutes late)
       Case 3:04-cv-00251-HSO-ASH     Document 472-5          Filed 05/09/08   Page 555 of 658
5/7/2008                               Children's Rights, Inc.
10:11 AM                              User Defined Slip Listing                                Page   351



User                       Date        Client                          Description             Time Spent



Total: 9/5/2007
                                                                                        0.50


Yasmin Grewal-K              9/27/2007 Mississippi                     Read minutes from          0:07:00
                                                                       weekly conference
                                                                       call.
Yasmin Grewal-K              9/27/2007 Mississippi                     Read press re              0:08:00
                                                                       systemic issues.

Total: 9/27/2007
                                                                                        0.25


Yasmin Grewal-K              10/2/2007 Mississippi                     Weekly all counsel         0:18:00
                                                                       call.

Total: 10/2/2007
                                                                                        0.30


Yasmin Grewal-K              10/9/2007 Mississippi                     Weekly all counsel         0:18:00
                                                                       conference call.

Total: 10/9/2007
                                                                                        0.30



Total: Yasmin Grewal-Kok
                                                                                      245.30



Grand Total
                                                                                     4064.45
       Case 3:04-cv-00251-HSO-ASH           Document 472-5           Filed 05/09/08    Page 556 of 658
5/7/2008                                     Children's Rights, Inc.
10:13 AM                                    User Defined Slip Listing                                Page    1




                                                Selection Criteria

Slip.Date           12/1/2007 - 1/4/2008
Case.Selection      Include: Mississippi


User                             Date        Client                           Description            Time Spent


Attorney/Para: Aaron Sussman
Aaron Sussman                     12/20/2007 Mississippi                      Counting number of        0:20:00
                                                                              depostions and
                                                                              motions filed for TK
Aaron Sussman                     12/20/2007 Mississippi                      cite checked memo         1:10:00
                                                                              in support of final
                                                                              approval for TK

Total: 12/20/2007
                                                                                              1.50



Total: Aaron Sussman
                                                                                              1.50
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 557 of 658
5/7/2008                                   Children's Rights, Inc.
10:14 AM                                  User Defined Slip Listing                               Page    2



User                           Date        Client                          Description            Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                    12/5/2007 Mississippi                     Electronic mail           0:12:00
                                                                           MRL, SN regarding
                                                                           monitor, DHS issues
Eric Thompson                    12/5/2007 Mississippi                     Telephone call with       0:18:00
                                                                           RF regarding
                                                                           monitor

Total: 12/5/2007
                                                                                           0.50


Eric Thompson                    12/6/2007 Mississippi                     Conference call           0:19:51
                                                                           with co-counsel re:
                                                                           settlement
                                                                           approval; fees
Eric Thompson                    12/6/2007 Mississippi                     Telephone call with       0:26:08
                                                                           class member re:
                                                                           DHS
Eric Thompson                    12/6/2007 Mississippi                     Meeting with MRL,         2:30:31
                                                                           SN. JP, monitor re:
                                                                           monitoring plan
                                                                           (MRL and I left
                                                                           early at different
                                                                           times)

Total: 12/6/2007
                                                                                           3.28


Eric Thompson                   12/11/2007 Mississippi                     Telephone call with       0:13:00
                                                                           SN regarding
                                                                           fairness hearing
                                                                           prep.

Total: 12/11/2007
                                                                                           0.22


Eric Thompson                   12/12/2007 Mississippi                     Telephone call with       0:12:00
                                                                           MRL, SN regarding
                                                                           fairness hearing
Eric Thompson                   12/12/2007 Mississippi                     Edit motion, memo         1:37:00
                                                                           and declaration
                                                                           regarding final
                                                                           approval

Total: 12/12/2007
                                                                                           1.82
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 558 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page    3



User                      Date        Client                          Description              Time Spent


Eric Thompson              12/18/2007 Mississippi                     Telephone call with         0:05:00
                                                                      JP regarding fees
                                                                      declaration
Eric Thompson              12/18/2007 Mississippi                     Edit draft motion           0:13:00
                                                                      regarding final
                                                                      approval
Eric Thompson              12/18/2007 Mississippi                     Review settlement           0:56:00
                                                                      comments
Eric Thompson              12/18/2007 Mississippi                     Edit settlement             2:37:00
                                                                      summary;
                                                                      telephone call with
                                                                      SN regarding same
Eric Thompson              12/18/2007 Mississippi                     Draft memo in               3:55:00
                                                                      support of
                                                                      settlement
                                                                      regarding objection

Total: 12/18/2007
                                                                                        7.77


Eric Thompson              12/19/2007 Mississippi                     Review settlement           0:11:00
                                                                      comments
Eric Thompson              12/19/2007 Mississippi                     Edit memo in                2:40:00
                                                                      support of final
                                                                      approval

Total: 12/19/2007
                                                                                        2.85


Eric Thompson              12/20/2007 Mississippi                     Finalize final              0:11:00
                                                                      approval
                                                                      submissions

Total: 12/20/2007
                                                                                        0.18



Total: Eric Thompson
                                                                                       16.62
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08     Page 559 of 658
5/7/2008                                      Children's Rights, Inc.
10:14 AM                                     User Defined Slip Listing                                 Page    4



User                              Date        Client                          Description              Time Spent


Attorney/Para: Jessica Polansky
Jessica Polansk                     12/4/2007 Mississippi                     Prepare for                 0:34:00
                                                                              discussion with
                                                                              Defs re named
                                                                              plaintiffs and draft
                                                                              list of each of their
                                                                              needs; attempt
                                                                              telephone call with
                                                                              NP
Jessica Polansk                     12/4/2007 Mississippi                     Meeting with SN &           0:42:52
                                                                              TK re named
                                                                              plaintiffs and
                                                                              meetings in MS

Total: 12/4/2007
                                                                                                1.28


Jessica Polansk                     12/5/2007 Mississippi                     Telephone call with         0:12:00
                                                                              SN and opposing
                                                                              counsel re NPs

Total: 12/5/2007
                                                                                                0.20


Jessica Polansk                     12/6/2007 Mississippi                     Telephone                   0:21:25
                                                                              conference with full
                                                                              team re strategy to
                                                                              get funding for
                                                                              consent decree
Jessica Polansk                     12/6/2007 Mississippi                     Meeting with                2:05:18
                                                                              monitor & MRL (left
                                                                              early), ET, and SN

Total: 12/6/2007
                                                                                                2.45


Jessica Polansk                     12/7/2007 Mississippi                     Review notes from           0:15:29
                                                                              meeting with
                                                                              monitor and follow
                                                                              up on issues raised
                                                                              at the meeting

Total: 12/7/2007
                                                                                                0.26
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 560 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                Page    5



User                      Date        Client                          Description             Time Spent


Jessica Polansk            12/12/2007 Mississippi                     Draft                      1:08:14
                                                                      correspondence to
                                                                      defendants
                                                                      regarding Named
                                                                      Plaintiff John A.

Total: 12/12/2007
                                                                                       1.14


Jessica Polansk            12/13/2007 Mississippi                     Review emails re           0:09:00
                                                                      NPs, FOIA, etc
Jessica Polansk            12/13/2007 Mississippi                     Revise and finalize        0:26:00
                                                                      letter to defs re NP
                                                                      John A.
Jessica Polansk            12/13/2007 Mississippi                     Read and analyze           1:02:28
                                                                      documents re NPs

Total: 12/13/2007
                                                                                       1.62


Jessica Polansk            12/14/2007 Mississippi                     Conference call            0:26:00
                                                                      with MRL, ET, SN,
                                                                      and co-counsel re
                                                                      meeting with defs.
                                                                      and re fairness
                                                                      hearing

Total: 12/14/2007
                                                                                       0.43


Jessica Polansk            12/17/2007 Mississippi                     Read press re              0:02:26
                                                                      mental health
                                                                      centers possibly
                                                                      closing
Jessica Polansk            12/17/2007 Mississippi                     Telephone call with        0:14:24
                                                                      defendants re NP
                                                                      and email SN with
                                                                      update
Jessica Polansk            12/17/2007 Mississippi                     Telephone call with        0:36:00
                                                                      NP

Total: 12/17/2007
                                                                                       0.88


Jessica Polansk            12/18/2007 Mississippi                     Edit settlement            0:24:11
                                                                      overview
                                                                      documents; read
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 561 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page    6



User                      Date        Client                          Description              Time Spent


                                                                      letters filed with the
                                                                      court in support of
                                                                      settlement (2 min)
Jessica Polansk            12/18/2007 Mississippi                     Read and analyze            2:36:56
                                                                      files re NPs, talk
                                                                      w/SN re NPs (10
                                                                      min), read
                                                                      correspondence
                                                                      from defs re NPs,
                                                                      research stipend
                                                                      provision of service
                                                                      agreement for NP

Total: 12/18/2007
                                                                                        3.02


Jessica Polansk            12/19/2007 Mississippi                     Read and respond            0:31:00
                                                                      to emails re
                                                                      settlement
                                                                      objections
Jessica Polansk            12/19/2007 Mississippi                     Read updated files          0:38:00
                                                                      re NPs
Jessica Polansk            12/19/2007 Mississippi                     Research and edit           2:46:00
                                                                      for motion to
                                                                      approval settlement
                                                                      agreement

Total: 12/19/2007
                                                                                        3.92


Jessica Polansk            12/20/2007 Mississippi                     Revise summary              3:50:00
                                                                      documents re
                                                                      settlement
                                                                      agreement
Jessica Polansk            12/20/2007 Mississippi                     Revise and finalize         7:19:00
                                                                      motion to approve
                                                                      settlement
                                                                      agreement

Total: 12/20/2007
                                                                                       11.15


Jessica Polansk            12/21/2007 Mississippi                     Research info re            0:14:59
                                                                      start up grant for NP
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 562 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page    7



User                      Date        Client                          Description              Time Spent


Jessica Polansk            12/21/2007 Mississippi                     Telephone call with         0:24:51
                                                                      clerk's office re
                                                                      motion to seal;
                                                                      telephone call to
                                                                      source (4 min)
Jessica Polansk            12/21/2007 Mississippi                     Draft joint motion to       2:21:35
                                                                      seal NP service
                                                                      agreements

Total: 12/21/2007
                                                                                        3.02


Jessica Polansk            12/24/2007 Mississippi                     review materials re         0:09:00
                                                                      pro hac vice
                                                                      admission
Jessica Polansk            12/24/2007 Mississippi                     Read updated NP             0:22:00
                                                                      files
Jessica Polansk            12/24/2007 Mississippi                     Telephone calls             0:51:00
                                                                      with named
                                                                      plaintiffs and follow
                                                                      up with TK (6 min)
                                                                      and email team re
                                                                      phone
                                                                      conversations

Total: 12/24/2007
                                                                                        1.37


Jessica Polansk            12/26/2007 Mississippi                     Telephone call with         0:03:33
                                                                      defs to get on NP
                                                                      contact list
Jessica Polansk            12/26/2007 Mississippi                     Annotate overview           0:24:12
                                                                      document re
                                                                      settlement; review
                                                                      task list
Jessica Polansk            12/26/2007 Mississippi                     Read NP files re            1:32:32
                                                                      John A.

Total: 12/26/2007
                                                                                        2.00


Jessica Polansk            12/27/2007 Mississippi                     Read and respond            0:06:00
                                                                      to emails re case
Jessica Polansk            12/27/2007 Mississippi                     Telephone call with         0:21:00
                                                                      NP
Jessica Polansk            12/27/2007 Mississippi                     Draft pro hac vice          1:28:00
                                                                      application
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 563 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page    8



User                      Date        Client                          Description              Time Spent



Total: 12/27/2007
                                                                                        1.92


Jessica Polansk              1/2/2008 Mississippi                     Talk with SN re             0:12:00
                                                                      fees research and
                                                                      NP
Jessica Polansk              1/2/2008 Mississippi                     Read Defs' motion           0:19:00
                                                                      to approve
                                                                      settlement,
                                                                      correspondence
                                                                      from source re
                                                                      director and re
                                                                      MDHS programs,
                                                                      order on motion to
                                                                      seal
Jessica Polansk              1/2/2008 Mississippi                     Read and respond            0:36:00
                                                                      to emails re FOIA,
                                                                      case status, NPs,
                                                                      settlement, fairness
                                                                      hearing

Total: 1/2/2008
                                                                                        1.12


Jessica Polansk              1/3/2008 Mississippi                     Research statute in         0:13:04
                                                                      preparation for
                                                                      fairness hearing

Total: 1/3/2008
                                                                                        0.22


Jessica Polansk              1/4/2008 Mississippi                     Read order re fee           0:05:00
                                                                      deadline, press re
                                                                      fairness hearing
Jessica Polansk              1/4/2008 Mississippi                     Telephone call with         0:08:00
                                                                      SN re fairness
                                                                      hearing and
                                                                      consent decree
Jessica Polansk              1/4/2008 Mississippi                     Finalizing consent          0:56:00
                                                                      decree for filing with
                                                                      the court
Jessica Polansk              1/4/2008 Mississippi                     Review files and            1:04:00
                                                                      notes re NPs to
                                                                      prepare for meeting
                                                                      with Defs Jan. 8
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 564 of 658
5/7/2008                             Children's Rights, Inc.
10:14 AM                            User Defined Slip Listing                              Page    9



User                      Date      Client                           Description           Time Spent



Total: 1/4/2008
                                                                                    2.21



Total: Jessica Polansky
                                                                                   38.21
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 565 of 658
5/7/2008                                   Children's Rights, Inc.
10:14 AM                                  User Defined Slip Listing                              Page   10



User                           Date        Client                          Description           Time Spent


Attorney/Para: Katie Linehan
Katie Linehan                     1/2/2008 Mississippi                     Meeting with SL          0:20:00
                                                                           and TK to discuss
                                                                           MS fees application
                                                                           tasks.

Total: 1/2/2008
                                                                                          0.33



Total: Katie Linehan
                                                                                          0.33
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08   Page 566 of 658
5/7/2008                                     Children's Rights, Inc.
10:14 AM                                    User Defined Slip Listing                              Page   11



User                            Date        Client                           Description           Time Spent


Attorney/Para: Mae Ackerman-Brimberg
Mae Ackerman-B                   12/19/2007 Mississippi                      Search for               0:13:59
                                                                             education
                                                                             enrollment
                                                                             requirements in
                                                                             DFCS policy
                                                                             manual (in
                                                                             response to
                                                                             objection to
                                                                             settlement
                                                                             agreement about
                                                                             FP homeschooling)
Mae Ackerman-B                   12/19/2007 Mississippi                      Read objections to       0:21:21
                                                                             settlement
                                                                             agreement
Mae Ackerman-B                   12/19/2007 Mississippi                      Research George          1:28:01
                                                                             Whitten (re
                                                                             objection to
                                                                             settlement)

Total: 12/19/2007
                                                                                            2.06


Mae Ackerman-B                   12/20/2007 Mississippi                      Research COA &           1:37:28
                                                                             CWLA standards
                                                                             (for response to
                                                                             George Whitten
                                                                             objection to
                                                                             settlement)

Total: 12/20/2007
                                                                                            1.62


Mae Ackerman-B                   12/27/2007 Mississippi                      Electronic mail to       0:11:15
                                                                             team encl. Defs.'
                                                                             Motion for Final
                                                                             Approval & Opp. to
                                                                             Objection of
                                                                             G.Whitten

Total: 12/27/2007
                                                                                            0.19



Total: Mae Ackerman-Brimberg
                                                                                            3.87
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 567 of 658
5/7/2008                                      Children's Rights, Inc.
10:14 AM                                     User Defined Slip Listing                                 Page   12



User                             Date         Client                          Description              Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      12/4/2007 Mississippi                     Review COA                  0:10:00
                                                                              memo, memo to
                                                                              co-counsel
                                                                              regarding same
Marcia R Lowry                      12/4/2007 Mississippi                     Telephone call with         0:15:00
                                                                              SN, ET regarding
                                                                              funding for settle

Total: 12/4/2007
                                                                                                0.42


Marcia R Lowry                      12/6/2007 Mississippi                     Conference with             0:20:00
                                                                              co-counsel
                                                                              regarding impl.

Total: 12/6/2007
                                                                                                0.33


Marcia R Lowry                     12/11/2007 Mississippi                     Review responses            0:15:00
                                                                              regarding fairness
                                                                              hearing

Total: 12/11/2007
                                                                                                0.25


Marcia R Lowry                     12/12/2007 Mississippi                     Conference with             0:10:00
                                                                              SN, ET regarding
                                                                              fairness hearing

Total: 12/12/2007
                                                                                                0.17


Marcia R Lowry                     12/14/2007 Mississippi                     Telephone call with         0:20:00
                                                                              co-counsel
                                                                              regarding fairness
                                                                              hearing

Total: 12/14/2007
                                                                                                0.33


Marcia R Lowry                     12/18/2007 Mississippi                     Write memo to/from          0:30:00
                                                                              SN, ET regarding
                                                                              objections
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 568 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                Page   13



User                      Date        Client                          Description             Time Spent



Total: 12/18/2007
                                                                                       0.50


Marcia R Lowry             12/19/2007 Mississippi                     Conference with            0:20:00
                                                                      RF, SN regarding
                                                                      objs., memo
                                                                      regarding same
Marcia R Lowry             12/19/2007 Mississippi                     Review comments            0:40:00
                                                                      on settle, memo
                                                                      co-counsel
                                                                      regarding same
Marcia R Lowry             12/19/2007 Mississippi                     Review motion              1:40:00
                                                                      approve settle

Total: 12/19/2007
                                                                                       2.67


Marcia R Lowry             12/20/2007 Mississippi                     Edit fairness brief        1:35:00


Total: 12/20/2007
                                                                                       1.58


Marcia R Lowry             12/21/2007 Mississippi                     Write memo to SN           0:20:00
                                                                      regarding hearing

Total: 12/21/2007
                                                                                       0.33


Marcia R Lowry             12/28/2007 Mississippi                     Telephone call with        0:15:00
                                                                      RF regarding
                                                                      hearing, fees

Total: 12/28/2007
                                                                                       0.25


Marcia R Lowry               1/2/2008 Mississippi                     Conference with SN         0:15:00
                                                                      regarding fairness
                                                                      hearing
Marcia R Lowry               1/2/2008 Mississippi                     Review comment             0:20:00
                                                                      regarding settle
Marcia R Lowry               1/2/2008 Mississippi                     Prepare for fairness       0:40:00
                                                                      hearing
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 569 of 658
5/7/2008                                   Children's Rights, Inc.
10:14 AM                                  User Defined Slip Listing                               Page   14



User                           Date        Client                          Description            Time Spent



Total: 1/2/2008
                                                                                           1.25


Marcia R Lowry                    1/3/2008 Mississippi                     Telephone call with       0:10:00
                                                                           WD regarding
                                                                           hearing
Marcia R Lowry                    1/3/2008 Mississippi                     Prepare for hearing       1:09:00


Total: 1/3/2008
                                                                                           1.32


Marcia R Lowry                    1/4/2008 Mississippi                     Prepare for court,        1:30:00
                                                                           conference with
                                                                           SN, WD regarding
                                                                           same
Marcia R Lowry                    1/4/2008 Mississippi                     Court                     2:45:00


Total: 1/4/2008
                                                                                           4.25



Total: Marcia Robinson Lowry
                                                                                         13.65
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08   Page 570 of 658
5/7/2008                                  Children's Rights, Inc.
10:14 AM                                 User Defined Slip Listing                               Page   15



User                          Date        Client                          Description            Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                    12/4/2007 Mississippi                     Electronic mail           0:05:00
                                                                          source from MS re
                                                                          settlement and Jan
                                                                          hearing
Shirim, Esq.                    12/4/2007 Mississippi                     Meeting with              0:24:22
                                                                          Jessica and Talia
                                                                          about NP status
                                                                          and what we need
                                                                          toaccomplish on
                                                                          their behalf
Shirim, Esq.                    12/4/2007 Mississippi                     Talk with JP and          0:40:00
                                                                          email KR re needs
                                                                          of current NPs
Shirim, Esq.                    12/4/2007 Mississippi                     Draft up notes from       0:45:00
                                                                          meetings in MS
                                                                          with sources on
                                                                          11/28 & 11/29
Shirim, Esq.                    12/4/2007 Mississippi                     Draft motion for          1:38:55
                                                                          final approval

Total: 12/4/2007
                                                                                          3.56


Shirim, Esq.                    12/5/2007 Mississippi                     Telephone call with       0:08:00
                                                                          KR re NP JA
Shirim, Esq.                    12/5/2007 Mississippi                     Prepare for first         1:30:00
                                                                          meeting wiith
                                                                          monitor
Shirim, Esq.                    12/5/2007 Mississippi                     Draft motion for          1:54:31
                                                                          final approval
Shirim, Esq.                    12/5/2007 Mississippi                     Draft papers for          2:05:07
                                                                          fairness hearing

Total: 12/5/2007
                                                                                          5.63


Shirim, Esq.                    12/6/2007 Mississippi                     Prepare material to       0:10:00
                                                                          send to monitor as
                                                                          background on case
Shirim, Esq.                    12/6/2007 Mississippi                     Telephone call with       0:19:00
                                                                          team re speaking
                                                                          with legislature
                                                                          about agreement
Shirim, Esq.                    12/6/2007 Mississippi                     Review press re           0:20:37
                                                                          recent budget
                                                                          requests and
                                                                          review our most
                                                                          recent information
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 571 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page   16



User                      Date        Client                          Description              Time Spent


                                                                      about DFCS
                                                                      requests and
                                                                      appropriations.
Shirim, Esq.                12/6/2007 Mississippi                     Meeting with                3:48:41
                                                                      monitor

Total: 12/6/2007
                                                                                        4.64


Shirim, Esq.               12/11/2007 Mississippi                     Compile and review          0:45:00
                                                                      polic docs and
                                                                      various reports to
                                                                      provide to monitor
Shirim, Esq.               12/11/2007 Mississippi                     Revise mem in               0:59:06
                                                                      support of final
                                                                      approval

Total: 12/11/2007
                                                                                        1.74


Shirim, Esq.               12/12/2007 Mississippi                     Talk with MRL               0:20:16
                                                                      about fairness
                                                                      hearing with ET in
                                                                      part of discussion
Shirim, Esq.               12/12/2007 Mississippi                     Telephone call with         0:26:10
                                                                      source about terms
                                                                      of the agreement
                                                                      and the settlement
                                                                      fairness hearing
Shirim, Esq.               12/12/2007 Mississippi                     edit mem of law in          0:40:00
                                                                      support of joint
                                                                      motion
Shirim, Esq.               12/12/2007 Mississippi                     Draft affidavit and         2:10:35
                                                                      edit papers in
                                                                      support of final
                                                                      agreement
Shirim, Esq.               12/12/2007 Mississippi                     Prepare for fairness        3:01:05
                                                                      hearing

Total: 12/12/2007
                                                                                        6.65


Shirim, Esq.               12/13/2007 Mississippi                     Review response to          0:05:00
                                                                      FOIA request and
                                                                      our reply
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 572 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                Page   17



User                      Date        Client                          Description             Time Spent


Shirim, Esq.               12/13/2007 Mississippi                     Electronic mail            0:05:00
                                                                      team re conference
                                                                      call to discuss
                                                                      fairness hearing
Shirim, Esq.               12/13/2007 Mississippi                     Review budget              0:07:00
                                                                      docs sent by source
Shirim, Esq.               12/13/2007 Mississippi                     edit letter re needs       0:10:00
                                                                      of NP JA
Shirim, Esq.               12/13/2007 Mississippi                     Draft legilsative          2:45:00
                                                                      briefing piece oin
                                                                      settlement

Total: 12/13/2007
                                                                                       3.20


Shirim, Esq.               12/17/2007 Mississippi                     Draft two memos            3:00:00
                                                                      (one long, one
                                                                      short) to be used to
                                                                      educate interested
                                                                      parties about the
                                                                      Agreement

Total: 12/17/2007
                                                                                       3.00


Shirim, Esq.               12/18/2007 Mississippi                     Review NP                  0:41:54
                                                                      correspondence
                                                                      and recent
                                                                      production
Shirim, Esq.               12/18/2007 Mississippi                     Revise settlement          1:15:57
                                                                      overview docs
Shirim, Esq.               12/18/2007 Mississippi                     Draft portion of           3:50:37
                                                                      memo in support re
                                                                      response to
                                                                      settlement
                                                                      agreement
Shirim, Esq.               12/18/2007 Mississippi                     Finalizing all papers      4:33:06
                                                                      for settlement
                                                                      hearing

Total: 12/18/2007
                                                                                      10.36


Shirim, Esq.               12/19/2007 Mississippi                     Draft and revise           7:00:53
                                                                      memo in support of
                                                                      agreement
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 573 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                               Page   18



User                      Date        Client                          Description            Time Spent



Total: 12/19/2007
                                                                                      7.01


Shirim, Esq.                 1/2/2008 Mississippi                     Prepare for fairness      3:40:27
                                                                      hearing

Total: 1/2/2008
                                                                                      3.67


Shirim, Esq.                 1/3/2008 Mississippi                     Telephone call with       0:06:00
                                                                      WD and MRL re
                                                                      fairness hearing
Shirim, Esq.                 1/3/2008 Mississippi                     Telephone calls           0:10:00
                                                                      with advocates re
                                                                      fairness hearing
Shirim, Esq.                 1/3/2008 Mississippi                     Read report re            0:40:00
                                                                      adequacy of
                                                                      representation of
                                                                      children in Youth
                                                                      Court proceedings
Shirim, Esq.                 1/3/2008 Mississippi                     Prepare for hearing       1:09:00


Total: 1/3/2008
                                                                                      2.09


Shirim, Esq.                 1/4/2008 Mississippi                     Prepare for court,        1:30:00
                                                                      conference with
                                                                      MRL, WD regarding
                                                                      same
Shirim, Esq.                 1/4/2008 Mississippi                     Court                     2:45:00


Total: 1/4/2008
                                                                                      4.25



Total: Shirim, Esq.
                                                                                     55.80
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 574 of 658
5/7/2008                                   Children's Rights, Inc.
10:14 AM                                  User Defined Slip Listing                               Page   19



User                           Date        Client                          Description            Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                    12/3/2007 Mississippi                     Intake caller             0:07:00
                                                                           responding to notice
Talia Kraemer                    12/3/2007 Mississippi                     Take notes from           0:10:00
                                                                           messages
                                                                           responding to
                                                                           settlement notice
Talia Kraemer                    12/3/2007 Mississippi                     Return calls from         0:31:13
                                                                           callers responding
                                                                           to settlement notice
                                                                           (5 calls)

Total: 12/3/2007
                                                                                           0.81


Talia Kraemer                    12/4/2007 Mississippi                     Review file of NP         0:09:00
                                                                           John A
Talia Kraemer                    12/4/2007 Mississippi                     Search for info re        0:21:36
                                                                           FY 08 DHS budget
Talia Kraemer                    12/4/2007 Mississippi                     Meeting with SN           0:42:42
                                                                           and JP re NP status

Total: 12/4/2007
                                                                                           1.22


Talia Kraemer                    12/6/2007 Mississippi                     Telephone calls           0:15:00
                                                                           responding to
                                                                           notice (returned 2
                                                                           calls)
Talia Kraemer                    12/6/2007 Mississippi                     Prepare list of           1:30:00
                                                                           contacts for monitor

Total: 12/6/2007
                                                                                           1.75


Talia Kraemer                   12/10/2007 Mississippi                     Return calls of           1:59:30
                                                                           callers responding
                                                                           to settlement notice

Total: 12/10/2007
                                                                                           1.99


Talia Kraemer                   12/11/2007 Mississippi                     Telephone call with       0:10:35
                                                                           notice recipient
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 575 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                Page   20



User                      Date        Client                          Description             Time Spent


Talia Kraemer              12/11/2007 Mississippi                     Search for corres          0:18:34
                                                                      betw parties or with
                                                                      mediator re
                                                                      mediator role and
                                                                      compensation
Talia Kraemer              12/11/2007 Mississippi                     Compile materials          0:30:36
                                                                      to send to monitor

Total: 12/11/2007
                                                                                       1.00


Talia Kraemer              12/12/2007 Mississippi                     Telephone call with        0:05:00
                                                                      notice recipient.
Talia Kraemer              12/12/2007 Mississippi                     Compile                    1:40:29
                                                                      background
                                                                      materials to send to
                                                                      monitor

Total: 12/12/2007
                                                                                       1.75


Talia Kraemer              12/13/2007 Mississippi                     Search for FOIA            0:07:01
                                                                      contact at DHS
Talia Kraemer              12/13/2007 Mississippi                     Work on identifying        0:16:57
                                                                      current caseloads
                                                                      and necessary
                                                                      increases in staffing
                                                                      for MS to conform
                                                                      with settlement
                                                                      requirements
Talia Kraemer              12/13/2007 Mississippi                     Write memo to SN           1:00:00
                                                                      re DHS caseloads
                                                                      and estimate of
                                                                      number of workers
                                                                      needed
Talia Kraemer              12/13/2007 Mississippi                     Work on identifying        2:36:52
                                                                      actual current
                                                                      caseloads to
                                                                      provide estimate of
                                                                      number of workers
                                                                      needed to meet
                                                                      settlement
                                                                      provisions

Total: 12/13/2007
                                                                                       4.01
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 576 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                Page   21



User                      Date        Client                          Description             Time Spent


Talia Kraemer              12/17/2007 Mississippi                     Update memo re             0:10:00
                                                                      workload estimate
Talia Kraemer              12/17/2007 Mississippi                     Work on joint              0:51:58
                                                                      motion for final
                                                                      approval

Total: 12/17/2007
                                                                                       1.04


Talia Kraemer              12/18/2007 Mississippi                     Edit joint motion for      4:00:00
                                                                      final approval and
                                                                      related docs
Talia Kraemer              12/18/2007 Mississippi                     Edit joint motion for      5:56:55
                                                                      final approval and
                                                                      related docs

Total: 12/18/2007
                                                                                       9.95


Talia Kraemer              12/19/2007 Mississippi                     Work on motion for         5:50:53
                                                                      final approval of
                                                                      settlement

Total: 12/19/2007
                                                                                       5.85


Talia Kraemer              12/20/2007 Mississippi                     Work on motion for         6:23:35
                                                                      final approval
Talia Kraemer              12/20/2007 Mississippi                     Finalizing motion          6:30:00
                                                                      for final approval
                                                                      and mem in supp.

Total: 12/20/2007
                                                                                      12.89


Talia Kraemer              12/21/2007 Mississippi                     Edit Joint Mot. to         0:05:00
                                                                      seal NP agreement
                                                                      exhibit
Talia Kraemer              12/21/2007 Mississippi                     Search for Start-Up        0:20:01
                                                                      Stipend info for NP
                                                                      services
Talia Kraemer              12/21/2007 Mississippi                     File joint motion to       0:30:00
                                                                      seal with Court
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 577 of 658
5/7/2008                              Children's Rights, Inc.
10:14 AM                             User Defined Slip Listing                                 Page   22



User                      Date        Client                          Description              Time Spent



Total: 12/21/2007
                                                                                        0.91


Talia Kraemer              12/24/2007 Mississippi                     Write letter to NP          0:10:00
                                                                      Jamison encl. DHS
                                                                      materials

Total: 12/24/2007
                                                                                        0.17


Talia Kraemer                1/2/2008 Mississippi                     compile MS fees             0:10:00
                                                                      info for transitioning
                                                                      task to KL
Talia Kraemer                1/2/2008 Mississippi                     Edit consent order          0:10:11
                                                                      draft re fees
                                                                      deadline
Talia Kraemer                1/2/2008 Mississippi                     Telephone calls             0:27:29
                                                                      with persons
                                                                      responding to
                                                                      settlement notice
Talia Kraemer                1/2/2008 Mississippi                     Finalizing and filing       0:29:11
                                                                      joint motion to
                                                                      extend time re fees
Talia Kraemer                1/2/2008 Mississippi                     Retrieve COA                0:33:00
                                                                      standards cited in
                                                                      motion for approval
Talia Kraemer                1/2/2008 Mississippi                     Prepare binders for         0:46:01
                                                                      fairness hearing for
                                                                      SN and MRL
Talia Kraemer                1/2/2008 Mississippi                     Clean up drafts of          0:50:53
                                                                      fees motion

Total: 1/2/2008
                                                                                        3.46



Total: Talia Kraemer
                                                                                       46.80



Grand Total
                                                                                     176.78
       Case 3:04-cv-00251-HSO-ASH                 Document 472-5          Filed 05/09/08   Page 578 of 658
5/1/2008                                           Children's Rights, Inc.
12:59 PM                                          User Defined Slip Listing                                 Page    1




                                                     Selection Criteria

Slip.Date              1/1/2006 - 12/31/2006
Case.Selection         Include: Mississippi Fee


User                                Date          Client                           Description              Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                         10/19/2006 Mississippi Fee                   Review billing              4:52:00
                                                                                   records for BJ

Total: 10/19/2006
                                                                                                     4.87


Eric Thompson                         10/20/2006 Mississippi Fee                   Review billing              7:23:00
                                                                                   records for BJ

Total: 10/20/2006
                                                                                                     7.38


Eric Thompson                         10/24/2006 Mississippi Fee                   Review billing              4:41:00
                                                                                   records for BJ

Total: 10/24/2006
                                                                                                     4.68



Total: Eric Thompson
                                                                                                    16.93



Grand Total
                                                                                                    16.93
       Case 3:04-cv-00251-HSO-ASH              Document 472-5          Filed 05/09/08    Page 579 of 658
5/5/2008                                        Children's Rights, Inc.
5:54 PM                                        User Defined Slip Listing                                Page    1




                                                  Selection Criteria

Slip.Date           1/1/2007 - 11/30/2007
Case.Selection      Include: Mississippi Fee


User                             Date          Client                           Description             Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                      11/12/2007 Mississippi Fee                   Electronic mail JP         0:05:00
                                                                                regarding Loeb fees
Eric Thompson                      11/12/2007 Mississippi Fee                   Electronic mail            0:14:00
                                                                                MRL regarding fees
                                                                                request
Eric Thompson                      11/12/2007 Mississippi Fee                   Review co-counsel          0:25:00
                                                                                fee info

Total: 11/12/2007
                                                                                                 0.73


Eric Thompson                      11/14/2007 Mississippi Fee                   Electronic mail EC,        0:10:00
                                                                                NM regrding fees
                                                                                and expenses
                                                                                compilations
Eric Thompson                      11/14/2007 Mississippi Fee                   Research 1983              4:22:00
                                                                                fees case law
                                                                                regarding
                                                                                parameters of fee
                                                                                request in
                                                                                jurisdiction

Total: 11/14/2007
                                                                                                 4.54


Eric Thompson                      11/16/2007 Mississippi Fee                   Review fees FOIA;          0:11:00
                                                                                email JP edits
                                                                                regarding same
Eric Thompson                      11/16/2007 Mississippi Fee                   Conference with TK         0:12:00
                                                                                re: fees calculations
Eric Thompson                      11/16/2007 Mississippi Fee                   Review MS cost             1:20:00
                                                                                billings 2004-07

Total: 11/16/2007
                                                                                                 1.71


Eric Thompson                      11/19/2007 Mississippi Fee                   Telephone calls TK         0:08:00
                                                                                regarding fees
                                                                                calculations
Eric Thompson                      11/19/2007 Mississippi Fee                   Review co-counsel          0:08:00
                                                                                fees
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 580 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                                  Page    2



User                      Date        Client                          Description               Time Spent



Total: 11/19/2007
                                                                                         0.26


Eric Thompson              11/20/2007 Mississippi Fee                 Electronic mail              0:12:00
                                                                      co-counsel
                                                                      regarding fee
                                                                      request info
Eric Thompson              11/20/2007 Mississippi Fee                 Telephone call with          0:14:00
                                                                      StL regarding fees
                                                                      info
Eric Thompson              11/20/2007 Mississippi Fee                 Review expenses              0:44:00
                                                                      04-07, co-counsel
                                                                      billing

Total: 11/20/2007
                                                                                         1.16


Eric Thompson              11/21/2007 Mississippi Fee                 Telephone call with          0:09:00
                                                                      StL regarding fees
                                                                      info
Eric Thompson              11/21/2007 Mississippi Fee                 Review prelim fee            0:18:00
                                                                      info
Eric Thompson              11/21/2007 Mississippi Fee                 Telephone call with          0:34:00
                                                                      MRL, SN,
                                                                      co-counsel
                                                                      regarding fees info
Eric Thompson              11/21/2007 Mississippi Fee                 Research                     0:38:00
                                                                      applicable
                                                                      standards

Total: 11/21/2007
                                                                                         1.65


Eric Thompson              11/26/2007 Mississippi Fee                 Research                     2:57:00
                                                                      applicable rates

Total: 11/26/2007
                                                                                         2.95



Total: Eric Thompson
                                                                                     13.00
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 581 of 658
5/5/2008                                      Children's Rights, Inc.
5:54 PM                                      User Defined Slip Listing                              Page    3



User                              Date        Client                          Description           Time Spent


Attorney/Para: Jessica Polansky
Jessica Polansk                    11/15/2007 Mississippi Fee                 Search for FOIA re       0:09:53
                                                                              outside counsel's
                                                                              rates for fee
                                                                              application

Total: 11/15/2007
                                                                                             0.16


Jessica Polansk                    11/16/2007 Mississippi Fee                 Draft FOIA request       2:14:02
                                                                              re DFCS attorney's
                                                                              fees

Total: 11/16/2007
                                                                                             2.23



Total: Jessica Polansky
                                                                                             2.39
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08    Page 582 of 658
5/5/2008                                    Children's Rights, Inc.
5:54 PM                                    User Defined Slip Listing                                Page    4



User                            Date        Client                          Description             Time Spent


Attorney/Para: Julian Darwall
Julian Darwall                   11/28/2007 Mississippi Fee                 flag travel timeslips      3:36:01


Total: 11/28/2007
                                                                                             3.60



Total: Julian Darwall
                                                                                             3.60
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 583 of 658
5/5/2008                                   Children's Rights, Inc.
5:54 PM                                   User Defined Slip Listing                               Page    5



User                           Date        Client                          Description            Time Spent


Attorney/Para: Katie Linehan
Katie Linehan                   11/29/2007 Mississippi Fee                 Review all timeslips      1:49:37
                                                                           for 2007 and flag
                                                                           those indicating
                                                                           travel for fee
                                                                           application.

Total: 11/29/2007
                                                                                           1.83



Total: Katie Linehan
                                                                                           1.83
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08   Page 584 of 658
5/5/2008                                     Children's Rights, Inc.
5:54 PM                                     User Defined Slip Listing                              Page    6



User                            Date        Client                           Description           Time Spent


Attorney/Para: Mae Ackerman-Brimberg
Mae Ackerman-B                   11/29/2007 Mississippi Fee                  Review Timeslips         1:43:59
                                                                             for miscategorized
                                                                             entries

Total: 11/29/2007
                                                                                            1.73



Total: Mae Ackerman-Brimberg
                                                                                            1.73
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08   Page 585 of 658
5/5/2008                                     Children's Rights, Inc.
5:54 PM                                     User Defined Slip Listing                                  Page    7



User                             Date        Client                          Description               Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                    11/14/2007 Mississippi Fee                 Write memos to               0:30:00
                                                                             co-counsel
                                                                             regardipt prep.,
                                                                             rates

Total: 11/14/2007
                                                                                                0.50


Marcia R Lowry                    11/21/2007 Mississippi Fee                 Conference with              0:30:00
                                                                             co-counsel

Total: 11/21/2007
                                                                                                0.50



Total: Marcia Robinson Lowry
                                                                                                1.00
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08   Page 586 of 658
5/5/2008                                  Children's Rights, Inc.
5:54 PM                                  User Defined Slip Listing                              Page    8



User                          Date        Client                          Description           Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                   11/21/2007 Mississippi Fee                 Review and revise        0:27:58
                                                                          FOIL request for
                                                                          fees

Total: 11/21/2007
                                                                                         0.47



Total: Shirim, Esq.
                                                                                         0.47
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 587 of 658
5/5/2008                                   Children's Rights, Inc.
5:54 PM                                   User Defined Slip Listing                                 Page    9



User                           Date        Client                          Description              Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                   11/16/2007 Mississippi Fee                 Discuss fee                 0:08:28
                                                                           preparation with ET
                                                                           and discuss fee
                                                                           printouts with legal
                                                                           assistant
Talia Kraemer                   11/16/2007 Mississippi Fee                 Prepare charts of           2:33:39
                                                                           fees and expenses
                                                                           for 2003-present

Total: 11/16/2007
                                                                                             2.70


Talia Kraemer                   11/19/2007 Mississippi Fee                 Prepare charts of           0:17:06
                                                                           fee estimates for
                                                                           CRI work over
                                                                           whole duration of
                                                                           case

Total: 11/19/2007
                                                                                             0.29


Talia Kraemer                   11/20/2007 Mississippi Fee                 Work on compiling           1:50:06
                                                                           fees totals from
                                                                           2002-2007

Total: 11/20/2007
                                                                                             1.84


Talia Kraemer                   11/21/2007 Mississippi Fee                 Telephone call with         0:31:52
                                                                           co-counsel re fees
Talia Kraemer                   11/21/2007 Mississippi Fee                 Finalizing FOIA             0:44:32
                                                                           requests re atty fees

Total: 11/21/2007
                                                                                             1.27


Talia Kraemer                   11/26/2007 Mississippi Fee                 Collect materials to        0:32:45
                                                                           help establish fee
                                                                           application rates

Total: 11/26/2007
                                                                                             0.55


Talia Kraemer                   11/28/2007 Mississippi Fee                 Go through                  1:00:17
                                                                           timeslips to ID
                                                                           travel time
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 588 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                                Page   10



User                      Date        Client                          Description             Time Spent


Talia Kraemer              11/28/2007 Mississippi Fee                 Go through                 1:00:51
                                                                      timeslips to isolate
                                                                      travel time

Total: 11/28/2007
                                                                                       2.01


Talia Kraemer              11/29/2007 Mississippi Fee                 Enter edits into           0:35:00
                                                                      timeslips to
                                                                      correctly ID all
                                                                      travel time
Talia Kraemer              11/29/2007 Mississippi Fee                 Go through                 1:53:33
                                                                      timeslips to identify
                                                                      travel time; enter
                                                                      edits into Timeslips
                                                                      program

Total: 11/29/2007
                                                                                       2.47


Talia Kraemer              11/30/2007 Mississippi Fee                 Update fee charts          2:10:00
                                                                      with proper travel
                                                                      time and various
                                                                      rate estimates

Total: 11/30/2007
                                                                                       2.17



Total: Talia Kraemer
                                                                                      13.30



Grand Total
                                                                                      37.32
       Case 3:04-cv-00251-HSO-ASH              Document 472-5          Filed 05/09/08   Page 589 of 658
5/5/2008                                        Children's Rights, Inc.
5:55 PM                                        User Defined Slip Listing                               Page    1




                                                  Selection Criteria

Slip.Date           12/1/2007 - 1/4/2008
Case.Selection      Include: Mississippi Fee


User                             Date          Client                           Description            Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                       12/4/2007 Mississippi Fee                   Prepare fees info         0:59:00
                                                                                for Ds; email MRL
                                                                                regarding same
Eric Thompson                       12/4/2007 Mississippi Fee                   Prepare expenses          3:01:00
                                                                                info for Ds

Total: 12/4/2007
                                                                                                4.00


Eric Thompson                       12/7/2007 Mississippi Fee                   Review expenses           0:21:58
                                                                                2003-07

Total: 12/7/2007
                                                                                                0.37


Eric Thompson                      12/17/2007 Mississippi Fee                   Research fee              3:30:00
                                                                                application
                                                                                standards and
                                                                                issues

Total: 12/17/2007
                                                                                                3.50


Eric Thompson                      12/18/2007 Mississippi Fee                   Telephone call with       0:06:00
                                                                                StL regarding fees
                                                                                declaration
Eric Thompson                      12/18/2007 Mississippi Fee                   Research fee              2:31:00
                                                                                application issues;
                                                                                email co-counsel
                                                                                regarding fee
                                                                                declarations

Total: 12/18/2007
                                                                                                2.62


Eric Thompson                      12/19/2007 Mississippi Fee                   Telephone call with       0:12:00
                                                                                St: regarding
                                                                                declaration
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 590 of 658
5/5/2008                             Children's Rights, Inc.
5:55 PM                             User Defined Slip Listing                              Page    2



User                      Date      Client                           Description           Time Spent



Total: 12/19/2007
                                                                                    0.20



Total: Eric Thompson
                                                                                   10.69
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 591 of 658
5/5/2008                                      Children's Rights, Inc.
5:55 PM                                      User Defined Slip Listing                                 Page    3



User                              Date        Client                          Description              Time Spent


Attorney/Para: Jessica Polansky
Jessica Polansk                    12/13/2007 Mississippi Fee                 Draft letter in             0:25:05
                                                                              response to FOIA
                                                                              request, telephone
                                                                              call in response,
                                                                              discuss with SN
Jessica Polansk                    12/13/2007 Mississippi Fee                 Talk with SN re MS          0:29:00
                                                                              FOIA re attys fees;
                                                                              talk with TK;
                                                                              telephone call with
                                                                              FOIA officer

Total: 12/13/2007
                                                                                                0.90


Jessica Polansk                    12/24/2007 Mississippi Fee                 Draft response to           1:27:00
                                                                              FOIA materials
                                                                              provided and
                                                                              telephone call to
                                                                              FOIA officer

Total: 12/24/2007
                                                                                                1.45


Jessica Polansk                    12/26/2007 Mississippi Fee                 Telephone call with         0:04:54
                                                                              FOIA officer re
                                                                              FOIA response
Jessica Polansk                    12/26/2007 Mississippi Fee                 Edit follow up FOIA         0:14:48
                                                                              letter

Total: 12/26/2007
                                                                                                0.33


Jessica Polansk                      1/2/2008 Mississippi Fee                 Research re fee             4:02:00
                                                                              awards

Total: 1/2/2008
                                                                                                4.03


Jessica Polansk                      1/3/2008 Mississippi Fee                 Telephone call with         0:09:00
                                                                              FOIA officer
Jessica Polansk                      1/3/2008 Mississippi Fee                 Research re                 1:02:00
                                                                              attorneys' fees

Total: 1/3/2008
                                                                                                1.18
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 592 of 658
5/5/2008                             Children's Rights, Inc.
5:55 PM                             User Defined Slip Listing                             Page    4



User                      Date      Client                           Description          Time Spent



Total: Jessica Polansky
                                                                                   7.89
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 593 of 658
5/5/2008                                   Children's Rights, Inc.
5:55 PM                                   User Defined Slip Listing                                 Page    5



User                           Date        Client                          Description              Time Spent


Attorney/Para: Katie Linehan
Katie Linehan                     1/2/2008 Mississippi Fee                 Review timeslips            2:28:11
                                                                           for 2005 for edits to
                                                                           be made.

Total: 1/2/2008
                                                                                             2.47


Katie Linehan                     1/3/2008 Mississippi Fee                 Review timeslips            2:13:38
                                                                           for 2005 for edits to
                                                                           be made.

Total: 1/3/2008
                                                                                             2.23


Katie Linehan                     1/4/2008 Mississippi Fee                 Review 2005                 2:11:20
                                                                           timeslips for edits.

Total: 1/4/2008
                                                                                             2.19



Total: Katie Linehan
                                                                                             6.89
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 594 of 658
5/5/2008                                      Children's Rights, Inc.
5:55 PM                                      User Defined Slip Listing                                Page    6



User                             Date         Client                          Description             Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      12/6/2007 Mississippi Fee                 Conference with ET         0:10:00
                                                                              regarding fees
                                                                              application

Total: 12/6/2007
                                                                                               0.17


Marcia R Lowry                     12/11/2007 Mississippi Fee                 Review resp. to RF         0:10:00
                                                                              regarding Att. Fees

Total: 12/11/2007
                                                                                               0.17


Marcia R Lowry                     12/28/2007 Mississippi Fee                 Write memo to              0:15:00
                                                                              co-counsel
                                                                              regarding fees

Total: 12/28/2007
                                                                                               0.25



Total: Marcia Robinson Lowry
                                                                                               0.59
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08   Page 595 of 658
5/5/2008                                  Children's Rights, Inc.
5:55 PM                                  User Defined Slip Listing                              Page    7



User                          Date        Client                          Description           Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                     1/2/2008 Mississippi Fee                 Talk to TK and then      0:20:00
                                                                          to JP about
                                                                          research and docs
                                                                          we need to gather
                                                                          for fee petition
Shirim, Esq.                     1/2/2008 Mississippi Fee                 Draft consent order      0:25:00
                                                                          and motion

Total: 1/2/2008
                                                                                         0.75



Total: Shirim, Esq.
                                                                                         0.75
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 596 of 658
5/5/2008                                   Children's Rights, Inc.
5:55 PM                                   User Defined Slip Listing                                Page    8



User                           Date        Client                          Description             Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                    12/5/2007 Mississippi Fee                 Edit expenses              0:53:47
                                                                           report

Total: 12/5/2007
                                                                                            0.90


Talia Kraemer                    12/6/2007 Mississippi Fee                 Edit charts of fees        1:00:00
                                                                           and expenses
Talia Kraemer                    12/6/2007 Mississippi Fee                 Prepare fee                2:00:00
                                                                           settlement proposal
                                                                           materials

Total: 12/6/2007
                                                                                            3.00


Talia Kraemer                    12/7/2007 Mississippi Fee                 Finalizing MS fee          3:00:00
                                                                           materials

Total: 12/7/2007
                                                                                            3.00


Talia Kraemer                     1/2/2008 Mississippi Fee                 Search for and             0:31:27
                                                                           prepare supporting
                                                                           materials for fee
                                                                           application
Talia Kraemer                     1/2/2008 Mississippi Fee                 Reconcile timeslips        2:00:00


Total: 1/2/2008
                                                                                            2.52



Total: Talia Kraemer
                                                                                            9.42



Grand Total
                                                                                           36.23
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08    Page 597 of 658
5/1/2008                                       Children's Rights, Inc.
1:01 PM                                       User Defined Slip Listing                             Page    1




                                                 Selection Criteria

Slip.Date           1/1/2002 - 12/31/2002
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description          Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      7/24/2002 Mississippi TR                   Travel                  8:45:00


Total: 7/24/2002
                                                                                             8.75



Total: Marcia Robinson Lowry
                                                                                             8.75



Grand Total
                                                                                             8.75
       Case 3:04-cv-00251-HSO-ASH              Document 472-5          Filed 05/09/08    Page 598 of 658
5/1/2008                                        Children's Rights, Inc.
1:02 PM                                        User Defined Slip Listing                                Page    1




                                                  Selection Criteria

Slip.Date            1/1/2003 - 12/31/2003
Case.Selection       Include: Mississippi TR


User                              Date         Client                           Description             Time Spent


Attorney/Para: Caroline Rothert
Caroline R.                          9/17/2003 Mississippi TR                   Travel to Mississippi      7:00:00


Total: 9/17/2003
                                                                                                 7.00


Caroline R.                          9/19/2003 Mississippi TR                   Travel to New York         7:00:00


Total: 9/19/2003
                                                                                                 7.00


Caroline R.                          9/30/2003 Mississippi TR                   Travel to Mississippi      7:00:00


Total: 9/30/2003
                                                                                                 7.00


Caroline R.                          10/2/2003 Mississippi TR                   Travel back to New         7:00:00
                                                                                York

Total: 10/2/2003
                                                                                                 7.00



Total: Caroline Rothert
                                                                                               28.00
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08   Page 599 of 658
5/1/2008                                     Children's Rights, Inc.
1:02 PM                                     User Defined Slip Listing                               Page    2



User                             Date        Client                          Description            Time Spent


Attorney/Para: Corene Kendrick
Corene Kendrick                    9/23/2003 Mississippi TR                  Travel to and from        1:00:00
                                                                             meeting at Loeb

Total: 9/23/2003
                                                                                             1.00


Corene Kendrick                   10/15/2003 Mississippi TR                  Travel from               7:30:00
                                                                             LaGuardia to
                                                                             Jackson, Jackson
                                                                             airport to meeting
                                                                             @ MS Center for
                                                                             Justice

Total: 10/15/2003
                                                                                             7.50


Corene Kendrick                   10/16/2003 Mississippi TR                  Travel to and from        0:40:00
                                                                             Jackson airport to
                                                                             get Shirim
Corene Kendrick                   10/16/2003 Mississippi TR                  Went to Fed               1:08:00
                                                                             Cthouse to get
                                                                             Sciafadi documents

Total: 10/16/2003
                                                                                             1.80


Corene Kendrick                   10/17/2003 Mississippi TR                  Travel from               6:15:00
                                                                             Jackson to
                                                                             LaGuardia

Total: 10/17/2003
                                                                                             6.25



Total: Corene Kendrick
                                                                                            16.55
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08   Page 600 of 658
5/1/2008                                      Children's Rights, Inc.
1:02 PM                                      User Defined Slip Listing                               Page    3



User                             Date         Client                          Description            Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                       9/8/2003 Mississippi TR                  Travel to co-counsel      0:45:00


Total: 9/8/2003
                                                                                              0.75



Total: Marcia Robinson Lowry
                                                                                              0.75
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 601 of 658
5/1/2008                                  Children's Rights, Inc.
1:02 PM                                  User Defined Slip Listing                                Page    4



User                          Date        Client                          Description             Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                    9/17/2003 Mississippi TR                  Get car, travel to         0:45:00
                                                                          meeting with source
Shirim, Esq.                    9/17/2003 Mississippi TR                  Travel to Mississippi      5:00:00


Total: 9/17/2003
                                                                                           5.75


Shirim, Esq.                    9/19/2003 Mississippi TR                  Travel back to NY          6:30:00


Total: 9/19/2003
                                                                                           6.50


Shirim, Esq.                    9/23/2003 Mississippi TR                  Travel to and from         1:00:00
                                                                          L&L

Total: 9/23/2003
                                                                                           1.00


Shirim, Esq.                    9/30/2003 Mississippi TR                  Travel to Bay St.          1:00:00
                                                                          Lois to meet contact
Shirim, Esq.                    9/30/2003 Mississippi TR                  Travel to Miss from        6:00:00
                                                                          home (time change)

Total: 9/30/2003
                                                                                           7.00


Shirim, Esq.                    10/1/2003 Mississippi TR                  Travel to meeting          0:30:00
                                                                          with contacts

Total: 10/1/2003
                                                                                           0.50


Shirim, Esq.                    10/2/2003 Mississippi TR                  Travel to Jackson          0:45:00
                                                                          County contacts
Shirim, Esq.                    10/2/2003 Mississippi TR                  Return to Biloxi           0:55:00

Shirim, Esq.                    10/2/2003 Mississippi TR                  Return to NYC              6:40:00
                                                                          (time change)

Total: 10/2/2003
                                                                                           8.34
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 602 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                               Page    5



User                      Date        Client                          Description            Time Spent


Shirim, Esq.               10/16/2003 Mississippi TR                  Travel to Miss (add       5:18:00
                                                                      an hour b/c of time
                                                                      change)

Total: 10/16/2003
                                                                                      5.30


Shirim, Esq.               10/17/2003 Mississippi TR                  Travel back to NYC        7:00:00
                                                                      (add an hour)

Total: 10/17/2003
                                                                                      7.00


Shirim, Esq.               12/11/2003 Mississippi TR                  Travel to and from        0:30:43
                                                                      L&L

Total: 12/11/2003
                                                                                      0.51



Total: Shirim, Esq.
                                                                                     41.90
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08   Page 603 of 658
5/1/2008                                    Children's Rights, Inc.
1:02 PM                                    User Defined Slip Listing                               Page    6



User                            Date        Client                          Description            Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                    9/23/2003 Mississippi TR                  Travel to and from        0:40:00
                                                                            meeting with loeb
                                                                            and loeb

Total: 9/23/2003
                                                                                            0.67



Total: Susan Lambiase
                                                                                            0.67



Grand Total
                                                                                           87.87
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08    Page 604 of 658
5/1/2008                                       Children's Rights, Inc.
1:02 PM                                       User Defined Slip Listing                                Page    1




                                                 Selection Criteria

Slip.Date           1/1/2004 - 12/31/2004
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description             Time Spent


Attorney/Para: Corene Kendrick
Corene Kendrick                      1/5/2004 Mississippi TR                   Travel from CRI to         8:00:00
                                                                               LaGuardia and on
                                                                               to Hattiesburg
                                                                               Mississippi

Total: 1/5/2004
                                                                                               8.00


Corene Kendrick                      1/6/2004 Mississippi TR                   Drive to dinner            0:10:00
                                                                               meeting with source
Corene Kendrick                      1/6/2004 Mississippi TR                   Return to office of        0:10:00
                                                                               family support group
Corene Kendrick                      1/6/2004 Mississippi TR                   Drive to after school      0:20:00
                                                                               program to meet
                                                                               with Director
Corene Kendrick                      1/6/2004 Mississippi TR                   Travel to next             0:20:00
                                                                               meeting

Total: 1/6/2004
                                                                                               1.00


Corene Kendrick                      1/7/2004 Mississippi TR                   Travel to NY               8:30:00


Total: 1/7/2004
                                                                                               8.50


Corene Kendrick                     1/26/2004 Mississippi TR                   compiled materials         0:04:40
                                                                               for trip to
                                                                               Hattiesburg

Total: 1/26/2004
                                                                                               0.08


Corene Kendrick                     1/27/2004 Mississippi TR                   Travel b/n meetings        0:50:00

Corene Kendrick                     1/27/2004 Mississippi TR                   Travel - Laurel MS         2:10:00
                                                                               to Gulfport
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 605 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                Page    2



User                      Date        Client                          Description             Time Spent


Corene Kendrick             1/27/2004 Mississippi TR                  Travel - home to           7:50:00
                                                                      LaGuardia, flight to
                                                                      New Orleans, drive
                                                                      NO - Hattiesburg
                                                                      MS

Total: 1/27/2004
                                                                                     10.83


Corene Kendrick             1/28/2004 Mississippi TR                  Travel to meeting          0:22:00
                                                                      with potential NP
Corene Kendrick             1/28/2004 Mississippi TR                  Travel from                1:35:00
                                                                      Gulfport MS to New
                                                                      Orleans airport
Corene Kendrick             1/28/2004 Mississippi TR                  Travel from New            3:20:00
                                                                      Orleans to
                                                                      LaGuardia and to
                                                                      home

Total: 1/28/2004
                                                                                       5.28


Corene Kendrick             2/18/2004 Mississippi TR                  Drove from                 2:40:00
                                                                      Hattiesburg to New
                                                                      Orleans
Corene Kendrick             2/18/2004 Mississippi TR                  Travel from home           8:30:00
                                                                      to LaGuardia to
                                                                      New Orleans to
                                                                      Hattiesburg

Total: 2/18/2004
                                                                                     11.17


Corene Kendrick             2/19/2004 Mississippi TR                  Travel from New            6:10:00
                                                                      Orleans - LGA -
                                                                      CRI offices

Total: 2/19/2004
                                                                                       6.17


Corene Kendrick             3/18/2004 Mississippi TR                  Travel from                4:05:00
                                                                      Jackson to Biloxi
Corene Kendrick             3/18/2004 Mississippi TR                  Travel from home           7:40:00
                                                                      to airport, flight
                                                                      from NY to Jackson
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08     Page 606 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                    Page    3



User                      Date        Client                          Description                 Time Spent



Total: 3/18/2004
                                                                                       11.75


Corene Kendrick             3/19/2004 Mississippi TR                  Travel to meeting              0:40:00
                                                                      with named plaintiff
Corene Kendrick             3/19/2004 Mississippi TR                  Travel from                    7:25:00
                                                                      Gulfport to New
                                                                      Orleans airports,
                                                                      flight to NYC and
                                                                      travel back to office

Total: 3/19/2004
                                                                                           8.09


Corene Kendrick             3/23/2004 Mississippi TR                  Travel from office to          6:11:00
                                                                      LaGuardia to
                                                                      Jackson, MS.

Total: 3/23/2004
                                                                                           6.18


Corene Kendrick             3/24/2004 Mississippi TR                  Travel from                    6:30:00
                                                                      Jackson hotel to
                                                                      airport, flight to
                                                                      LaGuardia and
                                                                      travel home

Total: 3/24/2004
                                                                                           6.50


Corene Kendrick              4/6/2004 Mississippi TR                  Travel from CRI to             3:21:00
                                                                      airport and flight to
                                                                      Jackson

Total: 4/6/2004
                                                                                           3.35


Corene Kendrick              4/7/2004 Mississippi TR                  Travel from                    6:25:00
                                                                      Jackson to
                                                                      LaGuardia to home

Total: 4/7/2004
                                                                                           6.42
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 607 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                 Page    4



User                      Date        Client                          Description              Time Spent


Corene Kendrick             5/13/2004 Mississippi TR                  Travel to and from          0:50:00
                                                                      meetings with
                                                                      named plaintiff,
                                                                      next friend, and
                                                                      new NP
Corene Kendrick             5/13/2004 Mississippi TR                  Travel from home            7:45:00
                                                                      to LaGuardia to
                                                                      New Orleans to
                                                                      Hattiesburg, MS

Total: 5/13/2004
                                                                                        8.58


Corene Kendrick             5/14/2004 Mississippi TR                  Travel to and from          0:48:00
                                                                      meetings
Corene Kendrick             5/14/2004 Mississippi TR                  Travel from                 2:25:00
                                                                      Hattiesburg back to
                                                                      New Orleans for
                                                                      flight

Total: 5/14/2004
                                                                                        3.22


Corene Kendrick             5/15/2004 Mississippi TR                  Travel from N.O to          6:40:00
                                                                      NYC to home

Total: 5/15/2004
                                                                                        6.67


Corene Kendrick             9/29/2004 Mississippi TR                  Travel from home            8:15:00
                                                                      to EWR, flight to
                                                                      Atlanta, flight to
                                                                      New Orleans, drive
                                                                      to Magnolia MS,
                                                                      travel to Jackson

Total: 9/29/2004
                                                                                        8.25


Corene Kendrick             9/30/2004 Mississippi TR                  Travel from                 1:45:00
                                                                      Jackson to
                                                                      Grenada MS for
                                                                      meeting with
                                                                      named plaintiff
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 608 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                               Page    5



User                      Date        Client                          Description            Time Spent



Total: 9/30/2004
                                                                                      1.75


Corene Kendrick             10/1/2004 Mississippi TR                  Travel from hotel to      0:45:00
                                                                      NP's group home to
                                                                      his school
Corene Kendrick             10/1/2004 Mississippi TR                  Drive from Grenada        2:10:00
                                                                      to Memphis
Corene Kendrick             10/1/2004 Mississippi TR                  Travel Memphis -          6:35:00
                                                                      home

Total: 10/1/2004
                                                                                      9.50



Total: Corene Kendrick
                                                                                    131.29
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08   Page 609 of 658
5/1/2008                                   Children's Rights, Inc.
1:02 PM                                   User Defined Slip Listing                               Page    6



User                           Date        Client                          Description            Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                     3/8/2004 Mississippi TR                  Travel Jackson,           8:45:00
                                                                           Miss; to and from
                                                                           meetings

Total: 3/8/2004
                                                                                           8.75


Eric Thompson                     3/9/2004 Mississippi TR                  Travel to and from        8:30:00
                                                                           meetings in Miss

Total: 3/9/2004
                                                                                           8.50


Eric Thompson                    4/14/2004 Mississippi TR                  Travel to                 8:45:00
                                                                           MIssissippi
                                                                           meetings

Total: 4/14/2004
                                                                                           8.75


Eric Thompson                    4/15/2004 Mississippi TR                  Travel to meeting         1:30:00

Eric Thompson                    4/15/2004 Mississippi TR                  Travel from Miss          9:50:00


Total: 4/15/2004
                                                                                          11.33


Eric Thompson                    5/19/2004 Mississippi TR                  Travel to Jackson         7:00:00


Total: 5/19/2004
                                                                                           7.00


Eric Thompson                    5/20/2004 Mississippi TR                  Travel from               7:00:00
                                                                           Mississippi

Total: 5/20/2004
                                                                                           7.00


Eric Thompson                    8/24/2004 Mississippi TR                  Travel to Jackson         7:30:00
                                                                           MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 610 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                               Page    7



User                      Date        Client                          Description            Time Spent



Total: 8/24/2004
                                                                                      7.50


Eric Thompson               8/25/2004 Mississippi TR                  Travel from               8:20:00
                                                                      Jackson MS

Total: 8/25/2004
                                                                                      8.33


Eric Thompson                9/7/2004 Mississippi TR                  Travel to Jackson         7:30:00


Total: 9/7/2004
                                                                                      7.50


Eric Thompson                9/8/2004 Mississippi TR                  Travel to and from        4:00:00
                                                                      Hattiesburg, MS

Total: 9/8/2004
                                                                                      4.00


Eric Thompson                9/9/2004 Mississippi TR                  Travel from               7:40:00
                                                                      Jackson, MS

Total: 9/9/2004
                                                                                      7.67


Eric Thompson               9/29/2004 Mississippi TR                  Travel to Miss; to       11:00:00
                                                                      and from meeting in
                                                                      Magnolia MS

Total: 9/29/2004
                                                                                     11.00


Eric Thompson               9/30/2004 Mississippi TR                  Travel from Miss          6:45:00


Total: 9/30/2004
                                                                                      6.75


Eric Thompson              10/12/2004 Mississippi TR                  Travel to Jackson         6:55:00
                                                                      MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 611 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                Page    8



User                      Date        Client                          Description             Time Spent



Total: 10/12/2004
                                                                                       6.92


Eric Thompson              10/14/2004 Mississippi TR                  Travel from MS             6:45:00


Total: 10/14/2004
                                                                                       6.75


Eric Thompson              10/19/2004 Mississippi TR                  Travel to MS               8:30:00


Total: 10/19/2004
                                                                                       8.50


Eric Thompson              10/20/2004 Mississippi TR                  Travel from MS             4:45:00


Total: 10/20/2004
                                                                                       4.75


Eric Thompson              10/21/2004 Mississippi TR                  Travel from MS             4:20:00
                                                                      (cont'd from 10/20
                                                                      after missed last
                                                                      flight in Atlanta)

Total: 10/21/2004
                                                                                       4.33


Eric Thompson              10/25/2004 Mississippi TR                  Travel to MS               7:00:00


Total: 10/25/2004
                                                                                       7.00


Eric Thompson              10/27/2004 Mississippi TR                  Travel from MS             8:40:00
                                                                      (inc. missed
                                                                      connection in
                                                                      Atlanta)

Total: 10/27/2004
                                                                                       8.67
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 612 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                Page    9



User                      Date        Client                          Description             Time Spent


Eric Thompson               11/4/2004 Mississippi TR                  travel to and from         0:40:09
                                                                      Meeting w/ L&L
                                                                      co-counsel

Total: 11/4/2004
                                                                                       0.67


Eric Thompson              11/17/2004 Mississippi TR                  Travel to MS               7:35:00


Total: 11/17/2004
                                                                                       7.58


Eric Thompson              11/18/2004 Mississippi TR                  Travel from MS             7:20:00


Total: 11/18/2004
                                                                                       7.33



Total: Eric Thompson
                                                                                     166.58
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08    Page 613 of 658
5/1/2008                                      Children's Rights, Inc.
1:02 PM                                      User Defined Slip Listing                                Page   10



User                             Date         Client                          Description             Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      1/13/2004 Mississippi TR                  Travel to MS               7:00:00


Total: 1/13/2004
                                                                                               7.00


Marcia R Lowry                      1/14/2004 Mississippi TR                  Travel from MS             6:15:00


Total: 1/14/2004
                                                                                               6.25


Marcia R Lowry                      3/23/2004 Mississippi TR                  Travel to MS               1:45:00


Total: 3/23/2004
                                                                                               1.75


Marcia R Lowry                       4/8/2004 Mississippi TR                  Travel                     7:00:00


Total: 4/8/2004
                                                                                               7.00


Marcia R Lowry                      5/19/2004 Mississippi TR                  travel to MS               3:15:00


Total: 5/19/2004
                                                                                               3.25


Marcia R Lowry                      5/20/2004 Mississippi TR                  Travel from MS             7:15:00


Total: 5/20/2004
                                                                                               7.25


Marcia R Lowry                      8/25/2004 Mississippi TR                  Travel from MS             3:00:00


Total: 8/25/2004
                                                                                               3.00
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08     Page 614 of 658
5/1/2008                                   Children's Rights, Inc.
1:02 PM                                   User Defined Slip Listing                                 Page   11



User                           Date        Client                          Description              Time Spent


Marcia R Lowry                  10/19/2004 Mississippi TR                  Travel to MS                6:30:00


Total: 10/19/2004
                                                                                             6.50


Marcia R Lowry                  10/20/2004 Mississippi TR                  Travel from MS             17:15:00
                                                                           (include missed
                                                                           connection and
                                                                           more distant arrival
                                                                           airport on last flight
                                                                           out of Atlanta to NY
                                                                           area)

Total: 10/20/2004
                                                                                            17.25



Total: Marcia Robinson Lowry
                                                                                            59.25
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 615 of 658
5/1/2008                                  Children's Rights, Inc.
1:02 PM                                  User Defined Slip Listing                                   Page   12



User                          Date        Client                          Description                Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                     1/5/2004 Mississippi TR                  Travel to airport             0:45:00

Shirim, Esq.                     1/5/2004 Mississippi TR                  Travel to                     3:30:00
                                                                          Hattiesburg
Shirim, Esq.                     1/5/2004 Mississippi TR                  Travel to New                 6:00:00
                                                                          Orleans

Total: 1/5/2004
                                                                                           10.25


Shirim, Esq.                     1/6/2004 Mississippi TR                  Return to office of           0:10:00
                                                                          family support group
Shirim, Esq.                     1/6/2004 Mississippi TR                  Drive to Dinner               0:10:00
                                                                          meeting with source
Shirim, Esq.                     1/6/2004 Mississippi TR                  Travel to next                0:20:00
                                                                          meeting
Shirim, Esq.                     1/6/2004 Mississippi TR                  Drive to afterschool          0:20:00
                                                                          program to meet
                                                                          with Director

Total: 1/6/2004
                                                                                              1.00


Shirim, Esq.                     1/7/2004 Mississippi TR                  Travel to New                 2:00:00
                                                                          Orleans
Shirim, Esq.                     1/7/2004 Mississippi TR                  Travel to NY                  7:40:00


Total: 1/7/2004
                                                                                              9.67


Shirim, Esq.                    1/13/2004 Mississippi TR                  Travel to MS                  6:00:00


Total: 1/13/2004
                                                                                              6.00


Shirim, Esq.                    1/14/2004 Mississippi TR                  Travel home in                9:00:00
                                                                          snow storm

Total: 1/14/2004
                                                                                              9.00


Shirim, Esq.                    1/27/2004 Mississippi TR                  Travel b/n meetings           0:50:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 616 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                Page   13



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                1/27/2004 Mississippi TR                  Travel - Laurel MS         2:10:00
                                                                      to Gulfport
Shirim, Esq.                1/27/2004 Mississippi TR                  Travel - home to           7:50:00
                                                                      LaGuardia, flight to
                                                                      New Orleans, drive
                                                                      NO - Hattiesburg
                                                                      MS

Total: 1/27/2004
                                                                                     10.83


Shirim, Esq.                1/28/2004 Mississippi TR                  Travel to meeting          0:22:00
                                                                      with potential NP
Shirim, Esq.                1/28/2004 Mississippi TR                  Travel to meeting          0:22:00
                                                                      with potential NP
Shirim, Esq.                1/28/2004 Mississippi TR                  Travel from                1:35:00
                                                                      Gulfport MS to New
                                                                      Orleans airport
Shirim, Esq.                1/28/2004 Mississippi TR                  Travel from New            3:20:00
                                                                      Orleans to
                                                                      LaGuardia and to
                                                                      home

Total: 1/28/2004
                                                                                       5.65


Shirim, Esq.                2/18/2004 Mississippi TR                  Drove from                 2:40:00
                                                                      Hattiesburg to New
                                                                      Orleans
Shirim, Esq.                2/18/2004 Mississippi TR                  Travel from home           8:30:00
                                                                      to LaGuardia to
                                                                      New Orleans to
                                                                      Hattiesburg

Total: 2/18/2004
                                                                                     11.17


Shirim, Esq.                2/19/2004 Mississippi TR                  travel from airport        0:30:00
                                                                      to office
Shirim, Esq.                2/19/2004 Mississippi TR                  travel back from MS        6:00:00


Total: 2/19/2004
                                                                                       6.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 617 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                   Page   14



User                      Date        Client                          Description                Time Spent


Shirim, Esq.                2/26/2004 Mississippi TR                  Travel to meeting             0:30:00
                                                                      with private provider
                                                                      contact
Shirim, Esq.                2/26/2004 Mississippi TR                  Travel to Mississippi         5:45:00


Total: 2/26/2004
                                                                                          6.25


Shirim, Esq.                2/27/2004 Mississippi TR                  Travel to airport             0:15:00

Shirim, Esq.                2/27/2004 Mississippi TR                  Travel home with              9:15:00
                                                                      massive delays in
                                                                      Atlanta

Total: 2/27/2004
                                                                                          9.50


Shirim, Esq.                 3/8/2004 Mississippi TR                  Return to hotel               0:15:00

Shirim, Esq.                 3/8/2004 Mississippi TR                  Drive to meeting              0:30:00
                                                                      with next friend
Shirim, Esq.                 3/8/2004 Mississippi TR                  Travel to MS                  7:30:00


Total: 3/8/2004
                                                                                          8.25


Shirim, Esq.                 3/9/2004 Mississippi TR                  Travel to airport             0:20:00

Shirim, Esq.                 3/9/2004 Mississippi TR                  Travel to meeting             0:30:00
                                                                      with former foster
                                                                      child
Shirim, Esq.                 3/9/2004 Mississippi TR                  Return to Jackson             0:40:00

Shirim, Esq.                 3/9/2004 Mississippi TR                  Travel to Utica to            0:45:00
                                                                      meet with named
                                                                      plaintiff
Shirim, Esq.                 3/9/2004 Mississippi TR                  travel home                   7:26:00


Total: 3/9/2004
                                                                                          9.68


Shirim, Esq.                3/18/2004 Mississippi TR                  Travel from                   4:05:00
                                                                      Jackson to Biloxi
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 618 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                Page   15



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                3/18/2004 Mississippi TR                  Travel from home           7:40:00
                                                                      to airport, flight
                                                                      from NY to Jackson

Total: 3/18/2004
                                                                                     11.75


Shirim, Esq.                3/19/2004 Mississippi TR                  Travel to meeting          0:40:00
                                                                      with named plaintiff
Shirim, Esq.                3/19/2004 Mississippi TR                  Travel from                7:25:00
                                                                      Gulfport to New
                                                                      Orleans airport,
                                                                      flight to NYC

Total: 3/19/2004
                                                                                       8.09


Shirim, Esq.                 4/1/2004 Mississippi TR                  travel to and fom L        0:25:00
                                                                      &L

Total: 4/1/2004
                                                                                       0.42


Shirim, Esq.                 4/6/2004 Mississippi TR                  Travel to MS               6:45:00


Total: 4/6/2004
                                                                                       6.75


Shirim, Esq.                 4/7/2004 Mississippi TR                  Return to NY               7:15:00


Total: 4/7/2004
                                                                                       7.25


Shirim, Esq.                4/14/2004 Mississippi TR                  Travel to                  8:45:00
                                                                      Mississippi meetings

Total: 4/14/2004
                                                                                       8.75


Shirim, Esq.                4/15/2004 Mississippi TR                  Travel to meeting          1:30:00

Shirim, Esq.                4/15/2004 Mississippi TR                  Travel from Miss.          9:50:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 619 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                   Page   16



User                      Date        Client                          Description                Time Spent



Total: 4/15/2004
                                                                                       11.33


Shirim, Esq.                5/19/2004 Mississippi TR                  travel to airport and         6:00:00
                                                                      on to ms

Total: 5/19/2004
                                                                                          6.00


Shirim, Esq.                5/20/2004 Mississippi TR                  travel back from MS           6:40:00


Total: 5/20/2004
                                                                                          6.67


Shirim, Esq.                7/26/2004 Mississippi TR                  travel to and from L          0:26:00
                                                                      &L

Total: 7/26/2004
                                                                                          0.43


Shirim, Esq.                 9/7/2004 Mississippi TR                  Travel to MS                  9:45:00
                                                                      w/delay b/c of
                                                                      storms(Hurricane
                                                                      Frances)

Total: 9/7/2004
                                                                                          9.75


Shirim, Esq.                 9/8/2004 Mississippi TR                  Travel back to                2:10:00
                                                                      Jackson from
                                                                      Hattiesburg-get
                                                                      stcuk in
                                                                      construction traffic
                                                                      for 30 + min.

Total: 9/8/2004
                                                                                          2.17


Shirim, Esq.                 9/9/2004 Mississippi TR                  Travel to airport             0:20:00

Shirim, Esq.                 9/9/2004 Mississippi TR                  Wait for plane                1:30:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 620 of 658
5/1/2008                              Children's Rights, Inc.
1:02 PM                              User Defined Slip Listing                                   Page   17



User                      Date        Client                          Description                Time Spent


Shirim, Esq.                 9/9/2004 Mississippi TR                  Travel from                   6:00:00
                                                                      Jackson to NY - get
                                                                      delayed 1 1/2 hour
                                                                      in Atlanta

Total: 9/9/2004
                                                                                          7.83


Shirim, Esq.                9/14/2004 Mississippi TR                  Travel to and from            0:23:00
                                                                      L&L

Total: 9/14/2004
                                                                                          0.38


Shirim, Esq.               10/25/2004 Mississippi TR                  Travel to airport             0:30:00

Shirim, Esq.               10/25/2004 Mississippi TR                  Travel to MS                  5:00:00


Total: 10/25/2004
                                                                                          5.50


Shirim, Esq.               10/27/2004 Mississippi TR                  Travel to airport             0:20:00

Shirim, Esq.               10/27/2004 Mississippi TR                  Travel to NYC                 7:30:00


Total: 10/27/2004
                                                                                          7.83


Shirim, Esq.                11/4/2004 Mississippi TR                  Travel to and from            0:24:12
                                                                      L&L

Total: 11/4/2004
                                                                                          0.40



Total: Shirim, Esq.
                                                                                     205.05
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08    Page 621 of 658
5/1/2008                                    Children's Rights, Inc.
1:02 PM                                    User Defined Slip Listing                                 Page   18



User                            Date        Client                          Description              Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                    2/26/2004 Mississippi TR                  travel from office to       6:30:00
                                                                            airport to miss to
                                                                            meeting

Total: 2/26/2004
                                                                                              6.50


Susan Lambiase                    2/27/2004 Mississippi TR                  travel to airport, nyc      8:00:00
                                                                            and home (flight
                                                                            delayed)

Total: 2/27/2004
                                                                                              8.00


Susan Lambiase                     4/1/2004 Mississippi TR                  Travel to and from          0:30:00
                                                                            meeting with Loeb
                                                                            and Loeb

Total: 4/1/2004
                                                                                              0.50



Total: Susan Lambiase
                                                                                             15.00



Grand Total
                                                                                           577.17
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08   Page 622 of 658
5/1/2008                                       Children's Rights, Inc.
1:02 PM                                       User Defined Slip Listing                               Page    1




                                                 Selection Criteria

Slip.Date           1/1/2005 - 12/31/2005
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description            Time Spent


Attorney/Para: Corene Kendrick
Corene Kendrick                     3/24/2005 Mississippi TR                   Drove from                1:50:00
                                                                               Memphis to
                                                                               Grenada, MS
Corene Kendrick                     3/24/2005 Mississippi TR                   Travel from home          5:25:00
                                                                               to airport to
                                                                               Memphis

Total: 3/24/2005
                                                                                               7.25


Corene Kendrick                     3/25/2005 Mississippi TR                   Travel from               1:35:00
                                                                               Grenada to
                                                                               Memphis
Corene Kendrick                     3/25/2005 Mississippi TR                   Travel from               5:10:00
                                                                               Memphis to home

Total: 3/25/2005
                                                                                               6.75


Corene Kendrick                      6/1/2005 Mississippi TR                   Travel from home          8:27:00
                                                                               to EWR to Jackson

Total: 6/1/2005
                                                                                               8.45


Corene Kendrick                      6/2/2005 Mississippi TR                   Travel to and from        2:50:00
                                                                               depos

Total: 6/2/2005
                                                                                               2.83


Corene Kendrick                      6/3/2005 Mississippi TR                   Travel from Bradley       0:28:00
                                                                               Arant to airport
Corene Kendrick                      6/3/2005 Mississippi TR                   Travel from airport       8:43:00
                                                                               to EWR to home

Total: 6/3/2005
                                                                                               9.19
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 623 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                              Page    2



User                      Date        Client                          Description           Time Spent


Corene Kendrick             7/19/2005 Mississippi TR                  Travel from EWR to      12:17:00
                                                                      Jackson (numerous
                                                                      travel delays)

Total: 7/19/2005
                                                                                    12.28


Corene Kendrick             7/20/2005 Mississippi TR                  Travel to/from depo      2:00:00


Total: 7/20/2005
                                                                                     2.00


Corene Kendrick             7/21/2005 Mississippi TR                  Travel from              2:50:00
                                                                      Jackson to Natchez

Total: 7/21/2005
                                                                                     2.83


Corene Kendrick             7/22/2005 Mississippi TR                  Drive from Natchez       3:50:00
                                                                      to New Orleans
Corene Kendrick             7/22/2005 Mississippi TR                  Travel from New          7:40:00
                                                                      Orleans to Newark
                                                                      to home

Total: 7/22/2005
                                                                                    11.50



Total: Corene Kendrick
                                                                                    63.08
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 624 of 658
5/1/2008                                   Children's Rights, Inc.
1:03 PM                                   User Defined Slip Listing                                Page    3



User                           Date        Client                          Description             Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                    2/23/2005 Mississippi TR                  Travel to and from         0:54:37
                                                                           Meeting w/ JL

Total: 2/23/2005
                                                                                            0.91


Eric Thompson                    5/15/2005 Mississippi TR                  Travel to MS (flight       7:40:00
                                                                           delay/stuck in ATL)

Total: 5/15/2005
                                                                                            7.67


Eric Thompson                    5/16/2005 Mississippi TR                  Travel to MS               3:45:00
                                                                           (cont'd)

Total: 5/16/2005
                                                                                            3.75


Eric Thompson                    5/18/2005 Mississippi TR                  Travel from MS             7:00:00


Total: 5/18/2005
                                                                                            7.00


Eric Thompson                     6/1/2005 Mississippi TR                  Travel to MS               8:45:00


Total: 6/1/2005
                                                                                            8.75


Eric Thompson                     6/3/2005 Mississippi TR                  Travel from MS             7:00:00


Total: 6/3/2005
                                                                                            7.00


Eric Thompson                    6/13/2005 Mississippi TR                  Travel to MS               7:50:00


Total: 6/13/2005
                                                                                            7.83
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 625 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                                Page    4



User                      Date        Client                          Description             Time Spent


Eric Thompson               6/16/2005 Mississippi TR                  Travel from MS             9:00:00


Total: 6/16/2005
                                                                                       9.00


Eric Thompson               6/19/2005 Mississippi TR                  Travel to MS               8:05:00


Total: 6/19/2005
                                                                                       8.08


Eric Thompson               6/22/2005 Mississippi TR                  Travel from MS             7:38:00


Total: 6/22/2005
                                                                                       7.63


Eric Thompson               7/26/2005 Mississippi TR                  Travel to and from         0:45:00
                                                                      Loeb

Total: 7/26/2005
                                                                                       0.75


Eric Thompson               10/6/2005 Mississippi TR                  Travel to and from         0:35:00
                                                                      Loeb

Total: 10/6/2005
                                                                                       0.58


Eric Thompson              11/29/2005 Mississippi TR                  Travel to Jackson          7:30:00


Total: 11/29/2005
                                                                                       7.50


Eric Thompson              11/30/2005 Mississippi TR                  Travel to                  1:10:00
                                                                      Hattiesburg
Eric Thompson              11/30/2005 Mississippi TR                  Travel to Jackson          1:30:00

Eric Thompson              11/30/2005 Mississippi TR                  Travel to Gulfport         3:15:00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 626 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                              Page    5



User                      Date        Client                          Description           Time Spent



Total: 11/30/2005
                                                                                     5.92


Eric Thompson               12/1/2005 Mississippi TR                  Travel from Jackson      7:15:00


Total: 12/1/2005
                                                                                     7.25


Eric Thompson              12/15/2005 Mississippi TR                  Travel to and from       0:30:00
                                                                      Loeb for Meeting w/
                                                                      JP, BB

Total: 12/15/2005
                                                                                     0.50



Total: Eric Thompson
                                                                                    90.12
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08    Page 627 of 658
5/1/2008                                      Children's Rights, Inc.
1:03 PM                                      User Defined Slip Listing                             Page    6



User                             Date         Client                          Description          Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      6/19/2005 Mississippi TR                  Travel                  8:00:00


Total: 6/19/2005
                                                                                            8.00



Total: Marcia Robinson Lowry
                                                                                            8.00
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08   Page 628 of 658
5/1/2008                                  Children's Rights, Inc.
1:03 PM                                  User Defined Slip Listing                               Page    7



User                          Date        Client                          Description            Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                   11/29/2005 Mississippi TR                  Travel to MS              6:15:00


Total: 11/29/2005
                                                                                          6.25


Shirim, Esq.                   11/30/2005 Mississippi TR                  Travel back to            1:25:00
                                                                          Jackson
Shirim, Esq.                   11/30/2005 Mississippi TR                  Travel to                 1:25:00
                                                                          Hattiesburg
Shirim, Esq.                   11/30/2005 Mississippi TR                  Travel from               3:00:00
                                                                          Jackson to Gulf port

Total: 11/30/2005
                                                                                          5.84


Shirim, Esq.                    12/1/2005 Mississippi TR                  Travel back to NYC        7:15:00


Total: 12/1/2005
                                                                                          7.25



Total: Shirim, Esq.
                                                                                         19.34
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08   Page 629 of 658
5/1/2008                                Children's Rights, Inc.
1:03 PM                                User Defined Slip Listing                                Page    8



User                        Date        Client                          Description             Time Spent


Attorney/Para: Tara Crean
Tara Crean                    5/15/2005 Mississippi TR                  from office to LGA.        0:30:00

Tara Crean                    5/15/2005 Mississippi TR                  from NY to MS              4:59:00


Total: 5/15/2005
                                                                                         5.48


Tara Crean                    6/13/2005 Mississippi TR                  Travel from home           0:50:00
                                                                        to LGA.
Tara Crean                    6/13/2005 Mississippi TR                  From home to LGA.          0:50:00

Tara Crean                    6/13/2005 Mississippi TR                  from LGA to                6:11:00
                                                                        Jackson.

Total: 6/13/2005
                                                                                         7.84


Tara Crean                    6/16/2005 Mississippi TR                  from LGA to office.        1:00:00

Tara Crean                    6/16/2005 Mississippi TR                  Travel from                5:50:00
                                                                        Jackson to LGA.

Total: 6/16/2005
                                                                                         6.83


Tara Crean                    7/26/2005 Mississippi TR                  Travel from Loeb to        0:21:00
                                                                        office.

Total: 7/26/2005
                                                                                         0.35


Tara Crean                     8/8/2005 Mississippi TR                  Travel from home           0:40:00
                                                                        to LGA.

Total: 8/8/2005
                                                                                         0.67



Total: Tara Crean
                                                                                        21.17
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 630 of 658
5/1/2008                             Children's Rights, Inc.
1:03 PM                             User Defined Slip Listing                               Page    9



User                      Date      Client                           Description            Time Spent



Grand Total
                                                                                   201.71
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08   Page 631 of 658
5/1/2008                                       Children's Rights, Inc.
1:03 PM                                       User Defined Slip Listing                              Page    1




                                                 Selection Criteria

Slip.Date           1/1/2006 - 12/31/2006
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description           Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                       3/15/2006 Mississippi TR                   Travel to Jackson        7:45:00
                                                                               MS

Total: 3/15/2006
                                                                                              7.75


Eric Thompson                       3/17/2006 Mississippi TR                   Travel from Jackson      7:25:00


Total: 3/17/2006
                                                                                              7.42


Eric Thompson                       3/27/2006 Mississippi TR                   Travel to Jackson        7:20:00
                                                                               MS

Total: 3/27/2006
                                                                                              7.33


Eric Thompson                       3/30/2006 Mississippi TR                   Travel from              7:00:00
                                                                               Jackson MS

Total: 3/30/2006
                                                                                              7.00


Eric Thompson                        4/4/2006 Mississippi TR                   Travel to Jackson        7:10:00


Total: 4/4/2006
                                                                                              7.17


Eric Thompson                        4/7/2006 Mississippi TR                   Travel from             10:15:00
                                                                               Jackson MS (with
                                                                               weather delays)

Total: 4/7/2006
                                                                                             10.25
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 632 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                                 Page    2



User                      Date        Client                          Description              Time Spent


Eric Thompson               4/23/2006 Mississippi TR                  Travel to Jackson           8:50:00


Total: 4/23/2006
                                                                                        8.83


Eric Thompson               4/24/2006 Mississippi TR                  Travel to and from          3:30:00
                                                                      Grenada, MS

Total: 4/24/2006
                                                                                        3.50


Eric Thompson               4/25/2006 Mississippi TR                  Travel from                 6:30:00
                                                                      Jackson MS

Total: 4/25/2006
                                                                                        6.50


Eric Thompson               6/12/2006 Mississippi TR                  Travel to and from          0:50:00
                                                                      Loeb

Total: 6/12/2006
                                                                                        0.83


Eric Thompson               6/19/2006 Mississippi TR                  Travel from                 0:30:00
                                                                      meeting at Loeb

Total: 6/19/2006
                                                                                        0.50


Eric Thompson              10/31/2006 Mississippi TR                  Travel to Jackson,          7:30:00
                                                                      MS

Total: 10/31/2006
                                                                                        7.50


Eric Thompson               11/1/2006 Mississippi TR                  Travel from                 7:48:00
                                                                      Jackson, MS

Total: 11/1/2006
                                                                                        7.80


Eric Thompson               11/5/2006 Mississippi TR                  Travel to Jackson,          8:00:00
                                                                      MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 633 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                               Page    3



User                      Date        Client                          Description            Time Spent



Total: 11/5/2006
                                                                                      8.00


Eric Thompson               11/6/2006 Mississippi TR                  Travel from               7:00:00
                                                                      Jackson, MS

Total: 11/6/2006
                                                                                      7.00


Eric Thompson               12/6/2006 Mississippi TR                  Travel to Jackson,        7:35:00
                                                                      MS

Total: 12/6/2006
                                                                                      7.58


Eric Thompson               12/7/2006 Mississippi TR                  Travel from               7:30:00
                                                                      Jackson MS

Total: 12/7/2006
                                                                                      7.50


Eric Thompson              12/13/2006 Mississippi TR                  Travel to and from        1:15:00
                                                                      Loeb & Loeb

Total: 12/13/2006
                                                                                      1.25



Total: Eric Thompson
                                                                                    113.71
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08    Page 634 of 658
5/1/2008                                      Children's Rights, Inc.
1:03 PM                                      User Defined Slip Listing                                Page    4



User                             Date         Client                          Description             Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                      3/15/2006 Mississippi TR                  Travel to MS               1:30:00


Total: 3/15/2006
                                                                                               1.50


Marcia R Lowry                      3/16/2006 Mississippi TR                  Travel from MS             9:45:00


Total: 3/16/2006
                                                                                               9.75


Marcia R Lowry                       4/4/2006 Mississippi TR                  Travel to MS               9:30:00
                                                                              (prepare for
                                                                              deposition 6:00:00)

Total: 4/4/2006
                                                                                               9.50


Marcia R Lowry                       4/8/2006 Mississippi TR                  Travel                     7:00:00


Total: 4/8/2006
                                                                                               7.00


Marcia R Lowry                      4/23/2006 Mississippi TR                  Travel                     8:00:00


Total: 4/23/2006
                                                                                               8.00


Marcia R Lowry                      4/24/2006 Mississippi TR                  Travel                     4:00:00


Total: 4/24/2006
                                                                                               4.00


Marcia R Lowry                      4/25/2006 Mississippi TR                  Travel                     7:30:00


Total: 4/25/2006
                                                                                               7.50
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 635 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                                Page    5



User                      Date        Client                          Description             Time Spent


Marcia R Lowry              8/11/2006 Mississippi TR                  Travel to MS (with         6:00:00
                                                                      delays)

Total: 8/11/2006
                                                                                       6.00


Marcia R Lowry              8/12/2006 Mississippi TR                  Travel from                2:00:00
                                                                      meeting ; include 1
                                                                      hour conference
                                                                      with WD, SN
                                                                      regarding negot
Marcia R Lowry              8/12/2006 Mississippi TR                  Travel to meeting ;        2:00:00
                                                                      including
                                                                      conference with
                                                                      WB, SN regarding
                                                                      meeting
Marcia R Lowry              8/12/2006 Mississippi TR                  Travel from MS             6:00:00
                                                                      (check billing)

Total: 8/12/2006
                                                                                      10.00


Marcia R Lowry             10/30/2006 Mississippi TR                  Travel NY to               7:50:00
                                                                      Jackson (1 hr
                                                                      review documents)

Total: 10/30/2006
                                                                                       7.83


Marcia R Lowry              11/1/2006 Mississippi TR                  Travel Jackson to          9:30:00
                                                                      NY

Total: 11/1/2006
                                                                                       9.50


Marcia R Lowry              11/5/2006 Mississippi TR                  Travel from NY to          8:00:00
                                                                      Jackson

Total: 11/5/2006
                                                                                       8.00


Marcia R Lowry              11/6/2006 Mississippi TR                  Travel from                3:00:00
                                                                      Jackson to NY
       Case 3:04-cv-00251-HSO-ASH     Document 472-5          Filed 05/09/08   Page 636 of 658
5/1/2008                               Children's Rights, Inc.
1:03 PM                               User Defined Slip Listing                              Page    6



User                           Date   Client                           Description           Time Spent



Total: 11/6/2006
                                                                                      3.00



Total: Marcia Robinson Lowry
                                                                                     91.58
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08   Page 637 of 658
5/1/2008                                Children's Rights, Inc.
1:03 PM                                User Defined Slip Listing                              Page    7



User                        Date        Client                          Description           Time Spent


Attorney/Para: Priy Sinha
Priy Sinha                    6/19/2006 Mississippi TR                  Traveled to & back       0:45:00
                                                                        from Loeb and
                                                                        Loeb for meeting

Total: 6/19/2006
                                                                                       0.75



Total: Priy Sinha
                                                                                       0.75
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 638 of 658
5/1/2008                                  Children's Rights, Inc.
1:03 PM                                  User Defined Slip Listing                                   Page    8



User                          Date        Client                          Description                Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                    3/16/2006 Mississippi TR                  travel to and from            6:50:00
                                                                          New Orleans to
                                                                          meet with expert.

Total: 3/16/2006
                                                                                              6.83


Shirim, Esq.                    4/11/2006 Mississippi TR                  Travel to MS                  5:40:00


Total: 4/11/2006
                                                                                              5.67


Shirim, Esq.                    4/13/2006 Mississippi TR                  Travel to airport             0:30:00

Shirim, Esq.                    4/13/2006 Mississippi TR                  Travel to NYC with           10:25:00
                                                                          several hours delay
                                                                          in Charlotte

Total: 4/13/2006
                                                                                          10.92


Shirim, Esq.                    5/25/2006 Mississippi TR                  travel to MS                  5:30:00


Total: 5/25/2006
                                                                                              5.50


Shirim, Esq.                    7/18/2006 Mississippi TR                  Travel to and from            0:40:00
                                                                          meeting at Loeb re
                                                                          demonstratives

Total: 7/18/2006
                                                                                              0.67


Shirim, Esq.                    8/11/2006 Mississippi TR                  Travel to MS                  6:00:00


Total: 8/11/2006
                                                                                              6.00
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 639 of 658
5/1/2008                              Children's Rights, Inc.
1:03 PM                              User Defined Slip Listing                                Page    9



User                      Date        Client                          Description             Time Spent


Shirim, Esq.                8/12/2006 Mississippi TR                  Travel from                2:00:00
                                                                      meeting ; include 1
                                                                      hour conference
                                                                      with WD, MRL
                                                                      regarding negot
Shirim, Esq.                8/12/2006 Mississippi TR                  Travel to meeting;         2:00:00
                                                                      including
                                                                      conference with
                                                                      WB, MRL regarding
                                                                      meeting

Total: 8/12/2006
                                                                                       4.00


Shirim, Esq.                8/13/2006 Mississippi TR                  Travel from MS             6:30:00


Total: 8/13/2006
                                                                                       6.50


Shirim, Esq.               12/13/2006 Mississippi TR                  Travel to and from         1:00:00
                                                                      Loeb and Loeb

Total: 12/13/2006
                                                                                       1.00



Total: Shirim, Esq.
                                                                                     47.09
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08    Page 640 of 658
5/1/2008                                    Children's Rights, Inc.
1:03 PM                                    User Defined Slip Listing                                Page   10



User                            Date        Client                          Description             Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                    3/16/2006 Mississippi TR                  travel from home to        4:00:00
                                                                            airport to new
                                                                            orleans to prepare
                                                                            expert for dep --
Susan Lambiase                    3/16/2006 Mississippi TR                  travel back to NO          6:30:00
                                                                            airport, then to nyc
                                                                            from new orleans

Total: 3/16/2006
                                                                                            10.50


Susan Lambiase                    4/12/2006 Mississippi TR                  travel to miss for         7:15:00
                                                                            steib dep.

Total: 4/12/2006
                                                                                             7.25


Susan Lambiase                    4/14/2006 Mississippi TR                  travel from miss to        6:45:00
                                                                            nyc

Total: 4/14/2006
                                                                                             6.75



Total: Susan Lambiase
                                                                                            24.50
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08   Page 641 of 658
5/1/2008                                Children's Rights, Inc.
1:03 PM                                User Defined Slip Listing                                  Page   11



User                        Date        Client                          Description               Time Spent


Attorney/Para: Tara Crean
Tara Crean                     4/1/2006 Mississippi TR                  Travel to Jackson            6:30:00


Total: 4/1/2006
                                                                                           6.50


Tara Crean                    4/13/2006 Mississippi TR                  from Jackson to              9:15:00
                                                                        New York.

Total: 4/13/2006
                                                                                           9.25


Tara Crean                    4/20/2006 Mississippi TR                  from airport to              0:45:00
                                                                        home.
Tara Crean                    4/20/2006 Mississippi TR                  from New York to             6:00:00
                                                                        Jackson.

Total: 4/20/2006
                                                                                           6.75


Tara Crean                    7/18/2006 Mississippi TR                  Travel to Loeb.              0:30:00

Tara Crean                    7/18/2006 Mississippi TR                  Travel from Loeb to          0:30:00
                                                                        office.

Total: 7/18/2006
                                                                                           1.00



Total: Tara Crean
                                                                                          23.50



Grand Total
                                                                                      301.13
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08    Page 642 of 658
5/5/2008                                       Children's Rights, Inc.
5:54 PM                                       User Defined Slip Listing                                   Page    1




                                                 Selection Criteria

Slip.Date           1/1/2007 - 11/30/2007
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description                Time Spent


Attorney/Para: Eric Thompson
Eric Thompson                       1/30/2007 Mississippi TR                   Travel to                     6:10:00
                                                                               Wilmington NC

Total: 1/30/2007
                                                                                                   6.17


Eric Thompson                       1/31/2007 Mississippi TR                   Travel from                   6:00:00
                                                                               Wilmington NC

Total: 1/31/2007
                                                                                                   6.00


Eric Thompson                       2/25/2007 Mississippi TR                   Travel to Jackson,            7:30:00
                                                                               MS

Total: 2/25/2007
                                                                                                   7.50


Eric Thompson                       2/27/2007 Mississippi TR                   Travel to airport             2:45:00
                                                                               (pick up SN), to
                                                                               Hattiesburg
                                                                               meetings

Total: 2/27/2007
                                                                                                   2.75


Eric Thompson                       2/28/2007 Mississippi TR                   Travel to meetings            2:30:00
                                                                               in Hattiesburg and
                                                                               Gulfport
Eric Thompson                       2/28/2007 Mississippi TR                   Travel to Jackson             3:00:00


Total: 2/28/2007
                                                                                                   5.50


Eric Thompson                        3/1/2007 Mississippi TR                   Travel from                   7:15:00
                                                                               Jackson, MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 643 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                               Page    2



User                      Date        Client                          Description            Time Spent



Total: 3/1/2007
                                                                                      7.25


Eric Thompson               3/13/2007 Mississippi TR                  Travel to and from        1:00:11
                                                                      Loeb

Total: 3/13/2007
                                                                                      1.00


Eric Thompson               3/25/2007 Mississippi TR                  travel to Jackson,        8:00:00
                                                                      MS

Total: 3/25/2007
                                                                                      8.00


Eric Thompson               3/29/2007 Mississippi TR                  travel from               7:20:00
                                                                      Jackson, MS

Total: 3/29/2007
                                                                                      7.33


Eric Thompson                5/1/2007 Mississippi TR                  Travel to MS              7:30:00


Total: 5/1/2007
                                                                                      7.50


Eric Thompson                5/2/2007 Mississippi TR                  Travel to meetings        4:20:00


Total: 5/2/2007
                                                                                      4.33


Eric Thompson                5/3/2007 Mississippi TR                  Travel to meeting         8:45:00
                                                                      and from MS

Total: 5/3/2007
                                                                                      8.75


Eric Thompson                5/8/2007 Mississippi TR                  Travel to MS and          9:45:00
                                                                      meeting
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08   Page 644 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                                Page    3



User                      Date        Client                          Description             Time Spent



Total: 5/8/2007
                                                                                       9.75


Eric Thompson                5/9/2007 Mississippi TR                  Travel to meeting          8:45:00
                                                                      and from MS

Total: 5/9/2007
                                                                                       8.75


Eric Thompson               5/16/2007 Mississippi TR                  Travel to MS               7:30:00


Total: 5/16/2007
                                                                                       7.50


Eric Thompson               5/17/2007 Mississippi TR                  Travel from MS             7:00:00


Total: 5/17/2007
                                                                                       7.00


Eric Thompson               5/30/2007 Mississippi TR                  Travel to Jackson          7:00:00
                                                                      MS

Total: 5/30/2007
                                                                                       7.00


Eric Thompson               5/31/2007 Mississippi TR                  Travel from                9:00:00
                                                                      Jackson MS

Total: 5/31/2007
                                                                                       9.00


Eric Thompson               6/11/2007 Mississippi TR                  Travel to Jackson,         7:30:00
                                                                      MS

Total: 6/11/2007
                                                                                       7.50


Eric Thompson               6/12/2007 Mississippi TR                  Travel to and from         0:20:00
                                                                      meeting with COA
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 645 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                               Page    4



User                      Date        Client                          Description            Time Spent



Total: 6/12/2007
                                                                                      0.33


Eric Thompson               6/13/2007 Mississippi TR                  Travel from               8:50:00
                                                                      Jackson, MS

Total: 6/13/2007
                                                                                      8.83


Eric Thompson                8/7/2007 Mississippi TR                  Travel to Jackson,        7:45:00
                                                                      MS, meetings

Total: 8/7/2007
                                                                                      7.75


Eric Thompson                8/8/2007 Mississippi TR                  Travel to and from        3:52:00
                                                                      meetings in
                                                                      Hattiesburg,
                                                                      Gulfport

Total: 8/8/2007
                                                                                      3.87


Eric Thompson                8/9/2007 Mississippi TR                  Travel from               7:30:00
                                                                      Gulfport MS

Total: 8/9/2007
                                                                                      7.50


Eric Thompson              11/28/2007 Mississippi TR                  Travel to Jackson,       11:20:00
                                                                      Hattiesburg and
                                                                      Gulfport, MS

Total: 11/28/2007
                                                                                     11.33


Eric Thompson              11/29/2007 Mississippi TR                  Travel to meeting in      7:40:00
                                                                      Gulfport and from
                                                                      MS

Total: 11/29/2007
                                                                                      7.67
       Case 3:04-cv-00251-HSO-ASH   Document 472-5          Filed 05/09/08   Page 646 of 658
5/5/2008                             Children's Rights, Inc.
5:54 PM                             User Defined Slip Listing                               Page    5



User                      Date      Client                           Description            Time Spent



Total: Eric Thompson
                                                                                   175.86
       Case 3:04-cv-00251-HSO-ASH           Document 472-5          Filed 05/09/08     Page 647 of 658
5/5/2008                                     Children's Rights, Inc.
5:54 PM                                     User Defined Slip Listing                                 Page    6



User                             Date        Client                          Description              Time Spent


Attorney/Para: Jessica Wheeler
Jessica Wheeler                     5/8/2007 Mississippi TR                  Travel airport to           0:30:00
                                                                             hotel
Jessica Wheeler                     5/8/2007 Mississippi TR                  Travel to NY airport.       0:30:00

Jessica Wheeler                     5/8/2007 Mississippi TR                  Drive to meeting            0:55:00
                                                                             with W. children
                                                                             and foster mother.
Jessica Wheeler                     5/8/2007 Mississippi TR                  Check in / etc; fly to      7:00:00
                                                                             Memphis.

Total: 5/8/2007
                                                                                               8.92


Jessica Wheeler                     5/9/2007 Mississippi TR                  Travel home from            0:30:00
                                                                             airport.
Jessica Wheeler                     5/9/2007 Mississippi TR                  Drive to meeting            0:30:00
                                                                             with service
                                                                             providers.
Jessica Wheeler                     5/9/2007 Mississippi TR                  Drive to airport            0:50:00

Jessica Wheeler                     5/9/2007 Mississippi TR                  Check in / etc, fly         9:30:00
                                                                             back to New York.

Total: 5/9/2007
                                                                                             11.33



Total: Jessica Wheeler
                                                                                             20.25
       Case 3:04-cv-00251-HSO-ASH            Document 472-5          Filed 05/09/08    Page 648 of 658
5/5/2008                                      Children's Rights, Inc.
5:54 PM                                      User Defined Slip Listing                               Page    7



User                             Date         Client                          Description            Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                       2/6/2007 Mississippi TR                  Travel                    9:00:00


Total: 2/6/2007
                                                                                              9.00


Marcia R Lowry                      2/26/2007 Mississippi TR                  Travel                    9:00:00


Total: 2/26/2007
                                                                                              9.00


Marcia R Lowry                      3/25/2007 Mississippi TR                  Travel                    7:45:00


Total: 3/25/2007
                                                                                              7.75


Marcia R Lowry                      3/28/2007 Mississippi TR                  Travel                    6:50:00


Total: 3/28/2007
                                                                                              6.83


Marcia R Lowry                      5/16/2007 Mississippi TR                  Travel, including         8:20:00
                                                                              review of docs for
                                                                              hearing

Total: 5/16/2007
                                                                                              8.33


Marcia R Lowry                      5/17/2007 Mississippi TR                  Travel                    9:30:00


Total: 5/17/2007
                                                                                              9.50


Marcia R Lowry                      6/12/2007 Mississippi TR                  Travel                    6:15:00


Total: 6/12/2007
                                                                                              6.25
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 649 of 658
5/5/2008                                   Children's Rights, Inc.
5:54 PM                                   User Defined Slip Listing                               Page    8



User                           Date        Client                          Description            Time Spent


Marcia R Lowry                   6/13/2007 Mississippi TR                  Travel                    3:00:00

Marcia R Lowry                   6/13/2007 Mississippi TR                  Travel                   11:00:00


Total: 6/13/2007
                                                                                          14.00


Marcia R Lowry                    8/7/2007 Mississippi TR                  Travel                    6:00:00


Total: 8/7/2007
                                                                                           6.00


Marcia R Lowry                    8/8/2007 Mississippi TR                  Travel                    7:55:00


Total: 8/8/2007
                                                                                           7.92


Marcia R Lowry                   8/20/2007 Mississippi TR                  Travel                    7:30:00


Total: 8/20/2007
                                                                                           7.50


Marcia R Lowry                   8/21/2007 Mississippi TR                  Travel                    8:30:00


Total: 8/21/2007
                                                                                           8.50



Total: Marcia Robinson Lowry
                                                                                         100.58
       Case 3:04-cv-00251-HSO-ASH      Document 472-5          Filed 05/09/08   Page 650 of 658
5/5/2008                                Children's Rights, Inc.
5:54 PM                                User Defined Slip Listing                                 Page    9



User                        Date        Client                          Description              Time Spent


Attorney/Para: Priy Sinha
Priy Sinha                    5/30/2007 Mississippi TR                  Travel to MS                6:45:00


Total: 5/30/2007
                                                                                          6.75


Priy Sinha                    5/31/2007 Mississippi TR                  Traveled for MS            13:10:00


Total: 5/31/2007
                                                                                       13.17



Total: Priy Sinha
                                                                                       19.92
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 651 of 658
5/5/2008                                  Children's Rights, Inc.
5:54 PM                                  User Defined Slip Listing                                   Page   10



User                          Date        Client                          Description                Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                    2/27/2007 Mississippi TR                  Travel to airport             0:30:00

Shirim, Esq.                    2/27/2007 Mississippi TR                  Travel to                     2:45:00
                                                                          Hattiesburg
                                                                          meetings
Shirim, Esq.                    2/27/2007 Mississippi TR                  Travel to MS                  5:00:00


Total: 2/27/2007
                                                                                              8.25


Shirim, Esq.                    2/28/2007 Mississippi TR                  Travel to Meetings            2:30:00
                                                                          in Hattiesburg and
                                                                          Gulfport
Shirim, Esq.                    2/28/2007 Mississippi TR                  Travel to Jackson             3:00:00


Total: 2/28/2007
                                                                                              5.50


Shirim, Esq.                     3/1/2007 Mississippi TR                  Travel from                   7:15:00
                                                                          Jackson, MS

Total: 3/1/2007
                                                                                              7.25


Shirim, Esq.                    3/13/2007 Mississippi TR                  travel to and from            1:00:00
                                                                          Loeb for all
                                                                          co-counsel meeting

Total: 3/13/2007
                                                                                              1.00


Shirim, Esq.                     5/1/2007 Mississippi TR                  Travel to MS                  8:00:00


Total: 5/1/2007
                                                                                              8.00


Shirim, Esq.                     5/2/2007 Mississippi TR                  Travel to meetings            4:20:00


Total: 5/2/2007
                                                                                              4.33
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 652 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                                   Page   11



User                      Date        Client                          Description                Time Spent


Shirim, Esq.                 5/3/2007 Mississippi TR                  Travel Gulfport to            6:45:00
                                                                      home

Total: 5/3/2007
                                                                                          6.75


Shirim, Esq.                 5/8/2007 Mississippi TR                  Travel to Airport             0:40:00

Shirim, Esq.                 5/8/2007 Mississippi TR                  Drive to meeting              1:05:00
                                                                      with W kids and
                                                                      foster mother
Shirim, Esq.                 5/8/2007 Mississippi TR                  Fly to Memphis                7:00:00


Total: 5/8/2007
                                                                                          8.75


Shirim, Esq.                 5/9/2007 Mississippi TR                  Drive to meeting              0:30:00
                                                                      with service
                                                                      providers
Shirim, Esq.                 5/9/2007 Mississippi TR                  Travel home from              0:40:00
                                                                      airport
Shirim, Esq.                 5/9/2007 Mississippi TR                  Drive to airport              0:50:00

Shirim, Esq.                 5/9/2007 Mississippi TR                  Fly to NY                     9:30:00


Total: 5/9/2007
                                                                                     11.50


Shirim, Esq.                8/20/2007 Mississippi TR                  Travel to MS                  8:00:00


Total: 8/20/2007
                                                                                          8.00


Shirim, Esq.                8/21/2007 Mississippi TR                  Travel from MS                8:40:00
                                                                      home

Total: 8/21/2007
                                                                                          8.67


Shirim, Esq.               11/28/2007 Mississippi TR                  Travel to Jackson,           11:20:00
                                                                      Hattiesburg and
                                                                      Gulfport, MS
       Case 3:04-cv-00251-HSO-ASH    Document 472-5          Filed 05/09/08    Page 653 of 658
5/5/2008                              Children's Rights, Inc.
5:54 PM                              User Defined Slip Listing                               Page   12



User                      Date        Client                          Description            Time Spent



Total: 11/28/2007
                                                                                     11.33


Shirim, Esq.               11/29/2007 Mississippi TR                  Travel to meeting in      7:40:00
                                                                      Gulfport and from
                                                                      MS

Total: 11/29/2007
                                                                                      7.67



Total: Shirim, Esq.
                                                                                     97.00
       Case 3:04-cv-00251-HSO-ASH          Document 472-5          Filed 05/09/08    Page 654 of 658
5/5/2008                                    Children's Rights, Inc.
5:54 PM                                    User Defined Slip Listing                                Page   13



User                            Date        Client                          Description             Time Spent


Attorney/Para: Susan Lambiase
Susan Lambiase                    3/13/2007 Mississippi TR                  travel back to office      0:30:00
                                                                            from loeb meeting
Susan Lambiase                    3/13/2007 Mississippi TR                  travel to meeting at       0:35:00
                                                                            loeb for trial prep

Total: 3/13/2007
                                                                                             1.08



Total: Susan Lambiase
                                                                                             1.08
       Case 3:04-cv-00251-HSO-ASH         Document 472-5          Filed 05/09/08    Page 655 of 658
5/5/2008                                   Children's Rights, Inc.
5:54 PM                                   User Defined Slip Listing                                Page   14



User                           Date        Client                          Description             Time Spent


Attorney/Para: Talia Kraemer
Talia Kraemer                     5/1/2007 Mississippi TR                  Travel from office         8:00:00
                                                                           to hotel in Jackson

Total: 5/1/2007
                                                                                            8.00


Talia Kraemer                     5/2/2007 Mississippi TR                  Travel to meetings         4:20:00


Total: 5/2/2007
                                                                                            4.33


Talia Kraemer                     5/3/2007 Mississippi TR                  Travel Gulfport to         6:30:00
                                                                           home - left for the
                                                                           airport at 2pm

Total: 5/3/2007
                                                                                            6.50



Total: Talia Kraemer
                                                                                           18.83
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08   Page 656 of 658
5/5/2008                                       Children's Rights, Inc.
5:54 PM                                       User Defined Slip Listing                               Page   15



User                               Date        Client                          Description            Time Spent


Attorney/Para: Yasmin Grewal-Kok
Yasmin Grewal-K                      3/13/2007 Mississippi TR                  Travel to and from        1:00:00
                                                                               meeting at Loeb

Total: 3/13/2007
                                                                                               1.00



Total: Yasmin Grewal-Kok
                                                                                               1.00



Grand Total
                                                                                             434.52
       Case 3:04-cv-00251-HSO-ASH             Document 472-5          Filed 05/09/08   Page 657 of 658
5/5/2008                                       Children's Rights, Inc.
5:55 PM                                       User Defined Slip Listing                               Page    1




                                                 Selection Criteria

Slip.Date           12/1/2007 - 1/4/2008
Case.Selection      Include: Mississippi TR


User                             Date         Client                           Description            Time Spent


Attorney/Para: Marcia Robinson Lowry
Marcia R Lowry                       1/3/2008 Mississippi TR                   Travel (including         6:45:00
                                                                               hearing prep 1.8)

Total: 1/3/2008
                                                                                               6.75


Marcia R Lowry                       1/4/2008 Mississippi TR                   Travel back to NY         7:35:00


Total: 1/4/2008
                                                                                               7.58



Total: Marcia Robinson Lowry
                                                                                             14.33
       Case 3:04-cv-00251-HSO-ASH        Document 472-5          Filed 05/09/08    Page 658 of 658
5/5/2008                                  Children's Rights, Inc.
5:55 PM                                  User Defined Slip Listing                               Page    2



User                          Date        Client                          Description            Time Spent


Attorney/Para: Shirim, Esq.
Shirim, Esq.                     1/3/2008 Mississippi TR                  Travel to MS              6:45:00
                                                                          (including hearing
                                                                          prep)

Total: 1/3/2008
                                                                                          6.75


Shirim, Esq.                     1/4/2008 Mississippi TR                  Travel back to NY         7:35:00


Total: 1/4/2008
                                                                                          7.58



Total: Shirim, Esq.
                                                                                         14.33



Grand Total
                                                                                         28.66
